                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA,           )
AND                                 )
LOUISIANA DEPARTMENT OF             )
ENVIRONMENTAL QUALITY,              )
                                    )
                        Plaintiffs, )      Civil Action No. 2:15-cv-04889
            v.                      )
                                    )
MOSAIC FERTILIZER, LLC,             )
                                    )
                        Defendant.  )
____________________________________)

  NOTICE OF LODGING OF CONSENT DECREE WITH APPENDICES
                     Proposed Consent Decree with Appendices
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA,         )
  and                             )
LOUISIANA DEPARTMENT OF           )
ENVIRONMENTAL QUALITY             )
                                  )
                                  )
                Plaintiffs,       )   Civil Action No. 2:15-cv-04889
                                  )
                                  )   Section:
     v.                           )
                                  )   Magistrate:
MOSAIC FERTILIZER, LLC,           )
                                  )
                Defendant.        )


                              CONSENT DECREE
Mosaic Consent Decree – EPA Region 6 and LDEQ


                                  TABLE OF CONTENTS

I.      JURISDICTION AND VENUE                        5
II.     APPLICABILITY                                 6
III.    DEFINITIONS                                   8
IV.     CIVIL PENALTY                                 18
V.      COMPLIANCE REQUIREMENTS                       19
VI.     WORK TAKEOVER                                 42
VII.    BENEFICIAL ENVIRONMENTAL PROJECTS             44
VIII.   REPORTING REQUIREMENTS                        46
IX.     STIPULATED PENALTIES                          50
X.      FORCE MAJEURE                                 54
XI.     DISPUTE RESOLUTION                            56
XII.    INFORMATION COLLECTION AND RETENTION          59
XIII.   EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS    62
XIV. COSTS                                            66
XV.     NOTICES                                       68
XVI. EFFECTIVE DATE                                   71
XVII. RETENTION OF JURISDICTION                       71
XVIII. MODIFICATION                                   72
XIX. TERMINATION                                      73
XX.     PUBLIC PARTICIPATION                          75
XXI. SIGNATORIES/SERVICE                              76
XXII. INTEGRATION                                     77
XXIII. FINAL JUDGMENT                                 77
XXIV. APPENDICES                                      78




                                                2
Mosaic Consent Decree – EPA Region 6 and LDEQ


                                       CONSENT DECREE

        WHEREAS, Plaintiffs, the United States of America (United States), on behalf of the

United States Environmental Protection Agency (EPA), and the Louisiana Department of

Environmental Quality (LDEQ), an agency of the State of Louisiana to which the Louisiana

Legislature has delegated the power and duty to enforce the Louisiana Environmental Quality

Act (EQA) and Louisiana Environmental Quality Regulations, including the authority to bring

actions in courts of competent jurisdiction for violations of the EQA (La. R.S. 30:2001 et seq.)

and Louisiana’s Hazardous Waste Regulations (LAC 33: V. Subpart 1), (together the Plaintiffs),

have filed a complaint alleging that Defendant, Mosaic Fertilizer, LLC (Mosaic) has violated the

Resource Conservation and Recovery Act (RCRA), 42 United States Code (U.S.C.) § 6901 et

seq., La. R.S. 30:2001 et seq, and the applicable regulations in 40 C.F.R. Parts 260-270, and

LAC 33:V.Subpart 1, at its sulfuric acid, phosphoric acid and fertilizer manufacturing facilities

located in Uncle Sam and Saint James, Louisiana, respectively the Uncle Sam Facility and the

Faustina Facility (collectively the Facilities);

        WHEREAS, the Complaint includes allegations that Mosaic failed to characterize and

illegally treated, stored and disposed of hazardous waste from various processes at its Facilities,

including: the production of sulfuric acid, diammonium phosphate (DAP) and monoammonium

phosphate (MAP) fertilizer, and fluorosilicic acid (FSA); wastes generated during cleaning of the

phosphoric acid plant and fertilizer plant equipment; and wastewaters generated from the

scrubbers used to control air pollution from the phosphoric acid plants and from other chemical

and waste management processes at its Facilities without a RCRA permit or interim status. The

Complaint also alleges that Mosaic illegally placed hazardous wastes in the Uncle Sam

Phosphogypsum Stack System dedicated for managing phosphoric acid production wastes



                                                   3
Mosaic Consent Decree – EPA Region 6 and LDEQ


exempt from hazardous waste regulation pursuant to the Bevill Exemption, 40 C.F.R. §

261.4(b)(7), thus violating Sections 3004 and 3005 of RCRA, 42 U.S.C. §§ 6924-25, and the

applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S. 30:2001 et seq. and the

applicable regulations in LAC 33:V.Subpart 1, and that those hazardous wastes remain in the

Uncle Sam Phosphogypsum Stack System;

        WHEREAS, Mosaic denies the applicability of Sections 3004 and 3005 of RCRA, 42

U.S.C. §§ 6924-25, and the applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S.

30:2001 et seq. and the applicable regulations in LAC 33:V.Subpart 1, and the regulations

promulgated thereunder to certain practices at the Mosaic Facilities that are the subject of the

Complaint, denies the violations alleged in the Complaint, and maintains that it has been and

remains in compliance with RCRA and is not liable for civil penalties or injunctive relief;

        WHEREAS, the objective of the Parties in this Consent Decree is to resolve the civil

claims alleged in the Complaint by 1) establishing certain injunctive relief and environmental

projects, whereby Mosaic shall modify certain operating practices with respect to its

management of hazardous wastes and Bevill-Exempt Wastes, implement environmental controls,

remediation, and financial assurance, and undertake certain pollution reduction and other

beneficial projects; and 2) assessing an appropriate penalty;

        WHEREAS, Mosaic has conducted itself in good faith in its discussions with the

Plaintiffs concerning the violations alleged in the Complaint, and has already implemented

certain operational changes at its Facilities and remedial measures, obviating the need for certain

injunctive relief;

        WHEREAS, by agreeing to entry of this Consent Decree, Mosaic makes no admission

of law or fact with respect to the allegations in the Complaint, and continues to deny any non-



                                                 4
Mosaic Consent Decree – EPA Region 6 and LDEQ


compliance or violation of any law or regulation identified therein or in this Consent Decree.

For the purpose of avoiding litigation among the Parties, however, Mosaic, and where applicable

The Mosaic Company, agree to the requirements of this Consent Decree;

       WHEREAS, the Parties agree that the United States’ filing of the Complaint and entry

into this Consent Decree constitutes diligent prosecution by the United States and LDEQ, under

Section 7002(b)(1)(B) of RCRA, 42 U.S.C. § 6972(b)(1)(B), of all matters alleged in the

Complaint and addressed by this Consent Decree through the date of lodging of this Consent

Decree; and

       WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

among the Parties and that this Consent Decree is fair, reasonable, and in the public interest.

       NOW, THEREFORE, before the taking of any testimony, without the adjudication or

admission of any issue of fact or law except as provided in Section I (Jurisdiction and Venue),

below, and with the consent of the Parties,

       IT IS HEREBY ADJUDGED, ORDERED, AND DECREED as follows:



                               I. JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the subject matter of this action and over the

Parties, pursuant to Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), and 28 U.S.C. §§ 1331,

1332, 1345, 1355 and 1367. Venue is proper in this judicial district pursuant to 28 U.S.C. §§

1391(b) and (c) and 1395(a), and Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), because

Mosaic’s Facilities are located in this judicial district. For purposes of this Consent Decree, or

any action to enforce this Consent Decree, the Parties consent to the Court’s jurisdiction over this



                                                 5
Mosaic Consent Decree – EPA Region 6 and LDEQ


Consent Decree and any such action and over Mosaic and The Mosaic Company, and further

consent to venue in this judicial district.

        2.      Pursuant to Section 3008(a)(2) of RCRA, 42 U.S.C. § 6928(a)(2), notice of the

commencement of this action has been given to LDEQ.

        3.      For purposes of this Consent Decree only, Mosaic agrees that the Complaint

states claims upon which relief may be granted pursuant to Sections 3004 and 3005 of

RCRA, 42 U.S.C. §§ 6924 and 6925, and La. R.S. 30:2001 et seq.

                                       II. APPLICABILITY

        4.      The obligations of this Consent Decree apply to and are binding upon the United

States, LDEQ, Mosaic, and, as provided herein, The Mosaic Company, and any successors,

assigns, or other entities or persons otherwise bound by law. Rights granted to EPA under this

Consent Decree may be exercised by LDEQ upon the written agreement of EPA and LDEQ with

notice to Mosaic. Nothing in this Consent Decree shall apply to administrative or enforcement

proceedings other than this action or an action to enforce this Consent Decree. Nor does anything

in this Consent Decree relieve Mosaic of its obligation to comply with any federal and state laws

applicable to activities that are not within the definition of Work in this Consent Decree.

        5.      No transfer of ownership or operation of all or a portion of a Facility, whether in

compliance with the procedures of this Paragraph or otherwise, shall relieve Mosaic of its

obligation to ensure that the terms of this Consent Decree are implemented, unless: (1) the

transferee agrees in writing to undertake the obligations required by this Consent Decree and to

be substituted for Mosaic as a Party to the Consent Decree and thus be bound by the terms

thereof; and (2) the United States, after consultation with LDEQ, consents in writing to relieve

Mosaic and the Mosaic Company of their respective obligations under this Consent Decree



                                                  6
Mosaic Consent Decree – EPA Region 6 and LDEQ


pursuant to Section XVIII (Modification) of this Consent Decree. At least thirty (30) Days prior

to a proposed transfer of Mosaic’s obligations under this Consent Decree, or such other period

agreed to by the Parties in writing: (i) Mosaic shall provide a copy of this Consent Decree to the

proposed transferee, if not previously provided; and (ii) shall provide written notice of the

prospective transfer, together with a copy of the proposed written agreement (subject to

Paragraphs 82 and 83 of this Consent Decree and as may otherwise be agreed in writing)

transferring obligations to the transferee, to EPA, LDEQ, the United States Attorney for the

Eastern District of Louisiana, and the United States Department of Justice, in accordance with

Section XV (Notices) of this Consent Decree, together with a request for approval. The United

States’ decision whether to approve the transferee’s substitution for Mosaic under this Consent

Decree, and what conditions may attend approval, will take into account: (i) the status of the

projects in Appendix 6 (RCRA Compliance Schedule), (ii) whether the transferee has or will

have prior to the transfer the financial and technical capability to comply with this Consent

Decree, (iii) and other factors that may be deemed relevant, including but not limited to the

environmental compliance history of the proposed transferee and the environmental management

capabilities of the proposed transferee. As set forth in Appendix 2, Paragraph 36, any such

transfer will not include the Financial Assurance obligations specified for Mosaic therein, and

therefore will include Financial Assurance conditions appropriate to the transferee. Any transfer

of ownership or operation of all or a portion of the Facilities without complying with this

Paragraph constitutes a violation of this Consent Decree. The United States’ refusal to approve,

or approval with conditions for, the substitution of the transferee for Mosaic under this Consent

Decree shall be subject to dispute resolution pursuant to Section XI (Dispute Resolution) of this

Consent Decree, but any judicial review shall be conducted pursuant to Paragraph 76(a) of this



                                                 7
Mosaic Consent Decree – EPA Region 6 and LDEQ


Consent Decree. If Mosaic does not prevail in such judicial review, Mosaic shall pay all costs

incurred by the United States in connection with such judicial review, including attorney’s fees.

       6.      Mosaic shall: (1) provide a copy of this Consent Decree to its President/CEO,

Executive Vice Presidents, Senior Environmental Counsel, and the General Manager,

Environmental Manager, and Maintenance Manager of each Facility, and shall ensure that any

employees and contractors whose duties might reasonably include compliance with any

provision of this Consent Decree are made aware of this Consent Decree and specifically aware

of the requirements of this Consent Decree that fall within such person’s duties; (2) place an

electronic version of the Consent Decree on its internal environmental website; and (3) post

notice of lodging of the Consent Decree and its availability in a location at each Facility where

legal notices are posted. Mosaic shall be responsible for ensuring that all employees and

contractors involved in performing any Work pursuant to this Consent Decree perform such

Work in compliance with the requirements of this Consent Decree.

       7.      In any action to enforce this Consent Decree, Mosaic shall not raise as a defense

the failure by any of its officers, directors, employees, agents, or contractors to take any actions

necessary to comply with the provisions of this Consent Decree.

                                       III. DEFINITIONS

       8.      Every term expressly defined by this Section shall have the meaning given that

term herein, regardless of whether it is elsewhere defined in federal or state law. Every other

term used in this Consent Decree that is also a term used under RCRA, as amended, 42 U.S.C.

§§ 6901 et seq., its implementing regulations, or La. R.S. 30:2001 et seq. and its implementing

regulations, shall have the same meaning in this Consent Decree as such term has under RCRA

or under federal or Louisiana regulations. In the case of a conflict between federal and state



                                                  8
Mosaic Consent Decree – EPA Region 6 and LDEQ


definitions, federal definitions shall control. For purposes of this Consent Decree, whenever

terms defined below or in Appendices 1-9 hereto are used in this Consent Decree, such

definitions shall apply:

           a. Bevill-Exempt Wastes shall mean Phosphogypsum and Process Wastewater from

phosphoric acid production through mineral processing, which are solid wastes excluded from

hazardous waste regulation pursuant to 40 C.F.R. § 261.4(b)(7)(ii)(D) and (P);

           b. Big Holding Tank (BHT) shall mean the tank(s) that Mosaic will install as

compliance projects and that are designated as Big Holding Tank(s) in the Uncle Sam Facility

Report;

           c. BHT Effluent shall mean the output solution consisting of any or all of the inputs

to the BHT that are described in the Uncle Sam Facility Report;

           d. BHT Recovery Units comprise the BHT and those units in Downstream

Operations from which, as specified in the Uncle Sam Facility Report, cleaning wastes and other

materials will be circulated to the BHT for recovery in Upstream Operations or reuse as a

cleaning solution following completion of the relevant compliance projects;

           e. Complaint shall mean the complaint filed by the United States and LDEQ in this

action;

           f. Consent Decree shall mean this Consent Decree and all Appendices identified in

Section XXIV (Appendices) and attached hereto. In the event of any conflict between this

Consent Decree and any Appendix hereto, this Consent Decree shall control;

           g. Corrective Action Work shall mean 1) the activities described in Paragraphs 17 -

19 of Appendix 1, Attachment A; 2) the activities described in Section II.D of Appendix 1,




                                                9
Mosaic Consent Decree – EPA Region 6 and LDEQ


Attachment B; and/or 3) other activities taken at the express direction of EPA or LDEQ pursuant

to their respective legal authorities to address a release of:

                (1) the following products, including intermediates and wastes: phosphoric acid,

sulfuric acid, and FSA;

                (2) the following cleaning solutions, including entrained wastes and solids: SACS,

PACS, and FSACS;

                (3) Process Wastewater, including mixtures and entrained wastes and solids;

                (4) Phosphogypsum Stack System Wastewater, including mixtures and entrained

wastes and solids;

                (5) BHT Effluent, IGPU Effluent, or GHT Effluent, including entrained wastes and

solids when such releases occur: a) within Upstream or Downstream Operations; b) from Mixed-

Use, Grandfathered, or Recovery Units; or c) from the Phosphogypsum Stack System, as identified

in a Facility’s Facility Report. Corrective Action Work does not include other activities to be

taken at the direction of EPA or LDEQ pursuant to their residual authorities to address other

releases of hazardous waste and/or hazardous constituents that may affect human health and the

environment, which directions and activities will be undertaken outside of, and will not be subject

to, this Consent Decree (“Non-CD Corrective Action”);

            h. DAP shall mean diammonium phosphate, which is manufactured in Granulation;

            i. Day shall mean a calendar day unless expressly stated to be a business day. In

computing any period of time under this Consent Decree, where the last day would fall on a

Saturday, Sunday, or federal or State of Louisiana holiday, the period shall run until the close of

business of the next business day;




                                                  10
Mosaic Consent Decree – EPA Region 6 and LDEQ


           j. Defendant or Mosaic shall mean Mosaic Fertilizer, LLC. Mosaic’s parent

company, The Mosaic Company, shall be referred to by its full corporate name;

           k. Downstream Operations shall mean all Facility operations involving the storage,

management, transport, treatment, disposal or further processing of the First Saleable Product,

manufacturing operations that use the First Saleable Product as a feedstock, and fluorosilicic acid

(FSA) production operations, unless designated as a Mixed-Use Unit or Grandfathered Unit in

that Facility’s Facility Report.

           l. EPA shall mean the United States Environmental Protection Agency and any of

its successor departments or agencies;

           m. Effective Date is defined in Section XVI (Effective Date);

           n. Facility or Facilities shall mean any one or more of Mosaic’s Louisiana operations

at Uncle Sam or Saint James (Faustina), which include manufacturing plants, Phosphogypsum

Stack Systems, and such other contiguous or adjacent property owned and/or operated by

Mosaic, as delineated in Appendix 3 (Site Maps).

           o. Facility Reports shall mean the reports dated September 8, 2015 (Uncle Sam), and

September 29, 2015 (Faustina), attached hereto collectively as Appendix 4, prepared by EPA

following inspections of Mosaic’s Uncle Sam and Faustina Facilities, which identify, where

appropriate, the Facility’s Upstream and Downstream Operations, its Mixed-Use Units, BHT

Recovery Units, Grandfathered Units, Granulation Plant Units, Interim Granulation Plant Units,

Granulation Sump Ditches, compliance projects, and proposed future installations;

           p. Financial Assurance shall mean financial assurance for the benefit of EPA and

LDEQ in order to ensure coverage for Third-party Liability, Phosphogypsum Stack System




                                                11
Mosaic Consent Decree – EPA Region 6 and LDEQ


Closure, and Long Term Care, as set forth in Appendix 2 (Financial Assurance) of this Consent

Decree;

           q. First Saleable Product shall mean:

                (1)   Merchant Grade Acid (MGA), whether or not it is actually placed into

commerce; or,

                (2)   if applicable, any intermediate phosphoric acid product with a P2O5

content less than or equal to MGA that is diverted from further processing into MGA in order to

be placed into commerce, further concentrated above 54% P2O5 (by weight), or used as a

feedstock in manufacturing MAP/DAP, Superphosphoric Acid (SPA), Purified Acid, or other

chemical manufacturing products;

           r. FSA shall mean fluorosilicic acid (H2SiF6).

           s. FSA Cleaning Solution (FSACS) shall mean a solution of FSA or wastewater

from FSA production (excluding waste solids not entrained in cleaning solutions but instead

mechanically removed from FSA production, such as filtration residue, tank bottoms, and Swift

Tower clean-out residue) with Non-Hazardous Aqueous Cleaning Solution (NHACS),

Phosphogypsum Stack System Wastewater, and/or Process Wastewater used for cleaning pipes,

tanks or other equipment;

           t. Grandfathered Unit shall mean a pipe, tank and/or other production, storage, or

transportation unit in Downstream Operations specifically identified in the Uncle Sam Facility

Report as not feasibly segregable from Upstream Operations;

           u. Granulation shall mean the process of converting liquid phosphoric acid,

ammonia, secondary nutrients, and/or micronutrients into solid ammonium phosphate fertilizer in

Downstream Operations;



                                                12
Mosaic Consent Decree – EPA Region 6 and LDEQ


           v. Granulation Plant Units (GPUs) shall mean those units identified in the Faustina

Facility Report that Mosaic has installed or will install as compliance projects to manage, store

or transport Downstream wastes for use in Granulation;

           w. Granulation Plant Unit Effluent (GPU Effluent) shall mean the output solution

consisting of any or all of the inputs to the GPUs that are described in the Faustina Facility

Report;

           x.Granulation Plant Holding Tank(s) shall mean the GPUs that Mosaic will install as

a compliance project to replace certain of the IGPUs and to manage, store or transport

Downstream wastes for use in Granulation.

           y. Interim Granulation Plant Units (IGPUs) shall mean those units identified in the

Faustina Facility Report that manage, store or transport Downstream wastes for use in

Granulation until they discontinue handling Downstream wastes in compliance with Appendix 6

(RCRA Project Narrative and Compliance Schedule) or such time as the Granulation Plant

Holding Tanks are put in service to replace them.

           z. Interim Granulation Plant Unit Effluent (IGPU Effluent) shall mean the output

solution consisting of any or all of the inputs to the IGPUs that are described in the Faustina

Facility Report;

           aa. Granulation Sump Ditches are identified in the Faustina Facility Report.

           bb. Interest shall mean the interest rate specified in 28 U.S.C. § 1961;

           cc. LDEQ shall mean the State of Louisiana Department of Environmental Quality

and any of its successor departments or agencies;

           dd. MAP shall mean monoammonium phosphate;




                                                 13
Mosaic Consent Decree – EPA Region 6 and LDEQ


           ee. Merchant Grade Acid (MGA) shall mean phosphoric acid that is typically 52% to

54% (by weight) of P2O5 but may vary slightly across the phosphoric acid industry,

manufactured from the direct reaction of phosphate rock and sulfuric acid and containing less

than one percent (1%) solids content;

           ff. DAP Recycle Pond is the ditch and pond system described in LDEQ Permit P-

0092RI and depicted in the Facility Report;

           gg. Mixed-Use Unit shall mean a pollution control device, pipe, tank and/or other

production, storage, or transportation unit specifically identified in the Uncle Sam Facility

Report as serving both Upstream Operations and Downstream Operations;

           hh. Non-Hazardous Aqueous Cleaning Solution (NHACS) shall mean an aqueous

solution, including without limitation fresh water, non-hazardous condensate, non-hazardous

recycled water, and non-hazardous recovered groundwater, used for cleaning pipes, tanks or

other equipment that, if evaluated as a solid waste before use, is not a RCRA listed or

characteristic hazardous waste as defined by 40 C.F.R., Part 261, Subparts C and D;

           ii. Paragraph shall mean a portion of this Consent Decree identified by an arabic

numeral;

           jj. Parties shall mean the United States, LDEQ, Mosaic and, where applicable, The

Mosaic Company;

           kk. Phosphogypsum shall mean calcium sulfate and byproducts produced by the

reaction of sulfuric acid with phosphate rock to produce phosphoric acid. Phosphogypsum is a

solid waste within the definition of Section 1004(27) of RCRA, 42 U.S.C. § 6903(27);




                                                14
Mosaic Consent Decree – EPA Region 6 and LDEQ


           ll. Phosphogypsum Stack shall mean any defined geographic area associated with a

phosphoric acid production plant in which Phosphogypsum is disposed of or stored, other than

within a fully enclosed building, container or tank;

           mm.         Phosphogypsum Stack System shall mean the defined geographic area

associated with a phosphoric acid production facility in which Phosphogypsum and Process

Wastewater is disposed of or stored, together with all pumps, piping, ditches, drainage,

conveyances, water control structures, collection pools, cooling/surge ponds (including former

cooling/surge ponds that have been converted to lime treatment sludge ponds), auxiliary holding

ponds, regional holding ponds, and any other collection or conveyance system associated with

the transport of Phosphogypsum from the phosphoric acid plant to the Phosphogypsum Stack, its

management at the stack, and the Process Wastewater return to phosphoric acid production. This

definition specifically includes toe drain systems and ditches and other leachate collection

systems, but does not include conveyances within the confines of the phosphoric acid or fertilizer

production plant(s) or emergency diversion impoundments used in emergency circumstances

caused by rainfall events of high volume or duration for the temporary storage of Process

Wastewater to avoid discharges to surface waters of the State;

           nn. Phosphogypsum Stack System Wastewater shall mean waste water in the

Phosphogypsum Stack System containing Bevill-Exempt Wastes commingled with hazardous

wastes as alleged in the Complaint;

           oo. Phosphoric Acid Cleaning Solution (PACS) shall mean a solution of phosphoric

acid (generated from an operation in which at least 50 percent of the feedstock in a calendar year

was from ores or minerals or beneficiated ores or minerals) and Non-Hazardous Aqueous




                                                15
Mosaic Consent Decree – EPA Region 6 and LDEQ


Cleaning Solution, Phosphogypsum Stack System Wastewater, and/or Process Wastewater used

for cleaning pipes, tanks or other equipment;

           pp. Pond 11 is the surface impoundment described in LDEQ Permit P-0063 and

depicted in the Faustina Facility Report;

           qq. Process Wastewater shall mean process wastewater from phosphoric acid

production. The following wastestreams constitute process wastewater from phosphoric acid

production: water from phosphoric acid production operations through concentration to the First

Saleable Product; process wastewater generated from Upstream Operations that is used to

transport Phosphogypsum to the Phosphogypsum Stack; Phosphogypsum Stack runoff

(excluding non-contact runoff); process wastewater generated from a uranium recovery step in

phosphoric acid production; process wastewater generated from non-ammoniated animal feed

production (including defluorination, but excluding ammoniated animal feed production)

operations that qualify as mineral processing operations based on the definition of mineral

processing that EPA finalized on September 1, 1989; and process wastewater generated from a

superphosphate production process that involves the direct reaction of phosphate rock with dilute

phosphoric acid with a concentration less than Merchant Grade Acid [see 55 Fed. Reg. 2328,

January 23, 1990];

           rr. Purified Phosphoric Acid (PPA) shall mean a refined grade of phosphoric acid

where contaminants have been removed from wet-process phosphoric acid through solvent

extraction, chemical precipitation, filtration, or other purification processes to produce a purified

phosphoric acid product suitable for food grade or other higher purity phosphoric acid

applications (as of the date of lodging of this Consent Decree, Mosaic does not manufacture

Purified Phosphoric Acid);



                                                 16
Mosaic Consent Decree – EPA Region 6 and LDEQ


           ss. RCRA Requirements shall mean the requirements of RCRA Subtitle C, the

applicable regulations in 40 C.F.R. Parts 260-270, and La. R.S. 30:2171 et seq. and the

applicable regulations in LAC 33:V.Subpart 1;

           tt. Section shall mean a portion of this Consent Decree identified by a roman

numeral;

           uu. State shall mean the State of Louisiana;

           vv. Sulfuric Acid Cleaning Solution (SACS) shall mean a solution of sulfuric acid

and Non-Hazardous Aqueous Cleaning Solution, Phosphogypsum Stack System Wastewater,

and/or Process Wastewater used for cleaning pipes, tanks or other equipment;

           ww.         Superphosphoric Acid (SPA) shall mean liquid phosphoric acid (not a

solid phosphate product such as granulated triple superphosphoric acid) generally with a P2O5

content greater than MGA, resulting from the concentration of wet process acid that does not

involve the direct reaction of phosphate ore in such concentration operations (as of the date of

lodging of this Consent Decree, Mosaic does not manufacture SPA);

           xx. Treatment for the purposes of Paragraph 18 herein shall mean any method,

technique, or process, including neutralization, designed to change the physical, chemical, or

biological character or composition of a waste so as to neutralize such waste or so as to recover

energy or material resources from the waste, or so as to remove or reduce a hazardous

constituent of the waste or make it safer to transport, store, or dispose of, or amenable for

recovery, amenable for storage, or reduced in volume;

           yy. United States shall mean the United States of America, acting on behalf of EPA;

           zz. Upstream Operations shall mean all phosphoric acid mineral processing

operations resulting in the manufacture of the First Saleable Product; and



                                                 17
Mosaic Consent Decree – EPA Region 6 and LDEQ


             aaa.      Work shall mean any activity that Mosaic must perform to comply with

the requirements of this Consent Decree, including Appendices.

                                      IV. CIVIL PENALTY

       9.       Within thirty (30) Days after the Effective Date of this Consent Decree, Mosaic

shall pay the sum of $3,900,000.00 as a civil penalty, together with Interest accruing from the

date on which the Consent Decree is lodged with the Court, at the rate specified in 28 U.S.C. §

1961 as of the date of lodging, in accordance with Paragraphs 10 and 11.

       10.      Mosaic shall pay the sum of $2,350,000.00, together with Interest accruing from

the date on which the Consent Decree is lodged with the Court, to the United States by FedWire

Electronic Funds Transfer (EFT) to the U.S. Department of Justice, in accordance with written

instructions to be provided by the Financial Litigation Unit of the U.S. Attorney’s Office for the

Eastern District of Louisiana, 500 Poydras Street, Suite 210, New Orleans, Louisiana, 70130

(504) 680-3000 to Mosaic within ten (10) days of lodging of the Consent Decree. At the time of

payment, Mosaic shall send a copy of the EFT authorization form and the EFT transaction

record, together with a transmittal letter, to the United States in accordance with Section XV

(Notices) of this Consent Decree; by email to acctsreceivable.CINWD@epa.gov; and by mail to:

         EPA Cincinnati Finance Office
         26 Martin Luther King Drive
         Cincinnati, OH 45268
The transmittal letter shall state that the payment is for the civil penalty owed pursuant to the

Consent Decree in United States et al. v. Mosaic Fertilizer, LLC, and shall reference the civil

action number and DOJ case number 90-7-1-08388.

       11.      Mosaic shall pay the sum of $1,550,000.00 as a civil penalty, together with

Interest accruing from the date on which the Consent Decree is lodged with the Court, to LDEQ

by EFT in accordance with instructions that will be provided by LDEQ within ten (10) Days of

                                                 18
Mosaic Consent Decree – EPA Region 6 and LDEQ


the lodging of this Consent Decree. At the time of payment, Mosaic shall send a copy of the

EFT authorization form and the EFT transaction record, together with a transmittal letter, to

LDEQ in accordance with Section XV (Notices) of this Consent Decree. The transmittal letter

shall state that the payment is for a civil penalty owed pursuant to the Consent Decree in United

States et al. v. Mosaic Fertilizer LLC, and shall reference LDEQ File Number 015-176-SET-

038and DOJ case number 90-7-1-08388.

       12.     Mosaic shall not deduct any penalties paid under this Consent Decree pursuant to

this Section or Section IX (Stipulated Penalties) in calculating its federal or Louisiana or local

income tax.

                            V. COMPLIANCE REQUIREMENTS

       13.     Compliance Projects and Schedule.

       (a)     Completed Activities. Mosaic has already completed the following activities at

the Faustina Facility in compliance with the below-referenced Consent Decree Paragraph(s) or

Appendices/Attachments to this Consent Decree: Granulation Plant Sump System (Paragraph

16); Phase 1 of the DAP Pond Sampling and characterization (Paragraph 23).

       (b)     Uncle Sam Facility. Mosaic shall undertake the actions set forth in Appendix 5

(Best Management Practices (BMP) Plan) and Appendix 6 (RCRA Project Narrative and

Compliance Schedule) of this Consent Decree to improve its waste management practices,

pursuant to the description and schedule set forth in Appendix 6 (RCRA Project Narrative and

Compliance Schedule). For any wastes generated by or managed in units that are identified in

Section VI (Compliance Projects) of the Uncle Sam Facility Report found in Appendix 4

(Facility Reports) as part of the compliance projects set forth in Appendix 6 (RCRA Project

Narrative and Compliance Schedule) requiring installation, construction, modification, shut



                                                 19
Mosaic Consent Decree – EPA Region 6 and LDEQ


down, or replacement to cease commingling of hazardous wastes with Bevill-Exempt Wastes,

and for any wastes that will be managed differently as a result of installing, constructing,

modifying, shutting down, or replacing units, as specified in Section VI (Compliance Projects) of

Appendix 4 (Facility Reports), Mosaic’s waste management obligations under this Section V

(Compliance Requirements) shall become effective upon completion of those compliance

projects.

       (c)     Faustina Facility. Mosaic shall implement certain Facility changes at the Faustina

Facility pursuant to the description and schedule set forth in the Faustina Facility Report found in

Appendix 4 (Facility Reports) and Appendix 6 (RCRA Project Narrative and Compliance

Schedule). For any wastes that will be managed differently as a result of installing, constructing,

modifying, shutting down, or replacing units, as specified in Section VI (Compliance Projects) of

Appendix 4 (Facility Reports), Mosaic’s waste management obligations under this Section V

(Compliance Requirements) shall become effective upon completion of those compliance

projects.

       14.     Hazardous Waste Determinations.

       (a)     Uncle Sam Facility. Mosaic shall make a RCRA hazardous waste determination,

pursuant to 40 C.F.R. § 262.11, of all solid wastes generated at the Uncle Sam Facility within

Upstream or Downstream Operations, or from Mixed-Use, Grandfathered Units, or BHT

Recovery Units other than: (1) Bevill-Exempt Wastes; and (2) those wastes that Paragraphs 15-

18 of this Consent Decree allow to (i) be input to Upstream Operations or (ii) managed in BHT

Recovery Units or (iii) managed with Bevill Exempt Wastes, and, if the wastes are hazardous,

Mosaic shall manage such wastes in compliance with the RCRA Requirements.




                                                 20
Mosaic Consent Decree – EPA Region 6 and LDEQ


       (b)     Faustina Facility. Mosaic shall make a RCRA hazardous waste determination,

pursuant to 40 C.F.R. § 262.11, of all solid wastes generated at the Faustina Facility other than

those wastes that Paragraph 16 allows to be input to Granulation or managed in IGPUs, GPUs or

the Granulation Sump Ditches, and, if the wastes are hazardous, Mosaic shall manage such

wastes in compliance with the RCRA Requirements.

       15.     Wastes from Upstream Operations and Co-Managed Wastes at the Uncle Sam
               Facility.

       (a)     Provided that any Phosphogypsum Stack System ultimately receiving the wastes

enumerated below is subject to the requirements of Appendix 1, Attachment B (Groundwater

Requirements), Attachment C (Phosphogypsum Stack System Construction and Operational

Requirements), and Sections I, II, III and VI of Attachment D (Closure of Phosphogypsum

Stacks/Stack Systems), as modified by Paragraph 22(a)(2)(i), and the Financial Assurance

requirements of this Consent Decree set forth in Paragraph 25 and Appendix 2 (collectively the

Stack System Requirements), the following wastes may be: (i) input into Upstream Operations;

or (ii) treated, stored, managed, transported or disposed of together with Bevill-Exempt Wastes

in accordance with this Consent Decree:

               (1)     Process Wastewater, Phosphogypsum Stack System Wastewater, and

               Phosphogypsum;

               (2)     Wastes from air pollution control devices that are associated with

               Upstream Operations or that are identified as Mixed-Use Units in the Uncle Sam

               Facility Report; and

               (3)     Wastes generated from the use of Phosphogypsum Stack System

               Wastewater, Process Wastewater, a Non-Hazardous Aqueous Cleaning Solution,

               or any combination thereof, to clean pipes, tanks, process equipment, or other

                                                21
Mosaic Consent Decree – EPA Region 6 and LDEQ


              storage or transport units that are:

                        (i)     Part of Upstream Operations;

                        (ii)    Serve to manage, store, or transport Bevill-Exempt Wastes; or

                        (iii)   Identified as Mixed-Use or Grandfathered Units in the Uncle Sam

                        Facility Report.

       (b)    Prior to commencement of operations of Compliance Project 1 (Big Holding Tank

and Wash Solution System in the Phosphoric Acid Plant) and Project 2 (Cleaning Solution

Return Piping) of Section VI (Compliance Projects) of Appendix 4 (Facility Reports) at the

Uncle Sam Facility, Mosaic may continue to manage wastes generated from Upstream

Operations, Mixed-Use Units, Grandfathered Units, BHT Recovery Units, or units that serve to

manage, store, or transport Bevill-Exempt Wastes as specifically documented in Mosaic’s

consolidated waste management practices submittal dated September 8, 2015.

       (c)    Following commencement of operations of Compliance Project 1 (Big Holding

Tank and Wash Solution System in the Phosphoric Acid Plant) and Project 2 (Cleaning Solution

Return Piping) of Section VI (Compliance Projects) of Appendix 4 (Facility Reports) for the

Uncle Sam Facility, the following wastes may be input to Upstream Operations via the BHT as

described in Projects 1 and 2 of Section VI (Compliance Projects) of the Uncle Sam Facility

Report set forth in Appendix 4 and in accordance with the BMP set forth in Appendix 5:

                  (1)           Spills and leaks of all grades of phosphoric acid, sulfuric acid,

                  FSA, SACS, PACS, FSACS, or BHT Effluent; or NHACS, Process

                  Wastewater, or Phosphogypsum Stack System Wastewater when mixed with

                  any of the preceding solutions due to spills, leaks, or cleaning of spills and

                  leaks;



                                                  22
Mosaic Consent Decree – EPA Region 6 and LDEQ


                  (2)         Wastes generated from the use of SACS, PACS, BHT Effluent,

                  FSA, FSACS, NHACS, Process Wastewater, and/or Phosphogypsum Stack

                  Wastewater to clean pipes, tanks, process equipment, or other storage or

                  transport units that are:

                              (i)     Part of Upstream Operations;

                              (ii)    Serve to manage, store, or transport Bevill-Exempt Wastes;

                              or

                              (iii)   Identified as Mixed-Use, Grandfathered, or BHT Recovery

                              Units in the Uncle Sam Facility Report.

       In the event of a process upset after commencement of operations of the BHT and

Cleaning Solution Return Piping Projects that prevents the input of SACS, PACS, BHT Effluent,

FSA, or FSACS to Upstream Operations via the BHT, Mosaic: (1) shall not discharge to the

Phosphogypsum Stack System any SACS, PACS, BHT Effluent, FSA, or FSACS in cleaning

those units affected by the process upset; and (2) shall make a RCRA hazardous waste

determination, pursuant to 40 C.F.R. § 262.11, of any cleaning wastes generated from BHT

Recovery Units and not input to the BHT and, if the wastes are hazardous, shall manage such

wastes in compliance with the RCRA Requirements. (d) If Mosaic, in the cleaning of Upstream

Operations, Mixed-Use, Grandfathered, or BHT Recovery Units, uses any cleaning materials

other than Phosphogypsum Stack System Wastewater, Process Wastewater, BHT Effluent,

PACS, SACS, FSA, FSACS, or NHACS that, if evaluated as a solid waste before use, would be

a RCRA listed or characteristic hazardous waste as defined by 40 C.F.R., Part 261, Subparts C

and D and would generate a hazardous waste when mixed with Bevill-Exempt Process

Wastewater under the Bevill Mixture Rule, 40 C.F.R. § 261.3(a)(2)(i) and (g)(4), then Mosaic



                                                23
Mosaic Consent Decree – EPA Region 6 and LDEQ


shall make a RCRA hazardous waste determination pursuant to 40 C.F.R. § 262.11, of the

cleaning waste and, if the waste is hazardous, Mosaic shall manage such waste in compliance

with the RCRA Requirements.

       (e)     Mosaic shall manage any solids removed by means other than cleaning solutions

from Upstream Operations, Mixed-Use, Grandfathered, and BHT Recovery Units in accordance

with the BMP set forth in Appendix 5.

       (f)     Equipment maintenance, repair activities, and emergency situations in

Downstream Operations at a Facility may occasionally require Mosaic to temporarily store or

transport a First Saleable Product in or through tanks or pipes that are part of Upstream

Operations, and/or Mixed-Use or Grandfathered Units. Provided that: a) the use of any

individual unit in Upstream Operations, or any Mixed-Use or Grandfathered Unit, for such

temporary storage of a First Saleable Product does not exceed ninety (90) Days consecutively or

one-hundred twenty (120) Days cumulatively per calendar year; and b) if the First Saleable

Product is not stored or transported for greater than ninety (90) Days consecutively outside of

Downstream Operations, then the cleaning wastes generated from such units that are used for the

temporary transport and storage of the First Saleable Product may be managed with wastes from

Upstream Operations. Notice of such temporary use of tanks or pipes that are part of Upstream

Operations, or of Mixed-Use or Grandfathered Units, for a First Saleable Product must be given

to EPA and LDEQ within seven (7) Days of the commencement of such temporary use, but

advance approval will not be required. Mosaic shall keep a log of all such temporary uses. If

Mosaic violates any of the time limits set forth in this Paragraph, Mosaic shall not manage

cleaning wastes generated outside the prescribed time period with wastes from Upstream

Operations. In the event of a second violation of any of these time limits within three-hundred



                                                24
Mosaic Consent Decree – EPA Region 6 and LDEQ


and sixty-five (365) Days of a first violation, Mosaic within 30 Days shall construct a separate

system for the temporary transport and storage of the First Saleable Product, which system shall

be part of Downstream Operations. Violations of the time limits set forth in this Paragraph are

not subject to Paragraph 32 (Correction of Non-Compliance) but may be subject to dispute

resolution (but not judicial review) under Section XI of this Consent Decree (Dispute

Resolution) or to a claim under Section X (Force Majeure).

       16.     Wastes from Downstream Operations at Uncle Sam and Faustina. Unless

otherwise authorized by Paragraphs 15(a), (b), (c), (e) or (f), Paragraphs 16 (a) - (c), below, or

Paragraphs 17(a) or (b), Mosaic shall manage all hazardous wastes generated from: Downstream

Operations (including, without limitation, units that transport, store, treat, or manage the First

Saleable Product (e.g., pipes, tanks, railcars, barges); chemical manufacturing processes that use

the First Saleable Product as a feedstock (e.g., MAP/DAP, SPA or PPA processes); FSA

production processes; pollution control devices, waste storage, transport and treatment units,

cleaning wastes (liquid and solids), and spills and leaks from all such processes and units) in

compliance with the RCRA Requirements, regardless of the use of any Bevill-Exempt Wastes as

influent to such Downstream Operations. If any Mixed-Use Units or Grandfathered Units are

replaced, modified, or reconfigured after the date of the Uncle Sam Facility Report such that they

serve to manage, store or transport materials from Downstream Operations that are not identified

in that Facility Report as being associated with those Units, they will be deemed to serve

Downstream Operations, and any hazardous wastes generated thereafter from such Units will be

subject to this Paragraph.

       (a)     Waste Management at Uncle Sam. Mosaic may re-use or recover certain wastes

from Downstream Operations in Upstream or Downstream Operations as specifically



                                                 25
Mosaic Consent Decree – EPA Region 6 and LDEQ


documented in the Uncle Sam Facility Report.

       (b)      Waste Management at Faustina. The Faustina Facility does not engage in mineral

processing and does not generate Bevill-Exempt wastes. All solid wastes generated at the

Faustina Facility as described in Faustina’s Facility Report are generated from Downstream

Operations. Prior to completion of the Faustina Facility changes required pursuant to Paragraph

13(b) above, Mosaic may continue to manage wastes from the Granulation Sump Ditches,

IGPUs, and GPUs as specifically documented in Mosaic’s consolidated waste management

practices submittal dated September 8, 2015. Upon completion of Faustina Project 3

(Granulation Plant Holding Tank Installation) set forth in Appendix 6 (RCRA Project Narrative

and Compliance Schedule), Mosaic shall no longer use the IGPUs to manage wastes.

                (1) Cleaning Wastes. Wastes generated from the use of NHACS, SACS, IGPU

Effluent or GPU Effluent to clean pipes, tanks, process equipment, or other storage or transport

units and spills and leaks of NHACS, IGPU Effluent, GPU Effluent, SACS, phosphoric acid, or

sulfuric acid may be input to Granulation, as described in Section V (Current Configuration) of

Faustina’s Facility Report. In the event of a process upset that prevents the input of such wastes

to Granulation , Mosaic shall make a RCRA hazardous waste determination of the cleaning

wastes generated from those units affected by the process upset, pursuant to 40 C.F.R. § 262.11

and, if the wastes are hazardous, shall manage such wastes in compliance with the RCRA

Requirements.

                (2)    Projects. Mosaic has already modified certain of the containment pads

and sumps at the Faustina Facility, as identified in the Faustina Facility Report.

_                      (i) Granulation Sump Ditches. Mosaic shall implement Project 9

(Inspections, Maintenance and Repair of Ditches Flowing in the Granulation Sump) for the



                                                 26
Mosaic Consent Decree – EPA Region 6 and LDEQ


Granulation Sump Ditches in compliance with Appendix 6 (RCRA Project Narrative and

Compliance Schedule) for Project 7 and thereafter shall manage the Granulation Sump Ditches

in compliance with Project 7.

                      (ii) IGPUs. Mosaic shall implement Projects 4 (Interim Granulation Plant

Units - Tanks and Transfer Lines Operating Requirements) and 5 (Interim Granulation Plant

Units - Sump Operating Requirements) for all IGPUs in compliance with Appendix 6 (RCRA

Project Narrative and Compliance Schedule) until completion of Faustina Project 3 (Granulation

Plant Holding Tank Installation) set forth in Appendix 6 (RCRA Project Narrative and

Compliance Schedule).

                      (iii) Other Projects. Mosaic shall implement Projects 3 (Granulation Plant

Holding Tank Installation), 6 (RCRA Requirements), 7 (40 CFR Part 265, Subpart J- Tank

Standards for the Granulation Sump), 8 (40 CFR Part 265, Subpart J- Tank Standards for the

Existing Holding Tank Sump), and 10 (RCRA Training) in compliance with and on the

schedules set forth in Appendix 6 (RCRA Project Narrative and Compliance Schedule). Upon

completion of those projects, Mosaic shall comply with 40 C.F.R. Parts 262 and 265 and the

regulations in LAC 33:V. Ch. 11 and 19.

Notwithstanding the foregoing requirements of this Paragraph 16(b), Mosaic may re-use or

recover certain wastes generated at the Faustina Facility in Downstream Operations as

specifically documented in the Faustina Facility Report.

        17.    FSA at the Uncle Sam Facility.

         (a)   FSA, and wastewater carrying entrained solids from FSA production, a part of

Downstream Operations, may be managed as described in Section IV.D (Fluorosilicic Acid




                                                27
Mosaic Consent Decree – EPA Region 6 and LDEQ


(FSA) Standard Process Configuration) and Section VI Compliance Project 1 (BHT) and Project

3 (BHT piping) of Appendix 4 (Facility Reports) for the Uncle Sam Facility.

       (b)     Waste solids not entrained in cleaning solutions but instead mechanically

recovered from FSA production (such as filtration residue, tank bottoms, and Swift Tower clean-

out residue) shall be managed in accordance with the BMP Plan set forth in Appendix 5.

       (c)     Wastes generated from FSA production that are not subject to Paragraphs 17(a)

and 17(b) shall be managed in compliance with the RCRA Requirements.

       18.     Wastes from Treatment of Uncle Sam Phosphogypsum Stack System Wastes.

Provided that any Phosphogypsum Stack System ultimately receiving the wastes complies with

the Stack System Requirements set forth in Paragraph 15(a), wastes generated from the

Treatment of materials in the Phosphogypsum Stack System through (i) the use of reverse

osmosis or (ii) any other Treatment process that does not introduce into such materials hazardous

constituents or other contaminants that would result in a violation of applicable discharge limits

may be: (1) input to Upstream Operations; or (2) treated, stored, managed, transported and

disposed of together with Bevill-Exempt Wastes, in accordance with this Consent Decree.

       19.     Transfer of Wastes between the Facilities. In the event that Mosaic transfers

hazardous waste, or Bevill-Exempt Wastes historically commingled with hazardous waste,

between the Facilities, Mosaic shall comply with the RCRA Requirements. Nothing in this

Consent Decree shall restrict the transfer and management of Bevill-Exempt Wastes and non-

hazardous waste between the Facilities that is in compliance with all federal and Louisiana laws.

       20.     Sulfuric Acid Plant. Mosaic shall manage hazardous wastes generated at the

Uncle Sam sulfuric acid plant in accordance with applicable law.




                                                28
Mosaic Consent Decree – EPA Region 6 and LDEQ


       21.     Site Assessment and Corrective Action.

               (a)     Mosaic has already completed or will complete certain site assessment

activities pursuant to existing RCRA Section 3013 Orders for both Facilities that are deemed to

satisfy the requirements of Paragraphs 1-16 of Appendix 1, Attachment A (Site Assessment,

Reporting and Corrective Action). Mosaic’s obligation to complete the Corrective Action Work

are part of the Work required by this Consent Decree, but shall be set forth in and governed by an

administrative agreement, permit, or order issued by LDEQ under its authorized state program,

and subject to EPA’s residual RCRA authorities under RCRA and Paragraphs 21(c) and 88 of this

Consent Decree. Mosaic’s performance of its obligations pursuant to the preceding sentence shall

be subject to Paragraph 9 - 16 of Appendix 1, Attachment A, as applicable.

               (b) Mosaic’s obligations under Paragraphs 17-19 of Attachment A of Appendix 1

shall be deemed to be fully satisfied on the date that LDEQ confirms Mosaic’s certification that

Mosaic has completed all requirements of any such administrative agreement, permit, or order

issued by LDEQ to govern the Corrective Action Work defined in Paragraph 8(g)(1), provided

that EPA does not exercise its residual authorities under RCRA and this Consent Decree as set

forth in Paragraph 21(c), below. Appendix 1, Attachment A is included as part of this Consent

Decree in order to advise the Court and the public of sampling and analysis activities already

completed or that will be completed by Mosaic, pursuant to the RCRA Section 3013 Orders, as

part of its settlement with the United States and LDEQ, and the Parties’ intent to implement any

necessary risk assessment and/or Corrective Action Work under LDEQ’s administrative

authorities, and to reflect Plaintiffs’ residual authority to secure necessary Corrective Action

Work pursuant to their reservation of rights in Paragraphs 86 and 88 of this Consent Decree.




                                                 29
Mosaic Consent Decree – EPA Region 6 and LDEQ


               (c)    EPA reserves the right to fully and directly enforce all the requirements of

Appendix 1, Attachment A, if EPA: (i) notifies Mosaic within sixty (60) Days of LDEQ’s

issuance of an administrative agreement, permit, or order setting forth and governing the

Corrective Action Work defined in Paragraph 8(i)(a), that such administrative agreement, permit,

or order does not adequately address the Corrective Action Work required under Paragraph 18

of Appendix 1, Attachment A; (ii) after consultation with LDEQ, notifies Mosaic that it has

determined that Mosaic is not in compliance with an issued administrative agreement, permit, or

order or (iii) notifies Mosaic within sixty (60) Days of LDEQ’s failure to issue an administrative

agreement, permit, or order for Corrective Action Work that should be required under the terms

of Paragraph 18 of Appendix 1, Attachment A. Any decision by EPA to directly enforce these

Work requirements shall not be subject to judicial review, but shall be subject to dispute

resolution (other than judicial review) pursuant to Section XI (Dispute Resolution) of this

Consent Decree, although Mosaic retains its right to invoke dispute resolution as set forth in

Section XI (Dispute Resolution) regarding any liability for asserted non-compliance with the

Work requirements of this Consent Decree, including any liability for stipulated penalties.

       22.     Phosphogypsum Stack Systems at the Facilities.

       (a)     Uncle Sam Facility. If Mosaic is in compliance with the requirements of

Paragraph 22(a), such compliance shall be deemed to satisfy the corresponding requirements of

the Louisiana Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.)

and the regulations promulgated thereunder (LAC 33:VII, Subpart 1), applicable to

Phosphogypsum Stack Systems, with respect to the Uncle Sam Phosphogypsum Stack System.

               (1) Mosaic shall comply with all requirements set forth in Appendix 1,

Attachment B (Groundwater Requirements), Attachment C (Phosphogypsum Stack System



                                                30
Mosaic Consent Decree – EPA Region 6 and LDEQ


Construction and Operational Requirements), Attachment D (Closure of Phosphogypsum

Stacks/Stack Systems), Attachment E (Imminent and Substantial Endangerment Diagnostic

Requirements), and Attachment G (Phosphogypsum Stack System Closure Application) at the

Uncle Sam Facility, except as provided in Appendix 8. The Parties agree that AOC MM-AOA-

14-00269 shall be terminated as a separate order as of the Effective Date.

               (2) Liner Alternatives

               (i)    Plaintiffs agree that the Uncle Sam Phosphogypsum Stack System, subject

to Mosaic’s completion of the Work required pursuant to Appendix 7 (Liner Compliance

Requirements, Exemptions and Conditions) of this Consent Decree, either (i) meet the liner

requirements of Appendix 1, Attachment C (Phosphogypsum Stack System Construction and

Operational Requirements); or (ii) complies or will comply with the requirements, exemptions

and conditions of Appendix 7 (Liner Compliance, Exemptions and Conditions) upon completion

of the projects identified in Appendix 7, and thereby are or will be deemed to be environmentally

protective and an acceptable alternative to the requirements of Appendix 1, Attachment C

(Phosphogypsum Stack System Construction and Operational Requirements).

               (ii)   In the event that Mosaic determines that it is not in compliance with the

requirements, exemptions, and/or conditions set forth in Appendix 7 for the Uncle Sam Facility,

Mosaic within ninety (90) Days of identifying the non-compliance shall investigate the cause of

the non-compliance and submit an Evaluation of Remedial Options to address the non-

compliance for approval by EPA, in consultation with LDEQ. The Evaluation of Remedial

Options must: (i) evaluate the cause of the failure to meet the requirements and/or conditions in

Appendix 7; (ii) identify and evaluate those measures needed to return to compliance with

Appendix 7; (iii) identify and evaluate potential remedial alternatives to address any groundwater



                                                31
Mosaic Consent Decree – EPA Region 6 and LDEQ


contamination that has migrated beyond the Point(s) of Compliance for the Uncle Sam Facility

as provided in Appendix 1, Attachment B (Section IV); (iv) identify and evaluate potential

remedial alternatives to prevent or mitigate further migration of groundwater contamination; and

(v) recommend one of the identified remedial alternatives for implementation.

               (iii)   If EPA, in consultation with LDEQ, determines that Mosaic is not in

compliance with the requirements, exemptions, and/or conditions set forth in Appendix 7 for a

the Uncle Sam Facility, EPA shall so notify Mosaic in a written statement explaining the basis

for its conclusion. Within ninety (90) Days of receiving such notice from EPA, Mosaic shall

submit to EPA for approval, in consultation with LDEQ, the Evaluation of Remedial Options as

required by Paragraph 22(a)(ii) or shall submit pursuant to Paragraphs 27-31 a written

explanation of why it does not believe the alleged failure exists.

               (3) If Mosaic determines to construct a Lateral Expansion of the existing Uncle

Sam Phosphogypsum Stack System adjacent to the existing Phosphogypsum Stack System (e.g.,

"Expansion Stack 5A") with an alternative design than Appendix 1, Attachment C, Section VI,

then, no less than eighteen months prior to the start of construction of Expansion Stack 5A,

Mosaic shall submit a proposed design to EPA and LDEQ for their review and approval, and a

solid waste permit major modification request to LDEQ in accordance with applicable provisions

of the Louisiana Solid Waste regulations. Any Phosphogypsum Stack System expansion

documentation submitted pursuant to Appendix 2 (Financial Assurance) shall not affect LDEQ’s

permit authority under the Louisiana Solid Waste regulations. If LDEQ approves an alternative

liner in accordance with applicable Louisiana Solid Waste Regulations, which is subject to “EPA

review” under Paragraph 31, the alternative liner shall be deemed to satisfy the liner

requirements of Appendix 1, Attachment C, Section VI.



                                                 32
Mosaic Consent Decree – EPA Region 6 and LDEQ


               (4) Mosaic shall submit the Initial Phosphogypsum Stack System Closure Plan

required in Appendix 1, Attachment D, Section II simultaneously with its first annual updated

Cost Estimate submitted pursuant to Appendix 2, Paragraph 4(b).

       (b)     Faustina Facility. Mosaic shall comply with Section VI (Long Term Care for

Phosphogypsum Stacks/Stack Systems) requirements of Appendix 1, Attachment D (Closure of

Phosphogypsum Stacks/Stack Systems), all groundwater monitoring requirements of Attachment

B (Groundwater Requirements), and Section I of Attachment E (Imminent and Substantial

Endangerment Requirements) for the Faustina Facility. If Mosaic is in compliance with the

approved post-closure plan for this Facility, such compliance shall be deemed to satisfy the

Work requirements of Appendix 1, Attachment D.

       23.     DAP Recycle Pond at the Faustina Facility. Mosaic shall comply with

requirements in Appendix 6 (RCRA Project Narrative and Compliance Schedule) regarding

Plaintiffs’ April 9, 2014 approval of Mosaic’s Sampling and Analysis Report and future closure

of the DAP Recycle Pond. Mosaic shall not place wastes in the DAP Recycle Pond, but may

continue to use the DAP Recycle Pond to collect stormwater. Provided that Mosaic complies

with this requirement, it shall not be required under this Consent Decree to conduct additional

sampling of the DAP Recycle Pond, although EPA and LDEQ reserve all authorities to require

sampling under applicable federal or state law. The final plan for the closure of the DAP Recycle

Pond is subject to the LDEQ Risk Evaluation/Corrective Action program (RECAP), and

Paragraphs 27-31.

        24.     Aboveground Facilities for the Permitted UIC Well. Mosaic shall comply with

Appendix 8.




                                                33
Mosaic Consent Decree – EPA Region 6 and LDEQ


       25.     Financial Assurance. Mosaic shall secure and maintain Financial Assurance for

the benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance)

of this Consent Decree as specified in Paragraphs 25(a) and 25(b) below. Mosaic’s inability to

secure and/or maintain adequate Financial Assurance for the Uncle Sam and/or Faustina

Facilities shall in no way excuse performance of the Work or any other requirement of this

Consent Decree.

         (a)   Uncle Sam Facility. Mosaic shall secure and maintain Financial Assurance for

the benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance)

of this Consent Decree, including a corporate guarantee provided by The Mosaic Company and

attached hereto as Appendix 2, Attachment I, in order to ensure coverage for: (i) Third-party

Liability; and (ii) Phosphogypsum Stack System Closure (and Long-Term Care).

         (b)   Faustina Facility. Mosaic shall secure and maintain Financial Assurance for the

benefit of EPA and LDEQ pursuant to the requirements of Appendix 2 (Financial Assurance) of

this Consent Decree, including a corporate guarantee provided by The Mosaic Company and

attached hereto as Appendix 2, Attachment I, in order to ensure coverage for: (i) Third-party

Liability; (ii) Phosphogypsum Stack System Long Term Care; and (iii) Closure and Long Term

Care, as defined in Appendix 2, for the DAP Recycle Pond.

         (c)   If Mosaic establishes Financial Assurances under Paragraphs 25(a) and 25(b)

pursuant to the requirements of Appendix 2, such Financial Assurances shall also satisfy

Mosaic’s obligations to comply with LAC 33:V. Chapter 37 and LAC 33:VII. Chapter 13,

including the reporting requirements thereof, with respect to (a) Closure and Post-Closure Care

for the Phosphogypsum Stack System at the Uncle Sam Facility, (b) Post-Closure Care for the




                                                34
Mosaic Consent Decree – EPA Region 6 and LDEQ


Phosphogypsum Stack System at the Faustina Facility, and (ii) Closure and Post-Closure Care

for the DAP Recycle Pond at the Faustina Facility.

         (d)   Corrective Action Work at Uncle Sam and Faustina Facilities. In the event that

LDEQ or EPA determine that, pursuant to Paragraphs 21 or 22, Corrective Action Work is

required, then Financial Assurance for the Corrective Action Work shall be addressed through an

administrative agreement, order, or the modification of the Facility’s solid waste permit in the

manner provided in LAC 33:VII.1305. If EPA, in lieu of LDEQ, directs Corrective Action Work

pursuant to this Consent Decree, then Mosaic shall secure and maintain Financial Assurance for

Corrective Action Work for the benefit of EPA pursuant to Appendix 2, Section IV.

       26.     In addition to the financial assurance information included in the reports required

pursuant to Section VIII (Reporting Requirements) of this Consent Decree, Mosaic or The

Mosaic Company as guarantor shall provide to EPA and LDEQ, upon request, any information

or reports that Plaintiffs are authorized to request pursuant to Section 3007 of RCRA, 40 C.F.R.

Part 264 Subpart H, La. R.S. 30:2001 et seq. and LAC 33:VII.Chapter 13, or any other

applicable statutory or regulatory information-gathering authorities, regarding the financial status

of Mosaic or The Mosaic Company as guarantor, the financial mechanism(s) provided by Mosaic

or The Mosaic Company as guarantor to meet its obligation for Financial Assurance, and the

financial institution or guarantor providing the financial mechanism(s) to secure Mosaic’s or The

Mosaic Company’s obligations, pursuant to Appendix 2 (Financial Assurance).

       27.     Review and/or Approval of Submissions. Where any provision of this Consent

Decree requires Mosaic to submit a plan, notification, report, procedure, protocol or other

deliverable, the submission shall be subject to either "EPA approval" or "EPA review," as set

forth in Paragraphs 28-31, below. If there is any question as to whether a particular submission



                                                35
Mosaic Consent Decree – EPA Region 6 and LDEQ


requires EPA approval or review, it shall be submitted for approval subject to EPA’s discretion

to treat it as a submission for review. All work plans, reports and other items that are developed

and submitted to EPA for approval pursuant to this Consent Decree shall be complete and

technically adequate, and shall incorporate all applicable requirements of Appendix 1.

       28.     Submissions Subject to EPA Approval. After review of any work plan, report, or

other item set forth below that is required to be submitted, or revised and resubmitted to EPA for

approval pursuant to this Consent Decree, EPA, after consultation with LDEQ, shall in writing:

(a) approve the submission; (b) approve the submission upon specified conditions; (c) approve

part of the submission and disapprove the remainder; or (d) disapprove the submission. In the

event of disapproval of any portion of the submission, EPA shall include a statement of the

reasons for such disapproval in its response. The following submissions required under

Appendix 1 are subject to EPA approval:

               1.     Groundwater Monitoring Plan (Attachment B, Section III (1) and (2));
               2.     Stack Closure Plan (Attachment D, Section I, Section III (1));
               3.     Initial Stack Closure Plan (Attachment D, Section II (1));
               4.     Corrective Action Plan (Attachment A, (18)) and Attachment B, Section IV
                      (3));
               5.     Interim Stack System Monitoring Program and Monitoring Program
                      Revisions (Attachment C, Section I (6));
               6.     Dike Concerns, including Problems, Proposals to Upgrade or Retrofit
                      Dikes, Submissions of Interim Measures for Dike Stability and Submissions
                      of Proposals to Modify the Existing Dike System (Attachment C, Section II
                      (1), (2), (3) and (5));
               7.     Liners for New Stack Systems Construction: (1) Submission of
                      Construction Quality Assurance Plan for Composite Liner Design; (2)
                      Provision of Liner System Installation Report of Compliance with
                      Construction Quality Assurance Plan after Installation of Liner is Complete;
                      (3) Submission of Documentation of Quality Control Testing of the Liner
                      Construction (Attachment C, Section VI);
               8.     Alternatives Plan and Implementation Schedule for Water Management
                      (Attachment C, Section VII 6(h) and (7)(c));
               9.     Requests for Temporary Deactivation of Stack System on a Yearly Basis
                      (Attachment D, Section IV (1) - (7));
               10.    Use of Closed Phosphogypsum Stack Systems (Attachment D, Section

                                                36
Mosaic Consent Decree – EPA Region 6 and LDEQ


                       V (5));
               11.     Reduced Long-Term Care Schedule (Attachment D, Section VI (2));
               12.     Submission of outline for a Sampling and Analysis Workplan (Attachment
                       A, (1));
               13.     Submission of Sampling and Analysis Workplan and Sampling and
                       Analysis Report (Attachment A, (2) and (5));
               14.     Submission of Risk Assessment Plan and Report (Attachment A, (18));
               15.     Submission of an Interim Measures Plan and Report (Attachment A, (18));
               16.     Approval to Construct Perimeter Dikes that do not meet minimum 1.5 safety
                       factor (Attachment C, Section III, (1)(e)(ii)):
               17.     Alternate Final Cover (Attachment D, Section III, (7)(c)); and
               18.     Corrective Action Certification Report (Attachment A (18)(a)(iii).

       29.     Approval or Conditional Approval. If the submission is approved pursuant to

Paragraph 28(a), Mosaic shall take all actions required by the plan, report, or other document, in

accordance with the schedules and requirements of the plan, report, or other document, as

approved. If the submission is conditionally approved or approved only in part, pursuant to

Paragraph 28(b) or (c), Mosaic shall, upon written direction from EPA, take all actions required

by the approved plan, report, or other item that EPA determines are technically severable from

any disapproved portions, subject to Mosaic's right to dispute only the specified conditions, the

disapproval, or the determination of the technical severability of portions of the submission

under Section XI (Dispute Resolution) of this Consent Decree.

       30.     Disapproval in Whole or Part.

       (a)     If the submission is disapproved in whole or in part pursuant to Paragraph 28(c)

or 28(d), Mosaic shall, within sixty (60) Days or such other time as the Parties agree to in

writing, correct all deficiencies and resubmit the plan, report, or other item, or disapproved

portion thereof, for approval, in accordance with the preceding Paragraphs. If the submission

has been previously disapproved, EPA may impose an earlier due-date for resubmission, but not

less than fourteen (14) Days. If the resubmission is approved in whole or in part, Mosaic shall

proceed in accordance with the provisions of this Paragraph governing approval of submissions.

                                                 37
Mosaic Consent Decree – EPA Region 6 and LDEQ


       (b)     If a resubmitted plan, report, or other item, or portion thereof, is disapproved in

whole or in part, EPA, after consultation with LDEQ, may again require Mosaic to correct any

deficiencies in accordance with the preceding Paragraphs, may itself correct any deficiencies, or

may finally disapprove the submission, subject to Mosaic's right to invoke dispute resolution

under Section XI (Dispute Resolution) and the right of EPA and LDEQ to seek stipulated

penalties as provided in the following Sub-Paragraph. If the resubmission is approved or

corrected in whole or in part, Mosaic shall proceed in accordance with Paragraph 29.

       (c)     Any stipulated penalties applicable to the original submission, as provided in

Section IX (Stipulated Penalties) of this Consent Decree, shall accrue during the sixty (60) Day

period or other agreed upon period, but shall not be payable unless the resubmission is untimely

or is disapproved in whole or in part; provided that, if the original submission was so deficient as

to constitute a material breach of Mosaic's obligations under this Consent Decree, the stipulated

penalties applicable to the original submission shall be due and payable notwithstanding any

subsequent resubmission.

       31.     Submissions subject to EPA Review. For submissions set forth below that are

subject to EPA review, EPA, in consultation with LDEQ, within 60 Days of receiving the

submission may provide written comments on the submission, in whole or in part, or EPA may

decline to comment, or may notify Mosaic that comments will be provided at a later date not to

exceed 120 Days from the date of submission. If EPA provides written comments, Mosaic

within 45 Days of receiving such comments shall modify the submission consistent with EPA's

written comments unless it has invoked Dispute Resolution pursuant to Section XI of the

Consent Decree. A decision by EPA to decline to comment does not constitute approval of the

submission or waive any obligation by Mosaic to comply with the requirements of this Consent



                                                38
Mosaic Consent Decree – EPA Region 6 and LDEQ


Decree or any applicable federal, Louisiana, or local laws governing such submissions. The

following submissions required by Appendix 1 and this Consent Decree are subject to EPA

review:

              1.     Groundwater Monitoring Well Reports (Attachment B, Section III (3)(a)
                     and (b));
              2.     Inspection of Phosphogypsum Stack Report (Attachment C, Section
                     VII (3));
              3.     Information on Perimeter Dikes (Attachment C, Section II (1));
              4.     Report on Final Survey and Record Drawings after Permanent Closure is
                     complete (Attachment D, Section V (2));
              5.     Certification of Closure Construction Completion (Attachment D, Section
                     V (3));
              6.     Certification of Long-Term Care Completion (Attachment D, Section VI
                     (4));
              7.     Notification of Groundwater Sampling Schedule (Attachment B, Section
                     II (3)(d));
              8.     Notification of Start Date of Construction of New Dikes (Attachment C,
                     Section III (5)(a));
              9.     Report on Conditions for Temporary Non-emergency Use of the Design
                     Freeboard (Attachment C, Section IV, (2)(b) and (c));
              10.    File on Inspection of a New Phosphogypsum Stack System (Attachment
                     C, Section V (4));
              11.    Annual Contingency Plan and Training Plan (Attachment C, Section VIII
                     (1) and (2));
              .12.   Replacement of Monitoring Device within Sixty (60) Days of Notification
                     to EPA (Attachment D, Section VI (3));
              13.    Documentation Demonstrating the Continued Safety and Stability of the
                     Dike (Attachment E, Section II (1));
              14.    Expansion Stack 5A alternative liner (Consent Decree ¶ 22(a)(3));
              15.    Submission of Report of Critical Condition and Proposal for Correction
                     (Attachment E, Section I (1) and Section III (1));
              19.    Final Construction Quality Assurance Report (Attachment D, Section III
                     (8));
              20.      Remedial EDI Plan (Attachment E, Section IV (4)); and
              21.    Corrective Action Work Implementation Plan (Attachment A (18)(a)(ii)(2).
              22.    Submission of a RECAP Evaluation (Attachment B, Section IV); and
              23     New Phosphogypsum Stack System or Lateral Expansion designed with an
                     appropriate safety factor (Attachment C, Section VI, (4);




                                                39
Mosaic Consent Decree – EPA Region 6 and LDEQ


       32.     Correction of Non-Compliance at the Uncle Sam Facility.

       (a)     If Mosaic determines, with or without notice from EPA and/or LDEQ, that it is

violating, or will violate, any requirement of Section V (Compliance Requirements) of this

Consent Decree, other than those set forth in Paragraphs 15(f) (temporary storage of First

Saleable Product) and 25 (Financial Assurance obligations governed by Appendix 2 (Financial

Assurance)), Mosaic shall submit with its report of the violation, pursuant to Section VIII

(Reporting Requirements) of this Consent Decree, and shall subsequently implement, a

Correction Plan to rectify the violation, if it has not already corrected the violation by the time of

the report. The Correction Plan shall include a schedule for correcting the violation.

       (b) In the event of a violation subject to Paragraph 32(a), Mosaic shall be considered to

be in compliance with this Consent Decree for purposes of: (1) continuing to manage wastes that

Paragraphs 15 through 18 allow to be input to Upstream Operations or Downstream Operations

or managed in BHT Recovery Units or together with Bevill-Exempt Wastes; and (2) assessing

Mosaic’s compliance with this Consent Decree under Paragraphs 34, 85, 86 and 87 of this

Consent Decree, provided that:

         (1)   Mosaic deposits wastes governed by Paragraphs 15-18 only in a Phosphogypsum

       Stack System subject to the Stack System Requirements set forth in Paragraph 15(a); and

         (2)   Mosaic:

                (i).    Timely implements and completes its Correction Plan; or

                (ii).   Refers an allegation of non-compliance with Section V (Work

                Requirements) or with a Correction Plan to dispute resolution pursuant to

                Section XI (Dispute Resolution) and either

                        a.     Prevails in the dispute resolution or



                                                 40
Mosaic Consent Decree – EPA Region 6 and LDEQ


                       b.      Satisfactorily complies with an EPA or judicial directive to correct

                       any instances of non-compliance

(collectively, Continuing Compliance Criteria). Nothing in this Paragraph shall be construed as

EPA approval of Mosaic’s correction efforts pursuant to this Paragraph, as a waiver of stipulated

penalties for the violation pursuant to Section IX (Stipulated Penalties), or as limiting the rights

reserved by Plaintiffs under Section VI (Work Takeover) or Paragraph 88 of this Consent

Decree. EPA reserves the right to require, upon written request that a Correction Plan be

submitted to EPA for approval in accordance with Paragraphs 27 - 31, above. Mosaic’s

compliance with this Paragraph is without prejudice to its rights under Section X (Force

Majeure) and Section XI (Dispute Resolution) of this Consent Decree.

       33.     Permits. Where any compliance obligation under this Section requires Mosaic to

obtain a federal, Louisiana, or local permit, or other form of approval, Mosaic shall submit

timely and complete applications and take such actions as are necessary to obtain all such

permits or approvals. A request for supplementation by the permitting agency does not

constitute a notice or finding that an application was incomplete for the purpose of this

Paragraph unless the permitting agency determines that the original application was so deficient

as to constitute a material breach of Mosaic’s obligations under this Consent Decree. Mosaic

may seek relief under the provisions of Section X (Force Majeure) of this Consent Decree for

any delay in the performance of any such obligation resulting from a failure to obtain, or a delay

in obtaining, any permit or approval required to fulfill such obligation, if Mosaic has submitted

timely and complete applications and has taken such actions as are necessary to timely obtain all

such permits or approvals.




                                                 41
Mosaic Consent Decree – EPA Region 6 and LDEQ


       34.     Provided that Mosaic remains in compliance with Section V (Compliance

Requirements) or the Continuing Compliance Criteria set forth in Paragraph 32 at the Uncle Sam

Facility, that Facility shall not be required to operate as a Treatment Storage and Disposal

Facility pursuant to Section 3005 of RCRA and its implementing federal and/or Louisiana

regulations, with respect to:

               (a) the treatment, storage, transport, management, and disposal of Bevill-Exempt

       Wastes that have been commingled with hazardous wastes or otherwise managed in

violation of law as alleged in the Complaint,

                       (i) prior to the lodging of this Consent Decree,

                       (ii) prior to completing the compliance projects set forth in Appendix 6

       (RCRA Project Narrative and Compliance Schedule) as provided by Paragraph 13, or

                       (iii) during timely implementation of a Correction Plan as set forth in

       Paragraph 32; and

               (b) wastes that Paragraphs 15 through 18 allow to be input to Upstream

Operations or Downstream Operations or managed in BHT Recovery Units or together with

Bevill-Exempt Wastes.

                                    VI. WORK TAKEOVER

       35.     In the event EPA determines that Mosaic has: (a) ceased implementation of any

portion of the Work; or (b) is seriously or repeatedly deficient or late in its performance of the

Work; or (c) is implementing the Work in a manner that may cause an endangerment to human

health or the environment, EPA, after consultation with LDEQ and with the joint approval of the

EPA Region 6 Regional Administrator and the Assistant Administrator for the EPA Office of

Enforcement and Compliance Assurance, may issue a written notice (Work Takeover Notice) to



                                                 42
Mosaic Consent Decree – EPA Region 6 and LDEQ


Mosaic. Any Work Takeover Notice issued by EPA shall specify the grounds upon which such

notice was issued and shall provide Mosaic a period of thirty (30) Days within which to remedy

the circumstances giving rise to EPA’s issuance of such notice.

       36.     If, after expiration of the thirty (30) Day period specified in Paragraph 35 of this

Section, the Work Takeover Notice has not been withdrawn by EPA and Mosaic has not

remedied to EPA’s satisfaction the circumstances giving rise to EPA’s issuance of the Work

Takeover Notice, EPA at any time thereafter may undertake Work Takeover by: (a) assuming

and/or directing the performance of; (b) seeking the appointment of a receiver to direct the

performance of; or (c) accessing Financial Assurance (with the concurrence of LDEQ) to finance

the performance of all or any portions of the Work that EPA deems necessary to correct the

violations or conditions that triggered the Work Takeover Notice pursuant to Paragraph 35

(Work Takeover). EPA shall notify Mosaic in writing (which writing may be electronic) if EPA

determines that implementation of a Work Takeover is warranted under this Section of the

Consent Decree. In the event that EPA seeks to appoint a receiver to direct the performance of

the Work, Mosaic shall not oppose such appointment on grounds other than lack of competence

or conflict of interest, but shall retain its right to challenge the underlying Work Takeover in

Dispute Resolution, as set forth in the following Paragraph and Section XI (Dispute Resolution)

of this Consent Decree. In implementing any Work Takeover, EPA shall make reasonable

efforts not to interfere with Facility operations not directly affected by the conditions that

triggered the Work Takeover.

       37.     In the event that Mosaic invokes Section XI (Dispute Resolution) of this Consent

Decree with respect to EPA’s Work Takeover and/or its selection of options set forth in

Paragraph 36 (which must be disputed together with the underlying Work Takeover and pursuant



                                                 43
Mosaic Consent Decree – EPA Region 6 and LDEQ


to Paragraph 76(a) of this Consent Decree), EPA during the pendency of any such dispute may,

in its unreviewable discretion, commence and continue a Work Takeover until the earlier of: (a)

the date that Mosaic remedies, to EPA’s satisfaction, the circumstances giving rise to issuance of

the Work Takeover Notice; or (b) the date that a final decision is rendered in accordance with

Section XI (Dispute Resolution) of the Consent Decree requiring EPA to terminate such Work

Takeover.

       38.     After commencement and for the duration of any Work Takeover, EPA or any

appointed receiver shall have immediate access to and benefit of any Financial Assurance

provided pursuant to Paragraph 25 of this Consent Decree and Appendix 2 to implement the

Work. If EPA or any appointed receiver are unable to access the Financial Assurance, or the

Work addressed by the Work Takeover is not covered by Financial Assurance, then any

unreimbursed costs incurred by EPA in connection with the Work Takeover shall be considered

a financial obligation owed by Mosaic to the United States and collectible in an action to enforce

this Consent Decree. Nothing in this Paragraph shall be construed to relieve Mosaic of its

obligation to provide adequate Financial Assurance pursuant to Appendix 2. In the event that it

is determined in Dispute Resolution that the Work Takeover was not warranted, any unexpended

funds in a Stand-by Trust that originated from a letter of credit, surety bond or corporate

guarantee shall be used to restore any pre-existing Trust Fund to the pre-Work Takeover level, if

necessary, and any balance of unexpended funds shall be released and used to re-establish the

original financial mechanism(s).

                    VII. BENEFICIAL ENVIRONMENTAL PROJECTS

       39.     Within thirty (30) Days after the Effective Date of the Consent Decree, Mosaic

shall deposit $1,000,000.00 into an escrow account established and administered by LDEQ, in



                                                44
Mosaic Consent Decree – EPA Region 6 and LDEQ


accordance with instructions that will be provided by LDEQ within sixty (60) Days of the

lodging of this Consent Decree, for the purpose of LDEQ’s conducting the beneficial

environmental projects (BEPs) identified in this Section. After January 1, 2020, any funds that

remain in this escrow account and that have not been committed to the BEPs identified in this

Section will be transferred by LDEQ to the Louisiana Hazardous Waste Clean-Up Fund.


        40.    Minerals Toxicity Study and Mineral Criteria Assessment BEP. LDEQ will

assess statewide water quality criteria/standards for minerals (e.g., chlorides, sulfates) based

upon a thorough review of scientific literature, data from aquatic toxicity tests, and a review of

criteria/standards from other states and jurisdictions. BEP funding will be utilized in conducting

aquatic toxicity testing that will be utilized in establishing a statewide formula for the

development of mineral criteria and/or standards protective of waters of the State. The results of

these studies will provide data that may be used by Louisiana to help develop or refine state

mineral related standards.

        41.    Minerals Toxicity Study and Mineral Criteria Assessment BEP Objectives. The

objectives for the BEP referenced in Paragraph 40 are to: (1) Develop a study, including acute

and chronic toxicity tests, on representative Louisiana species across a range of hardness values

(including low hardness waters) typical of Louisiana; and (2) Conduct toxicity studies to

determine acute and chronic effects to calculate ratios and/or genus mean acute values that can

be used to help develop State standards for chlorides, sulfates, and/or other appropriate minerals

criteria.

        42.    Producer-Specific Watershed Nutrient Management Plans BEP. LDEQ, in

coordination with the Louisiana State University Agricultural Center, will develop producer-

specific master programs and Watershed Nutrient Management Plans (collectively WNMP) to be

                                                  45
Mosaic Consent Decree – EPA Region 6 and LDEQ


utilized by beef cattle, dairy, and poultry producers for the purpose of reducing pollution, such as

excess nutrients, into the environment through improved farm practices specific to producer

needs. These WNMPs will enhance the Comprehensive Nutrient Management Plans that are

available from the United States Department of Agriculture (USDA) by incorporating

complementary activities for nutrient management, such as operation and maintenance, tracking,

monitoring, and beneficial use.

       43.         Producer-Specific Watershed Nutrient Management Plans BEP Objectives. The

objectives for the BEP referenced in Paragraph 42 are to: (1) Develop WNMPs to address

nutrients, potentially including the completion of an environmental needs assessment to identify

the water quality issues for a watershed; and (2) Develop WNMPs for the identified producer-

specific commodities in targeted watersheds.

       44.         Mosaic’s funding of the escrow account shall not be construed as an endorsement

of, and Mosaic reserves all rights to dispute, any methodologies, analyses, conclusions or findings

resulting from the BEPs described above.

             45.      If Defendant fails to deposit funds in the escrow account in accordance with

   Paragraph 39, stipulated penalties may be assessed under Section IX (Stipulated Penalties).

                               VIII. REPORTING REQUIREMENTS

       46.         If Mosaic determines that it has violated or will violate, any requirement of this

Consent Decree, Mosaic shall notify EPA and LDEQ of such violation and its likely duration, in

writing (unless otherwise directed by EPA or LDEQ), within twelve (12) Days of the date

Mosaic first becomes aware of the violation, with an explanation of the likely cause of the

violation and of the remedial steps taken, or to be taken, to prevent or minimize such violation.

If the cause of a violation cannot be fully explained at the time the report is due, Mosaic shall so



                                                    46
Mosaic Consent Decree – EPA Region 6 and LDEQ


state in the report. Mosaic shall investigate the cause of the violation and shall then submit an

amendment to the report, including a full explanation of any identifiable cause(s) of the

violation, within thirty (30) Days of the date Mosaic becomes aware of the violation. Nothing in

this Paragraph or Paragraphs 47 and 48 relieves Mosaic of its obligation to provide the notice

required by Section X of this Consent Decree (Force Majeure).

       47.     Periodic Reporting

       (a)     Uncle Sam. Within forty-five (45) Days after the end of each calendar-quarter

after lodging of this Consent Decree (quarters shall be calculated based on Mosaic’s December

31st end-of-fiscal-year), until the quarter ending after the completion of all the projects listed in

Appendix 6 (RCRA Narrative and Compliance Schedule) for the Uncle Sam Facility , Mosaic

shall submit to EPA and LDEQ a report for the Uncle Sam Facility for the preceding calendar

quarter that shall include (a) the status of any construction or compliance measures described in

Appendix 6; (b) completion of milestones set forth in Appendix 6; (c) problems encountered or

anticipated, together with implemented or proposed solutions, with projects described in

Appendix 6; (d) status of permit applications for projects described in Appendix 6; (e) status of

plans for closure and long-term care and status of permit application, as applicable, for closure or

long-term care; (f) operation and maintenance difficulties or concerns relating to compliance

with Paragraphs 15 and 17 - 18; (g) status of Financial Assurance; (h) a description of any

violation of the requirements of this Consent Decree reported under Paragraph 46 and an

explanation of the likely cause of such violation and of the remedial steps taken, or to be taken,

to prevent or minimize such violation; (i) the log of any temporary use of units in Upstream

Operations, Mixed-Use Units or Grandfathered Units for the storage of the First Saleable

Product; (j) the log of spills and leaks tracked pursuant to the BMP set forth in Appendix 5; and



                                                  47
Mosaic Consent Decree – EPA Region 6 and LDEQ


(k) identification of any confirmed “critical condition” as defined and reported to LDEQ and/or

EPA pursuant to Appendix 1. Thereafter, and for a period of two (2) years, Mosaic shall submit

such reports to Plaintiffs on a semi-annual basis. Thereafter, Mosaic shall submit such reports

annually until such time as Mosaic submits the Uncle Sam Closure Application pursuant to

Appendix 1, Attachments D (Closure of Phosphogypsum Stacks/Stack Systems) and G

(Phosphogypsum Stack System Closure Application). Mosaic shall submit its next report within

one-hundred-eighty (180) Days after the submission of the Uncle Sam Closure Application, and

annually thereafter until this Consent Decree is terminated with respect to the Uncle Sam

Facility.

        (b)    Faustina. Within forty-five (45) Days after the end of each calendar-quarter after

lodging of this Consent Decree (quarters shall be calculated based on Mosaic’s December 31st

end-of-fiscal-year), until the quarter ending after the completion of Projects 1 - 5, 7 - 8, and 10

listed in Appendix 6 (RCRA Narrative and Compliance Schedule) for the Faustina Facility,

Mosaic shall submit to EPA and LDEQ a report for the Faustina Facility for the preceding

calendar quarter that shall include (a) the status of any construction or compliance measures

described in Appendix 6; (b) completion of milestones set forth in Appendix 6; (c) problems

encountered or anticipated, together with implemented or proposed solutions, with projects

described in Appendix 6; (d) status of permit applications for projects described in Appendix 6;

(e) status of plans for long-term care and status of permit application, as applicable, for closure

or long-term care; (f) operation and maintenance difficulties or concerns relating to compliance

with Paragraph 16; (g) status of Financial Assurance; (h) a description of any violation of the

requirements of this Consent Decree reported under Paragraph 46 and an explanation of the

likely cause of such violation and of the remedial steps taken, or to be taken, to prevent or



                                                 48
Mosaic Consent Decree – EPA Region 6 and LDEQ


minimize such violation; and (i) any notification or reporting pursuant to 40 CFR 265.196(d) or

LAC 33:V.1913.D, as set forth in Project 6 in Appendix 6 (RCRA Narrative and Compliance

Schedule) for the Faustina Facility. Thereafter, Mosaic shall submit such reports annually until

this Consent Decree is terminated with respect to the Faustina Facility.

       48.     Whenever any violation of this Consent Decree, or any other event affecting

Mosaic’s performance under this Consent Decree or the performance of its Facility, may pose an

immediate threat to the public health or welfare or the environment, Mosaic shall, unless

otherwise directed, notify EPA and LDEQ in Section XV (Notices) orally or by electronic or

facsimile transmission as soon as possible, but no later than twenty-four (24) hours after Mosaic

first knew of the event, and shall comply with the requirements of Appendix 1, Attachment E

(Imminent and Substantial Endangerment Diagnostic Requirements). Any violation of this

notice requirement shall be deemed to terminate on the Day that both Plaintiffs have received

actual notice of the violation or event from Mosaic or by other means. This notice requirement

does not relieve Mosaic of its obligation to comply with any federal and state laws applicable to

the violation or event. This notice requirement is in addition to the requirement to provide notice

of a violation of this Consent Decree set forth in the preceding Paragraph.

       49.     All reports shall be submitted to the persons designated to receive Notices for

Plaintiffs in Section XV (Notices) of this Consent Decree. All notices and submittals to “EPA

and/or LDEQ” under this Consent Decree (including Appendices), other than those required by

this Section or that are submitted for approval pursuant to Paragraphs 27-31, may be submitted to

LDEQ only, provided that a copy of the cover letter identifying the notice or submittal is also

sent to EPA. Mosaic also shall supply EPA with a copy of such notice(s) or submittal(s) upon

request by EPA.



                                                49
Mosaic Consent Decree – EPA Region 6 and LDEQ


       50.     Each report submitted by Mosaic under this Section shall be signed by a

responsible corporate official of Mosaic (as defined in 40 C.F.R. § 270.11(a)) and shall include

the following certification:

               I certify under penalty of law that this document and all attachments
               were prepared under my direction or supervision in accordance with
               a system designed to assure that qualified personnel properly gather
               and evaluate the information submitted. Based on my inquiry of the
               person or persons who manage the system, or those persons directly
               responsible for gathering the information, the information submitted
               is, to the best of my knowledge and belief, true, accurate, and
               complete. I am aware that there are significant penalties for
               submitting false information, including the possibility of fine and
               imprisonment for knowing violations.

This certification requirement does not apply to emergency notifications where compliance

would be impractical.

       51.     The reporting requirements of this Consent Decree do not relieve Mosaic of any

reporting obligations required by the RCRA Requirements, or by any other federal, Louisiana, or

local law, regulation, permit, or other requirement. However, the reporting requirements of this

Consent Decree shall not require Mosaic to re-submit any report, plan or information submitted

by Mosaic to EPA and/or LDEQ prior to the Effective Date of this Consent Decree.

       52.     Any information provided pursuant to this Consent Decree may be used by the

Plaintiffs in any proceeding to enforce the provisions of this Consent Decree and as otherwise

permitted by law.

                               IX. STIPULATED PENALTIES

       53.     Mosaic shall be liable for stipulated penalties to the United States and LDEQ for

violations of this Consent Decree as specified below, unless excused under Section X (Force

Majeure). A violation includes failing to perform any obligation required by the terms of this

Consent Decree, including any work plan or schedule approved under this Consent Decree,

                                                50
Mosaic Consent Decree – EPA Region 6 and LDEQ


according to all applicable requirements of this Consent Decree and within the specified time

schedules established by or approved under this Consent Decree.

       54.     Civil Penalty and BEPs. If Mosaic fails to pay the civil penalty and/or fails to

submit payment to an escrow account for the BEPs, as required under Sections IV (Civil Penalty)

and VII (Beneficial Environmental Projects) of this Consent Decree when due, Mosaic shall pay

a stipulated penalty of $1,000 per Day for each Day that the payment is late for the first ten (10)

Days, together with Interest. Thereafter, Mosaic shall pay $3,000 per Day for each Day that the

payment is late, with Interest. Late payment of the federal civil penalty shall be made in

accordance with Section IV (Civil Penalty), Paragraph 10, and late payment of the Louisiana

penalty and/or BEP funding shall be made in accordance with Section IV (Civil Penalty),

Paragraph 11. Stipulated penalties for late payment of the civil penalty or BEP shall be paid in

accordance with Paragraphs 58 - 64, below. All transmittal correspondence shall state that any

such payment is for late payment of the civil penalty or BEP due under this Consent Decree, or

for stipulated penalties for late payment, as applicable, and shall include the identifying

information set forth in Paragraphs 10 or 11, above as applicable.

       55.     Compliance Requirements. The following stipulated penalties shall accrue per

violation per Day for each violation of the requirements identified in Section V (Compliance

Requirements):

               Penalty Per Violation Per Day          Period of Noncompliance

               $1,000                                 1st through 14th Day

               $2,000                                 15th through 30th Day

               $3,000                                 31st Day and beyond

       (a)     Uncle Sam Facility. Stipulated penalties shall not apply to spills and leaks that are



                                                 51
Mosaic Consent Decree – EPA Region 6 and LDEQ


successfully managed in compliance with the approved BMP set forth in Appendix 5.

       56.     Reporting Requirements. The following stipulated penalties shall accrue per

violation per Day for each violation of the requirements of Section VIII of this Consent Decree

(Reporting Requirements):

       Penalty Per Violation Per Day                  Period of Noncompliance

               $ 750                                  1st through 14th Day

               $1,000                                 15th through 30th Day

               $2,000                                 31st Day and beyond



       57.     Subject to the provisions of Paragraph 30(c), above, and except as otherwise

specified in Paragraphs 30(c) and 65(b), stipulated penalties under this Section shall begin to

accrue on the Day after performance is due or on the Day a violation occurs, whichever is

applicable, and shall continue to accrue until performance is satisfactorily completed or until the

violation ceases. Stipulated penalties shall accrue simultaneously for separate violations of this

Consent Decree.

       58.     Mosaic shall pay stipulated penalties to the United States and to LDEQ within

twelve (12) Days of a written demand by either Plaintiff, subject to its right to invoke dispute

resolution in accordance with Section XI (Dispute Resolution). Except as provided in Paragraph

45, Mosaic shall pay fifty percent (50%) of the total stipulated penalty amount due to the United

States and fifty percent (50%) to LDEQ. The Plaintiff making a demand for payment of a

stipulated penalty shall simultaneously send a copy of the demand to the other Plaintiff.

       59.     Each Plaintiff, may, in the unreviewable exercise of its discretion, reduce or

waive stipulated penalties otherwise due to it under this Consent Decree. The determination by



                                                52
Mosaic Consent Decree – EPA Region 6 and LDEQ


one Plaintiff not to seek stipulated penalties, or to subsequently waive or reduce the amount it

seeks, shall not preclude the other Plaintiff from seeking the full amount of the stipulated

penalties owed.

       60.     Stipulated penalties shall continue to accrue as provided in Paragraph 57, during

any Dispute Resolution, but need not be paid until the following:

       (a)     If the dispute is resolved by agreement or by a decision of the United States or

LDEQ that is not subject to judicial review or appealed to the Court, Mosaic shall pay accrued

penalties determined to be owing, together with Interest, to the United States or LDEQ within

thirty (30) Days of the effective date of the agreement or the receipt of the United States’ or

LDEQ’s decision or order.

       (b)     If the dispute is appealed to the Court and the United States or LDEQ prevails in

whole or in part, Mosaic shall pay all accrued penalties determined by the Court to be owing,

together with Interest, within sixty (60) Days of receiving the final Court decision.

       61.     Mosaic shall pay stipulated penalties owing to the United States in the manner set

forth and with the confirmation notices required by Paragraph 10, except that the transmittal

letter shall state that the payment is for stipulated penalties and shall state for which violation(s)

the penalties are being paid. Mosaic shall pay stipulated penalties owing to LDEQ in accordance

with Paragraph 11, except that the transmittal letter shall state that the payment is for stipulated

penalties and shall state for which violation(s) the penalties are being paid.

       62.     Mosaic shall not deduct stipulated penalties paid under this Section in calculating

its Louisiana and federal income tax.

       63.     If Mosaic fails to pay stipulated penalties according to the terms of this Consent

Decree, Mosaic shall be liable for Interest on such penalties, as provided for in 28 U.S.C. § 1961,



                                                  53
Mosaic Consent Decree – EPA Region 6 and LDEQ


accruing as of the date payment became due. Nothing in this Paragraph shall be construed to

limit the United States or LDEQ from seeking any remedy otherwise provided by law for

Mosaic’s failure to pay any stipulated penalties.

       64.        Subject to the provisions of Section XIII (Effect of Settlement/ Reservation of

Rights) of this Consent Decree, the stipulated penalties provided for in this Consent Decree shall

be in addition to any other rights, remedies, or sanctions available to the United States or LDEQ

for Mosaic’s violation of this Consent Decree or applicable law. Where a violation of this

Consent Decree is also a violation of relevant statutory or regulatory requirements, Mosaic shall

be allowed a credit for any stipulated penalties paid against any statutory penalties imposed for

such violation.

                                       X. FORCE MAJEURE

       65.        Force majeure, for purposes of this Consent Decree, is defined as any event

arising from causes beyond the control of Mosaic, of any entity controlled by Mosaic, or of

Mosaic’s contractors that delays or prevents the performance of any obligation under this

Consent Decree despite Mosaic’s best efforts to fulfill the obligation. The requirement that

Mosaic exercise best efforts to fulfill the obligation includes using best efforts to anticipate any

potential force majeure and best efforts to address the effects of any potential force majeure (1)

as it is occurring and (2) following the potential force majeure such that the delay and any

adverse effects of the delay are minimized to the greatest extent possible. Force majeure does

not include Mosaic’s financial inability to perform any obligation under this Consent Decree.

       66.        If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, whether or not caused by a force majeure event, Mosaic

shall provide notice orally or by electronic or facsimile transmission as soon as possible, as



                                                  54
Mosaic Consent Decree – EPA Region 6 and LDEQ


provided in Section XV (Notices) of this Consent Decree, but not later than seven (7) Days after

the time when Mosaic first knew that the event might cause a delay. Within ten (10) Days

thereafter, Mosaic shall provide written notice to EPA and LDEQ with an explanation and

description of the reasons for the delay; the anticipated duration of the delay; all actions taken or

to be taken to prevent or minimize the delay; a schedule for implementation of any measures to

be taken to prevent or mitigate the delay or the effect of the delay; Mosaic’s rationale for

attributing such delay to a force majeure event if it intends to assert such a claim; and a statement

as to whether, in the opinion of Mosaic, such event may cause or contribute to an endangerment

to public health, welfare or the environment. Mosaic shall include with any notice all available

documentation supporting a claim that the delay was attributable to a force majeure event.

Mosaic shall be deemed to know of any circumstance of which Mosaic, any entity controlled by

Mosaic, or Mosaic’s contractors knew or reasonably should have known. Failure to comply with

the above requirements regarding an event shall preclude Mosaic from asserting any claim of

force majeure regarding that event, provided, however, that if EPA, despite the late notice, is

able to assess to its satisfaction whether the event is a force majeure under Paragraph 65 and

whether Mosaic has exercised its best efforts under Paragraph 65, EPA may, in its unreviewable

discretion, excuse in writing Mosaic’s failure to submit timely notices under this Paragraph.

       67.     If EPA, after consultation with LDEQ, agrees that the delay or anticipated delay is

attributable to a force majeure event, the time for performance of the obligations under this

Consent Decree that are affected by the force majeure event will be extended by EPA, after

consultation with LDEQ, for such time as is necessary to complete those obligations. An

extension of the time for performance of the obligations affected by the force majeure event shall

not, of itself, extend the time for performance of any other obligation. If EPA, after consultation



                                                 55
Mosaic Consent Decree – EPA Region 6 and LDEQ


with LDEQ, agrees that the delay is attributable to a force majeure event, EPA will notify

Mosaic in writing of the length of the extension, if any, for performance of the obligations

affected by the force majeure event.

        68.     If EPA, after consultation with LDEQ does not agree that the delay or anticipated

delay has been or will be caused by a force majeure event, EPA will notify Mosaic in writing of

its decision.

        69.     If Mosaic elects to invoke the dispute resolution procedures set forth in Section

XI (Dispute Resolution), it shall do so no later than fifteen (15) Days after receipt of EPA’s

notice. In any such proceeding, Mosaic shall have the burden of demonstrating by a

preponderance of the evidence that the delay or anticipated delay has been or will be caused by a

force majeure event, that the duration of the delay or the extension sought was or will be

warranted under the circumstances, that best efforts were exercised to avoid and mitigate the

effects of the delay, and that Mosaic complied with the requirements of Paragraphs 65 and 66,

above. If Mosaic carries this burden, the delay at issue shall not constitute a violation by Mosaic

of the affected obligation of this Consent Decree identified to EPA and the Court.

                                 XI. DISPUTE RESOLUTION

        70.     Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive mechanism to resolve all disputes

arising under or with respect to this Consent Decree. Mosaic’s failure to seek resolution of a

disputed issue under this Section shall preclude Mosaic from raising any such issue as a defense

to an action by the United States or LDEQ to enforce any obligation of Mosaic arising under this

Consent Decree.




                                                 56
Mosaic Consent Decree – EPA Region 6 and LDEQ


       71.     Informal Dispute Resolution. Any dispute subject to Dispute Resolution under

this Consent Decree shall first be the subject of informal negotiations, which may include any

third-party assisted, non-binding alternative dispute resolution process agreeable to the Parties.

Mosaic shall submit a written Notice of Dispute to both the United States and LDEQ within

thirty (30) Days after receiving written notice from EPA of a decision that Mosaic disputes. The

dispute shall be considered to have arisen on the later of the dates that the United States or

LDEQ receives a written Notice of Dispute. Such Notice of Dispute shall state clearly the matter

in dispute. The period of informal negotiations shall not exceed twenty (20) Days from the date

that the dispute arises, unless that period is modified by written agreement between the United

States and Mosaic. If the Parties cannot resolve a dispute by informal negotiations, then the

position of EPA, after consultation with LDEQ, shall be considered binding, unless Mosaic

invokes formal dispute resolution procedures as provided in the following Paragraph.

       72.     Formal Dispute Resolution. If Mosaic elects to invoke formal dispute resolution,

Mosaic shall, within thirty (30) Days after the conclusion of the informal negotiation period,

submit to EPA and LDEQ a written Statement of Position regarding the matter in dispute. The

Statement of Position shall include, but need not be limited to, any factual data, analysis, or

opinion supporting Mosaic’s position and any supporting documentation relied upon by Mosaic.

       73.     EPA, after consultation with LDEQ, shall submit its Statement of Position within

forty-five (45) Days of receipt of Mosaic’s Statement of Position. The EPA Statement of

Position shall include or clearly reference, but need not be limited to, any factual data, analysis,

or opinion supporting that position and any supporting documentation relied upon by EPA.

Where appropriate, EPA may allow submission of supplemental statements of position by the




                                                 57
Mosaic Consent Decree – EPA Region 6 and LDEQ


Parties to the dispute. The EPA Statement of Position shall be binding on Mosaic unless Mosaic

files a motion for judicial review of the dispute in accordance with the following Paragraph.

       74.     Unless expressly stated otherwise in this Consent Decree, Mosaic may seek

judicial review of the dispute by filing with the Court and serving on the United States and

LDEQ, in accordance with Section XV (Notices) of this Consent Decree, a motion requesting

judicial resolution of the dispute. The motion must be filed within thirty (30) Days of receipt of

the EPA Statement of Position pursuant to the preceding Paragraph. The motion shall contain a

written statement of Mosaic’s position on the matter in dispute, including any supporting factual

data, analysis, opinion, or documentation, and shall set forth the relief requested and any

schedule within which the dispute must be resolved for orderly implementation of the Consent

Decree.

       75.     The United States, after consultation with LDEQ, shall respond to Mosaic’s

motion within the time period allowed by the Local Rules of this Court. Mosaic may file a reply

memorandum, to the extent permitted by the Local Rules.

       76.     Standard of Review

               (a)     Disputes Concerning Matters Accorded Record Review. In any dispute

brought under this Section pertaining to the adequacy or appropriateness of plans, procedures to

implement plans, schedules or any other items requiring approval by EPA under this Consent

Decree; the adequacy of the Work performed pursuant to this Consent Decree; and all other

disputes that are accorded review on the administrative record under applicable principles of

administrative law, EPA shall compile an administrative record of the dispute containing all

Statements of Position, including supporting documentation and referenced data or information,




                                                58
Mosaic Consent Decree – EPA Region 6 and LDEQ


and Mosaic shall have the burden of demonstrating, based on the administrative record, that the

position of the United States is arbitrary and capricious or otherwise not in accordance with law.

               (b) In any other dispute brought under this Section, Mosaic shall bear the burden

of demonstrating that its position complies with and furthers the objectives of this Consent

Decree.

       77.     The invocation of dispute resolution procedures under this Section shall not, by

itself, extend, postpone, or affect in any way any obligation of Mosaic under this Consent

Decree, unless and until final resolution of the dispute so provides or unless ordered by the

Court. Stipulated penalties with respect to the disputed matter shall continue to accrue from the

first Day of noncompliance, but payment shall be stayed pending resolution of the dispute as

provided in Paragraph 72. If Mosaic does not prevail on the disputed issue, stipulated penalties

shall be assessed and paid as provided in Section IX (Stipulated Penalties).

                  XII. INFORMATION COLLECTION AND RETENTION

       78.     The United States, LDEQ, and their representatives, including attorneys,

contractors, and consultants, shall have the right of entry into any of Mosaic’s Louisiana

Facilities, at all reasonable times, upon presentation of appropriate identification, to:

               (a) monitor the progress of activities required under this Consent Decree;

               (b) verify any data or information submitted to the United States or LDEQ in

accordance with the terms of this Consent Decree;

               (c) obtain samples and, upon request, splits of any samples taken by Mosaic or its

representatives, contractors, or consultants;

               (d) obtain documentary evidence, including photographs and similar data;

               (e) assess Mosaic’s compliance with this Consent Decree; and



                                                  59
Mosaic Consent Decree – EPA Region 6 and LDEQ


               (f) conduct, direct or review Work pursuant to Section VI (Work Takeover) of

this Consent Decree.

       79.     Upon request, Mosaic shall provide EPA, LDEQ and their authorized

representatives splits of any samples taken by Mosaic. Upon request, EPA and LDEQ shall

provide Mosaic splits of any samples taken by EPA, LDEQ, and their authorized representatives.

       80.     Mosaic shall retain, and shall require its contractors and agents to preserve, all

non-identical copies of all documents, records, or other information (including documents,

records, emails or other information in electronic form and including any documents, records,

data or other information underlying the submission of any Report required pursuant to Section

VIII (Reporting Requirements)) in its or its contractors or agents possession or control, or that

come into its or its contractors’ or agents’ possession or control and that relate to Mosaic’s

performance of its obligations under this Consent Decree or adherence to the requirements

associated with the management of waste materials allowed under Paragraphs 15 through 18 for

a period of five (5) years after the creation of such documents, records or other information.

This information-retention requirement shall apply regardless of any contrary corporate or

institutional policies or procedures. At any time during this information-retention period, upon

request by the United States or LDEQ, Mosaic shall provide copies of any documents, records,

or other information required to be maintained under this Paragraph.

       81.     At the conclusion of the information-retention period provided in the preceding

Paragraph, Mosaic shall notify the United States and LDEQ at least ninety (90) Days prior to the

destruction of any documents, records, or other information subject to the requirements of the

preceding Paragraph and, upon request by the United States or LDEQ, Mosaic shall deliver any

such documents, records, or other information to EPA or LDEQ. Mosaic shall not dispose of



                                                 60
Mosaic Consent Decree – EPA Region 6 and LDEQ


materials following the expiration of its five (5) year retention period more often than once a

year.

        82.    In connection with any request for documents, records, or other information

pursuant to this Consent Decree, Mosaic may assert that certain documents, records, or other

information are privileged under the attorney-client privilege or any other privilege recognized

by federal law, provided that Mosaic shall not assert a legal privilege for any data, records or

information (excluding legal advice) generated or received in connection with Mosaic’s

obligations pursuant to the requirements of this Consent Decree. If Mosaic asserts a privilege, it

shall provide the following: (1) the title of the document, record, or information; (2) the date of

the document, record, or information; (3) the name and title of each author of the document,

record, or information; (4) the name and title of each addressee and recipient; (5) a description of

the subject of the document, record, or information; and (6) the privilege asserted by Mosaic. If

Plaintiffs and Mosaic disagree as to whether a particular document or record is privileged,

Mosaic shall deliver such document or record to the United States or LDEQ unless it invokes

dispute resolution pursuant to Section XI (Dispute Resolution), in which case, Mosaic shall not

have an obligation to deliver such document or record until a final determination is made,

pursuant to the procedures set forth in Section XI (Dispute Resolution), that such document or

record is not privileged.

        83.    Mosaic may also assert that information provided pursuant to this Consent Decree

is protected as Confidential Business Information (“CBI”) under the criteria and procedures set

forth in 40 C.F.R. Part 2 or LAC 33:I.Chapter 5, provided that: (a) Mosaic shall not assert a CBI

claim with respect to any physical, sampling, monitoring, or analytical data other than data

related to: (i) development of new or modified products; (ii) development of new or modified



                                                 61
Mosaic Consent Decree – EPA Region 6 and LDEQ


production processes; (iii) production materials or analyses collected for quality control or other

manufacturing purposes; or (iv) analyses undertaken for competitive business purposes; and (b)

Mosaic shall not assert a CBI claim for Financial Assurance information required to be provided

pursuant to Paragraphs 10.e, 15(e) and 32 of Appendix 2 of this Consent Decree. If Mosaic

claims any information related to Financial Assurance submissions and Cost Estimates is CBI,

Mosaic shall submit two versions, one version with the CBI material redacted, and so identified

in the document, which will be publicly available, and the second version will contain the CBI

material.

       84.     This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States or LDEQ pursuant to applicable

federal or Louisiana laws, regulations, or permits, nor does it limit or affect any duty or

obligation of Mosaic to maintain documents, records, or other information imposed by applicable

federal or Louisiana laws, regulations, or permits.

             XIII. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

       85.     This Consent Decree resolves the civil claims of the United States and LDEQ

against Mosaic and, as to liability arising out of Mosaic’s liability only, The Mosaic Company

for the violations at the Facilities alleged in the Complaint filed in this action through the date of

the lodging of the Consent Decree. This Consent Decree also resolves such claims, if any, of the

United States and LDEQ against the corporate officers, directors, and employees, acting in their

capacities as such, of Mosaic or The Mosaic Company, but only as to liability arising out of

Mosaic’s liability. For continuing violations alleged in the Complaint, provided that Mosaic

complies with this Consent Decree at a Facility, as set forth in Paragraph 87, from the date of

lodging of the Consent Decree through its Effective Date, these claims shall also be resolved



                                                  62
Mosaic Consent Decree – EPA Region 6 and LDEQ


through the Effective Date of this Consent Decree, as of the Effective Date, for that Facility; and,

provided that Mosaic complies with the Consent Decree at a Facility from the Effective Date of

this Consent Decree through the date of termination of this Consent Decree for that Facility

pursuant to Section XIX (Termination), these claims shall be finally resolved as of the date the

Consent Decree terminates for that Facility.

               86.     Provided that Mosaic is in compliance with this Consent Decree, and

subject to the reservation below, Plaintiffs covenant not to sue or take administrative action,

under Section 3008(a) of RCRA, 42 U.S.C. § 6928(a) or a state law counterpart, seeking to

require Mosaic’s Facilities to comply with the RCRA Requirements, with respect to: (a) the

generation, treatment, storage, transport, management, and disposal of Bevill-Exempt Wastes

that have been commingled with hazardous wastes or otherwise managed in violation of law as

alleged in the Complaint, and that are resolved in accordance with Paragraph 85; (b) wastes that

Paragraphs 15 through 18 of this Consent Decree allow to be input to Upstream Operations or

Downstream Operations or managed in BHT Recovery Units, IGPUs, GPUs, Granulation Sump

Ditches or with Bevill-Exempt Wastes; and (c) conditions addressed under Paragraphs 23 and

24. Further, provided that Mosaic is in compliance with this Consent Decree, LDEQ covenants

not to sue or take administrative action seeking to require the Phosphogypsum Stack System at

Mosaic’s Uncle Sam Facility to comply with otherwise applicable requirements of the Louisiana

Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.) and the

regulations promulgated thereunder (LAC 33:VII, Subpart 1). (The interface of the Louisiana

Solid Waste Management and Resource Recovery Law (La. R.S. 30:2151 et seq.) and the

regulations promulgated thereunder (LAC 33:VII, Subpart 1) and Defendant’s obligations under

this Consent Decree is further addressed in the letter from LDEQ dated September 29, 2015.)



                                                 63
Mosaic Consent Decree – EPA Region 6 and LDEQ


Nothing in this Paragraph, however, shall affect Plaintiffs’ rights to determine and require

necessary Corrective Action Work in accordance with Paragraphs 21 and 22(a)(1), respectively,

of this Consent Decree, or to restrict Non-CD Corrective Action that may be required at a

Facility pursuant to Plaintiffs’ residual authorities under federal, state, and local laws.

       87.     The resolution under this Section XIII (Effect of Settlement/Reservation of

Rights) of the Plaintiffs’ civil claims set forth in the Complaint and the Plaintiffs’ covenants not

to sue are expressly conditioned upon Mosaic’s timely and satisfactory compliance with the

requirements of this Consent Decree. For the purposes of this Paragraph (and Paragraphs 85 and

86), and with respect to the wastes that Paragraphs 15 through 18 allow to be input to Upstream

Operations or Downstream Operations, managed in BHT Recovery Units, IGPUs, GPUs,

Granulation Sump Ditches, or with Bevill-Exempt Wastes, compliance with the Continuing

Compliance Criteria set forth in Paragraph 32 constitutes compliance with this Consent Decree.

       88.     The United States and LDEQ reserve all legal and equitable remedies available to

enforce the provisions of this Consent Decree, and Mosaic reserves all legal and equitable

defenses available to it in the defense of any such enforcement. This Consent Decree shall not

be construed to limit the rights of the United States or LDEQ to obtain penalties or injunctive

relief under the federal and Louisiana environmental statutes or their implementing regulations,

or under other federal or Louisiana law regulations or permit conditions, including Section

3008(h) of RCRA, 42 U.S.C. § 6928(h), except as expressly specified in Paragraphs 85 and 86,

and Mosaic in any such action shall not assert any defense based upon the contention that such

claims raised by the Plaintiffs were or should have been brought in the instant case under

principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusion, claim-

splitting, or other such defenses. The United States and LDEQ further retain all authority and



                                                  64
Mosaic Consent Decree – EPA Region 6 and LDEQ


reserve all rights to take any and all actions authorized by law to protect human health and the

environment, including Corrective Action Work and Non-CD Corrective Action, and all legal

and equitable remedies to address any imminent and substantial endangerment to the public

health or welfare or the environment arising at, or posed by, Mosaic’s Facilities, whether related

to the violations addressed in this Consent Decree or otherwise.

       89.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, State, or local law or regulation. While this Consent Decree resolves the Parties’ dispute

regarding the violations alleged in the Complaint as set forth in Paragraph 85, compliance with

the terms of this Consent Decree does not guarantee compliance with all applicable federal,

State, or local laws or regulations. Except as provided in Paragraphs 34, 85, and 86 of this

Consent Decree, Mosaic is not relieved of its obligation to achieve and maintain compliance with

all applicable federal, State, and local laws, regulations, and permits; Mosaic’s compliance with

this Consent Decree shall be no defense to any action commenced by Plaintiffs pursuant to any

such law, regulation, or permit, except as expressly specified in Paragraphs 34, 85 and 86.

       90.     This Consent Decree does not limit or affect the rights of the Parties against any

third-parties (persons not a Party to this Consent Decree), nor does it limit the rights of third-

parties except as otherwise provided by the doctrine of federal preemption or by other applicable

principles of law or precedent.

       91.     This Consent Decree shall not be construed to create rights or obligations in, or

grant any cause of action to, any third-party.

       92.     Nothing in the Complaint filed in this action or in this Consent Decree, including

the execution and implementation of this Consent Decree, shall constitute an admission by

Mosaic of any violation of the RCRA Requirements or of any of the allegations of the



                                                  65
Mosaic Consent Decree – EPA Region 6 and LDEQ


Complaint. Mosaic reserves all rights to dispute the factual and legal representations of the

Complaint and Consent Decree except in an action to enforce this Consent Decree by a Party.

The terms of this Consent Decree may not be used as evidence in any litigation between the

Parties except (a) pursuant to Section XI (Dispute Resolution), (b) in an action to enforce this

Consent Decree, or (c) in an action by Plaintiffs in which Mosaic asserts a defense based on this

Consent Decree.

                                           XIV. COSTS

       93.     The Parties shall bear their own costs of this action, including attorneys’ fees,

except that the United States and LDEQ shall be entitled to collect costs (including attorneys’

fees) incurred in any action necessary to access Financial Assurance pursuant to Paragraph 25

and Appendix 2 (Financial Assurance) of this Consent Decree, or to collect any portion of the

civil penalty or any stipulated penalties or other costs due under this Consent Decree but not paid

by Mosaic.

       94.     LDEQ Costs Incurred in Oversight of Consent Decree.

       (a)     LDEQ may employ, arrange for, or contract with a qualified person to perform

oversight tasks related to the Work performed under this Consent Decree. Mosaic shall bear

reasonable and necessary costs incurred by LDEQ for oversight related to the Work performed

under this Consent Decree following the Entry Date and as allowed by law. Following the first

anniversary of this Consent Decree, LDEQ may propose to increase the Annual Oversight Cost

Cap on an annual basis to reflect cost increases; provided, however, such proposed increase shall

not exceed the current inflationary rate for the specific year.

               (b)     LDEQ shall keep accurate books and accounts of oversight costs. Such

books and accounts may be audited by Mosaic upon written request. Annually from the



                                                 66
Mosaic Consent Decree – EPA Region 6 and LDEQ


Effective Date of this Consent Decree, or at the end of each calendar-quarter if deemed

appropriate by LDEQ, LDEQ shall submit to Mosaic an invoice for oversight costs that LDEQ

asserts are recoverable under Paragraph 94(a). The invoice shall describe for each person and for

each day the oversight work for which LDEQ seeks reimbursement in sufficient detail to

document the amount of time spent on oversight work and to describe the oversight work

performed during the time documented. If Mosaic disagrees with this invoice on the basis that

costs incurred by LDEQ are not reasonable, not necessary, or excessive or the invoice fails to

provide sufficient information as described above, then Mosaic may invoke Section XI (Dispute

Resolution) of this Consent Decree. Mosaic shall, within sixty (60) calendar Days of receiving

the invoice, unless it has invoked Section XI (Dispute Resolution) before this 60 Day period has

passed, remit a check or electronic payment for the amount of those costs made payable to the

Louisiana Department of Environmental Quality. Checks shall specifically reference the Facility

and invoice number, and be mailed to the following address:

          Accountant Administrator
          Financial Services Division
          Office of Management and Finance
          Louisiana Department of Environmental Quality
          P.O. Box 4303
          Baton Rouge, LA 70821-4303

Electronic Payments shall specifically reference the Facility and invoice number and can be made
to the following:

               Bank Name:            JP Morgan Chase
               Account Name:         State of Louisiana, Dept. of Environmental Quality
               Routing:              XXXXXX021 (ACH) or
                                     XXXXXX137 (Fed Wire)
               Account Number:       XXXXX544




                                                67
Mosaic Consent Decree – EPA Region 6 and LDEQ


A copy of the check or payment confirmation and transmittal letter shall be mailed to:

             Cost Recovery Officer
             Office of Environmental Compliance
             Remediation Services Division
             Louisiana Department of Environmental Quality
             P.O. Box 4314
             Baton Rouge, LA 70821-4314


This Paragraph shall not prejudice LDEQ’s right to bring an action against any party, including

Mosaic, under the Comprehensive Environmental Response, Compensation, and Recovery Act

(CERCLA) for recovery of any future costs incurred by LDEQ related to this Consent Decree and

not reimbursed by Mosaic.

                                         XV. NOTICES

       95.      Unless otherwise specified herein, whenever notifications, submissions, or

communications are required by this Consent Decree in accordance with Section VIII (Reporting

Requirements) they shall be made electronically, unless otherwise requested by either LDEQ or

EPA, and addressed as follows:


To the United States:

Chief, Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice
Re: DOJ No. 90-7-1-[08388]

To Deborah Reyher:

via email:
Deborah.Reyher@usdoj.gov

via facsimile:
(202) 514-4113 or (202) 514-0097
via regular mail or post office express mail:
Box 7611 Ben Franklin Station
Washington, D.C. 20044-7611

                                                68
Mosaic Consent Decree – EPA Region 6 and LDEQ




via private overnight service:
601 D Street, NW, 2nd Floor
Washington, D.C. 20004

United States Attorney for the Eastern District of Louisiana
Hale Boggs Federal Building
500 Poydras Street, Suite 210
New Orleans, Louisiana 70130
Phone: (504) 680-3000
Fax: (504) 589-4661

and to EPA, below.

To EPA:
Associate Director
Hazardous Waste Enforcement Branch
U.S. Environmental Protection Agency,
Region 6
1445 Ross Avenue, Suite 1200
Dallas, TX 75202-2733
Phone: (214) 665-6746
Fax: (214) 665-2182

Van Housman and Bethany Russell
Office of Civil Enforcement
Mail Code 2249A
U.S. Environmental Protection Agency
Clinton Building-South
1200 Pennsylvania Ave., NW
Washington, D.C. 20460
Phone: (202) 564-1849
Fax: (202) 564-0019
Housman.van@epa.gov
russell.bethany@epa.gov

To LDEQ:

Celena J. Cage
 Administrator
LDEQ Office of Environmental Compliance-Enforcement Division
Post Office Box 4312
Baton Rouge, LA 70821-4312
Phone: 225 219-3715
Fax: 225- 325-8142
celena.cage@la.gov

                                                69
Mosaic Consent Decree – EPA Region 6 and LDEQ




Lewis Donlon
Administrator
LDEQ Waste Permits Division
P.O. Box 4313
Baton Rouge, LA 70821-4313
Phone: 225-219-3393
Fax: 225-219-3474
Dutch.donlon@la.gov


Kathy M. Wright and Perry Theriot
Office of the Secretary
Legal Affairs Division
Louisiana Dept. of Environmental Quality
P.O. Box 4302
Baton Rouge, Louisiana 70821-4302
Phone: (225) 219-3985
Fax: (225) 219-4068
Kathy.wright@la.gov
Perry.theriot@la.gov


To Mosaic and the Mosaic Company:

David Jellerson
Senior Director of Environmental
Mosaic Fertilizer, LLC
13830 Circa Crossing Drive
Lithia, FL 33547

Patrick van der Voorn
The Mosaic Company on behalf of Mosaic Fertilizer, LLC
Senior Environmental Counsel
Atria Corporate Center, Suite E490
3033 Campus Drive
Plymouth, MN 55441

To Arnold & Porter LLP (Counsel for Mosaic):
Joel M. Gross
Lester Sotsky
Peggy Otum
Eric Rey
Arnold & Porter LLP
555 Twelfth Street, N.W.
Washington, DC 20004-1206

                                                70
Mosaic Consent Decree – EPA Region 6 and LDEQ




       96.     Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided above.

       97.     Notices submitted pursuant to this Section shall be deemed submitted upon

electronic transmission, unless otherwise provided in this Consent Decree or by mutual

agreement of the Parties in writing.

                                    XVI. EFFECTIVE DATE

       98.     The Entry Date of this Consent Decree shall be the date of a Final Order by which

this Consent Decree is entered by the Court or by which a motion to enter the Consent Decree is

granted, whichever occurs first, as recorded on the Court’s docket. The Effective Date of this

Consent Decree shall be the later of the Entry Date of this Consent Decree or the Entry Date of

the Consent Decree resolving claims by the United States and the Florida Department of

Environmental Protection against Mosaic relating to Mosaic’s facilities in Florida. The filing or

pendency of an appeal of the Court’s entry of this Consent Decree shall not stay the Effective

Date, except as may be otherwise determined pursuant to Paragraph 100 (Modification). In the

event that either Consent Decree is not entered by the Court, the Parties shall jointly stipulate to

stay any previously entered Consent Decree. Notwithstanding the foregoing, Mosaic hereby

agrees that it shall be bound from the date of its execution of this Consent Decree to perform

obligations scheduled in this Consent Decree to occur prior to the Effective Date.

                           XVII. RETENTION OF JURISDICTION

       99.     The Court shall retain jurisdiction over this case until termination of this Consent

Decree for both Facilities, pursuant to Section XIX (Termination), for the purpose of resolving

disputes arising under this Consent Decree (including disputes under any Trust Agreements



                                                 71
Mosaic Consent Decree – EPA Region 6 and LDEQ


entered pursuant hereto) or entering orders modifying this Consent Decree, pursuant to Sections

XI (Dispute Resolution) and XVIII (Modification), or effectuating or enforcing compliance with

the terms of this Consent Decree.

                               XVIII. MODIFICATION

       100.    The terms of this Consent Decree may be modified only by a subsequent written

agreement of the Parties to this Consent Decree as set forth herein. Any modifications to the

provisions of Appendices 1 through 7, hereto and any other modifications to any other

provisions of this Consent Decree that do not constitute a material change to this Consent Decree

may be made without approval by the Court upon written agreement between Mosaic and the

United States, after consultation with LDEQ. Any modifications to the provisions of Appendix 8

may be made without approval by the Court upon written agreement between Mosaic and

LDEQ, after consultation with the United States. Any such changes shall become enforceable

under this Consent Decree upon execution by Mosaic and the United States (for changes to the

Consent Decree or Appendices 1 through 7) or Mosaic and LDEQ (for changes to Appendix 8),

shall be made available to the public by EPA and LDEQ (except to the extent such changes

contain information determined to be CBI pursuant to Paragraph 83 and 40 C.F.R. Part 2), and

shall periodically be filed by EPA or LDEQ with the Court. Any other modifications agreed to

by the Parties shall be effective only upon approval by the Court. Except as otherwise provided

in this Paragraph and in Paragraph 102, a Party’s refusal to agree to a modification of this

Consent Decree shall be subject to dispute resolution, but a Party seeking judicial review of such

a refusal shall bear the burden of demonstrating that it is entitled to the requested modification

based on a significant change in factual conditions or the law or other reason that would make

inequitable the continued application of the Consent Decree without the modification sought.



                                                 72
Mosaic Consent Decree – EPA Region 6 and LDEQ


       101.    In the event that a potential transferee under Section II (Applicability) of this

Consent Decree has agreed to become a party to this Consent Decree and subject to all its terms

and provisions, it may do so upon written approval of the United States pursuant to Section II

(Applicability) of this Consent Decree and Section XVIII (Modification), without further order

from the Court, in which event a supplemental signature page will be affixed to this Consent

Decree and filed with the Court.

                                     XIX. TERMINATION

       102.    Periodic Review of Work Status. At least once every three (3) years, and more

often if the Parties so agree, the Parties shall meet to review the status of the Work and to

evaluate whether discrete portions of the Work have either been completed or may be

accomplished and supervised under an EPA or LDEQ administrative order or permit in lieu of

this Consent Decree. If all Parties agree to such a modification, such agreement shall be

memorialized in a written modification to this Consent Decree pursuant to Section XVIII

(Modification) and shall not require judicial approval. If the Parties agree that such

modifications allow this Consent Decree to be terminated as to one or both Facilities, the Parties

shall submit, for the Court’s approval, a joint stipulation terminating the Consent Decree for the

relevant Facilities. The Parties’ inability to reach an agreement under this Paragraph shall not be

subject to dispute resolution or judicial review.

       103.    Completion of Work. Within ninety (90) Days after Mosaic concludes that all

Work required under this Consent Decree has been fully performed at a Facility, EPA and/or

LDEQ may conduct an inspection of the Facility to be attended by EPA, LDEQ and Mosaic at a

mutually agreeable time. Following the inspection, and correction of any problems or

deficiencies noted by EPA, after consultation with LDEQ, Mosaic shall submit one or more



                                                    73
Mosaic Consent Decree – EPA Region 6 and LDEQ


written reports by a third-party registered professional engineer in the relevant technical field,

certifying compliance with Section V (Compliance Requirements) of this Consent Decree that

the Work has been completed in full satisfaction of the requirements of this Consent Decree. The

reports shall indicate the case name and civil action number, and shall be submitted, together

with a request for Acknowledgment of Completion, in accordance with Section VIII (Reporting

Requirements) of this Consent Decree. Third-party engineer certification of any of the written

reports may be waived at EPA’s discretion, after consultation with LDEQ.

       104.    If, after review of the written report(s) and certification and consultation with

LDEQ, EPA determines that any portion of the Work has not been completed in accordance with

this Consent Decree, EPA will notify Mosaic in writing of the activity(ies) and/or obligation(s)

that must be undertaken to complete the Work. EPA will set forth in the notice a schedule for

performance of the activity(ies) and/or obligation(s) required under the Consent Decree, or will

require Mosaic to submit a schedule for EPA approval pursuant to Section V (Compliance

Requirements) of this Consent Decree. Mosaic shall perform all activities described in the notice

in accordance with the specifications and schedules established therein, subject to Mosaic’s right

to invoke the dispute resolution procedures set forth in Section XI (Dispute Resolution) of this

Consent Decree.

       105.    If EPA concludes, based on the initial or any subsequent request for an

Acknowledgment of Completion by Mosaic, and after reasonable opportunity for review and

comment by LDEQ, that the Work has been fully performed in accordance with this Consent

Decree, EPA will so notify Mosaic in writing, which notice shall constitute the Acknowledgment

of Completion.




                                                 74
Mosaic Consent Decree – EPA Region 6 and LDEQ


        106. Termination. After Mosaic has completed the requirements set forth in Paragraphs

102 and 103 of this Section, has obtained an Acknowledgment of Completion, has complied with

all other requirements of this Consent Decree, and has paid the civil penalty and any accrued

stipulated penalties as required by this Consent Decree, Mosaic may serve upon the United

States and LDEQ a Request for Termination, stating that Mosaic has satisfied those

requirements, together with all necessary supporting documentation. A Request for Termination

may address one or both of Mosaic’s Facilities.

        107. Following receipt by the United States and LDEQ of Mosaic’s Request for

Termination, the Parties shall confer informally concerning the Request and any disagreement

that the Parties may have as to whether Mosaic has satisfactorily complied with the requirements

for termination of this Consent Decree. If the United States, after consultation with LDEQ

agrees that the Consent Decree may be terminated for one or both Facilities, the Parties shall

submit, for the Court’s approval, a joint stipulation terminating the Consent Decree as to the

relevant Facilities.

        108. If the United States, after consultation with LDEQ, does not agree that the Consent

Decree may be terminated as to one or both Facilities, Mosaic may invoke Dispute Resolution

under Section XI (Dispute Resolution) of this Consent Decree. However, all time periods and

deadlines established under Section XI (Dispute Resolution) shall be extended by sixty (60)

Days, or more by the agreement of the Parties.

                              XX. PUBLIC PARTICIPATION

        109. This Consent Decree shall be lodged with the Court for a period of not less than

forty-five (45) Days for public notice and comment in accordance with 28 C.F.R. § 50.7 and La

R.S. 30:2050.7. The United States reserves the right to withdraw or withhold its consent if the



                                                  75
Mosaic Consent Decree – EPA Region 6 and LDEQ


comments regarding the Consent Decree disclose facts or considerations indicating that the

Consent Decree is inappropriate, improper, or inadequate. Mosaic and The Mosaic Company

consent to entry of this Consent Decree without further notice and agree not to withdraw from or

oppose entry of this Consent Decree by the Court or to challenge any provision of the Consent

Decree, unless the United States has notified Mosaic in writing that it no longer supports entry of

the Consent Decree. Further, the parties agree and acknowledge that final approval by LDEQ

and entry of this Consent Decree is subject to the requirements of LA. R.S. 30:2050.7, which

provides for public notice of this Consent Decree in the newspapers of general circulation and

the official journal of the parish in which the Facilities are located, an opportunity for public

comment, consideration of any comments, and concurrence by the State of Louisiana Attorney

General. Evidence of final approval of this Consent Decree by LDEQ shall be LDEQ’s

execution of a Motion to Enter this Consent Decree. LDEQ reserves the right to withdraw or

withhold consent and will not join in the filing of a Motion to Enter this Consent Decree if the

state Attorney General raises objections or if comments regarding this Consent Decree disclose

facts or considerations which indicate that this Consent Decree is inappropriate, improper or

inadequate.

                                XXI. SIGNATORIES/SERVICE

       110.    Each undersigned representative of Mosaic and The Mosaic Company, the

Assistant Attorney General for the Environment and Natural Resources Division of the

Department of Justice, or her designee, and the Secretary of the Louisiana Department of

Environmental Quality certifies that he or she is fully authorized to enter into the terms and

conditions of this Consent Decree and to execute and legally bind the Party he or she represents

to this document. The undersigned Attorney General of Louisiana is authorized to and as



                                                 76
Mosaic Consent Decree – EPA Region 6 and LDEQ


evidenced either by his signature below or his concurrence letter communicated to LDEQ

concurs in the entry of this Consent Decree.

       111.    This Consent Decree may be signed in counterparts, and its validity shall not be

challenged on that basis. Mosaic and The Mosaic Company agree to accept service of process

by mail with respect to all matters arising under or relating to this Consent Decree and to waive

the formal service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure

and any applicable Local Rules of this Court including, but not limited to, service of a summons.

                                     XXII. INTEGRATION

       112.    This Consent Decree and its Appendices constitute the final, complete, and

exclusive agreement and understanding among the Parties with respect to the settlement

embodied in the Consent Decree and supersedes all prior agreements and understandings,

whether oral or written, concerning the settlement embodied herein. Other than the Appendices,

which are attached to and incorporated in this Consent Decree, no other document, nor any

representation, inducement, agreement, understanding, or promise, constitutes any part of this

Consent Decree or the settlement it represents, nor shall it be used in construing the terms of this

Consent Decree.

                                  XXIII. FINAL JUDGMENT

       113.    Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the United States, LDEQ, Mosaic and

The Mosaic Company. The Court finds that there is no just reason for delay and therefore enters

this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.




                                                 77
Mosaic Consent Decree – EPA Region 6 and LDEQ


                                     XXIV. APPENDICES

       114.     The following Appendices are attached to and part of this Consent Decree:

Appendix 1 contains the following compliance requirements:

       Attachment A (Site Assessment, Reporting, and Corrective Action);

       Attachment B (Annual Groundwater Requirements);

       Attachment C (Phosphogypsum Stack System Construction and Operational Requirements);

       Attachment D (Closure of Phosphogypsum Stacks/Stack Systems);

       Attachment E (Critical Conditions and Temporary Measures);

       Attachment F (Definitions for Purpose of the Consent Decree);

       Attachment G (Phosphogypsum Stack System Closure Application);

Appendix 2 establishes Financial Assurance Requirements;

       Attachment A (CFO Certification);

       Attachment B (Annual Submittal of Phosphogypsum Stack System Closure and Long

       Term Care Cost Estimate);

       Attachment C (Summary Costs for Phosphogypsum Stack System Closure and Long Term

       Care);

       Attachment D (Financial Mechanisms);

       Attachment E (Type B Financial Metrics Charts);

       Attachment F (Current Configuration of Operating Facilities’ Phosphogypsum Stack

       Systems and Planned Expansions);

       Attachment G (Summary of Phosphogypsum Stack System Volumes and Closure Areas);

       Attachment H (Guarantor’s Representation and Certification);




                                                78
Mosaic Consent Decree – EPA Region 6 and LDEQ


       Attachment I (Executed Phosphogypsum Stack System Closure and Long Term Care

       Guarantee);

Appendix 3 is the collected Site Maps of the Mosaic Facilities;

Appendix 4 is the Uncle Sam and Faustina Facility Reports;

Appendix 5 is the Mosaic’s current BMP Plan;

Appendix 6 is the RCRA Project Narrative and Compliance Schedule;

Appendix 7 is Mosaic’s Phosphogypsum Stack System Alternative Liner Compliance

Requirements, Exemptions and Conditions for the Uncle Sam Facility; and

Appendix 8 is LDEQ Administrative Order on Consent MM-AOA-14-00269.



Dated and entered this __ day of __________, 2015.


                                             _________________________________
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF LOUISIANA




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FOR THE UNITED STATES OF AMERIC~4:




       /k   ~      G.       d


Date: ~/ ~ l ~~~




                                United States Department of Justice
                                950 Pennsylvania Avenue, NW
                                Washi~n, D.C. 20530
                                         ~             ~      ~~

Date:       ~ .~        ~        /~
                                DEBORAI-~ M. REYHER
                                Senior Counsel
                                Environmental Enforcement Section
                                Environment and Natural Resources Division
                                United States Department of Justice
                                P.O. Box 7611, Ben Franklin Station.
                                Washington, D.C. 20044
                                {202)514-411.3
             WE HEREBY CONSENT to the entry of the Consent Decree irz United States et al. v. Mosaic
             Fertilizer, LLC,subject to tl~e public notice requirements of28 G.F.R § 50.7.

                                              FUR TI-~ UNITED STAfiES flF A~.MERICA:

•                                                       ~w

                 Date:
                                                     RON C
,.           ~                  ~                    Regional     inistrator             .
                                                     U.S. En omnen        rotection Agency,
                                                     Region 6
                                                     1445 Ross Avenue, Suite 1200
                                                     Dallas, TX 75202-273
         .   ~                                                   ~           ,


                 Dam: ~ ~.~ ~Z.~1~.                            ~Chi
                                                     N~CIA 1VIONCRIEFF
                                                     Assistazrt Regional Cow~sel
                                                     office ofRegional Counsel
                                                     U.S. Environmental Protection Agency,
                                                     Region 6
     .                                               1445 Ross Avenue, Suite 12Q4
                                                     Dallas, TX'75202-2733
                               r}.




~WE HEREBY CONSENT to the entry ofthe Consent Decree in United States at al. v. Mosaic
Fertilizer, LLC {E.D. La.), a civil action, subject to the public notice and comment requirements
of LA. R.S. 30:20Sfl.~.

 ••     1   i       ~     i '~'      1    •         1'i     1     ~   •




Date.    ~'~ ~'~
                                                   .~
                                                     D. CI~[ANCE           LY
                                                      Assistant Secretary
                                                      Office ofEnvironmental Compliaxice
                                                      Louisiana Dept. oFEnvironmental Quality



Date:   9~~~ ~o~d/~-
                                                    KA       M.        HT(L,A Bar Roll
                                                    #30804)
                                                    ELLIOTT VEGA(LA Bar Roll ~# 2139'
                                                    PERKY TI~RTOT(LA Bar Roll#191S1)
                                                    Office ofthe Secretary
                                                    Legal Affairs Division
                                                    Louisiana Dept. of Environmental Quality
                                                    P.O. Box 4302
                                                    Baton Rouge,Louisiana'70821-4302
                                                    Phone:{225)219-3985
                                                    Fax:(22S)219-4068
1VIosait Consent Decree —EPA Region 6 and LDEQ




WE HEREBY CONSP,NI'to the entry of the Consent Decree in United States et al. v. Mosaic
Fertilizer, LLC, Civil Action No.     ,subject to the public notice and comment
requirements of28 C.1~'.R. § 50.7.


T'OR MOSAIC FERTILIZER, I,LC:

Date: ~..__                                  _~~'~                         m
                                             Mark isaacs~sn
                                             Senior Vice President and t;orporate Secretary
                                             Mosaic I~erkilizer, LLC
Mosaic Consent Aecree —EPA Region 6 aad [.DEQ


FOR THE MOSAIC COMPANY (as to Sections I (Jurisdiction and Venue), TI' (Applicability),
XI (Dispute Kesolution), XIII {~ffeet of Settle;ment), XV {Notices), XVI (E~f'ective Date), XVII
(Retention of Jurisdiction), XVIII (Modification), XX (Public Participation), XXI
(Signatories/Service), XXI1 (3ncegration), XXIII (Final Judgment), and Paragraphs 25 and 26
(Financial Assurance)):



Date:                                           ~''~~,-'°
APPENDIX 1
       APPENDIX 1- OPERATING AND CLOSURE REQUIREMENTS FOR THE
          PHOSPHORIC ACID PRODUCTION INDUSTRY IN LOUISIANA


ATTACHMENT A: SITE ASSESSMENT, REPORTING, AND CORRECTIVE ACTION

                        SAMPLING AND ANALYSIS WORKPLAN

Defendant’s obligations pursuant to this Attachment A are governed by Paragraph 21 of the
Consent Decree.

1) The Defendant shall submit to LDEQ and/or EPA for approval an Outline for a Sampling and
   Analysis Workplan (“Outline”), for carrying out the required monitoring, testing, analysis,
   and reporting.

2) The Defendant shall submit to LDEQ and/or EPA a Sampling and Analysis Workplan
   (“Workplan”), unless Defendant has already submitted a Sampling and Analysis Workplan
   that has been approved by LDEQ and/or EPA and is consistent with this Attachment.

3) The Sampling and Analysis Workplan shall be designed to determine the presence,
   magnitude, extent, direction, and rate of movement of any hazardous waste, hazardous waste
   constituents, and/or constituents of concern (“COC”) as defined by the Louisiana Risk
   Evaluation and Corrective Action Program (“RECAP”) and EPA (for Radionuclides) within
   and beyond the Facility boundary. COCs shall be limited to those contaminants that are
   reasonably likely to be found at the Facility. The Workplan shall document the procedures
   the Defendant shall use to assess sampling and analysis data that is generated and that relate
   to the purposes of this Attachment. The Workplan shall also document the procedures the
   Defendant shall use to conduct those activities necessary to: characterize the source(s) of
   contamination; characterize the potential pathways of contaminant migration; define the
   degree and extent of contamination; and identify actual or potential human and/or ecological
   receptors. The Defendant may implement the work contained in the Workplan in a multi-
   phased approach. A specific schedule for expeditious implementation of all activities shall
   be included in the Workplan. At a minimum, the Workplan for assessment shall include the
   following [All requirements below would be Facility-specific]:

       (a)     A sediment and/or soil, as appropriate, sampling and analysis section to collect
               and analyze representative sediment and/or soil samples to determine the nature
               and extent of potential contamination, both vertically and horizontally. Areas of
               sampling shall include process areas, areas of historical spills and/or historical
               contamination, areas of waste management, stormwater and non-Process
               Wastewater ditches and ponds, and ditches associated with National Pollutant
               Discharge Elimination System (“NPDES”) outfall(s). The Workplan must define
               the number, location, and depth of the samples, and the parameters for analysis.
               The number of samples shall be sufficient to produce a 95% confidence level that
               the results are representative of the environmental conditions found at each
               location.
                                                1

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
       (b)    A Surface Water (including Run-Off) sampling and analysis section to determine
              the nature and extent of any contaminated Surface Water flowing from the
              portions of the Facility adjacent to and down-gradient from the unlined areas of
              Facility operations (to be defined). The Workplan shall define the number,
              location, and depth of samples, and the parameters for analysis.

       (c)    A Groundwater sampling and analysis section to characterize the Groundwater
              quality and the extent of any Groundwater contamination, both vertically and
              horizontally, that may be migrating from Defendant’s Facility. This shall include
              unlined areas, and/or lined areas which do not meet the requirements of
              Attachment C, within the Facility operations (including the Phosphogypsum Stack
              System and other impoundments and ponds). The Workplan shall define the
              number, location, and depth of Groundwater samples (either from existing wells
              included in the current Groundwater monitoring program, temporary wells, or
              direct-push technology), and the parameters for analysis.

       (d)    Upon confirmation of the existence of hazardous waste, hazardous constituents
              and/or COCs in Groundwater emanating from the Facility’s designated Point(s) of
              Compliance at concentrations exceeding the applicable RECAP standards, a
              section addressing a potable well survey within a ½ mile radius of the Facility
              including a schedule for sampling of each well, and the parameters for analysis
              shall be included. Upon confirmation of an exceedance of applicable RECAP
              Groundwater Screening standards in any of the potable wells, the well survey will
              be extended by ½ mile radial increments in the appropriate direction depending
              on the results of the initial well survey.

       (e)    In the event an area of investigation is identified, the ecological checklist
              (RECAP Form 18) should be completed and included in the plan.

       (f)    A Project Management Plan.

       (g)    A Data Collection Quality Assurance Project Plan for new sampling and analysis.

       (h)    A Data Management Plan for new sampling and analysis.

       (i)    A timeline for work detailed above and a schedule for the submission of progress
              reports, including a draft Sampling and Analysis Report, and a final Sampling and
              Analysis Report.

4) Concurrent with the submission of the Sampling and Analysis Workplan, the Defendant shall
   submit a Health and Safety Plan with respect to the work to be performed.

5) Upon receipt of LDEQ’s and/or EPA’s approval of the Workplan, the Defendant shall
   implement the approved Workplan pursuant to the terms and schedules contained therein.
   Upon completion of the Agency-approved sampling activities proposed in the Workplan, the
                                                2

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
   Defendant shall submit to LDEQ and/or EPA for approval a draft Sampling and Analysis
   Report, pursuant to the requirements and schedule contained in the approved Sampling and
   Analysis Workplan. Upon approval of the draft Sampling and Analysis Report by LDEQ
   and/or EPA, the Defendant shall submit a final Sampling and Analysis Report.

6) LDEQ and/or EPA acknowledge that the Defendant may have completed some of the tasks
   required by this Attachment and/or that the Defendant has available pertinent information
   and data required by this Attachment. This previous work may be used to meet some of the
   requirements of this Attachment, upon submission to and written approval by LDEQ and/or
   EPA.

7) The Defendant shall for COCs when appropriate to distinguish site-related constituent
   concentrations from naturally-occurring concentrations or as default screening action levels
   when the screening action levels are less than the naturally occurring Background
   Concentration.

                                    ADDITIONAL WORK

8) Based on work performed under the Workplan described above, LDEQ and/or EPA may
   determine that additional monitoring, testing, analysis, and/or reporting is necessary to
   ascertain the nature and extent of any hazard to human health or the environment that may be
   presented by the presence or release of hazardous wastes and/or hazardous constituents at or
   from the Facility. If LDEQ and/or EPA determine that such additional work is necessary,
   LDEQ and/or EPA will notify the Defendant in writing and specify the basis for its
   determination that additional work is necessary.

                    MINIMUM QUALIFICATIONS FOR PERSONNEL

9) All work performed by or for the Defendant pursuant to this Attachment shall be under the
   direction and supervision of an individual who has demonstrated expertise in hazardous
   waste site investigation. Before any work is performed, the Defendant shall submit to LDEQ
   and/or EPA, in writing, the name, title, and qualifications of the supervisory personnel and of
   any contractors or subcontractors to be used in carrying out the terms of this Attachment.
   Additionally, the Defendant shall ensure that when a license is required, the individual
   responsible for performing the work under this Attachment shall be licensed.



                      QUALITY ASSURANCE/QUALITY CONTROL

10) All new sampling and analysis conducted under this Attachment shall follow applicable EPA
    or State standards for sample analysis. The contact person(s), name(s), address(es), and
    telephone number(s) of the analytical laboratories the Defendant proposes to use must be
    specified in the applicable workplan.

11) All workplan(s) required under this Attachment shall include data quality objectives for each
                                                3

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
   data collection activity to ensure that data of known and appropriate quality are obtained and
   that data are sufficient to support their intended use(s).

12) The Defendant shall monitor to ensure that high quality data are obtained by its consultant or
    contract laboratories. LDEQ and/or EPA may reject any data that does not meet the
    requirements of the approved workplan or approved analytical methods and may require re-
    sampling and additional analysis.

13) The Defendant shall ensure that appropriate chain-of-custody procedures are specified in the
    workplan. Such procedures shall include, but not be limited to: standardized field tracking
    reports to establish sample custody in the field prior to shipment, pre-pared sample labels
    containing all the information necessary for sample tracking; identification of responsible
    party at a laboratory who is authorized to sign for incoming field samples, obtain documents
    of shipment, and verify the data entered into the sample custody records; use of sample
    custody Log consisting of serially numbered standard lab-tracking report sheets; and
    specification of laboratory sample custody procedures for sample handling, Storage and
    dispersement for analysis.

14) LDEQ and/or EPA may conduct a performance and Quality Assurance/Quality Control
    (“QA/QC”) audit of the laboratories chosen by the Defendant before, during, or after sample
    analyses. Upon request by LDEQ and/or EPA, the Defendant shall have its laboratory
    perform analyses of samples provided by LDEQ and/or EPA to demonstrate laboratory
    performance. If the audit reveals deficiencies in a laboratory's performance or QA/QC, re-
    sampling and additional analysis may be required.

                 SAMPLING AND DATA/DOCUMENT AVAILABILITY

15) The Defendant shall submit to LDEQ and/or EPA the results of all sampling and/or tests and
    shall maintain records of other related data generated by, or on behalf of, the Defendant
    pursuant to the requirements of this Attachment.

16) The Defendant shall notify LDEQ and/or EPA, in writing or by electronic mail, at least five
    (5) days in advance of engaging in any field activities at the Facility conducted pursuant to
    this Attachment. At the request of LDEQ and/or EPA, the Defendant shall provide, or allow
    LDEQ and/or EPA or its authorized representatives to take, split and/or duplicate any of the
    samples collected by the Defendant pursuant to this Attachment. Similarly, at the request of
    the Defendant, LDEQ and/or EPA will allow the Defendant or its authorized representatives
    to take split and/or duplicate any of the samples collected by LDEQ and/or EPA under this
    Attachment, provided that such sampling shall not delay LDEQ and/or EPA's proposed
    sampling activities. Nothing in this Attachment shall limit or otherwise affect LDEQ’s
    and/or EPA's authority to collect samples pursuant to applicable law, including, but not
    limited to, RCRA and/or CERCLA.

                    RISK ASSESSMENT AND CORRECTIVE ACTION

17) If Defendant confirms the existence of any hazardous waste, hazardous constituents, or
                                                4

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
   COCs exceeding the higher of either (i) action levels established through either the
   implementation of the Facility’s 3013 Order, or Appendix A-1, or (ii) background
   concentrations where appropriate, and (a) such exceedances are found within or at the
   Facility and (b) confirms such exceedances may be emanating from the Facility in soil,
   sediment, Surface Water; or in Groundwater at the “Point(s) of Compliance,” (any such
   exceedances are hereafter referred to as “Exceedance”), then the Defendant shall consult with
   LDEQ and may either:

   a) Pursuant to the applicable provisions of RECAP, cleanup such hazardous waste,
      hazardous constituents, or COCs; or

   b) Conduct a risk assessment to demonstrate that Corrective Action Work is not warranted.
      Should Defendant choose to conduct a Risk Assessment, it shall submit for approval a
      Risk Assessment Plan to the appropriate agency, LDEQ or EPA, within forty-five (45)
      days of confirming the Exceedance. The Risk Assessment Plan shall address both
      environmental and human receptors potentially affected by the Exceedance and shall
      contain, but not be limited to the following elements: description of the Facility; scope of
      the risk assessment; identification and description of the hazardous waste, hazardous
      constituents or COCs; description of sampling methods and collection strategies;
      exposure assessment (including identification of exposure pathways); toxicity
      assessment; and risk characterization. The Defendant shall use the latest edition of the
      RECAP, which use shall be deemed to satisfy the requirements of this Paragraph 17. If
      necessary, the Defendant shall contact LDEQ and/or EPA and obtain any publicly
      available guidance or models that will assist in the development of the Risk Assessment
      Plan and the subsequent Risk Assessment Report. A Risk Assessment satisfactorily
      performed pursuant to RECAP and approved by LDEQ or EPA satisfies the requirements
      of this Subparagraph 17b. If Defendant submits a Risk Assessment Plan, then:

      i) The Defendant shall begin implementation of the work under the Risk Assessment
         Plan within thirty (30) days of written approval by LDEQ and/or EPA of the Risk
         Assessment Plan; and

      ii) The Defendant shall submit a written Risk Assessment Report to LDEQ and/or EPA
          within ninety (90) days after completion of the work under the Risk Assessment Plan.
          The Risk Assessment Report must include the following information at a minimum: a
          description of the risk assessment; a summary of the results of the risk assessment; a
          summary of the problems encountered in doing the risk assessment; and an
          explanation of the activities that need to be taken to address the risks identified by the
          assessment. If the conclusion is that there is no unacceptable risk to human health or
          the environment and the appropriate RECAP and EPA standards have been met, the
          report may request a No Further Action At This Time (NFA - ATT) determination for
          some or all of the areas of investigation, which LDEQ shall process and may grant
          consistent with RECAP and applicable state law. The Defendant shall contact LDEQ
          and/or EPA and obtain any publicly available guidance or models that will assist in
          the development of the Risk Assessment Report.

                                                5

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
18) If LDEQ and/or EPA determine by applying their then-existing rules, standards, criteria, or
   guidelines and after considering the available data, including, where applicable, the final
   Sampling and Analysis Report that Defendant submitted in accordance with Paragraph 5,
   and/or the Risk Assessment Report that Defendant submitted in accordance with Paragraph
   17, that an Exceedance exists that presents a risk is present to human health or the
   environment, the Defendant within ninety (90) Days after notification by LDEQ and/or EPA
   shall:

   a) Submit for approval a Corrective Action Plan to LDEQ and/or the EPA. The Corrective
      Action Plan must include sections addressing: (1) the identification and evaluation of
      potential remedial alternatives for the Exceedance that have been identified at the
      Facility; and (2) those measures or actions appropriate to remediate, control, prevent or
      mitigate the Exceedance. The Corrective Action Plan shall, as appropriate, address other
      relevant factors, including, without limitation, cost effectiveness. If necessary, the
      Defendant may contact LDEQ and/or EPA and obtain any publicly available guidance or
      models that will assist in the development of the Corrective Action Plan and associated
      reports. Corrective Action Work under this Paragraph that is performed pursuant to
      RECAP, and approved by LDEQ, shall be deemed to satisfy the requirements of this
      Paragraph 18.

       i) The Defendant shall begin implementation of the Corrective Action Work under the
          portion of the Corrective Action Plan addressing the identification and examination of
          the potential alternative remedies within sixty (60) days after receiving written
          approval from LDEQ and/or EPA. The Defendant shall, within ninety (90) days after
          completion of the identification and examination work, submit to LDEQ and/or the
          EPA a Corrective Action Evaluation Report which includes an evaluation of each
          remedial alternative, including all information gathered and studies conducted (e.g.,
          bench scale or pilot tests). This Report must contain adequate information, including
          a cost estimate of each proposed corrective measure, to enable LDEQ and/or EPA to
          make a decision as to the adequacy and appropriateness of the corrective action
          selection.

       ii) Defendant will be notified by LDEQ and/or EPA, upon review of the Corrective
           Action Evaluation Report, if no further action is required or which selected remedies
           need to be implemented at the Facility. If determined that Corrective Action Work is
           needed, LDEQ and/or EPA will review, evaluate, and approve the selected Corrective
           Action Work from the Corrective Action Evaluation Report. The LDEQ and/or EPA
           may reject any alternative provided in the report or direct Defendant to develop a
           different remedial alternative or corrective action performance standard.

           (1) LDEQ and/or the EPA will draft a proposed decision and statement of basis and
               will seek public comment. LDEQ and/or EPA will consider public comments and
               any comments submitted by Defendant regarding the proposed corrective
               measures. LDEQ and/or the EPA will make publicly known the final decision
               regarding the selected corrective measures.
                                               6

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
          (2) If LDEQ and/or EPA determine that Corrective Action Work is needed, the
              Defendant shall submit a Corrective Action Work Implementation Plan within
              one hundred and twenty days (120) days after receiving notification to implement
              Corrective Action Work as directed by LDEQ and/or EPA. The Corrective
              Action Work Implementation Plan shall include, at a minimum, sections
              addressing: engineering design; construction, operation and maintenance;
              monitoring and performance monitoring; waste management; health and safety
              plan; schedule; corrective measure goals; reporting requirements; cost estimate(s);
              and, if required, public participation.

       iii) The Defendant shall prepare and submit to LDEQ and/or EPA a Corrective Action
            Certification Report within forty-five (45) days after completion of the Corrective
            Action Work. The Corrective Action Certification Report shall contain the following
            minimum information: a description of the Corrective Action Work completed;
            summaries of results and documentation of attainment of performance requirements;
            summaries of all the problems encountered; summaries of accomplishments and/or
            effectiveness of Corrective Action Work; and a certification of completion signed by
            the Defendant and by an Engineer skilled in the appropriate technical discipline(s).
            The Corrective Action Certification Report will be reviewed by LDEQ and/or EPA
            for adequacy and will be subject to public comment if required. Upon determination
            that either Corrective Action Work has been completed in accordance with RECAP,
            LDEQ and/or EPA will issue a No Further Action At This Time (NFA -ATT)
            determination. Nothing in this section shall preclude the Defendant from requesting a
            NFA-ATT determination concerning discrete areas where Corrective Action Work
            concerning that area has been completed, which LDEQ or EPA shall process and may
            grant pursuant to RECAP and applicable state law.

19) If during the implementation of the Corrective Action Plan, information comes to the
attention of the Defendant that waste units or areas of concern may pose an imminent and
substantial endangerment to human health or the environment, the Defendant shall notify LDEQ
and/or EPA by the next business day.

   a) The Defendant, within thirty (30) days of such notification, shall submit for approval to
      LDEQ and/or EPA an Interim Measures Plan designed to mitigate any imminent and
      substantial endangerment to human health or the environment. The Interim Measures
      Plan shall include at a minimum: engineering design; construction, operation and
      maintenance; monitoring and performance monitoring; waste management; health and
      safety plan; schedule; corrective measure goals; reporting requirements; and, if required,
      public participation.

   b) The Defendant shall submit an Interim Measures Report to LDEQ and/or EPA after
      completion of the interim measures conducted under this Consent Decree. The Report
      shall at a minimum include: a description of interim measures implemented; summaries
      of results; summaries of problems encountered; and summaries of accomplishments
      and/or effectiveness of the interim measures.
                                               7

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
   c) Nothing in Paragraphs 17 and 18 above shall restrict EPA’s residual authorities under
      Paragraph 23 and 82 of the Consent Decree and RCRA.




                                              8

Attachment A: Phosphogypsum Stack System Construction and Operational Requirements
                                          APPENDIX A-1

            Screening Criteria- Action Levels for Assessment of Corrective Action

 I.     Definition

          Action levels are conservative health-based concentrations of hazardous wastes and/or
 hazardous constituents determined to be indicators for the protection of human health or the
 environment. Action levels shall be set by LDEQ using their Risk Evaluation/Corrective Action
 Program (RECAP) and/or EPA for all hazardous wastes and/or hazardous constituents identified
 through Attachment A which LDEQ and/or EPA has reason to believe may have been released in
 soils, sediments, or Surface Water, or in Groundwater from the Facility into the environment.
 Should the concentration of hazardous wastes and/or hazardous constituents in soils, sediments,
 or Surface Water, or in Groundwater (at the Point(s) of Compliance) exceed the RECAP action
 levels established for any environmental medium by LDEQ, LDEQ and/or EPA may require the
 Respondent to conduct a Risk Assessment and/or perform Corrective Action to achieve final
 RECAP standards established pursuant to RECAP. If LDEQ and/or EPA determine that
 concentrations of hazardous wastes and/or hazardous constituents released from the Facility,
 below established action levels, may pose a substantial threat to human health or the
 environment given site-specific exposure conditions, cumulative effects, ecological concerns or
 other factors, then LDEQ and/or EPA may require a Risk Assessment pursuant to Paragraph 17b
 of Attachment A.

        Action levels shall be concentration levels that satisfy the following criteria.

 II.    Soils

 Action levels for COCs in soils shall be derived from the levels established by LDEQ RECAP or
 EPA’s Regional Screening Levels. In compliance with RECAP, industrial soil levels can be
 applied for onsite soil as long as the current site use remains industrial.

III.   Sediment

 RECAP Screening Standards and Risk Standards are not available for constituents in sediment.
 Screening standards and risk standards shall be developed as follows:

        1.      Site specific sediment standards to serve as screening standards and action levels
        shall be developed under RECAP (2003)’s Management Option 3 (or its replacement)
        and shall address: 1) toxicity to benthic and aquatic organisms, and 2) bioaccumulation
        and potential risks to ecological receptors and human health.

        2.      Constituents of concern (COCs) whose maximum concentration exceeds the site
        specific screening standard shall be identified as site-related COCs and RECAP (2003)
        Management Option 3 (or its replacement) risk standards for sediment shall be developed
        to addressed constituent-specific concerns.

                                                  9

 Appendix A-1: Screening Criteria – Action Levels for Assessment of Corrective Action
IV.    Groundwater

       Action levels for COCs in Groundwater at the Point(s) of Compliance shall be
       concentrations specified as:

       1.      Maximum Contaminant Levels (“MCLs”) established at 40 CFR Part 141, or the
       applicable state law (RECAP calculated levels based on the Groundwater classification of
       the underlying water bearing zone/zones) or Facility permit requirements for the State in
       which the Facility is located, these action levels must meet appropriate aquatic water
       quality criteria if it is determined through the process outlined in Attachment A that
       Groundwater has the potential to impact Surface Water (Point of Exposure).

       2.      For facilities where the MCL is the most stringent standard for individual
       contaminants, if the Background Concentration exceeds the MCL, representative Natural
       Background will be the default Groundwater standard, unless the applicable state law or
       Facility permit is more stringent than Natural Background for that contaminant, in which
       case the applicable state law or Facility permit will provide the appropriate standard for
       that contaminant.

V.     Surface Water

       Action levels for COCs in Surface Water shall be specified as:

       1.     LDEQ’s Surface Water Quality Criteria

       2.     If action levels are not available from the screening values, Ambient Water
       Quality Criteria as established by the Clean Water Act will be used.




                                               10

Appendix A-1: Screening Criteria – Action Levels for Assessment of Corrective Action
       APPENDIX 1- OPERATING AND CLOSURE REQUIREMENTS FOR THE
          PHOSPHORIC ACID PRODUCTION INDUSTRY IN LOUISIANA


ATTACHMENT B: GROUNDWATER REQUIREMENTS

I. Establishment of the Point(s) of Compliance/Point(s) of Exposure (Compliance
Concentration)

(1) Unless a state-issued permit already specifies the Point(s) of Compliance, Point(s) of
Compliance for Groundwater shall be established in the event discharge to the underlying water
bearing zones and/or Aquifer(s) has occurred.

(2) Horizontal and vertical discharge shall be based on the determined Groundwater
classification of the impacted water bearing zone(s) and/or Aquifer as established in RECAP.

(3) Point(s) of Exposure (POE) shall be established based on the Groundwater classification of
the impacted water bearing zone (s) and or Aquifer(s) as established in RECAP.

(4) Point(s) of Compliance and Point(s) of Exposure shall be modified pursuant to RECAP.


II. Groundwater Monitoring Requirements

(1) All Mosaic Facilities shall comply with Section II (Groundwater Monitoring Requirements),
unless LDEQ or EPA issues a permit or order containing or resulting in an approved
Groundwater monitoring plan (e.g., Groundwater Sampling and Analysis Plans) for the Facility;

(2) Monitoring Plan Requirements.

(a) Mosaic shall provide LDEQ and/or EPA with a plan containing findings and
recommendations for Groundwater monitoring derived from Facility-specific information
developed in accordance with (b) below. The Groundwater monitoring plan shall be signed and
sealed by the professional geologist or professional Engineer who prepared or approved it. The
plan shall show the locations of the proposed background and downgradient monitoring wells,
construction details of the monitoring wells, and a water sampling and chemical analysis
protocol. The plan shall indicate how to determine background or Natural Background (where
available) quality of the Groundwater in the vicinity of the Facility and any deviations in the
quality of the receiving Groundwater in the downgradient monitoring wells, except in cases
where background levels are already established and agreed upon by LDEQ and/or EPA. LDEQ
and/or EPA will evaluate the adequacy of the plan upon submittal.

(b) The following information is generally required unless otherwise specified by LDEQ and/or
EPA.

(i) Hydrogeological, physical and chemical data for the Facility, such as:
                                                11

Attachment B: Groundwater Requirements
1. Direction and rate of Groundwater flow, background Groundwater quality (all field verified),
and Natural Background Groundwater quality where available;

2. Porosity, horizontal and vertical permeability for the Aquifer(s);

3. The depth to, and lithology of, the first confining bed(s);

4. Vertical permeability, thickness, and extent of any confining beds;

5. Topography, soil information and Surface Water drainage systems surrounding the Facility;

6. Geophysical methods such as ground penetrating radar surveys.

(ii) Disposal rate and frequency, chemical composition, method of discharge, pond volume,
spray-field dimension, or other applicable Facility specific information;

(iii) Toxicity of waste;

(iv) Present and anticipated discharge volume and seepage rate to the receiving Groundwater;
and physical and chemical characteristics of the Leachate;

(v) Phosphogypsum Stack System water balance;

(vi) Other Pollution sources located within one mile radius of the Facility about which Mosaic
has information or knowledge;

(vii) Inventory depth, construction details, and cones of depression of water supply wells or well
fields and monitoring wells located within one mile radius of the Facility or potentially affected
by the discharge;

(viii) Facility specific economic and feasibility considerations;

(ix) Chronological information on water levels in the monitoring wells and water quality data on
water samples collected from the water supply and monitoring wells;

(x) Type and number of waste Disposal/waste Storage facilities within the Facility;

(xi) Chronological information on Surface Water flows and water quality upstream and
downstream from the Facility;

(xii) Construction and operation details of waste Disposal/waste Storage facilities;
(xiii) Relevant land use history of construction and land development adjacent to the Facility.

(3) Monitoring Wells.

                                                 12

Attachment B: Groundwater Requirements
(a) On a semi-annual basis, or such other approved frequency, Mosaic shall submit reports to
LDEQ on all monitoring wells indicating the type, number and concentration of discharge
constituents or parameters indicated by the report.

(b) The reports must also include:

1. Monitor well location, construction, and the collection and testing of samples; and

2. Groundwater monitoring data displayed in graphic form for analyzing trends in water quality.

(c) Location of Monitoring Wells to Detect Migration of Contaminants. Unless Mosaic can
demonstrate that detection can be obtained by a methodology other than the use of monitoring
wells, wells shall be located as required by LAC 33:VII.805.A.2.

(d) When requested LDEQ and/or EPA, Mosaic shall inform LDEQ and/or EPA of the next
sampling schedule so that a representative of either Agency may be present.

III. Groundwater Assessment

In the event Mosaic has determined in accordance with the approved Groundwater monitoring
plan that there is a statistically significant increase over Background Concentrations determined
for one or more naturally occurring parameters or constituents in the groundwater, then Mosaic
must submit for approval to LDEQ and/or EPA a RECAP Evaluation drafted in accordance with
the applicable RECAP standards. In the RECAP Evaluation, Mosaic must develop, subject to
LDEQ and/or EPA approval, appropriate groundwater protection standards in accordance with
RECAP and/or the groundwater protection standards for radium as established by EPA for
drinking water.

IV. Groundwater-Corrective Action Work

(1) Pursuant to Paragraph 21 of the Consent Decree, and Section III. Groundwater Assessment
above, Mosaic shall take Corrective Action Work if LDEQ and/or EPA determines that:

(a) The plume is confirmed at concentration levels exceeding RECAP Limiting Risk Standards
or other applicable regulatory standards at the Point(s) of Compliance and/or Point(s) of
Exposure, as applicable and/or established under the approved RECAP Evaluation required per
Section III; or

(b) The plume is likely in the foreseeable future to threaten to impair the designated use of an
underground source of drinking water or Surface Water immediately affected by the
Groundwater; or

(c) Within the boundary of the Point(s) of Compliance and/or Point(s) of Exposure, a
Statistically Significant increase in COC concentration (including corrosivity) in Groundwater is
discovered that LDEQ or EPA determines may present a potential or actual hazard to human
health and/or the environment,
                                                13

Attachment B: Groundwater Requirements
(2) In the event (b) or (c) above applies, Mosaic may make a demonstration through a RECAP
Management Option 3 process to LDEQ that the plume can be managed through institutional
controls to meet alternative Facility-specific RECAP Risk Standards and that the plume will not
migrate offsite.


(3) If Corrective Action Work is required pursuant to (1) and Mosaic does not make a
satisfactory demonstration under D(2), Mosaic shall submit to LDEQ and/or EPA a Corrective
Action Plan pursuant to the requirements of Paragraph 18 of Appendix 1, Attachment A and
Paragraph 27 of the Consent Decree. The Corrective Action Plan must provide, at a minimum,
the following information:

(a) Direction of the plume movement in relationship to existing and potential sources of drinking
water;

(b) Plume size both in the areal and vertical dimensions;

(c) Rate of migration of the plume;

(d) Level of toxicity of the plume;

(e) Rate at which the plume is being attenuated;

(f) Current and projected future use of adjacent ground and Surface Waters affected by the
plume;

(g) A detailed description of the activities that are proposed to be taken to prevent further
migration of the plume and to address the contamination or release. Groundwater must meet the
more stringent of either the maximum contaminant levels (“MCLs”) or established at 40 C.F.R.
Part 141 or the applicable Louisiana law or Facility permit requirements1;.

(h) The costs of Corrective Action Work; and

(i) A comparison of the clean up or other Corrective Action Work costs with the benefits to the
public of such Corrective Action Work.

(4) If requested by LDEQ and/or EPA, Mosaic will provide within thirty (30) Days, unless


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 For facilities where the MCL is the most stringent standard for individual contaminants, if the
Natural Background exceeds the MCL, representative Natural Background will be the default
Groundwater standard, unless Louisiana law or the Facility permit is more stringent than Natural
Background for that contaminant, in which case Louisiana law or the Facility permit will provide
the appropriate standard for that contaminant.

                                                14

Attachment B: Groundwater Requirements
directed otherwise, any additional information or data needed so as to aid LDEQ and/or EPA in
making its Corrective Action assessment.

(5)    After Mosaic submits the Corrective Action Plan, Mosaic shall perform the Corrective
Action Work pursuant to Attachment A, Paragraph 18, including Mosaic’s submission of a
Corrective Action Measures Evaluation Report and a Corrective Action Certification Report in
accordance with Paragraph 18 of Attachment A.




                                              15

Attachment B: Groundwater Requirements
       APPENDIX 1- OPERATING AND CLOSURE REQUIREMENTS FOR THE
          PHOSPHORIC ACID PRODUCTION INDUSTRY IN LOUISIANA


  ATTACHMENT C: PHOSPHOGYPSUM STACK SYSTEM CONSTRUCTION AND
                  OPERATIONAL REQUIREMENTS


I. Phosphogypsum Stack System General Criteria

Phosphogypsum Stack Systems. The purpose of this document is to ensure the physical integrity
of impoundments used to manage Phosphogypsum and Process Wastewater generated during the
course of production of phosphate fertilizer. This document establishes minimum design,
construction, operation, inspection, and maintenance requirements to ensure that
Phosphogypsum Stack System impoundments meet critical safety standards and do not cause
unplanned releases to the environment. Owners/Operators of Phosphogypsum Stack Systems are
required to maintain inspection logs and to develop and maintain plans to respond to emergency
conditions.

(1) Performance standards. A Phosphogypsum Stack System shall be designed, constructed,
operated, maintained, closed, and monitored throughout its design period to control the
movement of waste and waste constituents into the environment so that Groundwater and
Surface Water quality standards and criteria will not be violated outside the Point(s) of
Compliance specified for the system.

(2) Operation Plan. Within one (1) year of the Effective Date of the Consent Decree, the
owner/operator of a Phosphogypsum Stack System shall have an Operation Plan that provides
written, detailed instructions for the daily operation of the system. The Operation Plan shall be
kept at or near the Facility and shall be accessible to operators of the system.

(3) Groundwater monitoring. The Facility shall perform Groundwater monitoring and reporting
as prescribed in Attachment B: Groundwater Requirements, of this Appendix.

(4) Surface Water management. Phosphogypsum Stack Systems shall be operated to provide for
the collection, control, recycling and treatment of surface runoff from the systems as necessary to
meet the applicable water quality standards of the State of Louisiana.

(5) Leachate management. Any Leachate emanating from a Phosphogypsum Stack System shall
be routed to a Cooling/Surge Pond to be contained within the system or recirculated to the
production plant or if discharged, treated if required to meet the applicable water quality
standards of the State of Louisiana.

(6) Interim Stack System Management Plan (“ISSMP”). Within six (6) months of the Effective
Date of the Consent Decree, the owner/operator of each Phosphogypsum Stack System shall
compile and submit an ISSMP to LDEQ and the EPA for approval. The approved ISSMP and
subsequent revisions shall be made available to LDEQ and/or the EPA upon request. The
                                                16

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
ISSMP shall provide instructions for two (2) years of operation and management of the specific
Phosphogypsum Stack System should a shutdown occur such that no phosphoric acid will be
produced at the Facility for up to a two-(2)-year period. By July 1 of each following year, the
owner/operator shall revise the ISSMP, taking into account the Process Wastewater levels and
the existing configuration of the Phosphogypsum Stack System as of June 1 of that year. The
ISSMP shall be designed to protect human health and the environment and shall include:

       (a) A detailed description of Process Wastewater management procedures that will be
implemented so that the Phosphogypsum Stack System operates in accordance with all
applicable requirements. The procedures shall address the actual Process Wastewater levels
present at the Facility as of June 1 of each year and shall assume that the Facility will receive
average annual rainfall during the two-(2)-year planning period;

        (b) A detailed description of the procedures to be followed for the daily operation and
routine maintenance of the Phosphogypsum Stack System (including required environmental
sampling and analyses) as well as for any maintenance or repairs recommended following annual
inspections of the system;

        (c) Identification of all machinery, equipment and materials necessary to implement the
plan as well as actions that would be taken to assure the availability of these items during the
planning period;

        (d) Identification of the sources of power or fuel necessary to implement the plan as well
as the actions that would be taken to assure the availability of power or fuel during the planning
period; and

        (e) Identification of the personnel necessary to implement the plan, including direct labor
required for paragraphs (a) and (b) above, and any necessary direct supervisory personnel, as
well as the actions that would be taken to assure their availability and any required training of
these personnel.


(7) No ISSMP is required for Phosphogypsum Stack Systems that are closed, that are undergoing
closure, or for which an application for a closure permit has been submitted, where permitting
requirements apply.


II. Assessment of Existing Perimeter Dikes for Phosphogypsum Stack Systems

(1) Except for Perimeter Dikes that have already been approved by the EPA or LDEQ as meeting
or equivalent to the criteria set forth in (1)(b)(i)-(iii) below, within six (6) months of the
Effective Date of the Consent Decree, the owner/operator of a Phosphogypsum Stack System
shall submit to LDEQ and the EPA documentation that existing Perimeter Dikes have either
been:

       (a) Assessed and certified by a Third-Party Engineer post January 2005, to have been
                                                 17

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
constructed or modified to address Freeboard, Perimeter Dike seepage, factors of safety, and
slope stability, in accordance with a permit issued by LDEQ in response to an application, where
permitting requirements apply; or

      (b) Engineered or retrofitted such that they are assessed and certified by a Third-Party
Engineer to be in compliance with the following:

                   (i) Cross section design

                          (A) Both Inside and Outside Slopes shall be no steeper than two horizontal
to one vertical.

                          (B) The design shall provide positive seepage control features such as:

                                  1. Cut-off trench in natural soil foundations

                                  2. Clay core or other impermeable core material

                                  3. Blanket Drain

                                  4. Chimney Drain and Toe Drain

                                  5. Geomembrane or composite Liner on Inside slope

                      (C) The top of the Perimeter Dike shall include a roadway that will permit
wheeled vehicles. Unless the Perimeter Dike is constructed with compacted clay and is
accessible through the crest road, the design shall also incorporate an all-weather roadway near
the downstream Toe that will permit wheeled vehicle traffic around the perimeter of the
Perimeter Dike for purposes of inspection of the slope, Toe and natural ground beyond the Toe,
as well as maintenance.

                   (ii) Freeboard provisions

                         (A) The design Freeboard of an above-grade Perimeter Dike shall not be
less than five (5) feet unless a design Freeboard of less than five (5) feet is justified based on
results of seepage and stability analyses and Wave Run-Up analyses. However, in no event shall
the design Freeboard of an above-grade Perimeter Dike be less than three (3) feet.

                   (iii) Design factors of safety and slope stability

                         (A) Stability analysis. A seepage or flow net analysis shall be made, when
applicable, for use in the stability analysis. The stability analysis shall consider the minimum
fluid level as well as the fluid level at the design Freeboard on the upstream slope of the
Perimeter Dike, and possible fluctuations of the tail water level.

                          (B) Design safety factors – The Engineer shall use the following minimum
                                                     18

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
safety factors: 1.75 for horizontal shear at base of fill; 1.5 for horizontal shear within the fill due
to seepage through the outer face; 1.5 for horizontal shear or circular arc failure through the
foundation soils; 1.5 for protection against shear failure of any circular arc in either Inside or
Outside Slope. It is imperative that water pressure distribution be included in the analyses; or

       (c) Evaluated by a Third-Party Engineer who certifies the safety and stability of the
Perimeter Dikes in accordance with (1)(b)(iii) of this Section; or

       (d) Evaluated by a Third-Party Engineer who certifies the safety and stability of the
Perimeter Dikes meet an alternate design safety factor and this alternate design safety factor has
been approved by the LDEQ and/or EPA.

(2) Within nine (9) months of a final determination that a Perimeter Dike’s safety and stability
cannot be certified in accordance with (1)(b)(iii) of this Section, the owner/operator shall submit
to LDEQ and the EPA for approval, a proposal to upgrade or retrofit the Perimeter Dike to
comply with the requirements of II.(1)(b) of this Attachment, or to take the Perimeter Dike out of
service as soon as practicable but no later than ninety (90) days after a final determination that
the Perimeter Dike’s safety and stability cannot be certified and that the Perimeter Dike cannot
or will not be upgraded or retrofitted to comply with the requirements of II(1)(b).

(3) The owner/operator of any Perimeter Dike in need of upgrade, retrofit, or de-servicing, shall
implement, within six (6) months of LDEQ’s or the EPA’s approval of the proposal submitted in
accordance with (2), above, interim measures recommended by a Third-Party Engineer that will
ensure the safety and stability of the Perimeter Dike until such time as it is upgraded or
retrofitted or taken out of service. These interim measures must be submitted to LDEQ and/or the
EPA for approval.

(4) At the time of the assessment performed pursuant to (1)(b) or (1)(c) of this Section, a Third-
Party Engineer shall also determine whether the existing system is equipped with Process
Wastewater conveyance/containment capabilities that conform to the following design
requirements:

        (a) Conveyance ditches, pumps, pipes, and hydraulic structures located within a
Phosphogypsum Stack System shall have adequate capacity to circulate the Process Wastewater
stream(s), if applicable, and to contain or transfer runoff on the Process Watershed upstream of
the water control structures resulting from a storm event generating a 100-year rainfall in twenty-
four (24) hours while maintaining at the same time the design Freeboard of the Perimeter Dike.
If provisions are made to contain some or the entire storm surge resulting from such event within
the Phosphogypsum Stack System upstream from the conveyance system or water control
structures, then the transfer capacity of the ditches, pumps, pipes, and related structures may be
reduced accordingly.

(5) Within one year of a final determination that a system does not meet the design criteria of
(4)(a) of this Section, the owner/operator shall submit to LDEQ and/or the EPA for approval, a
proposal to modify the system to attain compliance. Such modification shall be completed as
soon as practicable, but not later than fourteen (14) months after the owner/operator receives all
                                                  19

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
necessary governmental permits or other prior approvals, whichever shall later occur.

III. Construction of New Perimeter Dikes

(1) Design.

        (a) Site investigation. The general area desired for construction of a Perimeter Dike shall
be carefully inspected by an Engineer prior to selection of the exact location for the Perimeter
Dike. Areas of uneven natural subsidence, sinkholes, pockets of organic matter, or other unstable
soils shall be avoided, unless special provisions are made for their mitigation.

        (b) Soil testing. A program of soil sampling and testing adequate to determine the
characteristics of the foundation material that will support the proposed Perimeter Dike and of
the material to be used for construction of the Perimeter Dike shall be performed. Sampling
shall include borings, test pits, or in-place samples from the associated exposed excavation face.
All borings and/or test pit explorations shall be logged using a recognized engineering soil
classification system, with location and depths of all samples recorded on the Log. Tests to
determine in-place densities, shear-strength, and permeabilities of the foundation and
embankment soils shall be performed. Tests on foundation soils shall be performed either on
undisturbed samples or on the in-place soil. Tests on embankment soils shall be performed on
samples remolded to the densities and moisture contents to be used in construction.

       (c) Cross section design.

               (i) The crest on the top of the Perimeter Dike shall be graded toward the Inside or
the Outside Slope. If the Perimeter Dike exceeds ten (10) feet in height and crest runoff is
directed toward the Outside Slope, runoff controls shall be used to protect the Outside Slope
against erosion. Both Inside and Outside Slopes shall be no steeper than two and one-half (2.5)
horizontal to one (1.0) vertical. Seepage control shall be provided by means of a Liner
constructed in accordance with Section VI: Construction Requirements for New Phosphogypsum
Stack Systems or Lateral Expansions of Existing Phosphogypsum Stack Systems, of this
Attachment, placed on the Inside slope of the Perimeter Dike.

       (d) Freeboard provisions

                (i) The design Freeboard of an above-grade Perimeter Dike shall not be less than
five (5) feet unless a design Freeboard of less than five (5) feet is justified based on results of
seepage and stability analyses and Wave Run-Up analyses. However, in no event shall the design
Freeboard of an above-grade Perimeter Dike be less than three (3) feet.

       (e) Design factors of safety and slope stability of Perimeter Dikes.

                (i) Stability analysis. A seepage or flow net analysis shall be made, when
applicable, for use in the stability analysis. The stability analysis shall consider the minimum
fluid level as well as the fluid level at the design Freeboard on the upstream slope of the
Perimeter Dike, and possible fluctuations of the tail water level.
                                                20

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
                (ii) Design safety factors for Perimeter Dikes– The Engineer shall use the safety
factors identified in Section VI (Construction Requirements for New Phosphogypsum Stack
Systems or Lateral Expansions of Existing Phosphogypsum Stack Systems) for Perimeter Dikes;
any safety factor that does not meet a minimum of 1.5 is subject to approval by LDEQ and/or
EPA prior to construction of the Perimeter Dike.

(2) Site preparation. In accordance with specifications provided by the Engineer, ground which
will become the foundation of Perimeter Dikes shall be stripped of vegetation and organic
detritus or residue, including muck, mud, slimes, or other material which would flow or undergo
excessive consolidation under heavy loading. All earth foundation surfaces on which fill is to be
placed shall be scarified or moistened and compacted prior to spreading of first course of fill
material, and the Perimeter Dike base shall be well drained during construction, except when
placing hydraulic fill.

(3) Material to be used. Material used for Perimeter Dikes shall be free of extraneous matter that
could affect the compactability, density, permeability, or shear strength of the finished Perimeter
Dike (e.g. stumps, vegetation, trees, palmettos, debris). Tailings may be used for Perimeter Dike
fill when such a completed Perimeter Dike will meet the seepage and structural requirements
above.

(4) Process Wastewater control design. Conveyance ditches, pumps, pipes, and hydraulic
structures located within a Phosphogypsum Stack System shall have adequate capacity to
circulate the Process Wastewater stream(s), if applicable, and to contain or transfer runoff on the
Process Watershed upstream of the water control structures resulting from a storm event
generating a 100-year rainfall in twenty-four (24) hours, while maintaining at the same time the
design Freeboard of the Perimeter Dike. If provisions are made to contain all or part of the storm
surge resulting from such event within the Phosphogypsum Stack System upstream from the
conveyance system or water control structures, then the transfer capacity of the ditches, pumps,
pipes, and related structures may be reduced accordingly.

(5) Methods of construction:

         (a) Each new Perimeter Dike shall be constructed to meet or exceed the minimum safety
requirements of this Section and the specifications and design for that Perimeter Dike.
Appropriate earthmoving equipment shall be used to place materials in Perimeter Dike
construction. The soil shall be compacted and density tests shall be performed to ensure that the
designed densities are obtained. A representative of the Third-Party Engineer shall be present on
the site during construction of the Perimeter Dike and Liner, and during construction and
installation of spillways and penetrations through the Perimeter Dike or Liner. LDEQ and the
EPA shall be advised of the date on which construction of a new Perimeter Dike will begin.

        (b) Areas around any water level control structure pipe, any other conduit, or any surface
of discontinuity between materials within the mass of the Perimeter Dike shall be carefully
inspected to avoid potential concentration of seepages and to ensure that soils under and around a
culvert are uniformly compacted and are in continuous contact with the external culvert surface.
                                                21

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
All penetrations through the Liner on the upstream slope of the Perimeter Dike shall be made
using water tight joints or connections and shall be capable of maintaining their integrity under
anticipated in-use conditions. All pipes and joints in pipes or conduits extending through a
Perimeter Dike shall be made leak-proof and shall be constructed of materials suitable for the
fluids carried and the load imposed. In order to avoid leaks associated with differential
settlement, conduits through Perimeter Dikes shall not be rigidly supported by piles or piers.
Backfill around conduits shall be of a density that is equal to or greater than those of the
surrounding embankment. Particular attention shall be devoted to the lower third of the conduit.

IV. Operational Requirements for Perimeter Dikes

(1) All Perimeter Dikes shall be operated so as to maintain the design Freeboard, unless
temporary incursions into the Freeboard are demonstrated to be safe in accordance with IV(2),
below. Each Perimeter Dike shall be inspected as prescribed in this document.

        (a)Vegetative cover adequate to inhibit wind and water erosion shall be established and
maintained on the Outside Slope of the Perimeter Dike. Such vegetation shall be maintained
sufficiently low to permit visual inspection of the soil surfaces and critical areas; or

        (b) In areas where historically evapotranspiration exceeds precipitation, an alternative
method may be used to inhibit wind and water erosion on the Outside Slope of the Perimeter
Dike. The alternative method must be certified by a Third-Party Engineer as providing erosion
protection equivalent to that of a vegetative cover; and

        (c) The outside Toe of all operational Perimeter Dikes shall be maintained free of trees,
shrubs or other woody plant growth whose roots may induce Piping and compromise integrity of
the Perimeter Dike.

(2) Temporary Non-emergency Use of Design Freeboard:

        (a) To assure system safety and integrity and to reduce the probability of discharge, a
Facility seeking to temporarily utilize the design Freeboard of a Perimeter Dike must maintain
the safety and stability of the Perimeter Dike. If the Facility decides to seek temporary use of the
design Freeboard, it must demonstrate that safety and stability is maintained using the following
mechanisms:

               1. An inspection of the Facility;

               2. Perimeter Dike design and construction information;

               3. Results of seepage and stability analyses (including monitoring of seepage
pressures within the Perimeter Dike if such monitoring is deemed necessary); and

               4. Wind surge and Wave Run-Up analyses.

       (b) A report by a Third-Party Engineer shall specify conditions under which such use
                                                   22

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
may be authorized, such as:

               1. Acceptable wind speeds in forecast;

               2. Acceptable rainfall levels in the forecast;

               3. Increased inspection frequencies; and

                4. Weekly monitoring of piezometric levels within the mass of the Perimeter
Dike, if and as needed.

       (c) This report shall be made available to LDEQ and/or the EPA upon request.

(3) A completed new Perimeter Dike shall be thoroughly inspected prior to the placement of
Process Wastewater behind it. Spillways and water level control structures shall be certified by a
design Third-Party Engineer as meeting all specifications of the design, and degree of
compaction of the fill shall also be certified. Legible photographs, either aerial or ground, may be
used to document this initial inspection, but shall not in themselves constitute certification. A
complete file describing the items inspected and their condition shall be maintained by the
Facility.

(4) All Perimeter Dikes and water control structures shall be inspected weekly. Water level
elevations and Freeboard compliance shall be determined at least every 12 hours. Piezometric
water levels within the Perimeter Dike shall be measured quarterly if piezometers have been
installed. The inspections shall be made by a Qualified Company Employee or contractor
employed or retained by the owner/operator of the Perimeter Dike. The findings of each
inspection shall be recorded in a Log.

(5) Each Perimeter Dike shall be inspected annually by a Third-Party Engineer with experience
in the field of construction and operation of Perimeter Dikes. An annual report pertaining to such
an inspection shall be prepared and shall include recommendations and corrective measures
taken. The report shall be retained by the owner/operator. The annual inspections shall include:

       (a) Analyses of seepage or other significant items shown on all aerial photographs of the
Perimeter Dike that have been taken for any reason since the date of the last annual inspection.

        (b) Condition of soil surfaces and top and slopes of the Perimeter Dike and in areas
within fifty feet (50') downstream from the outside Toe.

       (c) Review of all periodic inspection reports to evaluate the effectiveness of maintenance
done to the Perimeter Dike during the period since the last annual inspection.

       (d) Examination and interpretation of data obtained from any instrumentation installed in
the mass of the Perimeter Dike.

       (e) Condition of spillway and water level control structures, including all conduits exiting
                                                 23

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
the Perimeter Dike.

(6) The following items shall be considered as indicating potential trouble areas that must be
documented and closely checked on subsequent inspections and repaired as necessary:

        (a) Abnormal dead vegetation or damp areas on the downstream slope, at the Toe of
slope, or downstream from the Toe of slope that could be indicative of pond water seepage.

        (b) Surface erosion, gullying or wave erosion on the upstream slope of the Perimeter
Dike.

        (c) Surface erosion or gullying on the downstream slope of the Perimeter Dike.

        (d) Erosion below any conduit through the Perimeter Dike near or at the Toe of slope of
the Perimeter Dike.

V. New Phosphogypsum Stack Systems or Lateral Expansions of Existing Phosphogypsum
Stack Systems

(1) Any Lateral Expansion is considered a new Phosphogypsum Stack and must be constructed
in accordance with the applicable requirements of Section VI: Construction Requirements for
New Phosphogypsum Stack Systems or Lateral Expansions of Existing Phosphogypsum Stack
Systems, of this Attachment.

(2) Except for incidental deposits of Phosphogypsum entrained in the Process Wastewater,
placement of Phosphogypsum outside the Phosphogypsum Stack footprint is considered a
Lateral Expansion of the Phosphogypsum Stack System. For the purpose of this Section, the
footprint is defined as the outside edge of the Starter Dikes used to contain the placement of
Phosphogypsum in the Phosphogypsum Stack.

(3) Except as provided in Attachment E: Critical Conditions and Temporary Measures, Section
IV (Emergency Diversion Impoundment), storage or containment of Process Wastewater outside
the footprint of the Phosphogypsum Stack System is considered a Lateral Expansion of the
Phosphogypsum Stack System. For the purpose of this paragraph, the footprint is defined as the
outside edge of the dams, dikes or ditches used to store or contain Process Wastewater.

(4) A completed new Phosphogypsum Stack System, including the Starter Dike, shall be
thoroughly inspected prior to the deposition of Process Wastewater in it. The Liner, spillways
and water level control structures shall be certified by a design Third-Party Engineer as meeting
all specifications of the design, and the degree of compaction of the fill shall also be certified.
Legible photographs, either aerial or ground, may be used to document this initial inspection, but
shall not in themselves constitute certification. A complete file describing the items inspected
and their condition shall be made available to LDEQ and/or the EPA upon request.

(5) Exceptions:
No person shall dispose of, or store prior to Disposal, any Phosphogypsum except within a
                                                24

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
permitted Phosphogypsum Stack System, in States where permitting requirements apply. This
provision shall not be construed to prohibit any use or reuse of Phosphogypsum not otherwise
prohibited by law.

VI. Construction Requirements for New Phosphogypsum Stack Systems or Lateral
Expansions of Existing Phosphogypsum Stack Systems

(1) Minimum design standards. The requirements of this Section are the minimum standards for
constructing a new Phosphogypsum Stack System or a Lateral Expansion after the Effective
Date of the Consent Decree.

(2) Run-On Control. Install and maintain a Run-On control system capable of preventing flow
during peak discharge from at least a twenty-four (24)-hour, 25-year Rainfall Event.

(3) Run-Off Control. Install and maintain a Run-Off management system to collect and control
at least the water volume resulting from a twenty-four (24)-hour, 25-year Rainfall Event.

(4) Safety Factor. Any new Phosphogypsum Stack System or Lateral Expansion shall be
designed with an appropriate safety factor, as described herein for global stability including the
clay starter dike abutting the Stack with the stack raised up to its maximum design height,
subject to LDEQ approval. An overall factor of safety of 1.5 for any potential failure surface
encompassing the impoundment on top of the Phosphogypsum Stack and passing through the
Phosphogypsum slope or bottom Liner interfaces, or extending into earthen material in contact
with the bottom Liner (defined as global stability). Alternatively, a global stability factor of
safety greater than 1.25 for potential failure surfaces encompassing the impoundment on top of
the Phosphogypsum Stack and passing through the Phosphogypsum slope or extending into the
natural foundation soils beneath the Phosphogypsum Stack when analyzed using representative
normalized Direct Simple Shear (DSS) soil strengths along the failure surface in conjunction
with a geotechnical performance monitoring program implemented in accordance with the
observational approach. At a minimum, the observational approach shall be based on
geotechnical performance monitoring including quarterly measurements of pore water pressures
and monthly measurements of lateral displacements in the foundation soils at several
representative locations beneath the Active Phosphogypsum Stack slope along with routine
evaluation of the monitoring data to determine if remedial actions need to be implemented (e.g.
setbacks or flatter incremental slopes) to maintain the design factor of safety which shall be
verified and rechecked periodically throughout the Active life of the Phosphogypsum Stack. The
design and observational approach shall be conducted by or under the supervision of a licensed
third party Engineer experienced in soft ground construction.

(5) Liner and Leachate control systems. Phosphogypsum Stacks shall be constructed with
composite liners and Leachate control systems. Auxiliary Holding Ponds and Regional Holding
Ponds shall be constructed with HDPE liners 60-mil or thicker. Cooling Ponds shall be
constructed with composite liners. Process Wastewater conveyances shall be constructed with
liners or pipes.

       (a) Phosphogypsum Stack Liners shall be:
                                               25

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
                1. Constructed of materials that have appropriate physical, chemical, and
mechanical properties to prevent failure due to physical contact with the Phosphogypsum,
Process Wastewater or Leachate to which they are exposed, climatic conditions, the stress of
installation, and other applied stresses and hydraulic pressures that are anticipated during the
operational and closure period of the system. The supplier of materials for the Liner components
shall provide test information accepted by the Engineer of record, that supports the capabilities
of the materials to meet these needs;

               2. Installed upon a base and in a geologic setting capable of providing structural
support to prevent overstressing of the Liner due to settlements and applied stresses;

              3. Constructed so that the bottom of the Liner system is not subject to fluctuations
of the Groundwater so as to adversely impact the integrity of the Liner system;

            4. Designed to resist hydrostatic uplift if the Liner is located below the seasonal
high Groundwater Table; and

            5. Installed to cover all earth that could come into contact with the
Phosphogypsum, Process Wastewater or Leachate.

       (b) Phosphogypsum Stack Liner design standards. Phosphogypsum Stacks shall be
constructed atop a composite Liner that consists of a Geomembrane in conjunction with a non-
synthetic component:

               1. The synthetic component of composite liners shall consist of a 60-mil or thicker
High Density Polyethylene (HDPE) or equivalent Geomembrane Liner with a maximum water
vapor transmission rate of 0.24 grams per square meter per day as determined by the American
Society for Testing and Materials (ASTM) Method E96-80, procedure BW, “Test Methods for
Water Vapor Transmission of Materials,” Sections 04.06, 08.03, and 15.09, which document is
incorporated herein by reference.

                 2. The non-synthetic component of the composite Liner shall consist of either of
the following:

                       a. A layer of compacted soil at least eighteen (18) inches thick, placed
below the Geomembrane, with a maximum hydraulic conductivity of 1 × 10-7 centimeters per
second, constructed in six-inch lifts. The Geomembrane Liner component shall be installed in
direct and uniform contact with the compacted soil component to retard Leachate migration if a
leak in the flexible membrane Liner should occur. Soil materials used within the top twelve (12)
inches of the compacted soil layer immediately below the synthetic Liner shall be free from rigid
or sharp objects that could damage or otherwise affect the integrity of the Liner; or

                        b. A layer of mechanically compacted Phosphogypsum at least twenty-
four (24) inches thick, placed above the Geomembrane, with a maximum hydraulic conductivity
of 1 × 10-4 centimeters per second. No rigid or sharp objects that could damage the Liner may be
                                                 26

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
placed within this compacted layer of Phosphogypsum. Such a layer (of mechanically
compacted gypsum) shall not be required for any vertical expansion of a Phosphogypsum Stack
where Phosphogypsum slurry is discharged into the expansion area within one year of
completion of construction.

               3. The non-synthetic component of a Phosphogypsum Stack composite Liner will
not be required for vertical expansions under the following conditions:

                       a. where it has been demonstrated to and approved by LDEQ that a
synthetic Liner alone or in contact with sedimented gypsum placed in slurry form will be
equivalent or superior to a composite Liner designed and installed in accordance with the
requirements of this Section VI (Phosphogypsum Stack System Construction Requirements); or

                        b. where it has been previously demonstrated to and approved by LDEQ
that a synthetic Liner in contact with sedimented gypsum placed in a slurry form is equivalent or
superior to a composite Liner with twenty-four (24) inches of compacted Phosphogypsum placed
above the Geomembrane.

       (c) Any proposed composite Liner design shall be accompanied by a detailed
construction quality assurance plan, describing in detail how the design will be properly
constructed in the field. For composite liners using compacted Phosphogypsum, the quality
assurance plan shall place particular emphasis on protection of the Geomembrane during
placement and compaction of the Phosphogypsum, and on prompt placement of Phosphogypsum
on the Geomembrane. The construction quality assurance plan must be submitted to LDEQ for
approval.
(d) The following Liner design standards must be met:

               1. Standards for geosynthetic components.

                        a. Geomembranes shall have factory and field seams whose shear
strengths during testing are at least ninety percent (90%) of the specified minimum yield strength
for that lining material, and the failure shall occur in the lining material outside the seam area.
All field seams must also be visually inspected and pressure or vacuum tested for seam
continuity using suitable non-destructive techniques.

                        b. No large or rigid objects may be placed in the Phosphogypsum Stack
System in a manner that may damage the Liner or Leachate collection system and, with the
exception of liners installed at the Toe of the Phosphogypsum Stack, in no case shall such
objects be placed within ten (10) vertical feet of the Liner or Leachate collection system, unless
approved by LDEQ and/or EPA.

                      c. High density polyethylene (HDPE) Geomembranes shall meet the
specification contained in method GRI GM13 or updates thereof.

                     d. Polyvinyl chloride (PVC) Geomembranes shall meet the specification
contained in method PGI 1197 or updates thereof.
                                                27

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
                       e. Interface shear strength of the actual components that will be used in the
Liner system shall be tested with method ASTM D5321 or an equivalent test method.

                         f. In addition, the synthetic Liner material shall be subjected to continuous
spark testing or an industry-accepted equivalent test at the production Facility prior to delivery to
the site for installation. If the continuous spark testing detects any defect, the tested material
must be rejected and not delivered to the site;

       (e) Standards for soil components.

                1. Soil components of Liner systems shall be constructed to preclude, to the
greatest extent practicable, lenses, cracks, channels, root holes, pipes, or other structural
inconsistencies that can increase the saturated hydraulic conductivity of the soil component. The
design shall illustrate and describe those instances in which over-excavation of permeable areas
and backfilling may be necessary to seal the permeable area. The soil component shall be placed
and compacted in layers to achieve the design performance.

               2. The permeability of soil Liner components shall not be increased above the
values specified for the component, as a result of contact with Leachate from the
Phosphogypsum Stack System. Compatibility of the soil component and Leachate shall be
demonstrated by testing the soil component with actual or simulated Leachate in accordance with
EPA Test Method 9100 or an equivalent test method.

             3. The soil component of the Liner system may consist of in-situ soils or
compacted imported soils, provided they meet the specifications for Soil Liners.

               4. Specifications for the soil component of the Liner system shall contain at a
minimum:

                      a. Allowable range of particle size distribution and Atterberg limits, to
include shrinkage limit;

                       b. Placement moisture criteria and dry density criteria;

                     c. Maximum laboratory-determined saturated hydraulic conductivity,
using simulated Leachate as the saturating and testing liquid;

                       d. Minimum thickness of the soil Liner;

                       e. Lift thickness;

                       f. Surface preparation (scarification) for tying lifts together; and

                       g. Type and percentage of clay mineral within the soil component.

                                                 28

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
               5. The soil Liner shall be placed using construction equipment and procedures
that achieve the required saturated hydraulic conductivity and thickness. A field test section shall
be constructed using the proposed construction equipment and tested to document that the
desired saturated hydraulic conductivity and thickness is achieved in the field.

       (f) Liner systems construction quality assurance.

                1. Liner systems shall have a construction quality assurance plan to provide
personnel with adequate information to achieve continuous compliance with the Liner
construction requirements. The plan shall include or refer to specifications and construction
methods that use established engineering practices to construct a Liner system and provide for
quality control testing procedures and sampling frequencies. Sampling and testing shall be
conducted in the field by trained personnel during construction and after construction
completion. Such personnel will be under the direction of the construction quality assurance
Engineer, to assure the Liner system will comply with the standards. The construction quality
assurance Engineer or his designee shall be on-site at all times during construction to monitor
construction activities. Construction activities include the time during which the protective layer
is installed over the Geomembrane, to ensure that the placement techniques do not cause damage
to the Liner system materials.

               2. Liner systems shall be installed in accordance with the construction quality
assurance plan. Plans that comply with EPA Document EPA/600/R-93/182 or updates thereof
shall be presumed to be in compliance with this Section. The following minimum specific
elements shall be included in the plan:

                      a. Responsibility and authority of all organizations and key personnel
involved in permitting, designing, constructing, and providing construction quality assurance of
the Phosphogypsum Stack System shall be described fully;

                      b. Minimum qualifications of the construction assurance quality Engineer
and supporting personnel shall be in the plan to demonstrate that they possess the training and
experience necessary to fulfill their identified responsibilities;

                    c. Procedures and tests that will be used to monitor the installation of the
Liner system components shall be described in detail;

                       d. The sampling activities, sample size, sample locations, frequency of
testing, acceptance and rejection criteria, and plans for implementing corrective measures that
may be necessary shall be described; and
                       e. Reporting requirements for construction quality assurance activities
shall be described, including daily summary reports, observation data sheets, problem
identification and corrective measures, and final documentation. All such documents shall be
included in a final report.

              3. A laboratory experienced in the testing of geosynthetics, independent of the
Liner manufacturer and installer, shall perform the required testing that must include, at a
                                                29

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
minimum, conformance testing for all geosynthetics and geocomposites, and testing of seam
shear and peel strength for Geomembranes.

               4. The Engineer in charge of construction quality assurance shall provide a
signed, sealed final report and record drawings stating that the Liner system has been installed in
substantial conformance with the plans and specifications for the Liner system and identifying
any significant deviations.

       (g) Soil Liner construction quality assurance. In addition to the requirements of (f)
above, the following requirements apply to construction of the soil component of Liner systems.
All required testing and analysis shall be performed in accordance with generally accepted
engineering procedures, such as those promulgated by the ASTM. Parenthetic references to
ASTM methods are intended as guidance only.

                1. A construction quality assurance/quality control plan shall be prepared for each
soil Liner project to outline project specifications and construction requirements. The plan shall
specify performance criteria for the soil Liner, and provide quality control testing procedures and
minimum sampling frequencies. In addition, the plan shall define the responsibilities of the
parties that will be involved in soil Liner construction, and shall present minimum qualifications
of each party to fulfill their identified responsibilities.

                 2. Field and laboratory testing during Liner construction shall be conducted by a
qualified soil testing laboratory representing the owner/operator. A qualified field technician
representing the owner/operator shall provide full time, on-site inspection during Liner
construction. The field technician shall work under the supervision of an Engineer with
experience in soil Liner construction.

                3. Prior to soil Liner installation, an appropriate borrow source shall be located.
Suitability of the Liner construction materials from that source shall be determined in accordance
with the following:

                        (a) If demonstrated field experience is available from at least three (3)
prior successful projects of five (5) or more acres each to document that a given borrow source
can meet the requirements of the project specifications, then extensive laboratory testing of the
borrow source will not be required. However, the source of material shall be geologically similar
to and the methods of excavating and stockpiling the material shall be consistent with those used
on the prior projects. Furthermore, a minimum of three representative samples from the
appropriate thickness of the in-situ stratum or from stockpiles of the borrow material proposed
for Liner construction shall be submitted to an independent soil testing laboratory to document
through index testing that the proposed material is consistent with the material used on prior
successful projects. At a minimum, index testing shall consist of percent fines, Atterberg limits
and moisture content determinations.

              (b) If demonstrated field experience as defined above is not available or cannot be
documented, then the following requirements shall be met:

                                                30

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
                       1. A field exploration and laboratory testing program shall be conducted
by an independent soil testing laboratory to document the horizontal and vertical extent and the
homogeneity of the soil strata proposed for use as Liner material. A sufficient number of index
tests from each potential borrow stratum shall be performed to quantify the variability of the
borrow materials and to document that the proposed borrow material complies with
specifications. At a minimum, the index tests shall consist of percent fines, Atterberg limits and
moisture content determinations.

                       2. Sufficient laboratory hydraulic conductivity tests shall be conducted on
samples representative of the range invariability of the proposed borrow source (ASTM D-5084).
For each such sample, test specimens shall be prepared and tested to cover the range of molding
conditions (moisture content and dry density) required by project specifications. The hydraulic
conductivity tests shall be conducted in triaxial type permeameters. The test specimens shall be
consolidated under an isotropic consolidation stress no greater than ten (10) pounds per square
inch and permeated with water under an adequate backpressure to achieve saturation of the test
specimens. The inflow to and outflow from the specimens shall be monitored with time and the
hydraulic conductivity calculated for each recorded flow increment. The test shall continue until
steady state flow is achieved and relatively constant values of hydraulic conductivity are
measured (ASTM D-5084). The borrow source will only be considered suitable if the hydraulic
conductivity of the material, as documented on laboratory test specimens, can be shown to meet
the requirements of the project specifications at the ninety-eight percent (98%) confidence level.

                         3. Prior to full-scale Liner installation, a field test section or test strip shall
be constructed at the site above a prepared sub-base. The test strip shall be considered acceptable
if the measured hydraulic conductivities of undisturbed samples from the test strip meet the
requirements of the project specifications at the ninety-eight percent (98%) confidence level. If
the test section fails to achieve the desired results, additional test sections shall be constructed in
accordance with the following requirements:

                               a. The test section shall be of sufficient size such that full-scale
Liner installation procedures can be duplicated within the test section;

                              b. The test section shall be constructed using the same equipment
for spreading, kneading and compaction and the same construction procedures (e.g., number of
passes, moisture addition and homogenization, if needed) that are anticipated for use during full-
scale Liner installation;

                       4. At a minimum, the Liner test section shall be subject to the following
field and laboratory testing requirements:

                              a. A minimum of five (5) random samples of the Liner
construction material delivered to the site during test section installation shall be tested for
moisture content (ASTM D-2216), percent fines (ASTM D-1140) and Atterberg limits (ASTM
D-4318);

                                 b. At least five (5) field density and moisture determinations shall
                                                    31

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
be performed on each lift of the compacted Liner test section;

                             c. Upon completion of the test section lift, the thickness of the lift
shall be measured at a minimum of five (5) random locations to check for thickness adequacy;
and

                                d. A minimum of five (5) Shelby tube or drive cylinder (ASTM D-
2937) samples shall be obtained from each lift of the test section for laboratory hydraulic
conductivity testing. Laboratory hydraulic conductivity testing shall be conducted in triaxial type
permeameters (ASTM D-5084). The test specimens shall be consolidated under an isotropic
consolidation stress no greater than ten (10) pounds per square inch and permeated with water
under an adequate backpressure to achieve saturation of the test specimens. The inflow to and
outflow from the specimens shall be monitored with time and the hydraulic conductivity
calculated for each recorded low increment. The test shall continue until steady state flow is
achieved and relatively constant values of hydraulic conductivity are measured (ASTM D-5084).
Alternatively, a sealed double-ring infiltration field test (ASTM D3385) may be used as an
alternative to taking drive or Shelby tube samples.

                        5. Full scale Liner installation may begin only after completion of a
successful Liner test section. During Liner construction, documentation of quality control testing
shall be maintained and made available to LDEQ and/or the EPA upon request, to document that
the installed Liner conforms to approved project specifications. The testing frequencies for
quality control testing are specified below; however, during construction of the first five acres of
the Liner, these frequencies shall be doubled. Samples shall be obtained from random locations
selected by an Engineer. If there are indications of a change in material properties, product
quality or construction procedures during Liner construction, additional tests shall be performed
to determine compliance.

                       6. Field testing during Liner installation. The following field tests shall be
performed:

                              a. Prior to the laying of the Liner materials, the Liner sub-base
shall be compacted to the specified density. Density tests shall be conducted at a minimum rate
of two tests per acre;

                             b. A minimum of two (2) moisture content and field density
determinations shall be conducted per acre per lift of the compacted Liner. The degree of
compaction shall be checked using the one-point field Proctor test or other appropriate test
procedures; and

                                c. A minimum of four (4) thickness measurements shall be
conducted per acre per lift of the compacted Liner.

                       7. Laboratory testing during Liner installation. The following laboratory
tests shall be performed:

                                                 32

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
                              a. Percent fines (ASTM D-1140) of the Liner construction material
shall be determined at a minimum frequency of two (2) tests per ace per lift of installed Liner;

                                b. Atterberg Limits determinations shall be performed on one
sample per acre per lift of installed Liner; and

                                c. Hydraulic conductivity testing of Shelby tube or drive cylinder
(ASTM D-2937) samples of the compacted Liner shall be performed at a minimum frequency of
one test per acre per lift. Laboratory hydraulic conductivity tests shall be conducted in triaxial
type permeameters (ASTM D-5084). The test specimens shall be consolidated under an isotropic
consolidation stress no greater than ten (10) pounds per square inch and permeated with water
under an adequate backpressure to achieve saturation of the test specimens. The inflow to and
outflow from the specimens shall be monitored with time and the hydraulic conductivity
calculated for each recorded flow increment. The test shall continue until steady state flow is
achieved and relatively constant values of hydraulic conductivity are measured.

                        8. If the test data from a Liner section does not meet the requirements of
the project specifications, additional random samples may be tested from that Liner section. If
such additional testing demonstrates that the thickness and hydraulic conductivity meet the
requirements of the project specifications at the ninety-five percent (95%) confidence level, that
Liner section will be considered acceptable. If not, that Liner section shall be reworked or
reconstructed so that it does meet these requirements.

       (h) Leachate control system standards.

            1. A perimeter underdrain system designed to stabilize the side slopes of the
Phosphogypsum Stack shall be installed above the Geomembrane Liner.

                2. Perimeter drainage conveyances used in the Leachate control system shall
either consist of covered or uncovered ditches that are lined continuously with the
Phosphogypsum Stack Liner, or of chemically compatible Leachate collection pipes. Covered
ditches shall have maintenance manholes installed at appropriate intervals. Piped systems shall
have manholes or appropriate cleanout structures at appropriate intervals unless the Engineer of
record certifies and identifies areas where manholes or cleanout structures in piped systems are
not feasible.

                3. All Toe Drain or Leachate collection systems must be constructed within the
lined system.

       (i) Liquid containment and conveyance systems.

               1. Composite liners shall be used on all liquid containments and conveyances
associated with Transport of Phosphogypsum, cooling water, and return of Process Wastewater.
Exceptions are pumped flow systems contained in pipes or alternative systems that provide an
equivalent degree of protection.

                                                33

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
               2. Pump and piping systems associated with the transport of Phosphogypsum or
Process Wastewater and that cross Surface Waters of the State must be double contained with
chemically compatible materials in a manner that assures that all materials under pumped flow
are contained within a lined system in the event of a leak or piping system failure.

VII. Requirements for Actively Operated Phosphogypsum Stack Systems

(1) All Active Phosphogypsum Stack compartments, including any noted areas containing
critical conditions, as defined below in (4), until corrected, shall be inspected daily. Inactive
Phosphogypsum Stack compartments, slopes, collection ditches, and Drain outlets shall be
inspected at least weekly and as soon as field conditions allow after storms. Flow from Drain
outlets shall be checked quarterly. The total areal coverage of water on the Phosphogypsum
Stack shall be estimated each month and the total water inventory on top of the Phosphogypsum
Stack shall be estimated annually. The required inspections and estimates shall be carried out by
a Qualified Company Employee or contractor employed or retained by the owner/operator of the
Phosphogypsum Stack. The results of the required inspections and estimates shall be recorded in
a Log that shall be maintained by the owner/operator of the Phosphogypsum Stack.

(2) Where a leak detection system exists, the amount of liquid removed from any such system
must be recorded weekly.

(3) Each Phosphogypsum Stack shall be inspected within one year of the Effective Date of the
Consent Decree and annually thereafter by a Third-Party Engineer with experience in the field of
construction and operation of Phosphogypsum Stacks at the same time that the annual inspection
of the associated Perimeter Dike occurs. This annual inspection shall be recorded in a report and
shall include an updated aerial photograph and state the area of the top of the Phosphogypsum
Stack and the current height and elevation of the Phosphogypsum Stack. The annual inspection
report shall include recommendations and corrective measures taken. If corrective measures are
not completed by the time of annual submittal, then follow up inspections shall be conducted by
the Third-Party Engineer on a quarterly basis with quarterly project reports submitted until
completion of all corrective measures. One copy of the annual inspection report shall be
submitted to LDEQ and EPA.

(4) Any of the following items shall be considered as indicating a critical condition that requires
immediate investigation and may require emergency maintenance action:1

        (a) Concentrated seepage (e.g., springs or boils) on the face of a Phosphogypsum Stack
slope, at the Toe of the slope, or beyond the Toe of a slope with active signs of Piping at the
point of seepage (e.g., a gypsum or soil cone or delta at the point of seepage).

       (b) Evidence of slope instability including sloughing, bulging or heaving of the face of
the Phosphogypsum Stack or the Toe of the slope.



1
    These requirements also are listed in Attachment E (Critical Conditions and Temporary Measures).
                                                         34

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
         (c) Lateral movement or subsidence of the slope or crest of the Phosphogypsum Stack.

        (d) Formation of new non-shrinkage cracks or enlargement of wide cracks in the surface
of the slope or crest of the Phosphogypsum Stack.

         (e) Observed or suspected damage to the Liner system.

         (f) Drains discharging turbid water.

         (g) Concentrated seepage (i.e., springs or boils) in the vicinity of a decant pipe.

(5) In addition to the indicators set forth in (4) above, the following items shall be considered as
indicating potential trouble areas that must be documented and closely checked on subsequent
inspections and repaired as necessary:

        (a) Concentrated seepage (e.g., springs or boils) on the face of a Phosphogypsum Stack or
at the Toe of slope without active signs of Piping at the point of seepage.

         (b) Previously observed localized sloughing at the Toe of slope of the Phosphogypsum
Stack.

         (c) Previously observed cracks in the surface of the slope or crest of the Phosphogypsum
Stack.

         (d) Nonflowing Drains.

(6) Phosphogypsum Stack System Operation Plans.
The following items shall be included in the Operation Plan for each Phosphogypsum Stack
System and shall be approved by an Engineer experienced in the construction and operation of
Phosphogypsum Stacks:

         (a) The method used to raise and operate the Phosphogypsum Stack.

      (b) A description of the source and consistency of gypsum used in constructing the
Gypsum Dikes and the method used for shaping and/or mechanically working the gypsum.

     (c) The overall average exterior slope for raising the Phosphogypsum Stack and the
maximum design height of the Phosphogypsum Stack.

       (d) The procedures used to assure that pipes used to transport Phosphogypsum to the
Phosphogypsum Stack Systems and to return Process Wastewater to the phosphate fertilizer
production facilities are operated and maintained in a safe manner.

      (e) The procedures used to decant Process Wastewater from the top of the
Phosphogypsum Stack.

                                                   35

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
       (f) The location of pumps, spillways, and staff gauges.

        (g) Provisions that address emergency measures to be taken in the event of mechanical
failure of a pump or in the event of a power failure for any portion of a Phosphogypsum Stack
System that relies on pumps or power to operate monitoring equipment or to transfer Process
Wastewater and/or rainfall-runoff from low areas to the main Cooling Pond. Such emergency
provisions may include:

               i. Back-up power (e.g., on-site power; diesel generator, etc.) and/or back-up pump
that would be activated in the event of electrical or mechanical failure; or

              ii. Sufficient surge storage capacity or emergency surge capacity within the
conveyance system to contain the Process Wastewater stream(s), if applicable, as well as runoff
from a storm event generating a 100-year rainfall in 24 hours; or

               iii. Increased inspection frequencies or continuous monitoring (e.g., remote video
camera or automatic water level control device tied to a warning system) to provide early
warning of an imminent spill prior to its occurrence; and an emergency action plan that would be
undertaken to prevent or contain an accidental spill.

        (h) Within six (6) months of the Effective Date of the Consent Decree, a site-specific
water management plan shall be prepared and updated annually to reflect changes in Process
Watershed area, storm surge, projected water balances, and use of the 110 Acre Reservoir and
any other subsequently approved Emergency Diversion Impoundments (EDI) (Attachment E,
Section IV). The owner/operator shall address in the plan the possibility and/or feasibility that
one or more component areas of the Phosphogypsum Stack System may be closed or otherwise
removed from the Phosphogypsum Stack System to reduce the watershed and projected Process
Wastewater inventory based on all relevant factors, including the five-year water balance
analysis as set forth in (7) below, whether the removal of any component areas can be done
without compromising plant operations or operability or integrity of the Phosphogypsum Stack
System, the effect of any potential removal areas on the operability of the Phosphogypsum Stack
System prior to permanent closure, and any legal or regulatory requirements. The updated plan
shall be consistent with water quality based effluent limits applicable to the Facility. This plan
shall specify at a minimum, a set of specific actions, including minimum Process Wastewater
consumption and transfer rates, that are put into motion when the storage volume, surge capacity,
or operating water level(s) of the Cooling/Surge Pond system are determined to be inadequate to
contain the rainfall from a storm event generating a 100-year rainfall in twenty-four (24) hours,
or where such actions are determined to be necessary based on water balance model results for
the rainfall scenarios described in subsection (7) below. The site specific-water management plan
and annual updates thereof shall be submitted to LDEQ and/or the EPA.

       (i) The adequacy of the Facility’s site-specific water management and action plans and
emergency measures shall be based on a five-year water balance analysis as set forth in (7)
below.

(7) The water balance analysis shall use the first day of the month that succeeds the month of the
                                                36

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
year with the highest long-term average precipitation total as the beginning date for the analysis,
unless the EPA and LDEQ approve the use of an alternate date where a larger volume of
precipitation or water accumulation (such as snowmelt) is expected. The analysis shall identify
the rates of all water inputs and outputs, any manufacturing production changes, and changes in
Process Watershed area considered in the analysis. A Third-Party Engineer shall verify the
accuracy of the analysis. A summary of the analysis and the water balance analysis results shall
be included in the annual updated site-specific water management plan required in (6) above.

        (a) The water balance calculations shall be performed for five (5) distinct extreme rainfall
scenarios applied for the subsequent five (5)-year period using monthly, or more frequent, input
rainfall quantities which shall include:

               1. Rainfall corresponding to the highest monthly 100-year Rainfall Event
occurring during the annual 100-year Rainfall Event, as defined in Attachment F: : Definitions
for Purpose of this Consent Decree, of this Appendix; and

                2. Annual rainfall events shall be determined based on a long-term rainfall record
from a National Oceanic & Atmospheric Administration or equivalent weather station in the
vicinity of the Facility. The five-year rainfall total shall be based on a cumulative five-year
rainfall event which has a probability of exceedance of five percent (5%), which shall be
considered an equivalent probability as the 100-year Rainfall Event (i.e., a probability of not
being exceeded = 99%) for not being exceeded during a five (5)-year period (i.e., [1 – 0.995] =
5%).

                       (i) Example of the input annual rainfall quantities for each of the five 5-
year extreme rainfall scenarios1:

                                                              Rainfall, inches


              Year 1              Year 2             Year 3              Year 4             Year 5            Total
                                  An annual          An annual           An annual
              100-year annual     rainfall event     rainfall event      rainfall event
              rainfall quantity   which together     which together      which together
                                                                                            An annual         5-year
              incorporating       the preceding or   the preceding or    the preceding or
                                                                                            rainfall event    cumulative
              the highest         following          following           following
                                                                                            contributing to   rainfall total
              monthly             annual rainfall    annual rainfall     annual rainfall
                                                                                            a 5-year total    determined in
 Scenario 1   100-year            event,             events,             events,
                                                                                            which has a       accordance
              Rainfall Event      contributes to a   contributes to a    contributes to a
                                                                                            5% probability    with (7)(a)2.
              (Y1)                2-year total       3-year total        4-year total
                                                                                            of exceedance     of this
                                  which has a 5%     which has a 5%      which has a 5%
                                                                                            (Y5)              Section (∑)
                                  probability of     probability of      probability of
                                  exceedance         exceedance          exceedance
                                  (Y2)               (Y3)                (Y4)
 Scenario 2         (Y3)                (Y1)               (Y2)                (Y5)              (Y4)              (∑)
 Scenario 3         (Y5)               (Y4)               (Y1)                   (Y3)            (Y2)              (∑)




                                                           37

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
 Scenario 4       (Y2)           (Y3)           (Y4)            (Y1)          (Y5)          (∑)
 Scenario 5       (Y4)           (Y5)           (Y3)            (Y2)          (Y1)          (∑)


                3. The annual rainfall quantities exceeding or less than the long-term average
annual rainfall shall be distributed at least amongst the various months of the year, other than the
month for the highest monthly 100-year Rainfall Event, in proportion to the normal monthly
rainfall amounts determined from the corresponding long-term record.

      (b) The water balance analysis for any Phosphogypsum Stack System shall indicate
whether the system storage will be less than any of the following water balance targets:

               1. At the beginning of the rainy season, the calculated 100-year, 24-hour rainfall
event plus one-half the value for the 25-year, 24-hour rainfall event calculated (in inches) for the
area where the Facility is located.

                2. At the end of the rainy season, the 100-year, 24-hour rainfall event calculated
(in inches) for the area where the Facility is located.

                3. Water levels that exceed impoundment Maximum Design Levels at any time
during a year. After the later of either the two (2) year anniversary of the Effective Date of the
Consent Decree or January 1, 2017, if the water balance for any Phosphogypsum Stack System
indicates that system storage is less than the water balance targets, the owner/operator must
provide reasonable assurance that additional Process Wastewater consumption or management
items, not already included as outputs in the water balance analysis, are readily available and
capable of maintaining these water balance targets. Use of available storage within an Auxiliary
Holding Pond, up to its Maximum Design Levels, may be used to provide this assurance.

        (c) After the later of either the two (2) year anniversary of the effective date of the
Consent Decree or January 1, 2017, if the water balance indicates that at any time during the five
(5)-year modeling period that Process Wastewater levels, in conjunction with additional
available Process Wastewater consumption or management items will not meet the water balance
targets, the owner/operator must provide additional Process Wastewater consumption or
management items, and submit an alternatives plan and implementation schedule for approval by
LDEQ and/or the EPA for the additional consumption or management measures within ninety
(90) days of submittal of the water balance analysis. The plan and schedule shall include, at a
minimum, the following elements:

              1. A listing and description of the additional Process Wastewater consumption or
management items to be evaluated, including the identification of items that can be rapidly
implemented to achieve the water balance targets;

               2. A listing of interim measures that can be implemented to prevent an
unpermitted release of Process Wastewater in the event that actual rainfall events contribute to
Process Wastewater levels exceeding Maximum Design Levels; and

               3. A proposed schedule for the evaluation, selection, engineering, design, and
                                               38

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
construction, installation or implementation for the items and interim measures needed to
increase water consumption, reduce inventories, or any combination of such actions that will
result in achievement of the water balance targets.

VIII. Contingency Plans for Operating Phosphogypsum Stack Systems

(1) Within six (6) months of the Effective Date of the Consent Decree, the owner/operator of a
Phosphogypsum Stack System shall prepare, and update annually thereafter, a contingency plan
to address unplanned releases of Process Wastewater. The elements of such a plan shall address
the applicable elements of the “National Response Team’s Integrated Contingency Plan
Guidance,” 61 Fed. Reg. 28,641 (June 5, 1996), which elements are incorporated herein by
reference and shall demonstrate the ability to mobilize equipment and manpower to respond to
emergency situations. The plan shall be maintained at the Facility and be available for inspection
by LDEQ and/or the EPA upon request.

(2) Training. The owner/operator of a Phosphogypsum Stack System shall provide annual
training in inspection and operations requirements and contingency plan requirements to
appropriate personnel. Newly hired personnel shall receive training prior to engaging in
inspection or operations activities. A training plan consistent with the requirements of this
document shall be maintained at each Facility and be available for inspection upon request.
Records demonstrating that appropriate personnel have received the necessary training shall be
maintained by the Facility owner/operator for a period of three (3) years.




                                                39

Attachment C: Phosphogypsum Stack System Construction and Operational Requirements
ATTACHMENT D: CLOSURE OF PHOSPHOGYPSUM STACKS/ STACK SYSTEMS

I. Phosphogypsum Stack/Stack Systems Closure

Applicability: The requirements of this Attachment apply, except as specified below, to Active
and Inactive Phosphogypsum Stacks and components of the Phosphogypsum Stack System, and
to new or expanded components (e.g. Lateral Expansions) of Phosphogypsum Stack Systems
when constructed. The requirements of this Attachment will not apply to: (a) a Phosphogypsum
Stack System or component thereof that has already undergone permanent closure, (b) a
Phosphogypsum Stack System or component thereof that began undergoing permanent closure
prior to January 30, 2008, or (c) a Phosphogypsum Stack System or component thereof if an
application for Permanent Phosphogypsum Stack System Closure in a manner that satisfies the
requirements of this Attachment has been submitted to LDEQ and/or EPA as of the Date of the
EPA Notice of Violation. If only a portion of a Phosphogypsum Stack (e.g., lower side slopes)
has undergone permanent closure or is undergoing permanent closure pursuant to I(a), (b), or (c)
above, only that permanently closed portion of the Phosphogypsum Stack is released from the
requirements of this Section.


II. General Requirements for the Initial Phosphogypsum Stack System Closure Plan

Applicability. The following requirements apply to a Phosphogypsum Stack System (or a
component thereof).

(1) Initial Phosphogypsum Stack System Closure Plan (Initial Stack Closure Plan). The Initial
Stack Closure Plan shall be developed no later than one year after the Effective Date of the
Consent Decree unless otherwise specified by the Consent Decree. The Initial Stack Closure
Plan shall be submitted by the owner/operator of the operating Phosphogypsum Stack System for
approval to the EPA and LDEQ. The following requirements must be incorporated into the
Initial Stack Closure Plan:

        (a) A description of the physical configuration of the Phosphogypsum Stack System for
that period of time for which the closure cost is calculated by the owner/operator in accordance
with Paragraph 4(b) of Appendix 2 (Financial Assurance) of this Consent Decree.

        (b) A site-specific water management plan describing the procedures to be employed
during closure of the Phosphogypsum Stack System to manage the anticipated volume of Process
Wastewater and Leachate. The Initial Phosphogypsum Stack Closure Plan shall address the
anticipated ponded water inventory at the beginning of the closure period, anticipated closure
sequence, water balance during the closure period, Phosphogypsum Stack drainage during the
closure period and long-term care period, adequacy of available surge storage capacity through
the closure period, treatment or consumption rate (including neutralization, if applicable), and
disposition of ponded Process Wastewater and Leachate, both during Phosphogypsum Stack
System closing activities and long-term care activities. An independent third- party with water
treatment expertise must be used to evaluate the water and its neutralization or consumption
requirements for the duration of Phosphogypsum Stack System closure;
                                               40

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
       (c) An estimate of all costs associated with Phosphogypsum Stack System closure,
including the costs of closing the Phosphogypsum Stack System (e.g. construction costs,
operation/maintenance costs), long-term care activities, and implementation of the site-specific
water management plan; and

      (d) A description of all construction work necessary to properly undertake
Phosphogypsum Stack System closure

(2) Pre-Permanent Closure Phosphogypsum Stack System requirements. The following
requirements apply to Phosphogypsum Stacks and components of Phosphogypsum Stack
Systems, as applicable, prior to Permanent Deactivation of a Phosphogypsum Stack System
(Section III, below).

       (a) Owner/operator shall close the side slopes of the Phosphogypsum Stack, in stages, as
the Phosphogypsum Stack is raised to its permitted height. The closure will occur at intervals
without compromising the integrity and operability of the Phosphogypsum Stack, the
Phosphogypsum Stack System, or plant operations or adversely impacting the environment.

       (b) Owner/operator shall close components of the Phosphogypsum Stack System (e.g.,
ponds, ditches, etc.) as those components are no longer needed and can be closed without
compromising the operability or integrity of the Phosphogypsum Stack System or plant
operations or adversely impacting the environment.

III. Permanent Closure Requirements for Phosphogypsum Stacks/ Stack Systems

(1) At least ninety (90) days before the Permanent Deactivation of a Phosphogypsum Stack
System or within thirty (30) days following a decision to permanently cease operations,
whichever is later, the owner/operator shall notify EPA or LDEQ and implement the ISSMP.
Within two hundred and seventy-five (275) days of implementing the ISSMP, the
owner/operator shall submit for approval a closure application including a Permanent
Phosphogypsum Stack System Closure Plan, as described below, to LDEQ and the EPA. The
Permanent Phosphogypsum Stack System Closure Plan shall include the requirements of (2)
through (10) of this Section, or shall contain an explanation of why the requirement is not
applicable. Valid information on record in an existing permit or approved Groundwater
monitoring plan may be used to satisfy the applicable requirements of this Attachment.

(2) General information report. This report must be submitted for approval to LDEQ and/or the
EPA and shall contain:

       (a) Identification of the Phosphogypsum Stack System;

       (b) Name, address and phone number of primary contact persons;

       (c) Identification of persons or consultants preparing this report;

                                                41

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
       (d) Present property owner and Phosphogypsum Stack System operator;

      (e) Location by township, range and section, and latitude and longitude of the
Phosphogypsum Stack System;

       (f) Total acreage of the Phosphogypsum Stack System;

       (g) Map of the property as set forth in Appendix 3 (NEED APPENDIX TITLE); and

       (h) History of the Phosphogypsum Stack System, including construction dates and a
general description of operations.

(3) Area information report. This report details the area in which the Phosphogypsum Stack
System is located. The report must use verifiable information. The term “area” means that area
that may affect or be affected by the Phosphogypsum Stack System, and at a minimum includes
the land within a one-mile radius of the Phosphogypsum Stack System. The report shall be
supplemented by maps and cross-section drawings. The following topics shall be addressed in
the report:

       (a) Topography;

       (b) Hydrology, including Surface Water drainage patterns and hydrologic features such as
Surface Waters, springs, drainage divides and wetlands;

       (c) Geology, including the nature and distribution of lithology, unconsolidated deposits,
major confining units and sinkholes;

       (d) Hydrogeology, including depth to Groundwater table, Groundwater flow directions,
recharge and discharge areas used by public and private wells within one mile of the
Phosphogypsum Stack System;

       (e) Ground and Surface Water quality;

       (f) Land use information. The report shall include a discussion and maps indicating:

               1. Identification of adjacent landowners;

               2. Zoning;

               3. Present land uses; and

               4. Roads, highways, right-of-ways, or other easements.

(4) Groundwater monitoring plan and site specific information. The Groundwater monitoring
plan and most recent quarterly report submitted in accordance with Attachment B: Groundwater
Requirements, Section III (Groundwater Monitoring Requirements), and approved by LDEQ or
                                               42

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
the EPA.

(5) Assessment report on the effectiveness of existing Phosphogypsum Stack System design and
operation. Based on the area information report and the Groundwater monitoring plan, a written
assessment shall be prepared that discusses the effects of the Phosphogypsum Stack System on
adjacent Groundwater and Surface Waters, and the Phosphogypsum Stack System area. Specific
concerns to be addressed are:

       (a) Effectiveness and results of the Groundwater monitoring plan; and

       (b) Effects of Surface Water runoff, drainage patterns, and existing storm water controls.

(6) Performance standards. This component of the Permanent Phosphogypsum Stack System
Closure Plan shall be developed to address the following performance standards.

       (a) Stack System Closure shall be designed to protect human health and the environment
by:

            1. Controlling, minimizing or eliminating the post closure escape of
Phosphogypsum, Process Wastewater, Leachate, and contaminated runoff to ground and Surface
Waters;

              2. Minimizing Leachate generation;

                3. Detecting, collecting, and removing Leachate and Process Wastewater
efficiently from the Phosphogypsum Stack System and promoting drainage of Process
Wastewater and Leachate from the Phosphogypsum Stack;

             4. Being compatible with any required Groundwater or Surface Water Corrective
Action Work plan;

              5. Minimizing the need for further maintenance.

        (b) Closure plans for Phosphogypsum Stacks shall include a Final Cover system designed
to protect human health and the environment by:

              1. Promoting drainage off the Phosphogypsum Stack;

              2. Minimizing ponding;

              3. Minimizing erosion;

              4. Minimizing infiltration into the Phosphogypsum Stack;

              5. Functioning with little or no maintenance.

                                               43

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
        (c) Closure of ponds and drainage conveyances storing Process Wastewater and Leachate
shall be designed to protect human health and the environment by:

              1. Treating or removing from the ponds and drainage conveyances all Process
Wastewater and Leachate as soon as practical, either through return of the Process Wastewater
and Leachate to the manufacturing process, transfer of Process Wastewater and Leachate to
another pond permitted in accordance with this Attachment, in-situ treatment, or by treatment
and subsequent discharge of the Process Wastewater and Leachate under an appropriate
discharge permit;

                 2. Placing any sludges removed from a pond, settling basin, or drainage
conveyance into an Active Phosphogypsum Stack permitted in accordance with this Attachment,
or an Inactive Phosphogypsum Stack undergoing Phosphogypsum Stack System Closure in
accordance with this Attachment. The closure plan shall contain a detailed description of
procedures for removing or treating the sludges, methods for sampling and testing surrounding
soils, and criteria for determining the extent of removal required to satisfy the closure
performance standards.

(7) Closure design plan. A closure design plan shall be prepared to meet the performance
standards specified in Section III.(6), above, and shall be based on the area information report,
Groundwater monitoring plan, and assessment of the effectiveness of the existing
Phosphogypsum Stack System design and operation. The closure design plan shall consist of
engineering plans and a report on closing procedures that shall apply to the closing of the
Phosphogypsum Stack System and the monitoring and maintenance during the long-term care
period. The closure design plan shall include the following information:

       (a) A plan sheet showing phases of site closing.

       (b) Drawings showing existing topography and proposed final elevations and grades.

         (c) For Phosphogypsum Stack Systems, Final Cover installation plans showing the
sequence of applying Final Cover, including thickness and type of material that will be used. All
Phosphogypsum Stack Systems shall have a Final Cover designed to meet the performance
standards set forth in (c)1-3, below. Final Cover shall be placed over the entire surface of the
Phosphogypsum Stack System. The Final Cover shall be vegetated with drought-resistant species
to control erosion, whose root systems will not penetrate any low-permeability barrier layer
required on the top gradient (or alternative approved in accordance with the Consent Decree or
this Attachment). Water balance calculations, based on available climatic data, shall be prepared
that estimate the rates and volumes of water infiltrating the cover systems, collected by any
Leachate control system, and migrating out of the bottom of the Phosphogypsum Stack or Liner
system. Final Cover may consist of synthetic membranes, soils, or chemically or physically
amended soils as specified in (c)1-3, below. Consistent with LAC 33:VII.315.N, the following
alternate Final Cover systems specified in III(7)(c)1-3 are approved. Other alternate Final
Covers may be submitted for review and approval by LDEQ and/or EPA, provided they meet the
minimum criteria specified below.

                                                44

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
                 1. Top gradient Final Cover of Phosphogypsum Stacks shall be designed to
prevent or minimize ponding and low spots, sustain vegetation, minimize erosion and
infiltration, and at a minimum meet one of the performance standards specified in 1.a-c, below.

                         a. The Final Cover on the top gradient shall consist of a barrier soil layer
at least 18 inches thick, emplaced in six (6)-inch thick lifts. A final, eighteen (18)-inch thick
layer of soil that will sustain vegetation to control erosion shall be placed on top of the barrier
layer. The barrier layer shall have a maximum permeability of 1 × 10-7 cm/sec. If less permeable
soils are used, upon approval of LDEQ and/or EPA, the thickness of the barrier layer may be
decreased to twelve (12) inches provided that infiltration is minimized to an equivalent degree.

                         b. A Geomembrane may be used as an alternative to the low-permeability
soil barrier for a Final Cover (as referenced in (7)(c)1.a, above), constructed to preclude rainfall
infiltration into the Phosphogypsum Stack. A Geomembrane used in Final Cover shall be a semi-
crystalline thermoplastic at least forty (40) mils thick, or a non-crystalline thermoplastic at least
thirty (30) mils thick, with a maximum water vapor transmission rate of 2.4 grams per square
meter per day, have chemical and physical resistance to materials it may come in contact with,
and withstand exposure to the natural environmental stresses and forces throughout the
installation, seaming process, and settlement of the Phosphogypsum during the closure and long-
term care period. A protective soil layer at least twenty-four (24) inches thick, which will sustain
vegetation, shall be put on top of the Geomembrane prior to final closure. Material
specifications, type of vegetation, installation methods, and compaction specifications shall be
adequate to protect the barrier layer from damage during placement of the protective cover, root
penetration, resist erosion, and remain stable on the final design slopes.

                        c. An alternate Final Cover for the top gradient, consisting of a barrier
layer, a protective soil layer over the barrier layer and vegetative growth, shall be designed to
meet the performance standards for Final Cover and provide, at a minimum, the equivalent
degree of protection (e.g., minimize infiltration, erosion, etc.) as would be achieved if the Final
Cover conformed with the criteria set forth in Section III(7)(c)1.a and b, above. The request for
an alternate Final Cover for the top gradient must be submitted and approved by LDEQ and/or
EPA.

                2. Side slopes and all other grades, except those grades associated with the top
gradient and with Cooling/Surge Ponds, Auxiliary Holding Ponds (AHP), lime treatment sludge
ponds within the definition of the Phosphogypsum Stack System, Process Wastewater and
Leachate channels (including cooling channels) and ditches, and Toe drainage swales, shall be
designed to minimize erosion of the Final Cover material and infiltration. Such designs shall
consider the erosion susceptibility of the material proposed for Final Cover relative to historical
rainfall patterns for the area, the ability to establish and maintain vegetation and special
maintenance procedures proposed to address and minimize infiltration and erosion. In addition,
for the side slopes of the Phosphogypsum Stack, the following criteria shall be applicable:

                        a. The side slopes shall be no steeper than three (3)-feet horizontal run to
one (1)-foot vertical rise (3H:1V).

                                                 45

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
                        b. The Final Cover shall be a minimum of six (6) inches of clay to silty
clay soil with a fines content (i.e., percent by dry weight finer than the U.S No. 200 Standard
Sieve Size) no less than 30% that can achieve a permeability no greater than 1x10-7 cm/sec.

                        c. Agricultural lime or dolomitic limestone will be applied, if needed, over
the surface of the side slopes and plowed into the upper six (6) to eight (8) inches of the
phosphogypsum. The Final Cover, as specified in 2.b, above, will be installed over the amended
phosphogypsum.

                 3. Cover for the side slope swales, if an aspect of the Phosphogypsum Stack
closure design, shall be designed to minimize ponding and low spots, and minimize erosion and
infiltration, and at a minimum consist of:

                       (i) A barrier layer which may be either a Geomembrane Liner or re-
compacted soil.

                       (ii) An adequate protective soil layer over the barrier layer that can sustain
vegetation.

                         (iii) Unless an alternative cover is submitted to and approved by LDEQ
and/or EPA, the barrier layer and the protective soil layer for the side slope swales shall conform
to the minimum criteria specified in Section III(7)(c)1.a&b, above, except that the minimum
thickness of the Geomembrane if used in side slope swales shall be 60-mil (e.g. 60-mil HDPE).
The alternative cover, if requested, shall be designed to meet the performance standards for Final
Cover and provide, at a minimum, the equivalent degree of protection (e.g., minimize
infiltration, erosion, etc.) as would be achieved if the Final Cover conformed to the criteria set
forth in Section III(7)(c)1.a&b, above.

                  4. Final Cover for Cooling/Surge Ponds, cooling channels, AHPs, lime treatment
sludge ponds within the definition of the Phosphogypsum Stack System, Toe drainage swales,
and Process Wastewater and Leachate channels or ditches of the Phosphogypsum Stack System,
once the Process Wastewater, Leachate and any sludges removed have been addressed pursuant
to Section III(6)(c)1-2 of this Attachment, shall be designed to control, minimize or eliminate the
post closure escape of Phosphogypsum, Process Wastewater, Leachate and contaminated runoff
to ground and Surface Waters, and also minimize ponding (except in such circumstances where
LDEQ approves use of these units for process water storage), minimize infiltration and erosion,
and the need for further maintenance. Such a design, depending on the activities under Section
III(6)(c)1-2 and the performance standards herein, may require providing a suitable barrier layer
(e.g., Geomembrane, re-compacted soil) and an adequate protective soil layer that can sustain
vegetation. In addition, the closure design shall at a minimum include material specifications
(e.g., soil, fill material), vegetation type, installation methods (e.g., grading, excavation), and
compaction specifications adequate to meet the performance standards.

               5. The closure design plan shall describe provisions for cover material for long-
term care erosion control, filling other depressions, maintaining Berms, vegetation and general
maintenance of the Phosphogypsum Stack System, and shall specify the anticipated source and
                                                 46

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
amount of material necessary for proper closure of the Phosphogypsum Stack System.

       (d) The type of Leachate control system proposed. The Leachate control system shall be
designed to prevent Leachate from causing violations of applicable water quality standards.

        (e) Compliance with Groundwater protection requirements. The closure design plan shall
demonstrate how the Phosphogypsum Stack System will meet applicable water quality standards
of the State where the Facility is located. The Groundwater monitoring plan and sampling
schedule may be adjusted for a Phosphogypsum Stack System where Groundwater
contamination is not evident or corrective measures have been taken to correct contamination.

       (f) The proposed method of stormwater control. This shall include control of stormwater
occurring on the Phosphogypsum Stack System. Stormwater or other Surface Water that mixes
with Leachate shall be considered to be Leachate and shall be treated to meet the permit or
regulatory requirements of the State where the Facility is located, at the point of discharge. The
stormwater control plan shall meet the requirements of the State where the Facility is located;
however, nothing herein shall be construed to preclude application of the requirements of the
appropriate water management district.

        (g) The proposed method of access control. The closure design plan shall describe how
access to the closed Phosphogypsum Stack System shall be restricted to prevent any future waste
dumping or use of the Phosphogypsum Stack System by unauthorized persons. Restricted access
shall remain in force until the Phosphogypsum Stack System is stabilized and there is no
evidence that the property is being used as an unauthorized dump site.

       (h) A description of any proposed final use of the Phosphogypsum Stack System.

(8) Closure construction quality assurance plan. A detailed construction quality assurance plan
shall be developed for construction activities associated with the closure of the Phosphogypsum
Stack System, including each component of the Final Cover system. The plan shall specify
quality assurance test procedures and sampling frequencies. Records shall be kept to document
construction quality and demonstrate compliance with plans and specifications. Upon completion
of closure activities a final construction quality assurance report shall be submitted to LDEQ
and/or EPA, prepared by an Engineer. The final report shall include at least the following
information:

       (a) Listing of personnel involved in closure construction and quality assurance activities;

       (b) Scope of work;

       (c) Outline of construction activities;

       (d) Quality assurance methods and procedures;

       (e) Test results (destructive and non-destructive, including laboratory results); and

                                                 47

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
       (f) Record drawings.

(9) Stack System Closure Operation Plan. This component of the Permanent Phosphogypsum
Stack System Closure Plan shall:

       (a) Describe the actions that will be taken to close the Phosphogypsum Stack System,
such as placement of cover, grading, construction of Berms, ditches, roads, retention-detention
ponds, installation or closure of wells and boreholes, installation of fencing or seeding of
vegetation, protection of on-site utilities and easements;

       (b) Provide a time schedule for completion of the closing and long-term care;

      (c) Contain appropriate references to the closure design plan, area information report,
Groundwater monitoring plan, and other supporting documents;

      (d) Provide an Updated Cost Estimate in accordance with Section II Paragraph 4(c)(2) of
Appendix 2 (Financial Assurance);

      (e) Indicate any additional equipment and personnel needed to complete closure of the
Phosphogypsum Stack System; and

       (f) Describe any proposed use of the system for water storage or water management.

(10) Certification by an Engineer. Information, plans, and drawings presented in support of a
closure plan shall be prepared under the direction of, and certified by, an Engineer. A letter of
appointment shall be submitted by the proper company official confirming that the Engineer is
authorized to prepare plans and specifications. The Engineer shall be required to make periodic
inspections during the closing of the Phosphogypsum Stack System to insure closure is being
accomplished according to the Permanent Phosphogypsum Stack System Closure Plan.

(11) Nothing in this Section is intended to preclude the construction of a lined Cooling Pond or
AHP on top of an Inactive Phosphogypsum Stack, as long as the pond is constructed in
accordance with the applicable provisions of Attachment C: Phosphogypsum Stack System
Construction and Operational Requirements, and as long as the design is included in the closure
plan. Within such a Cooling Pond, the requirements for minimizing ponding and establishing
vegetation cover are not applicable.

IV. Temporary Deactivation of Phosphogypsum Stack System(s)

For purposes of this Section, Mosaic shall request a Temporary Deactivation must be sought
when a Phosphogypsum Stack or Phosphogypsum Stack System is Inactive. Mosaic must submit
its request for Temporary Deactivation approval within the 275 days from when Mosaic ceased
depositing Phosphogypsum within the Phosphogypsum Stack for which the Temporary
Deactivation is being sought.

(1) The owner/operator of a Phosphogypsum Stack System may request in writing, a
                                                48

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
determination by LDEQ in consultation with EPA, that the provisions of Section III: Permanent
Closure Requirements for Phosphogypsum Stacks/ Stack Systems, of this Attachment need not
apply in limited circumstances to a specific Phosphogypsum Stack System, and shall request
approval of a Temporary Deactivation of the Phosphogypsum Stack System. This request must
be submitted on a yearly basis. LDEQ in consultation with EPA may authorize a Temporary
Deactivation approval for each individual Phosphogypsum Stack or Phosphogypsum Stack
System in accordance with this subsection or deny the request for such an approval.

(2) Each request shall set forth at least the following information:

       (a) The specific Phosphogypsum Stack System or Phosphogypsum Stack for which
approval of a Temporary Deactivation is sought;

       (b) A demonstration that current economic or other conditions justify a Temporary
Deactivation of the Phosphogypsum Stack or Phosphogypsum Stack System;

       (c) An estimate of the duration of the Temporary Deactivation of the Phosphogypsum
Stack System, and a demonstration that the Phosphogypsum Stack System is reasonably
expected to become Active within this estimated time period; and

       (d) The most recent Interim Stack System Management Plan (ISSMP) prepared in
accordance with Attachment C: Phosphogypsum Stack System Construction and Operational
Requirements, Section I(6) of this Appendix.

(3) If LDEQ determines that other information is necessary to ascertain if a Temporary
Deactivation is warranted, the applicant must submit the additional information upon request.
The applicant also shall provide any additional such information requested by EPA.

(4) Upon approval of the Temporary Deactivation by LDEQ and/or the EPA, the owner/operator
must implement the procedures set forth in the approved ISSMP immediately upon
Phosphogypsum Stack System deactivation.

(5) If after review of the information submitted pursuant to (2) and (3) of this Section, LDEQ in
consultation with EPA determines that Temporary Deactivation has not been justified by the
owner/operator, the owner/operator may continue to operate the Phosphogypsum Stack or
Phosphogypsum Stack System or permanently close the Phosphogypsum Stack or
Phosphogypsum Stack System in accordance with the provisions of Section III: Permanent
Closure Requirements for Phosphogypsum Stacks/ Stack Systems, of this Attachment.

(6) If at any time during the approved Temporary Deactivation period, LDEQ requires
information to ascertain if the criteria under (2)(a)-(c) of this Section are being meet, the owner
or operator will provide such information within thirty (30) days of the request by LDEQ. The
applicant also shall provide any additional such information requested by EPA.

(7) If after review of the information submitted pursuant to (6) of this Section, LDEQ in
consultation with EPA determines that the owner or operator has not demonstrated that it still
                                                 49

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
satisfies the criteria specified in (2)(a)-(c), the LDEQ will so notify the owner and/or operator of
its determination and the provisions of Section III: Permanent Closure Requirements for
Phosphogypsum Stacks/ Stack Systems, of this Attachment will apply.

Nothing in this Paragraph shall limit or affect EPA’s residual authorities to disapprove of a
Temporary Deactivation, notwithstanding approval by LDEQ. EPA shall provide notice to
Mosaic within 90 days of LDEQ approval if EPA does not concur with that decision

V. Closure Procedures for Phosphogypsum Stacks/ Stack Systems

(1) Closing inspections. LDEQ and/or the EPA may specify in the closure permit for the
Permanent Phosphogypsum Stack System Closure Plan which particular closing steps or
operations must be inspected and approved by LDEQ and/or the EPA before proceeding with
subsequent closure actions.

(2) Final survey and record drawings. A final survey shall be performed, after permanent closure
is complete, by an Engineer or a registered third-party land surveyor to verify that final contours
and elevations of the Phosphogypsum Stack System are in accordance with the plan as approved
by LDEQ and/or the EPA. Aerial mapping techniques that provide equivalent survey accuracy
may be substituted for the survey.

        (a) The survey or aerial mapping information shall be included in a report along with
information
reflecting the record drawings of the Phosphogypsum Stack System. Contours should be shown
at no greater than five (5)-foot intervals.

       (b) The owner/operator shall submit this report to LDEQ and/or the EPA in accordance
with the closing schedule.

(3) Certification of closure construction completion. A certification of closure construction
completion, signed, dated and sealed by a Third-Party Engineer, shall be provided to LDEQ
and/or the EPA upon completion of closure.

(4) Official date of closing. Upon receipt of the documents required in (2) and (3) of this Section,
LDEQ and/or the EPA shall acknowledge by letter to the owner/operator that notice of
termination of operations and closing of the Phosphogypsum Stack System has been received.
The date of this letter shall be the official date of closing for purposes of determining the
beginning of the long-term care period.

(5) Use of closed Phosphogypsum Stack Systems. Closed Phosphogypsum Stack Systems, if
disturbed, are a potential hazard to public health, Groundwater and the environment.
Consultation with and approval by LDEQ and/or the EPA is required before conducting
activities that may disturb the closed Phosphogypsum Stack Systems, except for routine
maintenance activities.

VI. Long-Term Care for Phosphogypsum Stacks/ Stack Systems
                                                 50

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
(1) Long-term care period. The owner/operator of any Phosphogypsum Stack System shall be
responsible for monitoring and maintenance of the Facility, including the requirements of
Section III: Permanent Closure Requirements for Phosphogypsum Stacks/ Stack Systems (6)(a)
of this Attachment, in accordance with an approved Permanent Phosphogypsum Stack System
Closure Plan for fifty (50) years from the date of closing unless a reduced long-term care period
is approved by LDEQ and/or the EPA in accordance with VI(2), below. Before the expiration of
the long-term care monitoring and maintenance period LDEQ and/or the EPA may extend the
time period if it is determined that:

       (a) The closure design or closure Operation Plan under the Permanent Phosphogypsum
Stack System Closure Plan was ineffective in meeting the standards of this Attachment, or

       (b) The extension of the long-term care period is necessary to protect human health and
the environment.

(2) Reduced long-term care period. The owner/operator of a Phosphogypsum Stack System may
request, in writing, for a reduced long-term care schedule. LDEQ and/or the EPA may approve,
within its discretion, the request if the information provided by the owner and/or operator
substantiates its claim that the reduced period is sufficient to protect human health and the
environment. The request must, at a minimum, demonstrate that the Phosphogypsum Stack
System addresses the criteria of (2)(a)-(d), below, and provide any other information relevant to
establishing that the reduced period is sufficient to protect human health and the environment:

       (a) The Phosphogypsum Stack System has been constructed and operated in accordance
with approved standards, and has a Leachate control system and a liner that has controlled,
minimized or eliminated releases; and

        (b) The Phosphogypsum Stack System has been closed with appropriate Final Cover, that
the vegetative cover (or alternative approved in accordance with Section III: Permanent Closure
Requirements for Phosphogypsum Stacks/ Stack Systems, (7)(c)2c of this Attachment) has been
established, and a Groundwater monitoring system has been installed and is operating as
intended; and

       (c) The Phosphogypsum Stack System has had no detrimental erosion of the cover
system.

(3) Replacement of monitoring devices. If a monitoring well or other device required by the
monitoring plan is destroyed or fails to operate for any reason, the Phosphogypsum Stack System
owner/operator shall, as soon as possible but no later than seven (7) days after discovery, notify
LDEQ and/or the EPA in writing. All inoperative monitoring devices shall be replaced with
functioning devices within sixty (60) days of the discovery of the malfunctioning unit unless the
owner/operator is notified otherwise in writing by LDEQ and/or the EPA.

(4) Certification of Long-Term Care Completion. A certification of long-term care completion
signed, dated and sealed by a Third-Party Engineer, shall be provided by the owner/operator to
                                               51

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
LDEQ and/or the EPA upon completion of long-term care.

VII. Closure of Unlined Systems in Phosphogypsum Stacks/ Stack Systems

Other than as allowed in Appendix 7 (Phosphogypsum Stack System Alternative Liner
Requirements) and Appendix 6 (RCRA Project Narrative and Compliance Schedule Louisiana
Facilities), no Phosphogypsum or Process Wastewater shall be placed in an unlined
Phosphogypsum Stack System after five (5) years of the Effective Date of the Consent Decree;
however, such systems may be used for water storage and water management purposes to
facilitate closure. Except for unlined components of the Phosphogypsum Stack System that may
continue to be used for water storage and water management purposes to facilitate closure, the
closure or lining of unlined systems shall be completed as expeditiously as practicable, but not to
exceed five (5) years of the effective date of the Consent Decree. For purposes of this
subsection, “unlined” means that the Phosphogypsum Stack System was constructed without an
installed Liner meeting those standards outlined in Attachment C: Phosphogypsum Stack System
Construction and Operational Requirements, Section VI of this Appendix, or as provided
pursuant to Appendix 7 (Phosphogypsum Stack System Alternative Liner Requirements) or
Appendix 6 (RCRA Project Narrative and Compliance Schedule Louisiana Facilities).




                                                52

Attachment D: Closure of Phosphogypsum Stacks/Stack Systems
    ATTACHMENT E: CRITICAL CONDITIONS AND TEMPORARY MEASURES


I. Requirements for Perimeter Dikes

(1) If a critical condition is confirmed, LDEQ and the EPA shall be notified immediately and the
defective area of any Perimeter Dike shall be inspected daily in accordance with Section VII of
Attachment C: Phosphogypsum Stack System Construction and Operational Requirements, until
corrective maintenance has cured such defect. A written report of the condition and the actions
proposed for its correction shall be made to LDEQ and the EPA within seven (7) days from the
time existence of the critical condition is confirmed.

(2) Any of the following items shall be considered as indicating a critical condition that requires
immediate investigation and may require emergency maintenance action:

       (a) Concentrated seepage on the downstream slope, at the Toe of slope, or downstream
from the Toe of slope (e.g., boils, soil cones, springs or deltas).

      (b) Evidence of slope instability including sloughing, bulging or heaving of the
downstream slope, or subsidence of any Perimeter Dike slope or crest.

        (c) Cracking of surface on crest or either face of the Perimeter Dike slope.

        (d) General or concentrated seepage in the vicinity of or around any conduit through the
Dike.

        (e) Observed or suspected damage to the Liner system.

II. Temporary Measures for Use of Design Freeboard to Prevent Release

(1) Temporary use of the Design Freeboard.

        (a) Temporary use of the design Freeboard of a Perimeter Dike or a Gypsum Dike is
authorized when the water level is at the design Freeboard and when such use is necessary to
prevent the release of untreated Process Wastewater. Such use of the Freeboard shall only be
allowed when a Third-Party Engineer has approved such use and when documentation
demonstrating the continued safety and stability of the Dike is submitted to LDEQ and/or the
EPA. Such documentation shall include a listing of any operational limitations or constraints
recommended by the Third-Party Engineer as set forth in this Section together with confirmation
that the owner/operator will comply with such recommendations. The Third-Party Engineer shall
base his or her recommendations on:

               1. An inspection of the Phosphogypsum Stack System;

               2. Dike design and construction information;

                                                 53

Attachment E: Critical Conditions and Temporary Measures
               3. Results of seepage and stability analyses (including monitoring of seepage
pressures within the Dike if such monitoring is deemed necessary); and

               4. Wind surge and wave run-up analyses.

      (b) The report by the Third-Party Engineer shall specify conditions under which such use
may be undertaken so as not to jeopardize the integrity of the Dike, such as:

               1. Acceptable wind speeds in forecast;

               2. Increased inspection frequencies; and

               3. Weekly monitoring of piezometric levels within the mass of the Dike, if and as
needed.

        (c) The Third-Party Engineer shall reevaluate the Phosphogypsum Stack System each
time use of the design Freeboard is proposed by the owner/operator. LDEQ and/or the EPA shall
be informed of the proposed use and the Engineer’s recommendations prior to or within 24 hours
of each such occurrence.

(2) If the Perimeter Dike of the Phosphogypsum Stack System is an above-grade Dike, the
system may incorporate an emergency spillway to allow for the controlled release of Process
Wastewater during emergencies and to avoid overtopping of the Perimeter Dike. The spillway
shall be located so as to minimize the environmental impact of any release to the extent
practicable. This provision shall not be deemed to authorize a discharge from the spillway and
shall not be construed to limit LDEQ and/or the EPA’s exercise of enforcement discretion in the
event that such discharge causes or contributes to a violation of applicable federal and/or state
regulations.

III. Requirements for Actively Operated Phosphogypsum Stack Systems

(1) When a critical condition is suspected during any inspection, the inspector shall ensure that a
competent technical representative of the Phosphogypsum Stack System owner/operator is made
aware of the condition immediately. If the existence of the critical condition is confirmed, LDEQ
and/or the EPA shall be notified immediately. A written report of the condition and the actions
proposed for its correction shall be made to LDEQ and/or the EPA within seven (7) days from
the time existence of the critical condition is confirmed.

(2) Any of the following items shall be considered as indicating a critical condition that requires
immediate investigation and may require emergency maintenance action:

        (a) Concentrated seepage (e.g., springs or boils) on the face of a Phosphogypsum Stack
slope, at the Toe of the slope, or beyond the Toe of slope with active signs of Piping at the point
of seepage (e.g., a gypsum or soil cone or delta at the point of seepage).

       (b) Evidence of slope instability including sloughing, bulging or heaving of the face of
                                                54

Attachment E: Critical Conditions and Temporary Measures
the Phosphogypsum Stack or the Toe of the slope.

       (c) Lateral movement or subsidence of the slope or crest of the Phosphogypsum Stack.

        (d) Formation of new non-shrinkage cracks or enlargement of wide cracks in the surface
of the slope or crest of the Phosphogypsum Stack.

       (e) Observed or suspected damage to the Liner system.

       (f) Drains discharging turbid water.

       (g) Concentrated seepage (i.e., springs or boils) in the vicinity of a decant pipe.

IV. Emergency Diversion Impoundment

(1) An owner/operator may temporarily use an Emergency Diversion Impoundment (EDI) in
accordance with the State-issued permit to receive and store discharges of water from the
Phosphogypsum Stack System to avoid safety-related problems and/or to avoid or reduce the
unpermitted discharge of water from the Phosphogypsum Stack System to Surface Waters of the
State.

(2) The 110 Acre Reservoir at the Uncle Sam facility is an EDI. The owner/operator shall apply
for approval of any additional EDIs through the LDEQ Solid Waste permitting authority.

(3) The owner/operator must transport water to/from the EDI through an emergency spillway or
by pumping where necessary.

(4) Following any emergency discharge into an EDI, and within 60 days after such discharge is
initiated, the owner/operator shall submit a detailed remedial plan to LDEQ and/or EPA. After
submission of the plan, the owner/operator will initiate all steps necessary in accordance with the
plan to remove the discharge from the EDI and remediate the area if necessary to return that
impoundment to its prior use.




                                                 55

Attachment E: Critical Conditions and Temporary Measures
ATTACHMENT F: DEFINITIONS FOR PURPOSE OF THE CONSENT DECREE

“25-year Rainfall Event” means a rainfall event which is characterized by a mean return period
of twenty-five years, i.e., a rainfall event which has a 96% probability for not being exceeded
during any given year.
“100-year Rainfall Event” means a rainfall event which is characterized by a mean return period
of one hundred years, i.e., a rainfall event which has a 99% probability for not being exceeded
during any given year.
“Active” means a Phosphogypsum Stack/system that currently receives Phosphogypsum and/or
Process Wastewater.
“Aquifer” means a geologic formation, group of formations, or part of a formation capable of
yielding a significant amount of Groundwater to wells, springs or Surface Water.
“Auxiliary Holding Pond (AHP)” means a lined storage pond, designated by the operator and
approved by LDEQ and/or the EPA, typically used to hold untreated Process Wastewater. AHPs
are intended to increase system storage above that otherwise provided by Cooling/Surge Ponds
and are typically located within the footprint of a Phosphogypsum Stack System.
“Background Concentration” has the meaning stated in RECAP.
“Berm” means a shelf that breaks the continuity of the slope of an embankment in order to arrest
the velocity of storm water flowing down the face and/or to enhance the stability of the
embankment.
“Cooling/Surge Pond” means impounded areas within the Phosphogypsum Stack System,
excluding settling compartments atop the Phosphogypsum Stack, that provide cooling capacity,
surge capacity, or any combination thereof, for the phosphoric acid Process Wastewater
recirculation system including Phosphogypsum Stack transport, runoff, and Leachate water from
the Process Watershed.
“Compliance Concentration” has the meaning stated in RECAP. .
“Design Freeboard” means the vertical distance from the water surface, when water levels are at
the Maximum Design Level, to the lowest elevation of the top of the surrounding Dike.
“Dike” means a barrier to the flow of Phosphogypsum and Process Wastewater which is
constructed of naturally occurring soil (Earthen Dike) or of Phosphogypsum (Gypsum Dike) and
which is a component of a Phosphogypsum Stack System.
“Disposal” means the discharge, deposit, injection, dumping, spilling, leaking, or placing of any
Solid Waste into or upon any land or water so that such Solid Waste or any constituent thereof
may enter other lands or be emitted into the air or discharged into any waters, including
Groundwaters, or otherwise enter the environment.
“Drain” means a material more pervious than the surrounding fill which allows seepage water to
Drain freely while preventing Piping or internal erosion of the fill material.
“Earthen Dike” means a barrier to the flow of Phosphogypsum and Process Wastewater which is
constructed of naturally occurring soil and which is a component of a Phosphogypsum stack
system.
“Emergency Diversion Impoundment (EDI)” means an earthen storage area, typically located
outside the footprint of a Phosphogypsum Stack System, designated in the Facility’s site-specific
water management plan to be used on a temporary basis when necessary to avoid an unpermitted
Surface Water discharge resulting from Dike overtopping or other imminent and substantial
endangerment identified in Attachment E: Critical Conditions and Temporary Measures.
“Engineer” means a person who holds a State-issued license as a Professional Engineer to
                                               56

Attachment F: Definitions for the Purpose of the Consent Decree
engage in the practice of engineering.
“Facility” means the definition of “Facility” in the Consent Decree.
“Final Cover” means the materials used to cover the top and sides of a Phosphogypsum Stack
upon closure.
“Freeboard” means the height of the lowest point on the dam or Dike crest, excluding the
emergency spillway, above the highest adjacent liquid surface within the impoundment
Freeboard shall be determined by generally accepted good engineering practices and shall
include, at a minimum, evaluation of Wind Surge, Wave Height, and Wave Run-Up analyses,
erosion protection measures, and protection of Dike integrity and inner rim-ditch geometry.
“Geomembrane” means a low-permeability synthetic membrane used as an integral part of a
system designed to limit the movement of liquid or gas in the system.
“Groundwater” means water beneath the surface of the ground within a zone of saturation,
whether or not flowing through known and definite channels.
“Groundwater Table” means the upper surface of a zone of saturation, where the body of
Groundwater is not confined by an overlying impermeable zone.
“Gypsum Dike” means the outermost Dike constructed within the perimeter formed by a Starter
Dike for the purpose of raising a Phosphogypsum Stack and impounding Phosphogypsum and/or
Process Wastewater. This term specifically excludes any Dike inboard of a rim ditch, any
partitions separating Phosphogypsum Stack compartments, or any temporary windrows placed
on the Gypsum Dike. A Dike constructed out of Phosphogypsum that constitutes a Perimeter
Dike shall be treated as a Perimeter Dike.
“Inactive” means a Phosphogypsum Stack System (i) for which a Temporary Deactivation has
not been requested and approved, (ii) that is no longer receiving Phosphogypsum and/or Process
Wastewater Process Wastewater, and (iii) in which the owner/operator does not deposit any
significant quantity of Phosphogypsum within one year.
“Initial Phosphogypsum Stack System Closure Plan” means the conceptual closure plan that
includes some basic elements needed to estimate closure costs and is consistent with the
requirements of Appendix 1 (Operating and Closure Requirements for the Phosphoric Acid
Production Industry), Attachment D, Section I.
“Inside Slope” means the face of the dam or Dike which will be in contact with the impounded
liquids (upstream).
“Lateral Expansion” means the expansion, horizontally, of Phosphogypsum or Process
Wastewater storage capacity beyond the permitted capacity (where applicable) and design
dimensions of the Phosphogypsum Stack, or Cooling/Surge Ponds, and perimeter drainage
conveyances at an existing Facility. Any Phosphogypsum Stack, Cooling/Surge Pond, or
perimeter drainage conveyance which is constructed within 2000 feet of an existing
Phosphogypsum Stack System, measured from the edge of the expansion nearest to the edge of
the footprint of the existing Phosphogypsum Stack System, is considered a Lateral Expansion.
“Leachate” means a liquid or drainable pore water that has passed through or emerged from
Phosphogypsum.
“Liner” means a continuous layer of low permeability natural or synthetic materials which
controls the downward and lateral escape of waste constituents or Leachate from a
Phosphogypsum Stack System.
“Log” means a written record maintained by the owner/operator of a Dike or a Phosphogypsum
Stack System that contains a schedule of inspections of system components, the findings of such
inspections, and any remedial measures taken in response to such findings.
                                              57

Attachment F: Definitions for the Purpose of the Consent Decree
“Maximum Design Level” means the maximum Process Wastewater elevation when the water
level is at the operating design Freeboard for an impoundment as determined using generally
accepted good engineering practices, or the minimum Freeboard allowed, for Perimeter Dikes.
Generally accepted good engineering practices for determining the permitted operating design
Freeboard includes, at a minimum, evaluation of Wind Surge, Wave Height, and Wave Run-Up
analyses, erosion protection measures, and protection of Dike integrity and inner rim-ditch
geometry.
“New Perimeter Dike” means a Perimeter Dike that is completed after the Effective Date of the
Consent Decree.
“Operation Plan” means the Operation Plan required by this Consent Decree.
“Outside Slope” means the face of the dam or Dike which will not be in contact with the
impounded liquids (downstream).
“Permanent Deactivation” means the Phosphogypsum Stack System (or component thereof) has
ceased receiving and will no longer receive Phosphogypsum and/or Process Wastewater
generated from phosphoric acid production operations.
“Perimeter Dike” means the outermost Earthen Dike surrounding a Phosphogypsum Stack
System that has not been closed or any other Earthen Dike, the failure of which could cause a
release of Process Wastewater outside the Phosphogypsum Stack System. In the case of a
vertical expansion, the HDPE lined outermost Dike shall also be considered a Perimeter Dike,
even if it is a constructed with Phosphogypsum, if its failure could cause a release of Process
Wastewater outside the Phosphogypsum Stack System.
“Permanent Phosphogypsum Stack System Closure Plan” means the plan for Stack System
Closure submitted at or prior to closure and prepared in accordance with the requirements of
Appendix 1 (Operating and Closure Requirements for the Phosphoric Acid Production Industry),
Attachment D, Section III.
“Phosphogypsum” means calcium sulfate and byproducts produced by the reaction of sulfuric
acid with phosphate rock to produce phosphoric acid. Phosphogypsum is a Solid Waste within
the definition of Section 1004(27) of RCRA, 42 U.S.C. § 6903(27).
“Phosphogypsum Stack” means any defined geographic area associated with a phosphoric acid
production plant in which Phosphogypsum is disposed of or stored, other than within a fully
enclosed building, container or tank.
“Phosphogypsum Stack System” means the defined geographic area associated with the
phosphoric acid production plant in which Phosphogypsum and Process Wastewater is disposed
of or stored, together with all pumps, piping, ditches, drainage conveyances, water control
structures, collection pools, Cooling/Surge Ponds (including former Cooling/Surge ponds that
have been converted to lime treatment sludge ponds), Auxiliary Holding Ponds, Regional
Holding Ponds, and any other collection or conveyance system associated with the Transport of
Phosphogypsum from the phosphoric acid plant to the Phosphogypsum Stack, its management at
the Phosphogypsum Stack, and the Process Wastewater return to the phosphoric acid production.
This definition specifically includes Toe Drain systems and ditches and other Leachate collection
systems, but does not include conveyances within the confines of the phosphoric acid or fertilizer
production plant(s) or Emergency Diversion Impoundments used in emergency circumstances
caused by rainfall events of high volume or duration for the temporary storage of Process
Wastewater to avoid discharges to Surface Waters of the state.
“Piping” means progressive erosion of soil or solid material within the dam or Dike, starting
downstream and working upstream, creating a tunnel into the dam or Dike. Piping occurs when
                                               58

Attachment F: Definitions for the Purpose of the Consent Decree
the velocity of the flow of seepage water is sufficient for the water to Transport material from the
embankment.
“Point of Compliance” has the meaning stated in RECAP.
“Point of Exposure” has the meaning stated in RECAP.
“Pollution” means the presence in the outdoor atmosphere or waters of the state of any
substances, contaminants, or man-made or man-induced alteration of the chemical, physical,
biological or radiological integrity of air or water in quantities or levels which are or may be
potentially harmful or injurious to human health or welfare, animal or plant life, or property,
including outdoor recreation.
“Process Wastewater” means “Process Wastewater from Phosphoric Acid Production.”
“Process Wastewater from Phosphoric Acid Production.” The following wastestreams
constitute Process Wastewater from phosphorus acid production: water from phosphoric acid
production operations through concentration to the First Saleable Product1; process wastewater
generated from Upstream Operations2 that is used to Transport Phosphogypsum to the
Phosphogypsum Stack; Phosphogypsum Stack runoff; process wastewater generated from the
uranium recovery step of phosphoric acid production; process wastewater from non-ammoniated
animal feed production (including defluorination, but excluding animal feed production)
operations that qualify as mineral processing operations based on the definition of mineral
processing that the Agency finalized on September 1, 1989, and process wastewater from
superphosphate production that involves the direct reaction of phosphate rock with dilute
phosphoric acid with a concentration less than Merchant Grade Acid [see 55 Fed. Reg. 2328,
January 23, 1990].
“Process Watershed” means the aggregate of all areas that contribute to or generate additional
Process Wastewater from direct precipitation, rainfall runoff, or Leachate to a Phosphogypsum
Stack, Process Wastewater Cooling/Surge Ponds, or any other storage, collection, or conveyance
system associated with the Transport of Phosphogypsum or Process Wastewater for a particular
Phosphogypsum Stack System.
“Qualified Company Employee” means an employee trained specifically in the area of their job
duties.
“RECAP” means LDEQ’s Risk Evaluation/Corrective Action Program (Oct. 20, 2003 and
updates thereof) adopted and incorporated by reference in LAC 33:I.1307.
“Regional Holding Pond” means a Lined storage pond approved by the state agency before use
that is typically constructed for the purpose of temporarily storing Process Wastewater from
more than one Facility.
“Run-Off” means any rainwater, Leachate, or other liquid that drains over land from any part of
a Facility.
“Run-On” means any rainwater, Leachate, or other liquid that drains over land onto any part of a
Facility.
“Soil Liner” means a Liner constructed from naturally occurring earthen material. This
definition expressly excludes any Liner constructed of synthetic material or Phosphogypsum.
“Solid Waste” means any garbage, or refuse, sludge from a wastewater treatment plant, water
supply treatment plant, or air pollution control Facility and other discarded material, including



1
    First Saleable Product is defined in the Consent Decree, Section III, Paragraph l.
2
    Upstream Operations is defined in the Consent Decree, Section III, Paragraph hh.
                                                           59

Attachment F: Definitions for the Purpose of the Consent Decree
solid, liquid, semi-solid, or contained gaseous material resulting from industrial, commercial,
mining, and agricultural operations.
“Stack System Closing” means the time at which a Phosphogypsum Stack System ceases to
accept wastes, and includes those actions taken by the owner/operator of the Facility to prepare
the system for any necessary monitoring and maintenance after closing.
“Stack System Closure” means the cessation of operation of a Phosphogypsum Stack System
and the act of securing such a system, including the installation of a Liner, so that it will pose no
significant threat to human health or the environment. This includes Phosphogypsum Stack
System Closing, long-term care (i.e., monitoring and maintenance) and water management
activities associated with Phosphogypsum Stack System Closing and long-term care activities.
“Starter Dike” means the initial Dike constructed at the base of a Phosphogypsum Stack to
begin the process of storing Phosphogypsum.
“Statistically Significant” means that a result is not likely to be due to chance alone. For
purposes of this Attachment, a significance level of 0.05 or 0.01 should be used in determining
statistical significance.
"Storage" means the containment of wastes, either on a temporary basis or for a period of years,
in such a manner as not to constitute Disposal of such wastes.
“Surface Water” has the meaning stated in RECAP.
“Temporary Deactivation” means a Phosphogypsum Stack System that will cease or has ceased
to accept deposits of Phosphogypsum and/or Process Wastewater on a temporary basis and for
which a demonstration has been made in writing to, and approved by, the LDEQ in consultation
with EPA, that the Phosphogypsum Stack System is reasonably expected to become Active
within an estimated time period.
“Third-Party Engineer” means an Engineer who is not an employee of any entity that owns or
operates a phosphate mine or Facility.
“Toe” means the Toe of the dam or Dike is the junction between the face of the dam or Dike and
the adjacent terrain.
“Toe Drain” is a wedge-shaped Drain supporting the downstream Toe of the dam.
“Transport” means the movement of wastes from the point of generation to any intermediate
points, and finally to the point of ultimate Storage or Disposal.
“Waters” include, but are not limited to, rivers, lakes, streams, springs, impoundments, and all
other waters or bodies of water, including fresh, brackish, saline, tidal, surface or underground
waters. Waters owned entirely by one person other than the state are included only in regard to
possible discharge on other property or water. Underground waters include, but are not limited
to, all underground waters passing through pores of rock or soils or flowing through in channels,
whether manmade or natural.
“Wave Height” means the average height of the waves that may be determined for design
purposes as a function of sustained wind speed, effective fetch length, and wind duration.
Sustained wind speed shall be determined based on either an estimated 100-year return
frequency wind speed adjusted to a sustained wind speed for a 10-minute duration, or a 110
miles per hour (mph) fastest-mile wind speed for locations within 25 miles of the seacoast and a
95 mph fastest-mile wind speed at other inland locations where the fastest-mile wind speeds are
adjusted to a sustained wind speed for a 10-minute duration.
“Wave Run-up” means the difference in vertical height between the maximum elevation attained
by wave run up or uprush on a slope and the still water elevation at the inboard Toe of the slope.
“Wetlands” means those areas that are defined in 40 C.F.R. § 232.2. Wetlands include, but are
                                                 60

Attachment F: Definitions for the Purpose of the Consent Decree
not limited to, swamps, marshes, bogs, and similar areas.
“Wind Surge” means the vertical rise in base water-surface elevation, exclusive of the Wave
Height, above the still water elevation, caused by wind-induced stresses and mounding of the
water surface in the leeward direction.




                                              61

Attachment F: Definitions for the Purpose of the Consent Decree
APPENDIX 1- OPERATING AND CLOSURE REQUIREMENTS FOR THE
PHOSPHORIC ACID PRODUCTION INDUSTRY AT MOSAIC UNCLE SAM AND
MOSAIC FAUSTINA

Attachment G: Phosphogypsum Stack System Permanent Closure Application

                                         PART I – INSTRUCTIONS

Phosphogypsum Stack Systems must be closed pursuant to the Consent Decree entered in the United States of
America v. ____________(Court Name, Civil Action Number:_____), Appendix 1, Attachment D and in
accordance with conditions set forth in the Consent Decree. The applicant shall complete and submit this form,
certified by the applicant and its Engineer, along with its application for closure of a Phosphogypsum Stack System.
This form should be typed or printed. If additional space is needed, separate, properly identified sheets of paper
may be attached. All blanks shall be filled or modified N/A (not applicable).

In addition to the information listed on this form, the applicant shall submit all information necessary to evaluate the
proposed closure plan to ensure the Phosphogypsum Stack System will pose no significant threat to public health or
the environment. A minimum of four copies of this application (preferably in a large binder) shall be submitted to
the appropriate LDEQ and Regional Office of the U.S. EPA. Please complete applicable sections of the application
for the type of Facility involved.


                                 PART II - GENERAL INFORMATION

(1) Application for permanent closure:       Phosphogypsum Stack;        Cooling/Surge Ponds;       other

(2) Facility name:

(3) Facility RCRA EPA ID No.:


(4) Facility location (main entrance):
                                               o                                       o
(5) Location coordinates: Latitude                      '        " Longitude                          '              "

   Section           Township        Range              UTMs: Zone                         km E       km N

(6) Applicant Name (Operating Authority):

Street Address & P. O. Box:

City:                                         County:                                        Zip:

Contact Person: Name                                                      Phone:

Email: ________________________________

(7) Authorized Agent/Consultant Name:

Contact Person Name:                                                      Phone:

Email: ________________________________

                                                            62

Attachment G: Phosphogypsum Stack System Permanent Closure Application
Street Address & P. O. Box:

City:                                         County:                                    Zip:
Land Owner (if different from applicant):

Address of Landowner: Street & P. O. Box:

City:                                         County:                                    Zip:



                        PART III - CLOSURE GENERAL REQUIREMENTS

APPLICATIONS AND SUPPORTING INFORMATION SHALL INCLUDE THE FOLLOWING:

                                                                                Completeness     Binder Location
                                                                                Check

(1) Four copies of the completed application form, all supporting data and
    reports

(2) A letter of transmittal to the LDEQ and the EPA

(3) A table of contents listing the main section of the application

(4) The application fee where applicable, in check or money order
    payable to the LDEQ

(5) Engineer certification

(6) Engineer's letter of appointment if applicable

(7) Closure plan, Consent Decree Appendix 1, Attachment D

(8) Copy of any lease agreement, transfer of property agreement with
    right of entry for long-term care, or any other agreement between
    operator and property owner by which the closing and long-term care
    of the Facility may be affected


                             PART IV - CLOSURE PLAN REQUIREMENTS

The following information items must be included in the application or an explanation given if they are not
applicable. These are general references. Please see Appendix 1 for the complete requirements of each section.

                                                                                Completeness     Binder Location
                                                                                Check
(1) General Information Report [Consent Decree
Appendix 1, Attachment D, III, (2)]

        (a) Identification of the Phosphogypsum Stack System

        (b) Name, address, and phone number of primary contact person

                                                                                Completeness     Binder Location
                                                           63

Attachment G: Phosphogypsum Stack System Permanent Closure Application
                                                                                Check

     (c) Name of person(s) or consultants preparing closure plan

     (d)    Present property owner(s) and operator

     (e)    Locations of main entrance or operators office of the
           Phosphogypsum Stack System by: township, range,
           section and latitude and longitude

     (f)    Total acreage of Phosphogypsum Stack System and total acreage
           of Facility property

     (g)    Legal description of property on which the Phosphogypsum Stack
           system is located


     (h) History of Phosphogypsum Stack System construction and operations


(2) Area Information Report [Consent Decree Appendix 1,
 Attachment D, III, (3)]

     (a) Topography

     (b) Hydrology

     (c) Geology

     (d) Hydrogeology

     (e) Ground and Surface Water quality

     (f) Land use information


(3) Ground water monitoring plan containing site specific information
[Consent Decree Appendix 1, Attachment D, III, (4)]

(4) Assessment of the effectiveness of existing Phosphogypsum system
design and operation [Consent Decree Appendix 1, Attachment D, III, (5)]

     (a) Effectiveness and results of ground water investigation

     (b) Effects of Surface Water runoff, drainage pattern and existing
     storm water control



                                                                                Completeness   Binder Location
                                                                                Check

(5) Performance Standards [Consent Decree Appendix 1, Attachment D, III, (6)]

    (a) Approach used for:

                                                         64

Attachment G: Phosphogypsum Stack System Permanent Closure Application
     1. Controlling, minimizing or eliminating the post closure escape of
     Phosphogypsum, Process Wastewater, Leachate, and contaminated runoff
     to ground and Surface Waters

     2. Minimizing Leachate generation

     3. Detecting, collecting, and removing Leachate and Process Wastewater
     efficiently from the Phosphogypsum Stack System and promoting drainage
     of Process Wastewater from the Phosphogypsum Stack

     4. Minimizing the need for further maintenance

     (b) Discussion of approach used to ensure that the Final Cover system is
     designed to protect human health and the environment:

     1. Promoting drainage off the Phosphogypsum Stack

     2 Minimizing ponding

     3. Minimizing erosion

     4. Minimizing infiltration into the Phosphogypsum Stack

     5. Functioning with little or no maintenance

     (c) Closure of ponds and drainage conveyances storing Process Wastewater


(6) Closure design plan [Consent Decree Appendix 1, Attachment D, III, (7)]

     (a) Phasing of site closing

     (b) Existing topography and proposed final grades

     (c) Final Cover installation plans

     (d) Type of Leachate control system proposed

     (e) Compliance with ground water protection requirements of the
         LDEQ

     (f) Proposed method of stormwater control

     (g) Proposed method of access control

                                                                                Completeness   Binder Location
                                                                                Check

     (h) Proposed final use of Phosphogypsum Stack System property


(7) Closure construction quality assurance plan [Consent Decree Appendix 1,
 Attachment D, III, (8)]


                                                         65

Attachment G: Phosphogypsum Stack System Permanent Closure Application
     (a) Listing of personnel involved in closure construction and quality
     assurance activities

     (b) Scope of work

     (c) Outline of construction activities

     (d) Quality assurance methods and procedures

     (e) Test results

     (f) Record drawings


(8) Closure Operation Plan [Consent Decree Appendix 1, Attachment D, III, (9)]

     (a) Describe actions which will be taken to close the Phosphogypsum
     Stack system

     (b) Time schedule for completion of closure and long term care

     (c) Equipment and personnel needs to complete closure

     (d) Appropriate references to design closure plan

     (e) Proposed use of the system for water storage or water management


(9) Engineer certification [Consent Decree Appendix 1, Attachment D, III, (10)]




                PART V - CERTIFICATION BY APPLICANT AND ENGINEER
(1) Applicant

The undersigned applicant or authorized representative* of
is aware that statements made in this form and the attached information are an application for closure approval from
the LDEQ and/or the EPA and certifies that the information in this application is true, correct and complete to the best
of his knowledge and belief. Furthermore, the undersigned agrees to comply with the requirements of Attachment D
of Appendix 1 (Closure Requirements for the Phosphoric Acid Production Industry) of the Consent Decree (Court
Name, Civil Action No:. ___________).

*Attach letter of authorization if representative
is not the owner or a corporate officer.

                                                                Signature of Applicant or Authorized Representative


                                                                Name and Title


                                                                Date Signed:


                                                          66

Attachment G: Phosphogypsum Stack System Permanent Closure Application
(2) Professional Engineer, registered in ____________ or Public Officer as required in [State code].

This is to certify that the engineering features of this Facility’s Permanent Closure Plan have been
designed/examined by me and found to conform to engineering principles applicable to such facilities. In my
professional judgment, this Facility’s Permanent Closure Plan, when properly executed, will comply with the
requirements of Attachment D of Appendix 1 of the Consent Decree (Civil Action No:. ___________). It is agreed
that the undersigned will provide the applicant with a set of instructions of proper maintenance and closure of the
Facility.




Signature                                                     Mailing Address




Name and Title (Please type)                                  City, State, Zip Code




State Registration Number                                     Telephone Number (including area code)


        (Please affix seal)
                                                              Date Signed




                                                        67

Attachment G: Phosphogypsum Stack System Permanent Closure Application
APPENDIX 2
                             APPENDIX 2: FINANCIAL ASSURANCE

        This Appendix sets forth the obligations of Defendant to secure and maintain Financial
Assurance, as required under Paragraph 25 of the Consent Decree, including schedules and
notice requirements. Submittals requiring EPA approval shall be submitted pursuant to Section
V (Compliance), Paragraphs 27-31, and Section XV (Notices) of the Consent Decree. “EPA
approval” or “determination” as used in this Appendix shall encompass the approval or
determination by LDEQ and such approval or determination may be transmitted by either EPA
or LDEQ. An EPA approval or determination shall be subject to dispute resolution pursuant to
Section XI (Dispute Resolution) of the Consent Decree, including judicial review, unless this
Appendix specifies otherwise. The standard of review regarding any EPA approval or
determination under this Appendix (including requirements incorporated by reference) shall be
governed by Paragraph 81.a of the Consent Decree. If, in situations where judicial review is not
precluded by this Appendix, Mosaic seeks but does not prevail on judicial review of such EPA
approval or determination, Mosaic shall pay all costs incurred by the United States and LDEQ in
connection with such judicial review, including attorneys’ fees.

       Any modification of a time period specified by this Appendix or its Attachments is a
non-material modification for purposes of Section XVIII (Modification) of the Consent Decree
and may be modified by written agreement of the Parties.

         Under this Appendix, when required to provide an originally signed certification by the
Chief Financial Officer (“CFO”), unless otherwise specified, another designated corporate
officer may provide the signed certification if authority to sign has been assigned or delegated in
accordance with corporate procedures and bylaws (“duly designated corporate officer”).
Defendant shall use the form provided in Attachment A (“CFO Certification”) of this Appendix
for this certification.

I. Definitions

        Except as otherwise provided in this Appendix, definitions for the terms presented herein
shall be incorporated from LAC 33:V.3703.1 Whenever the terms set forth below are used in this
Appendix, the definitions set forth below shall apply. However, the Parties are not bound by
these definitions in connection with any matter not relating to Financial Assurance under this
Consent Decree.

“Affiliate” shall have the same meaning as set forth in the Statement of Financial Accounting
Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board - Original
Pronouncements, as amended): “A party that, directly or indirectly, through one or more
intermediaries, controls, is controlled by, or is under common control with the enterprise.”

“Anniversary Date” shall mean the annual anniversary of the date that Financial Assurance is
provided unless otherwise stated in this Appendix. The Anniversary Date for a Self-Assurance

1
  Louisiana has promulgated financial assurance regulations which have been approved by the U.S. Environmental
Protection Agency as part of the State-authorized hazardous waste program under the Resource Conservation and
Recovery Act, 42 U.S.C. § 6926.
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                                                                                            Mosaic Appendix 2
Mechanism shall be ninety (90) Days after the end of the Defendant’s fiscal year. As specified
in Paragraph 29.d, the Anniversary Date for Financial Assurance provided pursuant to Paragraph
10.a.(1)(c) shall be March 31.

“Assets” shall mean all existing and all probable future economic benefits obtained or controlled
by a particular entity, as represented on the company’s Independently Audited balance sheet.

“Assets located within the United States” shall mean the sum of all Assets located in the United
States.

“Certified Public Accountant” or “CPA” shall mean an accountant who has demonstrated the
requisite certification requirements of the American Institute of Certified Public Accountants
(“AICPA”) and met all statutory and licensing requirements of the State in which (s)he works.

“Closing Facility” shall mean Faustina, as referenced in Paragraph 8(n) of the Consent Decree.

“Closure Plan” shall mean the plan (including, as applicable, the Initial Closure Plan or
Permanent Closure Plan) prepared for Phosphogypsum Stack System Closure, Long Term Care,
and associated Water Management activities, in accordance with the requirements of Appendix
1, Attachment D of the Consent Decree.

“Control” shall have the same meaning as set forth in the Statement of Financial Accounting
Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board - Original
Pronouncements, as amended): “The possession, direct or indirect, of the power to direct or
cause the direction of management and policies of an enterprise through ownership, by contract,
or otherwise.”

“Corrective Action” shall have the meaning set forth in the Consent Decree.

“Corrective Action Cost Estimate” shall mean the estimate of the costs at a Facility for Plan
Work as set forth in Section IV (Corrective Action) of this Appendix.

“Cost Estimate” shall mean the estimate of the costs for Phosphogypsum Stack System Closure
and Long Term Care at a Facility as set forth in Section II of this Appendix. With respect to
Faustina, Phosphogypsum Stack System Closure for purposes of this definition of Cost Estimate
shall encompass only the closure of: (i) the DAP Recycle Pond and (ii) Cell 38 associated with
Pond 11.

“Current Assets” or “CA” shall mean cash or other assets or resources reasonably expected to be
realized within one (1) year during the normal operating cycle of the business, as represented on
the company’s Independently Audited balance sheet.

“Current Dollars” shall mean U.S. dollars in the year actually received or paid, unadjusted for
price changes or inflation.



                                                2
                                                                                  Mosaic Appendix 2
“Current Liabilities” or “CL” shall mean obligations that are reasonably expected to be repaid
within one (1) year using existing resources classified as Current Assets, as represented on the
company’s Independently Audited balance sheet.

“Current Ratio” shall mean Current Assets divided by Current Liabilities (“CA/CL”).

“Debt-to-Equity Ratio” shall mean the total Liabilities divided by Net Worth (“TL/NW”).

“Defendant” shall mean Mosaic Fertilizer, LLC.

“Environmental Obligations” shall mean obligations both in programs that EPA directly
operates, and in programs where EPA has delegated authority to the State or approved a State’s
program, that are assured through the use of a financial test and/or guarantee. These obligations
include, but are not limited to: liability, closure, post-closure and corrective action cost estimates
for hazardous waste treatment, storage, and disposal facilities pursuant to 40 C.F.R. §§ 264.101,
264.142, 264.144, 264.147, 265.142, 265.144 and 265.147; cost estimates for municipal solid
waste management facilities pursuant to 40 C.F.R. §§ 258.71, 258.72 and 258.73; cost estimates
for industrial or commercial waste facilities; current plugging and abandonment cost estimates
for underground injection control facilities pursuant to 40 C.F.R. § 144.62; cost estimates for
petroleum underground storage tanks pursuant to 40 C.F.R. § 280.93; cost estimates for PCB
facilities pursuant to 40 C.F.R. § 761.65; any financial assurance required under, or as part of an
action under, the Comprehensive Environmental Response, Compensation, and Liability Act;
and any other environmental obligation assured through a financial test and/or guarantee.

“Exchange” shall mean a place where securities are traded (e.g., New York Stock Exchange).

“Facility” or “Facilities” shall mean Faustina and Uncle Sam, as defined in Paragraph 8(n) of the
Consent Decree.

“Financial Assurance” shall mean a written demonstration of financial capability or
establishment of a Financial Mechanism (i.e., Third-Party Mechanism(s) or Self-Assurance
Mechanism(s)), in compliance with the terms of this Appendix, to implement Phosphogypsum
Stack System Closure and Long Term Care in an amount at least equal to the initial Cost
Estimate or Updated Cost Estimate, and to provide for Third-Party Liability and Corrective
Action as required under this Appendix.

“Financial Assurance Delta” shall mean the Total Cost Estimate less the sum of: (1) the most
recent value of the Louisiana Phosphogypsum Trust Fund established in accordance with
Appendix 2 of this Consent Decree as represented by the Trustee in its most recent valuation
statement to the Grantor, (2) the most recent value of the Florida Phosphogypsum Trust Fund
established in accordance with Appendix 2 of the Consent Decree, [insert Consent Decree name
and designation], (the “Florida Consent Decree”) as represented by the Trustee in its most recent
valuation statement to the Grantor, and (3) the aggregate value of any other Third-Party
Mechanism secured to establish Financial Assurance in accordance with Appendix 2 of the two
Consent Decrees.


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                                                                                     Mosaic Appendix 2
“Financial Mechanism” shall mean those mechanisms or instruments specified in this Appendix
used to secure funding for an obligation under the Consent Decree.

“GAAP” shall mean U.S. Generally Accepted Accounting Principles.

“Guarantee” or “Corporate Guarantee” shall mean an agreement in which a second entity
assumes responsibility for providing the resources to perform (e.g., alternate Financial
Assurance) and/or the performance of an obligation if the entity primarily liable fails to perform
as set forth in this Appendix 2. The entity providing the Guarantee is the Guarantor.

“Immediate Family” shall have the same meaning as set forth in the Statement of Financial
Accounting Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board -
Original Pronouncements, as amended): “Family members whom a principal owner or a member
of management might control or influence or by whom they might be controlled or influenced
because of a family relationship.”

“Independent Attorney” shall mean an attorney hired by Defendant to provide the opinion
required by Paragraph 10.f. of this Appendix. The Independent Attorney must be licensed and in
good standing, have expertise in the areas of law for which the opinion is being rendered, free of
control by Defendant (or Defendant’s Guarantor or Related Party), and able to exercise his or her
judgment as to the required opinion. Defendant shall waive any claim of attorney-client
privilege or work-product doctrine in connection with the Independent Attorney’s provision of
the opinion required by Paragraph 10.f., and shall provide EPA with any requested support for
the Independent Attorney’s opinion.

“Independent Audit” shall mean an independent assessment (audit) of the fairness by which a
company’s financial statements are presented by its management in conformance with GAAP.
The audit must be performed by an independent Certified Public Accountant and conform to
U.S. Generally Accepted Auditing Standards (“GAAS”). An Independently Audited financial
statement is a financial statement that has been subject to such an Independent Audit.

“Intangible Assets” or “IA” shall mean identifiable non-monetary assets lacking physical
substance, as defined under GAAP and as accounted for in the company’s Independently
Audited financial statements, including but not limited to patents, copyrights, franchises,
goodwill, trademarks, and trade names.

“Investment Grade” shall mean a Long-Term Issuer Credit Rating of BBB, or long-term
Corporate Family Rating of Baa2, or equivalent, or above assigned by Nationally Recognized
Statistical Rating Organization (“NRSRO”).

“Liabilities” shall mean all probable future sacrifices of economic benefits arising from present
obligations to transfer assets or provide services to other entities in the future as a result of past
transactions or events, as represented on the company’s Independently Audited balance sheet.

“Liquidity Buffer” shall mean the sum of the cash balances and unutilized committed lines of
credit of Defendant, its parent and affiliates.

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                                                                                      Mosaic Appendix 2
“Long Term Care” shall mean those activities required pursuant to Appendix 1, Attachment D,
including associated Water Management activities, and shall be substituted for “post-closure” in
LAC 33:V. Chapter 37.

“Louisiana Financial Assurance Delta” shall mean the Total Louisiana Cost Estimate less the
sum of: (1) the most recent value of the Louisiana Phosphogypsum Trust Fund established in
accordance with Appendix 2 of this Consent Decree and as represented by the Trustee in its most
recent valuation statement to the Grantor and (2) the aggregate value of any other Third-Party
Mechanism secured to establish Financial Assurance in accordance with this Appendix.

“Management” shall have the same meaning as set forth in the Statement of Financial
Accounting Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board -
Original Pronouncements, as amended): “Persons who are responsible for achieving the
objectives of the enterprise and who have the authority to establish policies and make decisions
by whose objectives are to be pursued. Management normally includes members of the board of
directors, the chief executive officer, chief operating officer, vice president in charge of the
principal business functions (such as sales, administration, or finance), and other persons who
perform similar policymaking functions. Persons without formal titles also may be members of
management.”

“Net Present Value” or “NPV” shall mean the total present value of a time series of cash flows.

“Net Worth” shall mean total Assets minus total Liabilities and is equivalent to shareholder’s (or
owner’s) equity, as represented on the company’s Independently Audited balance sheet.

“Non-U.S. Corporation” shall mean a legal entity, chartered by a State or government outside the
continental United States, Alaska, Hawaii, or U.S. territories.

“Operating Cash Flow” shall mean the net cash provided by operating activities, as determined
on a consolidated basis, as accounted for pursuant to GAAP, and as represented on a company’s
Independently Audited consolidated statements of cash flows (also referred to as “cash flows
provided by operations” or “cash flow from operating activities”).

“Operating Facility” shall mean Uncle Sam, as referenced in Paragraph 8(n) of the Consent
Decree.

“Plan Work” shall mean the work required to implement any Risk Assessment Plan, Corrective
Action Plan, or Interim Measures Plan pursuant to Paragraphs 17 through 19 of Attachment A of
Appendix 1 or pursuant to an agreement entered into, or permit or Order issued, by LDEQ, or
any corrective action assessment for the Zone of Discharge, pursuant to Section D of Attachment
B of Appendix 1. Plan Work is part of the Work required under the Consent Decree.

“Principal Owners” shall have the same meaning as set forth in the Statement of Financial
Accounting Standards No. 57, Appendix B (Glossary) (Financial Accounting Standards Board -


                                                5
                                                                                  Mosaic Appendix 2
Original Pronouncements, as amended): “Owners of record or known beneficial owners of more
than 10 percent of the voting interest of the enterprise.”

“Phosphogypsum Stack System Closure” shall mean the closure of the Phosphogypsum Stack
System and associated Water Management activities required pursuant to Appendix 1,
Attachment D, and shall be substituted for “closure” in LAC 33:V. Chapter 37.

“Related Party” or “Related Parties” shall have the same meaning as set forth in the Statement of
Financial Accounting Standards No. 57, Appendix B (Glossary) (Financial Accounting
Standards Board - Original Pronouncements, as amended) as that standard may hereafter be
modified, which standard currently provides: “Affiliates of the enterprise; entities for which
investments in their equity securities would, absent the election of the fair value option under
FASB Statement No. 159, The Fair Value Option for Financial Assets for Financial Assets and
Financial Liabilities, be required to be accounted for by the equity method by the enterprise;
trusts for the benefit of employees, such as pension and profit-sharing trusts that are managed by
or under the trusteeship of management; principal owners of the enterprise; its management;
members of the immediate families of principal owners of the enterprise and its management;
and other parties with which the enterprise may deal if one party controls or can significantly
influence the management or operating policies of the other to an extent that one of the
transacting parties might be prevented from fully pursuing its own separate interests. Another
party also is a related party if it can significantly influence the management or operating policies
of the transacting parties or if it has an ownership interest in one of the transacting parties and
can significantly influence the other to an extent that one or more of the transacting parties might
be prevented from fully pursuing its own separate interests.”

“Representation and Certification” shall mean a document signed by the Guarantor’s CFO as
required in Section VIII of this Appendix.

“Self-Assurance Mechanism” shall mean a corporate financial test or a corporate guarantee as set
forth in this Appendix.

“Substantial Business Relationship” shall mean the extent of a business relationship necessary
under applicable State law to make a guarantee contract issued incident to that relationship valid
and enforceable. A “substantial business relationship” must arise from a pattern of recent or
ongoing business transactions, in addition to the guarantee itself, such that a currently existing
business relationship between the guarantor and the owner or operator is demonstrated to the
satisfaction of EPA.

“Tangible Assets” shall mean total Assets minus Intangible Assets.

“Tangible Assets located within the United States” shall mean the sum of all Tangible Assets
located in the United States.

“Tangible Net Worth” or “TNW” shall mean total Assets minus Intangible Assets and minus
total Liabilities (“(TA-IA)-TL”).


                                                 6
                                                                                   Mosaic Appendix 2
“Third Party” shall mean a party that is not a Related Party or a party with a Substantial Business
Relationship to the Defendant.

“Third-Party Mechanism” shall mean a trust fund, surety bond, letter of credit, or insurance as
set forth in this Appendix.

“Total Cost Estimate” shall mean the sum of the Total Louisiana Cost Estimate plus the Total
Florida Cost Estimate, as the latter term is defined in Appendix 2 to the Florida Consent Decree.

“Total Louisiana Cost Estimate” shall mean the sum of the initial Cost Estimates, and thereafter,
the sum of the Updated Cost Estimates, for all Phosphogypsum Stack System Closure and Long
Term Care activities for all Operating and Closing Facilities, plus five percent (5%) of that cost.

“Trust Agreement” shall mean a signed document that establishes a trust fund. A trust fund is a
mechanism in which legal title to property (e.g., cash, investment securities) is transferred from
Mosaic Fertilizer, LLC (the “Grantor”) to another party (the “Trustee”) who will hold and
administer the property for the benefit of EPA and LDEQ (the “Beneficiaries”).

“Updated Cost Estimate” shall mean a Cost Estimate updated pursuant to Paragraph 4 of this
Appendix 2.

“Water Management” shall mean the water management and groundwater monitoring activities
required by Appendix 1, Attachment D.

II. Cost Estimate

1.       Unless Defendant has provided the following submission to EPA prior to the Lodging of
the Consent Decree and such submission has already been approved by EPA, within thirty-five
(35) Days of the Lodging of this Consent Decree, Defendant shall submit to EPA for approval its
initial Cost Estimate. In such case, and if the United States thereafter moves for entry of the
Consent Decree, such motion shall be deemed approval of such initial Cost Estimate.
         a.     The initial Cost Estimate, except as set out below in Paragraph 1.b for Financial
Assurance being provided pursuant to Paragraph 10.a(1)(c), shall include a detailed written Cost
Estimate for Phosphogypsum Stack System Closure and Long Term Care for each Facility,
including but not limited to the cost of cover material, topsoil, seeding, fertilizing, mulching,
labor, land surface care, and groundwater monitoring, collection and analysis and any other costs
of compliance with Appendix 1, Attachment D. The Cost Estimate shall be calculated based on
the point in time when the manner and extent of the operation of the Phosphogypsum Stack
System would make the Phosphogypsum Stack System Closure and Long Term Care the most
expensive. All Cost Estimates shall be based on what it would cost to hire a Third Party to
complete Phosphogypsum Stack System Closure and Long Term Care in that year, except as
provided in Paragraph 1.c., below. Defendant shall include as part of its initial Cost Estimate the
information specified in Attachments B and C of this Appendix.
         b.     If Defendant is providing Financial Assurance in accordance with Paragraph
10.a(1)(c), then the initial Cost Estimate shall consist of a written Cost Estimate in the form
specified in Attachments B and C. The Cost Estimate shall be calculated based on the December

                                                 7
                                                                                   Mosaic Appendix 2
2011 configuration of the Phosphogypsum Stack System(s) at the Operating Facility and Closing
Facility (“Operating and Closing Facilities”) with the configuration of the Phosphogypsum Stack
Systems for the Operating and Closing Facilities being updated every five (5) years thereafter
(e.g., December 2016, December 2021). All Cost Estimates shall be based on what it would cost
to hire a Third Party to complete Phosphogypsum Stack System Closure and Long Term Care in
that year, except as provided in Paragraph 1.c., below.
         c.     Subject to the conditions for access set forth below, Defendant may, if the
conditions of this Paragraph 1.c. are met, provide a Cost Estimate that includes a cost for soil
from a borrow area at the Facility, based on information provided by the Defendant describing
the soil borrow areas to be used (e.g., location), in lieu of the cost to obtain soil from a Third
Party. In that event, Defendant agrees that the United States and LDEQ, in addition to their right
to Financial Assurance as set forth in the Consent Decree, shall have the same legal right of
access to and use of such soil, and any equipment necessary to access and process such soil, as
Defendant would have. Defendant shall confirm with its Updated Cost Estimate submittal
required under Paragraph 4, below, that the United States and LDEQ continue to have a right to
access and use the soil, that the soil available is sufficient for closure of the Phosphogypsum
Stack System, and that Defendant knows of no reasons as to why the United States and LDEQ,
or their representatives, could not have access to and use of the borrow area(s) and soil. If, for
any reason, Defendant or EPA determines that such access cannot be had, or that the available
soil in the borrow area is insufficient for closure of the Phosphogypsum Stack System, then
Defendant in its next annual Updated Cost Estimate or ninety (90) Days prior to Phosphogypsum
Stack System Closure shall submit to EPA a revised Cost Estimate recalculating the soil cost
either: (i) based on the cost of soil from a substitute borrow area at the Facility; (ii) based on the
cost of soil and transportation from a substitute borrow area in the vicinity of the Facility on
property owned by Mosaic Fertilizer, LLC; or (iii) if such substitute borrow area is not available,
as a cost of a Third Party buying the soil for closure of the Phosphogypsum Stack System, and
shall provide any additional or alternative Financial Assurance necessary to cover this cost. If
Defendant has established Financial Assurance pursuant to Paragraph 10.a(1)(c) of this
Appendix, then such additional cost shall be covered by the Corporate Guarantee until such time
as the trust fund is fully funded. Nothing in this Paragraph 1.c. shall be construed as transferring
to the United States, LDEQ or their representatives any obligation that Defendant may have
under the law, including permit requirements, to properly manage, close and/or remediate the
soil borrow areas, or otherwise creating such obligations for the United States and/or LDEQ, or
their duly designated representatives.

2.     Each Cost Estimate shall be calculated as follows:
       a.      In Current Dollars if Defendant provides Financial Assurance under Section III.A
(Type A Financial Assurance), below; or
       b.      In Current Dollars for Phosphogypsum Stack System Closure and using NPV for
Long Term Care if Defendant provides the Financial Assurance pursuant to Section III.B (Type
B Financial Assurance), below. NPV shall be calculated using the 30-Year Treasury Constant
Maturity Rate, averaged for the previous twelve (12) months (using the average spot rate for
each month) from the date of the annual Cost Estimates, and discounted over the time period for
which Long Term Care is required.



                                                  8
                                                                                     Mosaic Appendix 2
3.      Defendant shall not include in any Cost Estimate any credit for salvage value or a zero
cost for handling hazardous waste with potential future value, as set forth in LAC
33:V.3705.A.3-4.

4.       Defendant shall submit the Updated Cost Estimate, together with supporting
documentation, to EPA in the following manner:
         a.      Defendant shall submit annually to EPA an Updated Cost Estimate reflecting
inflationary adjustments to the initial Cost Estimate or prior Updated Cost Estimate, except as set
forth in Paragraph 4.c, below. Such adjustment may be made by either method in Paragraph
4.a.(1) or 4a.(2) below, except as otherwise required in this Appendix:
            (1) Recalculating the costs, in Current Dollars (i.e., OSWER Directive No. 9476.00-
5, Section 4.4.1); or
            (2) Using an inflationary factor derived from the most recent Implicit Price Deflator
for the Gross National Product published by the U.S. Department of Commerce in its Survey of
Current Business, in the manner as specified by LAC 33:V.3705.B and LAC 33:V.3709.B. If the
Cost Estimate is due by the end of February, the Defendant shall: (i) use the Implicit Price
Deflator for the Gross National Product published for Q1, Q2 & Q3 of the prior year, calculate
the change in the Deflator between Q1 and Q2, and the change in Deflator between Q2 and Q3,
take the average of these values, and add this average to the Q3 Deflator to impute a Q4
Deflator; or (ii) if the Implicit Price Deflator for the Gross National Product has not been
published for Q3 of the prior year by February 10 of the following year, Defendant shall
calculate the change in the published Deflator between Q1 and Q2, adding this value both to the
Deflator for Q2 to impute a Q3 Deflator and to the imputed Q3 Deflator to impute a Q4 Deflator.
If Defendant calculates imputed Deflators by using an average of the change in Deflators from
prior quarters, because the actual Implicit Price Deflator for Q3 or Q4 were not then available,
annual inflationary adjustments in subsequent years shall be based on the actual Implicit Price
Deflator, as and when published values become available. An example of the inflationary factor
calculation is provided in Attachment B of this Appendix.
         b.      Defendant shall submit for the Updated Cost Estimate, unless required to provide
an Updated Cost estimate pursuant to Paragraph 4.c., below, a supplement to the Initial Closure
Plan updating any new information (e.g., revised closure schedule) and Attachments B and C of
this Appendix, except that if Defendant is providing Financial Assurance pursuant to Paragraph
10.a.(1)(c), then Defendant shall provide only Attachment B.
         c.      Defendant shall:
            (1) If providing Financial Assurance other than pursuant to Paragraph 10.a.(1)(c),
submit every five (5) years for the annual Updated Cost Estimate, a Cost Estimate with
supporting documentation and an updated Initial Closure Plan (if needed), reflecting cost
adjustments (e.g., revised treatment protocols, additional studies; treatment costs, material and
labor cost increases, etc.) as specified in Paragraph 4.c.(3), below. Defendant shall provide the
Updated Cost Estimate and associated documentation five (5) years after the submittal of the
initial Cost Estimate (pursuant to Paragraph 1.a. of this Appendix). Defendant shall also provide
such an Updated Cost Estimate for a Facility: (i) in the event of a re-evaluation of when the
manner and extent of the operation of the Phosphogypsum Stack System makes the
Phosphogypsum Stack System Closure and Long Term Care the most expensive; (ii) with the
submittal of the Permanent Phosphogypsum Stack System Closure Plan as specified in Appendix


                                                9
                                                                                  Mosaic Appendix 2
1, Attachment D of the Consent Decree; and (iii) thirty (30) Days prior to a Facility transfer with
the information requested pursuant to Paragraph 34 of this Appendix.
             (2) If providing Financial Assurance pursuant to Paragraph 10.a.(1)(c), submit every
five (5) years for the annual Updated Cost Estimate, (i) an updated Initial Closure Plan, including
detailed Cost Estimate information consistent with the level of detail in Section 3 (and associated
Tables) and Attachment 1 (and associated Tables) of the draft 2012 Initial Closure Plans
provided by Defendant to EPA and LDEQ prior to the lodging of the Consent Decree and (ii)
Attachments B and C. The updated Initial Closure Plan and Updated Cost Estimate shall reflect
cost adjustments (e.g., (as applicable), revised treatment protocols, additional studies; revised
programmatic and administrative needs; treatment costs, material, and labor cost increases; etc.)
and the configuration of the Phosphogypsum Stack System as of December of the prior year
(e.g., stack height, acreage to be closed, number of side slope and/or toe drains, volume of
process wastewater, leachate, and sludge (within the Phosphogypsum Stack System) to be
managed, updated aerial photographs, updated engineering drawings of the Phosphogypsum
Stack System, any new components (e.g., cooling pond, ditches)). Such costs shall be adjusted
as specified in Paragraph 4.c.(3) below. Defendant shall provide the Updated Cost Estimate and
Initial Closure Plan under this Paragraph in 2017, with subsequent Updated Cost Estimates and
updated Initial Closure Plans every five (5) years thereafter (e.g., 2022, 2027). Defendant shall
also provide such an Updated Cost Estimate for a Facility: (i) at least sixty (60) Days prior to the
Defendant constructing a lateral expansion at a Facility referenced in Paragraph 29.b; (ii) with
the submittal of the Permanent Phosphogypsum Stack System Closure Plan as specified in
Appendix 1, Attachment D of the Consent Decree; and (iii) thirty (30) Days prior to a Facility
transfer with the information requested pursuant to Paragraph 34 of this Appendix, unless such
Updated Cost Estimate has been performed for such Facility within the prior two (2) years. The
submittal of an Updated Cost Estimate under Paragraph 4.c.(2)(i)&(ii), above, shall not alter the
five (5)-year schedule for receipt of an Updated Cost Estimate under this Paragraph.
             (3) An Updated Cost Estimate submitted under this Paragraph 4.c. shall be adjusted
by recalculating the costs, in Current Dollars, as set forth in Paragraph 4.a.(1), above.
             (a) In the event a specific cost needed to prepare the Updated Cost Estimate has been
         updated pursuant to Paragraph 4.a.(1), above, within one (1) year, Defendant may adjust
         that specific cost pursuant to Paragraph 4.a.(2), above.
             (b) In the event a specific cost needed to prepare the Updated Cost Estimate has not
         been updated pursuant to Paragraph 4.a.(1), above, within one (1) year and is not
         otherwise available, then Defendant may utilize the most recent update of that specific
         cost, and adjust that prior cost pursuant to Paragraph 4.a.(2), above, provided that
         Defendant identifies the specific cost and includes a brief explanation for adjusting the
         cost pursuant to Paragraph 4.a.(2), above.
         d.      If providing Financial Assurance under Section III.B (Type B Financial
Assurance), in addition to Paragraphs 4.a.-4.c., Defendant shall submit with the initial Cost
Estimate and Updated Cost Estimate the calculation and documentation for the average discount
rate used for the NPV. In addition, the inflation factor to be used to inflate Long Term Care
costs for purposes of deriving the NPV of Long Term Care shall be the mathematical average of
the calculated inflation factors for each year over a five (5)-year period. Each year’s calculated
inflation factor shall be the product of dividing the GDP Deflator for the relevant year by the
GDP Deflator for the year immediately prior, beginning with the first year in which the GDP
Deflator is an estimate and for each year thereafter until the fifth year. The Gross Domestic

                                                10
                                                                                   Mosaic Appendix 2
Product (GDP) Deflator is as specified in the “GDP (Chained) Price Index” of the Gross
Domestic Product Deflators Used in the Historic Tables (Table 10.1), published by the Office of
Management and Budget (“OMB”). If the OMB publication is unavailable, in a written
agreement not subject to Court approval under Section XVIII (Modification) of the Consent
Decree, EPA and Defendant shall identify another method to derive the inflation factor.
        e.      Defendant shall submit the Updated Cost Estimate, in accordance with this
Paragraph, sixty (60) Days prior to the Anniversary Date of the establishment of the Financial
Mechanism, except if otherwise provided herein. If more than one Financial Mechanism is being
used to establish Financial Assurance, the Updated Cost Estimate shall be submitted sixty (60)
Days prior to the earliest Anniversary Date, for a given calendar year, of a Financial Mechanism.
Notwithstanding the foregoing, if Defendant is establishing Financial Assurance pursuant to
Paragraph 10.a(1)(c), Defendant shall submit Updated Cost Estimate(s) pursuant to this
Paragraph 4.e. as follows: (1) Updated Cost Estimate required pursuant to Paragraph 4.c. by
March 31, 2017, and by March 31 every five (5) years thereafter; and (2) Updated Cost Estimate
required by Paragraph 4.a. by the end of February in 2018 and in all years thereafter except when
the Updated Cost Estimate is provided under 4.e.(1), above.

5.     Notwithstanding the provisions of Section XII (Information Collection and Retention) of
the Consent Decree, Defendant shall maintain, or have electronic access to (such that upon
request the information can be readily downloaded and printed), at the Facility for the duration of
this Consent Decree the Updated Cost Estimate.

III. Financial Assurance for Phosphogypsum Stack System Closure and Long Term Care

6.      Within thirty (30) Days of the Effective Date of the Consent Decree or within thirty (30)
Days of EPA’s approval of Defendant’s initial Cost Estimate, whichever is later, and on the first
Anniversary Date and annually thereafter, Defendant’s CFO shall provide to EPA an originally
signed CFO Certification, together with supporting documentation, confirming that it has
established Financial Assurance for Phosphogypsum Stack System Closure and Long Term Care,
in an amount no less than the Total Louisiana Cost Estimate and pursuant to the requirements of
either Section III.A (Type A Financial Assurance) or Section III.B (Type B Financial
Assurance), of this Appendix, at Defendant’s election. If Defendant is providing Financial
Assurance pursuant to Paragraph 10.a(1)(c), Defendant’s CFO shall provide a CFO Certification
in accordance with Paragraph 29.d of this Appendix within fifteen (15) Days after such Financial
Assurance has initially been provided.

7.      Once Defendant establishes either Section III.A (Type A Financial Assurance) or Section
III.B (Type B Financial Assurance) (hereinafter also known as Section III.A or Section III.B,
respectively) for Phosphogypsum Stack System Closure and Long Term Care, it shall maintain
such Financial Assurance pursuant to the requirements of Section III.A or Section III.B, as
applicable, unless EPA approves a request to provide Financial Assurance pursuant to the other
Section (i.e., Section III.A or Section III.B, as applicable). If Defendant wishes to request such a
change in its Financial Assurance as specified above, then Defendant shall submit to EPA for
approval: (a) an originally signed CFO Certification, together with supporting documentation,
explaining in detail the reasons for the request; and (b) proposed Financial Assurance, compliant
with the applicable Section III.A or Section III.B requirements, that can become effective within

                                                11
                                                                                   Mosaic Appendix 2
thirty (30) Days of EPA’s approval. Defendant shall not cancel its existing Financial Assurance
for Phosphogypsum Stack System Closure and Long Term Care until it receives EPA’s written
approval of Defendant’s request and the alternate Financial Assurance is in effect (e.g., trust fund
is funded; insurance policy is in effect). If Defendant is providing Section III.A (Type A
Financial Assurance) pursuant to Paragraph 10.a.(1)(c), a request to substitute another form of
Section III.A (Type A Financial Assurance), or substitute Section III.B (Type B Financial
Assurance), EPA’s approval of such a request, shall not release the Defendant from its obligation
to maintain the existing Louisiana Phosphogypsum Trust Fund. EPA’s determination whether to
approve Defendant’s request to provide alternate Financial Assurance may take into account
Defendant’s ability to promptly comply with the requirements of the other of Section III. A or
Section III.B, its financial stability, and other such factors and proposals as Defendant may
advance in requesting the change.

       A. Type A Financial Assurance

8.      Financial Assurance for Phosphogypsum Stack System Closure and Long Term Care
under this Section III.A (Type A Financial Assurance) must comply with the requirements of
LAC 33:V.3707.A-I, LAC 33:V.3711.A-I, LAC 33:V.3717, and LAC 33:V.3719, except as
clarified and modified in this Section III.A.

9.      Defendant shall use the Cost Estimate generated pursuant to Section II (Cost Estimate),
above, in lieu of the cost estimates required pursuant to LAC 33:V.3705 and LAC 33:V.3709
unless otherwise directed in this Appendix, to establish Financial Assurance under this Section
III.A. Defendant shall establish Section III.A (Type A Financial Assurance) in an amount at least
equal to the Total Louisiana Cost Estimate.

10.    Defendant shall choose from the Financial Mechanisms specified in LAC 33:V.3707.A-F
and LAC 33:V.3711.A-F to establish Section III.A (Type A Financial Assurance), provided that,
if Defendant is using Third-Party Mechanisms (a trust fund, letter of credit, surety bond, or
insurance), the Trustee of any trust fund, or the provider of any letter of credit, surety bond, or
insurance shall not be a Related Party to Defendant. Defendant shall word the Financial
Mechanism as specified in LAC 33:V.3719 unless EPA provides an alternate form, e.g., to
address more than one beneficiary of the Financial Mechanism (i.e., EPA and the State) or as
otherwise provided by this Appendix.
       a.      For a trust fund, Defendant shall comply with LAC 33:V.3707.A and LAC
33:V.3711.A, except as modified below:
           (1) In lieu of complying with LAC 33:V.3707.A.3-4 and LAC 33:V.3711.3-4,
Defendant shall either:
           (a) Fully fund the trust within thirty (30) Days of the Effective Date of the Consent
       Decree or within ten (10) Days of EPA’s approval of Defendant’s initial Cost Estimate,
       whichever is later;
           (b) Submit to EPA for approval an originally signed CFO Certification, together with
       supporting documentation, explaining in detail Defendant’s inability to immediately fund
       the trust fund, and including a proposal for a pay-in period of no longer than three (3)
       years, with at least fifty percent (50%) of the Phosphogypsum Stack System Closure and
       Long Term Care Cost Estimate to be funded in the first year. Any subsequent request for

                                                12
                                                                                   Mosaic Appendix 2
        an extension to an approved pay-in period shall be made at least 180 Days before the close
        of an approved pay-in period, and shall include an originally signed CFO Certification
        explaining in detail why a longer pay-in period is needed, together with supporting
        documentation. Such approvals by EPA shall be in its unreviewable discretion; or
            (c) Establish, in accordance with Paragraphs 29 and 30, a trust fund in the amount of
        one hundred thirteen million, six hundred ninety-six thousand U.S. dollars ($113.696M)
        for the benefit of EPA and LDEQ, no later than thirty (30) Days after the Effective Date of
        the Consent Decree or by January 11, 2016, whichever is later. Defendant shall also, to
        meet its obligations under this Paragraph 10.a.(1)(c), comply with the requirements of
        Section VIII.A. (Compliance Schedule: Type A Financial Assurance) of this Appendix.2
        The signatures of the United States and the State of Louisiana to the Consent Decree shall
        constitute approval by EPA and LDEQ for Defendant to establish a trust fund pursuant to
        Section VIII.A (Compliance Schedule: Type A Financial Assurance) of this Appendix.
            (2) In lieu of LAC 33:V.3719.A, Defendant shall use the exact wording as specified
in Form 1-A, Attachment D of this Appendix, for the Trust Agreement. The Defendant may enter
into an addendum to the Trust Agreement (“Addendum”) provided that: (a) the Addendum
supplements and does not contain terms that conflict, supersede, revise or alter the terms of the
Trust Agreement (or the requirements of Appendix 2); and (b) the Addendum is approved by EPA
in advance, such approval is within EPA’s unreviewable discretion. A Trust Agreement must be
accompanied by a formal certification of acknowledgement.
            (3) Defendant shall update any associated schedules or exhibits of the Trust
Agreement, as appropriate, within sixty (60) Days after a change in the amount of the Total
Louisiana Cost Estimate.
            (4) Defendant or any other person authorized to conduct Phosphogypsum Stack
System and Long Term Care activities shall seek reimbursement for itemized invoices pursuant to
LAC 33:V.3707.A.10 and LAC 33:V.3711.A.10.
            (5) In addition to the requirements of LAC 33:V.3707.A and LAC 33:V.3711.A,
unless the Defendant is complying with Paragraph 10.a.(1)(c) and thus subject to Paragraph 30.g,
below, Defendant shall pay all expenses incurred by the Trustee in connection with the
administration of the trust fund, including reasonable fees for legal services rendered to the
Trustee, and compensation of the Trustee.
        b.      For a surety bond guaranteeing payment or performance, Defendant shall comply
with LAC 33:V.3707.B-C and LAC 33:V.3711.B-C, except that:
            (1) In addition to the requirements of LAC 33:V.3707.B.1&C.1 and LAC
33:V.3711.B.1&C.1, Defendant shall provide an originally signed certification from either the
Defendant (CFO Certification) or an officer of A.M. Best or an NRSRO, documenting that the
surety has at least a “secured” financial strength rating of “A” by A.M. Best or an equivalent
rating by the NRSRO.
            (2) In lieu of LAC 33:V.3707.B.4.c&C.4.b and LAC 33:V.3711.B.4.c&C.4.b, upon
notice to Defendant and the surety of a determination by EPA that Defendant has failed to
perform Phosphogypsum Stack System Closure and/or Long Term Care as required by Appendix
1 of this Consent Decree, and following the conclusion of any dispute resolution (which shall not
include judicial review) under Section XI (Dispute Resolution) of the Consent Decree, the surety

2
  If Defendant uses and complies with this option (i.e., provides a trust fund and corporate guarantee), it shall not be
subject to the requirements of Paragraph 10, other than this Paragraph 10.a(1)(c), unless otherwise agreed to by the
Parties.
                                                           13
                                                                                                     Mosaic Appendix 2
under the terms of the bond will perform Phosphogypsum Stack System Closure and/or Long
Term Care as directed by EPA or will deposit the amount of the penal sum into the stand-by trust
fund.
              (3) In the event that Defendant must provide alternate Financial Assurance pursuant to
LAC 33:V.3707.B.4.c&C.4.b and LAC 33:V.3711.B.4.c&C.4.b, such required approval by EPA
shall be subject to dispute resolution pursuant to Section XI (Dispute Resolution) of the Consent
Decree, but not judicial review.
         c.       For a letter of credit, Defendant shall comply with LAC 33:V.3707.D and LAC
33:V.3711.D, except as modified below:
              (1) In addition to the requirements of LAC 33:V.3707.D.1 and LAC 33:V.3711.D.1,
as applicable, Defendant shall provide an originally signed CFO Certification documenting that
the provider of the letter of credit is a federally insured financial institution.
              (2) In lieu of LAC 33:V.3707.D.8 and LAC 33:V.3711.D.9, upon EPA’s notice that
Defendant has failed to perform Phosphogypsum Stack System Closure and/or Long Term Care,
pursuant to Section VI (Work Takeover) of the Consent Decree, EPA may draw on the letter of
credit, pursuant to Section VI (Work Takeover) of the Consent Decree and subject to the dispute
resolution provisions set forth in Section VI (Work Takeover) and XI (Dispute Resolution) of the
Consent Decree.
              (3) In lieu of LAC 33:V.3707.D.2 and LAC 33:V.3711.D.2 and LAC 33:V.3719.D,
Defendant shall use the exact wording as specified in Form 3, Attachment D of this Appendix, for
the letter of credit and the associated cover letter accompanying the letter of credit.
              (4) In the event that Defendant must provide alternate Financial Assurance pursuant to
LAC 33:V.3707.D.9 and LAC 33:V.3711.D.10 due to cancellation (i.e., LAC 33:V.3707.D.5 and
LAC 33:V.3711.D.5):
              (a) In the event that Defendant disputes the cancellation by the issuing financial
         institution, Defendant shall not seek dispute resolution pursuant to Section IX (Dispute
         Resolution), including judicial review, of EPA’s determination to draw on the letter of
         credit;
              (b) EPA’s determination to call in the letter of credit due to the adequacy of the
         alternate Financial Assurance (i.e., EPA does not approve the alternate Financial
         Assurance) shall be subject to dispute resolution pursuant to Section XI (Dispute
         Resolution) of the Consent Decree, including judicial review;
              (c) Defendant shall not seek release of the funds in the stand-by trust from the letter of
         credit until the dispute has been resolved in Defendant’s favor or Defendant has provided
         alternate Financial Assurance that has been approved by EPA; and
              (d) EPA shall not direct the Trustee to make reimbursements or payments, until the
         dispute has been resolved, from: (i) a stand-by trust established for the purpose of
         accepting funds from a letter of credit; or (ii) that portion of a trust fund which is
         attributable to a letter of credit that has been drawn upon, unless EPA has invoked Section
         VI (Work Takeover) of the Consent Decree.
         d.       For insurance, Defendant shall comply with LAC 33:V.3707.E and LAC
33:V.3711.E, and shall provide an originally signed certification from either the Defendant (CFO
Certification) or an officer of A.M. Best or an NRSRO, documenting that the insurer has at least a
“secured” financial strength rating of “A” by A.M. Best or an equivalent rating by the NRSRO.
Defendant also shall:


                                                  14
                                                                                      Mosaic Appendix 2
             (1) Comply with LAC 33:V.3707.E.8 and LAC 33:V.3711.E.8, except that in lieu of
LAC 33:V.3707.E.8.a-e and LAC 33:V.3711.E.8.a-e the following conditions are substituted: (a)
EPA determines that the Facility has been abandoned; (b) the Work required under this Consent
Decree is undertaken by EPA; (c) Phosphogypsum Stack System Closure, partial Phosphogypsum
Stack System Closure, or Long Term Care is ordered by EPA or by a U.S. District Court or other
court of competent jurisdiction; (d) Defendant is named as debtor in a voluntary or involuntary
proceeding under Title 11 (Bankruptcy), U.S. Code; or (e) the premium due is paid.
             (2) Submit annually a Certificate of Insurance and a complete copy of the insurance
policy, including amendments and endorsements.
             (3) Notify EPA if it has cause to believe that it will not be able to make a premium
payment.
             (4) Ensure the assignment requirements of LAC 33:V.3707.E.7 and LAC
33:V.3711.E.7 are incorporated into the insurance policy exactly as written, with no additional
qualifying conditions.
             (5) Ensure that the policy does not allow or offer coverage for liabilities other than
those contemplated by the Consent Decree.
         e.      For the corporate financial test, Defendant (including Defendant’s Guarantor),
shall comply with LAC 33:V.3707.F and LAC 33:V.3711.F, except that:
             (1) In lieu of complying with LAC 33:V.3707.F.1.b.i and LAC 33:V.3711.F.1.b.i,
Defendant shall use the current rating of either Standard & Poor’s (“S&P”) Long-Term Issuer
Credit Rating or Moody’s long-term Corporate Family Rating, which assesses a company’s
capacity to meet its long-term (greater than one (1) year) financial commitments, as they come
due. The rating must be BBB or greater as issued by S&P, or Baa2 or greater as issued by
Moody’s. If Defendant has more than one rating, the lower of the two will be used to meet the
criteria in LAC 33:V.3707.F and LAC 33:V.3711.F. If Defendant with multiple ratings
discontinues a rating that is below BBB (S&P) or Baa2 (Moody’s), or a rating agency
discontinues a rating that is below BBB (S&P) or Baa2 (Moody’s), such that the remaining
rating(s) subsequently would enable the Defendant to satisfy the corporate financial test criteria,
Defendant shall provide alternate Financial Assurance and shall be disqualified from using the
corporate financial test for two (2) years.
             (2) The phrase “all Environmental Obligations” is substituted for “current closure and
post-closure cost estimates and current plugging and abandonment cost estimates” found in LAC
33:V.3707.F.1 and LAC 33:V.3711.F.1.
             (3) The term “assets” specified in LAC 33:V.3707.F.1.a.iv&b.iv and LAC
33:V.3711.F.1.a.iv&b.iv shall be replaced by the term “tangible assets.”
             (4) In lieu of complying with LAC 33:V.3707.F.3 and LAC 33:V.3711.F.3, Defendant
shall document its satisfaction of the corporate financial test by submitting to EPA within ninety
(90) Days after the close of Defendant’s fiscal year, for each year Defendant is providing a Self-
Assurance Mechanism:
             (a) A letter signed by Defendant’s CFO worded exactly as specified in Form 4-A,
         Attachment D of this Appendix (“CFO Letter”).
             (b) A copy of the independent CPA report on examination of Defendant’s audited
         financial statements for the latest completed fiscal year that Defendant is using for the
         basis of the financial test.
             (c) A copy of the audited financial statements for the last completed year.


                                                15
                                                                                  Mosaic Appendix 2
             (d) A report of procedures and findings from Defendant’s independent CPA, resulting
        from an agreed-upon procedures engagement performed in accordance with the AICPA
        Statement on Standards for Attestation Engagements, AT Section 201 – Agreed Upon
        Procedures Engagements (including AICPA related attestation interpretations), as
        updated, that describes the procedures performed and related findings, including whether
        or not differences or discrepancies were found in the comparison of financial information
        set out in the letter (including attachments and exhibits) from Defendant’s CFO and
        Defendant’s Independently Audited, year-end financial statements for the last fiscal year,
        including all attachments. Where differences or discrepancies exist between Defendant’s
        CFO Letter and Defendant’s Independently Audited year-end financial statements, the
        report of procedures and findings will reconcile any differences or discrepancies between
        the values or information represented in Defendant’s CFO Letter and Defendant’s
        Independently Audited financial statements. Procedures to be performed by the
        independent CPA shall be in accordance with AT Section 201.
             (5) In addition to complying with LAC 33:V.3707.F.6 and LAC 33:V.3711.F.6, if
Defendant determines at any time during the fiscal year that it no longer meets or will not meet
the requirements of this Paragraph 10.e, Defendant shall provide alternate Financial Assurance
pursuant to the requirements of Section III.A (Type A Financial Assurance) and Section VII
(Temporary Non-Compliance) of this Appendix. If EPA determines that Defendant has failed to
provide alternate Financial Assurance as required by this Paragraph 10.e.(5), such determination
by EPA is not subject to dispute resolution pursuant to Section XI (Dispute Resolution) of the
Consent Decree, and is not subject to judicial review.
             (6) Within thirty (30) Days of notice from EPA that EPA, pursuant to LAC
33:V.3707.F.7 and LAC 33:V.3711.F.7, no longer believes that Defendant meets the requirements
of the corporate financial test criteria of Paragraph 10.e., or that EPA disallows the use of the
corporate financial test based on qualifications in the opinion expressed by the independent CPA
as set out in LAC 33:V.3707.F.8 and LAC 33:V.3711.F.8, Defendant shall establish alternate
Financial Assurance as required by LAC 33:V.3707.F.7&8 and LAC 33:V.3711.F.7&8 pursuant
to this Section III.A (Type A Financial Assurance). Defendant’s failure to timely establish
alternate Financial Assurance is not subject to Section VII (Temporary Non-Compliance) of this
Appendix. EPA’s determination to disallow the Financial Assurance provided by the Self-
assurance Mechanism based on the Defendant’s (or Defendant’s Guarantor’s) independent CPA’s
adverse or disclaimer opinion based on examination of the financial statement’s shall be subject
to dispute resolution under Section XI (Dispute Resolution) of the Consent Decree, but shall not
be subject to judicial review.
             (7) In addition to complying with LAC 33:V.3707.F and LAC 33:V.3711.F,
Defendant shall:
             (a) If more than sixty percent (60%) of Defendant’s tangible assets are in the form of
        one (1) or more note receivables from one (1) or more Related Parties, submit to EPA,
        when providing the information required by Paragraph 10.e.(4), above, and LAC
        33:V.3707.F.5 and LAC 33:V.3711.F.5, an originally signed CFO Certification together
        with a list of each note receivable, the name of the Related Party and a description (along
        with any necessary documentation) of the Related Party’s financial strength, to
        demonstrate that each Related Party maintains the financial strength to meet its obligation
        to the Defendant.


                                                16
                                                                                  Mosaic Appendix 2
            (b) On a quarterly basis, using the sum of the most recent four (4) quarters’ financial
        statements (including balance sheets, income statements, and cash flow statements),
        reviewed by an independent CPA, evaluate Defendant’s ability to meet the criteria of the
        corporate financial test.
        f.      For the Corporate Guarantee, Defendant shall comply with LAC 33:V.3707.F.10
and LAC 33:V.3711.F.11, as modified by Paragraph 10.e. above, and shall meet the requirements
specified below:
            (1) Defendant may use a Non-U.S. Corporation as Guarantor only if the following
conditions are met: (a) the Non-U.S. Corporation has identified a registered agent for service of
process in the State in which the facility covered by the Guarantee is located and in the State in
which it has its principal place of business; (b) Defendant submits to EPA a written legal opinion
from an Independent Attorney, prior to the execution of the Guarantee, confirming that a
Guarantee executed as required under this Section by the non-U.S. Guarantor is a legally valid
and an enforceable obligation in the State(s); (c) the Non-U.S. Corporation provides
Independently Audited financial statements in conformance with GAAP; (d) the total amount of
the Non-U.S. Corporation’s present and proposed Guarantee’s (including self-guarantees) to
cover all Environmental Obligations in the United States shall not exceed twenty-five percent
(25%) of the Non-U.S. Corporation’s tangible net worth in the United States; and (e) the written
Guarantee reflects the Non-U.S. Corporation’s (Guarantor’s) agreement to comply with the
reporting requirements required under the Consent Decree and that within thirty (30) Days of
executing the Guarantee the Guarantor will establish a stand-by trust with a financial institution
within the continental United States, Alaska, or Hawaii.
            (2) Defendant shall use the exact wording as specified in Form 5-A, Attachment D of
this Appendix, for the Corporate Guarantee. The certified copy of the Corporate Guarantee must
accompany the items sent to EPA, in accordance with Section XV (Notices) of the Consent
Decree, as specified in Paragraph 10.e.(3) of this Appendix.

11.     If Defendant seeks to provide:
        a.       More than one Third-Party Mechanism to demonstrate Financial Assurance for
Phosphogypsum Stack System Closure and Long Term Care, pursuant to LAC 33:V.3707.G and
LAC 33:V.3711.G, Defendant shall submit to EPA an originally signed CFO Certification
verifying that the Third-Party Mechanisms do not incorporate terms subrogating one Financial
Mechanism to another, i.e., designating a prioritization for the release of the funds or the payment
of a claim. EPA, if the need arises, will determine in its unreviewable discretion the priority for
the release of funds or payment of a claim.
        b.       A Financial Mechanism establishing Financial Assurance at more than one Facility
pursuant to LAC 33:V.3707.H and LAC 33:V.3711.H, Defendant:
             (1) Shall not provide a single trust fund or insurance policy to cover the multiple
Facilities in different States, but shall provide each affected State with its own distinct trust fund
or insurance policy;
             (2) May use the same letter of credit or surety bond for multiple Facilities provided
that the following conditions are met: (a) the Facilities’ EPA Identification Numbers, names,
addresses, and the Phosphogypsum Stack System Closure and Long Term Care Cost Estimate(s)
associated with each particular Facility are clearly specified in the Financial Mechanism; and (b)
the Financial Mechanism clearly states that there can be a release of funds for a specified Facility


                                                 17
                                                                                     Mosaic Appendix 2
without requiring the entire obligation covered by the Financial Mechanism to be placed in the
stand-by trust(s); and
            (3) Shall not release funds designated for one or more Facilities in another State
except upon written agreement of EPA, Defendant, and the affected State(s).
        c.      If Defendant is providing Financial Assurance pursuant to Paragraph 10.a.(1)(c),
Defendant will comply with the requirements of Paragraph 29.c. in lieu of the requirements set
forth in Paragraphs 11.a. and 11.b., above.

        B. Type B Financial Assurance

12.     Financial Assurance under this Section III.B (Type B Financial Assurance) must comply
with the requirements of LAC 33:V.3707.A-B&D-I, LAC 33:V.3711.A-B&D-I, LAC 33:V.3717,
and LAC 33:V.3719, except as clarified and modified in this Section III.B (including Attachment
E). Defendant shall use the Cost Estimates generated pursuant to Section II (Cost Estimate),
above, in lieu of the cost estimates required pursuant to LAC 33:V.3705 and LAC 33:V.3709
unless otherwise directed by this Appendix, to establish Financial Assurance under this Section
III.B. Defendant shall provide Section III.B (Type B Financial Assurance) in an amount at least
equal to the Total Louisiana Cost Estimate.

13.    The options and requirements for Type B Financial Assurance depend upon Defendant’s
threshold rating, which shall be based on: (a) current S&P Long-Term Issuer Credit Rating of
AAA through BB-; (b) current Moody’s Corporate Family Rating of Aaa though Ba3; or (c) an
equivalent current rating from an NRSRO that assesses a company’s capacity to meet its long-
term (greater than one (1) year) financial commitments, as they come due. If Defendant has more
than one rating, it shall use the lowest rating to determine its threshold rating.

14.     A Defendant that qualifies to use a Self-Assurance Mechanism based on its threshold
rating and Attachment E shall use only one Self-Assurance Mechanism. When required under
Attachment E to provide a Third-Party Mechanism in combination with a Self-Assurance
Mechanism, Defendant shall use a trust fund unless permitted to substitute another type of Third-
Party Mechanism pursuant to Paragraphs 16 and 17, below. Defendant shall meet the minimum
threshold amount specified in Attachment E to be funded in, or covered by, a Third-Party
Mechanism.

15.      Defendant shall use the Financial Mechanisms specified in LAC 33:V.3707.A-B&D-F and
LAC 33:V.3711.A-B&D-F to establish Type B Financial Assurance as set out in Attachment E
and below, provided that, if Defendant is using Third-Party Mechanisms (a trust fund, letter of
credit, surety bond guaranteeing payment, or insurance), the Trustee of any trust fund, or the
provider of any letter of credit, surety bond guaranteeing payment, or insurance shall not be a
Related Party to Defendant. Defendant shall word the Financial Mechanism as specified in LAC
33:V.3719, unless EPA provides an alternate form, e.g., to address more than one beneficiary of
the Financial Mechanism (i.e., EPA and the State). Defendant shall also comply with the
requirements of LAC 33:V.3707.A.7-8, B.7, D.7 & E.9 and LAC 33:V.3711.A.7-8, B.7, D.7 &
E.9 , except that the corpus of the trust fund, the penal sum of the payment surety bond, the value
of the letter of credit, or the limit of liability of the insurance policy shall not be reduced to reflect
reductions in the Cost Estimates until such time as the Updated Cost Estimate is equivalent to the
                                                   18
                                                                                        Mosaic Appendix 2
corpus of the trust fund, the penal sum of the payment surety bond, the value of the letter of
credit, or the limit of liability of the insurance policy. In addition, Defendant shall comply with
the requirements of LAC 33:V.3707.A.10&E.5 and LAC 33:V.3711.A.11&E.9, except as
provided for in Paragraph 19 of this Appendix. If Financial Assurance is provided by multiple
Third-Party Mechanisms pursuant to Paragraph 17 of this Appendix, the individual value of the
Third-Party Mechanisms shall not be reduced to reflect any reductions in the Cost Estimate until
such time as the Updated Cost Estimate is equivalent to the sum of the total obligations covered
by the Third-Party Mechanisms.
         a.      For a trust fund, Defendant shall comply with LAC 33:V.3707.A and LAC
33:V.3711.A, except that:
             (1) In lieu of complying with LAC 33:V.3707.A.3-4 and LAC 33:V.3711.A.3-4,
Defendant shall fully fund the trust within thirty (30) Days of the Effective Date of the Consent
Decree or within ten (10) Days of EPA’s approval of Defendant’s initial Cost Estimate,
whichever is later, as specified in Paragraph 5. If Defendant is unable to fully fund the trust fund,
Defendant within ten (10) Days of EPA’s approval of the initial Cost Estimate shall submit to
EPA for approval an originally signed CFO Certification, together with supporting
documentation, explaining in detail Defendant’s inability to immediately fund the trust fund, and
including a proposal for a pay-in period of no longer than three (3) years, with at least fifty
percent (50%) of the initial Cost Estimate to be funded in the first year. Any subsequent request
for an extension to an approved pay-in period shall be made at least 180 Days before the close of
an approved pay-in period, and shall include an originally signed CFO Certification explaining in
detail why a longer pay-in period is needed, together with supporting documentation.
             (2) In lieu of LAC33:V.3719.A, Defendant shall use the exact wording as specified in
Form 1-A, Attachment D of this Appendix, for the Trust Agreement. The Defendant may enter
into an addendum to the Trust Agreement (“Addendum”) provided that: (a) the Addendum
supplements and does not contain terms that conflict, supersede, revise or alter the terms of the
Trust Agreement (or the requirements of Appendix 2); and (b) the Addendum is approved by EPA
in advance, such approval is within EPA’s unreviewable discretion. The Trust Agreement must
be accompanied by a formal certification of acknowledgment.
             (3) Defendant shall update Schedule A of the Trust Agreement within sixty (60) Days
after a change in the amount of the Cost Estimate.
             (4) In addition to the requirements of LAC 33:V.3707.A and LAC 33:V.3711.A,
Defendant shall pay all expenses incurred by the Trustee in connection with the administration of
the trust fund, including fees for legal services rendered to the Trustee and compensation of the
Trustee.
             (5) Defendant or any other person authorized to conduct Phosphogypsum Stack
System and Long Term Care activities shall seek reimbursement for itemized invoices pursuant to
LAC 33:V.3707.A.10 and LAC 33:V.3711.A.11.
         b.      For a surety bond guaranteeing payment, Defendant shall comply with LAC
33:V.3707.B and LAC 33:V.3711.A.11.B, except that:
             (1) In addition to the requirements of LAC 33:V.3707.B.1 and LAC 33:V.3711. B.1,
Defendant shall provide an originally signed certification from either the Defendant (CFO
Certification) or an officer of A.M. Best or an NRSRO, documenting that the surety has at least a
“secured” financial strength rating of “A” by A.M. Best or an equivalent rating by the NRSRO.
             (2) In lieu of LAC 33:V.3707.B.4.b and LAC 33:V.3711.B.4.b, upon notice to
Defendant and the surety of a determination by EPA that Defendant has failed to perform
                                                 19
                                                                                    Mosaic Appendix 2
Phosphogypsum Stack System Closure and/or Long Term Care as required by Appendix 1 of this
Consent Decree, and following the conclusion of any dispute resolution (which shall not include
judicial review) under Section XI (Dispute Resolution) of the Consent Decree, the surety under
the terms of the bond will deposit the amount of the penal sum into the stand-by trust fund.
             (3) In the event that Defendant must provide alternate Financial Assurance pursuant to
of LAC 33:V.3707.B.4.c and LAC 33:V.3711.B.4.c, such required approval by EPA shall be
subject to dispute resolution pursuant to Section XI (Dispute Resolution) of the Consent Decree,
but not judicial review.
         c.      For a letter of credit, Defendant shall comply with LAC 33:V.3707.D and LAC
33:V.3711.D, except that:
             (1) In addition to the requirements of LAC 33:V.3707.D.1 and LAC 33:V.3711.D.1,
Defendant shall provide an originally signed CFO Certification documenting that the provider of
the letter of credit is a federally insured financial institution.
             (2) In lieu of LAC 33:V.3707.D.8 and LAC 33:V.3711.D.9, upon notice to Defendant
of a determination by EPA that Defendant has failed to perform Phosphogypsum Stack System
Closure and/or Long Term Care as required by Appendix 1 of this Consent Decree and following
the conclusion of any dispute resolution (which shall not include judicial review) under Section
XI (Dispute Resolution) of the Consent Decree, EPA may draw on the letter of credit
             (3) In the event that Defendant must provide alternate Financial Assurance pursuant to
LAC 33:V.3707.D.9 and LAC 33:V.3711.D.10, such required approval by EPA shall be subject
to dispute resolution pursuant to Section XI (Dispute Resolution) of the Consent Decree, but not
judicial review.
         d.      For insurance, Defendant shall comply with LAC 33:V.3707.E and LAC
33:V.3711.E, and shall provide an originally signed certification from either the Defendant (CFO
Certification) or an officer of A.M. Best or an NRSRO, documenting that the insurer has at least a
“secured” financial strength rating of “A” by A.M. Best or an equivalent rating by the NRSRO.
Defendant also shall:
             (1) Comply with LAC 33:V.3707.E.8 and LAC 33:V.3711.E.8, except that in lieu of
LAC 33:V.3707.E.8.a-e and LAC 33:V.3711.E.8.a-e the following conditions are substituted: (a)
EPA determines that the Facility has been abandoned; (b) the Work required under this Consent
Decree is undertaken by EPA; (c) Phosphogypsum Stack System Closure, partial Phosphogypsum
Stack System Closure, or Long Term Care is ordered by EPA or by a U.S. District Court or other
court of competent jurisdiction; (d) Defendant is named as debtor in a voluntary or involuntary
proceeding under Title 11 (Bankruptcy), U.S. Code; or (e) the premium due is paid.
             (2) Submit annually a Certificate of Insurance and a complete copy of the insurance
policy, including amendments and endorsements.
             (3) Notify EPA if it has cause to believe that it will not be able to make a premium
payment.
             (4) Ensure that the assignment requirements of LAC 33:V.3707.E.8 and LAC
33:V.3711.E.8 are incorporated into the insurance policy exactly as written, with no additional
qualifying conditions.
             (5) Ensure that the policy does not allow or offer coverage for liabilities other than
those contemplated by the Consent Decree.
         e.      For the corporate financial test and Corporate Guarantee, Defendant (and
Defendant’s Guarantor) shall comply with LAC 33:V.3707.F and LAC 33:V.3711.F, except that:

                                                20
                                                                                  Mosaic Appendix 2
            (1) The phrase “all Environmental Obligations” is substituted for “current closure and
post-closure cost estimates and current plugging and abandonment cost estimates” found in LAC
33:V.3707.F.1 and LAC 33:V.3711.F.1.
            (2) In lieu of complying with LAC 33:V.3707.F.1.a-b and LAC 33:V.3711.F.1.a-b,
Defendant shall:
            (a) Meet the corporate financial test criteria specified in Attachment E which
        corresponds to Defendant’s rating threshold as specified in Paragraph 13, above. If a
        Defendant with multiple ratings discontinues, or S&P, Moody’s, or an NRSRO
        discontinues, the lower of the ratings, Defendant shall for a period of two (2) years
        commencing on Defendant’s fiscal year-end apply the criteria and requirements of
        Attachment E (and this Paragraph) as if the lower rating were in effect. If during that two
        (2) year period, a change in Defendant’s other rating(s) results in Defendant not satisfying
        the corporate financial test or becoming subject to a more stringent set of corporate
        financial test criteria under Attachment E, Defendant shall provide Financial Assurance as
        specified in Paragraphs 15.e.(4)(a) and 18.
            (b) Calculate the three (3)-year rolling average specified in Attachment E for the Debt-
        to-Equity Ratio (TL/NW), Current Ratio, or the Operating Cash Flow metric (“OCF
        metric”) as follows: (i) TL/NW is a three (3)-year rolling average of total liabilities
        divided by three (3)-year rolling average of net worth; (ii) CA/CL is a three (3)-year
        rolling average of current assets divided by three (3)-year rolling average of current
        liabilities; and (iii) OCF metric is a three (3)-year rolling average of operating cash flow,
        except for a Defendant with an S&P rating of BB-, Moody’s rating of Ba3 or an
        equivalent rating from an NRSRO who shall calculate the OCF metric annually.
            (c) Not use the OCF metric to demonstrate Financial Assurance if Defendant has a
        negative cash flow for that fiscal year.
            (3) In lieu of complying with LAC 33:V.3707.F.3 and LAC 33:V.3711.F.3, Defendant
shall document its satisfaction of the corporate financial test by submitting to EPA within ninety
(90) Days after the close of Defendant’s fiscal year, for each year Defendant is providing a Self-
Assurance Mechanism:
            (a) A letter signed by Defendant’s CFO worded exactly as specified in Form 4-B,
        Attachment D of this Appendix.
            (b) A copy of the independent CPA report on examination of Defendant’s audited
        financial statements for the latest completed fiscal year that Defendant is using for the
        basis of the financial test.
            (c) A copy of the audited financial statements for the last completed year.
            (d) A report of procedures and findings from Defendant’s independent CPA, resulting
        from an agreed-upon procedures engagement performed in accordance with the AICPA
        Statement on Standards for Attestation Engagements, AT Section 201 - Agreed Upon
        Procedures Engagements (including AICPA related attestation interpretations), as
        updated, that describes the procedures performed and related findings, including whether
        or not differences or discrepancies were found in the comparison of financial information
        set out in the letter (including attachments and exhibits) from Defendant’s CFO and
        Defendant’s Independently Audited, year-end financial statements for the last fiscal year,
        including all attachments. Where differences or discrepancies exist between Defendant’s
        CFO Letter and Defendant’s Independently Audited year-end financial statements, the
        report of procedures and findings will reconcile any differences or discrepancies between
                                                 21
                                                                                    Mosaic Appendix 2
        the values or information represented in Defendant’s CFO Letter and Defendant’s
        Independently Audited financial statements. Procedures to be performed by the
        independent CPA shall be in accordance with AT Section 201.
            (4) In addition to complying with LAC 33:V.3707.F.6 and LAC 33:V.3711.F.6, if
Defendant determines at any time during the fiscal year that:
            (a) It no longer meets or will not meet the requirements of this Paragraph 15.e.
        (including the loss of a threshold rating except as provided by Paragraph 15.e.(2)(a),
        above), Defendant shall within ten (10) Days send written notice to EPA of this
        determination, by certified mail, stating the basis for such a determination. If Defendant
        cannot re-establish compliance with the requirements of this Paragraph 15.e. pursuant to
        Section VII (Temporary Non-Compliance) and/or Section VIII.B (Compliance Schedule:
        Type B) of this Appendix, the Defendant, within thirty (30) Days of its notice to EPA as
        specified above, shall provide alternate Financial Assurance for Phosphogypsum Stack
        System Closure and Long Term Care pursuant to Paragraph 18, below.
            (b) Its threshold rating requires Defendant to change from one set of corporate
        financial test criteria under Paragraph 15.e.(2), above, and Attachment E (e.g., CFT
        Criteria A) to a more stringent set of corporate financial test criteria (e.g., CFT Criteria C),
        Defendant shall notify EPA within ten (10) Days of the change in corporate financial test
        criteria and within thirty (30) Days of such notice shall submit to EPA a revised corporate
        financial test or Corporate Guarantee based on the most recent evaluation conducted under
        Paragraph 15.e.(6)(c), below, demonstrating compliance with the more stringent corporate
        financial test criteria. To the extent necessary, Defendant shall at the same time make a
        contribution to the Third-Party Mechanism to comply with the minimum threshold amount
        specified in the corporate financial test requirements in Paragraph 15.e.(2), above.
            (c) If EPA determines that Defendant has failed to provide alternate Financial
        Assurance as required, or complied with Paragraphs 15.e.(4)(a) and (4)(b), such
        determination by EPA is not subject to dispute resolution pursuant to Section XI (Dispute
        Resolution) of the Consent Decree, and is not subject to judicial review.
            (5) Within thirty (30) Days of notice by EPA that EPA, pursuant to LAC
33:V.3707.F.7 and LAC 33:V.3711.F.7, no longer believes that Defendant meets the corporate
financial test criteria in Paragraph 15.e.(2), above, or that EPA disallows the use of the corporate
financial test based on qualifications in the opinion expressed by the independent CPA as set forth
in LAC 33:V.3707.F.8 and LAC 33:V.3711.F.8, Defendant shall provide alternate Financial
Assurance as required by LAC 33:V.3707.F.7&8 and LAC 33:V.3711.F.7&8 pursuant to
Paragraph 18 of this Appendix. Defendant’s failure to timely provide alternate Financial
Assurance is not subject to Section VII (Temporary Non-Compliance) of this Appendix. EPA’s
determination to disallow the Financial Assurance provided by the Self-Assurance Mechanism
based on the Defendant’s (or Defendant’s Guarantor’s) independent CPA’s adverse or disclaimer
opinion based on examination of the financial statement’s shall be subject to dispute resolution
under Section XI (Dispute Resolution) of the Consent Decree, but is not subject to judicial
review.
            (6) In addition to complying with LAC 33:V.3707.F and LAC 33:V.3711.F,
Defendant shall:
            (a) If Defendant with an S&P rating of BB-, Moody’s rating of Ba3, or an equivalent
        NRSRO rating, receives a negative outlook posted on one or more of its ratings, or
        receives a qualified opinion from an independent CPA, or is delisted from an Exchange
                                                   22
                                                                                      Mosaic Appendix 2
        for any reason other than: (i) Defendant’s decision to take the company into private
        ownership, or (ii) a transaction which results in the acquisition of Defendant (or
        Defendant’s ultimate parent corporation) by another company subjecting Defendant to
        Section X (Business Transactions) of this Appendix, then Defendant shall within ten (10)
        Days of such an event send written notice by certified mail of such event to EPA, and
        within thirty (30) Days of such notice shall provide an alternate form of Financial
        Assurance, in compliance with Paragraph 18 of this Appendix. In the event that the
        delisting is due to Defendant’s decision to take the company into private ownership
        Defendant may continue to provide Financial Assurance using the Financial
        Mechanism(s) already in place if, within twenty (20) Days of the delisting, it provides
        documentation to EPA from S&P, Moody’s or the NRSRO confirming that Defendant
        meets a current S&P Long-Term Issuer Credit Rating, Moody’s long-term Corporate
        Family Rating, or equivalent current rating from an NRSRO, as specified in Paragraph 13
        of this Appendix.
            (b) If more than sixty percent (60%) of Defendant’s tangible assets are in the form of
        one (1) or more note receivables from one (1) or more Related Parties, submit to EPA,
        when providing the information required by Paragraph 15.e.(3), above, and LAC
        33:V.3707.F.5 and LAC 33:V.3711.F.5, an originally signed CFO Certification by the
        Defendant’s CFO together with a list of each note receivable, the name of the Related
        Party and a description (along with any necessary documentation) of the Related Party’s
        financial strength, to demonstrate that each Related Party maintains the financial strength
        to meet its obligation to the Defendant.
            (c) On a quarterly basis prepare and use financial statements (including balance
        sheets, income statements, and cash flow statements), reviewed by an independent CPA,
        to evaluate Defendant’s ability to meet the criteria of the corporate financial test. To meet
        the criteria involving rolling averages, the averages shall be based on the results as of the
        end of the same quarter for the prior years (i.e., a three (3)-year rolling average evaluated
        at the end of the first quarter for Year X shall include the results from the first quarter of
        Year X-2 and X-1). In addition, Operating Cash Flow for this evaluation shall be based
        on the results from the most recent four (4) quarters (i.e., for a first quarter analysis, the
        Operating Cash Flow shall be based on the results from the second quarter of the previous
        year through the first quarter of the current year). The same adjustment shall be made for
        the OCF metric for prior periods if the criteria involve the use of a rolling average.
            (d) If Defendant with a S&P rating of BBB- through BB, a Moody’s rating of Baa3
        through Ba2, or an equivalent rating from an NRSRO receives a negative outlook posted
        on one or more of its ratings, or receives a qualified opinion rendered by an independent
        CPA, Defendant within twenty (20) Days of such event shall submit to EPA a revised
        corporate financial test based on the most recent evaluation conducted under Paragraph
        15.e.(6)(c), above.
        f.      For the Corporate Guarantee, Defendant shall comply with LAC 33:V.3707.F.10
and LAC 33:V.3711.F.11, and shall meet the requirements specified below, if applicable.
            (1) Defendant may use a Non-U.S. Corporation as a Guarantor only if the following
conditions are met: (a) Non-U.S. Corporation meets the requirements of Paragraph 10.f. of this
Appendix, and (b) Non-U.S. Corporation has a current rating for either the S&P long-term issuer
credit rating of AAA through BBB, Moody’s long-term corporate family rating of Aaa though


                                                  23
                                                                                     Mosaic Appendix 2
Baa2 or an equivalent rating from an NRSRO that assesses a company’s capacity to meet its long-
term (greater than one (1) year) financial commitments, as they come due.
           (2) Defendant shall use the exact wording as specified in Form 5-A, Attachment D of
this Appendix, for the Corporate Guarantee. The certified copy of the Corporate Guarantee must
accompany the items sent to EPA, in accordance with Section XV (Notices) of the Consent
Decree, as specified in Paragraph 15.e.(3) of this Appendix.

16.     Defendant may submit annually, for EPA approval, a request to use a letter of credit,
surety bond guaranteeing payment, or insurance in lieu of the trust find required under Paragraph
14, above. Defendant shall include in its request documentation demonstrating compliance with
Financial Assurance under this Subsection III.B. Defendant may not rely upon the letter of credit,
payment surety bond, or insurance to establish compliance with this Appendix until EPA has
approved the Third-Party Mechanism. Defendant shall comply with the letter of credit, payment
surety bond, or insurance requirements of Paragraph 15 of this Appendix, as applicable.
Defendant shall also demonstrate compliance with Paragraph 11 of this Appendix. EPA’s
determination whether or not to accept Defendant’s request is subject to dispute resolution
pursuant to Section XI (Dispute Resolution) of the Consent Decree, but is not subject to judicial
review.

17.     Defendant may submit annually, for EPA approval, a request to use multiple Third-Party
Mechanisms (i.e., trust fund, letter of credit, surety bond guaranteeing payment, and insurance) in
conjunction with a Self-Assurance Mechanism, together with supporting documentation, to
demonstrate Financial Assurance for Phosphogypsum Stack System Closure and Long Term
Care. Defendant shall not rely upon the additional Third-Party Mechanism to establish
compliance with this Consent Decree until EPA has approved the additional Third-Party
Mechanism. Defendant shall also demonstrate compliance with Paragraph 11 of this Appendix.
EPA’s determination whether or not to accept Defendant’s request is subject to dispute resolution
under Section XI (Dispute Resolution) of the Consent Decree, but is not subject to judicial
review.

18.     If Defendant at any time becomes ineligible to rely on a Self-Assurance Mechanism
pursuant to this Section III.B, and cannot re-establish such eligibility pursuant to Section VII
(Temporary Non-Compliance) and/or Section VIII.B (Compliance Schedule: Type B) of this
Appendix, then Defendant shall establish alternate Financial Assurance based on Current Dollars
by: (a) maintaining the existing Financial Assurance in the trust fund (or as approved, other
Third-Party Mechanism) as established pursuant to Paragraph 14; (b) providing additional
Financial Assurance using Third-Party Mechanism(s) pursuant to Paragraphs 10.a-d, except for
Paragraph 10.a.(1)(c); and (c) meeting the requirements of Paragraph 11 of this Appendix when
providing more than one Financial Mechanism. If Defendant meets the above requirements and
EPA approves the alternate Financial Assurance (including the termination of a Corporate
Guarantee if provided), Defendant does not need to meet the requirements of Paragraph 15 of this
Appendix. Defendant shall continue to be subject to Section III.B (Type B Financial Assurance),
as set forth in this Paragraph 18, unless EPA approves a request to change to Section III.A (Type
A Financial Assurance) pursuant to Paragraph 6 of this Appendix.



                                                24
                                                                                   Mosaic Appendix 2
19.     If the Total Louisiana Cost Estimate at the commencement of Defendant’s fiscal year is
less than or equal to the value of the following Third-Party Mechanism(s), trust fund or insurance,
then Defendant, may draw upon the Third-Party Mechanism(s) to pay for Phosphogypsum Stack
System Closure and Long Term Care. Otherwise, Defendant shall first draw upon the resources
of the Self-Assurance Mechanism before drawing upon a Third-Party Mechanism to pay for
Phosphogypsum Stack System Closure or Long Term Care. If EPA approves the use of multiple
Third-Party Mechanisms under Paragraph 17, above, EPA will designate the priority for drawing
on the Third-Party Mechanisms and EPA’s designation shall not be subject to dispute resolution
pursuant to Section XI (Dispute Resolution) of the Consent Decree, and shall not be subject to
judicial review.

IV. Financial Assurance for Corrective Action

20.     If EPA is the primary Agency responsible for implementing Corrective Action under the
Consent Decree, the Defendant shall comply with this Section and upon EPA request and to the
extent of EPA’s authority under applicable law, shall also provide financial assurance for related,
third party liability. If EPA is not the primary Agency responsible for implementing Corrective
Action under the Consent Decree, Financial Assurance for Corrective Action shall be governed
by the terms of Paragraph 25 of the Consent Decree.

21.     Defendant shall, within thirty (30) Days of receiving approval by EPA of any Risk
Assessment Plan or Interim Measures Plan required pursuant to Paragraphs 17 or 19 in
Attachment A of Appendix 1 of the Consent Decree, provide a detailed written Corrective Action
Cost Estimate for the work required under the applicable Plan (“Plan Work”). Defendant shall,
within twenty (20) Days of EPA’s approval of the Corrective Action Cost Estimate, demonstrate
and provide to EPA Financial Assurance for the Plan Work in accordance with the requirements
of Section III.A (Type A Financial Assurance), except for Paragraph 10.a.(1)(c), of this Appendix
as applied to the Plan Work. If Defendant wishes to seek a waiver of all or part of the Financial
Assurance, or wishes to propose an alternative form or reduced amount of Financial Assurance,
Defendant shall submit a request to EPA explaining the basis for the proposed waiver, or
alternative or reduced Financial Assurance, together with supporting documentation. Until such
time as EPA approves the proposed waiver, or alternate or reduced Financial Assurance in
writing, Defendant shall provide Financial Assurance in the amount of the approved Corrective
Action Cost Estimate in accordance with Section III.A (Type A Financial Assurance), except for
Paragraph 10.a.(1)(c), of this Appendix as applied to the Plan Work.

22.    Within thirty (30) Days of receiving written approval by EPA of any Corrective Action
Plan required pursuant to Paragraph 18 of Attachment A of Appendix 1 of the Consent Decree, or
any corrective action assessment by EPA for the Zone of Discharge required pursuant to Section
D of Attachment B of Appendix 1 of the Consent Decree, Defendant shall submit to EPA for
approval a proposed Financial Assurance Plan to implement the applicable Plan Work. The
proposed Financial Assurance Plan shall include, as appropriate:
       a.      A Corrective Action Cost Estimate for each stage of the Plan Work.
       b.      A proposed Financial Mechanism, or set of Mechanisms, to provide Financial
Assurance for the Plan Work, selected from the options set forth in Section (Type A Financial
Assurance), except for Paragraph 10.a.(1)(c), of this Appendix (e.g., trust fund, surety bond,
                                                25
                                                                                   Mosaic Appendix 2
insurance, letter of credit, corporate financial test, or Corporate Guarantee) as applied to the Plan
Work. If Defendant wishes to propose an alternate form or reduced amount of Financial
Assurance, wishes to provide Financial Assurance in phases corresponding to the estimated costs
for each stage of Plan Work or wishes to seek a waiver of all or part of the Financial Assurance
required under this Section IV, Defendant shall submit a request to EPA explaining the basis for
the proposed alternate, reduced or phased Financial Assurance, or the waiver of all or part of the
Financial Assurance, together with supporting documentation, for approval.
       c.       A proposed schedule (on at least a semi-annual basis) to update the Corrective
Action Cost Estimate pursuant to Paragraph 22.b., above, to reflect inflationary adjustments
and/or changes to the Plan Work.

23.    Within thirty (30) Days of EPA’s approval of Defendant’s Financial Assurance Plan,
Defendant shall provide Financial Assurance for the Plan Work in an amount no less than the
approved Corrective Action Cost Estimate, and in accordance with the Financial Assurance Plan
approved by EPA.

V. Financial Assurance for Third Party Liability

24.     Within thirty (30) Days of the Effective Date of the Consent Decree, and on the first
Anniversary Date and annually thereafter, Defendant’s CFO shall provide to EPA a Financial
Mechanism for Third Party Liability along with an originally signed CFO Certification, together
with supporting documentation, confirming that it has established Financial Assurance to
compensate a third-party for bodily injury or property damage that might result from sudden
accidental or non-sudden accidental occurrences associated with the Phosphogypsum Stack
System Closure or Long Term Care at the Facility (“Financial Assurance for Third Party
Liability”). If Defendant is providing Financial Assurance for Phosphogypsum Stack System
Closure and Long Term Care pursuant Paragraph 10.a.(1)(c), Defendant shall, notwithstanding
the schedules set forth in Paragraph 25, provide the Financial Mechanism and information
required for Third Party Liability in accordance with the schedule and deadlines in Paragraph
29.d. The Financial Assurance for Third Party Liability shall comply with LAC 33:V.3715,
except as provided in Paragraph 25, below, and in lieu of complying with LAC 33:V.3715.E
Defendant shall maintain such Financial Assurance for the duration of Phosphogypsum Stack
System Closure or Long Term Care. If Defendant wishes to propose an adjustment to the amount
of Financial Assurance pursuant to LAC 33:V.3715.C, Defendant shall submit to EPA for
approval an originally signed CFO Certification and, as set forth in LAC 33:V.3715.C, explaining
the basis for the proposed adjustment, together with supporting documentation. Until such time
as EPA approves the adjusted Financial Assurance in writing, Defendant shall provide Financial
Assurance for Third Party Liability as required herein. Nothing in this Paragraph shall be
construed to waive or limit EPA’s right, pursuant to LAC 33:V.3715.D, to adjust the level of
Financial Assurance required in LAC 33:V.3715.A&B. EPA’s determination of whether or not to
approve Defendant’s request under LAC 33:V.3715.C is subject to dispute resolution under
Section XI (Dispute Resolution) of the Consent Decree, but not judicial review.

25.    Defendant’s Financial Assurance for Third Party Liability shall comply with LAC
33:V.3715.A-B&F-J, and LAC 33:V.3719.G,H.2 & I-N, except as otherwise provided in the
F.A.C., and as modified by this Paragraph. If Defendant is using a trust fund, letter of credit, or
                                                 26
                                                                                     Mosaic Appendix 2
surety bond, the Trustee of any trust fund, or the provider of any letter of credit, or surety bond
shall not be a Related Party to Defendant. Defendant shall word the Financial Mechanism as
specified in LAC 33:V.3719, except the term “facility” shall substitute for the phrase “hazardous
waste facility,” and unless EPA provides an alternate form.
        a.       For a surety bond or for insurance, Defendant shall demonstrate that the surety and
the insurer have at least a “secured” financial strength rating of “A” by A.M. Best or an
equivalent rating by an NRSRO. Such demonstration shall be in the form of an originally signed
certification from either the Defendant (CFO Certification) or an officer of A.M. Best or the
NRSRO.
        b.       For a letter of credit, Defendant shall ensure that the provider of the letter of credit
is a federally insured financial institution.
        c.       For the corporate financial test, Defendant shall:
            (1) In lieu of LAC 33:V.3715.F.1.b.i, use the current rating for either the S&P Long-
Term Issuer Credit Rating or Moody’s long-term Corporate Family Rating which assesses a
company’s capacity to meet its long-term (greater than one (1) year) financial commitments, as
they come due.
            (2) In lieu of the provision at LAC 33:V.3715.F.3, demonstrate that it meets the
corporate financial test by submitting the following to EPA thirty (30) Days after the Effective
Date of the Consent Decree, and on the first Anniversary Date and annually thereafter:
            (a) A letter signed by Defendant’s CFO and as worded in LAC 33:V.3719.G (“CFO
        TPL Letter”).
            (b) A copy of the independent CPA’s report on examination of Defendant's audited
        financial statements for the latest completed fiscal year.
            (c) A copy of the Independently Audited financial statements for the last completed
        year.
            (d) A report of procedures and findings from Defendant’s independent CPA, resulting
        from an agreed-upon procedures engagement performed in accordance with the AICPA
        Statement on Standards for Attestation Engagements, AT Section 201 - Agreed Upon
        Procedures Engagements (including AICPA related attestation interpretations), as
        updated, that describes the procedures performed and related findings, including whether
        or not differences or discrepancies were found in the comparison of financial information
        included in the letter (including attachments and exhibits) from Defendant’s CFO and
        Defendant’s Independently Audited, year-end financial statements for the last fiscal year,
        including all attachments. Where differences or discrepancies exist between Defendant’s
        CFO TPL Letter and Defendant’s Independently Audited year-end financial statements,
        the report of procedures and findings will reconcile any differences or discrepancies
        between the values or information represented in Defendant’s CFO TPL Letter and
        Defendant’s Independently Audited financial statements. Procedures to be performed by
        the independent CPA shall be in accordance with AT Section 201.
        d.       For a Corporate Guarantee, Defendant shall comply with LAC 33:V.3715.G, and
as modified by Paragraph 25.c., and shall meet the requirements specified below:
            (1) Submit the documents required under Paragraph 25.c.(2) to EPA thirty (30) Days
after the Effective Date of the Consent Decree, and on the first Anniversary Date and annually
thereafter;
            (2) Use the exact wording as specified in Form 6-A, Attachment D of this Appendix,
for the CFO TPL Letter; and
                                                   27
                                                                                       Mosaic Appendix 2
         (3) Provide a written Guarantee using the exact wording specified in Form 6-B,
Attachment D of this Appendix.

VI. Information Gathering

26.    For purposes of Appendix 2, information gathering shall be governed by Paragraphs 26
and 88 of the Consent Decree unless otherwise specified in this Appendix.

VII. Temporary Non-Compliance

27.     If Defendant determines that it has violated or may violate any requirement of this
Appendix, Defendant shall follow the procedures below. Any dispute raised by Defendant
regarding EPA’s refusal to approve a plan under this Paragraph shall not prohibit EPA from
accessing or collecting on existing Financial Assurance. Defendant shall be deemed to be without
Financial Assurance for purposes of enforcement (but not for accessing or collecting Financial
Assurance should it be necessary) if Defendant fails to meet a compliance schedule or the terms
of a compliance plan under this Appendix.
        a.      For all non-compliances or anticipated non-compliances, except for those
associated with Paragraph 31 of this Appendix, Defendant shall within ten (10) Days of the non-
compliance determination submit to EPA an originally signed CFO Certification together with
supporting documentation, explaining in detail the nature of the violation and stating whether or
not the non-compliance can be rectified by Defendant within thirty (30) Days. If Defendant does
not believe that it can rectify the non-compliance within thirty (30) Days, then within ten (10)
Days of its notice Defendant shall submit to EPA for approval a plan and schedule for correcting
the violation. If applicable, such a plan shall include additional or alternate Financial Assurance.
In the event that alternate or additional Financial Assurance is a component of the plan and
schedule, then the Financial Assurance shall be provided as soon as possible, but no later than
sixty (60) Days after Defendant’s notice of the Defendant’s non-compliance. Defendant may
request additional time to provide the alternate or additional Financial Assurance and such request
shall include a detailed explanation and supporting documentation. EPA’s determination of
whether or not to approve Defendant’s plan and schedule for correcting the violation(s) is subject
to dispute resolution under Section XI (Dispute Resolution) of the Consent Decree, including
judicial review, except that the time frames for notices and submissions under Section XI
(Dispute Resolution) of this Consent Decree shall be reduced by half for any plan requiring
alternate or additional Financial Assurance.
        b.      For all non-compliances or anticipated non-compliances under Paragraph 31,
except for Paragraphs 31.j. through 31.m. of this Appendix, Defendant shall within ten (10) Days
of the non-compliance determination submit to EPA an originally signed CFO Certification
together with supporting documentation, explaining in detail the nature of the violation and
stating whether or not the non-compliance can be rectified by Defendant within thirty (30) Days.
If Defendant does not believe that it can rectify the non-compliance within thirty (30) Days, then
within ten (10) Days of its notice Defendant shall submit to EPA for approval a plan and schedule
for correcting the violation. In the event that alternate or additional Financial Assurance is to be
provided by a Third-Party Mechanism, then the Financial Assurance shall be provided as soon as
possible, but no later than sixty (60) Days after Defendant’s notice of the Defendant’s non-
compliance. Defendant may request additional time to provide the alternate or additional
                                                28
                                                                                   Mosaic Appendix 2
Financial Assurance and such request shall include a detailed explanation and supporting
documentation. EPA’s determination of whether or not to approve Defendant’s plan and schedule
for correcting the violation(s) is subject to dispute resolution under Section XI (Dispute
Resolution) of the Consent Decree, including judicial review except that the time frames for
notices and submissions under Section XI (Dispute Resolution) of this Consent Decree shall be
reduced by half for any plan that requires alternate or additional Financial Assurance.
        c.      If Defendant is unable to provide alternate Financial Assurance as required by
Paragraphs 31.j. through 31.m., and Defendant requests additional time to secure and provide
alternate Financial Assurance under Paragraphs 31.j. through 31.m., Defendant shall submit to
EPA for approval a plan and schedule for providing such alternate Financial Assurance. Such
plan may include the continued role of the Guarantor under a Corporate Guarantee.
            (1) The proposed plan and schedule shall provide that the Alternate Financial
Assurance will be established as soon as possible by no later than sixty (60) Days after notice of
the non-compliance. Defendant may request additional time to provide the alternate Financial
Assurance and such request shall include a detailed explanation and supporting documentation.
            (2) In the event that the proposed plan and schedule includes a continued role for the
Guarantor under a Corporate Guarantee, Defendant shall submit with the plan updated
information under Paragraph 31.h from the Guarantor, and a CFO Certification from the
Guarantor’s CFO certifying as to the amount of financial resources that the Guarantor expects to
have available for the next fiscal year to either perform Phosphogypsum Stack Closure and Long
Term Care activities at the Operating and Closing Facilities or to provide alternate Financial
Assurance. Such certification shall be required annually, and submitted along with the
information provided under the Corporate Guarantee.
            (3) EPA’s determination of whether or not to approve Defendant’s plan and schedule
for providing alternate Financial Assurance, as required by Paragraphs 31.j, 31.l, and 31.k for an
EPA decision based on an independent CPA’s adverse or qualified opinion, is subject to dispute
resolution under Section XI (Dispute Resolution) of the Consent Decree, including judicial review
except that Defendant shall seek any such judicial review in Court within seven (7) Days after the
conclusion of the dispute resolution period, and the position of EPA shall become effective unless
stayed or modified by the Court within twenty (20) Days of the conclusion of the dispute
resolution period. EPA’s determination of whether or not to approve Defendant’s plan and
schedule for providing alternate Financial Assurance as required by Paragraphs 31.k. (except for
EPA decision based on an independent CPA’s adverse or qualified opinion) and 31.m. is subject
to dispute resolution under Section XI (Dispute Resolution) of the Consent Decree, including
judicial review. The time frames for notices and submissions under Section XI (Dispute
Resolution) of this Consent Decree shall be reduced by half.

28.      Defendant shall not be subject to stipulated penalties pursuant to Section IX (Stipulated
Penalties) of the Consent Decree for temporary non-compliance with this Appendix provided that:
(a) Defendant complies with the notice and submittal requirements of Paragraph 27, above; (b)
EPA approves the plan and schedule for correcting the violation, including any additional or
alternative Financial Assurance; (c) Defendant within ten (10) Days of EPA’s approval
commences the correction of the violation in accordance with the approved schedule, including if
applicable the establishment of any additional or an alternate form of Financial Assurance; and (d)
EPA determines that Defendant’s violation is not due to Defendant’s lack of diligence or good
faith (the burden of proving this shall rest with Defendant).
                                                29
                                                                                  Mosaic Appendix 2
VIII. Compliance Schedule

A.         Type A Financial Assurance

29.     In the event that the Defendant establishes Financial Assurance pursuant to Section III.A
(Type A Financial Assurance), Paragraph 10.a.(1)(c), Defendant shall meet the following:
        a.      Defendant shall:
            (1) Deposit $113.696 Million into a trust fund (“Louisiana Phosphogypsum Trust
Fund”) that shall be set up in accordance with Paragraph 30, below, for the Phosphogypsum Stack
System Closure of the Operating Facility and for the Long Term Care at the Operating and
Closing Facilities no later than thirty (30) Days after the Effective Date of the Consent Decree or
by January 11, 2016, whichever is later; and
            (2) Provide an executed Corporate Guarantee, in accordance with Paragraph 31,
below, in the amount represented by the Louisiana Financial Assurance Delta. The signed
Guarantee is attachment to this Appendix (Attachment I) and will be in effect as of the Effective
Date of the Consent Decree.
        b.      For each Facility:
            (1) Financial Assurance provided by Defendant pursuant to this Section VIII.A shall
apply only to and shall satisfy all requirements concerning Financial Assurance for
Phosphogypsum Stack System Closure and Long Term Care under this Consent Decree with
respect to:
             (a) The current configuration of the Phosphogypsum Stack System at the Operating
        and Closing, as reflected in Attachment F, Exhibit F-1 (i.e., existing Phosphogypsum
        Stack System), including any increase in height within that configuration and its current
        footprint up to its design height, and
            (b) Any planned lateral expansion(s) of the existing Phosphogypsum Stack System at
        the Operating Facilities as identified by the Defendant in 2015 (i.e., Attachment F, Exhibit
        F-2, and identified in Attachment G: Baseline as “Planned Future Expansion Closure
        Area”) (“Planned Expansion”): (i) that qualifies as a “Covered Expansion” under
        Paragraph 29.b.(2) below, and (ii) that becomes part of the Phosphogypsum Stack System
        configuration (i.e., fully-engineered and constructed) upon and in accordance with any
        requisite approvals by LDEQ pursuant to the laws and regulations of Louisiana. Nothing
        in this Paragraph or in the Consent Decree shall be construed to limit, alter or supersede
        the permitting and approval authorities of LDEQ with respect to the permitting or timing
        and conditions of the Planned Expansion(s).
            (2) The Planned Expansion(s) shall be a Covered Expansion if it meets either of the
following criteria, below, to be determined at the time the Planned Expansion(s) is fully
engineered and the information required by Paragraph 29.b.(3), below, has been submitted (the
“Determination Date”):
            (a) The Total Phosphogypsum Volume3 in the Phosphogypsum Stack System
        anticipated at the Determination Date (calculated pursuant to Paragraph 29.b.(3), below) is
        not more than two point five percent (2.5%) greater than the Total Phosphogypsum
        Volume anticipated in 2015 (as specified in the Attachment G: Baseline), and the

3
    Total Phosphogypsum Volume is utilized herein as an approximate surrogate for pore water volume.
                                                         30
                                                                                                Mosaic Appendix 2
       anticipated Total Future Closure Area at the Determination Date (calculated pursuant to
       Paragraph 29.b.(3), below) is not more than three percent (3%) greater than the Total
       Future Closure Area anticipated in 2015 (as specified in Attachment G: Baseline); or
           (b) The sum of the following is not more than five percent (5%):
               (i) The percent (%) change between the Total Phosphogypsum Volume anticipated
       at the Determination Date (calculated pursuant to Paragraph 29.b.(3), below) and the Total
       Phosphogypsum Volume anticipated in 2015 (as specified in the Attachment G: Baseline),
       and
               (ii) The percent (%) change between the Total Future Closure Area anticipated at
       the Determination Date (calculated pursuant to Paragraph 29.b.(3), below) and the Total
       Future Closure Area anticipated in 2015 (as specified in the Attachment G: Baseline).
           (c) Defendant shall, in making the calculations required by Paragraph 29.b.(2)(b),
       above, substitute zero (“0”) for a negative percentage that may be generated when
       comparing the Total Phosphate Volume or the Total Future Closure Area as of the
       Determination Date to the 2015 baseline.
           (3) Defendant shall submit to EPA information regarding the Planned Expansion(s) at
the Operating Facility as follows:
               (a) If Defendant has not provided the information regarding the Planned
           Expansion(s) at the Operating Facility identified by Defendant in 2015, using the form
           in Attachment G, prior to the Effective Date of the Consent Decree, then Defendant
           shall submit such information to EPA (the “Attachment G: Baseline”) within thirty
           (30) Days of the Effective Date of the Consent Decree to use as a baseline in
           determining if the Planned Expansion(s) once fully engineered is a Covered
           Expansion.
               (b) Defendant shall submit updated information regarding the Planned Expansion
           using the form in Attachment G (the “Attachment G: Updated”), within 45 (forty-five)
           Days of the time that a Planned Expansion has been fully-engineered. The
           information submitted shall be used to determine if the Planned Expansion as fully
           engineered is a Covered Expansion. Attachment G: Updated shall include the
           following adjustments, if applicable:
                    (i) If Defendant has not installed a liner as identified in the 2015 baseline as
               reflected in Attachment G: Baseline at the corresponding average stack elevation
               prior to activation of the Planned Expansion, then the Total Phosphogypsum
               Volume shall be revised in the Attachment G: Updated to account for the lack of
               the liner by adding in the corresponding values of phosphogypsum volume
               deducted for that anticipated liner as previously calculated and reflected in the
               Attachment G: Baseline in the column labelled “Phosphogypsum Volume to be
               Added if Proposed HDPE Liner is Not Installed at Elevation 100’(acre-feet).”
               (ii) If Defendant has, after 2015, either lined or closed an isolated section of the
           Phosphogypsum Stack System or has installed a liner for such section that had not
           been identified in the 2015 Attachment G, the volume of phosphogypsum beneath the
           liner at the time of liner installation may be reduced at the rate of eight percent (8%)
           annually for the period following the installation of the liner until the Determination
           Date, when calculating the Total Phosphogypsum Volume on the Updated Attachment
           G.

                                                31
                                                                                   Mosaic Appendix 2
                 (iii) If Defendant, after 2015, closes a portion of the stack top area or slope area
             earlier than scheduled to be closed, the corresponding area(s) may be deducted from
             the Total Future Closure Area in the Updated Attachment G, provided there are no
             then-planned lateral or vertical expansions that would require re-activating the closed
             areas.
             (4) Notwithstanding the adjustments in Paragraph 29.b.(3)(b), above, a Planned
Expansion shall not be considered a Covered Expansion if the total area of the Planned Expansion
as fully engineered exceeds the area of the Planned Expansion as specified in Attachment F
(Figure F-2) and the Attachment G: Baseline (i.e., “Future Expansion Closure Area”) by more
than eight percent (8%).
             (5) Defendant shall provide financial assurance under applicable State law and
regulations for:
             (a) Any new Phosphogypsum Stack, new Phosphogypsum Stack System, or new
        expansion of a Phosphogypsum Stack System (i.e., any lateral expansions, increased
        height above the design height as of 2015, new cooling pond or other form of expansion,
        in each case to the extent not identified in Attachment F); and
             (b) A Planned Expansion that exceeds the criteria for a Covered Expansion. The
        financial assurance shall be in an amount equal to the difference in the (i) costs of
        Phosphogypsum Stack System Closure and Long Term Care between the Planned
        Expansion as anticipated in 2015 (see Attachment G: Baseline, “Planned Future
        Expansion Closure Area” and “Planned Future Expansion Phosphogypsum Volume”) for
        the Operating Facility and (ii) and the fully-engineered, actual build of the Planned
        Expansion, as permitted by LDEQ, and as reflected in Attachment G: Updated (i.e.,
        “Expansion Closure Area” and “Expansion Phosphogypsum Volume”). This financial
        assurance, unless otherwise agreed to by LDEQ in its sole discretion, is due within ninety
        (90) Days of submitting the Attachment G: Update.
             (6) Defendant shall not use the Financial Mechanisms demonstrating Financial
Assurance under this Consent Decree (e.g., Financial Mechanisms specified in Paragraph 29.a. of
this Appendix) or that may be required in Paragraphs 27 or 31 of this Appendix, in establishing or
demonstrating compliance with any financial assurance required pursuant to any federal or State
law or regulations. Defendant is not precluded from relying on such Financial Mechanisms in
satisfying any financial metric or test utilized for financial assurance when permitted under a
federal or State law or regulation.
             (7) Defendant shall archive and maintain the Computer Aided Design (“CAD”) files,
for the Operating Facility, which contain the underlying information for the values specified in
Attachment G: Baseline. Defendant shall maintain the CAD files until Phosphogypsum Stack
System Closure and Long Term Care, pursuant to a Permanent Closure Plan, has been
implemented at the New Wales Facility. Defendant shall provide access to the CAD files, or
provide the CAD files, within thirty (30) Days of the EPA’s request.
        c.       Defendant shall first draw upon its own resources or a Guarantor’s resources (as
set forth in Paragraph 31), before requesting any reimbursement or release from the Louisiana
Phosphogypsum Trust Fund or any other Third-Party Mechanism established pursuant to this
Section VIII to pay for the Phosphogypsum Stack System Closure and/or Long Term Care at the
Operating and Closing Facilities. If EPA approves additional Third-Party Mechanisms, as set out
in Section III.A (Type A Financial Assurance) of this Appendix (e.g., insurance), EPA will

                                                 32
                                                                                    Mosaic Appendix 2
determine the priority for drawing on the Third-Party Mechanisms and such determination is not
subject to dispute resolution pursuant to Section XI (Dispute Resolution) of the Consent Decree
and is not subject to judicial review.
        d.       Within forty five (45) Days of the trust fund being established and funded as set
forth in Paragraph 29.a., above, or by March 31 of the calendar year in which the trust fund is
established and funded, whichever is later, and on or before the Anniversary Date in the following
calendar year and annually thereafter, Defendant shall provide to EPA an originally signed CFO
Certification in the form attached hereto as Attachment A from the Defendant’s CFO together
with supporting documentation, confirming that it has established Financial Assurance for
Phosphogypsum Stack System Closure and Long Term Care at the Operating and Closing
Facilities in a total amount no less than the Total Louisiana Cost Estimate. The Anniversary Date
under this Section XVIII.A. of the Appendix shall be March 31.

30.      Defendant shall with respect to the Louisiana Phosphogypsum Trust Fund comply with
the requirements of Paragraph 10.a.(1)(c), and the following requirements of LAC
33:V.3707.A.1-2, 7 & 9-11 and LAC 33:V.3711.A.1-2, 7 & 9-12, as applicable and as modified
below:
         a.      In addition to the applicable requirements of LAC 33:V.3707.A.1 and LAC
33:V.3711.A.1, Defendant shall:
             (1) When replacing an existing Trustee with a successor (“Successor Trustee”) use
the following criteria listed below. Notwithstanding the criteria for a Successor Trustee, EPA and
LDEQ reserve all legal and equitable rights under the law to take any action to protect its interests
in the trust fund.
             (a) The Successor Trustee identified by the Defendant must be the Trust Department
         of a Bank or a professional Trustee, be able to hold trust assets in secure custody, not be
         subject to a conflict of interest, be able to account for trust assets and income to the
         Grantor, Beneficiaries and tax authorities as required by law, maintain records of trust
         transactions, and meet the responsibilities of a Trustee established by State and federal
         law.
             (b) In establishing that the Successor Trustee can meet the criteria listed in Paragraph
         30.a.(1)(a), above, Defendant shall consider at a minimum the Successor Trustee’s trust
         management experience, the length of time served as a Trustee, the investment experience
         of the Successor Trustee and whether the Successor Trustee is regulated, bonded and
         insured.
             (2) Prior to terminating the Trustee, Defendant shall consult with EPA explaining the
purpose or benefit of such termination and identifying the proposed Successor Trustee. If the
Defendant terminates the Trustee, Defendant shall provide notice to EPA and LDEQ when
providing notice to the Trustee.
             (3) Defendant has proposed, and EPA and LDEQ have approved, Russell Investments
as the initial Trustee of the Louisiana Phosphogypsum Trust Fund.
         b.      In lieu of LAC 33:V.3719.A, Defendant shall use the exact wording as specified in
Form 1-B, Attachment D of this Appendix, for the Trust Agreement. The Defendant may enter
into an addendum to the Trust Agreement (“Addendum”) provided that: (a) the Addendum
supplements and does not contain terms that conflict, supersede, revise or alter the terms of the
Trust Agreement (or the requirements of Appendix 2); and (b) the Addendum is approved by EPA
in advance, such approval is within EPA’s unreviewable discretion. EPA has approved an
                                                 33
                                                                                    Mosaic Appendix 2
Addendum included as Form 2, Attachment D of this Appendix. The Trust Agreement must be
accompanied by a formal certification of acknowledgement.
        c.      In accordance with Paragraph 10.a.(1)(c) (and in lieu of LAC 33:V.3707.A.3-4 and
LAC 33:V.3711.A.3-4), and as specified in Paragraph 29.a., above, Defendant shall deposit
$113.696 Million into the Louisiana Phosphogypsum Trust Fund for the benefit of EPA and
LDEQ. Payments from the Louisiana Phosphogypsum Trust Fund shall be in accordance with the
reimbursement procedures set forth in Paragraph 30.d., below, or the release procedure set forth in
Paragraph 30.e., below, and the Trust Agreement.
        d.      Defendant shall, when requesting reimbursement from the Louisiana
Phosphogypsum Trust Fund, meet the requirements of LAC 33:V.3707.A.3-4 and LAC
33:V.3711.A.11 except as modified below:
            (1) Defendant shall not seek reimbursement from the Louisiana Phosphogypsum Trust
Fund for Phosphogypsum Stack System Closure at the Closing Facilities in Louisiana.
            (2) Defendant shall not seek reimbursement from the Louisiana Phosphogypsum Trust
Fund for Phosphogypsum Stack System Closure and/or Long Term Care related-costs for the
Operating Facility and Long Term Care related-costs for the Closing Facilities unless the value of
the Louisiana Phosphogypsum Trust Fund equals or exceeds the Total Louisiana Cost Estimate at
the time reimbursement is sought. Defendant may, when the Louisiana Phosphogypsum Trust
Fund value equals or exceeds the Total Louisiana Cost Estimate, seek reimbursement for
Phosphogypsum Stack System Closure and/or Long Term Care at the Louisiana Facilities related-
costs only if sufficient funds are available to cover the Total Louisiana Cost Estimate.
            (3) Defendant shall not seek reimbursement from the Louisiana Phosphogypsum Trust
Fund for taxes paid on the Louisiana Phosphogypsum Trust Fund unless the value of the
Louisiana Phosphogypsum Trust Fund equals or exceeds the Total Louisiana Cost Estimate at the
time reimbursement is sought. When the Louisiana Phosphogypsum Trust Fund value equals or
exceeds the Total Louisiana Cost Estimate, Defendant may seek reimbursement for taxes paid on
the Louisiana Phosphogypsum Trust Fund only if sufficient funds are available to cover the Total
Louisiana Cost Estimate and Defendant complies with the requirement of Paragraph 30.g., below.
            (4) For any initial reimbursement each year, Defendant shall submit a Total Louisiana
Cost Estimate in accordance with Paragraph 4.c. (i.e., a Cost Estimate reflecting cost
adjustments), and for any subsequent reimbursement in that year, submit a Total Louisiana Cost
Estimate if there has been any significant cost adjustments and/or changes to the Louisiana
Phosphogypsum Stack System.
            (5) In addition, Defendant shall when seeking reimbursement from the Louisiana
Phosphogypsum Trust Fund direct the Trustee to provide EPA with a current (i.e., as of a date
within seven (7) Days of the date Defendant is requesting the reimbursement) accounting of the
Louisiana Phosphogypsum Trust Fund.
        e.      Defendant shall when requesting release of funds from the Louisiana
Phosphogypsum Trust Fund meet the requirements of LAC 33:V.3707.A.7 and LAC
33:V.3711.A.7&10, except as modified below:
            (1) Defendant shall not seek release of funds from the Louisiana Phosphogypsum
Trust Fund unless the value of the Louisiana Phosphogypsum Trust Fund equals or exceeds the
Total Louisiana Cost Estimate at the time release is sought.
            (2) Defendant may seek a release of funds when the Louisiana Phosphogypsum Trust
Fund value equals or exceeds the Total Louisiana Cost Estimate only if sufficient funds are
available to cover the Total Louisiana Cost Estimate.

                                                34
                                                                                  Mosaic Appendix 2
            (3) Defendant shall, when seeking a release of funds from the Louisiana
Phosphogypsum Trust Fund, direct the Trustee to provide EPA with a current (i.e., as of a date
within seven (7) Days of Defendant’s request for the release) accounting of the Louisiana
Phosphogypsum Trust Fund.
         f.     Defendant when seeking termination of the Louisiana Phosphogypsum Trust Fund
shall comply with LAC 33:V.3707.A.11 and LAC 33:V.3711.A.12, and Defendant shall not seek
termination of the Louisiana Phosphogypsum Trust Fund until all Phosphogypsum Stack System
Closure and Long Term Care activities have been completed and certified pursuant to Attachment
D, Appendix 1 of the Consent Decree, for all Operating and Closing Facilities.
         g.     Defendant shall pay all taxes of any kind that may be assessed or levied against or
with respect to the Louisiana Phosphogypsum Trust Fund. Defendant shall also pay all expenses
(e.g., brokerage commissions, accounting services, reasonable fees for legal services rendered to
the Trustee, the compensation of the Trustee, costs incurred by the Sub-advisors, penalties, and all
other proper charges and disbursements of the Trustee) incurred by the Trustee in connection with
the administration and management of the Louisiana Phosphogypsum Trust Fund. Defendant
may pay such taxes and expenses by establishing a trust fund account (“T&E Trust Fund
Account”), to be accessed by the Trustee, into which Defendant shall transmit sufficient funds in
advance of the date by which the Trustee is required to pay such taxes and/or expenses. The T&E
Trust Fund Account shall be established and maintained by the Trustee as a separate and distinct
fund from the Louisiana Phosphogypsum Trust Fund. The T&E Trust Fund Account shall be
established on the date that the Louisiana Phosphogypsum Trust Fund is established pursuant to
the Consent Decree. At no time shall there be reimbursement for taxes from the Louisiana
Phosphogypsum Trust Fund except in accordance with Paragraph 30.d., above, and not if such
reimbursement will deplete the corpus (i.e., principle and income) of the Louisiana
Phosphogypsum Trust Fund such that the value of the Louisiana Phosphogypsum Trust Fund no
longer equals or exceeds the Total Louisiana Cost Estimate. In addition, if Defendant seeks
reimbursement for taxes under Paragraph 30.d., there shall by no reimbursement from the
Louisiana Phosphogypsum Trust Fund for penalties owed to the Internal Revenue Service or the
State’s Tax Commission.
         h.     Defendant shall direct the Trustee and shall ensure that EPA receives, in writing,
the following information specified in Paragraphs 30.h.(1)-(3), below. Defendant shall confirm
the information has been received by EPA within five (5) Days of the date due and, if such
information has not been received by EPA, Defendant shall provide the information within twenty
(20) Days of the date the information is due to EPA; provided that if Defendant does not have all
the referenced information in its possession, it shall so notify EPA within twenty (20) Days of the
date the information is due and shall also identify the steps it is taking to obtain access to any such
information it does not have.
            (1) Semi-annual trust fund account statements reporting on the growth of the
Louisiana Phosphogypsum Trust Fund and a list of the investments (including the applicable
rating).
            (2) In connection with all requests for reimbursement or release from the Louisiana
Phosphogypsum Trust Fund, a current (i.e., as of a date within seven (7) Days of Defendant’s
request) accounting of the fund or subaccount as appropriate.
            (3) In the event that Defendant Guarantor’s Liquidity Buffer falls below $1 Billion,
quarterly Louisiana Phosphogypsum Trust Fund account statements and a list of the investments
(including the applicable rating).
                                                  35
                                                                                     Mosaic Appendix 2
         i.      Defendant shall direct the Trustee to invest and re-invest the principal and income
of the Louisiana Phosphogypsum Trust Fund with the express purposes of achieving full funding
(i.e., the value of the Louisiana Phosphogypsum Trust Fund equals or exceeds the Total Louisiana
Cost Estimate) as soon as possible, consistent with prudent investment practices, and managing
the risk levels of such investments to preserve such principal and income as set forth in this
Paragraph 30.i. Defendant shall direct the Trustee to invest and re-invest only in a combination of
Investment Grade corporate securities, Investment Grade municipal securities, and U.S. Treasury
Securities, as specified below in Paragraphs 30.i.(1)-(2) (and as set out in Schedule C of the Trust
Agreement), except for funds deposited from a letter of credit that shall be invested as specified
by Paragraph 30.k., below. Defendant may direct the Trustee, upon EPA written approval that is
not subject to dispute resolution pursuant to Section XI (Dispute Resolution) of the Consent
Decree and is not subject to judicial review, to consider investment in other types of securities or
financial vehicles. Nothing in this Paragraph 30.i. shall alter or waive the rights of EPA or LDEQ
to protect their interest in the Louisiana Phosphogypsum Trust Fund.
             (1) Such investment shall be: (a) no less than forty percent (40%) of the Louisiana
Phosphogypsum Trust Fund shall be U.S. Treasury Securities; (b) commencing twelve (12)
months after the Effective Date, no more than five percent (5%) of the Louisiana Phosphogypsum
Trust Fund shall consist of U.S. Treasury Securities with maturities less than three (3) years (not
including U.S. Treasury Securities originally purchased with a maturity greater than ten (10)
years, and then held to maturity) and all other U.S. Treasury Securities shall have maturities of
three (3) years or more; (c) no more than fifteen percent (15%) of the Louisiana Phosphogypsum
Trust Fund in Investment Grade corporate or municipal securities with ratings by a NRSRO of
BBB/Baa2 (or the equivalent); and (d) the balance that remains of the Louisiana Phosphogypsum
Trust Fund in Investment Grade corporate or municipal securities with ratings by a NRSRO of at
least BBB+/Baa1 (or the equivalent) or above.
             (2) For purposes of this Paragraph 30.i.(2), if a security is rated at different levels by
different NRSROs, the lower of the ratings shall be utilized. In the event of a downgrading of one
or more investments of the Louisiana Phosphogypsum Trust Fund, resulting in either: (i) the
Louisiana Phosphogypsum Trust Fund holds one or more corporate or municipal securities rated
lower than BBB, Baa2 or the equivalent, or (ii) the portion of the Louisiana Phosphogypsum
Trust Fund invested in corporate or municipal securities rated BBB, Baa2 or the equivalent
exceeds fifteen percent (15%), the Trustee shall have a reasonable and prudent period of time to
take steps to conform to the requirements of this Paragraph, 30.i.
         j.      After the Louisiana Phosphogypsum Trust Fund’s value equals or exceeds the
Total Louisiana Cost Estimate, the Louisiana Phosphogypsum Trust Fund shall be invested only
in U.S. Treasury Securities unless EPA in its unreviewable discretion agrees otherwise and the
Parties modify this Appendix in accordance with Section XVIII (Modification) of the Consent
Decree. At such time, the Trustee shall be afforded a reasonable and prudent period of time to
dispose of securities other than U.S. Treasury Securities and to acquire the additional U.S.
Treasury Securities.
         k.      Defendant shall direct the Trustee to invest funds deposited into the stand-by trust
(i.e., Louisiana Phosphogypsum Trust Fund) from the letter of credit into accounts or investments
that have no penalty for immediate withdrawals.
         l.      Defendant shall review the Guarantor’s Liquidity Buffer at the close of every
month, and if Defendant determines that such Liquidity Buffer has fallen below $1 Billion, then
within five (5) Days of the beginning of the following month, Defendant shall direct the Trustee
                                                  36
                                                                                     Mosaic Appendix 2
through amended instructions under the Trust Agreement (i.e., Schedule D, Exhibit B) to provide
EPA and LDEQ with quarterly Louisiana Phosphogypsum Trust Fund account statements and a
list of the securities (including the applicable rating). In addition, Defendant shall notify EPA
within five (5) Days of such a determination (i.e., the Liquidity Buffer has fallen below $1
Billion), and that the Trustee will be submitting quarterly account statements.
         m.      Defendant shall provide the Trustee a copy of this Appendix 2 (and all the
attachments).

31.     Defendant, in lieu of Paragraph 10.f., shall meet the requirements of LAC 33:V.3707.F.10
and LAC 33:V.3711.F.11, as applicable, and as modified below. Defendant shall comply with
only those requirements of LAC 33:V.3707.F.1-8 and LAC 33:V.3711.F.1-8, as referenced in of
LAC 33:V.3707.F.10 and LAC 33:V.3711.F.11, that are set forth in this Paragraph 31.
        a.       Defendant shall provide a written Corporate Guarantee, as specified below, to
cover that portion of its Financial Assurance obligation not covered by the Louisiana
Phosphogypsum Trust Fund established pursuant to Paragraph 30, above.
        b.       Defendant shall, pursuant to of LAC 33:V.3707.F.10 and LAC 33:V.3711.F.11 and
as herein modified, obtain a Corporate Guarantee from a direct or higher-tier parent corporation
of the Defendant, a firm whose parent corporation is also the parent corporation of the Defendant,
or a firm with a Substantial Business Relationship with the Defendant. If the Guarantor’s parent
corporation is also the parent corporation of the Defendant, the letter from the CFO specified in
Paragraph 31.h.(4), below, shall describe the value received in consideration of the Guarantee. If
the Guarantor is a firm with a Substantial Business Relationship with the Defendant, the CFO
Letter must describe this Substantial Business Relationship and the value received in
consideration of the Guarantee.
        c.       Defendant shall maintain the Guarantee until such time as: (1) the value of the
Louisiana Phosphogypsum Trust Fund plus the amount of the letter of credit equals or is greater
than the Total Louisiana Cost Estimate, (2) Defendant directs the Trustee to provide EPA with a
current (i.e., as of a date within five (5) Days of Defendant’s request) accounting of the Louisiana
Phosphogypsum Trust Fund; and (3) EPA affirms in writing to the Defendant that the value of the
Louisiana Phosphogypsum Trust Fund plus the amount of the letter of credit equals or is greater
than the Total Louisiana Cost Estimate.
        d.       Defendant shall, in lieu of LAC 33:V.3719.H as referenced in of LAC
33:V.3707.F.10 and LAC 33:V.3711.F.11, provide a written Guarantee using the exact wording
specified in Form 5-B, Attachment D of this Appendix. A copy of the executed Guarantee shall
accompany the items listed in Paragraph 31.h., below.
        e.       Defendant shall provide a Corporate Guarantee that, pursuant to of LAC
33:V.3707.F.10.a and LAC 33:V.3711.F.11.a except as herein modified, requires that if
Defendant fails to perform Phosphogypsum Stack System Closure and/or Long Term Care in
accordance with the Initial Closure Plan and/or Permanent Closure Plan and other applicable
requirements under the Consent Decree whenever required to do so, the Guarantor shall undertake
such performance or establish alternate Financial Assurance in accordance with Section III.A
(Type A Financial Assurance), except for Paragraph 10.a.(1)(c), in the name of the Defendant in
the amount at least equal to the Louisiana Financial Assurance Delta.
        f.       Defendant shall provide a Corporate Guarantee that requires Defendants’
Guarantor to provide a Representation and Certification as worded in Attachment H of this
Appendix.
                                                37
                                                                                   Mosaic Appendix 2
        g.      Defendant shall provide a Guarantee that requires the Guarantor to send notice to
Defendant and EPA within five (5) Days of determining that: (1) the Guarantor is unable to
provide a Representation and Certification; (2) the Guarantor becomes aware of changes in the
Guarantor’s financial condition that would invalidate or otherwise be inconsistent with the terms
of the existing Representation and Certification; (3) the Guarantor becomes aware of changes in
the Guarantor’s Total Cost Estimate that would invalidate or otherwise be inconsistent with the
terms of the Representation and Certification; or (4) the Guarantor is unable to meet the
conditions of the Guarantee. Defendant and the Guarantor agree that: (i) such notice shall be
admissible in evidence in any litigation between the Parties and create a presumption that the
Guarantor cannot provide the required Representation and Certification, and that the Guarantor
cannot perform Phosphogypsum Stack System Closure and/or Long Term Care at the Operating
and Closing Facilities or establish alternate Financial Assurance in accordance with Section III.A
(Type A Financial Assurance) in an amount that is at least equal to the Financial Assurance Delta
and (ii) Defendant and the Guarantor may rebut this presumption only by clear and convincing
evidence. Such Guarantee shall also include that any notice by the Guarantor of its inability to
provide the Representation and Certification, or notice of Guarantor’s inability to comply with the
requirements of the Guarantee, incorporates a statement by the Guarantor of the value of the
guaranteed obligations that the Guarantor lacks the financial resources to cover. In the event that
the Guarantor provides such notice, Guarantor shall make available financial resources to the
Defendant so that the Defendant can meet its Financial Assurance obligation under the Consent
Decree.
        h.      Defendant shall provide a Guarantee, in lieu of LAC 33:V.3707.F.3&5 and LAC
33:V.3711.F.3&5 except as herein modified, that includes information required in Paragraph
31.h.(1)-(8), below. The information required in Paragraph 31.h.(1)-(8) shall be submitted to
EPA, in accordance with the schedule and deadlines in Paragraph 29.d.,of each year the Guarantor
is providing a Guarantee. Defendant Guarantor’s failure to timely submit the information
required below shall not excuse Defendant from providing Financial Assurance.
            (1) The value of the Guarantor’s: (a) assets located in the United States; (b) Tangible
Assets located in the United States; and (c) the Liquidity Buffer. This information shall be
captured in the Guarantor’s CFO Letter as required under Paragraph 31.h.(4), below.
            (2) If more than sixty percent (60%) of the Guarantor’s tangible assets are in the form
of one or more note receivables from one or more Related Parties, an originally signed
certification from the Guarantor’s CFO together with a list of each receivable, the name of the
Related Party, and a description (along with any necessary documentation) of the Related Parties
financial strength to demonstrate that each Related Party maintains the financial strength to meet
its obligation to the Guarantor. Such information shall accompany the Guarantor’s CFO Letter
required in Paragraph 31.h.(4), below.
            (3) A list of the “Environmental Obligations” and associated cost estimates for the
obligations covered by a financial test or guarantee of the Guarantor. The information shall be
captured in the Guarantor’s CFO Letter as required under Paragraph 31.h.(4), below.
            (4) A letter signed by Guarantor’s CFO worded exactly as specified in Form 4-C,
Attachment D of this Appendix (CFO Letter).
            (5) A copy of the independent CPA report on examination of the Guarantor’s audited
financial statements for the latest completed fiscal year that Guarantor is providing the Corporate
Guarantee.
            (6) A copy of Guarantor’s audited financial statements for the last completed year.
                                                38
                                                                                  Mosaic Appendix 2
            (7) A Representation and Certification signed by the Guarantor’s CFO worded exactly
as specified by Attachment H of this Appendix. Such Representation and Certification shall
accompany the Guarantor’s CFO Letter required in Paragraph 31.h.(4), above.
            (8) A report of procedures and findings from the Guarantor’s independent CPA,
resulting from an agreed-upon procedures engagement performed in accordance with the AICPA
Statement on Standards for Attestation Engagements, AT Section 201 - Agreed Upon Procedures
Engagements (including AICPA related attestations interpretations), as updated, that describes the
procedures performed and related findings, including whether or not differences or discrepancies
were found in the comparison of specified financial information set out in the letter (including
attachments and exhibits to the extent specified in the letter) from the Guarantor’s CFO and the
Guarantor’s Independently Audited, year-end financial statements for the last fiscal year,
including all attachments. Where differences or discrepancies exist between Guarantor’s CFO
Letter and the Guarantor’s Independently Audited year-end financial statements, the report of
procedures and findings shall reconcile any differences or discrepancies between the values or
information represented in the Guarantor’s CFO Letter and the Guarantor’s Independently
Audited financial statements. The independent CPA’s report on agreed-upon procedures shall
also confirm the firm’s values represented in Section I, Paragraphs 11 and 12, and in Sections II,
line items 3 and 5 of the Guarantor’s CFO Letter are calculated correctly pursuant to the
requirements under Section I, Paragraphs 11 and 12, and Section II, of the Guarantor’s CFO
Letter and are in accordance with GAAP. Procedures to be performed by the independent CPA
shall be in accordance with AT Section 201.
        i.       Defendant shall provide a Guarantee that requires that the Guarantor provide
notice that it is a debtor in a voluntary or involuntary proceeding under Title 11 (Bankruptcy)
U.S. Code.
        j.       Defendant shall send notice to EPA within five (5) Days of the Defendant’s
determination that the Guarantor is unable to meet its obligations under Recital 2 of the
Guarantee. Defendant shall, in the event Defendant’s Guarantor is unable to meet its obligations
under Recital 2 of the Guarantee as determined by the Defendant or as provided in notice by the
Guarantor, provide alternate Financial Assurance in accordance with this Appendix (except for
Paragraph 10.a(1)(c)), in an amount no less than the Louisiana Financial Assurance Delta.
Defendant shall provide such alternate Financial Assurance within thirty (30) Days of its
determination or having received notice from the Guarantor. Defendant shall not seek dispute
resolution pursuant to Section XI (Dispute Resolution) of the Consent Decree, and shall not seek
judicial review, regarding its determination or the Guarantor’s notice that the Guarantor is unable
to meet the obligations of Recital 2 or that the Defendant is required to provide alternate Financial
Assurance. In the event that Defendant cannot provide alternate Financial Assurance within thirty
(30) Days, Defendant may seek pursuant to Paragraph 27.c., above, a compliance plan and
schedule.
        k.       Defendant shall, in the event EPA notifies Defendant that the Guarantor no longer
meets its obligations under Recital 2 of the Guarantee or pursuant to of LAC 33:V.3707.F.8 and
LAC 33:V.3711.F.8 is disallowed from continuing as a Guarantor because an independent CPA
has issued in the report on examination of the Guarantor’s audited financial statements an adverse
opinion or a disclaimer of opinion, provide alternate Financial Assurance in an amount no less
than the Louisiana Financial Assurance Delta. Defendant shall provide alternate Financial
Assurance within thirty (30) Days of EPA’s notice. In the event that Defendant cannot provide
alternate Financial Assurance within thirty (30) Days, Defendant may request, pursuant to
                                                 39
                                                                                    Mosaic Appendix 2
Paragraph 27.c., above, a compliance plan and schedule. Dispute resolution and judicial review
shall proceed pursuant to Section XI (Dispute Resolution), as modified below:
             (1) In the event that Defendant seeks judicial review of an EPA determination that the
Guarantor no longer meets its obligations under Recital 2 of the Guarantee:
             (a) The standard of review shall be that set forth in Paragraph 81.a. of the Consent
             Decree; and
             (b) If the United States prevails, the Defendant or Guarantor shall immediately provide
             alternate Financial Assurance in accordance with EPA’s Statement of Position or as
             directed by the Court in its resolution of the dispute.
             (2) In any dispute resolution, including judicial review, of EPA’s determination that
the Guarantor can no longer continue as the Guarantor based on an adverse opinion or disclaimer
of opinion by the Guarantor’s independent CPA, the following conditions shall apply in addition
to those set forth in Paragraph 31.k.(1)(a) and (b), above:
             (a) Defendant shall not contend that the adverse opinion or disclaimer of opinion was
        invalid or erroneous when issued, and shall have the burden of demonstrating by clear and
        convincing evidence that the conditions giving rise to the adverse opinion or disclaimer of
        opinion no longer exist;
             (b) The time periods specified in Section XI (Dispute Resolution) of the Consent
        Decree shall be as follows: (i) Notice of Dispute, under Paragraph 76 of the Consent
        Decree, shall be submitted within seven (7) Days of receiving an EPA determination that
        Defendant disputes; (ii) the period of informal negotiations shall not exceed ten (10) Days;
        (iii) Defendant’s written Statement of Position, pursuant to Paragraph 77 of the Consent
        Decree, shall be submitted within seven (7) Days after the conclusion of the informal
        negotiation period; and (iv) EPA’s Statement of Position, pursuant to Paragraph 78 of the
        Consent Decree, shall be submitted within twenty (20) Days of receipt of Defendant’s
        Statement of Position;
             (c) Defendant’s (or Guarantor’s) obligation to provide alternate Financial Assurance
        in accordance with EPA’s Statement of Position shall become effective seven (7) Days
        after the conclusion of the formal dispute resolution period specified in Paragraph
        31.k.(2)(b), above, unless Defendant seeks judicial review prior to that date. Defendant
        shall not seek judicial review after that date;
             (d) In the event that Defendant seeks judicial review, Defendant’s (or Guarantor’s)
        obligation to provide alternate Financial Assurance in accordance with EPA’s Statement
        of Position shall become effective twenty-one (21) Days after the conclusion of the formal
        dispute resolution period, unless modified or stayed by the Court prior to that date;
             (e) Defendant shall not subsequently seek a stay by the Court; and
             (f) If the Court has not acted upon Defendant’s petition by the date that Defendant’s
        (or Guarantor’s) obligation to provide alternate Financial Assurance becomes effective,
        Defendant shall immediately dismiss with prejudice its petition for judicial review and
        Defendant (or Guarantor) shall provide the required alternate Financial Assurance.
        l.       Defendant shall establish within thirty (30) Days alternate Financial Assurance for
the Financial Assurance Delta if any of the following occurs: (1) the Guarantor does not provide a
Representation and Certification as required; (2) the Guarantor provides notice that it is unable to
provide the Representation and Certification; (3) the Guarantor becomes aware of changes in the
Guarantor’s financial condition that would invalidate or otherwise be inconsistent with the terms
of the Representation and Certification; (4) the Guarantor becomes aware of changes in the Total
                                                40
                                                                                   Mosaic Appendix 2
Cost Estimate that would invalidate or otherwise be inconsistent with the terms of the
Representation and Certification; or (5) the Guarantor is unable to meet the conditions of the
Guarantee. Such alternate Financial Assurance shall be established in accordance with Section
III.A. (Type A Financial Assurance), except for Paragraph 10.a.(1)(c). In the event that
Defendant cannot provide alternate Financial Assurance within thirty (30) Days, Defendant may
seek pursuant to Paragraph 27.c., above, a compliance plan and schedule.
         m.      Defendant shall, in the event that EPA determines and notifies the Defendant that
the Guarantor is unable to provide a valid or adequate Representation and Certification as
required by the Guarantee, provide alternate Financial Assurance in an amount no less than the
Louisiana Financial Assurance Delta. Defendant shall provide alternate Financial Assurance
within thirty (30) Days of EPA’s determination and notice. In the event that Defendant cannot
provide alternate Financial Assurance within thirty (30) Days, Defendant may seek pursuant to
Paragraph 27.c., above, a compliance plan and schedule. In the event that Defendant seeks
judicial review of EPA’s determination under this Paragraph 31.m., and the United States
prevails, the Defendant or Guarantor shall provide alternate Financial Assurance as directed by
the Court in the resolution of the dispute.
         n.      Defendant shall, if the Guarantor cancels the Guarantee (Attachment I), provide
alternate Financial Assurance in accordance with Section III.A (Type A Financial Assurance) of
Appendix 2, except that such alternate Financial Assurance for the Guarantee shall not (unless
EPA, in its sole unreviewable discretion, approves) be provided pursuant to Paragraph 10.a.(1)(c).
         o.       Defendant shall provide a Guarantee, in accordance with LAC 33:V.3707.F.10.b-
c and LAC 33:V.3711.F.11.b-c, and modified as follows: (1) alternate Financial Assurance under
the terms of the Guarantee shall be in accordance with Section III.A (Type A Financial
Assurance) of Appendix 2; and (2) such alternate Financial Assurance for the cancelled Guarantee
shall not be provided pursuant to Paragraph 10.a.(1)(c). In addition, Defendant shall provide a
Guarantee which states that the Guarantor shall not assign, transfer, delegate, or convey the
obligations or terms of this Guarantee to its successor, another person or entity, or a corporate
affiliate, unless after notice to EPA, EPA, in its unreviewable discretion, approves the change in
Guarantor.
         p.      Defendant shall provide the Guarantor a copy of the Consent Decree, including all
Appendices.
         q.       Defendant shall when required to provide information to any governmental entity
regarding obligations under federal and state law that are assured through the use of a financial
test or a guarantee, include the Financial Assurance coverage provided for by the Guarantee
required pursuant to this Section VIII.A (Compliance Schedule: Type A Financial Assurance) of
the Appendix. In addition, Defendant’s Guarantee shall require that the Guarantor, when required
to provide information to any governmental entity regarding obligations under federal and state
law that are assured through the use of a financial test or guarantee, to include the Financial
Assurance coverage provided for by the Guarantee required pursuant to this Section VIII.A of this
Appendix.

B.     Type B Financial Assurance

32.    In the event that a Defendant providing Financial Assurance pursuant to Section III.B
(Type B Financial Assurance) notifies EPA pursuant to Paragraph 15.e.(4), above, that Defendant
(or Defendant’s Guarantor) no longer satisfies the corporate financial test criteria due to

                                               41
                                                                                 Mosaic Appendix 2
information that has come to its attention pursuant to Paragraph 15.e.(6)(c), above, Defendant
within ten (10) Days of such notice shall provide additional or alternate Financial Assurance as
set forth below:
          a.     If Defendant fails to satisfy the corporate financial test criteria and requirements of
Paragraph 15.e., above, for each quarter in a given fiscal year (not including the fourth quarter
(i.e., fiscal year-end)), except as provided in Paragraph 32.b., below, Defendant shall increase the
face value or the corpus of the Third-Party Mechanism by twenty-five percent (25%). If
Defendant can satisfy the corporate financial test criteria by the fiscal year-end (i.e., in its annual
submission pursuant to Paragraph 15.e.(3), above) and Defendant’s quarterly review under
Paragraph 15.e.(6)(b) for the following fiscal year does not result in notification from Defendant
that it does not satisfy the corporate financial test, Defendant can request and EPA will authorize
the release of funds or a reduction in the value of the Third-Party Mechanism commensurate with
the contemporaneous Cost Estimate and requirements of Paragraph 15.e. of this Appendix.
          b.     If Defendant fails to satisfy the corporate financial test criteria and requirements of
Paragraph 15.e., above, for any two (2) consecutive quarters in a given fiscal year (not including
the fourth quarter (i.e., fiscal year-end)), Defendant shall provide alternate Financial Assurance in
accordance with Paragraph 18 of this Appendix. If Defendant can satisfy the corporate financial
test criteria by the fiscal year-end (i.e., in its annual submission pursuant to Paragraph 15.e.(3))
and its annual submissions pursuant to Paragraph 15.e.(3), above, for the following two (2) fiscal
years do not trigger Paragraphs 15.e.(4) or 15.e.(5), above, EPA upon Defendant’s request will
authorize a release of the funds or a reduction in the value of the Third-Party Mechanism(s) so
that the value of the Third-Party Mechanism is commensurate with the minimum threshold
funding for a Third-Party Mechanism as specified in Attachment E plus an additional twenty-five
percent (25%) of the Cost Estimate.
          c.     Defendant shall be deemed to be without Financial Assurance for purposes of
enforcement (but not for accessing or collecting Financial Assurance should it be necessary) if
Defendant fails to meet a compliance schedule. Failure to timely comply with a compliance
schedule or to provide alternate Financial Assurance pursuant to this Section VIII.B (Compliance
Schedule: Type B Financial Assurance) is not subject to the provisions of Section VII (Temporary
Non-Compliance) of this Appendix.

IX. Business Transactions

33.   No transfer of ownership or operation of a Facility shall relieve Defendant of its Financial
Assurance obligations under this Consent Decree, except as provided by this Section X (Force
Majeure) and Section II (Applicability) of the Consent Decree.

34.     At least thirty (30) Days prior to any transfer, Defendant shall submit to EPA information
explaining the proposed transfer in detail and stating whether Defendant requests the transfer of
its Financial Assurance responsibilities to the Transferee pursuant to Section II (Applicability) of
the Consent Decree and Paragraph 35.b, below.

35.     In the event of a transfer of a Facility’s ownership or operation:
        a.      If Defendant is to retain its Financial Assurance obligations upon the transfer of
the Facility, Defendant, based on a Cost Estimate in Current Dollars, shall establish and fund a
trust fund, or obtain a surety bond or letter of credit in accordance with this Appendix. Any

                                                  42
                                                                                      Mosaic Appendix 2
existing trust fund established pursuant to Paragraph 10.a.(1)(c) shall remain in place. Defendant
shall provide EPA the appropriate documentation evidencing the trust fund, surety bond, or letter
of credit by the date of the Facility transfer. If using a trust fund, the portion of funds vested in
the trust fund that are not required to meet annual withdrawals shall be invested in U.S. Treasury
Bills, or market-based notes and bills that achieve an investment goal or preservation of principle
and guarantee an inflation-adjusted rate of return no less than the 30-Year Treasury Constant
Maturity Rate average for the previous twelve (12) months from the date of the annual Cost
Estimate. If Defendant wishes to propose alternate Financial Mechanism(s) in lieu of the trust
fund, surety bond, or letter of credit, Defendant at least thirty (30) Days prior to the transfer shall
submit an originally signed CFO Certification from the Defendant’s CFO, together with
supporting documentation, explaining the compelling reasons why the proposed alternate
Financial Mechanism is being requested and is an equivalent substitute for the trust fund, surety
bond, or letter of credit. Upon EPA’s approval, which shall be subject to dispute resolution
pursuant to Section XI (Dispute Resolution) of the Consent Decree but shall not be subject to
judicial review, Defendant shall establish the approved Financial Assurance. If by the date of the
transfer, EPA does not approve such a request or the Defendant has not put in place the approved
Financial Assurance, then Defendant shall fully fund the trust fund or obtain a surety bond or
letter of credit, as described above.
         b.      If Transferee agrees to assume Defendant’s Financial Assurance obligations,
Defendant shall submit to EPA for approval an originally signed certification by Transferee’s
CFO, together with supporting documentation, explaining in detail its ability to provide Financial
Assurance pursuant to the requirements of this Appendix (except for Paragraph 10.a.(1)(c)) and
agreeing to provide the Financial Assurance if approved by EPA pursuant to Section II
(Applicability) of the Consent Decree. Defendant shall comply with the requirements of
Paragraph 35.a., above, until: (1) EPA has approved Transferee’s proposed Financial Assurance;
(2) the United States, after consultation with Louisiana, consents to the transfer of obligations
pursuant to Section II (Applicability) of the Consent Decree; (3) Transferee has established the
approved Financial Assurance; and (4) EPA has given its consent for Defendant to terminate its
Financial Assurance. If Defendant is providing Financial Assurance pursuant to Paragraph
10.a.(1)(c) of this Appendix, and if the Transferee is acquiring all of the Defendant’s Operating
and Closing Facilities in Louisiana, then the Louisiana Phosphogypsum Trust Fund (see
Paragraph 30.b), and if still in existence, the required Guarantee (see Paragraph 31.c) and the
required letter of credit, will be the Financial Assurance subject to Paragraph 35.b.(4) that may be
terminated.

36.     If Defendant is providing Financial Assurance through the use of any Financial
Mechanism other than the exclusive use of a fully funded trust fund in Current Dollars, in the
event of a business transaction that results, or Defendant determines will result, in an adverse
material change to Defendant’s financial or corporate structure such that Defendant or its
successor (or a Guarantor of Defendant or its successor) has insufficient operating cash flow or
Tangible Assets to cover the long-term (greater than one (1) year) financial liabilities as
represented on the Defendant’s or successor’s audited balance sheet and to comply with the
Financial Assurance requirements of this Consent Decree, Defendant shall provide notice to EPA
within fourteen (14) Days of identifying such adverse material change and comply with the
requirements for Financial Assurance in Paragraph 35.a., above.

                                                  43
                                                                                      Mosaic Appendix 2
37.      If Defendant becomes a private company, Defendant shall provide, in addition to the CFO
Letter in Attachment D (Forms 4), a full accounting of its financial condition and a certification
from the CFO that the Defendant expects to have sufficient operating cash flow or Tangible
Assets located in the United States to cover long-term (greater than one (1) year) financial
liabilities as represented in the audited financial statements and to comply with the Financial
Assurance requirements of this Consent Decree Defendant shall make such a certification as long
as Defendant provides a Self-Assurance Mechanism a part of its Financial Assurance.

X. Reservation of Rights

38.     If EPA determines at any time that the Financial Assurance provided by Defendant no
longer satisfies the requirements of this Consent Decree, it shall notify Defendant. EPA may base
this determination on Defendant’s failure to provide notices or documentation required by this
Appendix as well as on a substantive evaluation of Defendant’s Financial Assurance. Within
thirty (30) Days of written notice from EPA that Defendant’s Financial Assurance no longer
satisfies the requirements of this Consent Decree, Defendant shall submit to EPA for approval
revised or alternate Financial Assurance that satisfies the requirements of this Consent Decree.
Defendant shall not cancel the existing Financial Assurance until the revised or alternate Financial
Assurance has been approved by EPA and EPA has provided written consent permitting
Defendant to cancel the existing Financial Assurance. Failure to timely provide alternative
Financial Assurance as required by this Section (or any Paragraph of this Appendix that
references this Section) is not subject to the provisions of Section VII of this Appendix. EPA’s
determination shall be subject to dispute resolution pursuant to Section XI (Dispute Resolution) of
this Consent Decree, but not judicial review, and the time frames for notices and submissions
under the dispute resolution process shall be reduced by half (e.g., under Informal Dispute
Resolution Defendant shall submit its Notice of Dispute within fifteen (15) Days). In the event
that Defendant is providing Financial Assurance pursuant to Paragraph 10.a.(1)(c), and there is a
conflict between this Paragraph 38 and Paragraph 31, then the provisions of Paragraph 31 shall
control, except that the time frames for notices and submissions under Section XI (Dispute
Resolution) of this Consent Decree shall be reduced by half unless otherwise specified in
Paragraph 31 of this Appendix.




                                                44
                                                                                   Mosaic Appendix 2
Attachment A
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The following is the form of the Chief Financial Officer’s (“CFO”) certification that shall be
used when required under Appendix 2 of the Consent Decree.

                              Chief Financial Officer Certification

        I hereby certify as the Chief Financial Officer [or insert, as appropriate, “a duly
designated corporate officer”] of Mosaic Fertilizer, LLC, under penalty of law, in accordance
with the requirements of [insert the specific Section/Paragraph of Appendix 2] of the Consent
Decree entered by the [insert the District Court designation and case information] that [insert
the substance of the certification being made and any additional information that is relevant for
the certification]. Based on my inquiry of persons directly responsible for gathering the
information for this certification (and any attached documentation), the information submitted is,
to the best of my knowledge and belief, true accurate and complete. I am aware that there are
significant penalties for submitting false information, including possible fine and imprisonment
for knowing violations.

       [If required under Appendix 2 as part of the CFO Certification.] I have attached as
supporting documentation: [insert a description of/information on the supporting
documentation.]

Date:          ___________________

Name:          ___________________

Title:         ___________________

Company:       ___________________

Address:       ___________________

Telephone Number: _______________

E-mail:        ___________________




                                                                                              Mosaic
                                                                            Appendix 2, Attachment A
Attachment B
Attachment B

                            PHOSPHOGYPSUM STACK SYSTEM
                       CLOSURE AND LONG TERM CARE COST ESTIMATE

Date:    ____________                                       Date of Review:        ______________________________

                                                            Reviewer Signature: _______________________________


INSTRUCTIONS:

1.       The Phosphogypsum Stack System Closure and Long Term Care Cost Estimate is to be adjusted annually.
Such adjustments may be made by either: (i) use of an inflationary factor (an “Inflation Adjustment”), or (ii) by
recalculating the costs in Current Dollars reflecting cost adjustments (e.g., revised treatment protocols, treatment
costs, additional studies, material and labor cost) (a “Recalculated Adjustment”). See Paragraph 4.a., Appendix 2,
Consent Decree. This form shall be used to provide the information regarding the adjustments to the Cost Estimate
and submitted annually as directed in Section II (Cost Estimate) of Appendix 2, of the Consent Decree, unless
otherwise specified in Appendix 2 or the Consent Decree.

2.        The annual update to the Cost Estimate shall be a Recalculated Adjustment performed pursuant to
Paragraph 4.c. Appendix 2 in 2017 and every five years thereafter. In other years, the update may be either an
Inflation Adjustment or a Recalculated Adjustment performed pursuant to Paragraph 4.a. of Appendix 2.

3.       This form shall also be used when required to provide an Updated Cost Estimate as set out in Appendix 2.
For example, this form shall be used for an Updated Cost Estimate that is to be provided at least sixty (60) days prior
to constructing a lateral expansion at an Operating Facility (see Paragraph 4.c.(2)(i) of Appendix 2).

4.       Fill in all sections, below, as appropriate. If using the inflationary factor, fill in Section II.A, below. If
recalculating the costs in Current Dollars, fill in Section II.B, below.

5.      This form is to be sent to the appropriate individual(s) identified in Section XV (Notices) of the Consent
Decree.

6. All Cost Estimates entered on this form may be rounded to the nearest hundred thousand dollars.


I.       GENERAL INFORMATION

Facility Name:     __________________________________________________ EPA ID #: __________________

Facility Address: _______________________________________________________________________________

Owner/Operator: _______________________________________________________________________________

Mailing Address: _______________________________________________________________________________

                   _______________________________________________________________________________


II.      COST ESTIMATE ADJUSTMENT

Please check below the appropriate boxes identifying the type of Cost Estimate adjustment under this Section. In
addition, Defendant shall complete Attachments B-1 and, if needed, Attachments B-2 and B-3, unless providing
Financial Assurance pursuant to Paragraph 10.a.(1)(c) of Appendix 2, in which case Defendant need not provide
Attachments B-2 and B-3 and need only provide Attachment B-1 when providing the Updated Cost Estimate pursuant



                                                                                                                     Mosaic
                                                                                                   Appendix 2, Attachment B
to Paragraph 4.c.(2). Requirements under the Consent Decree for Cost Estimate are found in Appendix 2, Section II,
of the Consent Decree.

         A.        Inflation Adjustment to Cost Estimate

          The Cost Estimate may be adjusted for inflation by using an inflation factor. Please follow the instructions
below in each subsection to derive the inflation factor that must be used when adjusting the Cost Estimate for
inflation. If providing Financial Assurance pursuant to Appendix 2, Subsection III.A, of the Consent Decree, complete
subsections A(1)-(2), below. If providing Financial Assurance pursuant to Appendix 2, Subsection III.B of the
Consent Decree, complete subsections A(1) & (3), below. Use of an inflation factor may only occur when there is a
Phosphogypsum Stack System Closure and Long Term Care Cost Estimate and a periodic re-evaluation of the Cost
Estimate is not required under Section II of Appendix 2 (e.g., Paragraph 4.c.).

Inflation Factor

           When adjusting for inflation to update the current dollar Cost Estimate in subsection A(1) and A(2), below,
the inflation factor must be derived from the most recent Implicit Price Deflator for Gross National Product (“Deflator”)
published by the U.S. Department of Commerce in its Survey of Current Business. The inflation factor is the result of
dividing the latest published annual Deflator by the Deflator in effect at the time of the latest current dollar Cost
Estimate. Attachment B, Exhibit 1 provides information (and examples) to use when deriving the imputed deflators
for the annual inflationary adjustments under Appendix 2. See also Appendix 2, Paragraphs 4.a.(1) and 4.a.(2), of the
Consent Decree. (For additional information and guidance see 40 C.F.R. §§ 264.142(b)(1)&(2) and
264.144(b)(1)&(2).)


[x] Latest Published or Imputed Quarterly Deflator
     (see Attachment B, Exhibit 1 (insert value from Cell 4E):                               _____________
[y] Quarterly Deflator in effect at the time of the latest current
    dollar Cost Estimate ([identify the Deflator date]):                            _____________
[x] ÷ [y] Inflation Factor:                                                         _____________


         (1)       Adjusted Phosphogypsum Stack System Closure Cost Estimate – Current Dollars

         The adjustment under this subsection is based on the latest Recalculated Adjustment for the
Phosphogypsum Stack System Closure Cost Estimate dated _____. Phosphogypsum Stack System Closure and
associated Water Management costs represented in this subsection are in Current Dollars. To update the
Phosphogypsum Stack System Closure Cost Estimate for inflation take the latest Phosphogypsum Stack System
Closure and the associated Water Management costs, multiplying each cost by the most recent inflation factor, then
add together the two resulting costs. Complete the steps as instructed, placing the information in the line items
designated below. See Appendix 2, Paragraphs 4.a.(1) and 4.a.(2), of the Consent Decree. (For additional
information and guidance see 40 C.F.R. §§ 264.142(b)(1)&(2).)

Phosphogypsum Stack System Closure cost (latest):                                   _____________
Associated Water Management cost (latest):                                          _____________


         Phosphogypsum Stack System                        Inflation Factor         Inflation Adjusted Phosphogypsum
         Closure cost (latest current dollar                                        Stack System Closure cost
         cost estimate)
         _________________________               X         _____________      =     __________________________


         Associated Water Management                       Inflation Factor         Inflation Adjusted Associated
         cost (latest current dollar cost                                                     Water Management cost
         estimate)

         _________________________               X         _____________      =     __________________________




                                                                                                               Mosaic
                                                                                             Appendix 2, Attachment B
Inflation Adjusted Phosphogypsum         Inflation Adjusted Associated            Phosphogypsum Stack System
Stack System Closure cost                Water Management cost                    Closure Cost Estimate

____________________            +        __________________              =        __________________________



         (2)      Adjusted Long Term Care Cost Estimate – Current Dollars

The adjustment under this subsection is based on the latest Recalculated Adjustment for the Long Term Care Cost
Estimate dated ________, for all years of Long Term Care remaining. Long Term Care and associated Water
Management costs represented in this subsection are in Current Dollars. To update the Long Term Care Cost
Estimate for inflation take the latest Long Term Care and the associated Water Management costs, multiplying each
cost by the most recent inflation factor, then add together the two resulting costs. Complete the steps as instructed,
placing the information in the line items designated below. See Appendix 2, Paragraphs 4.a(1) and 4.a(2), of the
Consent Decree. (For additional information and guidance see 40 C.F.R. §§ 264.144(b)(1)&(2).)

Long Term Care cost (latest):                                                        _____________
Associated Water Management cost (latest):                                           _____________


         Long Term Care cost                           Inflation Factor              Inflation Adjusted Long Term
         (latest current dollar cost estimate)
                                                                                              Care cost

         _________________________               X     _____________          =      __________________________


         Associated Water Management                   Inflation Factor              Inflation Adjusted Associated
         cost (latest current dollar cost estimate)                                  Water Management cost

         _________________________               X     _____________          =      __________________________



Inflation Adjusted Long Term             Inflation Adjusted Associated            Long Term Care Cost Estimate
Care cost                                Water Management cost                    (Current Dollars)

____________________            +        __________________               =       __________________________



         (3)      Adjusted Long Term Care Cost Estimate – Net Present Value

         The adjustment is based on the latest Long Term Care Cost Estimate dated _______, for all years of Long
Term care remaining. Long Term Care and associated Water Management costs represented in this subsection are
in NPV. To update the Long Term Care Cost Estimate for inflation, complete the following steps as instructed and
place the information in the line items designated below:

         (i)      To determine the Long Term Care and associated Water Management Costs in Current Dollars,
                  calculate the costs as instructed in subsection A(2), above, filling in the necessary information.
         (ii)     To inflate forward the current Long Term Care and associated Water Management costs for all
                  remaining years of Long Term Care, adjust the costs as instructed in Attachment B-2, adjusting
                  each year’s costs by the inflation factor specified in Attachment B-2. (For additional reference
                  information, see Paragraph 4.d., Appendix 2, of the Consent Decree.)
         (iii)    Using each year’s adjusted costs due to inflation, place the information from Attachment B-2 in the
                  corresponding line items located in Attachment B-3.
         (iv)     Following the instructions for Attachment B-3 to determine the present value of Long Term Care
                  and associated Water Management costs for each year. To derive the net present value dollars for
                  inflation adjusted Long Term Care, add each year’s present value for Long Term Care costs; to



                                                                                                                Mosaic
                                                                                              Appendix 2, Attachment B
                  derive the net present value dollars for the inflation adjusted associated Water Management, add
                  each year’s present value for the associated Water Management costs.
         (v)      Insert, below, the inflation adjusted Long Term Care and associated Water Management costs in
                  net present value; these totals must be taken from Attachment B-3. To obtain the Long Term Care
                  Cost Estimate (NPV), add together the inflation adjusted Long Term Care and associated Water
                  Management costs in net present value.

Inflation Adjusted Long Term Care costs (NPV)
(total of Column [C] of Attachment B-3):                                          _____________________
Inflation Adjusted Associated Water Management costs (NPV)
(total of Column [E] of Attachment B-3):                                          _____________________

Long Term Care Costs Estimate (NPV):                                              _____________________



Cost Estimate Using Inflation Factor

          To determine the totals costs to be covered by Financial Assurance, add together the Phosphogypsum
Stack System Closure Cost Estimate and the appropriate Long Term Care Cost Estimate (subsection A(2) or A(3) of
this Attachment). The sum of the two Cost Estimates will provide the Total Cost Estimate.

Phosphogypsum Stack System Cost Estimate:                                                  __________________
Long Term Care Cost Estimate
        ([identify the subsection]):                                                       __________________

Total Cost Estimate Financial Assurance Under [identify Subsection of Appendix 2]:         __________________


          B.        Recalculated Adjustment to Cost Estimate
           If performing a Recalculated Adjustment, and providing Financial Assurance pursuant to Section III.A,
Appendix 2, of the Consent Decree, submit the certification from the independent qualified professional engineer (box
1). If recalculating the costs, which are in Current Dollars, and providing Financial Assurance pursuant to Section
III.B, Appendix 2, of the Consent Decree, submit the certification from the independent qualified professional engineer
(box 1) and the certification from [insert Defendant’s name] (box 2), with the calculations underpinning Long Term
Care and associated Water Management costs in present value.


         (1)      Certification by Third-party Engineer

            This is to certify that the estimate of Phosphogypsum Stack System Closure and Long Term Care costs
specified below and in Attachment B-1, pertaining to the engineering features of this Phosphogypsum Stack System,
have been examined by me and found to conform to engineering principles applicable to such systems. In my
professional judgment, the Cost Estimate is a true, correct and complete representation of the estimated financial
liabilities for Phosphogypsum Stack System Closure and Long Term Care of the facility as of [date], performed in
accordance with the methodology set forth in Section II, Appendix 2, of the Consent Decree

    (a) Phosphogypsum Stack System Closure Cost Estimate:                                  _____________________
            1. Phosphogypsum Stack System Closure costs ($ [insert current costs])
            2. Associated Water Management costs ($ [insert current costs])
    (b) Long Term Care Cost Estimate:                                                      _____________________
            1. Long Term Care costs ($ [insert current costs])
            2. Associated Water Management costs ($ [insert current costs])
    (c) Total Cost Estimate:                                                               _____________________
        (Add lines (a) and (b), above.)


________________________________________                                 _______________________________
Signature of Engineer                                                    Florida Registration Number (affix seal)

________________________________________


                                                                                                             Mosaic
                                                                                           Appendix 2, Attachment B
Name & Title (please type)

________________________________________

________________________________________
Mailing Address

________________________________________
Telephone Number

_______________________________________
Engineer E-Mail Address

         (2)      Certification by [insert Defendant’s name]


         The present value for the Long Term Care and associated Water Management costs, as represented below
and in Attachments B-2 and B-3, has been calculated by [insert Defendant’s name] is in accordance with the
requirements of the Consent Decree and is represented in the Chief Financial Officer’s letter (Attachment C,
Appendix 2, of the Consent Decree), as calculated in this Attachment. It is understood that Attachment B-2 (Adjusting
Long Term Care and Associated Water Management Costs to Calculate Current (Then-Year) Dollars) and
Attachment B-3 (Present Value of Long Term Care and Associated Water Management), shall be submitted to the
EPA [and State], whenever [insert Defendant’s name] is required to, or determines to, recalculate the Cost Estimate.
[Note: The independent Certified Public Accountant (“CPA”) has, as part of the CPA’s report under Paragraph
15.e.(3)(d), Appendix 2, reviewed calculations in Attachment B-2 and B-3.]
         The costs to be used in Attachments B-2 and B-3 have been based on the Long Term Care and associated
Water Management costs certified by the independent qualified professional engineer, above, in subsection B(1).

[Instructions: To fill in the information below, obtain the Long Term Care Cost Estimate by adding together, from
Attachment B-3, the total present value dollars for Long Term Care costs (column [C] of Attachment B-3) and to total
present value dollars for associated Water Management costs (column [E] of Attachment B-3). Insert the Long Term
Care and associated Water Management costs as parenthetical information.]

    (a) Long Term Care Cost Estimate (NPV):                                               _____________________
            1. Long Term Care costs ([insert total from column [C] of
                 Attachment B-3])
            2. Associated Water Management costs ([insert total from column [E]
                 of Attachment B-3])
    (b) Total Cost Estimate:                                                              _____________________
        (Add line B(1)(a), Phosphogypsum Stack System Closure Cost Estimate
        and line B(2)(a), Long Term Care Cost Estimate (NPV).)


________________________________________
Signature of [insert Defendant’s name] Representative


________________________________________
Name & Title (please type)


________________________________________
Telephone Number

________________________________________

________________________________________
Mailing Address

________________________________________
E-Mail Address


                                                                                                            Mosaic
                                                                                          Appendix 2, Attachment B
Attachment B, Exhibit 1
        Attachment B, Exhibit 1: For use in deriving imputed deflators for annual inflationary adjustments submitted within 60
        days following each calendar year-end.

                     (A)                        (B)                        (C)                      (D)                       (E)
                  Quarter                Published Deflator              Change               Average Change            Imputed Deflator
1                    Q1
2                    Q2
3           Q3 (imputed, if actual
             not yet published)
4           Q4 (imputed, if actual
             not yet published)

        Instructions: See also Examples 1 and 2, below.

              1.    The fiscal quarters for the prior year are listed in Column (A). The first entry in this column is Q1 of the prior
                    year, and the last entry in this column is Q4 of the prior year.

              2.    Add the published quarterly deflators into Column (B). Do not add any deflators to this column, if they have
                    not yet been published.

              3.    For each published deflator in Column (B), add the change from the previous quarter in column (C). For
                    example, to calculate the change for Q2, subtract the published deflator value for Q1 from the published
                    deflator value in Q2. Column (C) should include entries only for quarters for which a published deflator is
                    available.

              4.    The value for Column (D) is calculated as the average of all entries in Column (C). Enter this value once, in
                    the row with the latest published quarterly deflator.

              5.    Add the value in Column (D) to the latest published quarterly deflator to calculate the following imputed
                    quarterly deflator in Column (E). (The entries in this column will correspond to the quarters for which there
                    are no published quarterly deflators.) To impute quarterly deflators for more than one quarter, continue
                    adding the value in Column (D) to each imputed quarterly deflator to calculate the quarterly deflator for the
                    next year.


        Example 1: Imputing a Deflator when Q1 through Q3 Deflators are published, but Q4 Deflator is not

                     (A)                     (B)                         (C)                     (D)                        (E)
                   Quarter            Published Deflator               Change              Average Change             Imputed Deflator
    1              Q1 2013                 106.324
    2              Q2 2013                 106.608                       0.284
    3              Q3 2013                 107.044                       0.436                    0.360
    4              Q4 2013                                                                                                 107.404


        This example assumes that the latest published quarterly deflator is Q3 2013. The imputed quarterly deflator for Q4
        2013 is found in Cell 4E, 107.764.


        Example 2: Imputing a Deflator when Q1 through Q2 Deflators are published, but Q3 and Q4 Deflators are not

                     (A)                      (B)                         (C)                     (D)                       (E)
                   Quarter             Published Deflator               Change              Average Change            Imputed Deflator
    1              Q1 2013                  106.324
    2              Q2 2013                  106.608                      0.284                    0.284
    3              Q3 2013                                                                                                 106.892
    4              Q4 2013                                                                                                 107.176

        This example assumes that the latest published quarterly deflator is Q2 2013. Because there are only two quarters
        with published deflators in Column (B), the values in Column (C) and Column (D) are the same. The value in Cell D2
        is added to Cell B2 to derive the imputed deflator for Q3 2013 (see Cell E3). To derive the imputed deflator for Q4
        2013, the value in Cell D2, is added to imputed deflator for Q3 2013 (Cell E3) to derive the imputed deflator for Q4
        2013 (Cell E4).

                                                                                                                         Mosaic
                                                                                                          Attachment B, Exhibit1
        
Attachment B-1
Attachment B-1: Instructions
       Attachment B-1 (and associated Forms 1-3) provides a framework that summarizes the
types of activity, quantity (or volume), and costs associated Phosphogypsum Stack System
Closure (Form 1), Long Term Care (Form 2) and the associated Water Management activities
(Form 3). The information to be captured in the Exhibits and submitted in accordance with
Section II (Cost Estimate), Appendix 2 of the Consent Decree, is Facility specific and, therefore,
as appropriate, the line item information in the Exhibits shall be adjusted accordingly, as well as
any other information or assumptions provided in (or accompanying) the Exhibits.

        In general, the costs for the associated Water Management activities are broken out based
on which activities are associated with Phosphogypsum Stack System Closure and which
activities are associated with Long Term Care. In additions to listing out the activity, and costs,
any assumptions, comments descriptions or relevant information (e.g., adjusted for inflation)
needed to explain the costs shall be included. For example, specifying the estimated hours per
week for an activity; yearly salary for an on-site engineer tasked with Long Term Care activities;
assumptions for mowing the grassed stacks; assumptions for the identified contingency; and
what costs are captured by administrative costs.




                                                                                             Mosaic
                                                           Appendix 2, Attachment B-1 (Instructions)



Attachment B-1                                                                         Form 1



A. GYPSUM STACK AT CLOSURE

                       Activity                     Quantity    Unit       Unit Cost     Total Cost

1. Top Grading and Cover
   1a. General Excavation and Fill                               yd3                                  $0
   1b. Dewatering, Fine Grading & Compaction                    acres                                 $0
   1c. 40-mil HDPE Liner Materials                              acres                                 $0
   1d. 40-mil HDPE Liner Installation                           acres                                 $0
   1e. 24" Thick Soil Cover                                      yd3                                  $0
   1f. Grassing by Seeding                                      acres                                 $0
   1g. Subtotal                                                 acres                                 $0

2. Side Slope Grading and Cover
   2a. General Excavation and Fill                               yd3                                  $0
   2b. Fine Grading & Compaction                                acres                                 $0
   2c. Dolomite Addition                                        acres                                 $0
   2d. Grassing by Seeding Incl.Maint. & Watering               acres                                 $0
   2e. Subtotal                                                 acres                                 $0

3. Side Slope Drains                                           lineal ft                              $0
4. Toe Drain                                                   lineal ft                              $0

5. Side Slope Drainage Swale
   5a. Grading & Compaction                                     acres                                 $0
   5b. 40-mil HDPE Textured Liner Materials                     acres                                 $0
   5c. 40-mil HDPE Textured Liner Installation                  acres                                 $0
   5d. 24" Thick Soil Cover                                      yd3                                  $0
   5e. Grassing by Seeding & Sodding                            acres                                 $0
   5f. Subtotal                                                 acres                                 $0

6. Toe Drainage Swale
   6a. Grading & Compaction                                     acres                                 $0
   6b. 40-mil HDPE Textured Liner Materials                     acres                                 $0
   6c. 40-mil HDPE Textured Liner Installation                  acres                                 $0
   6d. 24" Thick Soil Cover                                      yd3                                  $0
   6e. Grassing by Seeding & Sodding                            acres                                 $0
   6f. Subtotal                                                 acres                                 $0

7. Surface Water Control                                         acres
8. Security Fence (includes cooling pond)                      lineal ft
9. Security Fence Gates and Signage                              lump

10. Subtotal                                                    acres                                 $0

11. Permitting                                                  lump
12. Design, Construction Management & QA/QC [%]                 lump                                  $0
13. Construction Surveying [%]                                  lump                                  $0

SUBTOTAL GYPSUM STACK CLOSURE                                  acres                                  $0
B. COOLING CHANNEL CLOSURE COST

1. Sluiced Gypsum Filling                          yd3       $0

2. Grading and Cover
   2a. General Excavation and Fill                 yd3       $0
   2b. Fine Grading & Compaction                  acres      $0
   2c. 40-mil HDPE Liner Materials                acres      $0
   2d. 40-mil HDPE Liner Installation             acres      $0
   2e. 24" Thick Soil Cover                        yd3       $0
   2f. Grassing by Seeding                        acres      $0
   2g. Subtotal                                   acres      $0


3. Stack Drain Header Pipe                       lineal ft   $0

4. Sumps and Pump Stations                        each       $0
5. Surface Water Control                          lump

6. Subtotal                                       acres      $0

7. Design, Construction Management & QA/QC [%]    lump       $0
8. Construction Surveying [%]                     lump       $0

SUBTOTAL COOLING CHANNEL                         acres       $0
C. COOLING POND CLOSURE COST

1. Sluiced Gypsum Filling                                                yd3                                       $0

2. Grading and Cover
   2a. General Excavation and Fill                                       yd3                                       $0
   2b. Fine Grading & Compaction                                        acres                                      $0
   2c. 40-mil HDPE Liner Materials                                      acres                                      $0
   2d. 40-mil HDPE Liner Installation                                   acres                                      $0
   2e. 24" Thick Soil Cover                                              yd3                                       $0
   2f. Grassing by Seeding                                              acres                                      $0
   2g. Subtotal                                                         acres                                      $0

3. Surface Water Control                                                lump

4. Subtotal                                                             acres                                      $0

5. Design, Construction Management & QA/QC [%]                          lump                                       $0
6. Construction Surveying [%]                                           lump                                       $0

SUBTOTAL COOLING POND CLOSURE                                          acres                                      $0


D. 5-YEAR CLOSURE PERIOD O&M AND MONITORING

1. Operation & Maintenance                                              years                                      $0
2. Surface Water Monitoring                                             acres                                      $0
3. Groundwater Monitoring                                               wells                                      $0

TOTAL O&M AND MONITORING COSTS                                         acres                                      $0

E. ADMINISTRATIVE COSTS

1.   E.g., Construction Management
2.   E.g., Administrative Management                                                                              $0
3.   E.g., Staff Salaries                                                                                         $0
4.   E.g., Reports, Permits, Filings                                                                              $0
                                                                                                                  $0
TOTAL ADMINISTRATIVE COSTS
                                                                                                                  $0

CONTINGENCY FOR CLOSURE COSTS ( minimum 5%)
                                                                                                                  $0

TOTAL CLOSURE CONSTRUCTION COST                                        acres                                      $0

Notes and Assumptions
1. List any assumption/comments for activities and costs related to closure.
   (a) E.g., Side slope drain costs for 12" HDPE pipe running vertically and spaced at 50' intervals
   (b) E.g., Toe drain costs unit pricing installation only; grading/excavation in Swale activities.
   (c) E.g., O&M costs include mowing, etc. Administrative and labor costs related to O&M activities captured in . . .
Attachment B-1                                                                                   Form 2

                                    LONG TERM CARE COST ESTIMATE




                                                              Estimated Cost ([Insert Year ] Dollars)
                Long Term Care Item

                                                             [__ YEARS]        [__ YEARS]         [__ YEARS]

1. Administrative, Etc.
2. Inspections
3. Site Security/Fence Maintence
4. Monitoring Wells Sampling and Testing
5. Surface Water Sampling and Testing
6. Mowing
7. Land Surface Care & Contingency Repairs
8. Pump Operation and Maintenance
9. Contingency (5% Items 1 & 2)
               TOTAL ANNUAL COST                                     $0                 $0                $0
NOTES AND ASSUMPTIONS:


1. E.g., Positions, wages, time, materials, overhead, etc



2. Description of inspections/costs. If cost is captured
by another element of Estimate, provide information.

3. Description of costs. If a cost is captured by another
element of the Cost Estimate, provide information.


4. Description of costs,. If a cost is captured by another
element of the Cost Estimate, provide inforrmation.


5 & 6. Description of costs. If a cost is captured by
another element of the Cost Estimate, provide
information.

7 & 8. Description of costs. If a cost is captured by
another element of the Cost Estimate, provide
inofrmation.
9. Provide basis for the contingency.
  Attachment B-1                                                        Form 3

                  COST FOR PROCESS WATER TREATMENT




                                                           Process Water
                         Item
                                                             Quantity

                                                   Acre - Feet       Billion Gal.
1. Ponded Water                                                         0.00
2. Drainable Pore Water                                                 0.00
3. Total Infiltration Above Liner for 50 Years                          0.00
4. Total Infiltration Below Liner for 50 Years                          0.00
5. Water Balance During Closure                                         0.00


TOTAL WATER QUALITY                                    0                0.00




                                                 Water Treated     Treatment Cost   Avg. Unit Cost
                Expenditure Period
                                                 Billion Gallons       (MM$)         ($/1000 Gal)
Phosphogypsum Stack System Closure (Years*)
Long Term Care (Years*)

 TOTAL QUANTITY AND TREATMENT COST                    0.00              0.00              -
Attachment B-2
ADJUSTING LONG TERM CARE AND ASSOCIATED WATER MANAGEMENT COSTS TO CALCULATE
CURRENT (THEN-YEAR) COSTS

Instructions:

       1.   Use the information and formulas, below, to determine the current (then-year) dollars for Long Term Care
            and associated Water Management costs (i.e., columns [C] and [E], below).
       2.   The Long Term Care and associated Water Management costs in Current Dollars to be used in columns [B]
            and [D], below, shall be obtained, as appropriate, by calculating the inflation adjusted Long Term Care and
            associated Water Management costs pursuant to Section II.A(2) of Attachment B or from the information
            provided in Section II.B(1)(b) of Attachment B.
       3.   For purposes of determining the inflation factor, the Gross Domestic Product (GDP) Deflator is as specified
            in the “GDP (Chained) Price Index” of the Gross Domestic Product Deflators Used in the Historic Tables,
            published by the Office of Management and Budget (“OMB”). The inflation factor used to inflate the costs in
            this attachment shall be derived from the mathematical average of the calculated inflation factors for each
            year over a five-year period. Each year’s calculated inflation factor shall be the product of dividing the GDP
            for the relevant year by the GDP for the year immediately prior, beginning with the first year in which the
            GDP Deflator is an estimate and for each year thereafter until the fifth year. (See Paragraph 4.d, Appendix
            2, of the Consent Decree.)
       4.   The inflated costs, as calculated in this Attachment B-2, shall be used to calculate the present value for Long
            Term Care and associated Water Management costs in Attachment B-3 and to provide information in
            Section II.A(3) and Section II.B(2) of Attachment B. [Note: Each year’s adjusted costs due to inflation as
            specified in columns [C] and [E], below, shall be placed in the corresponding line items designated by year
            in columns [B] and [D] in Attachment B-3.]



                r=              Inflation Factor               As specified in Paragraph 4.d, Appendix 2, of the Consent
                                                               Decree. Note: Item 3, above, provides the criteria from
                                                               Paragraph 4.d to calculate the inflation factor.
                t=                   Year                      Year in which costs are incurred.

       CE date =                     Year                      Year in which costs are estimated.



                          Long Term Care Costs                                  Associated Water Management Costs
            Current (Today’s)          Inflated Annual Dollars            Current (Today’s)          Inflated Annual Dollars
                 Dollars              (as of year in which cost                Dollars              (as of year in which cost
Year                                           incurred)                                                     incurred)
 [A]               [B]                [C] = [B] * (r) ([t] – [CE Date])           [D]                [E] = [D] * (r) ([t] – [CE Date])
2010
2011
2012
2013
2014
2015
2016
2017
2018
2019
2020
2021
2022
2023

                                                                                                                       Mosaic
                                                                                                    Appendix 2, Attachment B-2
                    Long Term Care Costs                             Associated Water Management Costs
       Current (Today’s)     Inflated Annual Dollars            Current (Today’s)    Inflated Annual Dollars
            Dollars         (as of year in which cost                Dollars        (as of year in which cost
Year                                 incurred)                                               incurred)
[A]           [B]           [C] = [B] * (r) ([t] – [CE Date])          [D]           [E] = [D] * (r) ([t] – [CE Date])
2024
2025
2026
2027
2028
2029
2030
2031
2032
2033
2034
2035
2036
2037
2038
2039
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                                                                                                       Mosaic
                                                                                    Appendix 2, Attachment B-2
                    Long Term Care Costs                             Associated Water Management Costs
       Current (Today’s)     Inflated Annual Dollars            Current (Today’s)    Inflated Annual Dollars
            Dollars         (as of year in which cost                Dollars        (as of year in which cost
Year                                 incurred)                                               incurred)
[A]           [B]           [C] = [B] * (r) ([t] – [CE Date])          [D]           [E] = [D] * (r) ([t] – [CE Date])
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[…]




                                                                                                       Mosaic
                                                                                    Appendix 2, Attachment B-2
Attachment B-3
PRESENT VALUE OF LONG TERM CARE AND ASSOCIATED WATER MANAGEMENT

Instructions:

    1.   Use the information and formulas, below, to calculate the present value of Long Term Care and associated
         Water Management costs. [Note: Present value is to be calculated only when providing Financial Assurance
         under Section III.B, Appendix 2, of the Consent Decree.]
    2.   In columns [B] and [D], insert the inflation-adjusted annual costs beginning in the year when Long Term
         Care is expected to begin. These costs have been generated in Attachment B-2, representing inflation
         adjusted (then-year) dollars in the year that the cost are expected to be incurred. [Note: The values in
         columns [B] and [D], below, are the same as those represented in columns [C] and [E] from
         Attachment B-2.]
    3.   Following the formula listed below, calculate the present value of the Long Term Care and associated Water
         Management costs in each year.
    4.   The present value, as calculated in this Attachment B-3, shall be used, as instructed, to fill in Sections II.A(3)
         and II.B(2) of Attachment B.



                r=          Discount Rate                  30-Year Treasury Constant Maturity Rate, averaged for the
                                                           previous twelve (12) months from the date of the annual cost
                                                           estimate
                t=                Year                     Year in which costs will be incurred

     PV Date =                    Year                     Year in which present value is calculated



                           Long Term Care Costs                                      Associated Water Management Costs
           Current (Then-Year)                                                 Current (Then-Year)
                  Dollars                                                             Dollars
           (as of year in which                                                (as of year in which
              cost incurred)                                                      cost incurred)
           [Note: These values                                                 [Note: These values
             are equivalent to                                                   are equivalent to
             Column [C] from             Present Value Dollars                   Column [E] from           Present Value Dollars
 Year        Attachment A-2.]               (as of PV Date)                      Attachment A-2.]             (as of PV Date)
  [A]                [B]             [C] = [B] / [(1 + r) ([t] – [PV Date])]           [D]             [E] = [D] / [(1 + r) ([t] – [PV Date])]
 2010
 2011
 2012
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 2014
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 2016
 2017
 2018
 2019
 2020
 2021
 2022
 2023

                                                                                                                   Mosaic
                                                                                                Appendix 2, Attachment B-3
                     Long Term Care Costs                                     Associated Water Management Costs
       Current (Then-Year)                                              Current (Then-Year)
              Dollars                                                          Dollars
       (as of year in which                                             (as of year in which
          cost incurred)                                                   cost incurred)
       [Note: These values                                              [Note: These values
         are equivalent to                                                are equivalent to
         Column [C] from          Present Value Dollars                   Column [E] from          Present Value Dollars
Year     Attachment A-2.]            (as of PV Date)                      Attachment A-2.]            (as of PV Date)
[A]            [B]            [C] = [B] / [(1 + r) ([t] – [PV Date])]           [D]            [E] = [D] / [(1 + r) ([t] – [PV Date])]
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                                                                                                            Mosaic
                                                                                         Appendix 2, Attachment B-3
                      Long Term Care Costs                                     Associated Water Management Costs
        Current (Then-Year)                                              Current (Then-Year)
               Dollars                                                          Dollars
        (as of year in which                                             (as of year in which
           cost incurred)                                                   cost incurred)
        [Note: These values                                              [Note: These values
          are equivalent to                                                are equivalent to
          Column [C] from          Present Value Dollars                   Column [E] from          Present Value Dollars
Year      Attachment A-2.]            (as of PV Date)                      Attachment A-2.]            (as of PV Date)
[A]             [B]            [C] = [B] / [(1 + r) ([t] – [PV Date])]           [D]            [E] = [D] / [(1 + r) ([t] – [PV Date])]
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Total




                                                                                                             Mosaic
                                                                                          Appendix 2, Attachment B-3
Attachment C
Attachment C: Instructions

As part of the annual update of the Phosphogypsum Stack System Closure and Long
Term Care Cost Estimate, Defendant shall submit Attachment C. The costs represented
in Attachment C are in Current Dollars for the year in which the annual submittal is
required. When filling out Attachment C, use the information and definition specified
below, and provide any assumptions utilized to provide the information. If it is
determined that additional columns are required to accurately represent the annual
volume of water to be addressed during Phosphogypsum Stack System Closure or Long
Term Care, insert such information providing appropriate notes and assumptions for the
additional information.

           1. Ponded Water Inventory is the annual volume of water to be removed
              from the cooling pond, the sedimentation ponds on the Phosphogypsum
              Stack, the return canal and collection ditches, and from other storage or
              surge ponds, or sumps in excess of ¼ acre, that are part of the
              Phosphogypsum Stack System (such water is also known as “process
              water inventory”).
           2. Water Balance During Closure is the average annual rainfall that is
              captured in the Phosphogypsum Stack System minus the average annual
              evaporation from the ponded water surfaces and evapotranspiration from
              non-ponded surfaces.
           3. Drainable Pore Water is the annual volume of water contained within the
              pores of the phosphogypsum that gravity drains during and after closure of
              the Phosphogypsum Stack.
           4. Infiltration is the annual volume of water that infiltrates into the side
              slopes of the closed Phosphogypsum Stack.1
           5. Total Annual Water Volume is the summation of Ponded Water Inventory,
              Water Balance During Closure, Drainable Pore Water, and Infiltration
              water.
           6. Annual Average Removal Rate, in gallons per minute (GPM), is
              determined by dividing the Total Annual Water Volume by 525,600
              minutes per year.
           7. Annual Water Removal Cost is the total annual cost in millions of dollars
              needed for the Total Annual Water Volume to achieve the applicable
              standards.
           8. Planning & Closure Period O&M and Monitoring Costs represent annual
              program management costs, miscellaneous O&M expenses, surface water
              monitoring costs, groundwater monitoring costs and piezometer
              installation costs incurred during the five year closure construction period
              and one year planning period.
           9. Closure Construction Costs represent the annual cost of all materials, labor
              and equipment to close the phosphogypsum stack system including but not


1
  The area of the side slopes of the Phosphogypsum Stack is the horizontal projection of
the grassed slopes. The lined ditches and roads are not included in the slope area.

                                                                                     Mosaic
                                                                   Appendix 2, Attachment C
    limited to: grading and earthwork with soil and phosphogypsum; HDPE
    liner and associated geosynthetics, cost of clay and mixing if utilized, liner
    soil cover; side slope drains; toe drains; sumps/pump stations; header
    pipes; grassing soil and phosphogypsum surfaces; security fence; surface
    water control; permitting and design services; and construction
    management, QA/QC, and surveying.
10. Program Management Costs represent the annual costs to manage the
    facility during the 50-year long-term care period.
11. Long Term Care Operational Costs are based on annual: (a) costs for on-
    site personnel to conduct maintenance, inspection and care activities
    during the Long Term Care period with a 5% contingency allowance; (b)
    surface water and groundwater monitoring and analysis costs; (c), mowing
    and land surface care costs; (d) contingency repairs (e.g., restoration of
    eroded areas); and (e) pump operation and maintenance costs (e.g., convey
    water from seepage collection system to water treatment).
12. Total Water Treatment and Closure Costs represent the sum of the Annual
    Water Treatment Costs, Planning & Closure Period O&M and Monitoring
    Costs, Closure Construction Costs, Long Term Care Period Program
    Management Costs, and Long Term Care Operational Costs.




                                                                            Mosaic
                                                          Appendix 2, Attachment C
                                                                                                                                Attachment C - ANNUAL COSTS FOR CLOSURE
                                                                                                                                       ___________________ FACILITY
                                                                                                                                 Year 20__ CURRENT CONDITION CLOSURE

                                                                                                                                       WATER REMOVAL                                                                                   ANNUAL COST (MM$)

                                                          Sequence Year                                                  Water Volume (billion gallons)




                                                                                                                                                                                                                                                      Management
                                                                                                                                                                                                                                       Construction
                                                                               Calendar Year
                                                                                                                               Drainable Pore Water                                            Annual                   Planning &




                                                                                                                                                                                                                                                       Program
                                                                                                                                                                                                                                         Closure
                                                                                                            Water                                                                              Average       Water    Closure Period                               Long Term
                                                                                                Ponded                                                          Post-Closure    Total Annual
                                                                                                           Balance                                                                           Removal Rate   Removal      O&M and                                     Care
                                                                                                 Water                                                           Side Slope        Water
                                                                                                           During    Stack A          Stack B         Stack C                                   (gpm)                   Monitoring
                                                                                               Inventory                                                         Infiltration     Volume
                                                                                                           Closure
       Period                                                                                                                                                                                                                                                                  Total
1- Year Planning                                                          0
                                                                          1    20__
  5-year Closure                                                          2    20__
Construction Period                                                       3    20__
                                                                          4    20__
                                                                          5    20__
                                                                          1    20__
                                                                          2    20__
                                                                          3    20__
                                                                          4    20__
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                                                                          26   20__
50-year Post-Closure Construction Long-Term Care Period




                                                                          27   20__
                                                                          28   20__
                                                                          29   20__
                                                                          30   20__
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                                                                          46   20__
                                                                          47   20__
                                                                          48   20__
                                                                          49   20__
                                                                          50   20__
Total Water Volume

Total Cost
Attachment D
Attachment D, Form 1-A
                                 TRUST AGREEMENT

Instructions: The trust agreement for a trust fund, as specified in Appendix 2 of the
Consent Decree, must be worded as follows, except that instructions in brackets are to be
replaced with the relevant information and the brackets deleted.

                                     Trust Agreement

Trust Agreement, the “Agreement,” entered into as of [date] by and between [name of the
owner or operator], a [name of State] [insert “corporation,” “partnership,”
“association,” or “proprietorship”], the “Grantor,” and [name of corporate trustee],
[insert “incorporated in the State of ----” or “a national bank”], the “Trustee.”

Whereas, the United States Environmental Protection Agency, “EPA,” an agency of the
United States Government, [and name of State Agency, an agency of name of State],
“[abbreviation for state agency]” have entered into a Consent Decree with [name of the
owner or operator] requiring [name of the owner or operator] to provide assurance that
funds will be available when needed for Phosphogypsum Stack System Closure and/or
Long Term Care [and/or Corrective Action] of its Facility[ies] covered under the Consent
Decree [need to insert additional description of the Consent Decree].

Whereas, the Grantor has elected to establish a trust to provide all or part of such
financial assurance for the facilities identified herein,

Whereas, the Grantor, acting through its duly authorized officers, has selected the Trustee
to be the trustee under this agreement, and the Trustee is willing to act as trustee,

Now, Therefore, the Grantor and the Trustee agree as follows:

Section 1. Definitions. As used in this Agreement:

(a) The term “Grantor” means the owner or operator who enters into this Agreement and
any successors or assigns of the Grantor.

(b) The term “Trustee” means the Trustee who enters into this Agreement and any
Successor Trustee.

Section 2. Identification of Facilities and Cost Estimates. This Agreement pertains to the
Facilities and cost estimates identified on attached Schedule A [on Schedule A, for each
facility list the EPA and (abbreviation for state agency) Identification Number, name,
address, and the current Phosphogypsum Stack System Closure and/or Long Term Care
(and/or Corrective Action) Cost Estimates, or portions thereof, for which financial
assurance is demonstrated by this Agreement].

Section 3. Establishment of Fund. The Grantor and the Trustee hereby establish a trust
fund, the “Fund,” for the benefit of EPA and [abbreviation for State Agency]. The
Grantor and the Trustee intend that no third party have access to the Fund except as

                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 1-A
herein provided. The Fund is established initially as consisting of the property, which is
acceptable to the Trustee, described in Schedule B attached hereto. Such property and
any other property subsequently transferred to the Trustee is referred to as the Fund,
together with all earnings and profits thereon, less any payments or distributions made by
the Trustee pursuant to this Agreement. The Fund shall be held by the Trustee, IN
TRUST, as hereinafter provided. The Trustee shall not be responsible nor shall it
undertake any responsibility for the amount or adequacy of, nor any duty to collect from
the Grantor, any payments necessary to discharge any liabilities of the Grantor
established by EPA and [abbreviation for State Agency].

Section 4. Payment for Phosphogypsum Stack System Closure and Long Term Care [and
Corrective Action]. The Trustee shall make payments from the Fund only as directed in
writing by the appropriate EPA Regional Administrator and/or [State Agency Head] in
accordance with Section 14. The Trustee shall provide for reimbursements to the Grantor
or other persons from the Fund for the payment of the costs of Phosphogypsum Stack
System Closure and/or Long Term Care [and/or Corrective Action] of the Facilities
covered by this Agreement only as directed in writing by the appropriate EPA Regional
Administrator and/or [State Agency Head]. In addition, the Trustee shall refund to the
Grantor only such amounts as the EPA Regional Administrator and/or [State Agency
Head] specifies in writing. Upon refund, such funds shall no longer constitute part of the
Fund as defined herein.

Section 5. Payments Comprising the Fund. Payments made to the Trustee for the Fund
shall consist of cash or securities acceptable to the Trustee.

Section 6. Trustee Management. The Trustee shall invest and reinvest the principal and
income of the Fund and keep the Fund invested as a single fund, without distinction
between principal and income, in accordance with general investment policies and
guidelines which the Grantor may communicate in writing to the Trustee from time to
time, subject, however, to the provisions of this Section. In investing, reinvesting,
exchanging, selling, and managing the Fund, the Trustee shall discharge his/her duties
with respect to the trust fund solely in the interest of the beneficiary and with the care,
skill, prudence, and diligence under the circumstances then prevailing which persons of
prudence, acting in a like capacity and familiar with such matters, would use in the
conduct of an enterprise of a like character and with like aims; except that:

(i) Securities or other obligations of the Grantor, or any other owner or operator of the
facilities, or any of their affiliates as defined in the Investment Company Act of 1940, as
amended, 15 U.S.C. 80a-2.(a), shall not be acquired or held, unless they are securities or
other obligations of the Federal or a State government;

(ii) The Trustee is authorized to invest the Fund in time or demand deposits of the
Trustee, to the extent insured by an agency of the Federal or State government; and

(iii) The Trustee is authorized to hold cash awaiting investment or distribution un-
invested for a reasonable time and without liability for the payment of interest thereon.


                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 1-A
Section 7. Commingling and Investment. The Trustee is expressly authorized in its
discretion:

(a) To transfer from time to time any or all of the assets of the Fund to any common,
commingled, or collective trust fund created by the Trustee in which the Fund is eligible
to participate, subject to all of the provisions thereof, to be commingled with the assets of
other trusts participating therein; and

(b) To purchase shares in any investment company registered under the Investment
Company Act of 1940, 15 U.S.C. 80a-1 et seq., including one which may be created,
managed, underwritten, or to which investment advice is rendered or the shares of which
are sold by the Trustee. The Trustee may vote such shares in its discretion.

Section 8. Express powers of Trustee. Without in any way limiting the powers and
discretions conferred upon the Trustee by the other provisions of this Agreement or by
law, the Trustee is expressly authorized and empowered:

(a) To sell, exchange, convey, transfer, or otherwise dispose of any property held by it, by
public or private sale. No person dealing with the Trustee shall be bound to see to the
application of the purchase money or to inquire into the validity or expediency of any
such sale or other disposition;

(b) To make, execute, acknowledge, and deliver any and all documents of transfer and
conveyance and any and all other instruments that may be necessary or appropriate to
carry out the powers herein granted;

(c) To register any securities held in the Fund in its own name or in the name of a
nominee and to hold any security in bearer form or in book entry, or to combine
certificates representing such securities with certificates of the same issue held by the
Trustee in other fiduciary capacities, or to deposit or arrange for the deposit of such
securities in a qualified central depositary even though, when so deposited, such
securities may be merged and held in bulk in the name of the nominee of such depositary
with other securities deposited therein by another person, or to deposit or arrange for the
deposit of any securities issued by the United States Government, or any agency or
instrumentality thereof, with a Federal Reserve bank, but the books and records of the
Trustee shall at all times show that all such securities are part of the Fund;

(d) To deposit any cash in the Fund in interest-bearing accounts maintained or savings
certificates issued by the Trustee, in its separate corporate capacity, or in any other
banking institution affiliated with the Trustee, to the extent insured by an agency of the
Federal or State government; and

(e) To compromise or otherwise adjust all claims in favor of or against the Fund.

Section 9. Taxes and Expenses. All taxes of any kind that may be assessed or levied
against or in respect of the Fund and all brokerage commissions incurred by the Fund


                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 1-A
shall be paid from the Fund. All other expenses incurred by the Trustee in connection
with the administration of this Trust, including fees for legal services rendered to the
Trustee, the compensation of the Trustee to the extent not paid directly by the Grantor,
and all other proper charges and disbursements of the Trustee shall be paid from the
Fund.

Section 10. Semiannual Accounting. The Trustee shall, every six (6) months from the
date of establishment of the Fund, furnish to the Grantor and to the appropriate EPA
Regional Administrator (or the designee) and [State Agency Head] (or the designee), a
statement confirming the value of the Trust and a cumulative and calendar year
accounting of the amount the Trustee has released from the Fund for reimbursement of
Phosphogypsum Stack System Closure and Long Term Care [and Corrective Action]
expenditures. The Trustee shall furnish additional valuation statements and accountings
of the released funds to the Grantor and to the appropriate EPA Regional Administrator
and [State Agency Head], as instructed in writing by the EPA Regional Administrator or
[State Agency Head]. Any securities in the Fund shall be valued at market value as of no
more than sixty (60) days prior to the Anniversary Date of establishment of the Fund or
no more than sixty (60) days prior to a semi-annual accounting. The failure of the Grantor
to object in writing to the Trustee within ninety (90) days after the statement has been
furnished to the Grantor and the EPA Regional Administrator and the [State Agency
Head] shall constitute a conclusively binding assent by the Grantor, barring the Grantor
from asserting any claim or liability against the Trustee with respect to matters disclosed
in the statement.

Section 11. Advice of Counsel. The Trustee may from time to time consult with counsel,
who may be counsel to the Grantor, with respect to any question arising as to the
construction of this Agreement or any action to be taken hereunder. The Trustee shall be
fully protected, to the extent permitted by law, in acting upon the advice of counsel.

Section 12. Trustee Compensation. The Trustee shall be entitled to reasonable
compensation for its services as agreed upon in writing from time to time with the
Grantor.

Section 13. Successor Trustee. The Trustee may resign or the Grantor may replace the
Trustee, but such resignation or replacement shall not be effective until the Grantor has
appointed a successor trustee and this successor accepts the appointment. The Successor
Trustee shall have the same powers and duties as those conferred upon the Trustee
hereunder. Upon the Successor Trustee’s acceptance of the appointment, the Trustee
shall assign, transfer, and pay over to the successor trustee the funds and properties then
constituting the Fund. If for any reason the Grantor cannot or does not act in the event of
the resignation of the Trustee, the Trustee may apply to a court of competent jurisdiction
for the appointment of a Successor Trustee or for instructions. The Successor Trustee
shall specify the date on which it assumes administration of the trust in a writing sent to
the Grantor, the EPA Regional Administrator, and the [State Agency Head], and the
present Trustee by certified mail ten (10) days before such change becomes effective.
Any expenses incurred by the Trustee as a result of any of the acts contemplated by this
Section shall be paid as provided in Section 9.

                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 1-A
Section 14. Instructions to the Trustee.

(a) All orders, requests, and instructions by the Grantor to the Trustee shall be in writing,
signed by such persons as are designated in the attached Exhibit A or such other
designees as the Grantor may designate by amendment to Exhibit A. The Trustee shall
be fully protected in acting without inquiry in accordance with the Grantor’s orders,
requests, and instructions.

(b) All orders, requests, and instructions by the EPA Regional Administrator and the
[State Agency Head] to the Trustee shall be in writing, signed by both the appropriate
EPA Regional Administrator and [State Agency Head], unless otherwise indicated in
instructions to the Trustee as signed by both the EPA Regional Administrator and the
[State Agency Head]. Initial instructions by the EPA Regional Administrator and the
[State Agency Head] to the Trustee are attached as Exhibit B. New, revised or amended
instructions by the EPA Regional Administrator and the [State Agency Head] to the
Trustee will be dated and appended hereto in this Exhibit and shall be designated Exhibit
B followed by a numeric designation (e.g., Exhibit B-1, Exhibit B-2). The Trustee shall
act and shall be fully protected in acting in accordance with the EPA Regional
Administrator’s and/or the [State Agency Head’s] orders, requests, and instructions.

(c) The Trustee shall have the right to assume, in the absence of written notice to the
contrary, that no event constituting a change or a termination of the authority of any
person to act on behalf of the Grantor, EPA or [State Agency] hereunder has occurred.
The Trustee shall have no duty to act in the absence of such orders, requests, and
instructions from the Grantor, EPA and/or the [State Agency], except as provided for
herein and found in Exhibit B.

Section 15. Notice of Nonpayment. The Trustee shall notify the Grantor, the appropriate
EPA Regional Administrator and the [State Agency Head], by certified mail within ten
(10) days following the expiration of the thirty (30)-day period after the anniversary of
the establishment of the Trust, if no payment is received from the Grantor during that
period. After the pay-in period is completed, the Trustee shall not be required to send a
notice of nonpayment.

Section 16. Amendment of Agreement. This Agreement may be amended by an
instrument in writing executed by the Grantor, the Trustee, the appropriate EPA Regional
Administrator, and the [State Agency Head], or by the Trustee, the appropriate EPA
Regional Administrator, and the [State Agency Head] if the Grantor ceases to exist.

Section 17. Irrevocability and Termination. Subject to the right of the parties to amend
this Agreement as provided in Section 16, this Trust shall be irrevocable and shall
continue until terminated at the written agreement of the Grantor, the Trustee, the EPA
Regional Administrator, and the [State Agency Head], or by the Trustee, the EPA
Regional Administrator, and the [State Agency Head] if the Grantor ceases to exist. Upon
termination of the Trust, all remaining trust property, less final trust administration
expenses, shall be delivered to the Grantor.

                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 1-A
Section 18. Immunity and Indemnification. The Trustee shall not incur personal liability
of any nature in connection with any act or omission, made in good faith, in the
administration of this Trust, or in carrying out any directions by the Grantor, the EPA
Regional Administrator and/or the [State Agency Head] issued in accordance with this
Agreement. The Trustee shall be indemnified and saved harmless by the Grantor or from
the Trust Fund, or both, from and against any personal liability to which the Trustee may
be subjected by reason of any act or conduct in its official capacity, including all
expenses reasonably incurred in its defense in the event the Grantor fails to provide such
defense.

Section 19. Choice of Law. This Agreement shall be administered, construed, and
enforced according to the laws of the State of [insert name of State].

Section 20. Interpretation. As used in this Agreement, words in the singular include the
plural and words in the plural include the singular. Whenever the terms “EPA Regional
Administrator” and “[State Agency Head]” are used, they shall be construed to include
the term “or his/her designee”. The descriptive headings for each Section of this
Agreement shall not affect the interpretation or the legal efficacy of this Agreement.

In Witness Whereof the parties have caused this Agreement to be executed by their
respective officers duly authorized and their corporate seals to be hereunto affixed and
attested as of the date first above written: The parties below certify that the wording of
this Agreement is identical to the wording specified in Attachment D, Form 1-A of
Appendix 2 of the Consent Decree [need to insert more information regarding the
description of the CD, such as the name of the case, the case number, etc].

                                   [Signature of Grantor]

                                           [Title]

Attest:

[Title]

[Seal]



                                   [Signature of Trustee]

Attest:

[Title]

[Seal]



                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 1-A
(2) The following is an example of the certification of acknowledgment which must
accompany the trust agreement for a trust fund as specified Appendix 2 of the Consent
Decree.

State of
________________________________________________________________________


County of
________________________________________________________________________


On this [date], before me personally came [owner or operator] to me known, who, being
by me duly sworn, did depose and say that she/he resides at [address], that she/he is
[title] of [corporation], the corporation described in and which executed the above
instrument; that she/he knows the seal of said corporation; that the seal affixed to such
instrument is such corporate seal; that it was so affixed by order of the Board of Directors
of said corporation, and that she/he signed her/his name thereto by like order.

                               [Signature of Notary Public]




                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 1-A
Attachment D, Form 1-B
                                     TRUST AGREEMENT

Instructions: The trust agreement for a trust fund, as specified in Appendix 2 of the Consent
Decree, must be worded as follows, except that instructions in brackets are to be replaced with
the relevant information and the brackets deleted.

                                          Trust Agreement

Trust Agreement, the “Agreement,” entered into as of [date] by and between [name of the owner
or operator], a [name of State] [insert “corporation,” “limited liability company”
“partnership,” “association,” or “proprietorship”], the “Grantor,” and [name of corporate
trustee], [insert “incorporated in the State of ----” or “a national bank”], the “Trustee.”

Whereas, the United States Environmental Protection Agency (“EPA”), an agency of the United
States Government, and [name of State Agency, an agency of name of State], “[abbreviation for
state agency]” have entered into a consent decree (the “Consent Decree”) with [name of the
owner or operator] requiring [name of the owner or operator] to provide assurance that funds
will be available when needed for Phosphogypsum Stack System Closure and/or Long Term
Care of its Facility[ies] covered under the Consent Decree [need to insert additional description
of the Consent Decree, such as the name of the case, the case number, etc.].

Whereas, Appendix 2 of the Consent Decree establishes requirements for the Trust Agreement,

Whereas, the Grantor has elected to establish a trust to provide all or part of such Financial
Assurance for the Facilities identified herein,

Whereas, the Grantor, acting through its duly authorized officers, has selected the Trustee to be
the trustee under this agreement, and the Trustee is willing to act as trustee, and

Whereas, it is in the interest of the Beneficiaries, and the intent of the Grantor and Beneficiaries,
that the Trustee invest and re-invest the principal and income of the [insert State name]
Phosphogypsum Trust Fund with the express purpose of achieving full funding (i.e., the value of
the [insert State name] Phosphogypsum Trust Fund equals or exceeds the Total [insert State
name] Cost Estimate) as soon as possible, consistent with prudent investment practices and
managing the risk levels of such investments to preserve principal and income as set forth in this
Trust Agreement (Sections 6 and 7) and its attachment, Schedule C.

Now, Therefore, the Grantor and the Trustee agree as follows:

Section 1. Definitions. Unless otherwise defined in this Agreement, the capitalized items in the
Trust Agreement, including the preambles and any attachments, have the meaning provided in
the Consent Decree, including Appendix 1, Attachment F, and Appendix 2.

As used in this Agreement:

(a) The term “Grantor” means [the name of the owner or operator] and any successors or assigns
of the Grantor.
                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 1-B
(b) The term “Trustee” means the Trustee who enters into this Agreement and any Successor
Trustee.

(c) The term “Beneficiaries” means the U.S. Environmental Protection Agency and the [insert
appropriate State Agency].

Section 2. Identification of Facilities and Cost Estimates. This Agreement pertains to the
Facilities and Cost Estimates identified on attached Schedule A [on Schedule A, for each Facility
list the EPA and (abbreviation for State Agency) Identification Number, name, address, and the
current Phosphogypsum Stack System Closure and/or Long Term Care Cost Estimates for the
Facilities.]

Section 3. Establishment of Fund. The Grantor and the Trustee hereby establish a trust fund (the
“[insert state name] Phosphogypsum Trust Fund” or the “Fund”) for the benefit of EPA and
[insert for State Agency]. The Grantor and the Trustee intend that no third party have access to
the [insert state name] Phosphogypsum Trust Fund except as herein provided. The [insert state
name] Phosphogypsum Trust Fund is established initially as consisting of funds in the amount
described in Schedule B attached hereto. All such funds and any other property subsequently
transferred to the Trustee is referred to as the [insert state name] Phosphogypsum Trust Fund,
together with all earnings and profits thereon, less any payments or distributions made by the
Trustee pursuant to this Agreement. The [insert state name] Phosphogypsum Trust Fund shall be
held by the Trustee, IN TRUST, as hereinafter provided. The Trustee shall not be responsible
nor shall it undertake any responsibility for the amount or adequacy of, nor any duty to collect
from the Grantor, any payments necessary to discharge any liabilities of the Grantor established
by EPA, and [abbreviation for State Agency].

Section 4. Reimbursement and Payment for Phosphogypsum Stack System Closure and Long
Term Care and Release of Funds.

a. The Trustee is authorized to make payments from the Fund to the Grantor or other persons
pursuant to the reimbursement procedure set forth in subparagraph b, below, the release
procedure set forth in subparagraph c, below, or the payment procedure set forth in subparagraph
f, below.

b. The Trustee shall make reimbursements to the Grantor or other persons specified by the EPA
Regional Administrator and [State Agency Head] only as directed in writing by the EPA
Regional Administrator and [State Agency Head] in accordance with Section 14, for the costs of
Phosphogypsum Stack System Closure and/or Long Term Care of the Facilities covered by this
Agreement listed in Schedule A or for the reimbursement of taxes paid by Grantor that have been
levied or assessed against the [insert state name] Phosphogypsum Trust Fund or based on its
income.

c. The Trustee shall release to the Grantor from the Fund only such amounts as the EPA
Regional Administrator and [State Agency Head] specifies in writing.

d. Upon reimbursement or release of funds, such funds shall no longer constitute part of the Fund
                                                                                             Mosaic
                                                                 Appendix 2, Attachment D, Form 1-B
described herein.

e. No reimbursements or releases of funds from the Fund under subparagraphs b or c shall be
made until the value of the [insert state name] Phosphogypsum Trust Fund equals or exceeds the
Total [insert state name] Cost Estimate, unless the Grantor ceases to exist, in which event
reimbursements and releases by the Trustee from the Fund shall only be made in accordance
with written instructions by the EPA Regional Administrator and [State Agency Head] as set
forth in this Section.

f. In the event of Work Takeover pursuant to Section [insert Section designation of the Consent
Decree] (Work Takeover) of the Consent Decree, or if the Grantor ceases to exist, payments by
the Trustee shall be made in accordance with written instructions by the EPA Regional
Administrator and [State Agency Head].

Section 5. Payments Comprising the Fund. Payments made to the Trustee for the Fund shall
consist of cash.

Section 6. Trustee Management.

The Trustee shall invest and reinvest the principal and income of the [insert state name]
Phosphogypsum Trust Fund and keep the [insert state name] Phosphogypsum Trust Fund
invested as a single fund, without distinction between principal and income, in accordance with
general investment policies and guidelines which the Grantor may communicate in writing to the
Trustee from time to time, with a copy to EPA and [abbreviation for State Agency] subject,
however, to the provisions of this Section, and as described in Section 7 and Schedule C. In
investing, reinvesting, exchanging, selling, and managing the [insert state name]
Phosphogypsum Trust Fund, the Trustee shall discharge his/her duties with respect to the Fund
solely in the interest of the beneficiaries and with the care, skill, prudence, and diligence under
the circumstances then prevailing which prudent investors, acting in a like capacity and familiar
with such matters, would use in the conduct of an enterprise of a like character and with like
aims; except that:

(i) Securities or other obligations of the Grantor, or any other owner or operator of the facilities,
or any of their affiliates as defined in the Investment Company Act of 1940, as amended, 15
U.S.C. 80a-2.(a), or any Related Parties as defined in Appendix 2, shall not be acquired or held,
unless they are securities or other obligations of the Federal or a State government;

(ii) The Trustee is authorized to invest the [insert state name] Phosphogypsum Trust Fund in
time or demand deposits of the Trustee, to the extent insured by an agency of the Federal or State
government; and

(iii) The Trustee is authorized to hold cash awaiting investment or distribution un-invested for a
reasonable time and without liability for the payment of interest thereon.

Section 7. Commingling and Investment. Subject to Section 6, the Trustee is expressly
authorized in its discretion:

                                                                                                 Mosaic
                                                                     Appendix 2, Attachment D, Form 1-B
(a) To transfer from time to time any or all of the assets of the Fund to any common,
commingled, or collective trust fund created by the Trustee in which the Fund is eligible to
participate, subject to all of the provisions thereof, to be commingled with the assets of other
trusts participating therein; and

(b) To purchase shares in any investment company registered under the Investment Company
Act of 1940, 15 U.S.C. 80a-1 et seq., including one which may be created, managed,
underwritten, or to which investment advice is rendered or the shares of which are sold by the
Trustee or its affiliates. The Trustee may vote such shares in its discretion.

Section 8. Express Powers of Trustee. Without in any way limiting the powers and discretions
conferred upon the Trustee by the other provisions of this Agreement or by law, the Trustee is
expressly authorized and empowered:

(a) To sell, exchange, convey, transfer, or otherwise dispose of any property held by it, by public
or private sale or by other means (i.e., redemptions, stock splits, transactional sales, property or
cash disbursements as part of a bankruptcy). No person dealing with the Trustee shall be bound
to see to the application of the purchase money or to inquire into the validity or expediency of
any such sale or other disposition;

(b) To make, execute, acknowledge, and deliver any and all documents of transfer and
conveyance and any and all other instruments that may be necessary or appropriate to carry out
the powers herein granted;

(c) To register any securities held in the Fund in its own name or in the name of a nominee and
to hold any security in bearer form or in book entry, or to combine certificates representing such
securities with certificates of the same issue held by the Trustee in other fiduciary capacities, or
to deposit or arrange for the deposit of such securities in a qualified central depositary even
though, when so deposited, such securities may be merged and held in bulk in the name of the
nominee of such depositary with other securities deposited therein by another person, or to
deposit or arrange for the deposit of any securities issued by the United States Government, or
any agency or instrumentality thereof, with a Federal Reserve bank, but the books and records of
the Trustee shall at all times show that all such securities are part of the Fund;

(d) To deposit any cash in the Fund in interest-bearing accounts maintained or savings
certificates issued by the Trustee, in its separate corporate capacity, or in any other banking
institution, to the extent insured by an agency of the Federal or State government; and

(e) To compromise or otherwise adjust all claims in favor of or against the Fund.

Section 9. Taxes, Fees, and Expenses.

(a) All taxes of any kind that may be assessed or levied against or in respect of the Fund shall be
paid or funded by the Grantor. All other fees and expenses incurred by the Trustee in connection
with the administration of this Trust, including brokerage commissions, accounting services,
reasonable fees for legal services rendered to the Trustee, the compensation of the Trustee, costs
incurred by Sub-advisors, penalties, and all other proper charges and disbursements of the
                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 1-B
Trustee shall be paid or funded by the Grantor. Payment or funding for such taxes, fees, and
expenses by the Grantor shall be made as set forth in the Addendum. If the Grantor ceases to
exist, payment for such fees and expenses shall be made as set forth in the Addendum. The
Trustee under no circumstances shall be responsible in its corporate capacity for any Trust taxes,
fees, or other expenses with respect to the Trust.

Section 10. Accounting. The Trustee shall, on a semi-annual basis, furnish to the Grantor and to
the EPA Regional Administrator and [State Agency Head], a statement confirming the value of
the Fund and investments made by the Trustee (including applicable ratings on such
investments), and a cumulative and calendar year accounting of the amount the Trustee has paid
from the Fund for reimbursements, releases, or payments from the Fund pursuant to Section 4. If
the Trustee is informed by the Grantor that the Grantor’s Liquidity Buffer has fallen below $1
billion, then the Trustee shall, on a quarterly basis, furnish to the Grantor and to the EPA
Regional Administrator and [State Agency Head], a statement confirming the value of the Fund,
investments made by the Trustee (including applicable ratings on such investments), and a
cumulative and calendar year accounting of the amount the Trustee has paid from the Fund for
reimbursement, releases, or payments from the Fund. The Trustee shall also furnish a listing of
the applicable ratings of the investments of the Fund and shall furnish additional valuation
statements and accountings that are within the Trustee’s standard operating procedures of the
funds paid to the Grantor and any other person, as instructed in writing by the EPA Regional
Administrator and [State Agency Head]. EPA and [abbreviated State Agency] shall have access
to any client-accessible online account information for the [insert State] Phosphogypsum Trust
Fund. Any securities in the Fund shall be valued at market value as of no more than sixty (60)
days prior to the anniversary date of establishment of the Fund or sixty (60) days prior to a
quarterly accounting. The failure of the Grantor to object in writing to the Trustee within ninety
(90) days after the statement has been furnished to the Grantor, the EPA Regional Administrator,
and the [State Agency Head], shall constitute a conclusively binding assent by the Grantor,
barring the Grantor from asserting any claim or liability against the Trustee with respect to
matters disclosed in the statement.

Section 11. Advice of Counsel. The Trustee may from time to time consult with counsel, who
may be counsel to the Grantor, with respect to any question arising as to the construction of this
Agreement or any action to be taken hereunder. The Trustee shall be fully protected, to the
extent permitted by law, in acting upon the advice of counsel.

Section 12. Trustee Compensation. The Trustee shall be entitled to reasonable compensation for
its services as agreed upon in writing from time to time with the Grantor, or with EPA and
[abbreviation for State Agency] if the Grantor ceases to exist.

Section 13. Successor Trustee. The Trustee may resign or the Grantor, or the EPA Regional
Administrator and the [State Agency Head] if the Grantor ceases to exist, may replace the
Trustee, but such resignation or replacement shall not be effective until the Grantor, or the EPA
Regional Administrator and the [State Agency Head] if the Grantor ceases to exist, has appointed
a Successor Trustee and this successor accepts the appointment. The Successor Trustee shall
have the same powers and duties as those conferred upon the Trustee hereunder. Upon the
Successor Trustee’s acceptance of the appointment, the Trustee shall assign, transfer, and pay
over to the Successor Trustee the funds and properties then constituting the Fund. If for any
                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
reason the Grantor cannot or does not act in the event of the resignation of the Trustee, the
Trustee may apply to a court of competent jurisdiction in [insert appropriate State] for the
appointment of a Successor Trustee or for instructions and must send notice in writing of such
actions to the EPA Regional Administrator and [State Agency Head]. The Successor Trustee
shall specify the date on which it assumes administration of the trust in a writing sent to the
Grantor, the EPA Regional Administrator, and the [State Agency Head], and the present Trustee
by certified mail ten (10) days before such change becomes effective. Any expenses incurred by
the Trustee as a result of any of the acts contemplated by this Section shall be paid as provided in
Section 9, above.

Section 14. Instructions to the Trustee. The Trustee shall from time to time receive instruction as
set forth below, and which will be set out in the applicable Exhibit in Schedule D.

(a) All orders, requests, and instructions by the Grantor to the Trustee shall be in writing, signed
by such persons as are designated in the attached Schedule D, Exhibit A or such other designees
as the Grantor may designate by amendment to Exhibit A. The Trustee shall be fully protected
in acting without inquiry in accordance with the Grantor’s orders, requests, and instructions.
Initial instructions by the Grantor to the Trustee are attached as Schedule D, Exhibit B. New,
revised or amended instructions by the Grantor to the Trustee shall be dated and appended to
these Exhibits and shall be designated Exhibit B, respectively, followed by a numeric
designation (e.g., Exhibit B-1, Exhibit B-2).

(b) All orders, requests, and instructions by the EPA Regional Administrator and the [State
Agency Head] to the Trustee shall be in writing, signed by both the EPA Regional Administrator
and the [State Agency Head], unless otherwise indicated in instructions to the Trustee as signed
by both the EPA Regional Administrator and the [State Agency Head]. Initial instructions by the
EPA Regional Administrator and the [State Agency Head] to the Trustee are attached as
Schedule D, Exhibit C. New, revised or amended instructions by the EPA Regional
Administrator and the [State Agency Head] to the Trustee will be dated and appended to Exhibit
C followed by a numeric designation (e.g., Exhibit C-1, Exhibit C-2). The Trustee shall act and
shall be fully protected in acting in accordance with the EPA Regional Administrator’s and/or
the [State Agency Head’s] orders, requests, and instructions with respect to the Fund and shall be
fully protected in acting in accordance with instructions from the EPA Regional Administrator’s
and the [State Agency Head] with respect to the Fund generally.

(c) The Trustee shall have the right to assume, in the absence of written notice to the contrary,
that no event constituting a change or a termination of the authority of any person to act on
behalf of the Grantor, EPA or [abbreviated State Agency] hereunder has occurred. The Trustee
shall have no duty to act in the absence of such orders, requests, and instructions from the
Grantor, EPA and/or the [State Agency], except as provided for herein in this Agreement.

Section 15. Amendment of Agreement. This Agreement may be amended by an instrument in
writing executed by the Grantor, the Trustee, the EPA Regional Administrator, and the [State
Agency Head] or by the Trustee, the EPA Regional Administrator, and the [State Agency Head],
if the Grantor ceases to exist. Such an amendment may also take the form of a Trust Addendum
(“Addendum”) executed by the Grantor and the Trustee provided that the Addendum
supplements and does not contain terms that conflict, supersede, revise, or alter the terms of the
                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 1-B
Trust Agreement (or the requirements of Appendix 2 of the Consent Decree), and the Addendum
is approved by EPA and [insert State Agency designation] in their unreviewable discretion prior
to the Addendum taking effect. Any changes to Schedules A, B, and D must: (1) conform to the
Trust Agreement and Addendum, if applicable, and (2) are not required to go through the process
delineated in Section XVII (Modification Section) of the Consent Decree.

Section 16. Irrevocability and Termination. Subject to the right of the parties to amend this
Agreement as provided in Section 15, this [insert State name] Phosphogypsum Trust Fund shall
be irrevocable and shall continue until terminated at the written agreement of the Grantor, the
Trustee, the EPA Regional Administrator, and the [State Agency Head], or by the Trustee, the
EPA Regional Administrator, and the [State Agency Head] if the Grantor ceases to exist. Upon
termination of the Trust, all remaining Fund property, less final trust administration expenses,
shall be delivered to the Grantor unless otherwise directed by the Grantor or, if the Grantor has
ceased to exist, by a Court of competent jurisdiction.

Section 17. Immunity and Indemnification. The Trustee shall not incur personal liability of any
nature in connection with any act or omission, made in good faith, in the administration of this
Trust, or in carrying out any directions by the Grantor, the EPA Regional Administrator and the
[State Agency Head] issued in accordance with this Agreement. The Trustee shall be
indemnified and held harmless by the Grantor or from the Fund, or both, from and against any
personal liability to which the Trustee may be subjected by reason of any act or conduct in its
official capacity, including all expenses reasonably incurred in its defense in the event the
Grantor fails to provide such defense.

Section 18. Choice of Law and Jurisdiction and Venue for Disputes. This Agreement shall be
administered, construed, and enforced according to the laws of the State of Washington. Any
disputes that may arise hereunder among two or more of the Grantor, the Trustee, and the
Beneficiaries shall be resolved before the United States District Court having jurisdiction over
the Consent Decree, and the Grantor, the Trustee and the Beneficiaries each consent to
jurisdiction and venue before that court. In the event that such court decides not to exercise
jurisdiction over any such dispute, then such dispute shall be submitted to a court of competent
jurisdiction of [insert appropriate State] and the Grantor, the Trustee, and the Beneficiaries each
consent to jurisdiction and venue before that court. No litigation related to this Agreement shall
be commenced by the Grantor, the Trustee, or the Beneficiaries in a court outside of [insert
appropriate State].

Section 19. Interpretation. As used in this Agreement, words in the singular include the plural
and words in the plural include the singular. The term “Regional Administrator” as referenced in
this Trust Agreement shall also include the Assistant Administrator of the EPA Office of
Enforcement and Compliance Assurance or his/her designee, provided that when the approval of
the Regional Administrator is required hereunder, the approval of either the Regional
Administrator, or his/her designee, or the Assistant Administrator of the EPA Office of
Enforcement and Compliance Assurance or his/her designee, shall be sufficient. Whenever the
terms “EPA Regional Administrator” and “[State Agency Head]” are used, they shall be
construed to include the term “or his/her designee.” The descriptive headings for each Section of
this Agreement shall not affect the interpretation or the legal efficacy of this Agreement.

                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
In Witness Whereof the parties have caused this Agreement to be executed by their respective
officers duly authorized and their corporate seals to be hereunto affixed and attested as of the
date first above written: The parties below certify that the wording of this Agreement is identical
to the wording specified in Attachment D, Form 1-B, of Appendix 2 of the Consent Decree, with
bracketed material appropriately included.

                                       [Signature of Grantor]

                                               [Title]

Attest:

[Title]

[Seal]



                                       [Signature of Trustee]

Attest:

[Title]

[Seal]



(2) The following is an example of the certification of acknowledgment which must accompany
the Trust Agreement for a [insert state name] Phosphogypsum Trust Fund as specified Appendix
2 of the Consent Decree.

State of
________________________________________________________________________


County of
________________________________________________________________________


On this [date], before me personally came [owner or operator] to me known, who, being by me
duly sworn, did depose and say that she/he resides at [address], that she/he is [title] of
[corporation or limited liability company], the [corporation or limited liability company]
described in and which executed the above instrument; that she/he knows the seal of said
corporation; that the seal affixed to such instrument is such corporate seal; that it was so affixed
by order of the Board of [Directors or Managers] of said [corporation or limited liability
company], and that she/he signed her/his name thereto by like order.
                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 1-B
[Signature of Notary Public]




                                                           Mosaic
                               Appendix 2, Attachment D, Form 1-B
                                         Schedule A

Pursuant to Section 2, the Agreement demonstrates Financial Assurance for the following Cost
Estimate(s) for the following Facility(ies):

 Facilities                                                     Cost Estimates

 Operating Facility
  EPA Identification
           Number:                                     Stack System Closure: $
             LDEQ
      Identification                                Closure Associated Water
           Number:                                             Management: $

      Facility Name: Uncle Sam                        Long Term Care (LTC): $
                                                       LTC Associated Water
              Address:                                         Management: $
                                                                   Subtotal: $

 Closing Facility
  EPA Identification
           Number:                                    Long Term Care (LTC) $
              LDEQ
       Identification                                  LTC Associated Water
           Number:                                             Management $

      Facility Name: Faustina

              Address:
                                                                    Subtotal: $




                                                                                           Mosaic
                                                               Appendix 2, Attachment D, Form 1-B
                                            Schedule B

A.       Funding of the [insert state name] Phosphogypsum Trust Fund

The [insert state name] Phosphogypsum Trust Fund initially consists of the following property:

     x   [Insert amount of deposit specified in the Consent Decree. Specify that such a deposit is
         in cash.]




B.       Stand-by Trust

If needed, the [insert state name] Phosphogypsum Trust Fund will act as a Stand-by Trust for
deposits from, as applicable: a letter of credit, surety bond, or insurance proceeds. If and when,
under the terms of any Letter of Credit amounts are to be paid pursuant to a draft by EPA, such
amounts will be deposited by the issuing institution into the [insert state name] Phosphogypsum
Trust Fund in accordance with instructions from EPA. Changes to the property of the [insert
state name] Phosphogypsum Trust Fund will be set forth in the trust accounting statements of the
[insert state name] Phosphogypsum Trust Fund and the value and activity attributable to the
deposit will be reflected in the accounting or valuation statements, as described in Section 10 of
the Trust Agreement.




                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
                                           Schedule C

I. Instructions on Investment of the [insert state name] Phosphogypsum Trust Fund

(1) In accordance with Section 6 and 7 of the Trust Agreement, the following additional
instructions apply to the investment and re-investment of the principal and income of the Fund:

(a) The Trustee shall invest at least forty percent (40%) and no more than 50% of the [insert state
name] Phosphogypsum Trust Fund in U.S. Treasury Securities. Beginning twelve (12) months
after the Effective Date of this Agreement, no more than five percent (5%) of the [insert state
name] Phosphogypsum Trust Fund (based on current asset values) shall be invested in U.S.
Treasury Securities with maturities less than three (3) years provided that any Treasury
Securities originally purchased with a maturity of greater than ten (10) years and then held in the
[insert state name] Phosphogypsum Trust Fund shall not be counted against this five percent
(5%) limitation when its maturity becomes less than three (3) years. The remainder of the
investments in U.S. Treasury Securities shall have maturities equal to or greater than three (3)
years.

(b) The Trustee shall invest no more than fifteen percent (15%) of the [insert state name]
Phosphogypsum Trust Fund in Investment Grade corporate securities or municipal securities
with ratings by a Nationally Recognized Statistical Rating Organization of BBB/Baa2 (or
equivalent).

(c) The Trustee shall invest the balance of the [insert state name] Phosphogypsum Trust Fund in
Investment Grade corporate securities or municipal securities with ratings by a Nationally
Recognized Statistical Rating Organization of at least BBB+/Baa1 (or equivalent) or above.

(d) In the event that as a result of either the downgrading of one or more investments of the
[insert state name] Phosphogypsum Trust Fund or other circumstances outside the control of the
Trustee, either (i) the [insert state name] Phosphogypsum Trust Fund holds one or more
corporate or municipal securities which do not have ratings by a Nationally Recognized
Statistical Rating Organization of at least BBB/Baa2 (or equivalent), or (ii) the portion of the
[insert state name] Phosphogypsum Trust Fund invested in corporate or municipal securities
rated BBB/Baa2 (or equivalent) exceeds 15%, the Trustee shall have a reasonable and prudent
period of time to take steps to conform to the requirements of these instructions.

(e) To the extent a corporate or municipal security has two or more ratings by a Nationally
Recognized Statistical Rating Organization, then for purpose of paragraphs (b) and (c), the lower
of such ratings shall be utilized.

(f) Following any payments from the [insert state name] Phosphogypsum Trust Fund in
accordance with Section 4 of the Trust Agreement, the Trustee shall only invest in U.S. Treasury
Securities. At such time, the Trustee shall be afforded a reasonable and prudent period of time to
dispose of securities other than U.S. Treasury Securities and to acquire U.S. Treasury Securities.




                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 1-B
II. Instructions on Investment of Deposit from a Letter of Credit into the [insert state name]
Phosphogypsum Trust Fund

(1) In accordance with Section 6 and 7 of the Trust Agreement, the following additional
instructions apply to the investment of the Standby Trust: The Trustee shall invest any funds
placed into the Fund from a letter of credit, in time or demand deposits of the Trustee, to the
extent insured by an agency of the Federal or State government, so long as such deposits have no
penalties for immediate withdrawal; or in interest-bearing accounts maintained or savings
certificates issued by the Trustee, in its separate corporate capacity, or in any other banking
institution, to the extent insured by an agency of the Federal or State government, so long as such
accounts have no penalties for immediate withdrawal; or invested in other mechanisms,
accounts, or securities that are immediately accessible and which carry no penalty for immediate
withdrawal, unless otherwise specified at the time of the additional deposit.




                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
                                           Schedule D
Exhibit A

        The following sets forth the Grantor’s designated persons who may issue written orders,
requests and instructions to the Trustee on behalf of the Grantor. New, revised or amended
instructions following the Grantor’s initial instruction regarding such designated persons, will be
dated and appended to this Exhibit and shall be designated Exhibit A, followed by a numeric
designation (e.g., Exhibit A-1, Exhibit A-2).

[Insert Grantor’s designated persons who may issue written orders, requests and instructions to
the trustee on behalf of the Grantor, as required by Section 14 of the Trust Agreement.]




                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
                                             Schedule D

Exhibit B

        Nothing in the Grantor’s instructions shall alter or waive the rights of EPA or FDEP to
protect their interest in the [insert state name] Phosphogypsum Trust Fund.

        The following sets forth the Grantor’s initial instructions to the Trustee. New, revised or
amended instructions following the Grantor’s initial instruction to the Trustee (which shall be
dated), will be dated and appended to this Exhibit and shall be designated Exhibit B, followed by
a numeric designation (e.g., Exhibit B-1, Exhibit B-2). The Grantor’s initial instructions,
“Investment Policies and Guidelines,” are in accordance with the investment parameters in
Appendix 2, Paragraph 30.i.(1) and Section 6, Section 7, and Schedule C of this Trust
Agreement.

Initial Investment Policies and Guidelines for Trustee Pursuant to Trust Agreement and Trust
Agreement Addendum

These investment policies and guidelines are provided by Mosaic Fertilizer LLC (“Mosaic”) to
Russell Investment Company pursuant to Section 6 of the Trust Agreement, dated _____. These
policies and guidelines are subject in all respects to the requirements and conditions of the Trust
Agreement and Trust Agreement Addendum, including modification of any the policies and
guidelines.


I. OBJECTIVE                            A.    Seeks to provide a moderate long-run total return
                                              and aims to meet the full funding objective as soon
                                              as achievable consistent with the limitations of the
                                              Trust Agreement and the additional risk
                                              characteristics outlined in these investment policies
                                              and guidelines.

                                        B.    Seeks to provide 25-50 basis points of excess return
                                              over benchmark, gross-of-fees, over a market cycle
                                              (~5 years).

                                        C.    Provide clear guidelines as to the allocation of
                                              investments among Treasury instruments, and
                                              investment grade corporate and municipal
                                              instruments.


II. PERFORMANCE BENCHMARK

                                        A.    The Trust’s performance benchmark will be the
                                              composite benchmark of its underlying strategies
                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 1-B
                              and their policy weights, which may vary through
                              time.

                         B.   Given the initial policy allocation, the Trust’s
                              starting performance benchmark will be 40% US
                              Treasuries with a maturity profile aligned with the
                              Glide Path detailed in Section IV, 30% Barclays
                              U.S. Corporate Intermediate Index, and 30%
                              Barclays U.S. Municipal 1-10 Year Index.

III. POLICY ALLOCATION   A.   40% U.S. Treasuries managed by Russell, 30%
                              Intermediate Corporates managed by Russell or a
                              Russell-appointed sub-advisor, 30% Municipal
                              Bonds managed by Russell or a Russell-appointed
                              sub-advisor. These are targets subject to the ranges
                              set forth below. In addition, the [insert state name]
                              Phosphogypsum Trust Fund may hold funds in
                              interest bearing accounts of a banking institution to
                              the extent insured by an agency of the Federal or
                              State government.

                         B.   The allocation to U.S. Treasuries (which may
                              include U.S. backed obligations of U.S. Agencies)
                              shall at all times be no less than 40% and no more
                              than 50% of the Net Asset Value (NAV) of the
                              [insert state name] Phosphogypsum Trust Fund.
                              The allocation to municipal bonds shall at all times
                              be no less than 25% and no more than 35% of the
                              NAV of the [insert state name] Phosphogypsum
                              Trust Fund. The allocation to corporate instruments
                              shall at all times be no less than 25% and no more
                              than 35% of the NAV of the [insert state name]
                              Phosphogypsum Trust Fund.


IV. GLIDE PATH           A.   The US Treasury allocation will vary in its maturity
                              profile according to changes in yield on the 10-year
                              US Treasury as expressed by the following glide
                              path:
                                  x 10-year yield less than 2.00% = 100% 5-yr
                                  x 10-year yield 2.00-2.74% = 80% 5-yr, 20%
                                      10-yr
                                  x 10-year yield 2.75-3.49% = 60% 5-yr, 40%
                                      10-yr
                                  x 10-year yield 3.50-4.24% = 40% 5-yr, 60%
                                      10-yr

                                                                               Mosaic
                                                   Appendix 2, Attachment D, Form 1-B
                                   x   10-year yield 4.25-4.99% = 20% 5-yr, 80%
                                       10-yr
                                   x   10-year yield greater than 4.99% = 100% 10-
                                       yr

                           B.   Actual maturities held may vary within +/- 1 year-to-
                                maturity from the glide path target.

                           C.   When the 10-year Treasury yield reaches 4.99%
                                Mosaic and Russell will reevaluate the appropriate
                                duration target for the [insert state name]
                                Phosphogypsum Trust Fund in light of the full
                                funding objective and the Trust’s asset size at which
                                time this Glide Path may be altered to encompass
                                US Treasury instruments with maturities greater
                                than 10 years.

                           D.   In conjunction with moves along the glide path, the
                                performance benchmark will also change to include
                                an equivalent weight in the Barclays Treasuries
                                Bellwethers:10-Year Index and other appropriate
                                benchmarks as the maturity of the investments
                                extend beyond 10 years.


V. INVESTMENT PARAMETERS


1. Duration Range          a)   Portfolio effective duration is permitted to range
                                from 0.70 to 1.30 times the duration of the
                                benchmark at all times.
                           b)   Benchmark duration will be adjusted over time in
                                accordance with the Glide Path set forth in these
                                guidelines and any other changes to the Policy
                                Allocation.

2. Maturity Limits         a)   No individual security restrictions, except that
                                starting 12 months after the Effective Date of the
                                Trust Agreement, no more than 5% of the NAV of
                                the [insert state name] Phosphogypsum Trust Fund
                                shall consist of, in the aggregate, (i) US Treasury
                                Securities with maturities of less than three years, or
                                (ii) interest bearing accounts of a banking institution
                                to the extent insured by an agency of the Federal or
                                State government.

                           b)   Yield curve strategies are permitted.
                                                                                 Mosaic
                                                     Appendix 2, Attachment D, Form 1-B
3. Quality                a)    The [insert state name] Phosphogypsum Trust Fund
                                will hold at least 40% and no more than 50% of its
                                NAV in US Treasuries and US government-
                                guaranteed securities.
                          b)    The portfolio may not purchase corporate or
                                municipal securities rated below BBB or Baa2 at
                                the time of purchase, based on the lower rating for
                                split rated issues.
                          (c)   Previously purchased securities downgraded below
                                BBB or Baa2 may be held for a reasonable and
                                prudent period of time if Russell believes it is in the
                                interest of the Fund to do so.
                          (d)    No more than 15% of the NAV of the portfolio may
                                be in securities with ratings of either BBB or Baa2.
                                If previously purchased securities are downgraded
                                such that more than 15% of the NAV of the
                                portfolio is rated either BBB or Baa2, the excess
                                shall be transferred to securities rated above BBB
                                and Baa2, but those excess securities may be held
                                for a reasonable and prudent period of time if
                                Russell believes it is in the interest of the Trust to
                                do so.

     4. Diversification   a)    The following diversification requirements apply to
                                corporate and municipal securities:
                                (i) No more than 5% of the NAV of the [insert state
                                name] Phosphogypsum Trust Fund may be held in
                                securities from any one issuer (other than the US
                                Treasury).
                                (ii) No more than 10% of the NAV of the [insert
                                state name] Phosphogypsum Trust Fund may be
                                held in any one corporate industry as defined by
                                Barclays Capital.

5. Asset Class Exposure   a)    Exposure to common stock and stock indices is
                                prohibited except when acquired as a part of a debt
                                restructuring, in which case it must be liquidated
                                within three months.

6. Liquidity              a)    Illiquid securities will not exceed 5% of the
                                portfolio at the time of purchase and must have
                                daily pricing.
                          b)    Illiquid securities are those which
                                x Do not have an active secondary market
                                     (making it difficult for an owner of the security
                                     to sell it); or
                                                                                 Mosaic
                                                     Appendix 2, Attachment D, Form 1-B
                                                         x    Do not have a readily available market or that
                                                              are subject to resale restrictions.


7. Leverage & Shorting                              a)   The borrowing of money or securities for the
                                                         purposes of leveraging, shorting, or other
                                                         investment is prohibited.

8. General Requirements                             a)   Any departure from these guidelines must be
                                                         reported in writing to Mosaic, EPA, FDEP, and
                                                         LDEQ as soon as discovered.

9. Other                                            a)   See Eligible/Prohibited Investments Table.


                                            Fund Level Requirements


1. OTC Derivatives Counterparty Exposure--Not allowed
2.Non-U.S. dollar denominated bonds--not allowed.

                       TYPE OF INVESTMENT                       ELIGIBLE           PROHIBITED                COMMENTS

 U.S. Treasury Securities                                           X
 U.S. Agency Securities                                             X
 Mortgage-Related Securities                                                             x
 Asset-Backed Securities                                                                 x
 Corporate Securities (public)                                      X
 Municipal bonds                                                    x

 DERIVATIVES:                                                No investment, including futures, options and other derivatives, may
                                                             be purchased if its return is directly or indirectly determined by an
                                                             investment prohibited elsewhere in these guidelines.
 Futures                                                                                 x
 Options                                                                                 x
 Currency Forwards                                                                       x
 Currency Futures                                                                        x
 Currency Options                                                                        x
 Currency Swaps                                                                          x
 Interest Rate Swaps                                                                     x
 Total Return Swaps                                                                      x
 Structured Notes                                                                        X
 Collateralized Debt Obligations                                                         x
 Credit Default Swaps                                                                    X
 Mortgage-Related Derivatives                                                            X

 FOREIGN / NON-U.S. DOLLAR:
 Foreign CDs                                                                             X
 Foreign U.S. Dollar Denominated Securities                                              X
 Non-U.S. Dollar Denominated Bonds                                                       X
 Supranational U.S. Dollar Denominated Securities                                        X

 COMMINGLED VEHICLES (except STIF):
 Collective Funds                                                                        X
 Commingled Trust Funds (open ended mutual funds only)                                   X
 Common Trust Funds                                                                      X
 Registered Investment Companies                                                         X
                                                                                                                 Mosaic
                                                                                     Appendix 2, Attachment D, Form 1-B
MONEY MARKET SECURITIES:
Qualified STIF                                                    x
Interest Bearing Bank Obligations Insured by a Federal or   X
State Agency
Commercial Paper                                                  x
Master Note Agreements and Demand Notes                           x
Repurchase Agreements                                             x

OTHER:
Bank Loans                                                        x
Convertibles (e.g., Lyons)                                        x
Municipal Bonds                                             X
Preferred Stock                                                   x
Private Placements (excluding 144A)                         X
Rule 144A Issues                                            X
Zero Coupon Bonds                                           X
Commodities                                                       X
Catastrophe Bonds                                                 X




                                                                                            Mosaic
                                                                Appendix 2, Attachment D, Form 1-B
                                                   Schedule D

Exhibit C

         The following sets forth the EPA Regional Administrator’s and the [State Agency Head]
initial instructions to the Trustee. New, revised or amended instructions following such initial
instructions to the Trustee (which shall be dated), will be dated and appended to this Exhibit and
shall be designated Exhibit C, followed by a numeric designation (e.g., Exhibit C-1, Exhibit C-
2).

Instructions to Trustee for Reimbursement, Releases, or Payment of Funds1

1. The Trustee shall act and shall be fully protected in acting in accordance with written orders,
requests, and instructions signed solely by either the EPA Regional Administrator or the [State
Agency Head],2 where written instructions signed by both the EPA Regional Administrator and
the [State Agency Head] have authorized either the EPA Regional Administrator or [State Head]
to act independently to provide such orders, requests, and instructions for reimbursements in
accordance with subparagraph 2, below, releases in accordance with subparagraph 3, below, or
payments in accordance with subparagraph 4, below.

2. Reimbursement. Each year, or more often as needed, for the purpose of providing
reimbursements from the Fund, [State Agency Head] and EPA will jointly provide written
instructions to the Trustee specifying a cumulative “Reimbursable Amount” for the Facilities
listed in Schedule A. The Trustee shall reimburse the Grantor or other persons authorized to
conduct Phosphogypsum Stack System Closure and/or Long Term Care as specified by the
[State Head] from the Fund for Phosphogypsum Stack System Closure and/or Long Term Care
expenditures in such amounts as the [State Agency Head] shall direct, in writing, up to the
Reimbursable Amount, without the need for written direction or concurrence by the EPA
Regional Administrator. The initial Reimbursable Amount is $ 0.00.3

The Trustee may not pay-out any amount from the Fund over the Reimbursable Amount without
joint instructions in writing by both the EPA Regional Administrator and [State Agency Head].

The Trustee shall notify the EPA Regional Administrator if the Trustee receives directions,
including those in writing, from the [State Head], to reimburse the Grantor or other persons
specified by the [State Agency Head] from the Fund for expenditures in excess of the
Reimbursable Amount.

3. Releases. The Trustee shall release funds from the Fund upon the joint written instructions of

1
  The instructions in this Exhibit C apply so long as the Trustee has not received written notice from the EPA
Regional Administrator and the [State Agency Head] that Section [insert section designation of the Consent Decree]
(Work Takeover) of the Consent Decree has been triggered. The EPA Regional Administrator and the [State
Agency Head] will send additional written instructions to the Trustee in the event that Section [insert section
designation of the Consent Decree] (Work Takeover) of the Consent Decree has been triggered.
2
  Whenever the terms “[State Agency Head]” or “EPA Regional Administrator” are used, they shall be construed to
include the phrase, “or his/her designee.” Additionally, the term “Regional Administrator” as referenced in these
instructions shall also include the Assistant Administrator of the EPA Office of Enforcement and Compliance
Assurance or his/her designee.
3
  As the Grantor (or other authorized person) is not conducting Phosphogypsum Stack System Closure and/or Long
Term Care covered by this Fund at the Facilities listed in Schedule A, there is no set Reimbursable Amount as of
Date __, 2016.
                                                                                                                Mosaic
                                                                                 Appendix 2, Attachment D, Form 1-B
[State Agency Head] and EPA.

4. Payments. The Trustee shall make payments from the Fund upon joint written instructions of
[State Agency Head] and EPA.


_______________________             __________
EPA Regional Administrator          Date


_______________________             __________
State Head                          Date




                                                                                           Mosaic
                                                               Appendix 2, Attachment D, Form 1-B
Attachment D, Form 2
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                             TRUST AGREEMENT ADDENDUM

       This Trust Agreement Addendum dated as of [insert date] (“Addendum”) is executed by
and between Mosaic Fertilizer, Inc. (the “Grantor”) and Russell Investment Company as trustee
(the “Trustee”), and relates to the Trust Agreement dated as of [insert date] (the “Trust
Agreement”) between the Grantor and the Trustee in connection with the Consent Decree
entered into by the U.S. Environmental Protection Agency (“EPA”) and [insert as applicable the
Florida Department of Environmental Protection (“FDEP”) or the Louisiana Department of
Environmental Quality (“LDEQ”)] and the Grantor. Capitalized terms used herein but not
defined herein shall have the meanings given to them in the Trust Agreement.

        Nothing in this Trust Agreement Addendum shall be construed to contradict or supersede
the terms of the Trust Agreement. In the event of any conflict between the Trust Agreement and
the Addendum, the Trust Agreement shall control.

Section 1. The following provisions shall supplement Section 6 of the Trust Agreement with
respect to the Trustee management:

        a.     Any modification to Schedule C of the Trust Agreement is subject to the Section
XVIII (Modification Section) of the Consent Decree and must be in writing signed by the
Grantor, EPA and [abbreviation State Agency] or, if the Grantor ceases to exist, by EPA and
[abbreviation State Agency]. Any changes by the Grantor to investment policies and guidelines
(Schedule D, Exhibit B of the Trust Agreement) shall first be sent to EPA and [abbreviation
State Agency] and may thereafter be communicated to the Trustee unless either EPA or the
[abbreviation State Agency] has objected within ninety (90) Days thereof. EPA’s and/or
[abbreviation State Agency] failure to object to any change to investment policy and guidelines
shall not be construed as approval or acceptance of the Grantor’s instructions and does not alter
or waive the rights of EPA or [abbreviation State Agency] to protect their interest in the Florida
Phosphogypsum Trust Fund. The Grantor’s initial instructions, “Investment Policies and
Guidelines” (Schedule D, Exhibit B of the Trust Agreement), are in accordance with the
investment Parameters in Appendix 2, Paragraph 30.i.(1) and Section 6, Section 7, and Schedule
C of the Trust Agreement.


        b.      The Trustee may hire one or more persons or entities to provide certain
investment management services in the day-to-day management of the Fund (each, a “Sub-
advisor”). The Sub-advisor shall be bound by and perform all duties in compliance with the
terms of the Trust Agreement, this Addendum and applicable law and regulations, and shall
manage investments of the Fund as set forth in the Trust Agreement. In addition, the [insert
State name] Phosphogypsum Trust Fund shall not acquire or retain investments that are deposits
with or other liabilities of any Sub-advisor or any affiliate of such Sub-advisor. Once a quarter,
or upon request, the Trustee shall make available to the Beneficiaries (i.e., U.S. EPA, and [as
applicable FDEP or LDEQ]) and the Grantor a list of the Sub-advisors engaged by the Trustee.



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                                                                    Appendix 2, Attachment D, Form 2
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         c.     A Sub-advisor shall discharge his/her duties with respect to the [insert State
name] Phosphogypsum Trust Fund solely in the interest of the beneficiary and with the care,
skill, prudence, and diligence under the circumstances then prevailing which persons of
prudence, acting in like capacity and familiar with such matters, would use in the conduct of an
enterprise in a like character and with like aims except as set forth in the Trust Agreement, this
Addendum or applicable law. A Sub-advisor shall not incur personal liability of any nature in
connection with an act or omission, made in good faith, in providing services to the Trustee in
the day-to-day management of the [insert State name] Phosphogypsum Trust Fund. If the
Trustee receives or has knowledge of an action by a Sub-advisor that is not in conformance with
the Trust Agreement, this Addendum, any agreement between the Trustee and the Sub-advisor,
or applicable law or regulations, the Trustee shall notify the Beneficiaries and the Grantor of
such action immediately, and the action being taken by the Trustee to remedy the non-
conformance. Such notice shall not affect the Beneficiaries’ authority to take any appropriate
actions related to such non-compliance.

        d.    A Sub-advisor shall only engage in those activities that are specifically described
in this Addendum as ones that may be performed by a Sub-advisor.

       e.      Payment for the services of a Sub-advisor and any fees, taxes, or costs associated
with services provided by the Sub-advisor shall not be paid from the [insert state name]
Phosphogypsum Trust Fund but is the obligation of the Grantor.

         f.      The Grantor authorizes the Trustee to engage its affiliates in providing services
for the [insert State name] Phosphogypsum Trust Fund, including, but not limited to, engaging
its affiliated broker, Russell Implementation Services, Inc., to provide investment management
and brokerage services on behalf of the [insert State name] Phosphogypsum Trust Fund. In
addition to applicable law and regulations, in managing potential conflicts of interest, the
Trustee, its affiliates, and their employees shall adhere to its Global Code of Conduct and
Regional Codes of Ethics, which include specific restrictions and discussions regarding the steps
the Trustee takes to manage potential conflicts of interests. Should any conflict arise between
applicable laws and regulations in managing potential conflicts of interest and the Global Code
of Conduct and Regional Codes of Ethics, the applicable laws and regulations shall govern.
Furthermore, in assessing whether and under what terms to engage an affiliate, the Trustee shall
discharge its duties with respect to the [insert State name] Phosphogypsum Trust Fund solely in
the interest of the beneficiaries and with the care, skill, prudence, and diligence under the
circumstances then prevailing which prudent investors, acting in a like capacity and familiar with
such matters, would use in the conduct of an enterprise of a like character and with like aims.

        g.     A copy of any investment policies and guidelines provided by the Grantor must
also be provided to the Beneficiaries.

Section 2: The following provisions shall supplement Section 8 of the Trust Agreement with
respect to the express powers of the Trustee.

        a.     To employ suitable agents, including custodians, recordkeepers, auditors, and
legal counsel. Payment for the services of agents, custodians, recordkeepers, auditors, and legal
                                                                                              Mosaic
                                                                    Appendix 2, Attachment D, Form 2
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counsel, or any other expense, compensation, fees, or costs for services rendered by persons
employed by the Trustee (both those affiliated and not affiliated with the Trustee), shall (except
as provided in Section 9 of the Trust Agreement) not be paid from the [insert state name]
Phosphogypsum Trust Fund but is an obligation of the Grantor.

        b.      To participate in and to consent to, or oppose, any plan or reorganization,
consolidation, merger, liquidation, or other similar plan relating to any property of the [insert
State name] Phosphogypsum Trust Fund, and to the extent permitted by applicable law, to
deposit any property with any protective, reorganization, or similar committee. The Trustee, as
permitted by applicable law, may delegate discretionary power to such committee. Any
expenses and compensation of the committee agreed to be paid, as well as any assessments
levied with respect to any property so deposited, shall (except as provided in Section 9 of the
Trust Agreement) not be paid from the [insert State name] Phosphogypsum Trust Fund but is an
obligation of the Grantor.

        c.     Generally to do all acts, and to make, execute and deliver all such deeds,
contracts, and other instruments, in certain circumstances (i.e., bankruptcy, mergers, or
reorganizations), which the Trustee may deem necessary or desirable to carry out the purposes of
the foregoing powers or for the protection of the [insert State name] Phosphogypsum Trust Fund.
The Trustee will take a reasonable and prudent period of time to convert any instruments it may
acquire that do not conform to the investments described in Schedule C to the Trust Agreement
into the investments that do conform to Schedule C to the Trust Agreement.

Section 3: The following provisions shall supplement the Trust Agreement with respect to the
rights, duties, liabilities, privileges, and immunities of the Trustee set forth in the Trust
Agreement.

        a.       The Trustee shall be obligated only to perform the duties specifically set forth
in the Trust Agreement and this Addendum. The Trust Agreement and this Addendum set
forth all matters pertinent to the [insert State name] Phosphogypsum Trust Fund
contemplated thereunder and hereunder, and no additional obligations of the Trustee shall be
inferred from the terms of the Trust Agreement or any other agreement.

        b.       No provision of this Agreement shall require the Trustee to risk or advance its
own funds or otherwise incur any financial liability in the performance of its duties or the
exercise of its rights, where such performance and rights are exercised in a manner consistent
with this Agreement.

Section 4: The following provision shall supplement the Trust Agreement with respect to the
immunity and indemnification of the Trustee set forth in Section 17 of the Trust Agreement.

        a.       The Trustee shall not be liable for any act or omission while acting in good faith
as set forth in Section 17 of the Trust Agreement. The Trustee assumes no responsibility for the
validity or sufficiency of any instrument held under the Trust Agreement.


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                                                                      Appendix 2, Attachment D, Form 2
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Section 5: The following provision shall supplement the Trust Agreement with respect to
communications and instructions as set forth in the Trust Agreement.

       a.    All notices, requests, demands, and any other communication required under the
Trust Agreement or this Addendum shall be in writing, in English, and shall be:

If to Grantor:
[Insert information.]

If to Trustee:
[Insert information.]

If to U.S. EPA
[Insert information.]

[As applicable:

If to FDEP:
[Insert information.], or

If to LDEQ:
[Insert information.]]

Section 6: The following provisions shall supplement the Trust Agreement with respect
Successor Trustees as set forth in Section 13 of the Trust Agreement.

       a.   Resignation of the Trustee.

         If the Trustee seeks to resign as Trustee, it shall provide the Grantor and the Beneficiaries
at least nine (9)-months advance notice of its intent to do so. The Grantor shall thereafter take
reasonable and appropriate steps to identify and reach agreement with a Successor Trustee under
the parameters set forth in Paragraph 30 of Appendix 2, and shall consult with the Beneficiaries
regarding the proposed Successor Trustee. The Grantor shall notify the Trustee in writing when
a Successor Trustee has been selected (the “Successor Notice”), and so long as the Successor
Trustee meets the requirements of Paragraph 30 of Appendix 2, the Successor Trustee shall
assume the responsibilities of Trustee hereunder when: (i) it has entered into this Trust
Agreement; and (ii) the funds and proprieties constituting the [insert State name]
Phosphogypsum Trust Fund have been transferred to the Successor Trustee. Such assumption of
responsibilities shall not take place prior to thirty (30) Days after the Successor Notice unless the
Trustee otherwise agrees. The Trustee shall cooperate with the Grantor and the Successor
Trustee in the transition of the Trust to the Successor Trustee. Notwithstanding the foregoing, in
the event that the Grantor is in breach of its obligations with respect to the payment of taxes or
expenses incurred by the Trust, the Trustee may provide the Grantor and Beneficiaries with
notice of resignation that will be effective sixty (60) Days after the notice is sent, so long as a
Successor Trustee that meets the requirements of Paragraph 30 of Appendix 2 has accepted an

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                                                                       Appendix 2, Attachment D, Form 2
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appointment as Successor Trustee, or in accordance with Section 13 of the Trust Agreement the
Trustee applies to a court of competent jurisdiction for the appointment of a Successor Trustee.

       b. Termination of the Trustee by the Grantor

        The Trustee may be terminated by the Grantor at any time, following consultation with
the Beneficiaries explaining the purpose or benefit of such termination and identifying the
proposed Successor Trustee, on the provision of at least ninety (90) Days written notice, except
that the Trustee may be terminated upon notice in fewer than ninety (90) Days if the Grantor
determines that the Trustee has engaged in a material breach of its obligations hereunder. The
Grantor shall notify the Trustee in writing when a Successor Trustee that meets the requirements
of Paragraph 30 of Appendix 2 has been selected, and the Successor Trustee shall assume the
responsibilities of Trustee hereunder when: (i) it has entered into this Trust Agreement; and (ii)
the funds and proprieties constituting the [insert State name] Phosphogypsum Trust Fund have
been transferred to the Successor Trustee. The Trustee shall cooperate with the Grantor and the
Successor Trustee in the transition of the Trust to the Successor Trustee.


Section 7: The following provisions shall supplement the Trust Agreement with respect to taxes,
fees, and expenses as set forth in Section 9 of the Trust Agreement.

       a. Taxes, fees, and expenses paid by the Grantor shall be funded as follows:

        (1)     The Trustee shall establish an interest bearing account, separate from the [insert
State name] Phosphogypsum Trust Fund, to be used for the payment of any taxes, fees, and
expenses that may be owed or incurred by the [insert State name] Phosphogypsum Trust Fund.
This account shall be referred to as the [insert State name] T&E Trust Fund Account. The
[insert state name] Phosphogypsum Trust Fund and the [insert State name] T&E Trust Fund
Account shall be treated as separate components of the single Trust created and governed under
the Trust Agreement. The [insert State name] T&E Trust Fund Account shall be established on
the date that the [insert State name] Phosphogypsum Trust Fund is established pursuant to the
Consent Decree.

        (2)     No later than November 30th of each calendar year that the [insert State name]
Phosphogypsum Trust Fund remains in existence, the Trustee shall provide the Grantor with an
itemized estimate of the fees and expenses it expects to incur during the following calendar year
(the “Estimated Annual Expenses”), and by no later than December 31 of each calendar year, the
Grantor shall develop an estimate of the taxes it expects the [insert State name] Phosphogypsum
Trust Fund to owe for the income expected to be earned during the following calendar year (the
“Estimated Annual Taxes”). By January 10 of the next calendar year, the Grantor shall transmit
to the Trustee to be deposited into the [insert State name] T&E Trust Fund Account, funds in the
amount of at least 105% of the sum of the Estimated Annual Taxes plus the Estimated Annual
Expenses, less any funds then in the [insert State name] T&E Trust Fund Account in excess of
the amounts needed to cover taxes and expenses for past activities.

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         (3)    If at any time during the year, the Trustee determines that the amount in the
[insert State name] T&E Trust Fund Account is insufficient to cover expenses for the remainder
of the calendar year and taxes that are expected to be paid, it shall so notify the Grantor which
shall transmit any expected deficiency to the Trustee (for deposit into the [insert State name]
T&E Trust Fund Account) within thirty (30) Days thereafter.

        (4)     If prior to the filing of any tax returns by the Trustee, or the payment of any
required estimated taxes, there are insufficient funds in the [insert State name] T&E Trust Fund
Account to pay the taxes (including interest or penalties) that the [insert State name]
Phosphogypsum Trust Fund then owes, the Grantor shall, within twenty (20) Days of receiving
notice from the Trustee, transmit any expected deficiency to the Trustee (for deposit into the
[insert State name] T&E Trust Fund Account) prior to the due date of the taxes.

       (5)     To cover the Trustee’s expenses for the remainder of the year in which the [insert
State name] Phosphogypsum Trust Fund is created, and the taxes that will be owed for the
remainder of such year, the Grantor and Trustee shall have determined the Estimated Annual
Expenses and Estimated Annual Taxes and have funded the [insert State name] T&E Trust Fund
Account with 105% of the sum of those estimates on the date that the [insert State name]
Phosphogypsum Trust Fund is established pursuant to the Consent Decree. The provisions of
Section 7, subsection a.(2) and (3), above, shall apply for the remainder of such initial year.

       (6)     To the extent that the [insert State name] Phosphogypsum Trust Fund may owe
taxes on the Fund:

       (i) The Trustee shall obtain an employer identification number for the [insert State name]
       Phosphogypsum Trust Fund in accordance with applicable Treasury Regulations.

       (ii) The Trustee shall timely prepare and file all tax returns as required under applicable
       federal, state and local law.

       (iii) The Trustee shall retain the services of a certified public accounting firm (the “CPA
       Firm”) to prepare all such tax returns, and the fees and expenses incurred by the Trustee
       in connection therewith shall be funded by contributions by the Grantor into the [insert
       State name] T&E Trust Fund Account. The Grantor shall timely provide the Trustee with
       any information reasonably requested by the Trustee for the fulfillment of the Trustee’s
       tax filing, payment and reporting obligations. The Grantor expressly agrees that it
       expects and requests the Trustee to rely fully on the advice of the CPA Firm and on the
       tax forms and instructions the CPA Firm provides in fulfilling the Trustee’s
       responsibilities with respect to the filing of tax returns and statements and the payment of
       taxes. This express agreement by the Grantor does not waive, supersede, or alter any
       rights of the Beneficiaries.

        (7)     If the Grantor is required to directly pay any taxes (including estimated taxes and
interest) or penalties associated with the [insert State name] Phosphogypsum Trust Fund, then
the Trustee shall timely provide Grantor with any information reasonably requested by the


                                                                                               Mosaic
                                                                     Appendix 2, Attachment D, Form 2




Grantor for the fulfillment of Grantor’s tax filing, payment and reporting obligations under
federal, state and local laws.

        (8)     The Trustee shall notify the Grantor, EPA and the [abbreviated State Agency], by
certified mail within five (5) Days if no payment if received from the Grantor for the [insert
State name] T&E Trust Fund Account as required by the Section and if the Grantor does not
provide any information that the Trustee requests so that it can perform its duties under this Trust
Agreement.

       b.      Fees and expenses shall be funded as follows when the Grantor ceases to exist:

                (1)    All fees and expenses shall first be paid from any remaining funds in the
[insert State name] T&E Trust Fund Account. In the event that are no remaining funds in the
[insert State name] T&E Trust Fund Account, then fees and expenses shall be paid from the
[insert State name] Phosphogypsum Trust Fund, unless otherwise directed by EPA and
[abbreviated State Agency]. The Trustee shall notify and provide an itemized list of expenses
and fees to the Beneficiaries at least thirty (30) Days prior to payment by the Trustee, or if
Trustee is unable to provide thirty (30) Days in advance, then notice with the itemized list of
expenses shall be provided as soon as reasonably possible prior to payment or at the time that
payment is made with an explanation stating why the Beneficiaries did not receive prior notice.
The Beneficiaries reserve all their rights to contest any specified expenses or fees.

Section 8: The following provisions shall supplement the Trust Agreement with respect to
compensation of the Trustee as set forth in Section 12 of the Trust Agreement.

       The Trustee shall receive reasonable compensation, as specified in Section 12 of the
Trust Agreement, and expense reimbursement for its services under the Trust Agreement in
accordance with the schedule attached hereto as Exhibit 1, which shall be paid by the Grantor.




[Insert signature lines for Trustee and Grantor]




                                                                                               Mosaic
                                                                     Appendix 2, Attachment D, Form 2

Attachment D, Form 3
                             IRREVOCABLE STANDBY LETTER OF CREDIT

Regional Administrator, Region 6, U.S. Environmental Protection Agency

Director, Louisiana Department of Environmental Quality


Dear Sir(s) or Madam(s): We hereby establish our Irrevocable Standby Letter of Credit No. --- in
your favor, at the request and for the account of [owner’s or operator’s name and address] up to
the aggregate amount of [insert amount in words] U.S. dollars $[insert amount in numbers],
available upon presentation by both of you of

(1) your sight draft, bearing reference to this letter of credit No. ---, and

(2) your signed statement reading as follows: “I certify that the amount of the draft is payable
pursuant to Consent Decree [case names/docket information for consent decrees] entered into
pursuant to the Resource Conservation and Recovery Act of 1976 as amended.”

This letter of credit is effective as of [date] and shall expire on [date at least 1 year later], but
such expiration date shall be automatically extended for a period of [at least 1 year] on [date]
and on each successive expiration date, unless, at least 120 Days before the current expiration
date, we notify both of you and [owner’s or operator’s name] by certified mail that we have
decided not to extend this letter of credit beyond the current expiration date. In the event you are
so notified, any unused portion of the credit shall be available upon presentation of your sight
drafts for 120 Days after the date of receipt by both of you and [owner’s or operator’s name], as
shown on the signed return receipts.

Whenever this letter of credit is drawn on under and in compliance with the terms of this credit,
we shall duly honor such draft upon presentation to us, and we shall deposit the entire amount of
the draft directly into the Trust Fund (Account No.___) created by the Trust Agreement entered
by Mosaic Fertilizer, LLC dated ____ 2015, or as otherwise instructed by both of you, in
accordance with your instructions.


[Signature(s) and title(s) of official(s) of issuing institution] [Date]

This credit is subject to [insert “the most recent edition of the Uniform Customs and Practice for
Documentary Credits, published and copyrighted by the International Chamber of Commerce,”
or “the Uniform Commercial Code”].




                                                                                                     Mosaic
                                                                           Appendix 2, Attachment D, Form 3
U.S. Environmental Protection Agency
Regional Administrator
Region 6

Louisiana Department of Environmental Quality
Director

Attention: [Specify EPA Office and State Office]

Dear Sir(s) or Madam(s):

In accordance with Appendix 2 of Consent Decrees [case names/docket information for consent
decrees] we have established Irrevocable Standby Letter of Credit No. _______ issued by [name
of issuing institution] on [issuing date] in the amount of [insert amount in words] U.S. dollars
($[insert amount in numbers]) for the following facilities [insert Facility name, EPA ID number,
and address, and indicate if coverage is for Phosphogypsum Stack System Closure and/or Long
Term Care:]

I certify that the letter of credit provider is a federally insured financial institution. I certify that
the wording of the letter of credit is identical to the wording specified in Attachment D, Form 3,
of Appendix 2, of the Consent Decree [case names/docket information for consent decree].

Sincerely,


_____________________
(Name)
Chief Financial Officer
Mosaic Fertilizer, LLC




                                                                                                    Mosaic
                                                                          Appendix 2, Attachment D, Form 3
Attachment D, Form 4-A
                           CORPORATE FINANCIAL TEST
                           Letter from Chief Financial Officer

Instructions: The letter from the Chief Financial Officer, as specified in Section III.A of
Appendix 2 of the Consent Decree, must be worded as follows, except that instructions in
the brackets are to be replaced with the relevant information and the brackets deleted.

[Address to Regional Administrator of every Region and every State Agency Head of
every State in which facilities for which financial responsibility is to be demonstrated
through the corporate financial test are located].

I am the Chief Financial Officer (“CFO”) of [insert name and address of firm]
(hereinafter, “the firm”). This letter is in support of this firm’s use of the corporate
financial test to demonstrate Financial Assurance for costs associated with
Phosphogypsum Stack System Closure and/or Long Term Care.

[Fill out paragraphs 1-14, below, and provide supporting documentation, when required.
If your firm has no facilities that belong in a particular paragraph, write “None” in the
space indicated.]

1. This firm is the owner or operator of the Facilities, listed below, for which Financial
Assurance for Phosphogypsum Stack System Closure and/or Long Term Care is
demonstrated through the corporate financial test specified in Section III.A of Appendix
2 of the Consent Decree [case name/docket information for the Consent Decree]. The
current Phosphogypsum Stack System Closure and/or Long Term Care Cost Estimates
covered by the corporate financial test are provided for each listed facility below in
Schedule A, attached to this letter. [Attach Schedule A. For informational purposes, see
Schedule A, Example 1.]

        [List facilities and include the EPA Identification Number, name, address, and
total current Cost Estimate for Phosphogypsum Stack System Closure and/or Long Term
Care for each facility.]

2. This firm guarantees, through the Guarantee specified in Section III.A of Appendix 2
of the Consent Decree [case name/docket information for the Consent Decree], the
Phosphogypsum Stack System Closure and/or Long Term Care of the Facilities, listed
below, owned or operated by the guaranteed party. The current Cost Estimates for the
Phosphogypsum Stack System Closure and/or Long Term Care so guaranteed are
provided for each Facility listed below in Schedule A, attached to this letter. [Attach
Schedule A. For informational purposes, see Schedule A, Example 2.]

        [List facilities and include the EPA Identification Number, name, address, and
total current Cost Estimate for Phosphogypsum Stack System Closure and/or Long Term
Care for each facility.]




                                                                                          Mosaic
                                                              Appendix 2, Attachment D, Form 4-A
3. The firm identified above is: [insert one or more: (1) The direct or higher-tier parent
corporation of the owner or operator; (2) owned by the same parent corporation as the
parent corporation of the owner or operator, and receiving the following value in
consideration of this guarantee ____ [insert description of value received]; or (3) engaged
in the following substantial business relationship with the owner or operator ____ [insert
brief characterization of relationship], and receiving the following value in consideration
of this guarantee ____ [insert value received]]. [Attach a written description of the
business relationship or a copy of the contract establishing such relationship to this
letter].

4. The firm, as owner or operator or guarantor, is using a financial test or guarantee to
secure the Environmental Obligations of the facilities listed in Schedule B for which
financial assurance is required under programs that EPA directly operates and obligations
where EPA has delegated authority to the State or approved a State’s program. These
obligations include, but are not limited to: liability, closure, post-closure and corrective
action cost estimates for hazardous waste treatment, storage and disposal facilities under
40 C.F.R. §§ 264.101, 264.142, 264.144, 264.147, 265.142, 265.144 and 265.147; cost
estimates for municipal solid waste management facilities under 40 C.F.R. §§ 258.71,
258.72 and 258.73; current plugging and abandonment cost estimates for underground
injection control facilities under 40 C.F.R. § 144.62; cost estimates for underground
storage tanks under 40 C.F.R. § 280.93; cost estimates for facilities handling
polychlorinated biphenyls under 40 C.F.R. § 761.65; any financial assurance required
under, or as part of an action under, the Comprehensive Environmental Response,
Compensation, and Liability Act; and any other Environmental Obligation assured
through a financial test or guarantee, excluding those costs represented in paragraphs1
and 2 listed above. The cost estimates by obligation are provided for each facility in
Schedule B, attached to this letter. [Attach Schedule B. For informational purposes, see
Schedule B, Example 1.]

       A. The firm represents the total of all such Environmental Obligations in Current
          Dollars for the listed facilities in Schedule B of $__________ [insert amount],
          as of _________ [insert date].

5. Are there guarantees disclosed in accordance with FASB Interpretation No. 45 for
which the firm is liable, but which are not explicitly accounted for on the balance sheet of
the firm’s latest completed independently audited financial statements? (Yes/No)
__________

       A.    [If yes:] The firm discloses the information shown below for each such
             guarantee, as of the firm’s latest completed fiscal year ended [insert date]:

            i. [The name of the entity for which the guarantee has been granted];
            ii. [The nature of the relationship of the entity to the firm];
            iii. [A description of the guarantee]; and




                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 4-A
           iv. [The fair value of the guarantee. If the fair value cannot be determined
               and in the alternative a range of the expected values cannot be provided,
               so indicate by stating “cannot be determined” with a brief explanation.].

6. Are there asset retirement obligations, under FASB Statement No. 143 or FASB
Interpretation No. 47, which are not explicitly accounted for on the balance sheet of the
firm’s latest completed independently audited financial statements? (Yes/No) _________

       A. [If yes:] The firm discloses for each such obligation, a description of the
          obligation and a current cost estimate [if current cost estimate is not available,
          and in the alternative a range of the expected values cannot be provided, so
          indicate by stating “cannot be determined” with a brief explanation] in
          Schedule C, attached to this letter. [Attach Schedule. For informational
          purposes, see Schedule C, Example 1.]

7. Are there significant estimates and material concentrations known to management that
are required to be disclosed in accordance with AICPA’s SOP 94-6, Disclosure of Certain
Significant Risks and Uncertainties, related to the firm’s Environmental Obligations?
(Yes/No) ___________ [Significant estimates are estimates as of the last completed
fiscal year-end that could change materially during the up-coming fiscal year.]

       A. [If yes:] The firm discloses the following significant estimates and material
          concentrations, as of the firm’s latest completed fiscal year ended [insert
          date]: _______________.

8. Does the company provide post-retirement benefits other than pensions? (Yes/No):
___________

       A. Has the company explicitly accounted for its accrued pension and post-
          retirement benefits on the balance sheet of the firm’s latest completed
          independently audited financial statements? (Yes/No) ___________

       B. If not, the firm discloses the following estimate, as of the firm’s latest
          completed fiscal year ended [insert date]: $__________ [insert value]

9. Does the firm file a Form 10K with the Securities and Exchange Commission (“SEC”)
for the latest fiscal year? (Yes/No) ___________

10. Does the firm comply with Sarbanes-Oxley Section 404? (Yes/No) __________

       A. Did the firm’s independent auditors’ report on of the firm’s internal controls
          identify any material weaknesses? (Yes/No)_________ [Attach a copy of the
          independent auditors’ report on of the company’s internal controls].

11. The fiscal year of the firm ends on [month, day]. [Attach a copy of the firm’s
independently audited financial statements for the latest completed fiscal year.]


                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 4-A
       A. The firm’s financial statements are independently audited by an independent
          certified public accountant? (Yes/No) _______________

       B. Is the firm relying on audited consolidated financial statements. (Yes/No)
          _______________ [If the response is yes, please attach to this letter a list of
          the companies (with addresses) which are covered by the audited consolidated
          financial statements.]

       C. The firm has received a qualified or adverse accountant’s opinion for the latest
          completed fiscal year ended [insert date]. (Yes/ No) ________________ [If
          response is yes, attach a copy of the accountant’s opinion.]

                                             * * *

12. The firm represents that the figures marked with an asterisk below are:

       A. Exactly as represented in the firm’s independently audited, year-end financial
          statements (as attached). (Yes/No) _______

       B. In accordance with U.S. Generally Accepted Accounting Principles (GAAP).
          (Yes/No) _______

       C. As of the latest completed fiscal year ended [insert date]. (Yes/No) ________

       [If one or more of the responses to paragraph 12 is no, attach a line-by-line
       reconciliation of each discrepancy that crosswalks the value represented in this
       letter to the company’s independently audited year-end financial statements.]

13. The firm represents that as of the latest completed fiscal year-end [insert date], the
Assets located in the United States in the amount of $          is at least 90% of the firm’s
total assets. (Yes/No)

14. The firm represents that no more than sixty percent (60%) of the firm’s tangible
assets are in the form of one or more note receivables from one or more Related Parties.
(Yes/No) ________

[If the response to paragraph 14 is no, attach an originally signed certification by the
firm’s CFO as specified in Paragraph 10.e.(7)(a) of Appendix 2 of the Consent Decree
[case name/docket information for the Consent Decree], together with a list of each note
receivable, the name of the Related Party and a description (along with any necessary
documentation) of the Related Party’s financial strength and capability to meet its
obligations to the firm. Attach a line-by-line reconciliation that crosswalks the value(s)
represented in this letter to the company’s independently audited year-end financial
statements.]



                                                                                        Mosaic
                                                            Appendix 2, Attachment D, Form 4-A
[Fill in Alternative I if the criteria of Paragraph 10.e. of Appendix 2 (incorporating LAC
33:V.3707.F.1.a and LAC 33:V.3711.F.1.a) are being used. Fill in Alternative II if the
criteria of Paragraph 10.e.(1) of Appendix 2 (referencing LAC 33:V.3707.F.1.b and LAC
33:V.3711.F.1.b) are being used.]

Alternative I

1. Sum of current Cost Estimates (total of all cost estimates shown in paragraphs 1 or 2,
and 4, above) $_____________________

*2. Total Liabilities $____

*3. Total Assets $ _____

4. Net worth [line 3 minus line 2] $____

*5. Intangible assets $______

6. Tangible Net Worth [line 4 minus line 5] $____

*7. Current Assets $____

*8. Current Liabilities $____

9. Net working capital [line 7 minus line 8] $____

*10. Net income$_____

*11. Depreciation, depletion and amortization $____

12. Net income plus depreciation, depletion, and amortization (line 10 plus line 11)
$____

*13. Total Tangible Assets located in United States (required only if less than 90% of
firm’s assets are located in the U.S.) $____

14. Is line 6 at least $10 million? (Yes/No) ____

15. Is line 6 at least 6 times line 1? (Yes/No) ____

16. Is line 9 at least 6 times line 1? (Yes/No) ____

17. Are at least 90% of firm’s tangible assets located in the U.S.? If not, complete line 18
(Yes/No) ____

18. Is line 13 at least 6 times line 1? (Yes/No) ____

                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 4-A
19. Is line 2 divided by line 4 less than 2.0? (Yes/No) ____

20. Is line 12 divided by line 2 greater than 0.1? (Yes/No) ____

21. Is line 7 divided by line 8 greater than 1.5? (Yes/No) ____

Alternative II

1. Sum of Updated Cost Estimates (total of all cost estimates shown in paragraphs 1 or
   2, and 4 above) $__________________
2. The firm’s represents:
       A. A Long-Term Issuer Credit Rating with Standard and Poor’s of: ________
          [insert rating] as of _______ [insert date]. [Attach documentation evidencing
          the rating.]
       B. A long-term Corporate Family Rating with Moody’s Investor Services of:
          ________ [insert rating] as of _______ [insert date]. [Attach documentation
          evidencing the rating.]

*3. Total Liabilities $____

*4. Total Assets $ _____

5. Net Worth [line 4 minus line 3] $____

*6. Intangible Assets $______

7. Tangible Net Worth [line 5 minus line 6] $____

*8. Total Tangible Assets located in U.S. (required only if less than 90% of firm’s
tangible assets are located in the U.S.) $____

9. Is line 7 at least $10 million? (Yes/No) ____

10. Is line 7 at least 6 times line 1? (Yes/No) ____

11. Are at least 90% of firm’s tangible assets located in the U.S.? If not, complete line 12
(Yes/No) ____

12. Is line 8 at least 6 times line 1? (Yes/No) ____


I hereby certify in my capacity as the Chief Financial Officer of the firm, based on my
knowledge after reasonable due diligence, that the information included in this letter,
including all attachments and exhibits, is true and accurate. I further certify in my
capacity as the Chief Financial Officer of the firm, that the language of this letter is

                                                                                       Mosaic
                                                           Appendix 2, Attachment D, Form 4-A
identical to the wording specified in Appendix 2, Attachment D, Form 4-A, of the
Consent Decree [insert case name/docket information of the Consent Decree].

Attached is a special report of procedures and findings from the firm’s independent
certified public accountant resulting from an agreed-upon procedures performed in
accordance with the AICPA Statement on Standards for Attestation Engagements, AT
Section 201 – Agreed Upon Procedures Engagements (including AICPA related
attestation interpretations), as updated, that describes the procedures performed and
related findings. The CPA’s report discloses whether or not differences and/or
discrepancies were found in the comparison of financial information disclosed in this
letter (including all attachments and exhibits) with the independently audited financial
statements (including attachments), as of the firm’s latest completed fiscal year end
[insert date]. Where differences or discrepancies exist between the financial information
disclosed in this letter (including all attachments and exhibits) with the firm’s
independently audited financial statements (including attachments), the CPA’s report of
procedures and findings identifies and reconciles any difference or discrepancy between
the values or information represented in this letter and the firm’s independently audited
year-end financial statements.



[Signature] ___________________

[Name] ___________________

[Title] Chief Financial Officer

[Date] ___________________




                                                                                      Mosaic
                                                          Appendix 2, Attachment D, Form 4-A
 Schedule A: Corporate Financial Test or Corporate Guarantee Cost Estimate
 Information

Example A.1: Corporate Financial Test

                                        Activity                Cost Estimate
     Facility Name (EPA ID)        (CL, WM-CL, LTC,              Current $
                                       WM-LTC)
    EPA123456789                          CL                           $1,000,000
    EPA123456789                        WM-CL                         $10,000,000
    EPA123456789                         LTC                         $100,000,000

    Total                                                            $111,000,000

Example A.2: Corporate Guarantee

                                        Activity                Cost Estimate
     Facility Name (EPA ID)        (CL, WM-CL, LTC,              Current $
                                       WM-LTC)
    EPA123456789                          CL                           $1,000,000
    EPA123456789                        WM-CL                         $10,000,000
    EPA123456789                         LTC                         $100,000,000

    Total                                                            $111,000,000


 Schedule B: Other Environmental Obligations Cost Estimate Information

Example B.1

     Facility Name (EPA ID,
                                                               Cost Estimate
     Permit Number, or Site     Statutory Obligation
                                                                (Current $)
               ID)
    EPA123456789                     CERCLA                             $1,000,000
    EPA123456789                    SDWA (UIC)                         $10,000,000

    Total                                                              $11,000,000

 Schedule C: Asset Retirement Obligations Disclosure

 Example C.1

          Type of            Cost Estimate       Discount
                                                                      Time
         Obligation     Current $      NPV $    Rate (Date)
        Property A       $1,000,000    $758,999   4.71%            2008-2013
                                                (May 2008)

                                                                                   Mosaic
                                                       Appendix 2, Attachment D, Form 4-A
Property B    $10,000,000 $4,372,445      …         2008-2013
Property C   $100,000,000 $19,118,278     …         2014-2064

Total        $111,000,000 $24,249,722




                                                                    Mosaic
                                        Appendix 2, Attachment D, Form 4-A
Attachment D, Form 4-B
                              CORPORATE FINANCIAL TEST
                              Letter of the Chief Financial Officer

Instructions: The letter from the Chief Financial Officer, as specified in Section III.B of
Appendix 2 of the Consent Decree, must be worded as follows, except that instructions in the
brackets are to be replaced with relevant information and the brackets deleted.

[Address to Regional Administrator of every Region and every State Agency Head of every State
in which facilities for which financial responsibility is to be demonstrated through the financial
test are located.]

I am the Chief Financial Officer of [name and address of firm] (hereinafter, “the firm”). This
letter is in support of this firm’s use of the corporate financial test to demonstrate Financial
Assurance for costs associated with Phosphogypsum Stack System Closure and/or Long Term
Care.

[Fill out Schedule A for paragraphs 1 or 2, paragraphs 3 through 12, and Exhibit 1. Based on
the information in Schedule A for paragraph 1 or 2, paragraphs 3 through 12, and Exhibit 1, fill
out paragraphs 1 or 2, 13 through 15, and Exhibit 2. If your firm has no information that
belongs in a particular paragraph, write “None” in the space indicated. For each facility,
include its EPA Identification Number, name, address and Cost Estimates for Phosphogypsum
Stack System Closure and/or Long Term Care].

 1.    The firm is the owner or operator of the Facilities listed in Schedule A for which
       Financial Assurance for Phosphogypsum Stack System Closure and/or Long Term Care
       is demonstrated through the corporate financial test specified in Section III.B of
       Appendix 2 of the Consent Decree [case name/docket information of the Consent
       Decree]. [Attach Schedule A. For informational purposes, see Schedule A, Example 1.]

       A. The firm represents the total Phosphogypsum Stack System Closure Cost Estimate in
          Current Dollars for the listed facilities in Schedule A of $__________ [insert
          amount], as of _________ [insert date].

       B. The firm represents the total Water Management Cost Estimate associated with
          Phosphogypsum Stack System Closure in Current Dollars for the listed facilities in
          Schedule A of $__________ [insert amount], as of _________ [insert date].

       C. The firm represents the total Long Term Care Cost Estimate in Current Dollars for the
          listed Facilities in Schedule A of $__________ [insert amount], as of _________
          [insert date].

       D. The firm represents the Net Present Value (NPV) of the total Long Term Care Cost
          Estimate for the listed Facilities in Schedule A as $__________ [insert amount], as of
          __________ [insert date].



                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 4-B
     E. The firm represents the total Water Management Cost Estimate associated with Long
        Term Care in Current Dollars for the listed Facilities in Schedule A of $__________
        [insert amount], as of _________ [insert date].

     F. The firm represents the NPV of the total Water Management Cost Estimates
        associated with Long Term Care for the listed Facilities in Schedule A as
        $__________ [insert amount], as of __________ [insert date].


2.   The firm guarantees, through the Guarantee specified in Sction III.B of Appendix 2 of the
     Consent Decree [case name/docket information of the Consent Decree], the
     Phosphogypsum Stack System Closure and/or Long Term Care of the listed Facilities in
     Schedule A owned or operated by the guaranteed party. [Attach Schedule A. For
     informational purposes, see Schedule A, Example 2.]

     A. The firm represents the total Phosphogypsum Stack System Closure Cost Estimate in
        Current Dollars for the listed Facilities in Schedule A of $__________ [insert
        amount], as of _________ [insert date].

     B. The firm represents the total Water Management Cost Estimate associated with
        Phosphogypsum Stack System Closure in Current Dollars for the listed Facilities in
        Schedule A of $__________ [insert amount], as of _________ [insert date].

     C. The firm represents the total Long Term Care Cost Estimate in Current Dollars for the
        listed Facilities in Schedule A of $__________ [insert amount], as of _________
        [insert date].

     D. The firm represents the NPV of the total Long Term Care Cost Estimate for the listed
        Facilities in Schedule A as $__________ [insert amount], as of __________ [insert
        date].

     E. The firm represents the total Water Management Cost Estimate associated with Long
        Term Care in Current Dollars for the listed Facilities in Schedule A of $__________
        [insert amount], as of _________ [insert date].

     F. The firm represents the NPV of the total Water Management Cost Estimate associated
        with Long Term Care for the listed Facilities in Schedule A as $__________ [insert
        amount], as of __________ [insert date].

3.   The firm represents that the NPV of the Long Term Care Cost Estimate and the Water
     Management Cost Estimate associated with Long Term Care, as specified in Paragraph
     1.D & F or Paragraph 2.D & F, above, have been calculated in accordance with Appendix
     2, Section II and the corresponding Attachments, of the Consent Decree [case
     name/docket information for Consent Decree]. [Attach a copy of the 30-Year Treasury
     Constant Maturity Rate averaged for the previous twelve months using the average spot
     rate for each month.]


                                                                                          Mosaic
                                                              Appendix 2, Attachment D, Form 4-B
4.   The firm, as owner or operator or Guarantor, is using a financial test or guarantee to
     secure the Environmental Obligations of the facilities listed in Schedule B for which
     financial assurance is required under programs that EPA directly operates and obligations
     where EPA has delegated authority to the State or approved a State’s program. These
     obligations include, but are not limited to: liability, closure, post-closure and corrective
     action cost estimates for hazardous waste treatment, storage and disposal facilities under
     40 C.F.R. §§ 264.101, 264.142, 264.144, 264.147, 265.142, 265.144 and 265.147; cost
     estimates for municipal solid waste management facilities under 40 C.F.R. §§ 258.71,
     258.72 and 258.73; current plugging and abandonment cost estimates for underground
     injection control facilities under 40 C.F.R. §144.62; cost estimates for underground
     storage tanks under 40 C.F.R. § 280.93; cost estimates for facilities handling
     polychlorinated biphenyls under 40 C.F.R. § 761.65; any financial assurance required
     under, or as part of an action under, the Comprehensive Environmental Response,
     Compensation, and Liability Act; and any other Environmental Obligation assured
     through a financial test or guarantee, excluding those costs represented in paragraphs 1
     and 2 listed above. The cost estimates by obligation are provided for each facility in
     Schedule B, attached to this letter. [Attach Schedule B. For informational purposes, see
     Schedule B, Example 1.]

     A. The firm represents the total of all such Environmental Obligations in Current Dollars
        for the listed facilities in Schedule B of $__________, [insert amount] as of
        _________ [insert date].

5.   The firm identified above is [insert one or more: (1) The direct or higher-tier parent
     corporation of the owner or operator; (2) owned by the same parent corporation as the
     parent corporation of the owner or operator, and receiving the following value in
     consideration of this guarantee ________ [insert description of value received]; or (3)
     engaged in the following substantial business relationship with the owner or operator
     ________ [insert brief characterization of the relationship] and receiving the following
     value in consideration of this guarantee ________ [insert value received]]. [Attach a
     written description of the business relationship or a copy of the contract establishing
     such relationship to this letter].

6.   Are there guarantees disclosed in accordance with FASB Interpretation No. 45 for which
     the firm is liable, but which are not explicitly accounted for on the balance sheet of the
     firm's latest completed independently audited financial statements? (Yes/No)
     __________

     A. [If yes:] The firm discloses the information shown below for each such guarantee, as
        of the firm’s latest completed fiscal year ended [insert date]:

        i.     [The name of the entity for which the guarantee has been granted];
        ii.    [The nature of the relationship of the entity to the firm];
        iii.   [A description of the guarantee]; and
        iv.    [The fair value of the guarantee. If the fair value cannot be determined and in the
               alternative a range of the expected values cannot be provided, so indicate by
               stating “cannot be determined” with a brief explanation.].

                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 4-B
 7.   Are there asset retirement obligations under FASB Statement No. 143 or FASB
      Interpretation No. 47, which are not explicitly accounted for on the balance sheet of the
      firm's latest completed independently audited financial statements? (Yes/No) _________

      A. [If yes:] The firm discloses for each such obligation, a description of the obligation
         and a current cost estimate [if current cost estimate is not available and in the
         alternative a range of the expected values cannot be provided, so indicate by stating
         “cannot be determined” with a brief explanation], in Schedule C, attached to this
         letter. [Attach Schedule C. For informational purposes, see Schedule C, Examples 1.]

 8.   Are there significant estimates and material concentrations known to management that
      are required to be disclosed in accordance with AICPA’s SOP 94-6, Disclosure of Certain
      Significant Risks and Uncertainties, related to the firm’s Environmental Obligations?
      (Yes/No) ___________ [Significant estimates are estimates as of the last completed
      fiscal year-end that could change materially during the up-coming fiscal year.

      A. [If yes:] The firm discloses the following such significant estimates and material
         concentrations, as of the firm's latest completed fiscal year ended [insert date]:
         _______________.

 9.   Does the company provide post-retirement benefits other than pensions? (Yes/No)
      ___________

      A. Has the company explicitly accounted for its accrued pension and post-retirement
         benefits on the balance sheet of the firm's latest completed independently audited
         financial statements? (Yes/No) ___________

      B. If not, the firm discloses the following estimate, as of the firm’s latest completed
         fiscal year ended [insert date]: $__________ [insert value]

10.   Does the firm file a Form 10K with the Securities and Exchange Commission (“SEC”)
      for the latest fiscal year? (Yes/No) ___________

11.   Does the firm comply with Sarbanes-Oxley Section 404? (Yes/No) __________

      A. Did the firm’s independent auditors’ report on the firm’s internal controls identify any
         material weaknesses? (Yes/No)_________ [Attach a copy of the independent
         auditors' report on the company's internal controls.]

12.   The fiscal year of the firm ends on [month, day]. [Attach a copy of the firm's
      independently audited financial statements for the latest completed fiscal year.]

      A. The firm’s financial statements are audited by an independent certified public
         accountant? (Yes/No) _______________



                                                                                             Mosaic
                                                                 Appendix 2, Attachment D, Form 4-B
      B. Is the firm relying on audited consolidated financial statements. (Yes/No)
         ___________ [If response is yes, attach to the letter a list of the companies (with
         addresses) which are covered by the audited consolidated financial statements. If no,
         provide a list of companies (with addresses) that make up the corporate structure.]

      C. The firm has received a qualified or adverse accountant’s opinion for the latest
         completed fiscal year ended [insert date]. (Yes/ No) ________________ [If response
         is yes, attach a copy of the accountant’s opinion.]

                                               ***

13.   The firm represents that the figures marked with an asterisk in Exhibit 1 are:

      A. Included as represented in the firm’s independently audited, year-end financial
         statements (as attached). (Yes/No) _______

      B. In accordance with U.S. Generally Accepted Accounting Principles (GAAP).
         (Yes/No) ______

      C. As of the latest completed fiscal year ended [insert date]. (Yes/No) ________

      [If one or more of the responses to paragraph 13 is no, attach a line-by-line
      reconciliation of each discrepancy that crosswalks the value represented in this letter to
      the company’s independently audited year-end financial statements.]

14.   The firm represents that it has:

      A. A Long-Term Issuer Credit Rating with Standard and Poor’s of ________ [insert
         rating] as of _______ [insert date]. [Attach documentation or certified letter from
         S&P, as appropriate, evidencing the rating.]

      B. A long-term Corporate Family Rating with Moody’s Investor Services of ________
         [insert rating] as of _______ [insert date]. [Attach documentation or certified letter
         from Moody’s, as appropriate, evidencing the rating.]

      C. An equivalent rating, which assesses a company’s capacity to meet its long-term
         (greater than one (1) year) financial commitments, as they come due, from a
         nationally recognized statistical rating organization (“NRSRO”) of _______ [insert
         rating] as of _______ [insert date] from _________ [insert NRSRO]. [Attach
         documentation or certified letter from NRSRO, as appropriate, evidencing the
         rating.]

15.   The firm represents that no more than sixty percent (60%) of the firm’s Tangible Assets
      (or consolidated Tangible Assets, as the case may be) are in the form of one or more note
      receivables from one or more Related Parties: (Yes/No) __________



                                                                                             Mosaic
                                                                 Appendix 2, Attachment D, Form 4-B
[If the response to paragraph 15 is no, attach an originally signed certification by the firm’s
CFO as specified in Paragraph 15.e.(6)(b) of Appendix 2 of the Consent Decree (case
name/docket information for the Consent Decree) together with a list of each note receivable, the
name of the Related Party and a description (along with any necessary documentation) of the
Related Party’s financial strength and capability to meet its obligations to the firm. Attach a
line-by-line reconciliation that crosswalks the value(s) represented in this letter to the company’s
independently audited year-end financial statements.]

I hereby certify in my capacity as the Chief Financial Officer of the firm, based on my best
knowledge after reasonable due diligence, that the information included in this letter, including
all attachments and exhibits, is true and accurate. I further certify in my capacity as the Chief
Financial Officer of the firm, that the language of this letter is identical to the wording specified
in Appendix 2, Attachment D, Form 4-B, of the Consent Decree [case name/docket information
for the Consent Decree].

Attached is a special report of procedures and findings from the firm’s independent certified
public accountant resulting from an agreed-upon procedures performed in accordance with the
AICPA Statement on Standards for Attestation Engagements, AT Section 201 – Agreed Upon
Procedures Engagements (including AICPA related attestation interpretations), as updated, that
describes the procedures performed and related findings. The CPA’s report discloses whether or
not differences and/or discrepancies were found in the comparison of financial information
disclosed in this letter (including all attachments and exhibits) with the independently audited
financial statements (including attachments), as of the firm’s latest completed fiscal year end
[insert date] and in the calculation of NPV for the Long Term Care Cost Estimate (and the
associated Water Management costs) as calculated pursuant to Appendix 2, Section II and
Attachments A-2 and A-3, of the Consent Decree [case name/docket information for the
Consent Decree]. Where differences or discrepancies exist between the financial information
disclosed in this letter (including all attachments and exhibits) with the firm’s independently
audited financial statements (including attachments), and in the calculation of NPV for Long
Term Care cost estimates and the Water Management cost estimates associated with Long Term
Care, the CPA’s report of procedures and findings identifies and reconciles any difference or
discrepancy between the values or information represented in this letter and the firm’s
independently audited year-end financial statements, or this letter and the NPV for the Long
Term Care Cost Estimate (and the associated Water Management costs) as calculated pursuant to
Appendix 2, Section II and Attachments A-2 and A-3, of the Consent Decree [case name/docket
information for the Consent Decree].


[Signature] _____________________________

[Name] ________________________________

[Title] Chief Financial Officer

[Date] _________________________________



                                                                                                 Mosaic
                                                                     Appendix 2, Attachment D, Form 4-B
Exhibit 1. Financial Information
                                                                                                      Amount in U. S. Dollars
                                                                                          [A]
Ite                                                                                                             [B[                   [C]
                                     Description                                     Most Recent
m                                                                                                         Fiscal Year(n-1)      Fiscal Year(n-2)
                                                                                     Fiscal Year(n)
1     Sum of Phosphogypsum Stack System Closure costs in Current
      Dollars and net present value (NPV) of Long Term Care costs
      (Sum of cost estimates listed in Paragraphs 1A, 1B, 1D, 1F, 2A, 2B,
      2D, and 2F)
2     Sum of cost estimates in current dollars for Environmental
      Obligations, not represented in Item 1
      (Sum of cost estimates listed in Paragraph 4A)
3     Sum of Items 1 and 2 above
4     Sum of all Environmental Obligations in Current Dollars
      (Sum of cost estimates shown in Paragraphs 1A, 1B, 1C, 1E, 2A, 2B,
      2C, 2E, and 4A)
5     The firm’s most recent S&P long-term Issuer Credit Rating, Moody’s
      long-term Corporate Family Rating, or equivalent rating from an
      NRSRO
      (As represented in Paragraphs 13A, 13B, or 13C)
6     Amount of funds held in all Third-party Mechanisms (e.g., trust fund,
      letter of credit), pursuant to this Consent Decree [insert case
      name/docket information for the Consent Decree]
      (Attach a copy of the Third-party Mechanism listing its current
      (within 10 days of the date of this letter) market value, or in the case
      of insurance its limit of liability, or in the case of surety bond its penal
      sum)
7     Sum of Phosphogypsum Stack System Closure costs in Current
      Dollars and NPV of Long-Term Care costs, minus current value of

                                                                                                                                      Mosaic
                                                                                                          Appendix 2, Attachment D, Form 4-B
Exhibit 1. Financial Information
                                                                                             Amount in U. S. Dollars
                                                                                 [A]
Ite                                                                                                    [B[                   [C]
                                   Description                              Most Recent
m                                                                                                Fiscal Year(n-1)      Fiscal Year(n-2)
                                                                            Fiscal Year(n)
      funds held in all third party financial mechanisms pursuant to the
      Consent Decree [insert case name/docket information for the Consent
      Decree]
      (Item 1 minus Item 6)
8*    Total Liabilities
9*    Total Assets
10    Net Worth
      (Item 9 minus Item 8)
11    Three Year Rolling Average of Total Liabilities Divided by Three-
      Year Rolling Average of Net Worth
      (Three-Year Average of Item 8, Columns [A], [B], [C] Divided by
      Three-Year Average of Line 10, Columns [A], [B], [C])
12*   Intangible Assets
13    Tangible Net Worth
      (Item 10 minus Item 12)
14*   Current Assets
15*   Current Liabilities
16    Three Year Rolling Average of Current Assets Divided by Three-Year
      Rolling Average of Current Liabilities
      (Three-Year Average of Item 14, Columns [A], [B], [C] Divided by
      Three-Year Average of Item 15, Columns [A], [B], [C])
17*   Operating Cash Flow
18    Three Year Rolling Average of Operating Cash Flow

                                                                                                                             Mosaic
                                                                                                 Appendix 2, Attachment D, Form 4-B
Exhibit 1. Financial Information
                                                                                                 Amount in U. S. Dollars
                                                                                     [A]
Ite                                                                                                        [B[                   [C]
                                   Description                                  Most Recent
m                                                                                                    Fiscal Year(n-1)      Fiscal Year(n-2)
                                                                                Fiscal Year(n)
      (Three-Year Average of Item 17, Columns [A], [B], [C])
19*   U.S. Assets
20    Tangible U.S. Assets
n
 = Most recent fiscal year.
* = Values are as represented on the Company’s independently audited financial statements.




                                                                                                                                 Mosaic
                                                                                                     Appendix 2, Attachment D, Form 4-B
                         Exhibit 2. Corporate Financial Test Criteria

    Part 1. Ratings Threshold

      1.     Based on rating listed in Exhibit 1, Item 5, select the applicable Corporate
             Financial Test (“CFT”) Criteria (see Schedule D, Part 1A). Note: If there is more
             than one rating (e.g., an S&P and Moodys rating), shall use the lowest rating to
             determine rating threshold in Schedule D. ___________ [insert issued rating]

             If CFT Criteria A is identified, proceed to Line 9 below.

    Part 2. Third-Party Financial Assurance Instrument

      2.     Percentage of current Phosphogypsum Stack System Closure costs and NPV of
             Long Term Care costs held in a Third-party Mechanism Pursuant to the Consent
             Decree (Exhibit 1, Item 6 divided by Exhibit 1, Item 1): _____ [insert
             percentage]

      3.     Is the percentage specified by Line 2 greater than or equal to the percentage
             threshold applicable to the Alternative identified by Line1 (and as specified in
             table below)? (Yes/No) _________

                       CFT Criteria                 Percentage Threshold
                           A                            Not applicable
                           B                             At least 20%
                           C                             At least 25%
                           D                             At least 30%

Part 3. Financial Metrics Threshold

      4.     Is TL/NW (Exhibit 1, Item 11) less than the ratio threshold applicable to the CFT
             Criteria identified in Line 1 (and as specified in table below)? (Yes/No) ________

      5.     Is CA/CL (Exhibit 1, Item 16) greater than the ratio threshold applicable to the
             CFT Criteria identified in Line 1(and as specified in table below)? (Yes/No)
             _____

                                    Line 4: Applicable     Line 5: Applicable
                                      TL/NW Ratio            CA/CL Ratio
                 CFT Criteria           Threshold              Threshold
                     A                Not applicable         Not applicable
                     B                     < 2.0                  > 1.5
                     C                     < 1.5                  > 1.5
                     D                     < 1.5                  > 2.0

      6.     If CFT Criteria B is identified in Line 1, answer the following questions.

                                                                                            Mosaic
                                                                Appendix 2, Attachment D, Form 4-B
            A. Is the 3-year rolling average for the operating cash flow (Exhibit 1, Item 18)
            greater than or equal to 1.5 times the sum of Phosphogypsum Stack System
            Closure costs in Current Dollars and NPV of Long Term Care costs minus current
            value of funds held in third-party instruments (Exhibit 1, Item 7)? (Yes/No)
            _____

            B. Is the most recent fiscal year’s operating cash flow (Exhibit 1, Item 17
            Column A) greater than zero? (Yes/No) ________

      7.    If CFT Criteria C is identified by Line 1, answers the following questions.

            A. Is the 3-year rolling average for the operating cash flow (Exhibit 1, Item 18)
            greater than or equal to 2.0 times the sum of Phosphogypsum Stack System
            Closure costs in Current Dollars and NPV for Long Term Care costs (in NPV)
            minus current value of funds held in Third-party Mechanisms (Exhibit 1, Item
            7)? (Yes/No) _________

            B. Is the most recent fiscal year’s operating cash flow (Exhibit 1, Item 17
            Column A) greater than zero? (Yes/No) ________

      8.    If CFT Criteria D is identified by Line 1, answer the following questions.

            A. Is the most recent fiscal year’s operating cash flow (Exhibit 1, Item 17,
            Column A) greater than or equal to 2.0 times the sum of Phosphogypsum Stack
            System Closure costs in Current Dollars and NPV for Long Term Care costs (in
            NPV) minus current value of funds held in Third-party Mechanisms (Exhibit 1,
            Item 7)? (Yes/No) _________

            B. Is the most recent fiscal year’s operating cash flow (Exhibit 1, Item 17
            Column A) greater than zero? (Yes/No) ________

Part 4. Coverage Thresholds

      9.    Is TNW (Exhibit 1, Item 13) greater than or equal to six (6) times the sum of
            Phosphogypsum Stack System Closure costs in Current Dollars, NPV of Long
            Term Care and costs in Current Dollars for Environmental Obligations (Exhibit 1,
            Item 3)? (Yes/No) _________

            If “Yes,” proceed to Line 12 below.

      10.   Is Line 2 greater than or equal to 40 percent? (Yes/No) _________

            10a.   If “Yes,” is TNW (Exhibit 1, Item 13) greater than or equal to four (4)
                   times the sum of Phosphogypsum Stack System Closure costs in Current
                   Dollars, NPV of Long Term Care and costs in Current Dollars for
                   Environmental Obligations (Exhibit 1, Item 3)? (Yes/No) _________

                                                                                           Mosaic
                                                               Appendix 2, Attachment D, Form 4-B
                 If “Yes,” proceed to Line 12.

    11.   Is Line 2 greater than or equal to 60 percent? (Yes/No) _________

          11a.   If “Yes,” is TNW (Exhibit 1, Item 13) greater than or equal to two (2)
                 times the sum of Phosphogypsum Stack System Closure costs in Current
                 Dollars, NPV of Long Term Care and costs in Current Dollars for
                 Environmental Obligations (Exhibit 1, Item 3)? (Yes/No) _________

    12.   Is TNW (Exhibit 1, Item 13) greater than or equal to $20 million? (Yes/No)
          ____

    13.   Is Tangible U.S. Assets (Exhibit 1, Item 20) greater than or equal to 90 percent of
          the sum of all Environmental Obligations in Current Dollars (Exhibit 1, Item 4)?
          (Yes/No) _________

Summary

    14.   Did you answer “Yes” for Lines 3, 12, and 13? (Yes/No) _________

    15.   Did you answer “Yes” for Lines 9, 10a, or 11a? (Yes/No) _________

    16.   If CFT Criteria B, did you answer “Yes” for Line 4 and “Yes” for Line 5 or Line
          6A and 6B? (Yes/No) _________

    17.   If CFT Criteria C, did you answer “Yes” for Line 4 and “Yes” for Line 5 or Line
          7A and 7B? (Yes/No) _________

    18.   If CFT Criteria D, did you answer “Yes” for Line, 4, Line 5, and Line 8A and 8B?
          (Yes/No) ________




                                                                                         Mosaic
                                                             Appendix 2, Attachment D, Form 4-B
 Schedule A: Corporate Financial Test and Corporate Guarantee Cost Estimate
 Information

        For each facility, generate a separate table for the information being provided. If
 information required in Schedule A is not applicable, please indicate by entering N/A.

Example A.1: Corporate Financial Test

                     Activity              Cost Estimate
  Facility
                  (CL, WM-CL,          Current $      NPV $           Discount Rate
 Name (EPA                                                                                    Time
                      LTC,                                                (Date)
    ID)
                    WM-LTC)
 EPA1234567            CL               $1,000,000        N/A               N/A           2008-2013
     89
 EPA1234567          WM-CL             $10,000,000        N/A               N/A           2008-2013
 89
 EPA1234567            LTC            $100,000,000    $19,118,278       4.71% (May        2014-2064
 89                                                                        2008)

 Total                                $111,000,000    $19,118,278

Example A.2: Corporate Guarantee

                       Activity             Cost Estimate
 Facility Name      (CL, WM-CL,         Current $     NPV $            Discount Rate
                                                                                              Time
   (EPA ID)             LTC,                                               (Date)
                      WM-LTC)
 EPA987654321            CL              $1,000,000        N/A               N/A              2008-
                                                                                              2013
 EPA987654321          WM-CL            $10,000,000        N/A               N/A              2008-
                                                                                              2013
 EPA987654321            LTC           $100,000,000 $19,118,278 4.71% (May                    2014-
                                                                2008)                         2064

 Total                                 $111,000,000 $19,118,278


 Schedule B: Other Environmental Obligations Cost Estimate Information

Example B.1

          Facility Name (EPA ID,
                                                                        Cost Estimate
          Permit Number, or Site        Statutory Obligation
                                                                         (Current $)
                    ID)
         EPA123456789                        CERCLA                              $1,000,000
         EPA987654321                       SDWA (UIC)                          $10,000,000

                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 4-B
      Total                                                        $11,000,000


Schedule C: Asset Retirement Obligations Disclosure

Example C.1

           Type of           Cost Estimate       Discount Rate
                                                                     Time
          Obligation    Current $      NPV $         (Date)
         Property A      $1,000,000    $758,999 4.71% (May           2008-
                                                2008)                2013
         Property B     $10,000,000 $4,372,445         …             2008-
                                                                     2013
         Property C    $100,000,000 $19,118,278       …              2014-
                                                                     2064

         Total         $111,000,000 $24,249,722




                                                                                   Mosaic
                                                       Appendix 2, Attachment D, Form 4-B
Schedule D. Corporate Financial Test (“CFT”) Criteria for Appendix 2, Section III.B.
Part            CFT Criteria A                        CFT Criteria B                        CFT Criteria C                       CFT Criteria D

 1     Ratings Threshold *

       x    A                               x    A-, BBB+ BBB                     x    BBB-, BB+, BB                   x    BB-
 1A
       x    A2                              x    A3, Baa1, Baa2                   x    Baa3, Ba1, Ba2                  x    Ba3

 2     Third-Party Financial Assurance Mechanism (Trust Fund, Letter of Credit)
                                             x    At least 20% of sum of total     x    At least 25% of sum of total    x    At least 30% of sum of total
                                                  costs for Phosphogypsum               costs for Phosphogypsum              costs for Phosphogypsum
 2A    None Required                              Stack System Closure in               Stack System Closure in              Stack System Closure in
                                                  Current Dollars and Long              Current Dollars and Long             Current Dollars and Long
                                                  Term Care in NPV.                     Term Care in NPV.                    Term Care in NPV.
 3     Financial Metrics Threshold

 3A                                          x    TL / NW < 2.0 (rolling)          x    TL / NW < 1.5 (rolling)         x    TL / NW < 1.5 (rolling)
       None Required
                                             AND                                   AND                                  AND

3B-1   None Required                         1. CA / CL > 1.5 (rolling)            1. CA / CL > 1.5 (rolling)           1. CA / CL > 2.0 (rolling)

                                                   OR                                    OR                             AND
                                             2. Operating Cash Flow  1.5          2. Operating Cash Flow  2.0         2. Operating Cash Flow  2.0
                                             times [the sum of total costs for     times [the sum of total costs for    times [the sum of total costs for
                                             Phosphogypsum Stack System            Phosphogypsum Stack System           Phosphogypsum Stack System
3B-2   None Required                         Closure in Current Dollars and        Closure in Current Dollars and       Closure in Current Dollars and
                                             Long Term Care in NPV, minus          Long Term Care In NPV, minus         Long Term Care, minus the face
                                             the current market value of Third-    the current market value of Third-   value of Third-Party Mechanism]
                                             Party Mechanism] (rolling)**          Party Mechanism] (rolling)**         (annual)**

 4     Coverage Thresholds
                                             x    TNW  Six times the sum of       x    TNW  Six times the sum of      x    TNW  Six times the sum of
       x    TNW  Six times the sum of
                                                  total costs for                       total costs for                      total costs for
            total costs for
                                                  Phosphogypsum Stack                   Phosphogypsum Stack                  Phosphogypsum Stack
            Phosphogypsum Stack System
                                                  System Closure in Current             System Closure in Current            System Closure in Current
            Closure in Current Dollars
4A-1                                              Dollars and Long Term Care            Dollars and Long Term care           Dollars and Long Term care
            and Long Term Care, plus the
                                                  in NPV, plus the sum of all           in NPV, plus the sum of all          in NPV, plus the sum of all
            sum of all other
                                                  other Environmental                   other Environmental                  other Environmental
            Environmental Obligations in
                                                  Obligations in Current                Obligations in Current               Obligations in Current
            Current Dollars.
                                                  Dollars.                              Dollars.                             Dollars.
       OR
                                             OR                                    OR                                   OR
       x    TNW  Four times the sum of      x    TNW  Four times the sum of                                           x    TNW  Four times the sum of
                                                                                   x    TNW  Four times the sum of
             total costs for                       total costs for                                                            total costs for
                                                                                         total costs for
             Phosphogypsum Stack                   Phosphogypsum Stack                                                        Phosphogypsum Stack
                                                                                         Phosphogypsum Stack
             System Closure in Current             System Closure in Current                                                  System Closure in Current
                                                                                         System Closure in Current
             Dollars and Long Term Care            Dollars and Long Term Care                                                 Dollars and Long Term Care
                                                                                         Dollars and Long Term Care
4A-2         in NPV, plus the sum of all           in NPV, plus the sum of all                                                in NPV, plus the sum of all
                                                                                         in NPV, plus the sum of all
             other Environmental                   other Environmental                                                        other Environmental
                                                                                         Environmental Obligations
             Obligations in Current                Obligations in Current                                                     Obligations in Current
                                                                                         in Current Dollars, plus 40%
             Dollars, plus 40% in a Third-         Dollars, plus 40% in a Third-                                              Dollars, plus 40% in a Third-
                                                                                         in a Third-Party Mechanism.
             Party Mechanism.                      Party Mechanism.                                                           Party Mechanism.

       OR                                    OR                                    OR                                   OR




                                                                                                                                Mosaic
                                                                                                    Appendix 2, Attachment D, Form 4-B
Schedule D. Corporate Financial Test (“CFT”) Criteria for Appendix 2, Section III.B.
Part           CFT Criteria A                       CFT Criteria B                       CFT Criteria C                       CFT Criteria D
       x TNW  Two times the sum of         x TNW  Two times the sum of         x TNW  Two times the sum of         x TNW  Two times the sum of
          total costs for                      total costs for                      total costs for                      total costs for
          Phosphogypsum Stack                  Phosphogypsum Stack                  Phosphogypsum Stack                  Phosphogypsum Stack
          System Closure in Current            System Closure in Current            System Closure in Current            System Closure in Current
          Dollars and Long Term Care           Dollars and Long Term Care           Dollars and Long Term                Dollars and Long
4A-3
          in NPV, plus the sum of all          in NPV, plus the sum of all          Care in NPV, plus the sum            Term Care in NPV, plus the
          other Environmental                  other Environmental                  of all other Environmental           sum of all other
          Obligations in Current               Obligations in Current               Obligations in Current               Environmental Obligations
          Dollars, plus 60% in a Third-        Dollars, plus 60% in a Third-        Dollars, plus 60% in a Third-        in Current Dollars, plus 60%
          Party Mechanism.                     Party Mechanism.                     Party Mechanism.                     in a Third-Party Mechanism.
       AND                                  AND                                  AND                                  AND

 4B    x   TNW of at least $20M             x   TNW of at least $20M             x   TNW of at least $20M             x   TNW of at least $20M

       AND                                  AND                                  AND                                  AND
       x   Tangible Assets located in the   x   Tangible Assets located in the   x   Tangible Assets located in the   x   Tangible Assets located in the
           United States  at least 90%         United States  at least 90%         United States  at least 90%         United States  at least 90%
 4C        of the sum of all                    of the sum of all                    of the sum of Environmental          of the sum of all
           Environmental Obligations in         Environmental Obligations in         Obligations in Current               Environmental Obligations in
           Current Dollars.                     Current Dollars.                     Dollars.                             Current Dollars.

             * Rating may consist of at least one of the following: (1) Standard & Poor’s Long-Term Issuer Credit Rating; (2)
             Moody’s long-term Corporate Family Rating; or (3) equivalent rating from a nationally recognized statistical rating
             organization (“NRSRO”). See Appendix 2, Section III.B, Paragraph 13.
             ** Cannot use the Operating Cash Flow (“OCF”) financial metric to demonstrate Financial Assurance for a specific
             fiscal year if during that fiscal year there is a negative cash flow. See Appendix 2, Section III.B, Paragraph
             15.e.(2)(c).




                                                                                                                             Mosaic
                                                                                                 Appendix 2, Attachment D, Form 4-B
Attachment D, Form 4-C
Instructions: The letter from the Corporate Guarantor’s Chief Financial Officer, as specified in
Section VIII of Appendix 2 of the Consent Decree, must be worded as follows, except that
instructions in the brackets are to be replaced with the relevant information and the brackets
deleted. The CFO must provide supporting documentation, when required below. If your firm
has no facilities that belong in a particular paragraph, write “None” in the space indicated.

                     Letter from Corporate Guarantor’s Chief Financial Officer

[Address to Regional Administrator of every Region and State Agency Head of every State in
which facilities for which financial responsibility is to be demonstrated through the corporate
guarantee are located.]

I am the Chief Financial Officer (“CFO”) of [insert name and address of firm] (hereinafter, “the
firm” or “this firm”). This letter is in support of this firm’s use of the Corporate Guarantee to
demonstrate Financial Assurance for costs associated with Phosphogypsum Stack System
Closure and/or Long Term Care on behalf of [insert name of Defendant].1

I. General Information

1. This firm guarantees, through and in accordance with the Guarantee specified in Section VIII
of Appendix 2 of the Florida and Louisiana Consent Decrees [case names/docket information for
each of the Consent Decrees] (“Consent Decrees”), the Phosphogypsum Stack System Closure
and/or Long Term Care of the Operating and Closing Facilities listed below, owned or operated
by the guaranteed party [insert name of Defendant]. The [initial or Updated Cost Estimate, as
applicable, for each Facility] for the Phosphogypsum Stack System Closure and/or Long Term
Care so guaranteed are provided for each Operating and Closing Facility listed below in
Schedule A, attached to this letter. [Attach Schedule A. For informational purposes, see
Schedule A, Example 1. Schedule A shall list each Facility, (including the EPA Identification
Number, name, address), and designate for each Facility the initial or Updated Cost Estimate, as
applicable, for Phosphogypsum Stack System Closure and/or Long Term Care for each Facility.]

2. This firm is [insert one of more of: (A) The direct or higher-tier parent corporation of the
owner or operator; (B) owned by the same parent corporation as the parent corporation of the
owner or operator, and receiving the following value in consideration of the Guarantee(s) (insert
description of value received); or (C) engaged in the following Substantial Business Relationship
with the owner or operator (insert brief characterization of relationship), and receiving the
following value in consideration of Guarantees (insert value received). If using option (C),
attach a written description of the business relationship or a copy of the contract establishing
such relationship to this letter].

3. In addition to providing Guarantees for Phosphogypsum Stack System Closure and Long
Term Care at the Operating and Closing Facilities listed on Schedule A, this firm is using or
providing a financial test or guarantee to secure the Environmental Obligations of the facilities or

1
 Unless otherwise defined in this letter, the capitalized items in this letter, including any attachments, have the
meaning provided in the Consent Decrees, including Appendix 1 and 2.

                                                                                                            Mosaic
                                                                                Appendix 2, Attachment D, Form 4-C
sites listed in Schedule B for which Financial Assurance is required under programs that EPA
directly operates and obligations under programs where EPA has delegated authority to the State
or approved a State’s program. The cost estimates by obligation are provided for each facility in
Schedule B, attached to this letter. [Attach Schedule B. For informational purposes, see
Schedule B, Example 1.]

        A. The firm represents the total of all such Environmental Obligations in Current Dollars
           for the listed facilities in Schedule B of $__________ [insert amount], as of
           _________ [insert date].

4. Are there guarantees disclosed in accordance with FASB Interpretation No. 452 for which the
firm is liable, but which are not explicitly accounted for on the balance sheet of the firm’s latest
completed Independently Audited financial statements? (Yes/No) __________

        A.     [If yes:] The firm discloses the information shown below for each such guarantee,
               as of the firm’s latest completed fiscal year ended [insert date]:

             i.     [The name of the entity for which the guarantee has been granted];
             ii.    [The nature of the relationship of the entity to the firm];
             iii.   [A description of the guarantee]; and
             iv.    [The fair value of the guarantee. If the fair value cannot be determined and in the
                    alternative a range of the expected values cannot be provided, so indicate by
                    stating “cannot be determined” with a brief explanation.].

5. Are there asset retirement obligations, under FASB ASC 410, Asset Retirement and
Environmental Obligations, which are not explicitly accounted for on the balance sheet of the
firm’s latest completed Independently Audited financial statements? (Yes/No) _________

        A. [If yes:] The firm discloses for each such obligation, a description of the obligation
           and a current cost estimate [If the Total Florida Cost Estimate or Total Louisiana
           Cost Estimate, as applicable, is not available, and in the alternative a range of the
           expected values cannot be provided, so indicate by stating “cannot be determined”
           with a brief explanation] in Schedule C, attached to this letter. [Attach Schedule C.
           For informational purposes, see Schedule C, Example 1.]

6. Are there significant estimates and material concentrations known to management that are
required to be disclosed in accordance with FASB ASC 275, Risks and Uncertainties, related to
the firm’s Environmental Obligations? (Yes/No) ___________ [Significant estimates are
estimates as of the last completed fiscal year-end that could change materially during the up-
coming fiscal year. If the answer to this question is “yes,” answer 6.A and 6.B.]

        A. The firm discloses the following significant estimates and material concentrations,
           which are reported on the firm’s latest completed Independently Audited financial

2
 FASB Interpretation 45 applies, unless otherwise superseded by Accounting Standards Codification (ASC) 460,
Guarantees.

                                                                                                     Mosaic
                                                                         Appendix 2, Attachment D, Form 4-C
           statements, as of the firm’s latest completed fiscal year ended: [insert date]
           _______________. [Fill in the space provided following where the date is requested
           with a list identifying the section and exhibit number within the firm’s latest
           completed Independently Audited financial statements where the information can be
           found. If this statement under Item 6 is not applicable, enter N/A in the space
           provided following where the date is requested.]

       B. The firm discloses the following significant estimates and material concentrations,
          which are not reported on the firm’s latest completed Independently Audited financial
          statements, as of the firm’s latest completed fiscal year ended: [insert date]
          _______________. [Provide the significant estimates and material concentrations.
          If this statement under Item 6 is not applicable, enter N/A in the space provided
          following where the date is requested.]

7. Did the firm file a Form 10-K with the Securities and Exchange Commission (“SEC”) for the
latest fiscal year? (Yes/No) ___________

8. Does the firm comply with the “Internal Control Evaluation and Reporting” requirements as
set forth in Sarbanes-Oxley Section 404 and any accompanying regulations? (Yes/No)
__________

       A. Did the firm’s independent auditors’ report on of the firm’s internal controls identify
       any material weaknesses? (Yes/No)_________ [Attach a copy of the independent
       auditors’ report on the company’s internal controls, or if an exact copy of the
       independent report on the company’s internal controls is included in the year-end
       audited financial statements (e.g., 10K), so include].

9. The fiscal year of the firm ends on [month, day]. [If not already provided, attach a copy of the
firm’s Independently Audited financial statements for the latest completed fiscal year. If the
firm’s Liquidity Buffer, defined as the sum of the firm’s consolidated cash balances and the
firm’s unused committed lines of credit, falls below one billion dollars, the firm must also submit
quarterly financial statements, which may be unaudited.]

       A. The firm’s annual financial statements are Independently Audited by an independent
          Certified Public Accountant (“CPA”)? (Yes/No) _______________

       B. The firm is using audited consolidated financial statements. (Yes/No)
          _______________ [If the response is yes, please attach to this letter either: (1) a list
          of the companies (with addresses) which are covered by the audited consolidated
          financial statements, or (2) a list identifying “the significant subsidiaries” by exhibit
          number within the firm’s latest completed Independently Audited financial statements
          where the information can be found.]

       C. The firm received qualifications in the opinion expressed by the independent CPA on
          the report on examination of the audited financial statements, including but not
          limited to an adverse opinion, a disclaimer of opinion, or a “going concern

                                                                                             Mosaic
                                                                 Appendix 2, Attachment D, Form 4-C
           qualification.” (Yes/No) ________ [If the response is yes, attach to this letter, if not
           already included with documentation being submitted, a copy of the independent
           CPA’s qualifications in its opinion.]

                                                * * *

10. The firm represents that the figures marked with an asterisk in the Reporting Information
section are:

       A. Exactly as represented in the firm’s Independently Audited, year-end financial
          statements (as attached). (Yes/No) _________

       B. In accordance with U.S. Generally Accepted Accounting Principles (GAAP).
          (Yes/No) _______

       C. As of the latest completed fiscal year ended [insert date]. (Yes/No) ________

       [If one or more of the responses to paragraph 10 is no with respect to particular figures
       marked with an asterisk, the Agreed Upon Procedures Report described below shall
       specify whether such figures are in accord with the firm’s Independently Audited
       financial statements (including attachments), as of the firm’s latest completed fiscal year,
       and if they cannot be identified separately from the firm’s Independently Audited
       Financial Statements, the firm shall provide an explanation for how the figures were
       calculated, unless such calculation is provided in the Agreed Upon Procedures Report.
       If they are not in such accord, then attach a line-by-line reconciliation of each
       discrepancy that crosswalks the value represented in this letter to the firm’s
       Independently Audited year-end financial statements or list and attach referenced
       materials that provide requested information. This line-by-line reconciliation shall also
       include, as appropriate, figures represented in Reporting Information that are derived
       from figures marked with an asterisk.]

11. Based on the firm’s Independently Audited, fiscal year-end financial statements, the firm
represents:

       A. Total Assets located within the United States: $ _______ [insert amount]
                     i. Percentage of Assets located within the United States as a proportion
                         of the firm’s total Assets: _____% [insert percentage]

       B. Total Tangible Assets Located within the United States: $ _______ [insert amount]
                     i. Percentage of Tangible Assets Located within the United States as a
                        proportion of the firm’s total Assets: _____% [insert percentage]

       C. The Liquidity Buffer (the sum of the firm’s consolidated cash balances and the firm’s
          consolidated unused committed lines of credit): $________ [insert amount]



                                                                                             Mosaic
                                                                 Appendix 2, Attachment D, Form 4-C
         [The Agreed Upon Procedures Report described below shall specify whether the figures
         in Paragraph 11 are in accord with the firm’s Independently Audited financial statements
         (including attachments), as of the firm’s latest completed fiscal year, and if they cannot
         be identified separately, the firm shall provide an explanation for how the figures were
         calculated, unless such calculation is provided in the Agreed Upon Procedures Report.
         If they are not in such accord, then attach a line-by-line reconciliation of each
         discrepancy that crosswalks the value represented in this letter to the firm’s
         Independently Audited year-end financial statements or list and attach referenced
         materials that provide requested information. This line-by-line reconciliation shall also
         include, as appropriate, figures represented in Reporting Information that are derived
         from figures marked with an asterisk.]

12. The firm represents that no more than sixty percent (60%) of the firm’s tangible assets are in
the form of one or more note receivables from one or more Related Parties. (Yes/No) ________

[If the response to paragraph 12 is no, attach an originally signed certification by the firm’s
CFO as specified in Paragraph 32.h.(2) of Appendix 2 of the Florida Consent Decree and
Paragraph 31.h.(2) of the Louisiana Consent Decree, together with a list of each note
receivable, the name of the Related Party and a description (along with any necessary
documentation) of the Related Party’s financial strength and capability to meet its obligations to
the firm. Attach a line-by-line reconciliation that crosswalks the value(s) represented in this
letter to the firm’s Independently Audited year-end financial statements.]

II. Reporting Information

1. Sum of current Cost Estimates (total of all Updated Cost Estimates shown in paragraphs 1 and
   3 of Section I, above) $ [____]

2. The firm has a Long-Term Issuer Credit Rating3 with Standard and Poor’s of ________ [insert
   rating] as of _______ [insert date], and/or long-term Corporate Family Rating4 with Moody’s
   Investor Services of ________ [insert rating] as of _______ [insert date]. [Attach
   documentation or certified letter from Standard and Poor’s and Moody’s, as appropriate,
   evidencing the rating.]

*3. Total Liabilities $ [____]

*4. Total Assets $ [____]

*5. Intangible Assets $ [____]

*6. Current Assets $ [____]

3
  Standard and Poor’s specifies that the Issuer Credit Ratings make a distinction between foreign currency ratings
and local currency ratings. For purposes of this CFO letter, it is the Long Term Issuer Credit Rating for Local
Currency that is being specified.
4
  Mosaic may provide its long-term Corporate Rating with Moody’s for information purposes.

                                                                                                          Mosaic
                                                                              Appendix 2, Attachment D, Form 4-C
7. Tangible Assets [line 4 minus line 5] $ [____]

*8. Current Liabilities $ [____]

9. Net Working Capital [line 6 minus line 8] $ [____]

10. Net Worth [line 4 minus line 3] $ [____]

11. Tangible Net Worth [line 10 minus line 5] $ [____]

*12. Net Income (Net-Earnings attributable to Mosaic) $ [____]

*13. Depreciation, depletion, and amortization $ [____]

14. Net income plus depreciation, depletion, and amortization (line 12 plus line 13) $ [____]

[For the figures represented in Reporting Information above marked with an asterisk, the Agreed
Upon Procedures Report described below shall specify whether these figures are in accord with
the firm’s Independently Audited financial statements (including attachments), as of the firm’s
latest completed fiscal year, and if they cannot be identified separately from the firm’s
Independently Audited Financial Statements, the firm shall provide an explanation for how the
figures were calculated, unless such calculation is provided in the Agreed Upon Procedures
Report. If they are not in such accord, then attach a line-by-line reconciliation of each
discrepancy that crosswalks the value represented in this letter to the firm’s Independently
Audited year-end financial statements or list and attach referenced materials that provide
requested information. This line-by-line reconciliation shall also include, as appropriate,
figures represented in Reporting Information that are derived from figures marked with an
asterisk.]

I hereby certify in my capacity as the Chief Financial Officer of the firm, based on my
knowledge after reasonable due diligence, that the information included in this letter, including
all attachments and exhibits, is true and accurate. I further certify in my capacity as the Chief
Financial Officer of the firm, that the language of this letter is identical to the wording specified
in Appendix 2, Attachment D, Form 4-C, of the Consent Decrees [insert case names/docket
information of the Consent Decrees].

The following reports are attached:

1. An Agreed-Upon Procedures Report of procedures and findings from the firm’s independent
Certified Public Accountant (“CPA”) resulting from an agreed-upon procedures engagement
performed in accordance with the AICPA Statement on Standards for Attestation Engagements,
AT Section 201 Agreed-Upon Procedures Engagements (including AICPA related attestation
interpretations), as updated, that describes the procedures performed and related findings. The
CPA’s report on agreed-upon procedures discloses whether or not differences and/or
discrepancies were found in the comparison of financial information disclosed in this letter
(including all attachments and the information in the column marked with an asterisk in Schedule

                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 4-C
C) with the Independently Audited financial statements (including attachments), as of the firm’s
latest completed fiscal year end [insert date]. Where differences or discrepancies exist between
the financial information disclosed in this letter (including all attachments and exhibits) with the
firm’s Independently Audited year-end financial statements (including attachments), the CPA’s
report on agreed-upon procedures identifies and reconciles any difference or discrepancy
between the values or information represented in this letter and the firm’s Independently Audited
year-end financial statements. The CPA’s report on agreed-upon procedures shall also confirm
that the firm’s values represented in Section I, Paragraphs 11 and 12, and in Sections II, line
items 3 and 5, are calculated correctly pursuant to the requirements under Section I, Paragraphs
11 and 12, and Section II, of this letter and are in accordance with GAAP.

2. A copy of the independent CPA report on examination of the firm’s audited financial
statements for the latest completed fiscal year that the firm is providing the Corporate Guarantee.

[Signature] ___________________

[Name] ___________________

[Title] Chief Financial Officer

[Date] ___________________




                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 4-C
Schedule A: Corporate Guarantee Cost Estimate Information

Example A.1: Corporate Guarantee

                                                                 Cost Estimate
     Facility Name (EPA ID)
                                                                  (Current $)
    EPA123456789                                                       $1,000,000
    EPA234567910                                                      $10,000,000
    EPA345678911                                                     $100,000,000

    Total                                                            $111,000,000


Schedule B: Other Environmental Obligations Using a Financial Test or Guarantee
Cost Estimate Information

Example B.1

     Facility Name (EPA ID,
                                                                 Cost Estimate
     Permit Number, or Site       Statutory Obligation
                                                                  (Current $)
               ID)
    EPA123456789                         CERCLA                         $1,000,000
    EPA123456789                        SDWA (UIC)                     $10,000,000

    Total                                                              $11,000,000

Schedule C: Asset Retirement Obligations Disclosure

Example C.1

                              Cost Estimate           Discount
             Type of
                          Current $     *NPV $          Rate          Time
            Obligation
                                                       Range
        Property A         $1,000,000      $758,999   4.71% -       2008-2013
                                                       6.18%

        Property B        $10,000,000 $4,372,445         …          2008-2013
        Property C       $100,000,000 $19,118,278        …          2014-2064

        Total            $111,000,000 $24,249,722




                                                                                Mosaic
                                                             Appendix 2, Attachment D, Form 4-C
Attachment D, Form 5-A
                                 CORPORATE GUARANTEE

Instructions: The Corporate Guarantee, as specified in Appendix 2 of the Consent Decree, must
be worded as follows, except the instructions in the brackets are to be replaced with the relevant
information, if applicable, and the brackets deleted.

      Corporate Guarantee for Phosphogypsum Stack System Closure and Long Term Care
                                  [or/and Corrective Action]

Guarantee made this [date] by [name of guaranteeing entity], a business corporation organized
under the laws of the State of [insert name of State], herein referred to as Guarantor. This
Guarantee is made on behalf of the [owner or operator] of [business address], which is [one of
the following: “our subsidiary”; “a subsidiary of (insert name and address of common parent
corporation), of which guarantor is a subsidiary”; or “an entity with which guarantor has a
‘Substantial Business Relationship,’” as defined in Section I, Appendix 2, of the Consent Decree
(insert citation/docket information of Consent Decree)] to the United States Environmental
Protection Agency (“EPA”) and [State].

                                             Recitals

1. Guarantor meets or exceeds the financial test criteria and agrees to comply with the reporting
requirements for Guarantors as specified in Appendix 2 of the Consent Decree [insert
citation/docket information of Consent Decree] (“Consent Decree” or “Decree”), as applicable.

2. [Owner or operator] owns or operates the following Facility(ies) covered by this Guarantee:
[List for each facility: EPA Identification Number, name, and address. Indicate for each
whether Guarantee is for Phosphogypsum Stack System Closure, Long Term Care, or both
Phosphogypsum Stack System Closure and Long Term Care (and/or Corrective Action).]

3. “Initial Stack Closure Plan” and “Permanent Stack Closure Plan” [and/or “Risk Assessment
Plan,” “Interim Measures Plan” and/or “Corrective Action Plan”], as applicable, as used
below refer to the plans maintained as required by the Consent Decree for the Phosphogypsum
Stack System Closure and Long Term Care [and/or Corrective Action] of the Facility(ies)
identified above.

4. For value received from [owner or operator], Guarantor guarantees to EPA [and State] that in
the event that [owner or operator] fails to perform [insert “Phosphogypsum Stack System
Closure,” “Long Term Care,” or both “Phosphogypsum Stack System Closure and Long Term
Care” (and/or “Corrective Action”)]of the above Facility(ies) in accordance with the Initial
Stack Closure Plan or Permanent Stack Closure Plan [or and/or Risk Assessment Plan, Interim
Measures Plan and/or Corrective Action Plan], as applicable, the Guarantor shall do so or
establish a trust fund as specified in Appendix 2 of the Consent Decree, as applicable, in the
name of [owner or operator] in the amount of the Total [insert State name] Phosphogypsum
Stack System Closure and Long Term Care [and/or Corrective Action] Cost Estimates as
specified in the Consent Decree, Appendix 2.



                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 5-A
5. Guarantor agrees that if, at the end of any fiscal year before termination of this Guarantee, the
Guarantor fails to meet the financial test criteria, Guarantor shall send within ninety (90) Days,
by certified mail, notice to EPA [and State] as provided for in Section XIV (Notices) of the
Consent Decree, the [insert appropriate EPA Regional Administrator], and to [owner or
operator] that the Guarantor intends to provide alternate Financial Assurance as specified in
Appendix 2 of the Consent Decree, as applicable, in the name of [owner or operator]. Within
120 Days after the end of such fiscal year, the Guarantor shall establish such Financial Assurance
unless [owner or operator] has done so. Guarantor also agrees that if it determines that it no
longer meets the financial test criteria, it shall notify EPA [and State] as provided for in Section
XIV (Notices) of the Consent Decree, the [insert appropriate EPA Regional Administrator], and
[owner or operator] that it intends to provide alternate Financial Assurance as specified in
Appendix 2 of the Consent Decree, as applicable, in the name of [owner or operator]. Within
thirty (30) Days after the guarantor provides notice, the Guarantor shall establish such Financial
Assurance unless [owner or operator] has done so.

6. The Guarantor agrees to notify the EPA [and State] as provided for in Section III, Appendix 2
of the Consent Decree (Paragraph 10 or Paragraph 15, as applicable), and the [insert appropriate
EPA Regional Administrator], by certified mail, of a voluntary or involuntary proceeding under
Title 11 (Bankruptcy), U.S. Code, naming guarantor as debtor, within ten (10) Days after
commencement of the proceeding.

7. Guarantor agrees that within thirty (30) Days after being notified by the EPA [(or State)] of a
determination that Guarantor no longer meets the financial test criteria or that it is disallowed
from continuing as a Guarantor of Phosphogypsum Stack System Closure and/or Long Term
Care [and/or Corrective Action], it shall establish alternate Financial Assurance as specified in
Appendix 2 of the Consent Decree, as applicable, in the name of [owner or operator] unless
[owner or operator] has done so.

8. Guarantor agrees to remain bound under this Guarantee notwithstanding any or all of the
following: amendment or modification of the Initial Stack Closure Plan or Permanent Stack
Closure Plan [and/or Risk Assessment Plan, Interim Measures Plan and/or Corrective Action
Plan], as applicable, amendment or modification of the Consent Decree, the extension or
reduction of the time of performance of Phosphogypsum Stack System Closure or Long Term
Care [or Corrective Action], or any other modification or alteration of an obligation of the owner
or operator pursuant to the Consent Decree.

9. Guarantor agrees to remain bound under this Guarantee for as long as [owner or operator]
must comply with the applicable Financial Assurance requirements of the Consent Decree,
including Appendix 2 of the Decree, for the above-listed Facilit(ies), except as provided in
Recital 10 of this agreement.

10. [Insert the following language if the Guarantor is (a) a direct or higher-tier corporate
parent, or (b) a firm whose parent corporation is also the parent corporation of the owner or
operator:




                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 5-A
Guarantor may terminate this Guarantee by sending notice to EPA and the State of Florida as
provided for under Section XIV (Notices) of the Consent Decree, the [insert appropriate EPA
Regional Administrator], and to [owner or operator], by certified mail, provided that this
guarantee may not be terminated unless and until [owner or operator] obtains, and the EPA [and
State] approve(s), alternate Financial Assurance for Phosphogypsum Stack System Closure
and/or Long Term Care [and/or Corrective Action] in compliance with the Consent Decree,
including Appendix 2.]

[Insert the following language if the Guarantor is a firm qualifying as a Guarantor due to its
“substantial business relationship” with its owner or operator

Guarantor may terminate this guarantee 120 Days following the receipt of notification, through
certified mail, by the EPA [and State] and by [owner or operator].]

11. Guarantor agrees that if [owner or operator] fails to provide alternate Financial Assurance as
specified in the Consent Decree, Appendix 2, as applicable, and obtain written approval of such
Financial Assurance from the EPA [and State] within 90 Days after a notice of cancellation by
the Guarantor is received by the notificants in Recital 10, above, from Guarantor, Guarantor shall
provide such alternate Financial Assurance in the name of [owner or operator].

12. Guarantor expressly waives notice of acceptance of this Guarantee by the EPA [and State] or
by [owner or operator]. Guarantor also expressly waives notice of amendments or modifications
of the Initial Stack Closure Plan or Permanent Stack Closure Plan [and/or Risk Assessment Plan,
Interim Measures Plan and/or Corrective Action Plan], as applicable and of amendments or
modifications of the Consent Decree.

I hereby certify that the wording of this Guarantee is identical to the wording required under
Attachment D, Form 5-A of the Consent Decree.

Effective Date: __________

Name of Guarantor __________

Authorized signature for Guarantor __________

Name of person signing __________

Title of person signing __________

Signature of witness or notary: __________




                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 5-A
Attachment D, Form 5-B
                                  CORPORATE GUARANTEE

Instructions: The Corporate Guarantee for Phosphogypsum Stack System Closure and Long
Term Care, as specified in Appendix 2 of the Consent Decree, must be worded as follows, except
that instructions in brackets are to be replaced with the relevant information, if applicable, and
the brackets deleted.

      Corporate Guarantee for Phosphogypsum Stack System Closure and Long Term Care

        Guarantee made this [date] by The Mosaic Company, a business corporation organized
under the laws of the State of Delaware, herein referred to as “Guarantor.” This Guarantee is
made on behalf of Mosaic Fertilizer, LLC (“Mosaic Fertilizer”) of 3033 Campus Dr., Plymouth,
Minnesota 55441, which is our wholly-owned subsidiary, to the United States Environmental
Protection Agency (“EPA”) and [insert appropriate State designation].

       Whereas, pursuant to the Resource Conservation and Recovery Act (“RCRA”), as
amended, 42 U.S.C. §§ 6901 et seq., Mosaic Fertilizer has entered into a Consent Decree with
EPA and [insert appropriate State designation] (dated [insert date], Docket No. [insert case
information]), to resolve the civil claims asserted by EPA, and [insert appropriate State
designation] by establishing certain injunctive relief, including Financial Assurance, under the
Consent Decree;1

       Whereas, the Effective Date of the Consent Decree is defined in Section XVI (Effective
Date) of the Consent Decree;

        Whereas, the Consent Decree requires Mosaic Fertilizer to provide Financial Assurance
to EPA and [insert appropriate State designation] to address Phosphogypsum Stack System
Closure and Long Term Care, whenever required to do so, at the Operating and/or Closing
Facilities;

       Whereas, in order to provide a portion of the Financial Assurance required by the
Consent Decree, Mosaic Fertilizer has agreed to provide EPA and [insert appropriate State
designation] with a Guarantee, issued by the Guarantor, as set forth more fully in this Guarantee,
below.

I. Recitals

Now therefore, in consideration of the promises contained herein and for the other good and
valuable consideration, the receipt and adequacy of which is hereby acknowledged, the
Guarantor agrees to the following:

1. Mosaic Fertilizer owns or operates the Operating and Closing Facilities identified in the
Consent Decree covered by this Guarantee: [List for each facility: EPA Identification Number,

ͳUnless        otherwise defined herein, the capitalized items in this Guarantee, including the preamble
and recitals, have the meaning provided in the Consent Decree, including Appendix 1 and
Appendix 2.


                                                                                                  Mosaic
                                                                      Appendix 2, Attachment D, Form 5-B
name, address and Cost Estimate for each Facility].

2. For value received from Mosaic Fertilizer, Guarantor guarantees to EPA and [insert
appropriate State designation] that, in the event Mosaic Fertilizer fails to perform
Phosphogypsum Stack Closure and/or Long Term Care at any or all of the Operating and/or
Closing Facilities in accordance with the Initial Phosphogypsum Stack System Closure Plan or
Permanent Phosphogypsum Stack System Closure Plan and other terms of the Consent Decree,
whenever required to do so, the Guarantor shall do so, or shall establish alternate Financial
Assurance in the name of Mosaic Fertilizer in accordance within Section III.A of Appendix 2
(except for Paragraph 10.a.(1)(c)), of the Consent Decree, in an amount at least equal to the Total
[insert State name] Cost Estimate less the sum of: (i) the most recent value of the [insert State
name] Phosphogypsum Trust Fund established in accordance with Appendix 2 of the Consent
Decree and as represented by the Trustee in its most recent valuation statement to Grantor and
(ii) the aggregate value of any other Third-Party Mechanism secured to establish Financial
Assurance in accordance with Appendix 2 of the Consent Decree (“[insert State name] Financial
Assurance Delta”).

3. Guarantor shall comply with the reporting requirements of Paragraph 32.h. of Appendix 2 of
the Consent Decree, including an annual Representation and Certification from the Chief
Financial Officer of Guarantor stating that Guarantor has the financial resources for the next
fiscal year to fund the lesser of: (i) $415 million or (ii) the Financial Assurance Delta.

4. In the event that Guarantor determines, at any time for the duration of the Guarantee, for any
reason, that: (i) the Guarantor is unable to meet the terms of the Guarantee, including Recital 2;
(ii) the Guarantor is unable to provide the Representation and Certification required under
Recital 3 of this Guarantee; (iii) the Guarantor becomes aware of any changes in the Total Cost
Estimate or the Guarantor’s financial conditions that would invalidate or otherwise be
inconsistent with the Representation and Certification; or (iv) the Guarantor becomes aware of
any changes in the Total Cost Estimate that would invalidate or otherwise be inconsistent with
the Representation and Certification, then Guarantor shall, within five (5) Days of such a
determination, provide notice of such determination by certified mail to Mosaic Fertilizer, EPA
and [insert appropriate State designation]. Such notice shall be admissible in evidence in any
litigation and create a presumption that the Guarantor cannot provide the required Representation
and Certification, and that the Guarantor cannot perform Phosphogypsum Stack System Closure
and/or Long Term Care at the Operating and Closing Facilities or establish alternate Financial
Assurance in accordance with Appendix 2 in an amount that is at least equal to the Financial
Assurance Delta. The Guarantor may rebut this presumption only by clear and convincing
evidence.

5. Any notice provided by Guarantor of Guarantor’s inability to comply with the requirements of
this Guarantee, shall include a statement of the value of the guaranteed obligations based on
current Updated Cost Estimates, and the amount of financial resources that the Guarantor expects
to have available for the next fiscal year either to perform Phosphogypsum Stack System Closure
and/or Long Term Care activities at the Operating and Closing Facilities or to provide alternate
Financial Assurance.



                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 5-B
6. Guarantor agrees that, within thirty (30) Days after providing the notice required by Recitals 4
and 5, or after being notified by Mosaic Fertilizer, EPA, or [insert appropriate State designation]
of a determination that the Guarantor no longer is able to meet its obligations under Recital 2 of
this Guarantee or is disallowed from continuing as a Guarantor as specified in Paragraph 32.k. of
Appendix 2 because the independent Certified Public Accountant has issued in the report on
examination of the Guarantor’s audited financial statements an adverse opinion or a disclaimer
of opinion, or has failed to provide a Representation and Certification as required pursuant to
Recital 3 or provided an invalid Representation and Certification, and if Mosaic Fertilizer during
that time has not provided alternate Financial Assurance for the [insert State name] Financial
Assurance Delta (including written approval by EPA and [insert appropriate State designation]),
then Guarantor shall provide alternate Financial Assurance in accordance with Section III.A of
Appendix 2 (except for Paragraph 10.a(1)(c)), in the name of Mosaic Fertilizer, in an amount at
least equal to the [insert State name] Financial Assurance Delta. In the event that Mosaic
Fertilizer invokes dispute resolution, subject to the terms set forth in Appendix 2, of a
determination by EPA or [insert appropriate State designation], Guarantor agrees that it shall be
bound by the final outcome of the dispute resolution.

7. In the event that Guarantor provides notice under Recital 4, Guarantor shall make financial
resources available to Mosaic Fertilizer to meet its obligation under Paragraphs 32.j. and 32.l. of
Appendix 2 of the Consent Decree to establish alternate Financial Assurance in accordance with
Section III.A of Appendix 2 (except for Paragraph 10.a.(1)(c)), or to return Mosaic Fertilizer to
compliance if EPA approves a compliance plan and schedule pursuant to Section VII
(Temporary Non-Compliance) of Appendix 2 of the Consent Decree. Acceptance by EPA and
[insert appropriate State designation] of any compliance plan and schedule shall not relieve The
Mosaic Company of its obligations under this Corporate Guarantee.

8. In the event that EPA approves a compliance plan and schedule pursuant to Section VII
(Temporary Non-Compliance) of Appendix 2 to return Mosaic Fertilizer to compliance with its
Financial Assurance obligations under the Consent Decree, and such plan requires the Guarantor
to undertake certain activities or provide financial resources, in addition to that specified in
Recital 7 above, then Guarantor shall carry out those activities in a timely manner in accordance
with the approved compliance plan and schedule.

9. The Guarantor shall notify Mosaic Fertilizer, EPA, and [insert appropriate State designation]
by e-mail as well as by certified mail, of a voluntary or involuntary proceeding under Title 11
(Bankruptcy), U.S. Code, naming Guarantor as debtor, within twenty-four (24) hours after
commencement of the proceeding.

10. Guarantor shall remain bound under this Guarantee notwithstanding any or all of the
following: amendment or modification of the Phosphogypsum Stack System Closure Plan or
Permanent Phosphogypsum Stack System Closure Plan, as applicable, amendment or
modification of the Consent Decree, the extension or reduction of the time of performance of
Phosphogypsum Stack System Closure or Long Term Care, or any other modification or
alteration of an obligation of Mosaic Fertilizer pursuant to the Consent Decree.

11. Guarantor shall remain bound under this Guarantee for as long as Mosaic Fertilizer must
comply with the applicable Financial Assurance requirements of the Consent Decree (including

                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 5-B
appendices and attachments of the Consent Decree) for the Operating and Closing Facilities,
except as provided in Recital 12 of this Guarantee.

12. Guarantor may terminate this Guarantee by sending notice of cancellation by certified mail to
Mosaic Fertilizer, EPA, and [insert appropriate State designation], provided that Mosaic
Fertilizer or the Guarantor obtains, and EPA and [insert appropriate State designation] approves,
alternate Financial Assurance in accordance with Section III.A of Appendix 2 (except for
Paragraph 10.a.(1)(c)), of the Consent Decree, in an amount at least equal to the [insert State
name] Financial Assurance Delta. In the event that Mosaic Fertilizer fails to provide alternate
Financial Assurance or obtain EPA’s and [insert appropriate State designation] written approval
of the alternate Financial Assurance, Guarantor agrees and shall provide alternate Financial
Assurance in the name of Mosaic Fertilizer. This Guarantee shall not terminate unless and until
EPA and [insert appropriate State designation] has approved the alternate Financial Assurance
in writing and such approved alternate Financial Assurance is in place.

13. Guarantor expressly waives notice of acceptance of this Guarantee by EPA, [insert
appropriate State designation], or by Mosaic Fertilizer. Guarantor also expressly waives notice
of amendments or modifications of the Phosphogypsum Stack System Closure Plan and/or
Permanent Phosphogypsum Stack System Closure Plan and of amendments or modifications of
the Consent Decree.

14. Guarantor shall, when required to provide information regarding obligations under federal
and state law that are assured through the use of a financial test or a guarantee, include the
obligations under this Guarantee.

II. Representations and Affirmations

Guarantor hereby acknowledges, represents and affirms on this date of the Guarantee the
following:

15. Guarantor is duly organized and validly existing under the laws of the jurisdiction of its
incorporation and is qualified to do business in such jurisdiction and in each jurisdiction in which
the Guarantor conducts its business.

16. Guarantor has full power and authority to enter into and execute this Guarantee. This
Guarantee has been duly authorized, executed, and delivered by Guarantor.

17. This Guarantee constitutes a legal, valid, and binding obligation of Guarantor, enforceable in
accordance with its terms.

18. This Guarantee may be modified by the Parties only with the approval, in the sole discretion
and written consent of EPA and [insert appropriate State designation], and otherwise in
accordance with the terms of the Consent Decree.

19. The Guarantor is prohibited from assigning, transferring, delegating, or conveying the
obligations or the terms of this Guarantee to its successor, another person or entity, or a corporate
affiliate, unless after notice to EPA and [insert appropriate State designation], EPA and [insert
appropriate State designation], in their sole unreviewable discretion, approve the change in

                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 5-B
Guarantor.

20. The submittals and notifications required by this Guarantee shall be done in accordance with
Section XV (Notices) of the Consent Decree.

21. The Guarantor has been provided with a copy of the Consent Decree and all Appendices and
has read and is familiar with the provisions of the Consent Decrees and Appendices.

22. This Guarantee and the rights and obligations of EPA and [insert appropriate State
designation] and Guarantor shall be governed by and construed in accordance with the laws of
the State of [insert State designation] and applicable U.S. federal law.

23. This Guarantee shall be in effect as of the Effective Date of the Consent Decree.

I hereby certify that the wording of this Guarantee is identical to the wording required under
Attachment D, Form 5-B, of Appendix 2, of the Consent Decree.

Effective date: __________

Name of Guarantor __________

Authorized signature for Guarantor __________

Name of person signing __________

Title of person signing __________

Signature of witness or notary: __________




                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 5-B
Attachment D, Form 6-A
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                                 Letter from Corporate Guarantor’s Chief Financial Officer

Instructions: The letter from the Corporate Guarantor’s Chief Financial Officer, as specified in
Appendix 2, Section V of the Consent Decrees, must be worded as follows, except that
instructions in the brackets are to be replaced with the relevant information and the brackets
deleted.The CFO must provide supporting documentation, when required below. If your firm
has no facilities that belong in a particular paragraph, write “None” in the space indicated.

[Address to Regional Administrator of every Region and State Agency Head of every State in
which facilities for which financial responsibility is to be demonstrated through the corporate
guarantee are located].

I am the Chief Financial Officer of [insert name and address of firm] (hereinafter, “the firm” or
“this firm”). This letter is in support of the use of the Corporate Guarantee to demonstrate
Financial Assurance for liability coverage on behalf of [insert name of Defendant] as specified in
Appendix 2, Section V of the Consent Decrees [case names/docket information for the Consent
Decrees] (“Consent Decrees”).1

I. General Information

1. The firm identified above guarantees, through and in accordance with theGuarantee specified
in Section V of Appendix 2 of the Consent Decrees, liability coverage for both sudden and
nonsudden accidental occurrences at the following Operating and Closing Facilities owned or
operated by the guaranteed party, [insert name of Defendant], listed below in Schedule A,
attached to this letter. [Attach Schedule A. For informational purposes, see Schedule A,
Example 1. Schedule A shall list each Facility, (including the EPA Identification Number, name,
address), and designate for each Facility the liability coverage.]

2. The firm identified above is the direct or higher-tier parent corporation of the owner or
operator.

3. In addition to providing Guarantees for liability coverage at the Operating and Closing
Facilities listed in Schedule A, this firm is using or providing a financial test or guarantee to
secure the Environmental Obligations of the facilities or sites listed in Schedule B for which
Financial Assurance is required under programs that EPA directly operates and obligations under
programs where EPA has delegated authority to the State or approved a State’s program. The
cost estimates by obligation are provided for each facility in Schedule B, attached to this letter.
[Attach Schedule B. For informational purposes, see Schedule B, Example 1.]

              A.     The firm represents the total of all such Environmental Obligations in Current
              Dollars for the listed facilities in Schedule B of $__________ [insert amount], as of
              _________ [insert date].

4. This firm [insert “is required” or “is not required”] to file a Form 10K with the Securities
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1
 Unless otherwise defined in this letter, the capitalized items in this letter, including any attachments, have the
meaning provided in the Consent Decrees, including Appendix 1 and 2.

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                                                                                 Appendix 2, Attachment D, Form 6-A
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and Exchange Commission (SEC) for the latest fiscal year.

5. The fiscal year of this firm ends on [month, day]. [If not already provided, attach a copy of the
firm’s Independently Audited financial statements for the latest completed fiscal year.]

       A. The firm’s annual financial statements are Independently Audited by an independent
          Certified Public Accountant (“CPA”)? (Yes/No) _______________

       B. The firm is using audited consolidated financial statements.
          (Yes/No)_______________ [If the response is yes, please attach to this letter either:
          (1) a list of the companies (with addresses) which are covered by the audited
          consolidated financial statements, or (2) a list identifying “the significant
          subsidiaries” by exhibit number within the firm’s latest completed Independently
          Audited financial statements where the information can be found.]

       C. The firm received qualifications in the opinion expressed by the independent CPA on
          the report on examination of the audited financial statements, including but not
          limited to an adverse opinion, a disclaimer of opinion or a “going concern
          qualification.” (Yes/No) ________ [If the response is yes, attach to this letter, if not
          already included with documentation being submitted, a copy of the independent
          CPA’s qualifications in its opinion.]

                                                 ***
                                                     
6. The firm represents that the figures marked with an asterisk in the Reporting Information
Section are:

       A. Exactly as represented in the firm’s Independently Audited, year-end financial
          statements (as attached). (Yes/No) _______

       B. In accordance with U.S. Generally Accepted Accounting Principles (GAAP).
          (Yes/No) _______

       C. As of the latest completed fiscal year ended [insert date]. (Yes/No) _______

       [If one or more of the responses to paragraph 6 is no, with respect to particular figures
       marked with an asterisk, the Agreed Upon Procedures Report described below shall
       specify whether such figures are in accord with the firm’s Independently Audited
       financial statements (including attachments), as of the firm’s latest completed fiscal year,
       and if they cannot be identified separately, the firm shall provide an explanation for how
       the figures were calculated, unless such calculation is provided in the Agreed Upon
       Procedures Report. If they are not in such accord, thenattach a line-by-line
       reconciliation of each discrepancy that crosswalks the value represented in this letter to
       the firm’s Independently Audited year-end financial statements or list and attach
       referenced materials that provide requested information. This line-by-line reconciliation
       shall also include, as appropriate, figures represented in Reporting Information that are
       derived from figures marked with an asterisk.]

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                                                                   Appendix 2, Attachment D, Form 6-A
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II. Reporting Information for Liability Coverage for Sudden and Nonsudden Accidental
    Occurrences

[Fill in Alternative I if the criteria of paragraph (f)(1)(i) of 264.147 or 265.147, as adopted by
reference in Section 62-730.180, F.A.C. or the first criteria of LAC 33:V.3715.1, are used. Fill
in Alternative II if the criteria of paragraph (f)(1)(ii) of 264.147 or 265.147, as adopted by
reference in Section 62-730.180, or the first criteria of LAC 33:V.3715.1 are used, except as
modified in Paragraph 25(c) of Appendix 2 of the Consent Decree.]

ALTERNATIVE I

1. Amount of annual aggregate liability coverage to be demonstrated: $ [___]

*2. Current Assets: $ [___]

*3. Current Liabilities: $ [___]

4. Net working capital (line 2 minus line 3): $ [___]

*5. Total Liabilities: $ [___]

*6. Total Assets: $ [___]

*7. Intangible Assets: $ [___]

8. Net Worth (line 6 minus line 5) : $ [___]

9. Tangible Net Worth (line 8 minus line 7): $ [___]

*10. Total Assets located within the United States: $ [___]

11. Is line 9 at least $10 million? (Yes/No) ___________

12. Is line 4 at least six times line 1? (Yes/No) ___________

13. Is line 9 at least six times line 1? (Yes/No) ___________

14. Are at least 90 percent of the firm’s Assets located within the United States? (Yes/No) _____
If not, complete line 15.

15. Is line 10 at least six times line 1? (Yes/No) ___________

ALTERNATIVE II

1. Amount of annual aggregate liability coverage to be demonstrated: $ [___]


                                                                                               Mosaic
                                                                   Appendix 2, Attachment D, Form 6-A
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2. The firm has a Long-Term Issuer Credit Rating2 with Standard and Poor’s of ________ [insert
rating] as of _______ [insert date], and/or long-term Corporate Family Rating3 with Moody’s
Investor Services of ________ [insert rating] as of _______ [insert date]. [Attach
documentation or certified letter from Standard and Poor’s and Moody’s, as appropriate,
evidencing the rating.]

*3. Total Liabilities: $ [___]

*4. Total Assets: $ [___]

*5. Intangible Assets: $ [___]

6. Net Worth (line 4 minus line 3): $ [___]

7. Tangible Net Worth (line 6 minus line 5): $ [___]

*8. Total Assets located within the United States: $ [___]

9. Is line 7 at least $ 10 million? (Yes/No) ___________

10. Is line 7 at least six times line 1? (Yes/No) ___________

11. Are at least 90 percent of the firm’s Assets located within the United States? (Yes/No)
________ If not, complete line 12.

12. Is line 8 at least six times line 1? (Yes/No) ___________

[For the figures represented in Reporting Information above marked with an asterisk, the Agreed
Upon Procedures Report described below shall specify whether these figures are in accord with
the firm’s Independently Audited financial statements (including attachments), as of the firm’s
latest completed fiscal year, and if they cannot be identified separately from the firm’s
Independently Audited Financial Statements, the firm shall provide an explanation for how the
figures were calculated, unless such calculation is provided in the Agreed Upon Procedures
Report. If they are not in such accord, then attach a line-by-line reconciliation of each
discrepancy that crosswalks the value represented in this letter to the firm’s Independently
Audited year-end financial statements or list and attach referenced materials that provide
requested information. This line-by-line reconciliation shall also include, as appropriate,
figures represented in Reporting Information that are derived from figures marked with an
asterisk.As the figures represented in line items Alternative I, 9, 10, and, 14 and Alternative II,
7, 8, and 11 above, are embedded within the firm’s Independently Audited financial statements
and cannot be identified separately from those statements, the Agreed Upon Procedures report
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2
  Standard & Poor’s specifies that the Issuer Credit Ratings make a distinction between foreign currency ratings and
local currency ratings. For purposes of this CFO letter, it is the Long Term Issuer Credit Rating for Local Currency
that is being specified.
3
  Mosaic may provide its long-term Corporate Rating with Moody’s for information purposes.

                                                                                                          Mosaic
                                                                              Appendix 2, Attachment D, Form 6-A
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referenced below shall provide an explanation for how the figures were calculated as well as the
calculations.]

I hereby certify in my capacity as the Chief Financial Officer of the firm, based on my
knowledge after reasonable due diligence, that the information included in this letter, including
all attachments and exhibits, is true and accurate. I further certify in my capacity as the Chief
Financial Officer of the firm that the language of this letter is identical to the wording specified
in Appendix 2, Attachment D, Form 6-A of the Consent Decrees.

The following reports are attached:

1. An Agreed-Upon Procedures of procedures and findings from the firm’s independent
Certified Public Accountant (“CPA”) resulting from an agreed-upon procedures engagement
performed in accordance with the AICPA Statement on Standards for Attestation Engagements,
AT Section 201 - Agreed Upon Procedures Engagements (including AICPA related attestation
interpretations), as updated, that describes the procedures performed and related findings. The
CPA’s report on agreed-upon procedures discloses whether or not differences or discrepancies
were found in the comparison of financial information included in this letter with the
Independently Audited financial statements (including attachments), as of the firm’s latest
completed fiscal year end [insert date]. Where differences or discrepancies exist between the
financial information disclosed in this letter with the firm’s Independently Audited year-end
financial statements (including attachments), the CPA’s report on agreed-upon procedures
identifies and reconciles any difference or discrepancy between the values or information
represented in this letter and the firm’s Independently Audited year-end financial statements.
The CPA’s report on agreed-upon procedures shall also confirm that the firm’s values
represented in line items Alternative I, 9, 10, and 14, and Alternative II, 7, 8,and 11, are
calculated correctly pursuant to the requirements under Section II of this letter and are in
accordance with GAAP.

2. A copy of the independent CPA report on examination of the firm’s audited financial
statements for the latest completed fiscal year that the firm is providing the corporate Guarantee.

[Signature]

[Name]

[Title] Chief Financial Officer

[Date]




                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 6-A
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 Schedule A: Corporate Guarantee Liability Coverage Information

Example A.1: Corporate Guarantee

                                            Activity             Liability Coverage $
          Facility Name (EPA ID)      (Sudden/Non-Sudden
                                          Occurrences)
        EPA123456789                        Sudden                     $1,000,000 per
                                                                occurrence/$2,000,000
                                                                     annual aggregate
        EPA123456789                 Non-Sudden Occurrences            $3,000,000 per
                                                                occurrence/$6,000,000
                                                                     annual aggregate
        Total                                                          $4,000,000 per
                                                                occurrence/$8,000,000
                                                                     annual aggregate


 Schedule B: Other Environmental Obligations Using a Financial Test or Guarantee Cost
 Estimate Information

Example B.1

         Facility Name (EPA ID,                                    Cost Estimate
                                     Statutory Obligation
        Permit Number, or Site ID)                                  (Current $)
        EPA123456789                     CERCLA                             $1,000,000
        EPA123456789                    SDWA (UIC)                         $10,000,000

        Total                                                              $11,000,000

 




                                                                                          Mosaic
                                                              Appendix 2, Attachment D, Form 6-A
Attachment D, Form 6-B
                             CORPORATE GUARANTEE FOR LIABILITY COVERAGE

Instructions: The Corporate Guarantee for liability coverage, as specified in Appendix 2 of the
Consent Decree, must be worded as follows, except that instructions in brackets are to be
replaced with the relevant information, if applicable, and the brackets deleted.

        Guarantee made this [date] by The Mosaic Company, a business corporation organized
under the laws of the State of Delaware, herein referred to as “Guarantor.” This Guarantee is
made on behalf of Mosaic Fertilizer, LLC (“Mosaic Fertilizer” or “Principal”) of 3033 Campus
Dr., Plymouth, Minnesota 55441, which is our wholly-owned subsidiary, to any and all third
parties who have sustained or may sustain bodily injury or property damage caused by sudden
and/or nonsudden accidental occurrences arising from Phosphogypsum Stack System Closure
and/or Long-Term Care of the Operating and Closing Facilities covered by this Guarantee.

       Whereas, pursuant to the Resource Conservation and Recovery Act (“RCRA”), as
amended, 42 U.S.C. §§ 6901 et seq., Mosaic Fertilizer has entered into a Consent Decree with
EPA and [insert appropriate State designation] (dated [insert date], Docket No. [insert case
information]) (“Consent Decree”) to resolve the civil claims asserted by EPA, and [insert
appropriate State designation] by establishing certain injunctive relief, including Financial
Assurance, under the Consent Decree.1

I. Recitals

1. Guarantor meets or exceeds the financial test criteria and agrees to comply with the reporting
requirements for Guarantors as specified in LAC 33:V.3715.G, except as modified in Paragraph
24 and 25 of Appendix 2 of the Consent Decree.

2. Mosaic Fertilizer owns or operates the following Operating and Closing Facilities covered by
this Guarantee: [List for each facility: EPA identification number, name, and address.] This
Corporate Guarantee satisfies RCRA third-party liability requirements for both sudden and non-
sudden accidental occurrences in the above-named Operating and Closing Facilities for coverage
in the amount of $4 million for each occurrence and $8 million annual aggregate.2

3. For value received from Mosaic Fertilizer, Guarantor guarantees to any and all third parties
who have sustained or may sustain bodily injury or property damage caused by sudden and/or
nonsudden accidental occurrences arising from Phosphogypsum Stack System Closure and/or
Long Term Care of the Operating and Closing Facilities covered by this Guarantee that in the
event that Mosaic Fertilizer fails to satisfy a judgment or award based on a determination of
liability for bodily injury or property damage to third parties caused by sudden and/or nonsudden
accidental occurrences, arising from Phosphogypsum Stack System Closure and/or Long Term
Care of the above-named Operating and Closing Facilities, or fails to pay an amount agreed to in

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1
  Unless otherwise defined herein, the capitalized items in this Guarantee, including the preamble and recitals, have
the meaning provided in the Consent Decrees, including Appendix 1 and 2.
2
  If Guarantor is guaranteeing RCRA third-party liability coverage for Facilities owned or operated by Mosaic
Fertilizer in another State, the $8 million annual aggregate covers all such Facilities guaranteed, unless such other
State has different liability coverage requirements.

                                                                                                           Mosaic
                                                                               Appendix 2, Attachment D, Form 6-B
settlement of a claim arising from or alleged to arise from such injury or damage, the Guarantor
will satisfy such judgment(s), award(s), or settlement agreement(s) up to the limits of coverage
identified above.

4. Exclusions. This Guarantee does not apply to:

i. Bodily injury or property damage for which Mosaic Fertilizer is obligated to pay damages by
reason of the assumption of liability in a contract or agreement. This exclusion does not apply to
liability for damages that Mosaic Fertilizer would be obligated to pay in the absence of the
contract or agreement.

ii. Any obligation of Mosaic Fertilizer under a workers’ compensation, disability benefits, or
unemployment compensation law or any similar law.

iii. Bodily injury to:

        (a) an employee of Mosaic Fertilizer arising from, and in the course of, employment by
        Mosaic Fertilizer; or

        (b) the spouse, child, parent, brother, or sister of that employee as a consequence of, or
        arising from, and in the course of, employment by Mosaic Fertilizer.

                This exclusion applies:

                (i) whether Mosaic Fertilizer may be liable as an employer or in any other
                capacity; and

                (ii) to any obligation to share damages with or repay another person who must pay
                damages because of the injury to persons identified in Subclauses (a) and (b).

iv. Bodily injury or property damage arising out of the ownership, maintenance, use, or
entrustment to others of any aircraft, motor vehicle, or watercraft.

v. Property damage to:

        (a) any property owned, rented, or occupied by Mosaic Fertilizer;

        (b) premises that are sold, given away, or abandoned by Mosaic Fertilizer if the property
        damage arises out of any part of those premises;

        (c) property loaned to Mosaic Fertilizer;

        (d) personal property in the care, custody, or control of Mosaic Fertilizer;

        (e) that particular part of real property on which Mosaic Fertilizer or any contractors or
        subcontractors working directly or indirectly on behalf of Mosaic Fertilizer are


                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 6-B
       performing Phosphogypsum Stack System Closure and/or Long Term Care, if the
       property damage arises out of these activities.

5. Guarantor agrees that if, at the end of any fiscal year before termination of this Guarantee, the
Guarantor fails to meet the financial test criteria, Guarantor shall send within ninety (90) Days,
by certified mail, notice to EPA, LDEQ, and to Mosaic Fertilizer that it intends to provide
alternate liability coverage as specified in Appendix 2, Section V of the Consent Decree, as
applicable, in the name of Mosaic Fertilizer. Within 120 Days after the end of such fiscal year,
the Guarantor shall establish such liability coverage unless Mosaic Fertilizer has done so.

6. The Guarantor agrees to notify Mosaic Fertilizer, EPA, and LDEQ by e-mail as well as by
certified mail of a voluntary or involuntary proceeding under Title 11 (Bankruptcy), U.S. Code,
naming Guarantor as debtor, within twenty-four (24) hours after commencement of the
proceeding.

7. Guarantor agrees that within thirty (30) Days after being notified by EPA or LDEQ of a
determination that Guarantor no longer meets the financial test criteria or that it is disallowed
from continuing as a Guarantor, it shall establish alternate liability coverage as specified in
Appendix 2, Section V of the Consent Decree in the name of Mosaic Fertilizer, unless Mosaic
Fertilizer has done so.

8. Guarantor agrees to remain bound under this Guarantee for so long as Mosaic Fertilizer must
comply with the applicable requirements of the Consent Decree for the above-listed Operating
and Closing Facilities, except as provided in Recital 9 of this agreement.

9. Guarantor may terminate this Guarantee by sending notice by certified mail to EPA, LDEQ,
and to Mosaic Fertilizer, provided that this Guarantee may not be terminated unless and until
Mosaic Fertilizer obtains, and EPA and LDEQ approves, alternate liability coverage complying
with Appendix 2, Section V of the Consent Decree.

10. Guarantor hereby expressly waives notice of acceptance of this Guarantee by any party.

11. Guarantor agrees that this Guarantee is in addition to and does not affect any other
responsibility or liability of the Guarantor with respect to the covered Operating and Closing
Facilities.

12. The Guarantor shall satisfy a third-party liability claim only on receipt of one of the
following documents.

i. Certification from the Principal and the third-party claimant(s) that the liability claim should be
paid. The certification must be worded as follows, except that instructions in brackets are to be
replaced with the relevant information and the brackets deleted.

CERTIFICATION OF VALID CLAIM

The undersigned, as parties [insert Principal] and [insert name and address of third-party


                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 6-B
claimant(s)], hereby certify that the claim of bodily injury and/or property damage caused by a
sudden or non-sudden accidental occurrence arising from the Phosphogypsum Stack System
Closure and/or Long Term Care of the [Principal’s] Operating and Closing Facilities should be
paid in the amount of $ [insert amount].

[Signatures]

Principal

[Notary] [Date]

[Signatures]

Claimant(s)

[Notary] [Date]

ii. A valid final court order establishing a judgement against the Principal for bodily injury or
property damage caused by sudden or non-sudden accidental occurrences arising from the
Phosphogypsum Stack System Closure and/or Long Term Care of the Principal’s Operating and
Closing Facilities.

13. In the event of combination of this Guarantee with another mechanism to meet liability
requirements, this Guarantee will be considered [insert “primary” or “excess”] coverage.

II. Representations and Affirmations

Guarantor hereby acknowledges, represents and affirms on this date of the Guarantee the
following:

14. Guarantor is duly organized and validly existing under the laws of the jurisdiction of its
incorporation and is qualified to do business in such jurisdiction and in each jurisdiction in which
the Guarantor conducts its business.

15. Guarantor has full power and authority to enter into and execute this Guarantee. This
Guarantee has been duly authorized, executed and delivered by Guarantor.

16. This Guarantee constitutes a legal, valid, and binding obligation of Guarantor, enforceable in
accordance with its terms.

17. This Guarantee may be modified by the Parties only with the approval, in the sole discretion
and written consent of the EPA and LDEQ, and otherwise in accordance with the terms of the
Consent Decree.

18. The Guarantor is prohibited from assigning, transferring, delegating, or conveying the
obligations or the terms of this Guarantee to its successor, another person or entity, or a corporate


                                                                                                Mosaic
                                                                    Appendix 2, Attachment D, Form 6-B
affiliate, unless after notice to EPA and LDEQ, EPA and LDEQ, in their sole unreviewable
discretion, approve the change in Guarantor.

19. The submittals and notifications required by this Guarantee shall be done in accordance with
Section XV (Notices) of the Consent Decree.

20. The Guarantor has been provided with a copy of the Consent Decree and all Appendices and
has read and is familiar with the provisions of the Consent Decrees and Appendices.

21. This Guarantee and the rights and obligations of EPA and LDEQ and Guarantor shall be
governed by and construed in accordance with the laws of the State of Louisiana and applicable
U.S. federal law.

I hereby certify that the wording of this Guarantee is identical to the wording required under
Attachment D, Form 6-B of Appendix 2 of the Consent Decree.

Effective Date: __________

Name of Guarantor __________

Authorized signature for Guarantor __________

Name of person signing __________

Title of person signing __________

Signature of witness or notary: __________




                                                                                              Mosaic
                                                                  Appendix 2, Attachment D, Form 6-B
Attachment E
Corporate Financial Test (“CFT”) Criteria for Appendix 2, Section III.B

Part              CFT Criteria A                   CFT Criteria B                    CFT Criteria C                     CFT Criteria D

 1     Ratings Threshold *

       x    A                            x     A-, BBB+ BBB                x     BBB-, BB+, BB               x      BB-
 1A
       x    A2                           x     A3, Baa1, Baa2              x     Baa3, Ba1, Ba2              x      Ba3

 2     Third-Party Financial Assurance Mechanism (Trust Fund, Letter of Credit)
                                          x     At least 20% of sum of      x     At least 25% of sum of      x      At least 30% of sum of
                                                total costs for                   total costs for                    total costs for
                                                Phosphogypsum Stack               Phosphogypsum Stack                Phosphogypsum Stack
 2A    None Required
                                                System Closure in Current         System Closure in Current          System Closure in Current
                                                Dollars and Long Term             Dollars and Long Term              Dollars and Long Term
                                                Care in NPV.                      Care in NPV.                       Care in NPV.
 3     Financial Metrics Threshold

 3A                                       x     TL / NW < 2.0 (rolling)     x     TL / NW < 1.5 (rolling)     x      TL / NW < 1.5 (rolling)
       None Required
                                          AND                               AND                               AND

3B-1   None Required                      1. CA / CL > 1.5 (rolling)        1. CA / CL > 1.5 (rolling)        1. CA / CL > 2.0 (rolling)
                                               OR                                OR                           AND
                                          2. Operating Cash Flow  1.5      2. Operating Cash Flow  2.0
                                                                                                              2. Operating Cash Flow  2.0
                                          times [the sum of total costs     times [the sum of total costs
                                                                                                              times [the sum of total costs
                                          for Phosphogypsum Stack           for Phosphogypsum Stack
                                                                                                              for Phosphogypsum Stack
                                          System Closure in Current         System Closure in Current
3B-2   None Required                                                                                          System Closure in Current
                                          Dollars and Long Term Care in     Dollars and Long Term Care In
                                                                                                              Dollars and Long Term Care,
                                          NPV, minus the current            NPV, minus the current
                                                                                                              minus the face value of Third-
                                          market value of Third-Party       market value of Third-Party
                                                                                                              Party Mechanism] (annual)**
                                          Mechanism] (rolling)**            Mechanism] (rolling)**
 4     Coverage Thresholds
       x    TNW  Six times the sum of    x    TNW  Six times the sum      x    TNW  Six times the sum      x     TNW  Six times the sum
            total costs for                    of total costs for                of total costs for                 of total costs for
            Phosphogypsum Stack                Phosphogypsum Stack               Phosphogypsum Stack                Phosphogypsum Stack
            System Closure in Current          System Closure in Current         System Closure in Current          System Closure in Current
4A-1        Dollars and Long Term              Dollars and Long Term             Dollars and Long Term              Dollars and Long Term
            Care, plus the sum of all          Care in NPV, plus the sum         care in NPV, plus the sum          care in NPV, plus the sum
            other Environmental                of all other Environmental        of all other Environmental         of all other Environmental
            Obligations in Current             Obligations in Current            Obligations in Current             Obligations in Current
            Dollars.                           Dollars.                          Dollars.                           Dollars.
       OR
                                          OR                                OR                                OR
                                          x    TNW  Four times the sum                                       x     TNW  Four times the sum
       x    TNW  Four times the sum                                        x    TNW  Four times the sum
                                                of total costs for                                                   of total costs for
             of total costs for                                                   of total costs for
                                                Phosphogypsum Stack                                                  Phosphogypsum Stack
             Phosphogypsum Stack                                                  Phosphogypsum Stack
                                                System Closure in Current                                            System Closure in Current
             System Closure in Current                                            System Closure in Current
                                                Dollars and Long Term                                                Dollars and Long Term
             Dollars and Long Term                                                Dollars and Long Term
                                                Care in NPV, plus the sum                                            Care in NPV, plus the sum
4A-2         Care in NPV, plus the sum                                            Care in NPV, plus the sum
                                                of all other                                                         of all other
             of all other Environmental                                           of all Environmental
                                                Environmental Obligations                                            Environmental Obligations
             Obligations in Current                                               Obligations in Current
                                                in Current Dollars, plus                                             in Current Dollars, plus
             Dollars, plus 40% in a                                               Dollars, plus 40% in a
                                                40% in a Third-Party                                                 40% in a Third-Party
             Third-Party Mechanism.                                               Third-Party Mechanism.
                                                Mechanism.                                                           Mechanism.

       OR                                 OR                                OR                                OR




                                                                                                                                    Mosaic
                                                                                                                  Appendix 2, Attachment E
                                           x  TNW  Two times the sum        x  TNW  Two times the sum        x  TNW  Two times the sum
        x   TNW  Two times the sum
                                               of total costs for                of total costs for                of total costs for
             of total costs for
                                               Phosphogypsum Stack               Phosphogypsum Stack               Phosphogypsum Stack
             Phosphogypsum Stack
                                               System Closure in Current         System Closure in Current         System Closure in Current
             System Closure in Current
                                               Dollars and Long Term             Dollars and Long Term             Dollars and Long
             Dollars and Long Term
4A-3                                           Care in NPV, plus the sum         Care in NPV, plus the sum         Term Care in NPV, plus
             Care in NPV, plus the sum
                                               of all other                      of all other                      the sum of all other
             of all other Environmental
                                               Environmental Obligations         Environmental Obligations         Environmental Obligations
             Obligations in Current
                                               in Current Dollars, plus          in Current Dollars, plus          in Current Dollars, plus
             Dollars, plus 60% in a
                                               60% in a Third-Party              60% in a Third-Party              60% in a Third-Party
             Third-Party Mechanism.
                                               Mechanism.                        Mechanism.                        Mechanism.
        AND                                AND                               AND                               AND

4B      x   TNW of at least $20M           x   TNW of at least $20M          x   TNW of at least $20M          x     TNW of at least $20M

        AND                                AND                               AND                               AND
        x   Tangible Assets located in     x   Tangible Assets located in    x   Tangible Assets located in    x     Tangible Assets located in
            the United States  at least       the United States  at            the United States  at              the United States  at
4C          90% of the sum of all              least 90% of the sum of all       least 90% of the sum of             least 90% of the sum of all
            Environmental Obligations          Environmental Obligations         Environmental Obligations           Environmental Obligations
            in Current Dollars.                in Current Dollars.               in Current Dollars.                 in Current Dollars.

     * Rating shall consist of at least one of the following: (1) Standard & Poor’s Long-Term Issuer Credit Rating; (2) Moody’s long-term
     Corporate Family Rating; or (3) equivalent rating from a nationally recognized statistical rating organization (“NRSRO”). See
     Appendix 2, Section III.B, Paragraph 13.
     ** Cannot use the Operating Cash Flow (“OCF”) financial metric to demonstrate Financial Assurance for a specific fiscal year if
     during that fiscal year there is a negative cash flow. See Appendix 2, Section III.B, Paragraph 15.e.(2)(b).




                                                                                                                                     Mosaic
                                                                                                                   Appendix 2, Attachment E
Attachment F
Attachment F

The information contained in these Figures facilitates the execution of the requirements found in
Paragraph 29.b., Appendix 2, of the Consent Decree. Nothing in these Figures shall be construed
to: (1) limit, alter, or supersede the permitting and approval authorities of the State; or
(2) commit Mosaic to construct the Planned Expansion or liner depicted herein.

Figure 1: Configuration of the currently permitted Phosphogypsum Stack System.

Figure 2: Configuration of the Phosphogypsum Stack System with the proposed lateral
expansion (“Planned Expansion”).

Figure 3: Cross-section of the Phosphogypsum Stack System with the proposed lateral
expansion.




Information contained within this Attachment has been redacted as it is considered Confidential
Business Information. An un-redacted version of this Attachment is filed under Seal with the
Court.




                                                                                            Mosaic,
                                                                 Appendix 2, Attachment F (Redacted)
Figure 1




           2
Figure 2




                                                                     *
                                                               **

                                                           HDPE LINED AREA
                                           300 ACRE
                                                CRE
                                                               *
                                                                110 ACRE




                                                                           PHASE III
                                                                          (CY 2017 ±)
                                                                           185 ACRE




                                                                                         PHASE II
                                                                                        (CY 2015 ±)
                                                                                         225 ACRE




                                                                                                                                                         3


* = Portions of this figure have been omitted pursuant to a request for confidential treatment. An unredacted version of this figure has been filed separately.
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               * = Portions of this figure have been omitted pursuant to a request for confidential treatment. An unredacted version of this figure has been filed separately.
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Figure 3
Attachment G
Attachment G

The information contained in the Tables and Figures facilitates the execution of the requirements
found in Paragraph 29.b., Appendix 2, of the Consent Decree. Nothing in these Figures shall be
construed to: (1) limit, alter, or supersede the permitting and approval authorities of the State; or
(2) commit Mosaic to construct the Planned Expansion or liner depicted herein.



Attachment G: Baseline

       Table – Total Phosphogypsum Volumes and Total Future Closure Areas for Paragraph
       29.b.(2)(a)

       Table – Proposed Future Liner for Paragraph 29.b.(3)(a)

       Table – Summary of Baseline Phosphogypsum Stack Volumes and Closure Areas for
       Uncle Sam Facility

Attachment G: Updated

       Table – Total Phosphogypsum Volumes and Total Future Closure Area at Determination
       Date Prior to Lateral Expansion for Paragraph 29.b.(2)(a)

       Table – Summary of Updated Phosphogypsum Stack Volumes and Closure Areas for
       Uncle Sam Facility

Figures

       Uncle Sam Facility: Figures 1-7




Information contained within this Attachment has been redacted as it is considered Confidential
Business Information. An un-redacted version of this Attachment is filed with the Court under
Seal.


                                                                                               Mosaic
                                                                   Appendix 2, Attachment G (Redacted)
Attachment G: Baseline




                                                     Mosaic
                         Appendix 2, Attachment G (Redacted)
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* = Portions of this table have been omitted pursuant to a request for confidential treatment. An unredacted version of this
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Attachment G: Updated




                                                    Mosaic
                        Appendix 2, Attachment G (Redacted)
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* = Portions of this table have been omitted pursuant to a request for confidential treatment. An unredacted version of this
table has been filed separately.
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* = Portions of this table have been omitted pursuant to a request for confidential treatment. An unredacted version of this table has been filed separately.
Attachment G: Uncle Sam Facility

Figure 1: Phosphogypsum Stack System Areas – Uncle Sam Facility

Figure 2: Stacks 1-3 Base Area and Top Area Under Liner at El. +100’ – Uncle Sam Facility

Figure 3: Stack 4 Base Area and Top Area Under Liner at El. +200’ – Uncle Sam Facility

Figure 4: Stack 5A Future Expansion Base Area and Top Area

Figure 5: Stack 5A Future Expansion Base Area and Top Area

Figure 6: Stack 1-4 Base Area and Top Area Above Liner – Uncle Sam Facility

Figure 7: North-South Cross Section




                                                                                          Mosaic
                                                              Appendix 2, Attachment G (Redacted)
* = Portions of this figure have been omitted pursuant to a request for confidential treatment. An unredacted version of this figure has been filed separately.
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Attachment H
                                Representation and Certification

I hereby certify, in my capacity as the Chief Financial Officer of the Mosaic Company, after due
diligence, that to the best of my knowledge and belief, The Mosaic Company has the financial
resources for the fiscal year beginning ______________ and ending ______________, to fund
the lesser of: (1) $415 million, or (2) the Total Cost Estimate less the sum of: (i) the most recent
value of the Florida Phosphogypsum Trust Fund established in accordance with the Consent
Decree [insert Consent Decree name and designation] and as represented by the Trustee in its
most recent valuation statement to the Grantor, (ii) the most recent value of the Louisiana
Phosphogypsum Trust Fund established in accordance with the Consent Decree [insert Consent
Decree name and designation] and as represented by the Trustee in its most recent valuation
statement to the Grantor, and (iii) the aggregate value of any other Third-Party Mechanism
secured to establish Financial Assurance in accordance with Appendix 2 of the two Consent
Decrees.

[Signature]    _________________________________

[Name]         _________________________________

[Title]        Chief Financial Officer

[Date]         _________________________________




                                                                                               Mosaic
                                                                             Appendix 2, Attachment H
Attachment I
                                 CORPORATE GUARANTEE
Instructions: The Corporate Guarantee for Phosphogypsum Stack System Closure and Long
Term Care, as specified in Appendix 2 of the Consent Decree, must be worded as follows, except
that instructions in brackets are to be replaced with the relevant information, if applicable, and
the brackets deleted.

      Corporate Guarantee for Phosphogypsurn Stack System Closure and Long Term Care

        Guarantee made this September 28, 2015 by The Mosaic Company, a business
corporation organized under the laws of the State of Delaware, herein referred to as "Guarantor."
This Guarantee is made on behalf of Mosaic Fertilizer, LLC ("Mosaic Fertilizer") of 3033
Campus Dr., Plymouth, Minnesota 55441, which is our wholly-owned subsidiary, to the United
States Environmental Protection Agency ("EPA") and Louisiana Department of Environmental
Quality ("LDEQ").

       Whereas, pursuant to the Resource Conservation and Recovery Act ("RCRA"), as
amended, 42 U.S.C. §§ 6901 et seq., Mosaic Fertilizer bas entered into a Consent Decree with
EPA and LDEQ (dated [insert date], Docket No. [insert case information]), to resolve the civil
claims asserted by EPA, and LDEQ by establishing certain injunctive relief, including Financial
Assurance, under the Consent Decree; 1

       Whereas, the Effective Date of the Consent Decree is defined in Section XVI (Effective
Date) of the Consent Decree;

      Whereas, the Consent Decree requires Mosaic Fertilizer to provide Financial Assurance
to EPA and LDEQ to address Phosphogypsum Stack System Closure and Long Term Care,
whenever required to do so, at the Operating and/or Closing Facilities;

       Whereas, in order to provide a portion of the Financial Assurance required by the
Consent Decree, Mosaic Fertilizer has agreed to provide EPA and LDEQ with a Guarantee,
issued by the Guarantor, as set forth more fully in this Guarantee, below.

I. Recitals

Now therefore, in consideration of the promises contained herein and for the other good and
valuable consideration, the receipt and adequacy of which is hereby acknowledged, the
Guarantor agrees to the following:

I. Mosaic Fertilizer owns or operates the Operating and Closing Facilities identified in the
Consent Decree covered by this Guarantee:




1Unless otherwise defined herein, the capitalized items in this Guarantee, including the preamble
and recitals, have the meaning provided in the Consent Decree, including Appendix 1 and
Appendix 2.


                                                                                              Mosaic
                                                                             Appendix 2, Attachment I
       Faustina
       9959 Highway 18
       St. James, LA 70086
       LAD 056 031 636
       [insert cost estimate information]

       Uncle Sam
       7250 Highway 44
       Uncle Sam, LA 70792
       LAD 059 545 756
       [insert cost estimate information].

2. For value received from Mosaic Fertilizer, Guarantor guarantees to EPA and LDEQ that, in
the event Mosaic Fertilizer fails to perfonn Phosphogypsum Stack Closure and/or Long Tenn
Care at any or all of the Operating and/or Closing Facilities in accordance with the Initial
Phosphogypsum Stack System Closure Plan or Pennanent Phosphogypsum Stack System
Closure Plan and other terms of the Consent Decree, whenever required to do so, the Guarantor
shall do so, or shall establish alternate Financial Assurance in the name of Mosaic Fertilizer in
accordance within Section III.A of Appendix 2 (except for Paragraph 1O.a.(l )(c)), of the Consent
Decree, in an amount at least equal to the Total Louisiana Cost Estimate less the sum of: (i) the
most recent value of the Louisiana Phosphogypsum Trust Fund established in accordance with
Appendix 2 of the Consent Decree and as represented by the Trustee in its most recent valuation
statement to Grantor and (ii) the aggregate value of any other Third-Party Mechanism secured to
establish Financial Assurance in accordance with Appendix 2 of the Consent Decree ("Louisiana
Financial Assurance Delta").

3. Guarantor shall comply with the reporting requirements of Paragraph 32.h. of Appendix 2 of
the Consent Decree, including an annual Representation and Certification from the Chief
Financial Officer of Guarantor stating that Guarantor has the financial resources for the next
fiscal year to fund the lesser of: (i) $415 million or (ii) the Financial Assurance Delta.

4. In the event that Guarantor determines, at any time for the duration of the Guarantee, for any
reason, that: (i) the Guarantor is unable to meet the tenns of the Guarantee, including Recital 2;
(ii) the Guarantor is unable to provide the Representation and Certification required under
Recital 3 of this Guarantee; (iii) the Guarantor becomes aware of any changes in the Total Cost
Estimate or the Guarantor's financial conditions that would invalidate or otherwise be
inconsistent with the Representation and Certification; or (iv) the Guarantor becomes aware of
any changes in the Total Cost Estimate that would invalidate or otherwise be inconsistent with
the Representation and Certificationt then Guarantor shall, within five (5) Days of such a
determination, provide notice of such determination by certified mail to Mosaic Fertilizer, EPA
and LDEQ. Such notice shall be admissible in evidence in any litigation and create a
presumption that the Guarantor cannot provide the required Representation and Certification, and
that the Guarantor cannot perform Phosphogypswn Stack System Closure and/or Long Term
Care at the Operating and Closing Facilities or establish alternate Financial Assurance in
accordance with Appendix 2 in an amount that is at least equal to the Financial Assurance Delta.
The Guarantor may rebut this presumption only by clear and convincing evidence.


                                                                                             Mosaic
                                                                            Appendix 2, Attachment l
5. Any notice provided by Guarantor of Guarantor's inability to comply with the requirements of
this Guarantee, shall include a statement of the value of the guaranteed obligations based on
current Updated Cost Estimates, and the amount of financial resources that the Guarantor expects
to have available for the next fiscal year either to perform Phosphogypsum Stack System Closure
and/or Long Tenn Care activities at the Operating and Closing Facilities or to provide a1ternate
Financial Assurance.

6. Guarantor agrees that, within thirty (30) Days after providing the notice required by Recitals 4
and 5, or after being notified by Mosaic Fertilizer, EPA, or LDEQ of a determination that the
Guarantor no longer is able to meet its obligations under Recital 2 of this Guarantee or is
disa1lowed from continuing as a Guarantor as specified in Paragraph 32.k. of Appendix 2
because the independent Certified Public Accountant has issued in the report on examination of
the Guarantor's audited financial statements an adverse opinion or a disclaimer of opinion, or has
failed to provide a Representation and Certification as required pursuant to Recital 3 or provided
an invalid Representation and Certification, and if Mosaic Fertilizer during that time has not
provided alternate Financial Assurance for the Louisiana Financial Assurance Delta (including
written approval by EPA and LDEQ), then Guarantor shall provide alternate Financial Assurance
in accordance with Section III.A of Appendix 2 (except for Paragraph 10.a.(l)(c)), in the name
of Mosaic Fertilizer, in an amount at least equa1 to the Louisiana Financial Assurance Delta. In
the event that Mosaic Fertilizer invokes dispute resolution, subject to the tenns set forth in
Appendix 2, of a determination by EPA or LDEQ, Guarantor agrees that it shall be bound by the
final outcome of the dispute resolution.

7. In the event that Guarantor provides notice under Recital 4, Guarantor sha11 make financial
resources available to Mosaic Fertilizer to meet its obligation under Paragraphs 32.j. and 32.1. of
Appendix 2 of the Consent Decree to establish alternate Financial Assurance in accordance with
Section III.A of Appendix 2 (except for Paragraph 10.a(l)(c)), or to return Mosaic Fertilizer to
compliance if EPA approves a compliance plan and schedule pursuant to Section VII
(Temporary Non-Compliance) of Appendix 2 of the Consent Decree. Acceptance by EPA and
LDEQ of any compliance plan and schedule shall not relieve The Mosaic Company of its
obligations under this Corporate Guarantee.

8. In the event that EPA approves a compliance plan and schedule pursuant to Section VII
(Temporary Non-Compliance) of Appendix 2 to return Mosaic Fertilizer to compliance with its
Financial Assurance obligations under the Consent Decree, and such plan requires the Guarantor
to undertake certain activities or provide financial resources, in addition to that specified in
Recital 7 above, then Guarantor shall carry out those activities in a timely manner in accordance
with the approved compliance plan and schedule.

9. The Guarantor shall notify Mosaic Fertilizer, EPA, and LDEQ by e-mail as well as by
certified mail, of a voluntary or involuntary proceeding under Title 11 (Bankruptcy), U.S. Code,
naming Guarantor as debtor, within twenty-four (24) hours after commencement of the
proceeding.

10. Guarantor shall remain bound under this Guarantee notwithstanding any or all of the
following: amendment or modification of the Phosphogypsum Stack System Closure Plan or
Permanent Phosphogypsurn Stack System Closure Plan, as applicable, amendment or

                                                                                              Mosaic
                                                                             Appendix 2, Attachment I
modification of the Consent Decree, the extension or reduction of the time of performance of
Phosphogypsum Stack System Closure or Long Term Care, or any other modification or
alteration of an obligation of Mosaic Fertilizer pursuant to the Consent Decree.

11 . Guarantor shall remain bound under this Guarantee for as long as Mosaic Fertilizer must
comply with the applicable Financial Assurance requirements of the Consent Decree (including
appendices and attachments of the Consent Decree) for the Operating and Closing Facilities,
except as provided in Recital 12 of this Guarantee.

12. Guarantor may terminate this Guarantee by sending notice of cancellation by certified mail to
Mosaic Fertilizer, EPA, and LDEQ, provided that Mosaic Fertilizer or the Guarantor obtains, and
EPA and LDEQ approves, alternate Financial Assurance in accordance with Section III.A of
Appendix 2 (except for Paragraph 10.a.(l)(c)), of the Consent Decree, in an amount at least
equal to the Louisiana Financial Assurance Delta. In the event that Mosaic Fertilizer fails to
provide alternate Financial Assurance or obtain EPA's and LDEQ written approval of the
alternate Financial Assurance, Guarantor agrees and shall provide alternate Financial Assurance
in the name of Mosaic Fertilizer. This Guarantee shall not terminate unless and until EPA and
LDEQ has approved the alternate Financial Assurance in writing and such approved alternate
Financial Assurance is in place.

13. Guarantor expressly waives notice of acceptance of this Guarantee by EPA, LDEQ, or by
Mosaic Fertilizer. Guarantor also expressly waives notice of amendments or modifications of
the Phosphogypsum Stack System Closure Plan and/or Permanent Phosphogypsum Stack ·system
Closure Plan and of amendments or modifications of the Consent Decree.

14. Guarantor shaU, when required to provide information regarding obligations under federal
and state law that are assured through the use of a financial test or a guarantee, include the
obligations under this Guarantee.

II. Representations and Affirmations

Guarantor hereby acknowledges, represents and affirms on this date of the Guarantee the
following:

15. Guarantor is duly organized and validly existing under the laws of the jurisdiction of its
incorporation and is qualified to do business in such jurisdiction and in each jurisdiction in which
the Guarantor conducts its business.

16. Guarantor has full power and authority to enter into and execute this Guarantee. This
Guarantee has been duly authorized, executed, and delivered by Guarantor.

17. This Guarantee constitutes a legal, valid, and binding obligation of Guarantor, enforceable in
accordance with its terms.

18. This Guarantee may be modified by the Parties only with the approval, in the sole discretion
and written consent of EPA and LDEQ, and otherwise in accordance with the terms of the
Consent Decree.


                                                                                              Mosaic
                                                                             Appendix 2, Attachment I
19. The Guarantor is prohibited from assigning, transferring, delegating, or conveying the
obligations or the tenns of this Guarantee to its successor, another person or entity, or a corporate
affiliate, unless after notice to EPA and LDEQ, EPA and LDEQ, in their sole unreviewable
discretion, approve the change in Guarantor.

20. The submittals and notifications required by this Guarantee shall be done in accordance with
Section XV (Notices) of the Consent Decree.

21. The Guarantor has been provided with a copy of the Consent Decree and all Appendices and
has read and is familiar with the provisions of the Consent Decrees and Appendices.

22. This Guarantee and the rights and obligations of EPA and LDEQ and Guarantor shall be
governed by and construed in accordance with the laws of the State of Louisiana and applicable
U.S. federal law.

23. This Guarantee shall be in effect as of the Effective Date of the Consent Decree.

I hereby certify that the wording of this Guarantee is identical to the wording required under
Attachment D, Form 5-B, of Appendix 2, of the Consent Decree.



Name of Guarantor:     The Mosaic Comp~
Authorized signature for Guarantor:   --~
                                        -_,,.__ _ _ _ _:.:_:_-:_-:_:::: '---
                                                                         ::_ __

Name of person signing:   _ru=·c=har=d""'L='-'.M=a=ck""---------------
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                                                                                               Mosaic
                                                                              Appendix 2, Attachment I
APPENDIX 3
                                                                     Faustina




                        Legend                                                                                                                                     Location Key

                                                                                                                                                                                            Tangipahoa
                                                                                                                                                        East Baton Rouge
                                                                                                                                                                                    Livingston


                                                                                                                                                                      Ascension


                     Mosaic Owned Property                                                                                                             Iberville




                                                                                                 :
                                                                                                                                                                                                 I-10

                     Approximate Boundary                                                                                                                                                   ss i ssippi R iver
                                                                                                                                                                                         Mi
                     of manufacturing area                                                                                                           Iberia
                     and phosphogypsum                                                                                                                                       St. James       St. Charles
                     stack system
                                                                                                                                                              Assumption

                                                                                    0                   0.5                    1
Service Layer Credits: USGS The National Map: National                                                                                               St. Martin                          Lafourche
Boundaries Dataset, National Elevation Dataset, Geographic                                             Miles
Names Information System, National Hydrography Dataset,
National Land Cover Database, National Structures Dataset, and
National Transportation Dataset; U.S. Census Bureau -                                                                                                 St. Mary         Terrebonne
TIGER/Line; HERE Road Data                                       User: jwh/djr   Date: 9/2/2015 Path: G:\projects\2015\2015_0012\maps\Faustina.mxd
                                                                 Uncle Sam




                        Legend                                                                                                                                         Location Key

                                                                                                                                                         I-12
                                                                                                                                                      East Baton Rouge                                           Tangipahoa
                                                                                                                                                                                          Livingston
                                                                                                                                                      Iberville

                                                                                                                                                                     Ascension
                 Mosaic Owned
                                                                                                                                                                                                                       I-55




                                                                                                  :
                                                                                                                                                                                                             I-10
                 Approximate Boundary
                                                                                                                                                                                 Mis                     i ver
                 of manufacturing area                                                                                                                          LA
                                                                                                                                                                                       s i s s ipp i R
                 and phosphogypsum
                 stack system                                                                                                                                               St. James
                 (Including EDI)                                                                                                                                                                                 St. Charles
                                                                                                                                                        Assumption
                                                                                      0                  0.5                   1
Service Layer Credits: USGS The National Map: National
Boundaries Dataset, National Elevation Dataset, Geographic
                                                                                                        Miles                                                                                   Lafourche
Names Information System, National Hydrography Dataset,                                                                                               St. Martin
National Land Cover Database, National Structures Dataset, and
National Transportation Dataset; U.S. Census Bureau -
TIGER/Line; HERE Road Data                                       User: jwh/djr   Date: 9/2/2015 Path: G:\projects\2015\2015_0012\maps\Uncle_Sam.mxd   St. Mary       Terrebonne
APPENDIX 4
                                                                            September 29, 2015



                                     APPENDIX 4
                                   FACILITY REPORT
                                  FAUSTINA COMPLEX
                                 EXECUTIVE SUMMARY

Mosaic Fertilizer, LLC’s (Mosaic) Faustina Facility (Faustina Facility or Faustina) does not
engage in mineral processing and therefore the RCRA Bevill exemptions are not applicable
to current operations at this Facility. As a result, all solid wastes generated at the Faustina
Facility are from Downstream Operations and are, as applicable, subject to the RCRA
Requirements as set forth in the Consent Decree, which includes this Facility Report and
Appendix 6 (RCRA Project Narrative and Compliance Schedule).

These summary charts provide an overview of the tanks associated with Granulation at the
Faustina Facility. In the event of any conflict between these summary tables and the more
detailed information provided below in diagrams and text, then the diagrams and text control.

Table 1: Interim Granulation Plant Units


                            Interim Granulation Plant Units (IGPUs)
                             Periodic or
                                              Phosphoric Acid
        Tank Name           Continuous                                Alternate Name(s)
                                                Service (%)
                               IGPU
  Granulation Acid         Periodic
                                          54/30                    South Tank (swing tank)
  South Tank
  Granulation Acid         Periodic
                                            30                         North Tank
  North Tank
  Granulation Acid         Periodic
                                            54/High Solids Acid        West Tank
  West Tank
  Granulation Acid East    Periodic
                                            54                         East Tank
  Tank
  North Holding Tank       Continuous
  Stormwater Tank          Continuous
  North/South Phos         Periodic
  Acid Storage Tank
  Sump
  East/West Phos Acid      Periodic
  Storage Tank Sump
                                                                        Mosaic Faustina
                                                                         Facility Report




                                  IGPU Transfer Lines
                   Periodic or
  Line Name        Continuous    Service/Description       From                  To
                     IGPU
Transfer lines      Periodic                            A phosphoric   Another
                                 Transfers 54% Acid,
between the                                             acid storage   phosphoric acid
                                 30% Acid
Phos Acid Tanks                                         tank           storage tank
                    Periodic                            West Tank or
A-Line                           Transfers 54% Acid                    A-Train
                                                        East Tank
                    Periodic                            West Tank or
B-Line                           Transfers 54% Acid                    B-Train
                                                        East Tank
                    Periodic                            North Tank
                                                                       C-Train
C-Line                           Transfers 54% Acid     or South
                                                        Tank
                    Periodic                            North Tank
                                                                       A-Train, B-Train or
Spare Line                       Transfers 30% Acid     or South
                                                                       C-Train
                                                        Tank
Holding Tank       Continuous                           Existing
                                 Cleaning Solutions                    Granulation
Transfer Line                                           Holding Tank
Transfer Line to   Continuous
                                                                       North Holding
the North                        Cleaning Solutions
                                                                       Tank
Holding Tank
Transfer Line to   Continuous
the Stormwater                   Cleaning Solutions                    Stormwater Tank
Tank
Transfer Line      Continuous
from the                                                Stormwater
                                 Cleaning Solutions
Stormwater                                              Tank
Tank




                                          2
                                                                            Mosaic Faustina
                                                                             Facility Report



Table 2. Granulation Plant Units

                               Granulation Plant Units (GPUs)
                     Existing or Future Phosphoric Acid
 Tank Name                                                            Alternate Name(s)
                     Installation         Service (%)
                                          Cleaning
 Existing Holding
                           Existing       Solutions/scrubber          EHT
 Tank
                                          water
                     Future Installation
                                          Cleaning
 Granulation Plant       pursuant to
                                          Solutions/scrubber          GPHT1
 Holding Tank 1          Compliance
                                          water
                          Project 3
                     Future Installation
                                         Cleaning
 Granulation Plant      pursuant to
                                         Solutions/scrubber           GPHT2
 Holding Tank 2         Compliance
                                         water
                         Project 3
 Existing Holding
                            Existing       Cleaning Solutions
 Tank Sump
                                           Cleaning
 Granulation Sump           Existing       Solutions/scrubber
                                           water



                          Granulation Plant Units (Transfer Lines)
                            Phosphoric Acid
 Line Name                                                    Alternate Name(s)
                            Service (%)
 Transfer Lines between
                            Cleaning Solutions/scrubber
 GPUs and between                                           EHT Transfer line
                            water
 GPUs and Granulation




                                             3
                                                                                                                 Privileged and Confidential
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                                                             APPENDIX 4
                                                           FACILITY REPORT

                                                    MOSAIC FERTILIZER, LLC
                                                     LOUISIANA COMPLEX
                                                     FAUSTINA, LOUISIANA
                                                     EPA ID: LAD 056 031 636


Table of Contents
I. Introduction ........................................................................................................................................ 5
II. Background ....................................................................................................................................... 6
III. First Saleable Products at Faustina .................................................................................................. 6
IV. Phosphoric Acid Storage and Consumption .................................................................................... 6
       A.         Phosphoric Acid Storage..................................................................................................... 6
       B. Phosphoric Acid Transfer to Granulation ................................................................................ 7
       C. Granulation .............................................................................................................................. 8
V. Current Configuration Equipment Designations............................................................................. 10
       A. Granulation Plant Units (GPUs) ............................................................................................. 10
       B. Interim Granulation Plant Units ............................................................................................. 10
       C.         Granulation Sump Ditches ................................................................................................ 11
VI. Compliance Projects ...................................................................................................................... 12
       Project 1: Secondary Containment in the Phosphoric Acid Tank Farm ..................................... 12
       Project 2: DAP Recycle Pond Closure ....................................................................................... 12
       Project 3: Granulation Plant Holding Tank Installation .............................................................. 13
       Project 4: Interim Granulation Plant Units Tank and Transfer Line Operating Requirements .. 13
       Project 5: Interim Granulation Plant Units – Sump Operating Requirements............................ 13
       Project 6: RCRA Requirements for GPUs.................................................................................. 14
       Project 7: Requirements for the Granulation Sump ..................................................................... 14
       Project 8: Requirements for the Existing Holding Tank Sump .................................................. 14
       Project 9: Inspections, Maintenance and Repair of the Granulation Sump Ditches .................... 15
VII. Containment of Phosphoric Acid Spills and Leaks ...................................................................... 15
VIII. Process Wastewater Inventory Management Plan ...................................................................... 16
IX. Authorized Future Installations ..................................................................................................... 17
Attachment A ....................................................................................................................................... 18




                                                                            4
                                                                                      Mosaic Faustina
                                                                                       Facility Report

I. Introduction
All capitalized terms shall have the meanings set forth in the Consent Decree (CD) or, if not defined
in the CD, then the definitions set forth herein.
The main purposes of this Facility Report are to:

   a. Identify compliance projects (set forth in Section VI (Compliance Projects) of this Facility
      Report and Appendix 6 (RCRA Project Narrative and Compliance Schedule) to the CD),
      including installation of two GPUs referred to as Granulation Plant Holding Tanks (GPHTs);

   b. Identify Mosaic’s GPU units. Mosaic uses these units to manage, store or transport
      Downstream wastes for use in Granulation;

   c. Identify Mosaic’s IGPU units. Mosaic uses these units to manage, store or transport
      Downstream wastes for use in Granulation until they discontinue handling Downstream
      wastes in compliance with Appendix 6 (RCRA Project Narrative and Compliance Schedule)
      or such time as the GPHTs are put in service to replace them;

   d. Provide for the management of phosphoric acid and sulfuric acid leaks and spills; and

   e. Identify categories of future equipment construction, installation and conditions of operation.
      The conditions are set forth in Section IX. Authorized Future Installations of this Facility
      Report.




                                                    5
                                                                                                  Mosaic Faustina
                                                                                                   Facility Report




II. Background
The Faustina Facility’s primary commercial products are the solid ammoniated phosphate fertilizers:
monoammonium phosphate (MAP), diammonium phosphate (DAP), and MicroEssentials® (MES).
DAP and MAP are manufactured in all three Granulation trains designated as A-Train, B-Train and
C-Train. MES is produced in C-Train. Ammonia and phosphoric acid are the primary reactants for
the manufacture of MAP, DAP and MES and are consumed in the production of ammoniated
fertilizers on-site.

Faustina does not make phosphoric acid and its Phosphogypsum Stack System is in the process of
undergoing closure pursuant to LDEQ closure requirements. A component of the Faustina
Phosphogypsum Stack System, the cooling pond, consists of 38 acres and is regulated under a LDEQ
Solid Waste Permit under Louisiana law. The cooling pond is used to collect the leachate from the
Phosphogypsum Stack for treatment and discharge. See Map 1.

DAP Recycle Pond
The DAP Recycle Pond, which is undergoing closure, is regulated under a LDEQ permit as a solid
waste impoundment under Louisiana law. The DAP Recycle Pond collects rainwater. The DAP
Recycle Pond is usually separated from the cooling pond, but Mosaic occasionally transfers water
from the DAP Recycle Pond to the cooling pond in order to maintain capacity in the DAP Recycle
Pond (e.g., after heavy rain events).


III. First Saleable Products at Faustina
Faustina does not generate First Saleable Products as defined in the CD. Rather, it imports the
following First Saleable Products from Mosaic’s Uncle Sam Facility and other phosphoric acid
producers and uses them as direct feedstocks to DAP, MAP and MES production:
    1) 30% phosphoric acid
    2) 54% clarified phosphoric acid (greater than 1% solids)
    3) High solids acid (HSA) - phosphoric acid


IV. Phosphoric Acid Storage and Consumption1
    A. Phosphoric Acid Storage

There are four phosphoric acid storage tanks (Phos Acid Storage Tanks) that store imported
phosphoric acid with concentrations ranging from 30 to 54%. These tanks are referred to as the East,
West, North and South Tanks and are all located in an area of the plant referred to as the Phosphoric
Acid Tank Farm (See Figures 4, 5 and 6). These four tanks are also periodically used to store
cleaning wastes that are used in Granulation.1 At the time of the drafting of this Facility Report, the
four tanks in the Phosphoric Acid Tank Farm are not equipped with secondary containment.

1
 This Section describes current operations, which will be altered as described in Section VI (Compliance Projects)
once the GPHTs are installed pursuant to the schedule set forth in Appendix 6 ( RCRA Project Narrative and
Compliance Schedule) to the CD.

                                                         6
                                                                                        Mosaic Faustina
                                                                                         Facility Report

However, secondary containment will be installed (see Figure 7) pursuant to the schedule set forth in
Appendix 6 (RCRA Project Narrative and Compliance Schedule) to the CD. The East Tank and
West Tank share a pump and piping system serviced by an acid brick lined sump. Any leaks or
discharges (other than cleaning wastes) from the East or West Tanks to this shared sump are
recovered and pumped back to the East, West, North, or South Tanks. The North Tank and South
Tank share a pump and piping system serviced by a stainless steel sump. Any leaks or discharges
(other than cleaning wastes) from the North or South Tanks to this shared sump are recovered and
pumped back to the North, South, East, or West Tanks.

The Phos Acid Storage Tank Farm area slopes toward a section of the earthen ditch and will be
addressed by Section VI. Project 1 Secondary Containment in Phosphoric Acid Tank Farm. The
section of the earthen ditch leading to the DAP Recycle Pond has been completely filled in with earth
thereby isolating the Phosphoric Acid Tank Farm from the DAP Recycle Pond.

The Phos Acid Storage Tanks are cleaned periodically with fresh water and the wastewaters and
solids are then transferred via a concrete pad and a sump to another Phos Acid Storage Tank. From
the Storage Tank, the solution is transferred to and used in Granulation.

    B. Phosphoric Acid Transfer to Granulation
1) Acid Transfer between Barge Unloading and the Phosphoric Acid Storage Tanks
Faustina has one (1) primary transfer line from the barge unloading area to the Phos Acid Storage
Tanks in the Phosphoric Acid Tank Farm area. This line transfers either 30%, 54% or HSA
phosphoric acid from the barges to a Phos Acid Storage Tank. This line is cleaned with SACS
generated at and barged from Uncle Sam solely for this purpose to remove precipitated solids and
scale to maintain acceptable pressure levels and acid flow rates.

The location of the transfer line is shown in Figure 3. The estimated line length and cleaning
frequency is listed in Table 2.

2) Acid Transfer between the Phosphoric Acid Storage Tanks and the Granulation Plants
Faustina has four (4) primary transfer lines that transfer acid from the Phos Acid Storage Tanks to the
Granulation plants’ reactors and scrubber seal tanks. These lines are designated as the A-line, B-line,
C-line and Spare line. These lines are cleaned with Faustina Cleaning Solution to remove
precipitated solids and scale to maintain acceptable pressure levels and acid flow rates. Periodically,
these lines are used to transport waste from the Phos Acid Storage Tanks to Granulation for use1. The
locations of the transfer lines are shown in Figure 4. The estimated line lengths and cleaning
frequencies are listed in Table 3.


3) Acid Transfer between the Truck Unloading and the Phosphoric Acid Storage Tanks

Faustina has one (1) transfer line that transfers acid from the truck unloading area to the Phosphoric
Acid Tank Farm. These lines are cleaned with Faustina Cleaning Solution to remove precipitated
solids and scale to maintain acceptable pressure levels and acid flow rates.

The location of the transfer line is illustrated in Figure 5. The estimated line length and cleaning
frequency is listed in Table 4.


                                                    7
                                                                                      Mosaic Faustina
                                                                                       Facility Report

       C. Granulation

Faustina has three Granulation plants (A-Train, B-Train, and C-Train, referred to collectively as
Faustina Granulation plants) that produce MAP, DAP and MES. Faustina’s Granulation plants use
30% phosphoric acid as the scrubbing media in the first stage of the air pollution control devices
(“APCDs”).

The APCDs in A-Train, B-Train and C-Train consist of a first stage system that uses phosphoric acid
for scrubbing and a second stage scrubber system that uses non-hazardous DAP Recycle Pond water
or clarified water or GPU Effluent for scrubbing. The scrubbing media is recirculated through the
scrubbers and a slip stream is sent to the reactor. All the effluents from these scrubbers are used in
Granulation.

Faustina Granulation plants use clarified water, hot condensate, Granulation Plant Holding Tank
Effluent (described in Section VI (Compliance Projects), Project 3), or non-hazardous DAP Recycle
Pond water. These solutions are referred to collectively as “Faustina Cleaning Solution” when used
for cleaning.

Faustina uses a sump referred to as the Granulation Sump, discussed further in the Section below, as
a central collection point for: wash-down of the floor area within the curbing and sloped area of the
Granulation plants, stormwater, and Faustina Cleaning Solution transferred via concrete ditches from
each of the three Granulation plants during cleaning and maintenance. The Granulation Sump is a
GPU that transfers its contents to another GPU, the Existing Holding Tank, which then transfers the
content for use in Granulation. The Granulation plant has also recently connected spare tanks, the
North Holding Tank and the “Storm Water Tank” to receive excess solution from the Granulation
Sump, which can then be transferred to the Existing Holding Tank for use in Granulation (Diagram
1). The Existing Holding Tank is the source of scrubber liquor (normal operation) to all three plants.

The concrete area underlying the Faustina Granulation plants are designated as the “granulation pad.”
The granulation pad slopes and drains to concrete drainage ditches, which are below grade and are
lined with an acid-resistant coating that will be inspected and repaired in accordance with Project 7,
Section VI (Compliance Projects). All of these drainage ditches are depicted in Diagram 2 and flow
into the Granulation Sump located near Train A (“Granulation Sump Ditches”).

The concrete floors within the Faustina Granulation plants are washed with non-hazardous clarified
water. Wastes generated from the use of Faustina Cleaning Solution are input into Granulation via
the GPUs. See Figure 1 and Figure 2.


Granulation Sump
The Granulation Sump (See Diagram 2) is constructed of concrete and is lined with acid-resistant
brick. The Granulation Sump is being modified to meet the design specifications of a Hazardous
Waste Tank System as detailed in Section VI. Project 5.

The inputs to/contents of the Granulation Sump are comprised primarily of clarified water, process
equipment wash water, Granulation fines, and stormwater flowing into the granulation pad drainage
ditches. The contents of the Granulation Sump are returned to Granulation via the GPU referred to as
the Existing Holding Tank. The contents of the Existing Holding Tank are used in Granulation. If

                                                  8
                                                                                       Mosaic Faustina
                                                                                        Facility Report

the volume of the Existing Holding Tank becomes too low it can receive additional makeup material
from the “Storm Water Tank,” from the DAP Pond, or from the clarified water system. The
Granulation Sump has a water level “float” that triggers a pump to transfer the contents of the
Granulation Sump to the Existing Holding Tank, the North Holding Tank, or the “Storm Water
Tank” for use in Granulation.

When the Granulation Sump is cleaned to remove solids, fresh water sprayed with a fire hose is used
to agitate the contents of the Granulation Sump. The Granulation Sump wastewaters and solids are
sent to the Existing Holding Tank, the North Holding Tank, or the “Storm Water Tank” for use in
Granulation.

Wastewaters and solids from equipment washouts in the Granulation plant are drained to the
granulation pad where they enter the drainage ditches that gravity flow to the Granulation Sump.
The contents from the Granulation Sump are sent to the GPHTs for use in Granulation. Sulfuric acid
is occasionally used in “boil-outs” to remove scale from process equipment. Ammonia is added to
the boil-out solution to adjust the pH within the tank and then the solution flows over the granulation
pad to the Granulation Sump where it is returned to Granulation via the GPHTs.

Following commencement of operations of the GPHTs, wastes from the Existing Holding Tank and
the Granulation Sump units may be input to a GPHT for use in Granulation in accordance with
Section VI. Compliance Projects of the Facility Report.


Sump 101
The 101 Sump (see Diagram 2) collects stormwater and non-hazardous product spills from the
shipping area and transfers it to the Granulation Sump for use in Granulation. The contents of Sump
101 are pumped over a short distance over the road, running east-west, to the Granulation Sump.
Sump 101 is on the North side of the road, as is the granulation warehouse. The high point crest of
this road divides the North side from the "phos acid" or “wet” side (reactor/scrubbers/ phosphoric
acid storage tanks) on the South side. Stormwater from the North side of the road flows to Sump
101, while stormwater from the South side of the road flows into the Granulation Sump. Sump 101
is a below grade stainless steel-lined concrete sump. Sump 101 only receives non-hazardous
stormwater and non-hazardous floor wash wastewaters from around the granulation warehouse.


Existing Holding Tank Sump
The Existing Holding Tank Sump (see Diagram 2) is constructed of concrete with a stainless steel
liner and collects stormwater and pavement wash wastewaters, as well as spills and leaks within the
secondary containment for the Existing Holding Tank. The Existing Holding Tanks Sump’s contents
are transferred to the Existing Holding Tank for use in Granulation. The Existing Holding Tank
Sump will be modified to meet the design specifications of a Hazardous Waste Tank System as
detailed in Appendix 6 (RCRA Project Narrative and Compliance Schedule) of the CD and Section
VI. Project 8 of this Facility Report.




                                                   9
                                                                                     Mosaic Faustina
                                                                                      Facility Report

V. Current Configuration Equipment Designations
   A. Granulation Plant Units (GPUs)

The following sumps, tanks and acid transfer lines are identified as GPUs. They serve as storage,
management or transportation units for feedstock, which includes wastes, into Granulation.

GPUs must be managed in accordance with RCRA, as described in Paragraph 16(b) of the CD. See
Faustina Facility Projects 4, 5 and 6 of Appendix 6 (RCRA Project Narrative and Compliance
Schedule) of the CD. Wastes generated from cleaning these units: (i) may be sent directly to
Granulation, or sent to another GPU prior to use in Granulation; and (ii) any such volumes shall be
excluded from generator hazardous waste reporting to LDEQ under the RCRA Requirements,
without prejudice to EPA's residual authorities under applicable law. See Diagram 1.

        a.   Existing Holding Tank
        b.   GPHT 1
        c.   GPHT 2
        d.   Existing Holding Tank Sump
        e.   Granulation Sump
        f.   Transfer Lines between GPUs and between GPUs and Granulation

 Per Paragraph 14(b) of the CD, any wastes generated from the tanks or transfer lines above that are
 not transferred to and used in Granulation, either directly or via a GPU, are subject to hazardous
 waste determination. The foregoing sentence shall not relieve Mosaic of its obligations under any
 applicable law.



   B. Interim Granulation Plant Units

The following sumps, tanks and acid transfer lines are identified as IGPUs. They periodically serve
as storage, management, or transportation units for waste feedstock into Granulation until such time
as their use for waste management is replaced by the GPHTs.

While in waste management service, IGPUs must be managed in accordance with RCRA, as
described in Paragraph 16(b) of the CD. See Projects 4 and 5 of Appendix 6 (RCRA Project
Narrative and Compliance Schedule) to the CD. Wastes generated from cleaning these units may be
sent directly to Granulation, or sent to another GPU prior to use in in Granulation. See Diagram 1.
Pursuant to Project 4, the management requirements for the IGPUs depend on whether the specific
units continuously or periodically handle wastes from Downstream Operations.

Tanks
   a. Periodic IGPU:
          1. Granulation Acid South Tank
          2. Granulation Acid North Tank
          3. Granulation Acid West Tank
          4. Granulation Acid East Tank
   b. Continuous IGPU:
          1. North Holding Tank

                                                 10
                                                                                   Mosaic Faustina
                                                                                    Facility Report

           2. Stormwater Tank

Sumps (all Periodic IGPUs)
   a. East/West Phos Acid Storage Tank Sump
   b. North/South Phos Acid Storage Tank Sump

Transfer Lines
   a. Periodic IGPU:
          1. Transfer lines between the Phos Acid Storage Tanks.
          2. Transfer lines from the Phos Acid Storage Tanks to the Granulation plants
                   i. A-Line
                  ii. B-Line
                 iii. C-Line
                 iv. Spare Line
   b. Continuous IGPU
          1. Holding Tank Transfer Line
          2. Transfer Line to the North Holding Tank
          3. Transfer Line to the Stormwater Tank
          4. Transfer Line from the Stormwater Tank


   C. Granulation Sump Ditches

The Granulation Sump Ditches must be managed in accordance with Project 9 (Inspections,
Maintenance and Repair of Ditches Flowing into the Granulation Sump), as well as Appendix 6
(RCRA Project Narrative and Compliance Schedule) to the CD.
Wastes generated from cleaning the Granulation Sump Ditches that are not used in Granulation via
the GPUs are subject to hazardous waste determination requirements. The foregoing shall not relieve
Mosaic of its obligations under any applicable law.




                                                11
                                                                                                                           Mosaic Faustina
                                                                                                                            Facility Report

Diagram 1: Existing Inputs to EHT.

                                 Spilled granulated product                 Sump
                                        Storm water                          101



                                                                                                       Storm water
                                                                                                       tank (IGPU)

                               Dry Equipment Wash

       Granulation                                                        Granulation                 North Holding
                                  Scrubber wash                                                        Tank (IGPU)
          Plant                                                              Sump
                                  Reactor wash

                                  Spills & Leaks
                                                                                                        Existing
                                                                                                      Holding Tank             Clarified water
                                                   In plant line washes                                                       DAP Pond water


                                                   Process consumption

                                                                                                                   Sump



                                                                                Barge to Storage Tanks and Transfer line washes



                           Phos Acid Storage Tanks
                                 (Tank Farm)




VI. Compliance Projects
The timeframes for completion and specific requirement for the projects below are set forth in
Appendix 6 (RCRA Project Narrative and Compliance Schedule) to the CD.

Project 1: Secondary Containment in the Phosphoric Acid Tank Farm
This project will install secondary containment in the Phosphoric Acid Tank Farm (Figure 7). This
installation will prevent seepage of acid into the ground due to an accidental spill or leak. As
described in the Section IV.A of this Facility Report, leaks and spills within this area will be
recovered and collected in existing or new sumps and returned to the Phos Acid Storage Tanks in
accordance with RCRA. This project will be installed at the same time as Project 3 below.


Project 2: DAP Recycle Pond Closure
This project has two phases:

Phase 1: Sampling and characterization of the solids in the DAP Recycle pond
This is completed and the results indicate that the solids are non-hazardous and the LDEQ and EPA
are in concurrence.

Phase 2: Closure of the DAP Recycle Pond pursuant to a Government approved closure plan.

                                                                    12
                                                                                      Mosaic Faustina
                                                                                       Facility Report

Project 3: Granulation Plant Holding Tank Installation

Mosaic will install two new tanks and/or convert at least one existing tank. These tanks will be
referred to as Granulation Plant Holding Tanks (GPHTs) and will be identified as GPUs. . The
GPHTs will be used to capture cleaning wastes generated from the use of Faustina Cleaning
Solutions. Spills and leaks within the Granulation plants will be placed into the GPHTs for use in
Granulation. At times, stormwater run-off may be transferred to the GPHTs for use in Granulation.
The GPHTs also will receive the cleaning wastes from the Phos Acid Storage Tanks and the Barge
Transfer Line. Mosaic plans to install these GPHTs in the approximate locations depicted in Figure
7, but the ultimate location of these GPHTs may differ.

Contents of the GPHTs (GPU Effluent) will be fed to the EHT, the acid scrubber system or the
reactor within the Granulation plant for use in Granulation. Mosaic plans to use one of the two
GPHTs to handle stormwater when the tank is not in service as a back-up tank to one of the other
GPUs; this will allow the stormwater to be transferred to the LPDES permitted water treatment plant
or LDEQ permitted effluent pond system for handling.


Project 4: Interim Granulation Plant Units Tank and Transfer Line Operating
Requirements

Mosaic operates Interim Granulation Plant Units (IGPUs) that manage, store or transport wastes from
Downstream Operations (hereinafter called “Downstream Waste” or “Downstream Wastes”) for use
in Granulation. Mosaic intends to use these units to manage, store or transport Downstream Wastes
until such time as the Granulation Plant Holding Tanks are put in service to replace the IGPUs.

The requirements of this Project apply when the IGPUs identified in Project 4 of the Faustina
Compliance Schedule set forth in Appendix 6 (RCRA Project Narrative and Compliance Schedule)
to the CD is in Downstream Waste handling service.

Mosaic’s compliance obligations with respect to the IGPUs is set forth in Paragraph 16(b)(2)(iii) of
the CD.

Project 5: Interim Granulation Plant Units – Sump Operating Requirements

Mosaic operates Interim Granulation Plant Units (IGPUs) that manage, store or transport
Downstream wastes for use in Granulation. Mosaic intends to use these units to manage, store or
transport Downstream wastes until such time as the Granulation Plant Holding Tanks are put in
service to replace the IGPUs.

The East/West and North/South Phos Acid Storage Tank Sumps, which are IGPUs, will be in
periodic Downstream Waste handling service. The requirements of this Project apply when the
East/West and/or the North/South Phos Acid Storage Tank Sumps are in Downstream waste handling
service.

Mosaic’s compliance obligations with respect to these IGPUs is set forth in Paragraph 16(b)(2)(iii) of
the CD. The compliance schedule for these IGPUs is in Project 5 of the Faustina Compliance
Schedule set forth in Appendix 6 (RCRA Project Narrative and Compliance Schedule) to the CD.


                                                 13
                                                                                       Mosaic Faustina
                                                                                        Facility Report

Project 6: RCRA Requirements for GPUs

Mosaic’s compliance obligations with respect to the GPUs, are set forth in Paragraph 16(b)(2)(ii) of
the CD. The tasks and schedules listed in the compliance schedule for the GPUs are set forth in
Appendix 6 (RCRA Project Narrative and Compliance Schedule) to the CD.

Project 7: Requirements for the Granulation Sump
    Phase 1: Granulation Sump Inspections and Repair
Until Phase 2 of this Project 5 is completed, the conditions for continuing operation of the
Granulation Sump are daily inspections; annual inspections; and as-needed repairs documented with
work orders to ensure the Granulation Sump is free of cracks, gaps, or deterioration of the acid brick
lining or concrete sump itself, as follows:
    x Daily inspection during normal operations;
    x Once-per-calendar year inspections and integrity assessments (to be performed when the
        Granulation Sump is able to be emptied); and
    x Repair of any cracks, gaps, or deterioration of the acid brick lining or concrete sump within
        72 hours of discovering the crack, gap or deterioration, as noted in daily or once-per-
        calendar-year inspections.

    Phase 2: Granulation Sump Modifications -
Mosaic’s compliance obligations with respect to the Granulation Sump are set forth in Paragraph
16(b)(2)(ii) of the Consent Decree. The compliance schedule for the Granulation Sump is in Project 7
of the Faustina Compliance Schedule set forth in Appendix 6 (RCRA Project Narrative and
Compliance Schedule) to the CD.


Project 8: Requirements for the Existing Holding Tank Sump

   Phase 1: Existing Holding Tank Sump Inspections and Repair

Until Phase 2 of this Project 6 is completed, the conditions for continuing operation of the Existing
Holding Tank Sump are daily inspections; annual inspections; and as-needed repairs documented
with work orders to ensure the Existing Holding Tank Sump is free of cracks, gaps, or deterioration
of the concrete sump itself, as follows:
    x Daily inspection during normal operations;
    x Once-per-calendar year inspections and integrity assessments (to be performed when the
        Existing Holding Tank Sump is able to be emptied); and
    x Repair of any cracks, gaps, or deterioration of the concrete sump within 72 hours of
        discovering the crack, gap or deterioration, as noted in daily or once-per-calendar-year
        inspections.


   Phase 2: Existing Holding Tank Sump Modifications

Mosaic’s compliance obligations with respect to the Existing Holding Tank Sump are set forth in
Paragraph 16(b)(2)(ii) of the CD. The compliance schedule for the Existing Holding Tank Sump is in

                                                  14
                                                                                        Mosaic Faustina
                                                                                         Facility Report

Project 8 of the Faustina Compliance Schedule set forth in Appendix 6 (RCRA Project Narrative and
Compliance Schedule) to the CD.

Project 9: Inspections, Maintenance and Repair of the Granulation Sump Ditches

The conditions for continuing operation of the Granulation Sump Ditches are structural requirements;
daily inspections; annual inspections; and as-needed repairs, documented with photographs and work
orders to ensure the Granulation Sump Ditches are constructed of concrete that is free of cracks,
gaps, or deterioration of the acid-resistant coating or concrete, as follows:
    x A one-time demonstration that the ditches are self-supporting, not dependent on the support
        of the surrounding soils in order to maintain their structural integrity;
    x Daily inspection during normal operations;
    x Once-per-calendar-year inspections (to be performed when the ditches are able to be
        emptied);
    x Repair of any cracks, gaps, or deterioration of the concrete within 72 hours of discovering the
        crack, gap or deterioration, as noted in daily or once-per-calendar-year inspections; and
    x Repair of any cracks, gaps, or deterioration of the acid-resistant coating, as noted in daily or
        once-per-calendar-year inspections, within ninety (90) days of discovery.

Mosaic’s compliance obligations with respect to the Granulation Sump Ditches are set forth in
Paragraph 16(b)(2)(i) of the Consent Decree. The compliance schedule for the Granulation Sump
Ditches is in Project 9 of the Faustina Compliance Schedule set forth in Appendix 6 (RCRA Project
Narrative and Compliance Schedule) to the CD.


VII. Containment of Phosphoric Acid Spills and Leaks
Containable Impervious Areas
Containable impervious2 areas listed below are found in Figure 6.
   1) Phosphoric Acid Tank Farm Area Sumps
       The Phosphoric Acid Tank Farm is designed to recover spills and leaks via two sumps (as
       described in Section IV. A). The areas between the sumps and the tanks are concreted in
       order to collect spills and leaks. Any material captured in the sumps is pumped back into one
       of the Phosphoric Acid Storage Tanks in the Phosphoric Acid Tank Farm. The configuration
       of the existing system is shown in Diagram 2. Project 1 will install additional secondary
       containment in this area. See Figure 7.
   2) A-Train Granulation plant
   3) B-Train Granulation plant
   4) C-Train Granulation plant
   5) All GPUs (See Figure 7)



2
 Note, the use of the term “impervious” in this Section does not refer to a particular definition of
impervious or a particular leakage rate, but instead is used to mean a surface barrier to penetration,
such as concrete, liners, steel, epoxy, etc. The term impervious in this Section does not include
gravel or soil.
                                                   15
                                                                                     Mosaic Faustina
                                                                                      Facility Report

Diagram 2: Existing Containment for the Phosphoric Acid Tank Farm, Granulation Plants and
GPHT.




 As required by Paragraph 16 of the CD, spills and leaks of phosphoric acid and sulfuric acid onto
 containable impervious areas, designated by Figure 6, shall be recovered and transferred for use in
 Granulation, either directly or via the GPUs, or managed in accordance with applicable law.


Outside Impervious Areas
Spills and leaks of phosphoric acid and sulfuric acid, outside an impervious area, shall be managed
and reported in accordance with all applicable law.


VIII. Process Wastewater Inventory Management Plan
Faustina uses lime to treat acidic wastewater leached from the Phosphogypsum Stack collected in the
cooling pond prior to discharging it through the NPDES Outfall 001. Lime treatment is part of the
Process Wastewater System management and closure plan (see Permit Nos. LA0029769, AI
2425/GD-093-0791/P-0063/CPL20050001). Lime treatment is a neutralization process that
results in the formation of a fine whitish-gray sludge primarily consisting of calcium
fluoride, calcium phosphate and unreacted lime solids.

Following the installation of the two new GPHTs, Mosaic plans to operate with one of the
GPHTs being used for stormwater when the tank is not in service as a back-up tank to the other
GPU; this will allow the stormwater to be used in Granulation or transferred to the LPDES
permitted water treatment plant or LDEQ permitted effluent pond system. The foregoing shall
not relieve Mosaic of its obligations under any applicable law.




                                                 16
                                                                                        Mosaic Faustina
                                                                                         Facility Report

IX. Authorized Future Installations

The following projects when installed within containable impervious areas will not require prior
approval by LDEQ or EPA provided that (i) Mosaic provides EPA and LDEQ with written notice at
least 90 Days in advance of the reconfiguration or installation of said project. However, if as a result
of circumstances that require Mosaic to install or reconfigure such equipment in less than 90 Days
from the time a decision is made to undertake such action, Mosaic shall provide written notice to
LDEQ and EPA as soon as possible and in all events prior to the installation or reconfiguration of
such equipment; (ii) Mosaic obtains and/or modifies any permit(s) required by applicable law; and
(iii) Mosaic submits to LDEQ and EPA for approval a modified version of this Facility Report with
the changes identified at least 60 Days in advance of the reconfiguration or installation of said
project.

    1) New phosphoric acid storage tanks may be added to the Phosphoric Acid Tank Farm area;
       the phosphoric acid stored in the new tank(s) will be used as a feedstock for MAP/DAP/MES
       production.

    2) APCDs (scrubbers) may be newly installed, replaced, or modified if they are servicing units
        identified in this Facility Report. APCDs may not be reconfigured to service any chemical
        processes other than those identified in this Facility Report absent EPA or LDEQ approval.




                                                   17
                                                                                                                              Mosaic Faustina
                                                                                                                               Facility Report

Attachment A
Figures and Tables
Figure 1: Faustina Plant A-Train and B-Train Granulation Process Flow Diagram........................... 19
Figure 2: Faustina Plant C-Train Granulation Process Flow Diagram ............................................... 20
Figure 3: Phosphoric Acid Transfer from Barge Unloading to the Phosphoric Acid Tank Farm ...... 21
Table 2: Phosphoric Acid transfer lines from Barge Unloading to the Phosphoric Acid Tank Farm,
Corresponds to Figure 3 ....................................................................................................................... 21
Figure 4: Phosphoric Acid Transfer from the Phosphoric Acid Tank Farm (IGPUs) to the
Granulation Plants ................................................................................................................................ 22
Table 3: Phosphoric Acid Transfer from the Phosphoric Acid Tank Farm (IGPUs) to the Granulation
Plants, Corresponds to Figure 4 ........................................................................................................... 22
Figure 5: Phosphoric Acid Transfer from Truck Unloading to the Phosphoric Acid Tank Farm,
Corresponds to Table 4 ........................................................................................................................ 23
Table 4: Phosphoric Acid Transfer between Truck Unloading and Phosphoric Acid Tank Farm,
Corresponds to Figure 5 ....................................................................................................................... 23
Figure 6: Current Containable Impervious Areas. .............................................................................. 24
Figure 7: Future Containable Impervious Areas and Potential Location of the Proposed GPHTs .... 25




                                                                         18
                                                                                Mosaic Faustina
                                                                                 Facility Report


Figure 1: Faustina Plant A-Train and B-Train Granulation Process Flow Diagram




                                                                     19
                                                                         Mosaic Faustina
                                                                          Facility Report

Figure 2: Faustina Plant C-Train Granulation Process Flow Diagram




                                                                    20
                                                                                                      Mosaic Faustina
                                                                                                       Facility Report



Figure 3: Phosphoric Acid Transfer from Barge Unloading to the Phosphoric Acid Tank Farm




Table 2: Phosphoric Acid transfer lines from Barge Unloading to the Phosphoric Acid Tank Farm,
Corresponds to Figure 3
                                                                                               Cleaning       Length
                                   Service     Name              Description
    Barge Unloading to Tank Farm




                                                                                               Frequency      (ft)3
                                   54%         Barge
                                                                 Transfers Acid from Barge
                                   Acid/       Unloading                                       as needed      2670
                                                                 to Tank Farm
                                   30% Acid    Line

                                                                 Estimate Length- Plan View (ft)              2670

                                                                 Estimated Vertical Runs- Basis 20% Factor
                                   Estimate for Existing Lines                                                530
                                                                 (Ft)
                                                                 Total Estimated Piping Length (ft)           3200



3
 The lengths listed in this chart are estimates based on interpreting Google Earth images.
The actual lengths may differ.


                                                                       21
                                                                                                                           Mosaic Faustina
                                                                                                                            Facility Report



Figure 4: Phosphoric Acid Transfer from the Phosphoric Acid Tank Farm (IGPUs) to the
Granulation Plants




Table 3: Phosphoric Acid Transfer from the Phosphoric Acid Tank Farm (IGPUs) to the
Granulation Plants, Corresponds to Figure 4
    Acid Transfer Between the Phosphoric Acid Tank




                                                                                                                     Cleaning      Length
                                                     Service      Name             Description
                                                                                                                     Frequency     (ft)4
                                                                                   Transfers from Tank Farm to
                                                     54% Acid     A-Line                                             as needed     490
                                                                                   A-Train
                                                                                   Transfers from Tank Farm to
                                                     54% Acid     B-Line                                             as needed     450
                                                                                   B-Train
    Farm and the Granulation Plants




                                                                                   Transfers from Tank Farm to
                                                     54% Acid     C-Line                                             as needed     700
                                                                                   C-Train
                                                                                   Transfers from Tank Farm to
                                                     30% Acid     Spare Line                                         as needed     700
                                                                                   A-Train, B-Train or C-Train

                                                                                   Estimate Length- Plan View (ft)                 2340

                                                     Estimate for Existing Lines   Estimated Vertical Runs- ( 20% Factor) (Ft)     470

                                                                                   Total Estimated Piping Length (ft)              2810



4
 The lengths listed in this chart are estimates based on interpreting Google Earth images.
The actual lengths may differ.


                                                                                         22
                                                                                                 Mosaic Faustina
                                                                                                  Facility Report



Figure 5: Phosphoric Acid Transfer from Truck Unloading to the Phosphoric Acid Tank Farm,
Corresponds to Table 4




Table 4: Phosphoric Acid Transfer between Truck Unloading and Phosphoric Acid Tank Farm,
Corresponds to Figure 5
                                                                                           Cleaning      Length
                              Service     Name              Description
                                                                                           Frequency     (ft)5
                                          Truck             Transfers 54% acid from
    54% Transfer from Truck
    Unloading to Tank Farm




                              54%         Unloading         Truck to West Tank or East     As needed.    30
                                          Line              Tank (using hoses)

                                                            Estimate Length- Plan View (ft)              30

                              Estimate for Existing Lines   Estimated Vertical Runs (Ft)                 30

                                                            Total Estimated Piping Length (ft)           60




5
 The lengths listed in this chart are estimates based on interpreting Google Earth images.
The actual lengths may differ.


                                                                  23
                                                  Mosaic Faustina
                                                   Facility Report



Figure 6: Current Containable Impervious Areas.




                                             24
                                                                              Mosaic Faustina
                                                                               Facility Report



Figure 7: Future Containable Impervious Areas and Potential Location of the Proposed GPHTs




                                             25
                                                                                                     September 8, 2015


                                                      APPENDIX 4
                                                   FACILITY REPORT
                                                  LOUISIANA COMPLEX
                                                 UNCLE SAM, LOUISIANA
                                                 EXECUTIVE SUMMARY


These summary tables provide an overview of the Upstream Operations, Downstream Operations,
Mixed-Use Units, Grandfathered Units, and Recovery Units at Mosaic Fertilizer, LLC’s Uncle Sam
Facility. For Upstream Operations, the table only includes tanks that store phosphoric acid prior to the
generation of the First Saleable Product. Piping associated with those tanks is considered part of
Upstream Operations unless designated otherwise in the Facility Report. Nothing in these summary
tables overrides subsequent details provided in diagrams and text.


Table 1. Unit Designations
                                            Units in Upstream Operations
                                                           Phosphoric
                                           Tank No.
              Tank Name                                   Acid Service                     Alternate Name(s)
                                         from Figure 6
                                                              (%)
     Phosphoric Acid Reactor
                                               027                    30             North Attack Tank1, TNK027
             North
     Phosphoric Acid Reactor
                                               028                    30              South Attack Tank, TNK028
             South
                                                                                  TNK036, North Filtrate Seal Tank,
        North Filtrate Tank                    036                    30
                                                                                  #1 Filtrate, #2 Filtrate, #3 Filtrate
                                                                                  TNK050, South Filtrate Seal Tank,
        South Filtrate Tank                    050                    30
                                                                                  #1 Filtrate, #2 Filtrate, #3 Filtrate
    North Gypsum Slurry Tank                   041           Gypsum slurry                 North Gyp Tank
    South Gypsum Slurry Tank                   056           Gypsum slurry                 South Gyp Tank
     North 30% Clarifier Feed
                                               149                    30               North 30% Tank, TNK149
          Storage Tank
     South 30% Clarifier Feed
                                               150                    30               South 30% Tank, TNK150
          Storage Tank
                                                                                      40% Clarifier, 40 Clarifier,
            Storage Tank C                     125                    40
                                                                                             TNK125
         Storage Tank D                        126              30 or 54             TNK126, D Tank, D Clarifier
          Storage Tank E                       127                 30                     TNK127, E Tank
   North Cross Flow Scrubber                                      N/A                          APCD
   South Cross Flow Scrubber                                      N/A                          APCD
     First Stage Evaporators
                                                                 30 - 40
          (#1, #2, #7, #8)
      2nd Stage Evaporators
                                                                 40 - 47
              (#4, #5)
   North Swift Tower Seal Tank                 065             Pond water

       1
           Names that are used in Block Flow Diagram, Figure 3 are shown in italic font.

                                                                  1
                                                                                   Mosaic Uncle Sam
                                                                                     Facility Report



                                           Mixed Use Units
                                   Tank No.     Phosphoric Acid
         Tank Name                                                       Alternate Name(s)
                                 from Figure 6    Service (%)
 Final stage evaporator (#6)
                                                        54
     (#3 is a swing unit)
  30% Phos Acid Clarifier            179                30           30% Clarifier, TNK179
                                                                  TNK128, F Tank, Evaporator Feed
       Storage Tank F                128                30
                                                                              Tank
                                                   Process
        Scrubber #1                  001                                       APCD
                                                  wastewater
                                                   Process
        Scrubber #2                  002                                       APCD
                                                  wastewater


                                     BHT Recovery Units (Tanks)
                                   Tank No.    Phosphoric Acid
         Tank Name                                                       Alternate Name(s)
                                 from Figure 6   Service (%)
                                                                  FSA Product Tank A, TNK106, A
   FSA Storage A Reactor             106         FSA, Product
                                                                              Reactor
  “B” Blending and Barge                                          “B” Blend/Barge Loading Tank, B
                                     155           30 or 54
      Loading Tank                                                 Barge Loading Tank, TNK155
                                                                   G Tank, High Solids Acid (HSA)
       Storage Tank G                121             HSA
                                                                               Tank
                                                   Process
      G Tank Scrubber                003                                       APCD
                                                  wastewater
                                                   Cleaning            FSACS make-up tank
        Boilout Tank                 151
                                                   solution
                                                                    50% Clarifier, A 50 Clarifier,
       Storage Tank A                123                54
                                                                         TNK123, A Tank
                                                                   50% Clarifier, B 50 Clarifier or
       Storage Tank B                124                54
                                                                        TNK124 or B Tank
                                                   Cleaning
    BHT (to be modified)             126                                 Big Holding Tank
                                                   solution
    Back Up BHT (to be                             Cleaning
                                     124
         modified)                                 solution
                                                   Process
      A Scrubber (FSA)               004                                       APCD
                                                  wastewater
                                                   Process
      B Scrubber(FSA)                005                                       APCD
                                                  wastewater
Any barges used to transport a
                                                Phosphoric acid
phosphoric acid First Saleable
                                                 First Saleable
 Product from Mosaic Uncle
                                                    Product
            Sam



                                                    2
                                                                                   Mosaic Uncle Sam
                                                                                     Facility Report



                                BHT Recovery Units (Transfer Lines)
                  Figure       Service/                                         To
 Line Name                                      From
                    No       Description
                 Figure 5   Transfers 30%
Barge Transfer                                B Barge
                            or 54% acid or                          Barge for transport offsite
    Line                                    Loading Tank
                                 HSA
 East or West               Transfers 54%  A or B Storage
                                                                     B Barge Loading Tank
 transfer line                   acid          Tanks

 South FSA                                   FSA South Seal            FSA Storage A Reactor,
                            Transfers FSA
   Line          Figure 4                        Tank



                                        Grandfathered Units
                                 Tank No.
         Tank Name                                 Service                Alternate Name(s)
                                from Figure
     FSA Swift Towers                               FSA                      Swift Towers
    FSA South Seal Tank             066             FSA               South Silly Acid Seal Tank




                                                    3
                                                                                                                             Mosaic Uncle Sam
                                                                                                                               Facility Report

                                                          APPENDIX 4
                                                       FACILITY REPORT
                                                    MOSAIC FERTILIZER, LLC
                                                     LOUISIANA COMPLEX
                                                    UNCLE SAM, LOUISIANA
                                                     EPA ID: LAD 059 545 756

Table of Contents
I. Introduction ........................................................................................................................................ 5
II. Background ....................................................................................................................................... 8
III. First Saleable Products ..................................................................................................................... 8
IV. Phosphoric Acid and FSA Production – Phosphoric Acid Plant ..................................................... 9
   A. Standard Acid Flow Configuration ............................................................................................... 9
   B. Alternative to Standard Acid Flow Configuration ...................................................................... 11
   C. Acid Transfers to Downstream Operations................................................................................. 11
   D. Fluorosilicic Acid (FSA) Standard Process Configuration ........................................................ 11
V. Configuration Equipment Designations .......................................................................................... 13
   A. Phosphoric Acid Plant and FSA ................................................................................................. 13
       1. Upstream Operations .............................................................................................................. 13
       2. Mixed-Use Units ...................................................................................................................... 14
       3. BHT Recovery Units ................................................................................................................ 14
       4. Grandfathered Units ................................................................................................................ 16
   B. Granulation Plants ....................................................................................................................... 16
VI. Compliance Projects ...................................................................................................................... 16
   A. BHT and Cleaning Solution Return Piping ................................................................................. 16
       1. Project Descriptions ................................................................................................................. 16
       2. Project Operations ................................................................................................................... 17
   B. Scrubber System Upgrades ......................................................................................................... 19
VII. Containment of Phosphoric Acid, Sulfuric Acid and FSA Product Spills and Leaks within the
Phosphoric Acid Plant.......................................................................................................................... 19
   Non-Segreable Areas ....................................................................................................................... 19
   Containable Impervious Areas ........................................................................................................ 20
   Other Areas ..................................................................................................................................... 20
VIII. Proposed Phosphoric Acid Production Operations ..................................................................... 20
IX. Non-Phosphoric Acid Production Proposed Projects .................................................................... 22
X. Authorized Future Installations ....................................................................................................... 23
Appendix: Figures and Tables ............................................................................................................. 25


                                                                            4
                                                                                                Mosaic Uncle Sam
                                                                                                  Facility Report



I. Introduction
All capitalized terms not otherwise defined in this Facility Report shall have the meaning set
forth in the Consent Decree.

A. Purpose
The purposes of this Facility Report are to:
         1. Identify Mosaic Fertilizer, LLC’s (Mosaic) Upstream Operations (Upstream) and
            Downstream Operations (Downstream) at its Uncle Sam Facility (Mosaic Uncle
            Sam), its Mixed-Use air pollution control devices (APCDs), and Mixed-Use tanks,
            pipes, and other ancillary equipment involved in the production of phosphoric acid.
         2. Identify certain units associated with Downstream Operations from which the
            cleaning wastes may be managed with wastes from Upstream Operations due to the
            particular configuration of the Facility (Grandfathered Units).
         3. Identify compliance projects set forth in Section VI. Compliance Projects of this
            Report, including the Big Holding Tank (BHT).
         4. Identify certain Downstream Units associated with Mosaic’s BHT project (BHT
            Recovery Units). Waste streams from these units will be recovered into Upstream
            Operations as designated in this Report or to the BHT in accordance with Section VI.
            Compliance Projects, of this Report.
         5. Within the Phosphoric Acid Plant Only, address phosphoric acid, sulfuric acid, and
            FSA product spills and leaks in accordance with Section VII. Containment of
            Phosphoric Acid, Sulfuric Acid and FSA Product Spills and Leaks, of this Report.
         6. Identify categories of future equipment installations, some wastes from which may be
            co-managed with Bevill-Exempt wastes when meeting the conditions set forth in
            Sections VIII. Proposed Phosphoric Acid Production Operations, Section IX. Non-
            Phosphoric Acid Production Proposed Projects and Section X. Authorized Future
            Installations, of this Report.

Hazardous wastes generated from the production of sulfuric acid, wastes related to the transport
of sulfuric acid to the phosphoric acid plant, and wastes generated from the cleaning of sulfuric
acid transportation-related equipment are not within the scope of this Report.

B. Overview2
A major purpose of the Facility Report is to specify how Mosaic shall handle wastes from
designated units at the Uncle Sam Facility. For the units designated as part of Upstream or
Downstream Operations or identified as Mixed-Use, Grandfathered or Big Holding Tank (BHT)
Recovery Units, wastes shall be handled as described below. The potential influents to the
designated units are: BHT Effluent, Fluorosilicic Acid (FSA), Fluorosilicic Acid Cleaning
Solution (FSACS), Non-Hazardous Aqueous Cleaning Solution (NHACS), Process Wastewater,
Phosphogypsum Stack System Wastewater, Phosphoric Acid Cleaning Solution (PACS),
2
 This Overview Section summary is provided solely for informative purposes and does not replace, modify, or
supersede the provisions specified in the Consent Decree or the substantive terms in the succeeding sections of this
Facility Report.

                                                          5
                                                                               Mosaic Uncle Sam
                                                                                 Facility Report

Sulfuric Acid Cleaning Solution (SACS), and spills and leaks of phosphoric acid, sulfuric acid,
and FSA in Containable Impervious Areas.

   A. Wastes generated from Upstream/Mixed-Use/Grandfathered Operations.

       1. Cleaning Solutions Wastes.
             a. If NHACS, Phosphogypsum Stack System Wastewater, and/or Process
                 Wastewater have been used to clean these units, the wastes from these units
                 may be input to Upstream Operations or discharged to the Phosphogypsum
                 Stack System.

              b. Prior to commencement of the BHT, if FSACS, SACS, or PACS are used to
                 clean these units, the wastes from these units may continue to be managed
                 consistent with Mosaic’s consolidated waste management practices submittal
                 dated September 8, 2015. Following commencement of operations of the BHT,
                 if FSACS, SACS, PACS or BHT Effluent are used to clean these units, the
                 wastes from these units may be input to the BHT for use in Upstream
                 Operations in accordance with Section VI. Compliance Projects of this
                 Report, except in the case of a BHT process upset (see below).

              c. Following commencement of operations of the BHT, if Mosaic does not
                 utilize the BHT to recover cleaning wastes identified in (b) above, or if any
                 cleaning solutions other than those listed in (a) & (b) above are used to clean
                 these units, Mosaic shall make a RCRA hazardous waste determination and
                 manage the wastes in accordance with RCRA.

       2. Scrubber Wastes. Wastes from normal operations (i.e., scrubber effluent) may be
          input to Upstream Operations or discharged to the Phosphogypsum Stack System or
          handled in accordance with the LPDES permit. Scrubber cleaning wastes must be
          managed as described in 1. above or handled in accordance with the LPDES permit.

       3. Spills and Leaks. These are handled in accordance with the Best Management
          Practices (BMP) Plan and Section VII. Containment of Phosphoric Acid, Sulfuric
          Acid and FSA Product Spills and Leaks. Spills and leaks of phosphoric acid, sulfuric
          acid, FSA, SACS, PACS, FSACS or BHT Effluent in Containable Impervious Areas
          may be returned to a tank with similar material or input to the BHT for use in
          Upstream Operations in accordance with Section VI. Compliance Projects of this
          Report. Spills and leaks of Process Wastewater, Phosphogypsum Stack System
          Wastewater or NHACS in Containable Impervious Areas may also be returned to the
          BHT, when these spills and leaks are mixed with phosphoric acid, sulfuric acid, FSA,
          SACS, PACS, FSACS or BHT Effluent.

   B. Wastes generated from BHT and BHT Recovery Units.
        1. BHT Recovery Units. Prior to commencement of the BHT, if SACS, PACS,
            FSACS, NHACS, Process Wastewater, or Phosphogypsum Stack System
            Wastewater are used to clean BHT Recovery Units, the wastes from these units

                                                6
                                                                        Mosaic Uncle Sam
                                                                          Facility Report

          may continue to be managed consistent with Mosaic’s consolidated waste
          management practices submittal dated September 8, 2015. Following
          commencement of operations of the BHT, if SACS, PACS, FSACS, NHACS,
          Process Wastewater, Phosphogypsum Stack System Wastewater, or BHT Effluent
          are used to clean BHT Recovery Units, the wastes from these units may be input
          to the BHT for use in Upstream Operations in accordance with Section VI.
          Compliance Projects of this Report or managed in accordance with Section 2
          Phosphoric Acid Plants Cleaning Procedures (Phosphoric Acid Tank and
          Equipment Cleaning – BHT Recovery Units) of the BMP.

      2. BHT. Influents to the BHT are limited to the following: (i) wastes generated from
         the use of SACS, PACS, FSA, FSACS, NHACS, Phosphogypsum Stack System
         Wastewater, Process Wastewater, and BHT Effluent; (ii) spills and leaks of
         phosphoric acid, sulfuric acid, and FSA in Containable Impervious Areas; (iii)
         sulfuric acid for SACS make-up; and (iv) spills and leaks per A.3 above. BHT
         operation is described in Section VI. Compliance Projects, A.2. Project
         Operations of this Report. BHT Effluent may be input to Upstream Operations or
         used for cleaning of the BHT Recovery Units and returned to the BHT. The BHT
         itself is designated a BHT Recovery Unit, and therefore for wastes generated from
         cleaning the BHT itself, see B.1 above.

      3. Process Upset. In the event of a process upset that prevents the recovery of
         cleaning solutions via the BHT, then Mosaic (1) shall not discharge to the
         Phosphogypsum Stack System any SACS, PACS, BHT Effluent, FSA, or FSACS
         used in cleaning those units affected by the process upset; and (2) shall make a
         RCRA hazardous waste determination of any cleaning wastes generated from
         BHT Recovery Units and manage such wastes in accordance with RCRA.


C. Wastes generated from Downstream Operations only.

   Prior to commencement of the BHT, the wastes from these units may continue to be
   managed consistent with Mosaic’s consolidated waste management practices submittal
   dated September 8, 2015. Following the commencement of the operation of the BHT, if
   the Downstream wastes are not sent to the BHT for recovery and reuse, Mosaic shall
   make a hazardous waste determination of such wastes and manage them in accordance
   with RCRA. With the exception of A Scrubber (004), B Scrubber (005) and G Tank
   Scrubber, following the commencement of the operation of the BHT, downstream
   scrubber effluent shall not be discharged to the Phosphogypsum Stack System. A
   Scrubber (004), B Scrubber (005), and G Tank Scrubber will continue to discharge
   effluent back into the Phosphogypsum Stack System after the commencement of the
   operation of the BHT and until Uncle Sam Compliance Project 4 (Scrubber System
   Upgrades) as described in Section VI (Compliance Projects) is completed, at which time
   A Scrubber (004), B Scrubber (005), and G Tank Scrubber will be replaced by a
   combined scrubber designated as a Mixed-Use unit that will continue to recirculate
   Phosphogypsum Stack System Wastewater as a scrubbing media.

                                          7
                                                                                            Mosaic Uncle Sam
                                                                                              Facility Report

II. Background3
Mosaic’s Uncle Sam Facility primarily produces unclarified 54%4 phosphoric acid (P2O55)
referred to as 54% Run of Plant (ROP), clarified 54% phosphoric acid referred to as 54%
clarified ROP, High Solids Acid (HSA) and Fluorosilicic Acid (FSA). The 54% ROP, 54%
clarified ROP, HSA, a clarified intermediate grade of acid (30% P2O5), and blends thereof are
transported via barge across the Mississippi River to Mosaic’s Faustina facility where they are
used to produce the granulated ammoniated phosphate fertilizers: monoammonium phosphate
(MAP), diammonium phosphate (DAP) and MicroEssentials (MES).

Mosaic Uncle Sam produces phosphoric acid by the digestion of phosphate rock imported from
Florida and other places with sulfuric acid. Mosaic Uncle Sam manufactures phosphoric acid in
a single Phosphoric Acid Plant (PAP) with two distinct reactors. The reaction yields 30% P2O5
and Phosphogypsum (gypsum). Gypsum is filtered from the phosphoric acid on rotating pan
filters, slurried with process wastewater in Gypsum Slurry Tanks, and then the resultant slurry is
pumped to a Phosphogypsum Stack (gypstack). Because the production of phosphoric acid is a
water-intensive process and water is used throughout the process (e.g., in the ball mills, and as a
pipe and tank cleaning agent), approximately 1.5 billion gallons of Process Wastewater is
constantly stored in and circulating throughout the facility’s Phosphogypsum Stack System.

Mosaic Uncle Sam deposits slurried gypsum in a Phosphogypsum Stack located east of the
facility.

Mosaic Uncle Sam’s Phosphogypsum Stack System includes a pond system that consists of four
cooling ponds located directly east of the production complex and the ponds’ connecting ditches.
Mosaic operates the Phosphogypsum Stack System under a Gypsum Management Area Solid
Waste Permit issued by the Louisiana Department of Environmental Quality (LDEQ).


III. First Saleable Products
The line marking the division between Upstream and Downstream Operations lies at the point of
generation of the First Saleable Product. Mosaic Uncle Sam has the capability to generate four
first Saleable Products that are transported via barge to Mosaic’s Faustina facility to be used as
direct feed stocks to MAP, DAP and MicroEssentials® production:
         x 30% clarified acid;
         x 54% unclarified ROP (greater than 1% solids);
         x 54% clarified ROP;
         x HSA (High solids acid);

3
  This Background Section is provided solely for informative purposes and is not a definitive or exhaustive
description of the Facility or its operations.
4
  All phosphoric acid concentrations are approximate and fluctuate slightly
5
  Note that although the terms P2O5 and phosphoric acid (H3PO4) are used interchangeably, the concentrations are
not interchangeable. Mosaic manufactures phosphoric acid, however, in this document we refer to the concentration
of the acid in terms of P2O5 concentration, rather than phosphoric acid concentration. P 2O5 concentration can
converted to an approximate concentration of phosphoric acid by multiplying by 1.3808. Phosphoric acid is
converted to an approximate concentration of P2O5 by multiplying by 0.7242.

                                                        8
                                                                                                 Mosaic Uncle Sam
                                                                                                   Facility Report

Downstream Operations at Mosaic Uncle Sam are associated with the storage and transport or
use of these saleable commodities. In conjunction with the production of 30% acid and the
production of 50% clarified acid, Mosaic Uncle Sam recovers fluoride vapors to produce FSA as
a First Saleable Product.6


IV. Phosphoric Acid and FSA Production – Phosphoric Acid Plant
Figure 6 identifies Upstream Operations, Downstream Operations, Mixed-Use Units and
Grandfathered Units for the Phosphoric Acid Plant. This figure does not identify all BHT
Recovery Units-Downstream.

A. Standard Acid Flow Configuration
The Phosphoric Acid Plant produces three concentrations of phosphoric acid for use in fertilizer
manufacturing: 30% P2O5, 40% P2O5 and 54% P2O57,8. The 30% acid that is not used directly as
feedstock to fertilizer manufacturing is further processed into 54% P2O5 in Upstream Operations.
The typical phosphoric acid manufacturing process described below is illustrated in process
block flow Diagram (Figure 3). Deviations from the standard acid flow configuration are
necessary on periodic short-term intervals.

Mosaic Uncle Sam produces phosphoric acid in two reactors within the Phosphoric Acid Plant
designated as Phosphoric Acid Reactor North A&F (Attack & Filter) (TNK027) and Phosphoric
Acid Reactor South A&F (TNK028). The acid from both reactors mixes at the North 30%
Clarifier Feed Storage Tank (“North 30% Tank” - TNK149) and the South 30% Clarifier Feed
Storage Tank (“South 30% Tank” - TNK150). Prior to mixing at the North 30% Tank
(TNK149) and South 30% Tank (TNK150), the acid flows as follows:

Phosphoric Acid Reactor North A&F (Upstream):
 Post-reactor, unclarified 30% acid is gravity fed to the North Filtrate Tank (TNK036) via the
 North Filter and then pumped to either the North 30% Tank (TNK149) or the South 30% Tank
 (TNK150).
Phosphoric Acid Reactor South A&F (Upstream):
 Post-reactor, unclarified 30% acid is gravity fed to the South Filtrate Tank (TNK050) via the
 South Filter and then pumped to either to the North 30% Tank (TNK149) or the South 30%
 Tank (TNK150).




6
    As of the date of this Facility Report, Uncle Sam only produces FSA for use as a cleaning solution.

7
  Note that although the terms P2O5 and phosphoric acid (H3PO4) are used interchangeably, the concentrations are
not interchangeable. Mosaic manufactures phosphoric acid, however, in this document we refer to the concentration
of the acid in terms of P2O5 concentration, rather than phosphoric acid concentration. P2O5 concentration can be
converted to an approximate concentration of phosphoric acid by multiplying by 1.3808. Phosphoric acid is
converted to an approximate concentration of P2O5 by multiplying by 0.7242.
8
  All phosphoric acid concentrations are approximate and fluctuate slightly.

                                                            9
                                                                           Mosaic Uncle Sam
                                                                             Facility Report

1) 30% Acid processed to 30% Clarification (Upstream) or transported to Faustina to
   manufacture DAP/MAP (Downstream)
     x 30% acid from the North 30% Tank (TNK149) and the South 30% Tank (TNK150) is
        pumped via a single line to the 30% Phos Acid Clarifier (TNK179) (Mixed Use);
          o Underflow (solids) from the 30% Clarifier (TNK179) is pumped to either the
              Phosphoric Acid Reactor North A&F or Phosphoric Acid Reactor South A&F for
              acid recovery (Upstream);
          o Overflow (30% clarified acid) from the 30% Phos Acid Clarifier (TNK179) is
              pumped to:
              1. Storage Tanks D (TNK126) and E (TNK127) (Upstream), and/or F (TNK128)
                  (Mixed Use); and/or
              2. Directly to the “B” Blend/Barge Loading Tank (TNK155) (BHT Recovery
                  Units);

2) 30% Acid Processed to 40% Clarification (Upstream)
     x Clarified 30% acid is pumped from Storage Tanks D (TNK126), E (TNK127) or F
        (TNK128) via the North or South Evaporator Feed Pumps to the Booster Stage
        Evaporators 7, 8 and then to the 1st Stage Evaporators #1, #2, #3 where it is
        concentrated to 40% acid (Upstream);

3) 40% Acid processed to 54% Acid
     x 40% acid from the 1st Stage Evaporators (#1, #2, #3) is pumped to the 40% Clarifier
        (TNK125) (Upstream);
          o Underflow (solids) from the 40 Clarifier (TNK125) is pumped to any of the
              following:
                  1. the North and South 30% Tanks (TNK149 and TNK150) where it reenters
                      the phosphoric acid production circuit (Upstream);
                  2. directly to the Phosphoric Acid Reactor North A&F; or
                  3. directly to the Phosphoric Acid Reactor South A&F for acid recovery.
          o Overflow (clarified 40% acid) is pumped from the 40 Clarifier (TNK125) to the
              2nd Stage Evaporators #4 & #5 and then to the Final Stage Evaporator #6 (or #3
              when it is used as a final stage).
     x From the Final Stage Evaporator #6 or #3 (when it is used as a final stage), the
        unclarified 54% acid (54% ROP) is pumped to:
          o the “B” Blend/Barge Loading tank (TNK155) for transport to Faustina for use in
              MAP production (BHT Recovery Units); or to
          o Storage Tank A (A 50 Clarifier/TNK123) or Storage Tank B (B 50
              Clarifier/TNK124) (BHT Recovery Units).
   x Storage Tank A (TNK 123) and Storage Tank B (TNK 124) can be used to clarify 54%
      acid.
   x From Storage Tanks A (TNKI 123) or Storage Tank B (TNK 124), 54% acid is
      transferred to:
          o “B” Blend/Barge Loading Tank (TNK155) (BHT Recovery Units) via the East
              or West Transfer Lines for transport to Faustina for DAP/MAP production
              (Downstream); or


                                             10
                                                                                  Mosaic Uncle Sam
                                                                                    Facility Report

           o If Storage Tank A (TNK123) or Storage Tank B (TNK124) are used as clarifiers,
              underflow (referred to as High Solids Acid or “HSA”), is transferred to Storage
              Tank G (TNK121) and then to the “B” Blend/Barge Loading Tank (TNK155)
              (BHT Recovery Units) via the East or West Transfer Lines (BHT Recovery Units)
              for transport to Faustina for DAP/MAP production (Downstream).
  x    From the “B” Blend/Barge Loading tank (TNK155) acid is transferred to the barges via
       the Barge Transfer Line (BHT Recovery Units).

B. Alternative to Standard Acid Flow Configuration
Note: Mosaic Uncle Sam has the capability to route around all clarifier feed tanks, clarifiers, and
storage tanks within the phosphoric acid process on a temporary or permanent basis, with the
exception of the following:
       x Phosphoric Acid Reactor North A&F;
       x Phosphoric Acid Reactor South A&F;
       x Filters;
       x Gypsum Slurry Tanks.


C. Acid Transfers to Downstream Operations
1) Acid Transfer from the Phosphoric Acid Plant to Barge Loading (BHT Recovery Units)
   Mosaic Uncle Sam - has one primary transfer line that serves to transport 30% phosphoric
   acid, 54% phosphoric acid, and High Solids Acid to the barges for transfer into one of four
   phosphoric acid holding tanks at Mosaic’s Faustina facility for use in the production of
   DAP/MAP. The transfer line is cleaned with a cleaning solution to remove precipitated
   solids and scale to maintain acceptable pressure levels and acid flow rates. This line may be
   cleaned and the acid-containing waste recovered via the Big Holding Tank. The location of
   the transfer line is illustrated in Figure 5. The line length and cleaning frequency is listed in
   Table 4.

D. Fluorosilicic Acid (FSA) Standard Process Configuration
Mosaic Uncle Sam captures fluoride vapors from 2nd Stage (#4, #5) and Final Stage (#6)
Evaporators to produce FSA for use as a cleaning solution. A generic depiction of the FSA
production process is illustrated in Diagram 1.

The second (#4, #5) and final Stage (#6) Evaporators each have a FSA production unit, also
called a “Swift Tower,” integrated with a barometric condenser. The Swift Tower receives gas
emitted from the concentration of 40% P2O5 to 54% P2O5 through evaporation. The gas is
condensed in the Swift Tower and the liquid is continuously recirculated through a seal tank and
back through the Swift Tower to maintain the seal and operation of the FSA Swift Tower.

FSA is not always produced. When FSA is not being produced for use as a cleaning solution, the
gases pass through the Swift Tower to the barometric condenser, there is no recirculation of FSA
through the Swift Tower, and therefore FSA is not produced. Even when FSA is not being
produced, the FSA Seal Tank remains an essential part of the Phosphoric Acid Evaporator circuit
by sealing the Swift Tower downleg.
                                                 11
                                                                                                                                           Mosaic Uncle Sam
                                                                                                                                             Facility Report


When FSA is being produced for use as a cleaning solution, recirculated liquid will continue to
absorb fluoride vapors until the desired quality of FSA is obtained.

Once the FSA reaches the desired quality for use as a cleaning solution, a slip stream from the
recirculation line between the FSA Seal Tank and FSA Swift Tower is sent to the A Reactor
Storage Tank (TNK106) where it can then be used as a cleaning solution.

Prior to commencement of operations of the BHT, FSA produced for use as a cleaning solution
may continue to be managed consistent with Mosaic’s consolidated waste management practices
submittal dated September 8, 2015. Following commencement of operations of the BHT, FSA
produced for use as a cleaning solution may be used and then must be sent to the Big Holding
Tank, as described in Section VI (Compliance Projects) of this Report, for recovery of acid
values.

Diagram 1: General block flow diagram of fluorosilicic acid production.

                                   Typical Single Stage Phosphoric Acid Evaporator System with FSA Recovery

                                                                                                                    To Steam Ejector

                                                                                                                                 River
                                                                                                                                Water In
                                                                                       Mostly Steam


                                                                                                                Barometric
                                                                                                                Condenser
                                              Steam HF & SiF4 Vapors


                                                                           FSA Swift
                                                                            Tower



                                                                                          Recirculation
                                                                                              Line
                                                                 H2O
                                                                                                                               River Water
 Phosphoric Acid In                      Phosphoric Acid                                                                           Out
                                           Evaporator
     Steam In                              3" Hg Abs
                                                             To Ponds       FSA Seal
                                                                              Tank                        FSA to
      Tube Heat                                                                                           Receiving Tank
                                              Boiling
      Exchanger
                                            Phosphoric
                                               Acid
Condensate Out
                                                                                                               FSA Reaction
                                                            54% P2O5 to                                        2HF + SiF4 + H2O -> H2SiF6 (25% aq)
                                                            Storage Tank
                      Axial Flow Circulation Pump




Transfer of FSA

     1) FSA Transfer from the South Seal Tank to FSA Storage A Reactor (TNK 106) for use as
        a cleaning solution.
     Mosaic has two transfer lines that serve to transport FSA from FSA South Seal Tank (TNK
     066) to FSA Storage A Reactor (TNK 106). The transfer lines are cleaned with a cleaning
     solution as needed to remove precipitated solids and scale to maintain acceptable pressure
     levels and acid flow rates. This line may be cleaned and the acid-containing waste recovered
     via the Big Holding Tank.


                                                                                12
                                                                                  Mosaic Uncle Sam
                                                                                    Facility Report


The location of the transfer lines is illustrated in Figure 4. The line length and cleaning
frequency is listed in Table 2.


V. Configuration Equipment Designations
A. Phosphoric Acid Plant and FSA
Figure 6 depicts Upstream Units, Mixed-Use Units, BHT Recovery Units, and Grandfathered
Units.
1. Upstream Operations
The following processes, tanks, and associated equipment used in the production, concentration,
transport, and storage of 30% and 40% phosphoric acid, and the concentration of 40%
phosphoric acid to 54% phosphoric acid, serve only Upstream Operations.
       x   Phosphoric Acid Reactor North A&F and Phosphoric Acid Reactor South A&F
           through filtration, recovery of 30% acid (when the acid is not diverted to Faustina for
           MAP/DAP production), including North and South Filtrate Tanks, North and South
           Filter and North and South Filter Gypsum Slurry Tanks
       x   North 30% Tank (TNK149)
       x   South 30% Tank (TNK150)
       x   40 Clarifier (TNK125)
       x   #7, 8, 1 and 2 Evaporators
       x   Second stage Evaporators #4 and #5
       x   North Swift tower Tank (TNK065) (Note: Process Wastewater is added to the north
           swift tower tank and recirculated though the swift tower for heat recovery and used
           on the filter as cake wash. Fluorine is not recovered for FSA production.)
       x   Storage Tank D (126)
       x   Storage Tank E (127)


APCDs
       x   North Cross Flow Scrubber evacuates fumes from:
              - South Attack Tank
              - South Filter fume hood vent and/or
              - North Attack Tank
              - North Filter fume hood vent
       x   South Cross Flow scrubber evacuates fumes from:
              - North Attack Tank
              - North Filter fume hood vent and/or
              - South Attack Tank

       x   South Filter fume hood vent



                                                 13
                                                                              Mosaic Uncle Sam
                                                                                Facility Report

2. Mixed-Use Units
The following tanks with associated Upstream equipment in the Phosphoric Acid Plant are
Mixed-Use.
Phosphoric Acid Tanks

The following tanks identified as Mixed-Use Units in the Phosphoric Acid Plant serve Upstream
Operations but may also serve as storage for feed stocks to Downstream Operations:
       x 30% Phos Acid Clarifier (TNK179)
       x F (TNK128)
       x #3 (swing) and 6 Final stage Evaporators

 Transfer Lines

 None
APCDs
   x    Scrubber #1 evacuates fumes from:
           Storage Tank A (TNK123)
        - Storage Tank B (TNK124)
        - Storage Tank C (TNK125)
        - Storage Tank D (TNK126)

   x    Scrubber #2 evacuates fumes from:
        - Storage Tank E (TNK127)
        - Storage Tank F (TNK128)

Upon completion of Mosaic Uncle Sam’s Compliance Project 4 (Scrubber System Upgrades) as
described in Section VI (Compliance Projects), which will replace Scrubber #1, Scrubber #2
(Mixed Use Units), G Tank Scrubber (BHT Recovery Unit) and the A Scrubber (004) and B
Scrubber (005) (BHT Recovery Units) with a single combined scrubber, Mosaic Uncle Sam’s
new single scrubber (Tank Farm Scrubber) shall be designated as Mixed-Use.


3. BHT Recovery Units
The following tanks and acid transfer lines are identified as BHT Recovery Units located within
the Phosphoric Acid Plant and serve as storage or transport for feedstocks to Downstream
Operations.

BHT Recovery Units are part of Downstream Operations. Wastes from BHT Recovery Units are
recovered into Upstream Operations as designated in this Facility Report or to the BHT itself as
described in Section VI (Compliance Projects 1 and 2) of this Report. The BHTs that Mosaic
will install in accordance with Section VI below are also BHT Recovery Units.




                                               14
                                                                                             Mosaic Uncle Sam
                                                                                               Facility Report



Phosphoric Acid Tanks
        x    Storage Tank G (TNK 121)
        x    Storage Tank A (TNK123)
        x    Storage Tank B (TNK 124)
        x    B Blending and Barge Loading Tank (Blend Tank – TNK155)
        x    Any barges used to transport a phosphoric acid First Saleable Product from Mosaic
             Uncle Sam9
Transfer Lines
        x    Barge Transfer Line (Table 3/Figure 5)
        x    East & West Transfer lines

FSA Tanks

        x    FSA Storage A Reactor (TNK106)

FSA Transfer Lines
      x Transfer lines from the FSA South Seal Tank to the FSA Storage Tank (TNK106)
         (Table 2/ Figure 4)
APCDs
        x    A Scrubber (004) & B Scrubber (005)share a connection and collectively pull fumes
             from:
                - FSA Storage A Reactor (TNK106)
                - “B” Blending and Barge Loading Tank (TNK155)

        x    G Tank Scrubber evacuates fumes from:
                - Storage Tank G (TNK121)

The A Scrubber (004) and B Scrubber (005) associated with FSA production and the G Tank
Scrubber are BHT Recovery Units; they will continue to discharge effluent back to the
Phosphogypsum Stack System until Uncle Sam Compliance Project 4 (Scrubber System
Upgrades) as described in Section VI (Compliance Projects) is completed. Upon completion of
Mosaic Uncle Sam’s Compliance Project 4, which will replace the G Tank Scrubber (BHT
Recovery Unit), #1 and #2 Scrubbers (Mixed-Use Units) and the A Scrubber (004) and B
Scrubber (005) (BHT Recovery Units) with a single combined scrubber designated as the Tank
Farm Scrubber, the Tank Farm Scrubber will be designated as a Mixed-Use Unit and will
continue to use Process Wastewater as the scrubbing medium.



9
 The barges were sold to a third party that will own and operate the barges exclusively for Mosaic. Mosaic’s
cleaning of the barges and handling of cleaning wastes will continue to be managed pursuant to the Consent Decree.

                                                       15
                                                                                           Mosaic Uncle Sam
                                                                                             Facility Report

4. Grandfathered Units
The following units serve Downstream Operations but are not feasibly segregated from
Upstream Operations. The wastes from these units may be managed with wastes from Upstream
Operations.

FSA Tanks

     x   FSA South Seal Tank (TNK066);
     x   FSA Swift Towers (evaporators, #4, #5 and #6);


B. Granulation Plants
Mosaic Uncle Sam has no Granulation Plants on site. Granulation is performed at Mosaic’s
Faustina facility.


VI. Compliance Projects
The projects described below are not all the projects in Appendix 6 (Compliance Schedule) to the
Consent Decree but are the projects that are recovery related – the BHT. Timeframes for completion
of the projects are found in Appendix 6 (Compliance Schedule) to the Consent Decree.

Projects 1 and 2 comprise a plan that will enable Mosaic Uncle Sam to clean Upstream, Mixed-
Use, Grandfathered, and BHT Recovery Units and recover acid values from the wastes as
described below.10

A. BHT and Cleaning Solution Return Piping
1. Project Descriptions

Project 1: Big Holding Tank and Wash Solution System in the Phosphoric Acid Plant
The Big Holding Tank and wash solution system (together designated the “BHT system”) project
in the Phosphoric Acid Plant shall install new or convert an existing tank(s), piping, and controls
to enable Mosaic to recover the value of wastes as specified in Section VI.A.2. Project
Operations, below.

Mosaic Uncle Sam plans to convert Storage Tank D (TNK126) to be the primary BHT. Storage
Tank E (TNK124) will be the designated back-up tank (which when used in other services shall
not alter or nullify the status of the backup tank as a BHT Recovery Unit or preclude its use as a
part of Upstream Operations, if appropriate). The backup tank will be used during cleaning or
maintenance of the BHT tank. Cleaning waste from the BHT backup tank(s) will be handled in
the same way as the cleaning waste from the BHT itself as described in Section 2. Phosphoric
Acid Plant Cleaning Procedures of the BMP.



10
  The project numbers coincide with the project numbers in Appendix 6 (Compliance Schedule), and therefore are
not sequential.

                                                      16
                                                                                Mosaic Uncle Sam
                                                                                  Facility Report

In addition, new or upgraded pumps, motors, small pump tanks, and instrumentation may be
needed to ensure the return to the BHT cleaning wastes and spills and leaks of: (1) phosphoric
acid, sulfuric acid, FSA, SACS, PACS, FSACS, or BHT Effluent; or (2) NHACS, Process
Wastewater, or Phosphogypsum Stack System Wastewater when mixed with any of the
preceding solutions due to spills, leaks, or cleaning of leaks and spills. Project 1 necessarily
coincides with Project 2 below.

Project 2: Cleaning Solution Return Piping
Mosaic will install new piping to enable Mosaic to (1) clean phosphoric acid transfer lines from
the Phosphoric Acid Plant to the Barge Loading and return those cleaning wastes to the BHT; (2)
clean BHT Recovery Units located at the Phosphoric Acid Plant and the Barge Loading and
return those wastes to the BHT; and (3) clean FSA system and return wastes to the BHT.


2. Project Operations

The wash solution system will be comprised of the BHT and the Boilout (SACS/FSACS)
tank(s), along with pumps and piping to supply cleaning solution to units that are part of
Upstream Operations or, are identified as Mixed-Use, Grandfathered, or BHT Recovery Units.

Phosphogypsum Stack System Wastewater, Process Wastewater, fresh water, condensate or
other water sources may be mixed with sulfuric acid, FSA or BHT Effluent in the Boilout tank(s)
or BHT. The equipment and lines that are part of Upstream Operations or are identified as
Mixed-Use, Grandfathered, or BHT Recovery Units may be washed with SACS or FSACS either
from the BHT or the Boilout tank and the solutions may be returned to the BHT.

In addition, the BHT will enable Mosaic to recover the value of wastes generated from the use of
SACS, FSA, FSACS, PACS, NHACS, Process Wastewater, Phosphogypsum Stack System
Wastewater, BHT Effluent from pipes, tanks, process equipment, or other storage or transport
units that: (i) are part of Upstream Operations, (ii) serve to manage, store, or transport Bevill-
Exempt Wastes; or (iii) are identified as Mixed-Use, Grandfathered Units, or BHT Recovery
Units in this Facility Report. In accordance with the BMP, the BHT will also enable Mosaic to
recover spills and leaks in Containable Impervious Areas described in Section VII of this report.

The BHT shall in turn return the recoverable streams into Upstream Operations where their
values are recovered or managed through the following (Figure 1):
      1. as an intermediate wash on the filter, prior to the final cake wash, to inhibit scale
          formation. This wash ultimately circulates back to the reactor (attack tank); and/or
      2. as direct make up to the phosphoric acid reactors; and/or
      3. added to the rock grinding circuit where it will ultimately end up in the slurry fed into
          the phosphoric acid reactors; and/or
      4. Discharged to the Phosphogypsum Stack System, if in compliance with the LDR
          standards set forth in 40 C.F.R. Part 268, Subpart D; and/or
      5. if the P2O5 content is at least 8%, the BHT Effluent may be placed in the evaporator
          feed tanks for P2O5 recovery.



                                                17
                                                                                             Mosaic Uncle Sam
                                                                                               Facility Report

Figure 1: BHT Influents and Effluents11




11
  This Figure is a simplification of the management requirements for BHT inputs and effluents. Nothing in this
Figure substitutes for or overrides the narrative descriptions in this Facility Report.

                                                       18
                                                                                                          Mosaic Uncle Sam
                                                                                                            Facility Report

Figure 2: BHT Inputs and Effluents

                       SACS, PACS, FSA, FSACS
                                                                                                          Recirculated as
                  Process Wastewater (SACS make-up)                                                      cleaning solution

             Phosphogypsum Stack Water (SACS make-up)
                                                                                                    Filter prior to final wash
                   FSA Tank & Lines Cleanout Waste
                                                                                                         Phosphoric acid
                                                                              Big Holding Tank              reactors
     Phosphoric Acid Tank Cleanout Waste (incl. tanks in Granulation)
                                                                                   (BHT)            Evaporator Feed Tank
                              BHT Effluent                                                           (if conc. > 8% P2O5)
                            Spills and Leaks*
                                                                                                     Rock Grinding Circuit
                     Phos acid transfer lines washes

                        H2SO4 (SACS make up)                                                         SACS Make-up Tank
                  GHT Transfer (non-haz except for pH)



              * Spills and Leaks include: P2O5, H2SO4, FSA and mixtures of the proceeding with Process
                                Wastewater, Phosphogypsum Stack Water and NHACS




B. Scrubber System Upgrades

Project 4: Scrubber System Upgrades
Mosaic will install a single large scrubber to replace five existing ejector venturi scrubbers (A
Scrubber (004), B Scrubber (005), #1 Scrubber, #2 Scrubber, and G Tank Scrubber) located in
the phosphoric acid and FSA storage areas. These scrubbers serve Upstream, Mixed Use and
Downstream tanks. The new scrubber will be named the Tank Farm Scrubber and will reduce
usage of the Process Wastewater by approximately 200-600 gallons per minute.


VII. Containment of Phosphoric Acid, Sulfuric Acid and FSA Product Spills
and Leaks within the Phosphoric Acid Plant
Any impervious12 manufacturing or storage areas not identified in this section as Containable
Impervious Areas are considered to be Non-Segregable Areas.

Non-Segreable Areas
Approximately 20% of Mosaic Uncle Sam’s Phosphoric Acid Plant has a concrete pad installed
within the process areas (Figure 7: Phosphoric Acid department concreted areas and water
trenches). In several areas, the concrete pad is sloped towards trenches that transport any leaks
and spills to the 04 Basin active water reservoir. Due to the engineered slope of the concrete pad
in these areas and the configuration of the Phosphoric Acid Plant, spills and leaks of phosphoric
acid, sulfuric acid, and FSA onto the concrete pad cannot be feasibly segregated (“Non-
12
  Note, the use of the term “impervious” in this section does not refer to a particular definition of impervious or a
particular leakage rate, but instead is used to mean a surface barrier to penetration, such as concrete, liners, steel,
epoxy, etc. The term impervious does not include gravel or soil.

                                                                19
                                                                                Mosaic Uncle Sam
                                                                                  Facility Report

Segregable areas”) and are mixed in the trenches with the Process Wastewater flowing to the
Phosphogypsum Stack System and managed pursuant to Appendix 5, BMP. Mosaic may manage
spills and leaks of phosphoric acid, sulfuric acid, and FSA within the concrete areas of the
Phosphoric Acid plant (delineated in Figure 6) in accordance with the BMP.

Containable Impervious Areas

Portion of 04 Area that encompasses the B Barge Loading Tanks and the FSA Tanks, including
the FSA Pad Sump.
      x 30% clarifier containment area
      x 7/8 Evaporator Bank
      x Phosphoric Acid Product Tank Farm (Tanks A, B, C, D, E and F) upon completion of
         Project 5 “Tank Farm Containment” in Appendix 6 (Compliance Schedule)

Spills and leaks of phosphoric acid, sulfuric acid, and FSA onto impervious areas designated by
Figure 6: Equipment designations for Upstream, Mixed Use, Grandfathered and BHT Recovery
Units with Containable Impervious Area delineations. Containable Impervious Areas shall be
separately contained and then recovered, or managed in accordance with the BMP. The
foregoing shall not relieve Mosaic of its obligations under any applicable law.

Other Areas
Any leak or spill of a hazardous material, including phosphoric acid, FSA and sulfuric acid, that
is not contained within Containable Impervious Areas or Non-Segregable Areas of the plant shall
be managed and reported in accordance with the BMP. The foregoing shall not relieve Mosaic
of its obligations under any applicable law.


VIII. Proposed Phosphoric Acid Production Operations
Mosaic has advised EPA and LDEQ that it is considering one or more of the following projects
at its Uncle Sam facility, but planning has not evolved to where detailed information is available.

Figure 6 depicts equipment designations for Upstream, Mixed Use, Grandfathered and BHT
Recovery Units. In the event that Mosaic reconfigures its Facility in accordance with Figure 8,
Figure 9, Diagram 2, Diagram 3 and Diagram 4, then Figure 8 and Figure 9 shall replace Figure
6 identifying Upstream Operations, Grandfathered Units, BHT Recovery Units, and Mixed Use
Units for the Phosphoric Acid plant.

However, the Consent Decree does not bind Mosaic to implement the proposed project(s) as
depicted in Figure 8, Figure 9, Diagram 2, Diagram 3, and Diagram 4. If Mosaic chooses to
implement any changes through a different process than depicted in Figure 8, Figure 9, Diagram
2, Diagram 3 and Diagram 4, this Facility Report shall then be modified prior to implementation
pursuant to Section XVIII (Modifications) of the Consent Decree and EPA and LDEQ will
determine, consistent with this Facility Report, whether the new process as designed involves
Upstream Operations, Mixed-Use Units, Grandfathered Units, BHT Recovery Units, or
Downstream Operations and coordinate with Mosaic to amend the Facility Report to
memorialize those determinations. Such determination shall be conditioned upon the new

                                                20
                                                                                      Mosaic Uncle Sam
                                                                                        Facility Report

    process being built substantially as designed. If the new process deviates from that standard,
    EPA and LDEQ will determine whether the new process as built involves Upstream Operations,
    Mixed-Use Units, Grandfathered Units, BHT Recovery Units or Downstream Operations and
    amend the Facility Report to memorialize those determinations consistent with the descriptions
    below.

*




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* = Portions of this section have been omitted pursuant to a request for confidential treatment. An unredacted
version of this section has been filed separately.
                                                                                      Mosaic Uncle Sam
                                                                                        Facility Report

*




    IX. Non-Phosphoric Acid Production Proposed Projects
    The following proposed projects will be classified as BHT Recovery Units. Once Mosaic
    decides to implement one of these proposed project, Mosaic should confer with LDEQ and EPA
    to modify the Facility Report.

*



                                                    22
* = Portions of this section have been omitted pursuant to a request for confidential treatment. An unredacted
version of this section has been filed separately.
                                                                                Mosaic Uncle Sam
                                                                                  Facility Report

X. Authorized Future Installations
This section applies to future installations that were not considered based on or proposed
projects.

A. Procedure

The projects in (B) below shall be deemed part of Upstream Operations, Mixed-Use Units,
Grandfathered Units, or BHT Recovery Units as applicable, when installed within contained
concrete areas and will not require prior approval by LDEQ or EPA provided that:
   (i)     Mosaic’s Phosphogypsum Stack System is in compliance with the requirements of
           Appendix 1, Attachment B (Groundwater Requirements), Attachment C
           (Phosphogypsum Stack System Construction and Operational Requirements) of the
           Consent Decree, and that Mosaic is in compliance with the Financial Assurance
           requirements of the Consent Decree (Paragraph 25 and Appendix 2); and
   (ii)    (ii) Mosaic provides EPA and LDEQ with written notice at least ninety (90) Days in
           advance of the reconfiguration or installation of said project.

However, if as a result of circumstances that require Mosaic to install or reconfigure such
equipment in less than ninety (90) Days from the time a decision is made to undertake such
action, Mosaic shall provide written notice to LDEQ and EPA as soon as possible and in all
events prior to the installation or reconfiguration of such equipment; and
    (iii) Mosaic obtains and/or modifies any permit(s) required by local, state, or federal
           agencies; and
    (iv)   Mosaic submits to LDEQ and EPA for approval a modified version of this Facility
           Report with the changes identified at least sixty (60) Days in advance of the
           reconfiguration or installation of said project; and
    (v)    if applicable, Mosaic submits to LDEQ and EPA for approval any modified section(s)
           of Appendix 5, BMP at least forty-five (45) Days in advance of the reconfiguration or
           installation of said project.

B. Future Installations

1) Any existing tank within the battery limits of the Phosphoric Acid Plant (Figure 6) which
   may or may not be storing phosphoric acid can be converted to phosphoric acid storage
   service up to, but excluding Merchant Grade Acid. Any tank placed into phosphoric acid
   storage service shall be structurally adequate and physically compatible with the contents of
   the tank.

2) Up to a total of two (2) new phosphoric acid tanks storing First Saleable Product may be
   added within the battery limits of the Phosphoric Acid Plant (Figure 9), where the stored
   phosphoric acid product in the new tank(s) will be sent to Barge Loading for use in
   Granulation at Mosaic’s Faustina facility so long as the new unit performs the same function
   as the existing Grandfathered and BHT Recovery Unit identified in this Facility Report. The
   installation of more than two (2) such tanks shall require advance approval by EPA and
   LDEQ in order to be considered BHT Recovery Units.

                                                23
                                                                             Mosaic Uncle Sam
                                                                               Facility Report


3) Phosphoric acid piping systems and underflow piping systems associated with Mixed-Use
   Units, BHT Recovery Units, or Grandfathered Units identified in this Facility Report may be
   installed, replaced, or modified provided that the replacement or modified systems are
   located within the battery limits of the Phosphoric Acid Plant (Figure 6) and serve only the
   phosphoric acid production operations identified in this Facility Report for those Mixed-Use
   Units, BHT Recovery Units, or Grandfathered Units.




                                              24
                                                                                                                                    Mosaic Uncle Sam
                                                                                                                                      Facility Report

   Appendix: Figures and Tables
   Figure 3: Mosaic Uncle Sam Process Flow Diagram. ........................................................................26
   Table 2: FSA Transfer from South Seal Tank to FSA Storage A Reactor (see Figure 4). ................27
   Figure 4: FSA Transfer from South Seal Tank to FSA Storage A Reactor (see Table 2) ..................27
   Table 3: Phosphoric Acid Transfer Line from Phosphoric Acid Plant to Barge Loading (see Figure
   5) ..........................................................................................................................................................28
   Figure 5: Phosphoric Acid Transfer Line from Phosphoric Acid Plant to Barge Loading (see Table
   3) ..........................................................................................................................................................28
   Figure 6: Equipment designations for Upstream, Mixed Use, Grandfathered and BHT Recovery
   Units with Containable Impervious Area delineations. .......................................................................29
   Figure 7: Phosphoric Acid department concreted areas and water trenches.......................................30
   Figure 8: Proposed installation of
                                                         *
                                    ............................................................................................................................31
   Figure 9: Proposed equipment configurations for Upstream, Mixed Use, Grandfathered and BHT
   Recovery Units.....................................................................................................................................32




                                                                                25
* = Portions of this section have been omitted pursuant to a request for confidential treatment. An unredacted
version of this section has been filed separately.
                                                                                                                                                                                  Mosaic Uncle Sam
                                                                                                                                                                                     Facility Report


Figure 3: Mosaic Uncle Sam Process Flow Diagram.




                                                                                                                                                                          *




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    * = Portions of this figure have been omitted pursuant to a request for confidential treatment. An unredacted version of this figure has been filed separately.
                                                                                           Mosaic Uncle Sam
                                                                                             Facility Report



Table 2: FSA Transfer from South Seal Tank to FSA Storage A Reactor (see Figure 4).

                                                                                              Estimated
                                                                                Cleaning
  FSA South Seal Tank to


                           Service    Name              Description                            Length
                                                                               Frequency
    FSA Storage Tanks


                                                                                                (ft)13
                                                Transfers FSA from South
                                     South
                           FSA                  Seal Tank to FSA Storage A    As needed         765
                                     FSA Line
                                                Reactor
                                                                          Estimate Length       765
                              Estimate for            Estimated Vertical Runs - Basis 20%
                             Existing Lines                                                     153
                                                                                Factor (ft)
                                                        Total Estimated Piping Length (ft)      918

Figure 4: FSA Transfer from South Seal Tank to FSA Storage A Reactor (see Table 2)




13
   The lengths listed in this chart are estimates based on interpreting Google Earth images. The actual
lengths may differ.



                                                              27
                                                                                               Mosaic Uncle Sam
                                                                                                 Facility Report



Table 3: Phosphoric Acid Transfer Line from Phosphoric Acid Plant to Barge Loading (see Figure 5)

                                                                                                   Estimated
  Phosphoric Acid Plant to Barge


                                                                                        Cleaning
                                   Service     Name               Description                       Length
                                                                                       Frequency
                                                                                                     (ft)14
                                               Barge       Transfers 30% or 54% acid
                                    Phos
             Loading




                                              Transfer     or HSA to Barge Loading     As needed   3,000
                                    Acid
                                               Line        for transport offsite
                                                                                 Estimate Length 3,000
                                   Estimate for Existing     Estimated Vertical Runs- Basis 20%
                                                                                                 600
                                          Lines                                      Factor (Ft)
                                                              Total Estimated Piping Length (Ft) 3,600


Figure 5: Phosphoric Acid Transfer Line from Phosphoric Acid Plant to Barge Loading (see Table 3)




14
   The lengths listed in this chart are estimates based on interpreting Google Earth images. The actual
lengths may differ.



                                                                     28
                                                                         Mosaic Uncle Sam
                                                                           Facility Report


Figure 6: Equipment designations for Upstream, Mixed Use, Grandfathered and BHT Recovery
Units with Containable Impervious Area delineations.




                                            29
                                                                          Mosaic Uncle Sam
                                                                            Facility Report


Figure 7: Phosphoric Acid department concreted areas and water trenches




                                              30
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                                                                                Facility Report



Figure 8: Proposed installation of
                                     *

*




                                                31
 * = Portions of this figure have been omitted pursuant to a request for confidential treatment.
 An unredacted version of this figure has been filed separately.
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                                                                               Facility Report


Figure 9: Proposed equipment configurations for Upstream, Mixed Use, Grandfathered and BHT
Recovery Units


*




                                              32
* = Portions of this figure have been omitted pursuant to a request for confidential treatment. An
unredacted version of this figure has been filed separately.
APPENDIX 5
         Appendix 5

     Mosaic Fertilizer LLC
Best Management Practices Plan

           BARTOW
          NEW WALES
          RIVERVIEW
          UNCLE SAM
                                                          Table of Contents
INTRODUCTION ................................................................................................................................. 5
SECTION 1: PHOSPHORIC ACID PLANTS LEAK/SPILL DETECTION SYSTEMS AND
RESPONSE PROCEDURES................................................................................................................. 5
   1.1       General.................................................................................................................................... 5
   1.2       Release Reporting ................................................................................................................... 5
   1.3       Inspections .............................................................................................................................. 6
   1.4       Conductivity System Description: Non-Segregable Spills/Leaks .......................................... 6
   1.5       Tracking/Recording ................................................................................................................ 7
   1.6       Reporting, Recovery, and Remedial Measures....................................................................... 7
SECTION 2: PHOSPHORIC ACID PLANT CLEANING PROCEDURES .................................... 10
   2.1       General.................................................................................................................................. 10
   2.2       Designations ......................................................................................................................... 11
   2.3       Line Cleaning – Upstream and Mixed-Use .......................................................................... 11
   2.4       Evaporator Cleaning – Upstream and Grandfathered ........................................................... 12
   2.5       Phosphoric Acid Tank and Equipment Cleaning – Upstream, Mixed-Use and Grandfathered
             12
   2.6       Phosphoric Acid Tank and Equipment Cleaning – BHT Recovery Units ............................ 12
   2.7       BHT/Pump Tank Cleaning – BHT Recovery Units ............................................................. 13
   2.8       FSA Tank and Equipment Cleaning: BHT Recovery Units ................................................ 13
   2.9       Rotating Pan Filter Cleaning ................................................................................................ 13
   2.10      Phosphoric Acid Reactor (Attack Tank) Cleaning ............................................................... 13
   2.11      Plant Wash Down ................................................................................................................. 14
   2.12      Dewatering Areas - Upstream, Mixed Use and Grandfathered Units .................................. 14
   2.13      Dewatering Areas – BHT Recovery Units ........................................................................... 14
SECTION 3: GRANULATION PLANTS CLEANING PROCEDURES ......................................... 15
   3.1       General.................................................................................................................................. 15
   3.2       Line Cleaning ....................................................................................................................... 15
   3.3       Phosphoric Acid Tank Cleaning (BHT Recovery Units) ..................................................... 15
   3.4       Acid Scrubber, Reactor and Tailgas Scrubber System Cleaning - GHT Recovery Units .... 15
   3.5       Granulation Dry Side Equipment Cleaning - GHT Recovery Units .................................... 16
   3.6       GHT Cleaning and Non-Routine Transfer Situations........................................................... 16
   3.7       Wash Down .......................................................................................................................... 16

                                                                           2
SECTION 4: GRANULATION PLANTS LEAK/SPILL DETECTION SYSTEMS AND
RESPONSE PROCEDURES............................................................................................................... 17
   4.1      General.................................................................................................................................. 17
   4.2      Release Reporting ................................................................................................................. 17
   4.3      Inspections ............................................................................................................................ 17
   4.4      Recording/Tracking .............................................................................................................. 17
   4.5      Reporting, Recovery and Remedial Measures...................................................................... 18
SECTION 5: GRANULATION PLANT SECONDARY SCRUBBERS ........................................... 19
SECTION 6: CLEANING SOLUTION SYSTEM OPERATION ..................................................... 19
   6.1      Phosphoric Acid Plant Areas ................................................................................................ 19
   6.2      Granulation Areas ................................................................................................................. 20
SECTION 7: MINIMIZATION OF OPERATIONAL PHOSPHORIC ACID INPUTS ................... 22
   7.1      Background ........................................................................................................................... 22
   7.2      Operational Input Minimization ........................................................................................... 22
      7.2.1        Sample Collection ......................................................................................................... 22
      7.2.2        Clarifier/Valve/Line Operational Releases ................................................................... 22
      7.3      Response ........................................................................................................................... 22
      7.3.1        Releases Outside Containment Areas ........................................................................... 22
      7.3.2        Emergency Response .................................................................................................... 22
SECTION 8: CONTAINMENT INTEGRITY PLAN........................................................................ 23
   8.1      Background ........................................................................................................................... 23
   8.2      Tanks .................................................................................................................................... 23
   8.3      Concrete Acid Pads............................................................................................................... 23
   8.4      Sumps and Ditches ............................................................................................................... 23
SECTION 9: BMP PERFORMANCE STANDARDS ....................................................................... 24
   9.1      Performance Criteria ............................................................................................................. 24
   9.2      Performance Criteria for Spill and Leak Detection .............................................................. 24
   9.3      Reporting/Auditing ............................................................................................................... 24
SECTION 10: BMP TRAINING ........................................................................................................ 25
   10.1     Overview Training ................................................................................................................ 25
   10.2     Area Specific Employee Training ........................................................................................ 25
   10.3     Contractors............................................................................................................................ 25


                                                                          3
Attachment A: Tables ......................................................................................................................... 26
Attachment B: Conductivity Probes on Process Wastewater System ................................................. 27




                                                                       4
All capitalized terms not otherwise defined in this Appendix shall have the meaning set forth in the
Consent Decree.


INTRODUCTION

Mosaic has developed Appendix 5: Best Management Practices Plan (hereinafter either “BMP” or
“Plan”) to reduce unintended (and seek to eliminate unauthorized) inputs of phosphoric acid, sulfuric
acid, fluorosilicic acid (FSA), SACS, PACS, and FSACS to Process Wastewater entering the
Phosphogypsum Stack System. Where possible, Mosaic will capture and reuse these acid loses.

Through the BMP, Mosaic has established procedures to address the management, tracking, and
reporting of phosphoric acid, sulfuric acid, and FSA leaks and spills for four of its fertilizer production
facilities—Bartow, New Wales, Riverview, and Uncle Sam1—in areas of the phosphoric acid plants
(post first-stage filtration, e.g. bird or belt filters), including acid clarification and evaporation, and in
the granulation plants. The specific details of the BMP for the phosphoric acid and granulation plants
are discussed in the Sections that follow and the referenced Attachments. Where noted, certain BMP
procedures are dependent upon the commencement of operation of the compliance projects set forth in
Appendix 6 (Project Narrative & Compliance Schedules), to the Consent Decree.


SECTION 1: PHOSPHORIC ACID PLANTS LEAK/SPILL DETECTION
SYSTEMS AND RESPONSE PROCEDURES

1.1      General
Mosaic will implement two approaches to increase the likelihood of detecting non-segregable acid
leaks, spills and process upsets: operator inspections and process stream conductivity monitoring,
which are discussed in greater detail below. While conductivity monitoring is exclusive to the Process
Wastewater system (non-segregable areas), operator inspections also serve to identify observable leaks
and spills of acids regardless of the area of the plant where they occur – non-segregable, contained
impervious, or outside contained impervious area.


1.2      Release Reporting
Mosaic personnel are responsible for notifying the appropriate personnel immediately upon the
identification of a leak or spill of any hazardous material listed in Attachment A, Table 1 BMP
Actionable Volumes (hereinafter, “Table 1 Materials”) pursuant to this BMP. This BMP does not




1
 Mosaic’s Faustina facility is not covered under this Appendix and Mosaic’s Plant City facility is the subject of a
separate BMP Plan developed under a separate consent decree.

                                                          5
relieve Mosaic of its obligation to provide any such notifications under applicable federal, state, or
local laws.

1.3     Inspections
Operators shall visually inspect the plant for leaks and/or spills of phosphoric acid, sulfuric acid, and
FSA during their normal rounds a minimum of twice per shift and document the inspections. The
operator shall correct any leaks from valves, flanges, pumps, or any other equipment that can be readily
and safely corrected at the time of discovery. The incident shall be recorded in the tracking database
known as AON Risk Management software or any other future data collection system which replaces
or supplements AON Risk Management software (hereinafter, collectively referred to as “AON”). Any
leaks or spills in excess of the applicable volume listed in Attachment A, Table 1 BMP Actionable
Volumes (hereinafter “BMP Actionable Volume (Table 1)”) shall be reported to management for
further action and recorded in AON. Reporting responsibilities are outlined in Mosaic’s Spill Reporting
Policy and Procedure.

1.4     Conductivity System Description: Non-Segregable Spills/Leaks2
New Wales, Bartow, Riverview, and Uncle Sam shall monitor key outgoing streams (see Attachment
B) with a conductivity system to enable the continuous detection of changes in conductivity that
indicate occurrence of detectable acid leaks and spills. Each key outgoing stream shall have a
conductivity probe to continuously measure the conductivity of the Process Wastewater as shown in
Attachment B of this Plan. The conductivity of the return Process Wastewater stream shall be
displayed on the operators’ distributive control system, see Attachment B of this Plan.

If acid leaks or spills into an outgoing water or Process Wastewater stream, the conductivity of the
water or Process Wastewater increases because the acid has a higher conductivity than the water.
Visual alarms (see example in Attachment B of this Plan) shall be triggered if the conductivity
increases beyond the set alarm limits for a 5-minute interval. Upon triggering of such an alarm, the
area around the probe will be investigated. Individual conductivity probe locations are found in
Attachment B of this Plan.

Individual conductivity probes will alarm based on the preliminary trigger values set for each probe
found in Attachment B of this Plan. The targets shown in Attachment B of this Plan are the initial
temperature compensated conductivity targets for Bartow, New Wales, Riverview and Uncle Sam,
respectively. Pursuant to Section 9: BMP Performance Standards, of this BMP, Mosaic will monitor
the conductivity probes at Bartow, New Wales, and Riverview for a year after June 30, 2015 and will
monitor the conductivity probes at Uncle Sam for a year after January 31, 2016 to ensure settings are
correct for alerting operations to leaks and spills within the limits of the probes when properly operated
and calibrated.

When a visual alarm triggers, the operator shall inspect that piece of equipment or area of the plant for
any problems and take appropriate measures to stop or minimize the release and minimize further
impacts (see Attachment B of this Plan).

2
 Non-Segregable Areas are described in Facility Reports “Containment of Phosphoric Acid Product Spills and
Leaks.”

                                                       6
The conductivity system shall be maintained in accordance with specific manufacturer
recommendations or acceptable industrial practices and updated as needed. Conductivity meters will
be checked monthly and the instruments calibrated if necessary. The calibration dates and probe alarm
limits shall be documented in the maintenance management system that is in place at the time.
Maintenance and calibration procedures are found in Attachment B of this Plan.

1.5     Tracking/Recording
AON shall be used to track leaks and spills and the remedial measures taken to address a leak or spill.
The area management, engineering, and environmental departments shall use AON to ensure the
prompt and proper execution of remedial measures. When plant personnel identify a leak, spill or
process upset (e.g. filtrate tank overflow), resulting in a release, appropriate remedial measures shall
be taken as outlined below. A record of the incident shall be entered within 24 hours of the incident
into AON to log and track releases of Table 1 Materials. Supervisors shall be trained to enter incidents
into AON. AON tracks specific information including date and time of release, date and time of report,
a description of the incident, volume of the material, type of material, and additional supporting
information. AON generates emails to specific personnel that identify the severity and location of the
incident. Mosaic personnel are responsible for notifying the appropriate personnel immediately upon
the identification of a leak or spill, except for minor leaks or spills that already have been remedied.

1.6      Reporting, Recovery, and Remedial Measures
Management and environmental staff shall be notified of leaks or spills with a reasonable potential to
reach or exceed the BMP Actionable Volume (Table 1) as quickly as possible in order to verify the
volume of the leak or spill and ensure that it is properly reported, documented, and corrected pursuant
to this BMP.

Mosaic personnel are responsible for notifying the appropriate personnel immediately upon the
identification of a leak or spill, except for minor leaks or spills that already have been remedied. AON
shall be used to track leaks and spills and the immediate actions taken to address a leak or spill. The
area management, engineering, and environmental departments shall use AON to ensure the prompt
and proper execution of remedial measures.

   1.6.1       Non-Segregable Areas of the Phosphoric Acid Plants:

       1.6.1.1 Reporting

       Any leak or spill of FSA, sulfuric acid, SACS, PACS, FSACS or phosphoric acid into a non-
       segregable area, as described in each Facility’s Facility Report, which is detected as a result of
       visual inspections, audible alarms, conductivity monitoring, or operational detections (e.g.
       pressure losses) must be logged into AON. See Section 1.6.1.2: Remedial Measures, of this
       BMP.

       If the leak or spill has the potential to exceed the BMP Actionable Volume (Table 1) in a rolling
       24-hour period, appropriate management and environmental staff shall be notified and the leak
       or spill shall be properly reported, documented, and corrected pursuant to this BMP.


                                                   7
   1.6.1.2 Remedial Measures

   If any leak or spill of a Table 1 Material into a non-segregable area, as described in each
   Facility’s Facility Report, with a reasonable potential to approach a BMP Actionable Volume
   (Table 1) within any rolling 24-hour period is discovered, Mosaic will take the following
   measures:

        1) Investigate potential release sources.

        2) Address any issues found.

               a. Stop the release if possible, such as by flow diversion or by closing the
                  release gate.

               b. Generate a work order if needed to correct the issue.

        3) Document the release in AON.

        4) Report the release to EPA, FDEP, or LDEQ pursuant with the Consent Decree.

   This BMP does not relieve Mosaic of its obligation to comply with any federal, state, or local
   laws applicable to such a leak or spill.

1.6.2      Containable Impervious Areas:
   1.6.2.1 Reporting

   Any leak or spill of a Table 1 Material into a containable impervious area, as described in each
   Facility’s Facility Report and identified in Figure 10 (Bartow), Figure 9 (New Wales), Figure
   7 (Uncle Sam), and Figure 11 (Riverview), must be logged into AON but does not need to be
   reported to EPA if recovered to a tank containing the same chemical or the Big Holding Tank
   (BHT), described in Section 6: Cleaning Solution System Operation, of this BMP.

   1.6.2.2 Recovery and Remedial Measures
   Any leak or spill of a Table 1 Material into a containable impervious area, as described in each
   Facility’s Facility Report and identified in Figure 10 (Bartow), Figure 9 (New Wales), Figure
   7 (Uncle Sam), and Figure 11 (Riverview), shall be recovered back to a tank containing the
   same chemical or input into the BHT via sump pump, vacuum truck, or other means or, if
   unrecoverable due to contamination or location of the spill, must be managed in compliance
   with the RCRA Requirements. This BMP does not relieve Mosaic of its obligation to comply
   with any other federal, state, or local laws applicable to such a leak or spill.

1.6.3      Other Areas:
   1.6.3.1 Reporting

   Any leak or spill of a Table 1 Material that is not contained within a non-segregable area or a
   containable impervious area, as described in each Facility’s Facility Report, shall be reported
   pursuant to the Consent Decree. This BMP does not relieve Mosaic of its obligation to comply

                                              8
        with any other federal, state, or local laws applicable to such a leak or spill.

        1.6.3.2 Remedial Measures

        The cleanup of leaks or spills of a Table 1 Material shall be implemented in compliance with
        the Consent Decree. This BMP does not relieve Mosaic of its obligation to comply with any
        other federal, state, or local laws applicable to such a leak or spill.


1.7     Production Department Responsibilities
The Phosphoric Acid Production Department personnel shall be responsible for troubleshooting and
correcting process upsets that result in a leak or a spill. The operator covering the plant at which the
upset occurs shall notify his or her supervisor and begin taking immediate action. The appropriate
manager or supervisor shall enter any leak or spill in AON.


1.8     Maintenance Department Responsibilities
The Maintenance Department personnel will be responsible for repairs and maintenance to faulty
equipment. If the leak or spill is the result of a mechanical failure, the appropriate operations personnel
shall notify the Maintenance Department of the condition and a work order request for correction of
the problem is initiated. The Maintenance Department shall be responsible for timely completion of
leak repairs. Maintenance work requests and their status are tracked in a computerized maintenance
management system (currently MAXIMO).




                                                     9
SECTION 2: PHOSPHORIC ACID PLANT CLEANING PROCEDURES

2.1     General
SACS, FSA, PACS, or FSACS are periodically used to wash lines, filters, or other equipment within
the phosphoric acid plant, including evaporation and clarification. The primary purpose for continuing
to use SACS is to recover sulfate value and offset the amount of virgin sulfuric acid used. The primary
purpose for continuing to use FSA and FSACS is to recover FSA value. The primary purpose for using
PACS is to recover P2O5 value. The recovery of these solutions will contribute to decreasing the total
dissolved solids in the Process Wastewater ponds.

SACS, FSA, FSACS and PACS shall be managed as shown in Diagram 1: Big Holding Tank
Cleaning Solution and Solids Management Plan. Following commencement of operations of the Big
Holding Tank (BHT), no SACS or PACS shall be placed into the Phosphogypsum Stack System, other
than indirectly via the approved uses below. SACS PACS, FSA and FSACS shall be routed to the
BHT (described in Section 7: Minimization of Operational Phosphoric Acid Inputs, of this Appendix)
for consumption in the phosphoric acid plant so the BHT Effluent’s value can be realized through the
following uses described in each Facility’s Facility Report:

                 1. Added to the filter prior to the final cake wash to inhibit scale formation. The
                    filtrate from this wash is sent as recycle acid to the reactor (attack tank); or
                 2. Used as direct make up to the reactor attack tank; or
                 3. Added to the rock grinding circuit where it will ultimately end up in the slurry fed
                    into the phosphoric acid reactor(s); or
                 4. If the P2O5 content is at least 8%, placed in the evaporator feed tank(s) for P2O5
                    recovery.

If for any reason the BHT Effluent is not recovered as outlined above, it must satisfy the RCRA land
disposal restriction (LDR) standards prior to discharge to the Phosphogypsum Stack System (see
Diagram 1).

Following commencement of operations of the BHT, if FSA has been transferred to BHT Recovery
Units for sale or cleaning,3 no FSA or FSACS shall be placed into the Phosphogypsum Stack System
from BHT Recovery Units, other than indirectly via the following:
                1. Returned to the evaporator feed tank(s) that directly feed FSA-producing
                     evaporators when FSA is being recovered for sale and/or internal consumption; or
                2. Sent to phosphoric acid reactors for reprocessing and recovery of FSA values; or
                3. Sent to the BHT as described in Section VI (Compliance Projects) of the respective
                     Facility’s Facility Report for recovery of FSA values; or
                4. Used as FSACS and then sent to the BHT for reprocessing and recovery of acid
                     values.

If for any reason FSA or FSACS from BHT Recovery Units is not recovered as outlined above, it must


3
 FSA is not always recovered. When FSA is not being recovered for sale or cleaning, the gases pass through the
Swift Tower to the barometric condenser, there is no recirculation of FSA through the Swift Tower, and therefore
FSA is not produced. Even when FSA is not being recovered, the FSA Seal Tank remains an essential part of the
Phosphoric Acid Evaporator by sealing the Swift Tower downleg.

                                                        10
satisfy the RCRA LDR standards prior to discharge to the Phosphogypsum Stack System (see Diagram
1).

Diagram 1: Big Holding Tank Cleaning Solution and Solids Management Plan4




2.2     Designations
The equipment and transfer lines designated as Upstream, Mixed Use, Grandfathered, BHT Recovery
Units and GHT Recovery Units are shown in Table 1 of each Facility’s Facility Report.

2.3     Line Cleaning – Upstream and Mixed-Use
All lines within the phosphoric acid plant may be washed with Phosphogypsum Stack System
Wastewater, Process Wastewater, or a Non-Hazardous Aqueous Cleaning Solution (NHACS). Such
cleaning solutions may be circulated through the lines and filters and may be input to Upstream
4
    FSA is not part of the New Wales process.

                                                11
Operations or sent to the Phosphogypsum Stack System.

When SACS, PACS, or FSACS is used to clean lines and equipment, the cleaning solution shall be
managed as shown in Diagram 1.

2.4     Evaporator Cleaning – Upstream and Grandfathered
Evaporators (including Swift Tower and FSA Seal Tank, if applicable) shall be washed using the
following procedure. Prior to the wash, evaporators shall be drained of phosphoric acid; the acid shall
be recovered in the phosphoric acid production process. The wash shall be performed with hot cleaning
solution, typically condensate, Phosphogypsum Stack System Wastewater, Process Wastewater,
SACS, or FSACS. The cleaning solution is circulated through the evaporator and various lines that
require cleaning. All SACS, PACS, or FSACS shall be managed as shown in Diagram 1.

Note: If Phosphogypsum Stack System Wastewater, Process Wastewater, or NHACS is used, the
cleaning solution(s) may be input into Upstream Operations or sent to the Phosphogypsum Stack
System.


2.5     Phosphoric Acid Tank and Equipment Cleaning – Upstream, Mixed-Use and
Grandfathered
The following general steps shall be used in cleaning of units that are part of Upstream Operations,
Mixed-Use Units, or Grandfathered Units, or phosphoric acid tanks in the Phosphoric Acid Plant. The
tanks shall be emptied by recovering as much phosphoric acid and as many solids as possible back into
the phosphoric acid production process. The tanks shall then be washed with a cleaning solution,
including at times SACS. High pressure cleaning with NHACS or other mechanical means may be
used to remove hard phosphogypsum scale and buildup or to strip rubber from the tank. Solids from
these units may be transferred to the Phosphogypsum Stack System. If Phosphogypsum Stack System
Wastewater, Process Wastewater or NHACS is used to clean these tanks, such cleaning solutions may
be input to Upstream Operations or sent to the Phosphogypsum Stack System. SACS, PACS, and
FSACS shall be managed as shown in Diagram 1.

2.6     Phosphoric Acid Tank and Equipment Cleaning – BHT Recovery Units

Following commencement of operations of the BHT, the following general steps shall be used in
cleaning of phosphoric acid tanks designated as BHT Recovery Units. The tanks shall be emptied by
recovering as much phosphoric acid and as many solids as possible back into the phosphoric acid
production process. The tanks shall then be washed with a cleaning solution (SACS, PACS, FSACS,
Process Wastewater, Phosphogypsum Stack System Wastewater, or NHACS). Liquids (including
entrained solids) will be recovered to the BHT. Solids that are removed with high pressure cleaning
with NHACS or by other mechanical means will be dewatered. The liquid portion of the dewatered
solids will be recovered to the BHT. If the dewatered solids are non-hazardous, they will be transferred
to the Phosphogypsum Stack System. If they are hazardous, they will be handled in compliance with
the RCRA Requirements.




                                                  12
2.7    BHT/Pump Tank Cleaning – BHT Recovery Units

Following commencement of operations of the BHT, the following general steps shall be used in
cleaning of BHT(s) or any pump tanks installed with the project for collecting cleaning solutions prior
to returning to BHT. The tank(s) shall be emptied by recovering as much liquid and as many solids as
possible back into the BHT or a backup BHT. The tank(s) shall then be washed with a cleaning solution
(SACS, PACS, FSACS, Process Wastewater, Phosphogypsum Stack System Wastewater, or NHACS)
and the wash solution sent to the available BHT.

Liquids (including entrained solids) will be recovered to the available BHT. Solids that are removed
with high pressure cleaning with NHACS or by other mechanical means will be dewatered. The liquid
portion of the dewatered solids will be recovered to the available BHT. If the dewatered solids are
non-hazardous, they will be transferred to the Phosphogypsum Stack System. If they are hazardous,
they will be handled in compliance with the RCRA Requirements.

2.8      FSA Tank and Equipment Cleaning: BHT Recovery Units
Following commencement of operations of the BHT, the following procedure shall be used for
cleaning FSA tanks designated as BHT Recovery Units in a Facility’s Facility Report. Transfer as
much acid as possible from the tank into an available FSA tank. Wash out the remaining solids in the
tank using NHACS. Liquids (including entrained solids) will be recovered to the available BHT.
Solids that are removed with high pressure cleaning with NHACS or by other mechanical means will
be dewatered. The liquid portion of the dewatered solids will be recovered to the available BHT. If
the dewatered solids are non-hazardous, they will be transferred to the Phosphogypsum Stack System.
If they are hazardous, they will be handled in compliance with the RCRA Requirements.


2.9     Rotating Pan Filter Cleaning
An aqueous cleaning solution is used to wash filter pans. High pressure cleaning with freshwater,
aqueous cleaning solution or mechanical equipment may be used to remove hard phosphogypsum scale
and buildup. When Phosphogypsum Stack System Wastewater, Process Wastewater or NHACS is
used to clean the filter pans, such cleaning solutions may be input to Upstream Operations or sent to
the Phosphogypsum Stack System. If SACS, PACS, or FSACS are used to wash filter pans, such
solutions shall be sent to the BHT. Phosphogypsum solids removed by high pressure cleaning with
NHACS or other mechanical means shall be transferred to the Phosphogypsum Stack System.

2.10 Phosphoric Acid Reactor (Attack Tank) Cleaning
The following general steps shall be used in the cleaning of phosphoric acid attack tanks (phosphoric
acid reactors). Empty the attack tank by recovering phosphoric acid and solids back to the process.
The attack tank may then be washed with a cleaning solution. High pressure cleaning with NHACS
or other mechanical means may be used to remove hard phosphogypsum scale and buildup. Solids
removed using Phosphogypsum Stack System Wastewater, Process Wastewater or NHACS or by
mechanical means shall be transferred to the Phosphogypsum Stack System. If Phosphogypsum Stack
System Wastewater, Process Wastewater, or NHACS is used to clean the attack tank, cleaning
solutions may be input to Upstream Operations or sent to the Phosphogypsum Stack System. If SACS,
PACS, or FSACS is used to clean the attack tank, such solutions shall be sent to the BHT.




                                                  13
2.11 Plant Wash Down
Process Wastewater, Phosphogypsum Stack System Wastewater, or NHACS may be used for washing
the floors, building, equipment, etc. in the Phosphoric Acid Plants’ non-segregable and containable
impervious areas as described in the Facility’s Facility Report and returned to the Phosphogypsum
Stack System or the Phosphoric Acid Plant.

2.12 Dewatering Areas - Upstream, Mixed Use and Grandfathered Units
Dewatering areas are used for mechanically removing solids from units designated as part of
Upstream Operations or as Mixed Use or Grandfathered Units removed from the Phosphoric Acid
plant, such as pipes, pumps, filter pans, etc. during repair, maintenance, or turnaround. Solids removal
is performed with high pressure cleaning with NHACS or by other mechanical means. The solids and
the liquids are discharged to the Phosphogypsum Stack System. The equipment is either returned to
the plant or disposed of in compliance with applicable law. Equipment from Granulation cannot be
cleaned in this area.


2.13 Dewatering Areas – BHT Recovery Units
Dewatering areas are used for mechanically removing solids from units designated as BHT Recovery
Units such as pipes, pumps, etc. during repair, maintenance, or turnaround. Solids removal is
performed with high pressure cleaning with NHACS or by other mechanical means. Following
commencement of operations of the BHT, the liquid portion of the dewatered solids will be recovered
to the BHT. If non-hazardous, the dewatered solids are discharged to the Phosphogypsum Stack
System. If hazardous, they will be handled in compliance with the RCRA Requirements. The
equipment is either returned to the plant or disposed of in compliance with applicable law.




                                                  14
SECTION 3: GRANULATION PLANTS CLEANING PROCEDURES5

3.1     General
Mosaic’s intent is to minimize losses and to conserve and recover resources whenever feasible.
Solutions and solids generated from cleaning granulation equipment other than BHT Recovery Units
as described in the Facility’s Facility Report shall either be recovered in the granulation process or
characterized to determine if they are hazardous under the RCRA Requirements for corrosivity (pH ≤
2 or pH ≥ 12.5) and/or toxicity (Table 2). If the materials are not recovered to the granulation process
and are hazardous, they shall be handled according to the RCRA Requirements. If these materials are
not recovered to the granulation process and are non-hazardous, they can be discharged to the
Phosphogypsum Stack System.

3.2     Line Cleaning
All lines within the granulation plant shall be washed with an aqueous cleaning solution (i.e., Process
Wastewater, Phosphogypsum Stack Water, NHACS, SACS, PACS, FSACS, FSA or GHT Effluent).
All cleaning solutions that enter the boundary of the granulation plant shall be handled according to
Section 3.1: General, of this BMP.

3.3     Phosphoric Acid Tank Cleaning (BHT Recovery Units)
Following commencement of operations of the BHT, the following general steps shall be used in the
cleaning of any phosphoric acid storage tank in the granulation plants (BHT Recovery Units). Empty
the tank by feeding the remaining acid to the Granulation process or recovering phosphoric acid back
to the phosphoric acid clarification process or another phosphoric acid tank within the Granulation
area. Wash the tank with an aqueous cleaning solution (i.e., Process Wastewater, Phosphogypsum
Stack Water, NHACS, SACS, PACS, FSACS, FSA or BHT Effluent) if needed. Fill the tank with
cleaning solution and recirculate to facilitate cleaning for an appropriate period of time (typically 12-
48 hours), until the scale is adequately removed. The wash may be repeated multiple times until
adequately cleaned, and the wash solution (including entrained solids) sent to the BHT. Solids that are
removed with high pressure cleaning with NHACS or by other mechanical means will be dewatered.
The liquid portion of the dewatered solids will be recovered to the BHT. If the dewatered solids are
non-hazardous, they will be transferred to the Phosphogypsum Stack System. If they are hazardous,
they will be handled in compliance with the RCRA Requirements.

At Bartow, ammonia may be added as a scale softening agent to DAP Pond water, Phosphogypsum
Stack System Wastewater, or Process Wastewater and the resulting cleaning solution is used to clean
phosphoric acid storage tanks in the granulation plant. This non-hazardous spent wash solution shall
only be recovered to the DAP process pond.


3.4      Acid Scrubber, Reactor and Tailgas Scrubber System Cleaning - GHT Recovery
Units
Granulation plant scrubbers and reactors are cleaned with a cleaning solution based on the frequency
of scale buildup. After recovering scrubber liquid to the process, the scrubbers and reactors shall be
filled and recirculated with the cleaning solution until scale is adequately removed. SACS is normally


5
    This Section applies only to the Bartow, Riverview and New Wales Facilities.

                                                          15
used as a cleaning solution, but Process Wastewater, Phosphogypsum Stack System Wastewater, or
NHACS (including water from the DAP Pond or fresh water) can be used. Following commencement
of operations of the Granular Holding Tank (GHT), the resulting stream shall be sent to the GHT.
High pressure cleaning with NHACS or other mechanical means may be used to remove hard scale
and buildup or to strip rubber from the equipment. Solids that are removed from the Tailgas Scrubber
system will be characterized and handled in compliance with the RCRA Requirements.

3.5     Granulation Dry Side Equipment Cleaning - GHT Recovery Units
The wash solution, such as Process Wastewater, DAP Pond water, Phosphogypsum Stack Wastewater,
or NHACS is collected either in the Acid Scrubber or the Reactor and a continuous flow is sent to the
Dry Side Equipment, such as the granulator, dryer, cooler, elevators, screens, milling equipment and
the associated piping. The cooler may be washed as part of the Dry Side Equipment wash or separately.
High pressure cleaning with NHACS or other mechanical means may be used to remove hard scale.
Following commencement of operations of the GHT, liquids (including entrained solids) will be
recovered to the GHT. Solids that are removed with high pressure cleaning or mechanical means will
be dewatered, if needed. Following commencement of operations of the GHT, any liquid portion of
these solids will be recovered to the GHT. The solids will be recovered back to the granulation process
through either the dry reclaim system or the re-slurry system.


3.6    GHT Cleaning and Non-Routine Transfer Situations

3.6.1 GHT Cleaning
Following commencement of operations of the GHT, the following general steps shall be used in
cleaning of the GHT(s) and the Riverview and New Wales GHT intermediate tanks. The tanks shall
be emptied by recovering as much liquid (with entrained solids) as possible back into the granulation
process and/or the BHT. Any residual volume that is hazardous only for RCRA corrosivity (pH ≤2)
and cannot be recovered into the granulation process may be transferred to the BHT not more than two
times per calendar year. The GHT shall then be washed with a cleaning solution (SACS, PACS,
Process Wastewater, Phosphogypsum Stack System Wastewater, or NHACS). If the wash solution is
hazardous only for RCRA corrosivity (pH ≤2), it may be transferred to the BHT; not more than two
times per calendar year. If the solution is non-hazardous, it can be transferred to the BHT or sent to
the Phosphogypsum Stack System.

3.6.2 Non-Routine Situations
In non-routine situations, such as mechanical failure in the Granulation Plant, unexpected plant
outages, electrical power failures, hurricanes or similar weather events or unexpected problems during
startups, Mosaic may transfer GHT Effluent that is hazardous only for RCRA corrosivity (pH ≤2) from
the GHT to the BHT(s) as described in each Facility’s Facility Report.


3.7      Wash Down
NHACS (including fresh water or DAP Pond water) may be used for wash down of the floors, conveyor
belts, and other equipment within the granulation plant. If non-hazardous, the resulting streams may
be transferred to the Phosphogypsum Stack System or the DAP Pond. If the resulting streams are
hazardous, they will be recovered to the GHT or characterized and handled in compliance with the
RCRA Requirements.


                                                  16
SACS, PACS, FSA, Process Wastewater, Phosphogypsum Stack System Water or FSACS may not
be used to wash down floors.



SECTION 4: GRANULATION PLANTS LEAK/SPILL DETECTION SYSTEMS
AND RESPONSE PROCEDURES6

4.1     General
The purpose of this Section is to assist Mosaic’s operators with the appropriate management of leaks
and spills of phosphoric acid and sulfuric acid in the Granulation Plants.

Leaks and spills of a Table 1 Material to containment areas in the Granulation Plant shall be captured
and returned to the process as soon as practicable. If recovery is not possible, they shall be treated in
an appropriate vessel so that they no longer exhibit hazardous characteristics and meet the LDR
standards and may be discharged to the Phosphogypsum Stack System. If treatment is not possible,
they shall be appropriately managed in compliance with the RCRA Requirements, as well as the
specific procedures set forth in this BMP.

4.2      Release Reporting
Mosaic personnel are responsible for notifying the appropriate personnel immediately upon the
identification of a leak or spill of a Table 1 Material pursuant to this BMP. This BMP does not relieve
Mosaic of its obligation to comply with any federal, state, or local laws applicable to such a leak or
spill.

4.3     Inspections
Operators shall inspect the Granulation Plants in the course of their normal rounds, a minimum of
twice per shift and document the inspections. The operator shall correct any leaks from valves,
flanges, pumps, or any other equipment that can be readily and safely corrected at the time of
discovery. The incident shall be recorded in AON. Operator and supervisor responsibilities
associated with discovery of a spill or leak is outlined in this BMP.

4.4     Recording/Tracking
When plant personnel identify a leak, spill or process upset resulting in a release, appropriate actions
shall be taken as outlined in this BMP. A record of the incident shall be entered into AON within 24
hours of the incident. Supervisors shall be trained to enter incidents into AON. AON tracks specific
information including date and time of release, date and time of report, a description of the incident,
volume of the material, type of material, and additional supporting information. The system generates
emails to specific personnel based on the severity and location of the incident.




6
    This Section applies only to the Bartow, Riverview and New Wales Facilities.

                                                          17
4.5       Reporting, Recovery and Remedial Measures
4.5.1 Containable Impervious Areas of the Granulation Plants
      4.5.1.1     Reporting

      Any leak or spill of a Table 1 Material to containable impervious areas as described in each
      Facility’s Facility Report and identified in Figure 11 (Bartow), Figure 10 (New Wales), and Figure
      12 (Riverview) must be logged into AON but does not need to be reported to EPA or the States if
      recovered to a tank containing the same chemical, the BHT or the GHT, as described below.

      4.5.1.2     Recovery and Remedial Measures

      Any leak or spill of a Table 1 Material to containable impervious areas as described in each
      Facility’s Facility Report and identified in Figure 11 (Bartow), Figure 10 (New Wales), and Figure
      12 (Riverview) shall be recovered back to the appropriate process vessel containing in the same
      chemical or input into the BHT or GHT, as described in each Facility’s Facility Report.

      If unrecoverable for any reason, the leak or spill must be managed in compliance with the RCRA
      Requirements. This BMP does not relieve Mosaic of its obligation to comply with any other
      federal, state, or local laws applicable to such a leak or spill.

4.5.2    Other Areas
      4.5.2.1     Reporting

      Mosaic personnel are responsible for notifying the appropriate personnel immediately upon
      identification of a leak or spill, except for minor leaks or spills that already have been remedied.

      Any leak or spill of Table 1 Materials that is not contained within a containable impervious area
      as described in each Facility’s Facility Report must be recorded in AON and reported pursuant to
      the Consent Decree. This BMP does not relieve Mosaic of its obligation to comply with any other
      federal, state, or local laws applicable to such a leak or spill. AON shall be used to record such a
      spill or leak and to track immediate actions taken to address the leak or spill.

      4.5.2.2     Remedial Measures

      The cleanup of Table 1 Materials shall be administered in compliance with the Consent Decree.
      This BMP does not relieve Mosaic of its obligation to comply with any other federal, state, or local
      laws applicable to such a leak or spill.

4.6       Production Department Responsibilities
The Granulation Production Department personnel shall be responsible for troubleshooting and
correcting process upsets. The employee who discovers the upset shall execute his or her
responsibilities as outlined in this BMP. The operator covering the plant at which the leak, spill or
upset occurred shall notify his or her supervisor and begin taking immediate action. The appropriate
manager or supervisor shall enter the incident in AON.


                                                    18
4.7        Maintenance Department Responsibilities
The Maintenance Department personnel will be responsible for repairs and maintenance to faulty
equipment. If the leak or spill is the result of a mechanical failure, the appropriate operations personnel
shall notify the Maintenance Department of the condition and shall initiate a work order request for
correction of the problem. The Maintenance Department shall be responsible for timely completion of
leak repairs. Maintenance work requests and their status are tracked in a computerized maintenance
management system (currently MAXIMO). When the Maintenance Department completes the repairs,
the appropriate operations personnel shall be notified.


SECTION 5: GRANULATION PLANT SECONDARY SCRUBBERS7

The granulation plants utilize secondary scrubbers. These secondary scrubbers are utilized on the
reactor, granulator, dryer, equipment, and/or cooler scrubbing circuits for fluoride scrubbing. The New
Wales site utilizes once through Process Wastewater as a scrubbing medium. Pursuant to the Consent
Decree, the New Wales granulation plants shall eliminate the use of Process Wastewater as a scrubber
medium. Mosaic may continue to discharge Process Wastewater used in the aforementioned scrubbers
within the New Wales granulation plants to the Phosphogypsum Stack System until the referenced
projects described in Appendix 6 (Project Narrative & Compliance Schedules) of the Consent Decree
are completed.

SECTION 6: CLEANING SOLUTION SYSTEM OPERATION
6.1     Phosphoric Acid Plant Areas
The cleaning solution system shall be composed of a containment system to capture and return cleaning
solution streams from Upstream, Mixed-Use, Grandfathered, and BHT Recovery Units, including
SACS, PACS, FSA, and FSACS to the BHT(s). Mosaic also may recover spills and leaks of
phosphoric acid, sulfuric acid, FSA, SACS, PACS, FSACS, or BHT Effluent; or NHACS, Process
Wastewater, Phosphogypsum Stack System Wastewater, when mixed with any of the preceding
solutions due to spills, leaks, or cleaning of leaks and spills, in containable impervious areas to the
BHT(s). The BHT(s) shall in turn return the spills, leaks, and cleaning solution streams to the
phosphoric acid production process, where their values can be realized through the methods outlined
in Section 2: Phosphoric Acid Plant Cleaning Procedures, of this BMP. All inputs to and effluents
from the BHT are illustrated in Diagram 2.




7
    This Section applies only to the Bartow, Riverview and New Wales Facilities.

                                                          19
Diagram 2: BHT Inputs and Effluents8

                         SACS, PACS, FSA, FSACS
                                                                                                            Recirculated as
                    Process Wastewater (SACS make-up)                                                      cleaning solution

               Phosphogypsum Stack Water (SACS make-up)
                                                                                                      Filter prior to final wash
                     FSA Tank & Lines Cleanout Waste
                                                                                                           Phosphoric acid
                                                                                Big Holding Tank              reactors
       Phosphoric Acid Tank Cleanout Waste (incl. tanks in Granulation)
                                                                                     (BHT)            Evaporator Feed Tank
                                BHT Effluent                                                           (if conc. > 8% P2O5)
                              Spills and Leaks*
                                                                                                       Rock Grinding Circuit
                       Phos acid transfer lines washes

                          H2SO4 (SACS make up)                                                         SACS Make-up Tank
                    GHT Transfer (non-haz except for pH)



                * Spills and Leaks include: P2O5, H2SO4, FSA and mixtures of the proceeding with Process
                                  Wastewater, Phosphogypsum Stack Water and NHACS


6.2     Granulation Areas9
The granulation containment pads shall be designed to collect rainfall, spills, leaks, and cleaning
solutions within plant areas. The collection sumps for these containment pads shall pump to the
granulation plant scrubbers, re-slurry tank, GHT or, if non-hazardous, may be discharged to a permitted
National Pollutant Discharge Elimination System (NPDES) outfall. The sumps will be designed with
pH probes that will allow storm water run-off during high rainfall to be diverted to the Phosphogypsum
Stack System if pH > 2.0 or to a permitted NPDES outfall. This will eliminate excessive rain water
getting into the GHT, diluting it and also leading to the tank level being high. The granulation plant
acid scrubbers and re-slurry tank are designed to recover fertilizer materials, product and raw materials
for consumption in the granulation process.

Cleaning solutions in the Granulation area (except for cleaning solutions from BHT Recovery Units)
shall be managed as follows:
    x If the resulting stream from the cleaning process is non-hazardous, the solution may be
        discharged directly to the Phosphogypsum Stack System or recovered in the granulation
        process via the GHT.
    x If the resulting stream is hazardous, then the resulting solution shall be recovered in the
        granulation process via the GHT for recovery of product value.

Mosaic may transfer cleaning solution from GHT to BHT as specified in the Facilities’ Facility
Reports.




8
    New Wales does not have a “FSA Tank & Lines Cleanout Waste” input.
9
    This paragraph applies only to the Bartow, Riverview and New Wales Facilities.

                                                                20
Diagram 3: GHT Inputs and Effluents

                         Granulation Plant Battery Limit

                                     Reslurry
                                     System

                                Equipment Cleaning
                                                                                       Non-haz except
                               Dry Equipment Wash                Granulation               for pH
                                                                Holding Tank
        Granulation            Acid Scrubber Wash
                                                                   (GHT)
        Equipment                                                                                       Big Holding Tank
                                Reactor Wash
                                                                                                             (BHT)
                                  Spills & Leaks*
                                  Normal Basis
                               Consume in Process
                                                     Phos acid transfer lines washes
                                                     Phos acid transfer lines washes

                                                     Phos acid transfer lines washes
       Day Tank
                                                     Phos acid transfer lines washes


   * Spills and Leaks include: P2O5, H2SO4 and mixtures of the proceeding with Process
   Wastewater, Phosphogypsum Stack Water and NHACS




Permitted Discharge

This Section does not relieve Mosaic of its obligation to comply with any National Pollutant
Discharge Elimination System (NPDES) permit.




                                                             21
SECTION 7: MINIMIZATION OF OPERATIONAL PHOSPHORIC ACID
INPUTS

7.1     Background
During normal operation of the Phosphoric Acid Plants, various activities may result in the operational
input of phosphoric acid to impervious areas within the battery limits of the Phosphoric Acid Plants or
to the Phosphogypsum Stack System. These activities include sample collection, slide gate valve
operation, clearing plugged piping or process equipment, and similar routine operations. Operators
shall minimize the volume of such phosphoric acid inputs by releasing only the amount of acid
necessary in order to accomplish the task and recover acid loss where practicable. Intermittent
operational inputs of phosphoric acid to impervious areas or the Phosphogypsum Stack System are
unavoidable and shall not be considered malfunctions, leaks, or spills, unless the volume from one of
these inputs to the Phosphogypsum Stack System exceeds the BMP Actionable Volume (Table 1).
Any continuing release resulting from these activities may indicate the need for maintenance activity
and shall be entered into AON and the computerized maintenance management system (currently
MAXIMO) for correction.

7.2    Operational Input Minimization

7.2.1 Sample Collection
Samples of phosphoric acid or reactor slurry collected for purposes of plant process control shall be
returned to the process.

7.2.2 Clarifier/Valve/Line Operational Releases
Operational inputs of phosphoric acid from clarifier unplugging, valve operation and line unplugging
shall be minimized to the extent practicable, releasing only the amount of acid necessary out of the
primary containment area in order to accomplish the task and recovery where practicable.

7.3    Response

7.3.1 Releases Outside Containment Areas
All reasonable measures shall be taken to avoid releases of phosphoric acid outside of plant
containment areas. This BMP does not relieve Mosaic of its obligation to comply with any federal,
state, or local laws applicable to such a release.

7.3.2 Emergency Response
Mosaic’s Spill Reporting Policy and Procedure also contains guidance for the management of
environmental spills or releases that may require emergency response measures.




                                                  22
SECTION 8: CONTAINMENT INTEGRITY PLAN

8.1    Background
The mechanical integrity of new, upgraded, or existing containment systems for phosphoric acid shall
be managed in accordance with Mosaic’s Liquid Storage Tanks, Secondary and Impermeable
Containment Program. The most current versions of these specifications shall be maintained by the
Engineering Document Control Department.

8.2     Tanks
The mechanical integrity of phosphoric acid tanks shall be managed in accordance with the current
version of Mosaic’s Liquid Storage Tanks, Secondary and Impermeable Containment Program.

Phosphoric acid storage tanks that are regulated by Florida Department of Environmental Protection
(FAC § 62-762) shall be inventoried. Phosphoric acid storage tanks that are not regulated by Florida
Department of Environmental Protection (FAC § 62-762) or Louisiana Department of Environmental
Quality shall be inventoried and inspected in accordance with Mosaic’s Liquid Storage Tanks,
Secondary and Impermeable Containment Program.

8.3     Concrete Acid Pads
The mechanical integrity of concrete acid pad containment systems for phosphoric acid leaks or spills
shall be inspected and evaluated annually in accordance with requirements contained in Mosaic’s
Liquid Storage Tanks, Secondary and Impermeable Containment Program.

Mosaic shall be responsible for conducting annual inspections of concrete acid pads in the Phosphoric
Acid and Granulation Plant areas. Visual inspection will be for the following indicators: erosion/holes,
protective liner damage and/or floor drainage irregularities. Inspection results shall be documented in
a report with recommendations, reviewed with appropriate management, and implemented as needed.

When Mosaic determines it is necessary to replace or partially replace concrete acid pads in the
Phosphoric Acid and Granulation Plant areas, under-slab liners shall be installed in the affected area.

8.4     Sumps and Ditches
The mechanical integrity of sumps and ditches used in washing circuits and collection of phosphoric
acid leaks or spills shall be managed as specified in Mosaic’s Liquid Storage Tanks and Secondary
Containment Program.

Mosaic shall be responsible for conducting inspections of sumps and ditches whenever major plant
outages or turnarounds in the phosphoric acid and granulation plant areas allow for the sumps to be
drained (approximately once every 5 years). Inspection results shall be documented in a report with
recommendations and reviewed with appropriate management and implemented as needed.




                                                  23
SECTION 9: BMP PERFORMANCE STANDARDS

9.1      Performance Criteria
The goals of the BMPs are listed in the Introduction of this Appendix. Mosaic shall develop
appropriate performance criteria consistent with the BMPs herein for the purpose of evaluating trends
and improving performance. The performance criteria include progress review of the construction and
utilization of the projects in Appendix 6 (Project Narrative & Compliance Schedules) to the Consent
Decree, BMP training, and implementation of the procedures set forth herein.

For two years from the Effective Date of the CD, semi-annual meetings will be held with the State
Agency and EPA to review BMP performance. Meetings will occur annually after the first two years
and may be adjusted based on the completion of the implementation schedule.

9.2      Performance Criteria for Spill and Leak Detection
An initial data collection period of 12 months will be used to establish baseline performance criteria
for spills, leaks, and other releases. Mosaic will monitor the conductivity probes at Bartow, New
Wales, and Riverview for a year after June 30, 2015 and will monitor the conductivity probes at Uncle
Sam for a year after January 31, 2016. Once BMP performance criteria and a baseline are established,
Mosaic shall review the criteria quarterly. Based upon the reviews, BMPs will be updated as warranted
to minimize leaks, spills, and other releases. Mosaic shall initiate additional review of the BMP
Program under the following circumstances:

       x   At any time during a calendar quarter when two or more leak or spill events of phosphoric
           acid, sulfuric acid or FSA into “non-segregable areas” at the same facility have occurred
           that exceed the quantity shown in Table 1: BMP Actionable Volumes (Table 1) in a
           rolling 24-hour period.

       x   At any time during a calendar quarter when two or more leak or spill events of phosphoric
           acid, sulfuric acid or FSA inside a “containable impervious area” at the same facility have
           occurred that exceed the quantity shown in Table 1: BMP Actionable Volumes (Table 1)
           in a rolling 24-hour period.

       x   At any time during a calendar quarter when two or more leak or spill events of phosphoric
           acid, sulfuric acid or FSA have occurred outside of non-segregable or containable
           impervious areas at the same facility that exceed the Comprehensive Environmental
           Response, Compensation and Liability Act (CERCLA) Reportable Quantity.


9.3     Reporting/Auditing
Reporting shall be conducted pursuant to the Consent Decree and the aforementioned Performance
Criteria.




                                                 24
SECTION 10: BMP TRAINING

10.1 Overview Training
An overview of BMP issues and procedures shall be included in the periodic environmental compliance
training provided to all affected employees, such as the managers, superintendents, supervisors,
operators, and maintenance personnel in the phosphoric acid, FSA, AFIP, and granulation plants.

10.2 Area Specific Employee Training
Employees within phosphoric acid, FSA, AFIP, and granulation plants shall receive initial training on
RCRA and the Consent Decree, including the BMPs, through classes and materials developed by
Mosaic. Employee training is part of project implementation and is found in Appendix 6 (Project
Narrative & Compliance Schedules) to the Consent Decree. Detailed refresher training on the Consent
Decree, including RCRA and the BMPs, shall be conducted for all affected employees every year.
Updated training shall be provided as BMP projects are completed, and will commence within two
months of establishing a baseline under Section 9.2, and if the BMP is modified. Records of training
shall be maintained by the Training Department.

10.3 Contractors
The relevant portions of this BMP shall be incorporated into contractors’ site-specific training where
appropriate.




                                                 25
                                               Attachment A: Tables

Table 1: BMP Actionable Volumes .................................................................................................... 26
Table 2: RCRA 8 Metals and Regulatory Limits ................................................................................ 26


Table 1: BMP Actionable Volumes
                                                                        Non-Segregable and Containable
     Chemical                      Concentration
                                                                             Impervious (gallons)

     Phosphoric           Less than 40%10                                10,000
     Acid
                          Equal to or greater than 40%                     5,000

     PACS & SACS                  5% P2O5                                10,000

                                  5% H2SO4

     Sulfuric Acid               98% H2SO4                                 1,000

     FSA & FSACS                 23%; 15%; 5%                                430



Table 2: RCRA 8 Metals and Regulatory Limits.


                                        Toxicity
                                                                      UTS for wastewater                   UTS for non-
 TCLP Metals                          Characteristic
                                                                            (mg/L)                       wastewater (mg/L)
                                   (TCLP, grab) (mg/L)
 Arsenic                                     5.0                                     1.4                               5.0
 Barium                                     100                                      1.2                               21
 Cadmium                                     1.0                                    0.69                             0.11
 Chromium (total)                            5.0                                    2.77                             0.60
 Lead                                        5.0                                    0.69                             0.75
 Mercury                                     0.2                                    0.15                            0.025
 Selenium                                    1.0                                     n/a                               n/a
 Silver                                      5.0                                    0.43                             0.14

 Note 1: UTS = Universal Treatment Standards (40 C.F.R. §268.48).
 Note 2: The amount of total suspended solids (TSS) by weight in the sample must be determined
 in order to compare the UHC concentrations to the appropriate UTS. The waste stream is a
 “wastewater” if it contains less than 1% by weight TSS, and “non-wastewaters“ contain TSS ≥1%
 by weight (defined in 40 C.F.R. §268.2(d) and (f)).
 Reference: 40 C.F.R. §§261.24 & 268.48


10
     Excluding Process Wastewater and Phosphogypsum Stack Wastewater.

                                                                 26
Attachment B: Conductivity Probes on Process Wastewater System

This Attachment addresses conductivity probes located in the outgoing process wastewater streams at
the Phosphoric Acid Plants. It contains information on probe locations, alarm settings and
maintenance.




                                                27
               Appendix 5
           ATTACHMENT B:
Conductivity Probes on Process Wastewater
                 System




                    1
Attachment B Table of Contents



Contents
  General                            3
  Probe Locations and Targets        5
  Maintenance                        12




                                 2
General
Conductivity probes continuously measure the conductivity of the Process Wastewater incoming and
outgoing streams. The conductivity of the return Process Wastewater System streams are displayed
on the operators’ distributive control system, see Figure 1 and Figure 2 below as an example.
Figure 1: Example of Conductivity Trend Stored in the Data Historian PI




Figure 2: Example of Operator Monitoring Graphic




                                                   3
Figure 3: Conductivity Alarm Trigger Corrective Action Plan




     NO                                     YES
                 Conductivity Alarm
                 Activated and stays
                activated for > 5 min




                                                     Investigate
                                                      Potential
                                                   Release Sources


                                         RELEASE
                                         NOT                         RELEASE
                                         FOUND                        FOUND




                                                                        Correct any
                                 Manually check                        issues found/
                                  conductivity                          Document in
                                                                       AON, generate
                                                                        work order if
                                                                          required




                                                                  Generate Work
                           NO       Calibration    YES            Order for Probe
                                        off?                      Calibration and
                                                                 document manual
     End This
     Process



                                                   Conductivity Alarm Trigger Corrective
                                                                Action Plan


                                                   PAGE              1         of       1




                                                           4
Probe Locations and Targets
Figure 4: Bartow Conductivity Probe Locations in Phosphoric Acid Plant




 Probe No.      Name                    Location Description
     1          Incoming PW ditch       R1 Canal; brings process water to Phos Acid plant from
                                        Process Pond
      1a        Redundant Incoming      R1 Canal; brings process water to Phos Acid plant from
                PW Ditch                Process Pond
       2        30% Area ditch          30% containment area sumps and wash boxes discharge
       4        5-7 Hotwell             Hotwell for evaporators 5, 6 and 7
       6        1 & 2 Hotwell           Hotwell for evaporators 1 & 2
       7        3 & 4 Hotwell           Hotwell for evaporators 3 & 4
       9        Mall ditch              Non-segregable areas around #3 and #5 Filters
      10        A & B Hotwell           Hotwell for evaporators A & B
      11        C & D Hotwell           Hotwell for evaporators C & D
      13        #5 Ditch                Non- segregable area spills from Attack Tank U-Train
      14        33 Area ditch           33 containment area sump and wash boxes discharge




                                                  5
Table 1: Bartow Conductivity Initial Alarm Limits (Differential)

 Probe No.      Name                                    Alarm Trigger
                                                        (millisiemens/cm)
      1         Incoming PW ditch                           No alarm
      1a        Redundant Incoming PW ditch                 No alarm
      2         30% Area ditch                                   5
      4         5-7 Hotwell                                      10
      6         1 & 2 Hotwell                                    10
      7         3 & 4 Hotwell                                    10
      9         Mall ditch                                       15
      10        A & B Hotwell                                    5
      11        C & D Hotwell                                    5
      13        #5 ditch                                         10
      14        33 Area ditch                                    15




                                                    6
Figure 5: Riverview Conductivity Probe Locations in Phosphoric Acid Plant and Granulation




                                                                      7
Table 2: Riverview Conductivity Initial Alarm Limits (Differential)
Probe                                                                                 Alarm Condition
                    Name
No.                                                     Location Description         (milliSiemens/cm)
   1 Dry Products Return Line (PIPE 1)           Dry Product Return Line                      15
   2 Prayon Teller Sump Discharge (PIPE
                                                 Prayon Sump Discharge                      15
      2)
   4 Digester Feed Pump Wash to Ditch
                                                 Digester Feed Pumps Wash                   15
      (PIPE 4)
   5 Dorrco Hot Tank & Barometric Seal           Dorrco Hot Tank & Barometric Seal
                                                                                             5
      Tank (PIPE 5)                              Tank
   6 1-4 Evap Barometric Condensers              Evaporator 1-4 Barometric
                                                                                             5
      (PIPE 6)                                   Condensers Combined
   8 5-8 Evap Barometric Condensers              Evaporator 5-8 Barometric
                                                                                            10
      (PIPE 8)                                   Condensers Combined
  10 30% Clarifier (PIPE 10)                     30% Clarifier Wash Return                  10
  11 54% Clarifier (PIPE 11)                     54% Clarifier Wash Return                  10
  13                                             Evaporators 9-10 Barometric
      9-10 Evaps Barometric Condensers
                                                 Condensers, 9-11 Evaporator Feed            5
      (PIPE 13)
                                                 Lines Wash
   14   11 Evap Baro Condensers & Inter-         Evaporator #11 Barometric
                                                                                             5
        Condenser (PIPE 14)                      Condenser
   15   #2 Filter Sump                           No. 2 Filter Sump                          10
   16   3rd Filter Discharge Ditch               No. 3 Filter Sump                          10
   17   Incoming PW CHT                          Incoming process water (constant
                                                                                         No alarm
                                                 head tank)
   18   Redundant Incoming PW CHT                Incoming process water (constant
                                                                                         No alarm
                                                 head tank)

Following pipes don’t have a conductivity probe installed as P2O5 loss is not expected there due to:
#3 pipe carries only the scrubber liquor from Digester fume scrubber;
#7 pipe carries only the scrubber liquor from #3 Filter fume scrubber;
#9 pipe carries rain water only from the Swimming Pool Pumps area;
#12 pipe carries rain water runoff only from Crescent Pond;




                                                    8
Figure 6: New Wales Conductivity Probe Locations in Phosphoric Acid Plant and Granulation




                                                                     9
Table 3: New Wales Conductivity Alarm Limits (Differential & Absolute)
    Probe Probe Name                                                  Alarm Trigger
    No.                                                               (milliSiemens/cm)1
      1    Total New Wales Outflow to Pond                                      5
      2    AFI Evaporators and Plant                                            5
      3    Phos Acid and Granular Outflow                                      10
      4    Clarification D1 Sump                                               20
      5    7E Evaporator                                                       10
      6    Incoming Pond Water                                              No alarm
      7    Clarification South Ditch                                      55 (absolute)
      8    Total East Train / West Train Outflow (F3)                           5
      9    Third Train Evaporators and Flash Coolers                            5
     10    Third Train Ditch                                                    5
     11    Redundant Incoming Pond Water                                    No alarm




1
    The alarm triggers are differential values, unless otherwise noted in the table.

                                                             10
Mosaic’s 9.11.15 Revisions to Government 08.13.15 Comments



 Figure 7: Uncle Sam Conductivity Probe Locations for Process Wastewater and River Water Return 2
(current and proposed)(Absolute)




Table 4: Uncle Sam Conductivity Alarm Limits (Absolute)
                   Alarm Name                                  Alarm Condition
    West Trench                                             700 microSiemens/cm3
    South Fume scrubber                                     700 microSiemens/cm
    South Flash Cooler Barometric Condenser                 700 microSiemens/cm
    North Flash Cooler Barometric Condenser                 700 microSiemens/cm
    North Fume scrubber                                     700 microSiemens/cm
    East Trench                                            2000 microSiemens/cm
    Ditch Conductivity 14                                      milliSiemens/cm
    Ditch Conductivity 2                                       milliSiemens/cm


2
  Uncle Sam project #6 in Appendix 6 (RCRA Project Narrative & Compliance Schedules) of the Consent Decree
shows existing conductivity probes (blue) for the discharges to the outfall. The locations shown in red are proposed
to identify spills that could enter the 04 Basin.
3
  Conductivity probes that are on units that use river water are measured in microSiemens. Ditch Conductivity 1 and
Ditch Conductivity 2 probes will be on the Process Pond water, therefore milliSiemens are used.
4
  Ditch conductivity probes 1 & 2 will be filled in after installation and generation of the baseline.
Maintenance

Each Mosaic concentrate plant uses manufacturer recommended calibration procedures specific to
the type of probe. The four calibration methods that are being used are Bench Calibration using a
User-Supplied Wire, Bench Calibration Using a Foxboro Calibration Plug and Solution Calibration
and the Decade resistor box. Table 5 below shows methods that are being used at each of the sites.
Probes are removed, cleaned and dried every time prior the calibration procedure is performed.
Table 5: Calibration Procedures Used at Each Plant
 Plant               Calibration Method
 Bartow              User-Supplied Wire
                     Foxboro Calibration Plug
                     Solution Calibration
 Riverview           Calibration Using a Foxboro Calibration Plug
 Uncle Sam           User-Supplied Wire
 New Wales           Decade Resistor Box




                                                 12
APPENDIX 6
                  APPENDIX 6


            RCRA Project Narrative &
             Compliance Schedule
              Louisiana Facilities




Uncle Sam

Faustina




                       1
                                                                                     Table of Contents

Uncle Sam ............................................................................................................................................................................................ 3
       Project 1: Big Holding Tank and Wash Solution System in Phosphoric Acid Plant ............................... 3
       Project 2: Cleaning Solution Return Piping ........................................................................................... 3
       Project 3: FSA Spill and Leak Management........................................................................................... 4
       Project 4: Scrubber System Upgrades................................................................................................... 4
       Project 5: Secondary Containment in Tank Farms ............................................................................... 4
       Project 6: Phosphoric Acid Spill and Leak Monitoring System Upgrades ............................................. 5
       Project 7: Upgrade Downstream Barge Loadout Tanks Sump.............................................................. 5
       Project 8: Lining of Active Water Return Flume ................................................................................... 6
       Project 9: Lining of the 04 Basin ........................................................................................................... 6
       Project 10: Line Earthen Ditches within Plant ...................................................................................... 7
       Project 11: 110 Acre Reservoir Remediation ........................................................................................ 7
       Project 12: BMP Training ...................................................................................................................... 8
Faustina ................................................................................................................................................................................................ 8
       Project 1: Secondary Containment in Phosphoric Acid Tank Farm...................................................... 8
       Project 2: DAP Recycle Pond Closure ................................................................................................. 10
       Project 3: Granulation Plant Holding Tank Installation ...................................................................... 10
       Project 4: Interim Granulation Plant Units Tank and Transfer Line Operating Requirements .......... 11
       Project 5: Interim Granulation Plant Units – Sump Operating Requirements ................................... 14
       Project 6: RCRA Requirements ........................................................................................................... 14
       Project 7: 40 CFR Part 265, Subpart J- Tank Standards for the Granulation Sump ............................ 17
       Project 8: 40 CFR Part 265, Subpart J- Tank Standards for the Existing Holding Tank Sump ............. 18
       Project 9: Inspection, Maintenance and Repair of the Granulation Sump Ditches ............................. 18
       Project 10: RCRA Training ................................................................................................................... 19
Summary of Compliance Schedule Projects Completed .................................................................................................................... 20




                                                                                                    2
Uncle Sam
Project 1: Big Holding Tank and Wash Solution System in Phosphoric Acid Plant
Description: The Big Holding Tank (BHT) and Wash Solution System in the Phosphoric Acid Plant project will install
new tank(s), or modify an existing tank, pumps, piping and controls to enable Mosaic to recover the value of cleaning
wastes generated from the use of SACS, PACS, FSA and FSACS from pipes, tanks, process equipment, or other
storage or transport units as designated in the Facility Report. In addition, the BHT will enable Mosaic to recover spills
and leaks from containable impervious areas. The BHT Effluent will be reused as identified in the Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree.

  x   Engineering / Development of project                          month 18
  x   Permitting with Regulatory Agency                             month 32
  x   Commitment Request Approval                                   month 32
  x   Project Planning and Design                                   month 36
  x   Initiate Field Construction                                   month 44
  x   Tank Fabrication/Modification completion                      month 55

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 1.

  x   Project Completion                                            month 62
  x   Start-up and documentation of training Completion             month 66


Project 2: Cleaning Solution Return Piping
Description: The Cleaning Solution Return Piping project will install new piping to enable Mosaic to: (1) clean
transfer lines from the Phosphoric Acid Plant to the Barge Loading Tanks and barges and return those cleaning wastes
to the Big Holding Tank (BHT); and (2) clean BHT Recovery Units and return those cleaning wastes to the Big
Holding Tank (BHT). Completion of this project coincides with the completion of Project 1: Big Holding Tank and
Wash Solution System in the Phosphoric Acid Plant. Upon completion, the Cleaning Solution Return Piping will be
operated in association with the BHT as identified in the BMP and Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                          month 26
  x   Project Planning and Design                                   month 38
  x   Initiate field construction                                   month 53

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 2.

  x   Project Completion                                            month 62

                                                            3
  x   Start-up and documentation of training Completion             month 66


Project 3: FSA Spill and Leak Management
Description: Install a sump/collection system in the FSA areas designated as Downstream or BHT Recovery Units in
the Facility Report. This system will recover spills and leaks of FSA and return them to the FSA product tank. Upon
completion, the FSA Spill and Leak Management Sump System will be operated as a Containable Impervious Area as
identified in the BMP and Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                          month 1
  x   Project Planning and Design                                   month 11
  x   Initiate field construction                                   month 16

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 3.

  x   Project Completion                                            month 20
  x   Start-up and documentation of training Completion             month 22


Project 4: Scrubber System Upgrades
Description: A new scrubber will replace five existing ejector venturi scrubbers currently located in the acid storage
area. The existing scrubbers serve Upstream and Downstream tanks. The new scrubber will reduce usage of the
process water by approximately 200-600 gallons per minute. Upon completion the new scrubber will be operated as
Mixed-Use as identified in the Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                          month 31
  x   Permitting with Regulatory Agency (18 months)                 month 42
  x   Project Planning and Design                                   month 43
  x   Initiate field construction                                   month 57

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 4.

  x   Project Completion                                            month 67
  x   Start-up and documentation of training Completion             month 70


Project 5: Secondary Containment in Tank Farms
Description: Install secondary containment in storage tank areas at Phosphoric Acid Production. This installation will

                                                            4
prevent seepage of acid into the ground due to operational or accidental acid spills or leaks. Upon completion, the
upgraded secondary containment will be operated as a Containable Impervious Area as identified in the BMP and
Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                           month 5
  x   Commitment Request Approval                                    month 16
  x   Project Planning and Design                                    month 17
  x   Initiate field construction                                    month 24
  x   50% Area Complete                                              month 32

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 5.

  x   Project Completion                                             month 40
  x   Start-up and documentation of training Completion              month 42


Project 6: Phosphoric Acid Spill and Leak Monitoring System Upgrades
Description: Conductivity probes will be installed in the ditches leading to the 04 basin as needed. The installation will
incorporate new electrical and instrumentation systems and will allow monitoring and early identification of leaks and
spills of phosphoric acid into the Process Wastewater system. The upgraded Spill and Leak Monitoring System will
operate as described in the BMP. Conductivity probes already exist in the return trenches discharging to permitted
Outfall 001.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree
  x Engineering / Development of project                           month 1
  x Project Planning and Design                                    month 8
  x Initiate field construction                                    month 12

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 6.

  x   Project Completion                                             month 18
  x   Start-up and documentation of training Completion              month 20
  x   Start 12 month monitoring to establish trigger limits          month 22


Project 7: Upgrade Downstream Barge Loadout Tanks Sump
Description: Modify current containment pads and sumps in the Downstream Barge Loadout tank and equipment area to
capture spills, leaks and cleaning solutions so materials may be returned to the Downstream Barge Loadout tanks or the
BHT. Upon completion, the upgraded sump system will be operated as identified in the BMP and Facility Report.


                                                              5
Milestones: The following milestones provide a general plan for the start of each phase counting from the date of Mosaic’s
signature of the Consent Decree

  x   Engineering / Development of project                           month 58
  x   Project Planning and Design                                    month 64
  x   Initiate field construction                                    month 68

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent
Decree, Mosaic must complete construction and implement Project 7.

  x   Project Completion                                             month 70
  x   Start-up and documentation of training Completion              month 72



Project 8: Lining of Active Water Return Flume
Description: Installation of a synthetic liner (and/or comparable replacement) in the ditch starting from Dunn’s Dam
through the active water return flume to the eastern edge of the Canadian National (CN) railroad line.


Milestones: The following milestones have been completed:

  x   Engineering / Development of project                           July 2012
  x   Permit application submitted to LDEQ                           June 2015

The following milestones provide a general plan for the start of each phase counting from the date that an approved
permit is received from LDEQ (“Date W”).
   x Commitment Request Preparation                                 Date W, plus month 1
   x Project Planning and Design                                    Date W, plus month 4
   x Initiate field construction                                    Date W, plus month 8

Completion: The following dates are enforceable dates upon which, following receipt of an approved permit from
LDEQ (“Date W”), Mosaic must complete construction and implement Project 8.

  x   Project Completion                                             Date W, plus month 24
  x   Start-up and documentation of training Completion              Date W, plus month 26


Project 9: Lining of the 04 Basin
Description: Installation of a synthetic liner (and/or comparable replacement) in the 04 Basin beginning at the western
end of the CN railroad line.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                           month 12

                                                             6
  x   Permit application submitted to LDEQ                          month 24

The following milestones provide a general plan for the start of each phase counting from receipt of an approved permit
from LDEQ (“Date X”), or the date of Mosaic’s signature of the Consent Decree, whichever is later.

  x   Commitment Request Approval                                   Date X, plus month 12
  x   Project Planning and Design                                   Date X, plus month 24
  x   Initiate field construction                                   Date X, plus month 28

Completion: The following dates are enforceable dates upon which, following receipt of an approved permit from
LDEQ, (“Date X”), Mosaic must complete construction and implement Project 9.

  x   Project Completion                                            Date X, plus month 40
  x   Start-up and documentation of training Completion             Date X, plus month 42


Project 10: Line Earthen Ditches within Plant
Line the earthen ditches within the Uncle Sam Plant area that have the potential to receive phosphoric acid, sulfuric
acid or FSA. Upon completion, this project will be operated as identified in the BMP and Facility Report.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree

  x   Engineering / Development of project                          month 8
  x   Permit Modification submitted to LDEQ                         month 20

The following milestones provide a general plan for the start of each phase counting from receipt of an approved permit
from LDEQ (“Date V”).

  x   Project Planning and Design                                   Date V, plus month 3
  x   Initiate field construction                                   Date V, plus month 15

Completion: The following dates are enforceable dates upon which, following the date an approved permit is received
from LDEQ (“Date V”), Mosaic must complete construction and implement Project 10.

  x   Project Completion                                            Date V, plus month 30
  x   Start-up and documentation of training Completion             Date V, plus month 32



Project 11: 110 Acre Reservoir Remediation
Description: Remove remnants of process wastewater and gypsum sediments deposited in the 110 Acre Reservoir from
the previous emergency usages. Pond bottom will be neutralized to allow the Reservoir to serve as the Emergency
Diversion Impoundment and as a Storm Water Detention/Retention Pond for the closed portions of the gypsum stack
prior to discharge to the permitted Outfall. Repair and modify the seepage underdrain system of the closed portions of
the gypsum stack side slopes upstream of the 110 Acre.

                                                            7
Milestones: The following milestones have been completed:

   x   Permit modification submitted to LDEQ                              Nov 2014

The following milestones provide a general plan for the start of each phase counting from the date that an approved
permit is received from LDEQ (“Date Y”).

   x   Engineering evaluation of the Seepage Collection System            Date Y, plus month 6
   x   Design Modification of the Seepage Collection System               Date Y, plus month 8
   x   Modification of the Seepage Collection System                      Date Y, plus month 12
   x   Removal & consume remnants of process water in Reservoir           Date Y, plus month 24
   x   Remove & Dispose remnants of gypsum sediments                      Date Y, plus month 36
   x   Lime & neutralize upper 6” pond bottom of the Reservoir            Date Y, plus month 48

Completion: The following dates are enforceable dates upon which, following the date an approved permit is received
from LDEQ (“Date Y”), Mosaic must complete construction and implement Project 11.

  x    Project Completion                                          Date Y, plus month 60
  x    Start-up and documentation of training Completion           Date Y, plus month 64



Project 12: BMP Training
Description: Site-specific RCRA and BMP training will be developed and implemented for all affected employees and
contractors in the Phosphoric Acid plant, along with facility management, and others who manage waste streams
covered by the BMP.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree
   x Develop Training                                              month 0
   x Initiate training                                             month 3

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 12.

   x   Training Completion                                         month 9



Faustina
Project 1: Secondary Containment in Phosphoric Acid Tank Farm
Description: Install secondary containment in the Phosphoric Acid Tank Farm. This installation is intended to prevent
seepage of acid into the ground due to operational or accidental acid spills or leaks. This project will be done in

                                                           8
conjunction with Project 3: Granulation Plant Holding Tanks (GPHTs) which will be installed in the same area.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree.

  x   Engineering / Development of project                         month 8
  x   Project Planning and Design                                  month 19
  x   Initiate field construction                                  month 28

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 1.

  x   Project Completion                                           month 43
  x   Start-up and documentation of training Completion            month 46




                                                           9
Project 2: DAP Recycle Pond Closure

The process to close the DAP Recycle Pond includes 2 phases:
       Phase 1 – Sampling and Characterization
       Phase 2 – DAP Recycle Pond Closure

Phase 1 – Sampling and Characterization- Completed
Samples were collected at various points in the pond and characterized. The results indicate that the solids are non-
hazardous.

Milestones: The following milestones are complete:
  x Sampling plan submitted to EPA Region 6                                Dec 2012
  x Sampling and Analysis Plan (SAP) approval Received                     May 2013
  x Sampling and Characterization                                          Sep 2013
  x Final report received                                                  Jan 2014
  x Letter of concurrence received from LDEQ and EPA                       Apr 2014
Phase 2 – DAP Recycle Pond Empty/ Closure
Description: The DAP Recycle Pond will be closed with the solids in place by consolidating and desiccating the solids.
The closure design will include a drainage system, high density polyethylene liner, liner cover and final vegetation.
During the pond closure water drained from the pond will either be consumed in the Granulation process or treated and
discharged according to the LPDES permit.

Milestones: The following milestones have been or will be completed:

   x   “Notification of Intent to Close” letter submitted to LDEQ          February 2015
   x   Request for “Early Construction” submitted to LDEQ                  May 2015
   x   Letter approving early construction received                        July 2015
   x   Mosaic to submit closure plan                                       October 2015

The following milestones provide a general plan for the start of each phase counting from the receipt of LDEQ’s
approval of the closure plan to close the DAP Recycle Pond from LDEQ (“Date Z”).

  x    Desiccation and consolidation                                       Date Z, plus month 12
  x    Detailed closure design                                             Date Z, plus month 24
  x    Closure construction                                                Date Z, plus month 36
  x    Field construction 50% complete                                     Date Z, plus month 48

Completion: The following dates are enforceable dates upon which, following receipt of LDEQ’s approval of the
closure plan to close the DAP Recycle Pond from LDEQ (“Date Z”), Mosaic must complete Phase 2 of Project 2.

  x    Closure                                                             Date Z, plus month 60

Project 3: Granulation Plant Holding Tank Installation
Description: Mosaic will install two new tanks and/or modify at least one existing tank. These tanks will be referred to
as Granulation Plant Holding Tanks (GPHTs). These tanks will be designated as Granulation Plant Units. Mosaic’s

                                                           10
compliance requirements with respect to the GPHTs are set forth in Paragraph 16(b)(2)(ii) of the Consent Decree.

The GPHTs will be used to capture cleaning wastes generated from the use of Faustina Cleaning Solutions. Spills and
leaks within the Granulation plants and stormwater run-off will also be placed in the GPHTs for use in Granulation.
The GPHTs will also receive the cleaning wastes from the Phosphoric Acid Storage Tanks and the Barge Transfer
Line.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of
Mosaic’s signature of the Consent Decree.

  x    Engineering / Development of project                                  month 1
  x    Project Approval                                                      month 12
  x    Project Planning and Design                                           month 12
  x    Initiate field construction (Site preparation, pilings, foundation)   month 19
  x    Tank fabrication initiated                                            month 29
  x    Tank(s) fabrication completed                                         month 37

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must complete construction and implement Project 3.

   x   Project Completion                                                    month 43
   x   Start-up and documentation of training Completion                     month 46


Project 4: Interim Granulation Plant Units Tank and Transfer Line Operating Requirements
Description: Mosaic operates Interim Granulation Plant Units (IGPUs) that manage, store or transport wastes from
Downstream Operations (hereinafter called “Downstream Waste” or “Downstream Wastes”) for use in Granulation.
Mosaic intends to use these units to manage, store or transport Downstream Wastes until such time as the Granulation
Plant Holding Tanks are put in service to replace the IGPUs.

The requirements of this Project apply when the IGPU is in Downstream Waste handling service.

IGPUs that will be in continuous Downstream Waste handling service are:
   x North Holding Tank
   x Stormwater Tank
   x Holding Tank transfer lines
   x Transfer Line to the North Holding Tank
   x Transfer Line to the Stormwater Tank
   x Transfer Line from the Stormwater Tank

IGPUs that will be in periodic Downstream Waste handling service are:
   x Granulation Acid South Tank
   x Granulation Acid North Tank
   x Granulation Acid West Tank
   x Granulation Acid East Tank

                                                              11
   x   Transfer lines between the Phos Acid Tanks
   x   A-Line
   x   B-Line
   x   C-Line
   x   Spare line

Until Project 3 is completed, the conditions for continuing operation of the IGPUs included in Project 4 are listed below.

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must comply with each of the following requirements.

IGPU Tanks
                                     IGPU Tanks in continuous          IGPU Tanks periodically in
          Requirement               Downstream Waste handling         Downstream Waste handling
                                             service                              service
Notify LDEQ and EPA via letter                                         No later than 7 days from the
that an IGPU Tank is put into                                            initial date upon which
Downstream Waste handling                                             Downstream Waste first entered
service                                                                           the tank

40 CFR 262.34 (a)(2)                                                   No later than 7 days from the
                                                                         initial date upon which
(LAC 33:V.1109.E.1.c)                          Month 6
                                                                      Downstream Waste first entered
                                                                                  the tank

40 CFR 262.34 (a)(3)                                                   No later than 7 days from the
                                                                         initial date upon which
(LAC 33:V.1109.E.1.d)                          Month 6
                                                                      Downstream Waste first entered
                                                                                  the tank

40 CFR 265 Subpart J:

    40 CFR 265.191

                                                                      No later than 30 days from the
                                               Month 6                initial date upon which waste
    (LAC 33:V.1903)                                                        first entered the tank



    40 CFR 265.195                                                     No later than 7 days from the
                                                                         initial date upon which
    (LAC 33:V.1911)                            Month 6
                                                                      Downstream Waste first entered
                                                                                  the tank

    LAC 33:V.1909                              Month 6                 No later than 7 days from the
                                                                         initial date upon which


                                                              12
                                                                               Downstream Waste first entered
                                                                                         the tank

     40 CFR 265.196                                                             No later than 7 days from the
                                                                                  initial date upon which
     (LAC 33:V.1913)                                 Month 6
                                                                               Downstream Waste first entered
                                                                                           the tank

Notify LDEQ and EPA via letter
that an IGPU tank is taken out of         No later than 90 days after all        No later than 90 days after all
Downstream Waste handling                 Downstream Waste has been              Downstream Waste has been
service and that all Downstream             removed from the tank.                 removed from the tank.
Wastes have been removed

Remove IGPU tanks from                   No later than 90 days after the        No later than 90 days after the
Downstream Waste handling                permanent discontinued use of          permanent discontinued use of
service by removing all waste              the tank from Downstream               the tank from Downstream
residues.                                Waste handling service, or no          Waste handling service, or no
                                           later than 90 days after the           later than 90 days after the
                                           Granulation Plant Holding              Granulation Plant Holding
                                         Tanks are placed into service,         Tanks are placed into service,
                                             whichever comes first.                 whichever comes first.



IGPU Transfer Lines
                                IGPU transfer lines in continuous           IGPU transfer lines periodically
       Requirement                Downstream Waste handling                 in Downstream Waste handling
                                            service                                    service
Notify LDEQ via letter
that a periodic Unit is                                                     No later than 7 days from the initial
being put into                                                                date upon which Downstream
Downstream Waste                                                                Waste first entered the tank
handling service

Aboveground piping
                                               Month 6                                    Month 6
visually inspected daily

Notify LDEQ and EPA via
letter that an IGPU transfer
                                  No later than 90 days after all             No later than 90 days after all
line is taken out of
                                   Downstream Waste has been                   Downstream Waste has been
Downstream Waste
                                removed from the associated IGPU            removed from the associated IGPU
handling service and that
                                              tank.                                       tank.
all wastes have been
removed..

Remove IGPU transfer                No later than 90 days after all            No later than 90 days after all

                                                                      13
line from Downstream             Downstream Waste has been               Downstream Waste has been
Waste handling service by    removed from the associated IGPU         removed from the tank, or no later
removing all waste            tank, or no later than 90 days after    than 90 days after the Granulation
residues.                       the Granulation Plant Holding        Plant Holding Tanks are placed into
                                Tanks are placed into service,          service, whichever comes first.
                                    whichever comes first.



Project 5: Interim Granulation Plant Units – Sump Operating Requirements

Description: Mosaic operates Interim Granulation Plant Units (IGPUs) that manage, store or transport Downstream
wastes for use in Granulation. Mosaic intends to use these units to manage, store or transport Downstream wastes until
such time as the Granulation Plant Holding Tanks are put in service to replace the IGPUs.

The East/West and North/South Phos Acid Storage Tank Sumps, which are IGPUs, will be in periodic Downstream
Waste handling service. The requirements of this Project apply when the East/West and/or the North/South Phos Acid
Storage Tank Sumps are in Downstream waste handling service.

Until Project 3 is completed, the conditions for continuing operation of the IGPUs included in Project 5 are listed below.

    x   Daily inspection during normal operations;
    x   Once-per-calendar year inspections and integrity assessments (to be performed when the Storage Tank Sump is able
        to be emptied);
    x   Repair of any cracks, gaps, or deterioration of the acid brick lining, metal lining, or concrete sump within 72 hours of
        discovering the crack, gap or deterioration, as noted in daily or once-per-calendar-year inspections.



Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must comply with the following inspection/repair requirements for the Granulation Sump.

   x    Daily inspections                                                        Month 3
   x    First East/West and North/South Phos Acid                                Month 15
        Storage Tank Sumps annual inspection


Project 6: RCRA Requirements

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent
Decree, Mosaic shall come into compliance with the RCRA Requirements applicable to Facility Operations and GPUs listed
in the chart pursuant to the schedule below.

Subsequent to the time frames listed in the chart below, Mosaic’s compliance obligations with respect to the Faustina
Facility operations and GPUs are set forth in Paragraph 16(b)(2)(ii) of the Consent Decree.




                                                                14
                                                         Facility Administrative
                           Existing Holding Tank and
     Requirement                                            and Procedural
                            associated transfer lines
                                                                Operations

Section 3010(a) of RCRA,
42 U.S.C. § 6930(a)/LAC                                         Month 3
33:V.1105

LAC 33:V.2245.J-K                                               Month 3

40 CFR 262.34 (a)(2)
                                    Month 6
(LAC 33:V.1109.E.1.c)

40 CFR 262.34 (a)(3)
                                    Month 6
(LAC 33:V.1109.E.1.d)

40 CFR 262.40
                                                                Month 3
(LAC 33:V.1111.A)

40 CFR 262.41
                                                              March 1, 2016
(LAC 33:V.1111.B)

40 CFR 265 Subpart C:

    40 CFR 265.31
                                                                Month 3
    (LAC 33:V.4325)

    40 CFR 265.32
                                                                Month 3
    (LAC 33:V.4327)

    40 CFR 265.33
                                                                Month 3
    (LAC 33:V.4329)

    40 CFR 265.34
                                                                Month 3
    (LAC 33:V.4331)

    40 CFR 265.37
                                                                Month 3
    (LAC 33:V.4335)

40 CFR 265 Subpart D:



                                                        15
    40 CFR 265.51
                                        Month 3
    (LAC 33:V.4339)

    40 CFR 265.52
                                        Month 3
    (LAC 33:V.4341)

    40 CFR 265.53
                                        Month 3
    (LAC 33:V.4343)

    40 CFR 265.54
                                        Month 3
    (LAC 33:V.4345)

    40 CFR 265.55
                                        Month 3
    (LAC 33:V.4347)

    40 CFR 265.56
                                        Month 3
    (LAC 33:V.4349)

40 CFR 265 Subpart J:

(LAC 33:V.1901.E)

     40 CFR 265.192
                         Month 9
    (LAC 33:V. 1905.H)

    40 CFR 265.193
                         Month 9
    (LAC 33:V.1907)

    40 CFR 265.194
                         Month 6
    (LAC 33:V.1909

    40 CFR 265.195
                         Month 6
    (LAC 33:V.1911)

    40 CFR 265.196
                         Month 6
    (LAC 33:V.1913)




                                   16
Project 7: 40 CFR Part 265, Subpart J- Tank Standards for the Granulation Sump


Phase 1: Granulation Sump Inspections and Repair

Until Phase 2 of this Project 7 is completed, the conditions for continuing operation of the Granulation Sump are daily
inspections; annual inspections; and as-needed repairs, documented with work orders to ensure the Granulation Sump is free
of cracks, gaps, or deterioration of the acid brick lining or concrete sump itself, as follows:

   x   Daily inspection during normal operations;
   x   Once-per-calendar year inspections and integrity assessments (to be performed when the Granulation Sump is able to
       be emptied); and
   x   Repair of any cracks, gaps, or deterioration of the acid brick lining or concrete sump within 72 hours of discovering
       the crack, gap or deterioration, as noted in daily or once-per-calendar-year inspections.

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must comply with the following inspection/repair requirements for the Granulation Sump.

  x    Daily inspections                                                     Month 3
  x    First Granulation Sump annual inspection                              Month 15


Phase 2: Granulation Sump - 40 CFR Part 265, Subpart J- Tank Standards

Description: Mosaic will come into compliance with the requirements of 40 CFR Part 265, Subpart J-Tank Systems for the
Granulation Sump, a GPU, pursuant to the schedule below.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of Mosaic’s
signature of the Consent Decree.
   x Engineering / Development of project                                     month 18
   x Submission of a work plan to come into compliance with Phase 2           Month 24

  x    Project Approval                                                      month 36
  x    Project Planning and Design                                           month 38
  x    Installation                                                          month 46

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent
Decree, Mosaic must complete compliance with 40 CFR Part 265, Subpart J for the Granulation Sump. Subsequent to the
time frames listed below, Mosaic’s compliance obligations with respect to the Granulation Sump are set forth in Paragraph
16(b)(2)(ii) of the Consent Decree.

  x    Project Completion                                                    month 50
  x    Project start-up                                                      month 50




                                                            17
Project 8: 40 CFR Part 265, Subpart J- Tank Standards for the Existing Holding Tank Sump
Phase 1: Existing Holding Tank Sump Inspections and Repair

Until Phase 2 of this Project 8 is completed, the conditions for continuing operation of the Existing Holding Tank Sump are
daily inspections; annual inspections; and as-needed repairs, documented with work orders to ensure the Existing Holding
Tank Sump is free of cracks, gaps, or deterioration of the stainless steel liner within the concrete sump or the concrete sump
itself, as follows:

   x   Daily inspection during normal operations;
   x   Once-per-calendar year inspections and integrity assessments (to be performed when the Existing Holding Tank
       Sump is able to be emptied); and
   x   Repair of any cracks, gaps, or deterioration of the acid brick lining, metal lining, or concrete sump within 72 hours of
       discovering the crack, gap or deterioration, as noted in daily or once-per-calendar-year inspections.

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the
Consent Decree, Mosaic must comply with the following inspection/repair requirements for the Existing Holding Tank
Sump.

   x   Daily inspections                                                       month 3
   x   First Granulation Sump annual inspection                                month15



Phase 2: Existing Holding Tank Sump- 40 CFR Part 265, Subpart J- Tank Standards

Description: Mosaic will come into compliance with the requirements of 40 CFR Part 265, Subpart J - Tank Systems with
respect to the Existing Holding Tank Sump, a GPU, pursuant to the schedule below.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of Mosaic’s
signature of the Consent Decree.
   x Engineering / Development of project                                     month 18
   x Submission of a work plan to come into compliance with Phase 2           month 24

   x   Project Approval                                                        month 36
   x   Project Planning and Design                                             month 38
   x   Installation                                                            month 48

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent
Decree, Mosaic must complete compliance with each requirement of 40 CFR Part 265, Subpart J – Tank Standard for the
Existing Holding Tank Sump. Subsequent to the time frames listed below, Mosaic’s compliance obligations with respect to
the Existing Holding Tank Sump are set forth in Paragraph 16(b)(2)(ii) of the Consent Decree.

   x   Project Completion                                                      month 50
   x   Project start-up                                                        month 50


Project 9: Inspection, Maintenance and Repair of the Granulation Sump Ditches


                                                              18
The conditions for continuing operation of the Granulation Sump Ditches are structural requirements; daily inspections;
annual inspections; and as-needed repairs, documented with work orders to ensure the Granulation Sump Ditches are
constructed of concrete that is free of cracks, gaps, or deterioration of the acid-resistant coating or concrete, as follows:

    x   A one-time demonstration that the ditches are self-supporting, not dependent on the support of the surrounding soils
        in order to maintain their structural integrity;
    x   Daily inspection during normal operations;
    x   Once-per-calendar-year inspections (to be performed when the ditches are able to be emptied);
    x   Repair of any cracks, gaps, or deterioration of the concrete within 72 hours of discovering the crack, gap or
        deterioration, as noted in daily or once-per-calendar-year inspections; and
    x   Repair of any cracks, gaps or deterioration of the acid-resistant coating, as noted in daily or one-per-calendar-year
        inspections within 90 days of discovery.


Completion: The following milestones have been completed:

    x   A one-time demonstration that the ditches are self-supporting, not dependent on the support of the surrounding soils
        in order to maintain their structural integrity. September 2015

The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent Decree,
Mosaic must begin inspection requirements for the Granulation Sump Ditches.

    x   Daily inspection during normal operations                                        month 3
    x   First once-per-calendar-year inspections                                         month 15


Project 10: RCRA Training
Description: Mosaic’s obligation to meet the RCRA Requirement with respect to the Granulation Sump is set forth in
Paragraph 16(b)(2)(ii) of the Consent Decree. Site-specific RCRA training will be developed and implemented for all
employees and contractors in the Granulation plant along with facility management, and others who manage waste streams
covered by the CD.

Milestones: The following milestones provide a general plan for the start of each phase counting from the date of Mosaic’s
signature of the Consent Decree

    x   Develop Training                                                         month 0
    x   Initiate training                                                        month 3

Completion: The following dates are enforceable dates upon which, following the date of Mosaic’s signature of the Consent
Decree, Mosaic must complete construction and implement Project 10.

   x    Training Completion                                                      month 9




                                                                19
Summary of Compliance Schedule Projects Completed
Faustina: Granulation Plant Sump System – Completed 2009

Phase 1 of the DAP Pond Sampling and characterization - EPA and LDEQ approved the Sampling and Analysis Report in
2014




                                                           20
APPENDIX 7
               APPENDIX 7
PHOSPHOGYPSUM STACK SYSTEM ALTERNATIVE
           LINER REQUIREMENTS


                              MOSAIC UNCLE SAM
Appendix 1 of this Consent Decree sets forth requirements for lining Phosphogypsum Stack
Systems within five years of the Effective Date of this Consent Decree as a means of reducing or
eliminating contamination migrating from such stacks. On January 6, 2011 and November 7,
2011, Mosaic submitted demonstration documents titled “Overview of Seepage Control Features
and Projected Groundwater Quality Impacts for Mosaic Fertilizer, LLC Uncle Sam
Phosphogypsum Stack System,” hereafter referred to as the “Uncle Sam Demonstration,”
proposing that alternate means of containment can meet the Environmental Protection Agency’s
(EPA) and the Louisiana Department of Environmental Quality’s (LDEQ) environmental
protection goals and obviate the requirement of Appendix 1, Attachment D, Section VII to,
within five years of the Effective Date, line existing unlined Phosphogypsum Stack Systems in
accordance with Appendix 1, Attachment C, Section VI, or within five years of the Effective
Date, close existing unlined Phosphogypsum Stack Systems in accordance with Appendix 1,
Attachment D. This Appendix identifies the specific Phosphogypsum Stack System components
that, subject to the terms of the Consent Decree (including Paragraph 22(a)(2)), the United States
and LDEQ have determined either meet the liner design standards of Appendix 1, Attachment C,
Section VI, or are considered an acceptable alternative to those standards. The United States’
and LDEQ’s acceptance of the Uncle Sam Demonstration for this purpose does not bind the
United States or LDEQ to the factual assertions and conclusions of the Demonstration. This
Appendix also identifies the specific Phosphogypsum Stack System components that either meet
the closure design standards of Appendix 1, Attachment D or that are considered to be an
acceptable alternative to the closure design standards of Appendix 1, Attachment D.


General Demonstration of Environmental Protectiveness
The active Uncle Sam Phosphogypsum Stack System and inactive system (including non-process
water ponds) consist of Inactive Stacks 1- 3 (Stacks 1 -3), a 110-Acre Reservoir, Active Gypsum
Stack Number 4 (Stack 4), Stack 4 Side Slopes (closed), Stack 4 Side Slopes (active), and a
Cooling Pond System. The Cooling Pond System consists of the Active Toe Ditch on the north
side of Stack 4, a two-compartment 30-acre Active Reservoir, a water return ditch from the 30-
acre Active Reservoir to Dunn’s Dam, and Return Flume into the 04 Basin, and the 04 Basin
(Figure 1). The Cooling Pond System is used for process water management, as well as
circulation and cooling of process water, and receives incidental discharges of gypsum slurry.
Other water bodies exist at Uncle Sam that are not part of the Phosphogypsum Stack System.
                                                                                  Mosaic Uncle Sam
                                                                     Alternative Liner Requirements
                                                                                        Appendix 7

The key components of Mosaic’s Demonstration rely mostly upon an engineered compacted clay
cut-off trench keyed into the natural confining unit and a soil bentonite cut-off wall as a seepage
prevention features, and certain synthetic liners yet to be installed, as summarized below.


Cut-Off Features

The entire Phosphogypsum Stack System, except for the Return Flume and 04 Basin, are
encompassed by a compacted clay perimeter levee with a compacted clay key (cut-off trench)
that extends 4 to 8 feet into the natural ground clay confining unit and mitigates lateral seepage
from the stack system.

In addition to the compacted clay key, the southern portion of Inactive Stacks 1-3 has a soil
bentonite cut-off wall keyed 18 feet into the natural ground clay confining unit.

Synthetic Liners

In addition to the clay cut-off trench, Mosaic plans to vertically expand and line the
Phosphogypsum Stack System (excluding the Active Toe Ditch, 30-Acre Active Reservoir, and
the water return ditch from the 30-Acre Active Reservoir to Dunn’s Dam and excluding the 110-
Acre Reservoir and existing gypsum stack slopes) in two phases (See Figure 2 illustrated in
orange/ Compliance Project 9).

Phase 1
Mosaic will raise Stack 4 to an interim average elevation of 200 feet (MSL) and then begin to
install an intermediate liner on Stacks 1-3 no later than 1 year after that milestone is reached (i.e.,
before or about 2016 depending on plant production and water balance considerations). The
liner will comport with the liner requirements of Appendix 1, Attachment C, but with placement
of sedimented gypsum over the liner instead of a mechanically compacted phosphogypsum
component.

Phase 2
Mosaic will begin the vertical expansion of the newly lined Stacks 1-3 within 18 months after
initiating liner installation and will then install an intermediate liner on Stack 4 no later than one
year after the Stacks 1-3 vertical expansion reaches an average elevation of 200 feet (MSL) that
comports with the liner requirements of Appendix 1, Attachment C, but with placement of
sedimented phosphogypsum over the liner instead of a mechanically compacted phosphogypsum
component. Phase 2 will include lining the Decant Ditch. Phosphogypsum will continue to be
deposited on Stacks 1-3 up to an interim height of 200 feet so that Stacks 1-3 and 4 are at
equivalent heights. Mosaic will then begin depositing Phosphogypsum on the combined lined
Stacks 1-4.




                                                  2
                                                                               Mosaic Uncle Sam
                                                                  Alternative Liner Requirements
                                                                                     Appendix 7

Liner Requirements for Specific Components of the Stack System and
Other Water Features
The following components or former components designated in orange in Figure 3 of Mosaic’s
Stack System or other adjacent non-process ponds are not subject to the liner requirements of
Appendix 1, Attachments C and D, as long as they do not hereafter receive Process Wastewater
or Phosphogypsum.

1) Inactive Stack 4 Side Slopes
2) Inactive Stacks 1-3

The following components of Mosaic’s Stack System designated in orange in Figure 4 have
existing engineered seepage control features that deviate from the Government’s liner design
standards of Appendix 1, Attachment C, Section VI but are determined to be environmentally
protective and thus deemed to meet the requirements of a lined system, consistent with Appendix
1, Attachment C, Section VI (i.e. no additional equivalency determination necessary).

1) Active Toe Ditch
2) 30-Acre Active Reservoir- both compartments
3) Water return ditch from the 30-acre Active Reservoir to Dunn’s Dam


The following components of Mosaic’s Stack System designated in orange in Figure 5 deviate
from the Government’s liner design standards of Appendix 1, Attachment C, Section VI but are
deemed environmentally protective and equivalent to the requirements of Appendix 1,
Attachment C, Section VI (i.e. no additional equivalency determination necessary) upon
completion of the Phase 1 and Phase 2 lining projects described above.

1) Stack 4 (including the Decant Ditch)
2) Stacks 1-3 Vertical Expansion

The following components of Mosaic’s Stack System designated in orange in Figure 6 are not
contained within the clay cut-off trench and must be lined and/or replaced with a piped system as
may be appropriate pursuant to the permit applications Mosaic will submit for LDEQ approval
under Compliance Schedule Projects 8 (Lining of Active Water Return Flume) and 9 (Lining of
the 04 Basin). Once Mosaic implements the LDEQ approved permit modifications, the following
components will be environmentally protective, and thus they are considered to be acceptable
alternatives to the requirements of Appendix 1, Attachment C, Section VI (i.e., no additional
equivalency determination necessary).

1) Return Flume from Dunn’s Dam into the 04 Basin (Compliance Schedule, Project 8)
2) The 04 Basin (Compliance Schedule, Project 9)

The 110 Acre Reservoir designated in blue in Figure 3 is not subject to the liner requirements of
Appendix 1, Attachment C, Section VI and shall be deemed an Emergency Diversion

                                                3
                                                                               Mosaic Uncle Sam
                                                                  Alternative Liner Requirements
                                                                                     Appendix 7

Impoundment (EDI), as defined in this Consent Decree (including Appendix 1), when Mosaic
implements the 110 Acre Reservoir project set forth in Appendix 6 (Compliance Schedule).


Other Components of Stack System
The following components of Mosaic’s Stack System have existing engineered closure covers for
which a closure certification report has been submitted to LDEQ. These components no longer
receive Phosphogypsum or Process Wastewater. These components are not required to meet the
closure design standards of Appendix 1, Attachment D of the Consent Decree. Nothing in this
Appendix shall be deemed to relieve Mosaic of its obligation to have complied with any federal
and state laws applicable to closure of these components, and specifically the closure design
standards of the applicable Louisiana Solid Waste Permits nor to restrict EPA’s residual
authorities under RCRA and Paragraphs 21(c) and 93 of the Consent Decree.

   1) Stack 1-3 Side Slopes
   2) Lower Portions of Stack 4 Side Slopes (i.e., those that have been covered and grassed)
      except the Decant Ditch

The following components of Mosaic’s Stack System have existing engineered closure covers
that, as installed, either meet the closure design standards of Appendix 1, Attachment D, or are
considered environmentally protective and an acceptable alternative to the closure design
standards set forth in the closure design standards of Appendix 1, Attachment D (i.e., no
additional equivalency determination necessary).

   1) Former Perimeter Ditch Around Stacks 1-3 (now a part of inactive water conveyance)
   2) Former Perimeter Ditch Along East Toe of Stack 4 (now a part of the inactive system).




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APPENDIX 8
                                                                                     Appendix 8
                                                                               UIC Well Summary
                                                                                      Uncle Sam

                   APPENDIX 8
        UNDERGROUND INJECTION CONTROL (UIC)
           PERMITTED WELL AT UNCLE SAM
The Louisiana Department of Natural Resources' Office of Conservation issued to Mosaic Order
No. IMD 2012-01 WD, which became effective on June 4, 2012. Order No. IMD 2012-01 WD
authorized Mosaic to drill, construct, and operate three (3) noncommercial, Class I Underground
Injection Control (UIC) waste disposal wells (Well Serial Nos. 974237, 974238, and 974239).
The Louisiana Department of Natural Resources' Office of Conservation issued to Mosaic
Supplement to Order No. IMD 2012-01 WD, which became effective on March 17, 2014.
Supplemental Order No. IMD 2012-01 WD included additional and/or revised requirements
pertaining to Mosaic’s operation of the three (3) above-referenced UIC Hazardous Waste
Disposal Wells initially authorized under Order No. IMD 2012-01 WD. Mosaic and Louisiana
Department of Environmental Quality’s (LDEQ) then entered into an Administrative Order on
Consent MM-AOA-14-00269 (AOC) regarding the Underground Injection Control (UIC) well at
Mosaic’s Uncle Sam facility.

This Appendix sets forth the substantive provisions of the AOC so they are incorporated into the
Consent Decree pursuant to Paragraphs 22(a)(i) and 24. As set forth in the AOC, upon the
Effective Date of the Consent Decree, the AOC shall be deemed superseded, null and void. Any
capitalized terms not defined herein shall have the same definitions as set forth in Paragraph 8 of
the Consent Decree.


1) This Appendix provides authorization to Mosaic to manage and dispose of process
wastewaters, alleged in the Complaint to have been commingled with hazardous wastes, in
accordance with the terms and conditions specified herein.


2) Except as otherwise noted herein, Mosaic shall manage the its Class I UIC waste disposal
system (i.e., wastewater storage tanks and wastewater filtration system) and the process
wastewater conveyed to that system for the purpose of being disposed by injection in
accordance with the waste management standards specified in LAC 33:V.1109.E, 1901 et
seq., and 1909.E of the Louisiana Hazardous Waste Regulations. Mosaic is not required to
report in the hazardous waste annual report (specified in LAC 33:V.1111.B.2 of the Louisiana
Hazardous Waste Regulations) any wastewaters disposed by injection in the UIC wells and in
compliance with the terms and conditions of this Appendix .


3) Mosaic shall be authorized to return the following wastes to the Phosphogypsum Stack
System without characterization: 1) wastewater generated from backwashing of the
                                                                                     Appendix 8
                                                                             UIC Well Summary
                                                                                      Uncle Sam
filtration system associated with the Class I UIC waste disposal system; 2) wastewater
returned to the Mosaic's Phosphogypsum Stack System due to a failure of the Mosaic's Class I
UIC waste disposal system prohibiting its return to service within ninety (90) days; 3)
recovered spills and leaks of wastewater within the secondary containment structures
associated with the Class I UIC waste disposal system; and 4) spills and leaks occurring
between the intake line and the filtration area, which may flow by gravity back to the
Phosphogypsum Stack System.


4) Mosaic shall ensure that any other spills, leaks, and/or overflows of process wastewater
removed from pipes and tank systems between the Phosphogypsum Stack System and the
Class I UIC wells are contained within appropriate secondary containment structures, as
required by LAC 33:V.1907, and are promptly returned to the Phosphogypsum Stack System.
In the event Mosaic is unable to or chooses not to return these spills, leaks, and/or overflows of
Process Wastewater to the Phosphogypsum Stack System, Mosaic shall characterize the
Process Wastewater in accordance with LAC 33.V.1103 and subsequently manage, treat,
and/or dispose of such Process Wastewater in accordance with any and all applicable
Louisiana Solid and/or Hazardous Waste Regulations.


5) Mosaic shall characterize any sludges removed from the Class I UIC waste disposal wells
filter and storage tank systems in accordance with LAC 33.V.1103 and subsequently manage,
treat and/or dispose of these wastes in accordance with any and all applicable Louisiana
Solid and/or Hazardous Waste Regulations.


6) Mosaic shall provide notice to the Department within 180 days prior to any planned non-
use of its authorized Class I UIC waste disposal well system for the management/disposal of
process waste water removed or to be removed from the Respondent's Phosphogypsum Stack
System. For the purposes of this Appendix , "planned non-use" shall mean any plan by
Respondent to take the Class I UIC waste disposal waste well system out of service for a period
of ninety (90) consecutive days or more.




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